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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION



TERRY MONSKY, Individually and On Behalf
of All Others Similarly Situated,

                            Plaintiff,          Case No. 4:24-cv-01940
                                                (Consolidated with Case No. 4:24-cv-02567)
      vs.

DIRECT DIGITAL HOLDINGS, INC.,                  Judge Kenneth M. Hoyt
MARK WALKER, KEITH W. SMITH,
DIANA DIAZ, and DIRECT DIGITAL
MANAGEMENT, LLC,

                            Defendants.


   APPENDIX OF UNPUBLISHED CASES/AUTHORITIES IN SUPPORT OF LEAD
      PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

       Lead Plaintiff Donald W. Hutchings, by and through undersigned counsel, respectfully

submit this Appendix in support of his opposition to Defendants’ Motion to Dismiss (ECF 44).
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DATED: March 14, 2025            JOHNSON FISTEL, LLP


                                 /s/ Michael I. Fistel, Jr.
                                 Michael I. Fistel, Jr.
                                    Attorney-In-Charge
                                 Murray House
                                 40 Powder Springs Street
                                 Marietta, GA 30064
                                 Telephone: (470) 632-6000
                                 Facsimile: (770) 200-3101
                                 michaelf@johnsonfistel.com

                                 JOHNSON FISTEL, LLP
                                 Jeffrey A. Berens
                                 2373 Central Park Boulevard, Suite 100
                                 Denver, CO 80238-2300
                                 Telephone: (303) 861-1764
                                 jeffb@johnsonfistel.com

                                 Lead Counsel for Plaintiff and the Class

                                 SPONSEL MILLER PLLC
                                 Thane Tyler Sponsel III (Texas SBN 24056361)
                                 Federal ID No. 690068
                                 520 Post Oak Blvd.
                                 Houston, TX 77027
                                 Telephone: (713) 892-5400
                                 sponsel@smglawgroup.com

                                 Local Counsel for Plaintiff and the Class




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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have

consented to electronic service are being served with a copy of this document via the Court’s

CM/ECF system on March 14, 2025.


                                                 /s/ Michael I. Fistel, Jr.
                                                 MICHAEL I. FISTEL, JR.




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                        TAB No. 1




                                                                 Pl. Appx. B-001
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                                                                   and sells mountable and wearable cameras, drones and
                     2017 WL 3168522                               accessories. Id. ¶¶ 2, 28, 32. Nicholas Woodman is GoPro’s
        United States District Court, N.D. California.             founder and chief executive officer. Id. ¶ 29. Brian McGee
                                                                   is the company’s chief financial officer. Id. ¶ 30. Anthony
       Anton BIELOUSOV, Individually and on                        Bates is a director of the company and previously served as
    Behalf of All others Similarly Situated, Plaintiff,            its president. Id. ¶ 31.
                           v.
                                                                   On September 19, 2016, GoPro unveiled two new HERO5
  GOPRO, INC. and Nicholas D. Woodman, Defendants.
                                                                   model cameras and the Karma® quadcopter drone, which was
                     No. 16-cv-06654-CW                            GoPro’s entry into the drone market. Id. ¶¶ 3-4; 64-66; 94.
                               |                                   GoPro stated that the Karma drone would be available on
                      Signed 07/26/2017                            October 23, 2016, globally, at select retailers and announced
                                                                   pricing for the drone. Id. ¶¶ 4, 70, 94. McGee told investors
Attorneys and Law Firms                                            that the drone would take GoPro to “new heights” and that
                                                                   the company was on track to meet February 3, 2016 revenue
J. Alexander Hood, II, Jeremy A. Lieberman, Pomerantz              guidance of $1.35-1.5 billion revenue for 2016. Id. ¶ 6; see
LLP, Richard W. Gonnello, Sherief Morsy, Katherine M.
                                                                   alsoid. ¶¶ 56, 70, 96-101.
Lenahan, Faruqi & Faruqi, LLP, New York, NY, Jennifer
Pafiti, Pomerantz LLP, Beverly Hills, CA, Barbara Ann Rohr,        Plaintiff alleges, however, that these and other statements by
Benjamin Heikali, Faruqi and Faruqi, LLP, Los Angeles, CA,         Defendants were false and misleading. GoPro was suffering
for Plaintiff.                                                     a severe shortage of Karma drones. Id. ¶¶ 7-8, 18, 71-76, 80.
                                                                   There also was a shortage of HERO5 cameras. Id. ¶¶ 81-84.
Kaitlin O. Keller, Catherine Duden Kevane, Susan Samuels
                                                                   Those drones that were available had an obvious battery latch
Muck, Vincent Barredo, Fenwick & West LLP, San
                                                                   design defect that led to a product recall on November 8,
Frrancisco, CA, for Defendants.
                                                                   2016. Id. ¶¶ 10, 18, 67-69, 78-80, 88-89. As this information
                                                                   became public, GoPro’s share price fell from a class period
                                                                   high of $17.68 per share on October 5, 2016 to close at $10.41
       ORDER DENYING MOTION TO DISMISS
                                                                   per share on November 9, 2016. Id. ¶¶ 9, 11, 16, 19-21, 90-93,
          FIRST AMENDED COMPLAINT
                                                                   160-163.

                  (Docket Nos. 57, 58, 64)                         Plaintiff alleges that Defendants knew of the product
                                                                   shortages due to GoPro’s use of a cloud-based NetSuite
CLAUDIA WILKEN, United States District Judge                       enterprise resource planning system that gave them real-time
                                                                   access to supply chain information. Id. ¶¶ 11-13, 22, 33-47,
*1 Defendants GoPro, Inc., Nicholas Woodman, Brian
                                                                   61, 63, 135. They were motivated to use the NetSuite system
McGee, and Anthony Bates move to dismiss Lead Plaintiff
                                                                   because of previous inventory issues. Id. ¶¶ 13, 50-53. They
Troy Larkin’s Amended Class Action Complaint (1AC). 1              also were or should have been aware of the design defect
Plaintiff opposed the motion and Defendants filed a reply. The     because it would have been obvious during adequate product
Court held a hearing on June 27, 2017. Having considered the       testing and Woodman himself had used the drone extensively.
parties' papers and argument, the Court denies the motion to       Id. ¶¶ 11, 14, 22, 60. Additionally, GoPro scoured the Internet
dismiss. 2                                                         for videos captured via the company's devices, and thus
                                                                   Defendants likely were aware of user videos of crashing
                                                                   drones that were posted on YouTube. Id. ¶¶ 14, 48-49, 78-79,
                                                                   137.
                      BACKGROUND

The following facts are alleged in the 1AC.                         *2 On November 16, 2016, Plaintiff Anton Bielousov filed
                                                                   the original complaint in this action. On February 6, 2017, the
GoPro is a publicly traded Delaware corporation                    Court appointed Troy Larkin as lead plaintiff for a putative
headquartered in San Mateo, California. 1AC ¶ 28. It makes         class of purchasers of GoPro stock. On March 14, 2017, Lead



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Plaintiff Larkin filed the 1AC, alleging that Defendants made      v. Weidner, 780 F.2d 727, 731 (9th Cir. 1985). Statements of
various false or misleading statements between September 19,       the time, place and nature of the alleged fraudulent activities
2016 and November 8, 2016 about GoPro’s HERO5 camera               are sufficient, provided the plaintiff sets forth “what is false
and Karma drone and misled investors regarding its ability
                                                                   or misleading about a statement, and why it is false.”    In re
to meet its previous revenue guidance. Plaintiff asserts two
                                                                   GlenFed, Inc., Sec. Litig., 42 F.3d 1541, 1548 (9th Cir. 1994),
claims for violations of the Securities Exchange Act of 1934
                                                                   superseded by statute on other grounds, Private Securities
(Exchange Act), 15 U.S.C. §§ 78a- 78lll. The first claim           Litigation Reform Act of 1995 (PSLRA), Pub. L. No. 104-67.
is against all Defendants for violations of § 10(b) of the
                                                                   In 1995, Congress enacted the PSLRA, which amends the
Exchange Act,       15 U.S.C. § 78j(b), and Rule 10b-5, 17
                                                                   Exchange Act. Under the PSLRA, a plaintiff must “state with
C.F.R. § 240.10b-5. The second claim is against the individual
                                                                   particularity both the facts constituting the alleged violation,
Defendants only as control persons of GoPro, for violations
                                                                   and the facts evidencing scienter, i.e., the defendant's
of § 20(a) of the Exchange Act, 15 U.S.C. § 78t(a).
                                                                   intention to deceive, manipulate, or defraud.” Tellabs, Inc.
                                                                   v. Makor Issues & Rights, Ltd., 551 U.S. 308, 313 (2007)
                                                                   (internal quotation marks omitted).
                   LEGAL STANDARD

A complaint must contain a “short and plain statement of           The PSLRA requires that the complaint “specify each
the claim showing that the pleader is entitled to relief.”         statement alleged to have been misleading, the reason or
Fed. R. Civ. P. 8(a). On a motion under Rule 12(b)(6) for          reasons why the statement is misleading, and, if an allegation
failure to state a claim, dismissal is appropriate only when       regarding the statement or omission is made on information
the complaint does not give the defendant fair notice of           and belief, the complaint shall state with particularity all
a legally cognizable claim and the grounds on which it             facts on which that belief is formed.”15 U.S.C. § 78u-4(b)
                                                                   (1). “This means that a plaintiff must provide, in great detail,
rests.    Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555
(2007). In considering whether the complaint is sufficient         all the relevant facts forming the basis of her belief.” In
to state a claim, the Court takes all material allegations as      re Silicon Graphics Inc. Sec. Litig., 183 F.3d 970, 985
true and construes them in the light most favorable to the         (9th Cir. 1999), abrogated on other grounds by S. Ferry
plaintiff.   Metzler Inv. GMBH v. Corinthian Colls., Inc.,         LP, No. 2 v. Killinger, 542 F.3d 776, 784 (9th Cir. 2008).
540 F.3d 1049, 1061 (9th Cir. 2008). However, this principle       Factual allegations that are not based on a plaintiff’s personal
is inapplicable to legal conclusions; “[t]hreadbare recitals       knowledge are allegations that are made on information and
of the elements of a cause of action, supported by mere            belief.     See id. at 985, 998 n.21. Thus, for example, if a
conclusory statements,” are not taken as true.    Ashcroft v.      plaintiff’s sole basis for an allegation is a statement from a
                                                                   non-plaintiff witness, that allegation is made on information
Iqbal, 556 U.S. 662, 678 (2009) (citing   Twombly, 550 U.S.
                                                                   and belief, and the plaintiff must plead all facts on which that
at 555).
                                                                   belief is based.   See id. at 985, 998 n.21. This does not
“In addition to the pleading requirements of Rule 8, there         mean, however, that a plaintiff must, for each allegation plead
are more demanding pleading requirements for certain causes        on information and belief, state every fact possessed that is in

of action, especially securities fraud.” In re Rigel Pharm.,       any way related to the allegation.    Id. at 999 & n.24.
Inc., Sec. Litig, 697 F.3d 869, 876 (9th Cir. 2012). Rule
9(b) provides that in “alleging fraud or mistake, a party          *3 Although        Rule 9(b) does not require that scienter be
must state with particularity the circumstances constituting
                                                                   plead with particularity, see Concha v. London, 62 F.3d
fraud or mistake.”    Fed. R. Civ. P. 9(b). The allegations        1493, 1503 (9th Cir. 1995), the PSLRA does. See15 U.S.C. §
must be “specific enough to give defendants notice of the          78u-4(b)(2). The PSLRA provides that “the complaint shall,
particular misconduct which is alleged to constitute the fraud     with respect to each act or omission alleged to violate this
charged so that they can defend against the charge and not         chapter, state with particularity facts giving rise to a strong
just deny that they have done anything wrong.”      Semegen        inference that the defendant acted with the required state of



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mind.” 15 U.S.C. § 78u-4(b)(2). The “ ‘required state of             create a strong inference of intentional conduct or deliberate
mind’ in § 78u–4(b)(2) refers to the scienter requirement
                                                                     recklessness.” Id.; see also Tellabs, 551 U.S. at 326 (“When
applicable to the underlying securities fraud claim brought by
                                                                     the allegations are accepted as true and taken collectively,
the plaintiff.”    Silicon Graphics, 183 F.3d at 975.                would a reasonable person deem the inference of scienter at
                                                                     least as strong as any opposing inference?”).
Section 10(b) of the Exchange Act makes it unlawful for
any person to “use or employ, in connection with the
purchase or sale of any security ... any manipulative or
                                                                                REQUESTS FOR JUDICIAL NOTICE
deceptive device or contrivance in contravention of such
rules and regulations as the [SEC] may prescribe.”            15     The Court’s review is limited to the complaint, materials
U.S.C. § 78j(b). Rule 10b-5(b) provides that it is “unlawful         incorporated into the complaint by reference and matters of
for any person, directly or indirectly, ... to make any untrue       which the Court may take judicial notice.           Metzler Inv.
statement of a material fact or to omit to state a material          GMBH v. Corinthian Colls., Inc., 540 F.3d 1049, 1061 (9th
fact necessary in order to make the statements made, in the          Cir. 2008). Federal Rule of Evidence 201 allows a court to
light of the circumstances under which they were made, not           take judicial notice of a fact “not subject to reasonable dispute
misleading[.]” 17 C.F.R. § 240.10b-5(b). The PSLRA thus              because it ... can be accurately and readily determined from
requires that a plaintiff plead with particularity “facts giving     sources whose accuracy cannot reasonably be questioned.”
rise to a strong inference that the defendant acted with,” at a      Even where judicial notice is not appropriate, courts may also
minimum, deliberate recklessness. See15 U.S.C. § 78u-4(b)            properly consider documents “whose contents are alleged in
(2);    Silicon Graphics, 183 F.3d at 977.                           a complaint and whose authenticity no party questions, but
                                                                     which are not physically attached to the pleading.”      Branch
Facts that establish a motive and opportunity, or                    v. Tunnell, 14 F.3d 449, 454 (9th Cir. 1994).
circumstantial evidence of “simple recklessness,” are not
sufficient to create a strong inference of deliberate                 *4 Both sides filed requests for judicial notice. The
recklessness. See Silicon Graphics, 183 F.3d at 979. In              Court grants Plaintiff’s unopposed request for judicial notice
order to satisfy the heightened pleading requirement of the          of various dictionary definitions. The Court also grants
PSLRA for scienter, a plaintiff “must state specific facts           Defendants' request for judicial notice, which Plaintiff
indicating no less than a degree of recklessness that strongly       opposes in part, of certain Securities and Exchange
suggests actual intent.” Id. The necessary strong inference          Commission (SEC) filings, press releases, investor forums,
must be more than merely reasonable or permissible—it                news reports, and earnings call transcripts. To the extent these
must be cogent and at least as compelling as any opposing            documents are relied upon in the 1AC, the Court considers
inference that a reasonable person could draw from the facts         them as incorporated by reference. With regard to the other
                                                                     public documents, the Court takes judicial notice of the fact
alleged.     Tellabs, 551 U.S. at 324. In pleading scienter, a       that the statements in those documents were made on the dates
plaintiff “has to provide a narrative of fraud—facts which,          specified, but not of the truth of the matters asserted therein.
if true, substantiate an explanation at least as plausible as a
nonfraudulent alternative.”    ESG Capital Partners, LP v.
Stratos, 828 F.3d 1023, 1035 (9th Cir. 2016).
                                                                                             DISCUSSION

When analyzing the sufficiency of a plaintiff’s scienter             I. Section 10(b)
allegations, the Court first determines “whether any of
the allegations, standing alone, are sufficient to create a            A. Materially False or Misleading Statements

strong inference of scienter.” N.M. State Inv. Council
v. Ernst & Young LLP, 641 F.3d 1089, 1095 (9th Cir.                                     1. “On Track” Statement
2011). If no individual allegation is sufficient, the Court
                                                                     Plaintiff alleges that on September 19, 2016, McGee held a
conducts “a ‘holistic’ review of the same allegations to
                                                                     conference call with investors about the new Karma drone and
determine whether the insufficient allegations combine to
                                                                     HERO5 cameras at which he represented that GoPro was still


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“on track” to make its previously-issued revenue guidance.            (2015) (“every such statement explicitly affirms one fact: that
1AC ¶ 96. Plaintiff alleges that McGee’s statements were false
                                                                      the speaker actually holds the stated belief”); see also City
and misleading when made because GoPro was not then “on
                                                                      of Dearborn Heights Act 345 Police & Fire Ret. Sys. v. Align
track” to reach the revenue guidance and McGee either did
                                                                      Tech., Inc., 856 F.3d 605, 610 (9th Cir. 2017) (holding that
not believe his stated opinion or his opinion was misleading
                                                                      Omnicare standards apply to § 10(b) and Rule 10b-5 claims).
because he had not checked GoPro’s real-time inventory and
                                                                      As such, Plaintiff contends, the statement was either false
supply monitoring systems prior to speaking. Id. ¶ 97.
                                                                      (if McGee checked database information regarding supply
                                                                      shortages) or misleading (if he failed to check but investors
Defendants move to dismiss Plaintiff’s claims based on
                                                                      would reasonably have expected him to do so).
this statement, arguing that it falls within the protection
of the PSLRA’s “safe harbor” protecting forward-looking
                                                                       *5 Under Omnicare, McGee was representing his and
statements. 15 U.S.C. § 78u-5(c)(1). A forward-looking
                                                                      GoPro’s existing state of mind when he stated, “In addition,
statement is not actionable if it is immaterial, made without
                                                                      we talked about our revenue guidance for 2016, its $1.35
actual knowledge that it is false or misleading or is “identified
                                                                      billion to $1.5 billion. We believe we're still on track to make
as a forward-looking statement, and is accompanied by
                                                                      that as well.” This statement of present opinion is not forward-
meaningful cautionary statements identifying important
                                                                      looking, and therefore is not covered by the PSLRA safe
factors that could cause actual results to differ materially from
                                                                      harbor provision.
those in the forward-looking statement.” Id.; see also In re
Cutera Sec. Litig., 610 F.3d 1103, 1108, 1111-13 (9th Cir.
2010) (holding that subsections of safe harbor provision are
                                                                              2. Statements Regarding Karma’s Availability
disjunctive, not conjunctive, and noting that an “earnings
projection is by definition a forward-looking statement”).            Plaintiff alleges that Defendants made various statements
                                                                      during the class period regarding the availability on October
In support of their contention that McGee’s statement was             23, 2016 of the Karma drone. 1AC ¶¶ 94, 98, 104, 106, 111.
forward-looking, Defendants point out that at the outset of           Defendants contend that these statements were neither false
the September 19, 2016 call, GoPro stated that its financial          nor misleading because the drone was, in fact, available for
projections were forward-looking statements based on current          sale on that date, and Plaintiff alleges that at least 2,500 drones
assumptions that did not guarantee future performance, and            were sold within the first two weeks after the launch date.
pointed investors to the discussion of risk factors in the
company’s SEC filings. See Declaration of Vincent Barredo,            The first statement alleged to be false or misleading was in a
Ex. C, at 2. Courts have held that language that a company            press release announcing the new products. GoPro stated:
is “on track” to meet a previously-made projection cannot
“meaningfully be distinguished from the future projection of
which [it was] a part.” Xu v. Chinacache Int'l Holdings Ltd.,                      Karma will be available October
No. 15-cv-7952-CAS, 2016 WL 4370030, at *7 (C.D. Cal.                              23rd in the following bundles: [1]
Aug. 15, 2016) (quoting       Inst'l Inv'rs Grp. v. Avaya, Inc.,                   Karma without a GoPro camera for
                                                                                   $799.99 MSRP; [2] Karma bundled
564 F.3d 242, 255 (3d Cir. 2009)); see also Police Ret. Sys.
                                                                                   with HERO5 Black for $1099.99
of St. Louis v. Intuitive Surgical, Inc., No. 10-CV-03451-
                                                                                   MSRP; [and] [3] Karma bundled with
LHK, 2012 WL 1868874, at *10 (N.D. Cal. May 22, 2012)
                                                                                   HERO5 Session for $999.99 MSRP
(statement that company was “on track to grow 55% this year”
                                                                                   (available in early 2017).
provided “indication of a forward-looking projection”).

Plaintiff responds that McGee’s statement did not fall under
the safe harbor provision because he included the phrase “we          1AC ¶ 94 (alterations in original) (emphasis omitted).
believe,” and therefore his words were a factual statement            Plaintiff alleges that this statement was false or misleading
of his present opinion, not a forward-looking statement of            because GoPro had at most 2500 drones, an insufficient
                                                                      supply to make Karma “readily available” for sale. The
revenue guidance. See Omnicare, Inc. v. Laborers Dist.                press release does not, however, say “readily available.”
Council Const. Indus. Pension Fund, 135 S. Ct. 1318, 1326


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Plaintiff has not adequately plead that this statement is false       were severely limited by a design defect in Karma’s battery
or misleading. The same is true of the similar statement made         latch that caused it to lose power mid-flight and crash. 1AC ¶¶
by Woodman in an October 3, 2016 interview. Id. ¶ 104. This           67-69, 78-80, 114-119. Plaintiff alleges that Defendants must
analysis also applies to GoPro’s October 23, 2016 statement           have been aware that the design defect prevented the drone
on its Twitter account, “#GoProKarma is here,” which did not          from flying and capturing smooth footage because adequate
say that any specific quantity of drones were “here” or readily       quality control testing would have detected it, Woodman
available for sale. Id. ¶ 106.                                        himself had used the drone extensively, and in the usual
                                                                      course of business GoPro would have viewed user videos of
Plaintiff also alleges, however, that during the September 19,        crashing drones on the Internet. Id. ¶¶ 11, 14, 22, 48-49, 60,
2016 conference call, Woodman stated, “Karma is initially             78-79, 137.
going to be distributed through select retailers around the
world, and then rolling out from there.” Id. ¶ 98. This               Defendants argue that the optimistic statements regarding
statement presents a different question because Woodman               Karma’s flight time and smooth footage are not inherently
referred to availability at multiple retailers around the world.      incompatible with the drone’s actual performance, especially
Plaintiff alleges that in fact, Karma was only distributed in         in light of the cautionary statements issued by GoPro
the United States online and at a single retailer, Best Buy—          regarding risks related to quality controls and product defects.
and Best Buy did not have sufficient supply for Karma to be           Additionally, Defendants argue that the challenged statements
truly available even there. Id. ¶¶ 71, 80. Accordingly, Plaintiff     are mere “puffery” that is not actionable. The statements,
has adequately alleged that Woodman’s statement was false             however, are not mere corporate optimism, but objectively
or misleading.                                                        verifiable promises of flight time and video quality. Plaintiff
                                                                      has alleged that these statements were false or misleading in
Likewise, Plaintiff alleges that on November 4, 2016, GoPro           light of the experiences of users whose drones crashed before
filed a Form 10-Q with the SEC for the third quarter of               the eighteen-minute mark.
2016, signed by Woodman and McGee, which included
the statement, “We began shipping our Karma drone and
accessories after quarter-end, which became available online             B. Scienter
beginning October 23, 2016 and now available at major U.S.            Defendants argue that Plaintiff fails to plead scienter because
retailers.” Id. ¶ 111. In this statement, again, GoPro referred       the 1AC lacks any mention of specific data or reports, any
to more than one retailer, although only in the United States         non-speculative description of the information that GoPro’s
rather than around the world. On November 8, 2017, only               internal reporting system showed, or any allegation of who
four days later, Defendants recalled “approximately 2,500             actually accessed that information. The Ninth Circuit has
Karma drones purchased by consumers since October 23,”                made clear that allegations of negative internal reports,
2016. Id. ¶ 121. On the same day, an analyst reported that            lacking specifics, are insufficient to plead scienter. See,
this was “not only a surprise to us, but another ding on              e.g. Lipton v. Pathogenesis Corp., 284 F.3d 1027, 1036
management’s credibility having just announced both the               (9th Cir. 2002) (finding insufficient plaintiffs' allegations of
HERO5 and Karma drone at full production.” Id. ¶ 123.
                                                                      “what they think the data shows”); see also In re Leapfrog
Plaintiff has adequately alleged that GoPro’s SEC filing
                                                                      Enterprise, Inc. Securities Litigation, 200 F. Supp. 3d 987,
stating that Karma was “now available to major U.S. retailers”
                                                                      1004 (N.D. Cal. 2016) (finding insufficient allegations that
was false or misleading when made because in reality the
                                                                      the defendant “maintained weekly POS reports regarding
drone was available only at Best Buy, in very limited quantity.
                                                                      LeapPad sales that showed the previous week’s sales, as well
                                                                      as year-to-date sales and the inventory levels being held by
                                                                      retailers.”); In re Autodesk, Inc. Securities Litigation, 132 F.
       3. Statements Regarding Karma’s Capabilities                   Supp. 2d 833, 844 (N.D. Cal. 2000) (plaintiff “must do more
                                                                      than allege that these key officers had the requisite knowledge
 *6 In the complaint, Plaintiff alleges that Defendants
                                                                      by virtue of their ‘hands on’ positions, because that would
made statements that Karma was capable of flight time of
                                                                      eliminate the necessity for specially pleading scienter, as
eighteen minutes and could capture “amazingly smooth”
                                                                      any corporate officer could be said to possess the requisite
aerial footage, which were materially false or misleading
                                                                      knowledge by virtue of his or her position.”)
because the drone’s flight time and recording capabilities



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Here, too, however, Plaintiff alleges not only that Defendants       Plaintiff alleges that GoPro’s stock dropped in response to
had access to a NetSuite enterprise resource planning                reports that supplies of cameras and drones were insufficient
system with real-time reporting capabilities, but also that          to meet demand, that only 2500 drones had been sold and
Defendants were motivated to use that system due to                  that the drone had a battery latch defect that led to a recall—
prior inventory problems. Moreover, GoPro’s executives,              all facts that belied Defendants' earlier statements. He further
including Defendants Woodman and McGee, boasted that                 alleges that analysts specifically identified the news release
GoPro closely tracked its inventory and knew how much                regarding the small number of recalled drones to be “another
inventory was in the channel. See, e.g., 1AC ¶¶ 61, 63, 135.         ding on management’s credibility” in light of management’s
Plaintiff alleges that GoPro had at most 2,500 drones for            recent inaccurate statements. 1AC ¶ 123. Accordingly,
sale globally on October 23, 2016. Id. ¶¶ 95, 105, 107, 112.         Plaintiff has “alleged that a material misrepresentation or
In light of the company’s ability to track its inventory, it is      omission kept the share price artificially inflated and that
plausible to infer that Defendants knew that 2,500 drones            as a result of a corrective disclosure, the share price fell.”
would be insufficient to make Karma globally available at            Greenberg v. Cooper Companies, Inc., No. 11-cv-05697
multiple retailers on the launch date. The inference of scienter     YGR, 2013 WL 2403648, at *14 (N.D. Cal. May 31, 2013).
is particularly strong, because Defendants, despite the low
number of drones alleged to be available, were priming the
market for the sale of 100,000 to 150,000 drones during the          II. Section 20(a)
fourth quarter of 2016. Id. ¶¶ 55, 71.                               In the second claim in the 1AC, Plaintiff alleges that the
                                                                     individual Defendants violated § 20(a) of the Exchange Act
 *7 These allegations are bolstered by allegations of                as control persons of GoPro. Under § 20(a), “a defendant
circumstantial evidence. These include the timing of                 employee of a corporation who has violated the securities
corrective statements and updates to risk factors as well as         laws will be jointly and severally liable to the plaintiff, as
the resignation of Bates as GoPro’s president. Most notably,         long as the plaintiff demonstrates ‘a primary violation of
Woodman and McGee’s Sarbanes-Oxley Act certifications                federal securities law’ and that ‘the defendant exercised actual
filed with the SEC support their scienter, because those             power or control over the primary violator.’ ”       Zucco
certifications required them to access sufficient reporting          Partners, LLC v. Digimarc Corp., 552 F.3d 981, 990 (9th Cir.
information to certify that the information provided did not
                                                                     2009) (quoting      No. 84 Employer-Teamster Joint Council
omit any material facts to make the report not misleading.
                                                                     Pension Tr. Fund v. Am. W. Holding Corp., 320 F.3d 920,
1AC ¶ 149.
                                                                     945 (9th Cir. 2003)). Defendants argue that if Plaintiff fails
                                                                     to plead a predicate violation of § 10(b), his control person
   C. Loss Causation                                                 claim also fails. As discussed above, however, Plaintiff has
Finally, Defendants argue that Plaintiff has not plead loss          sufficiently alleged a primary violation of federal securities
causation. A securities fraud plaintiff must, at the pleading        law under § 10(b) and Rule 10b-5. Accordingly, Plaintiff’s §
stage, “allege that the decline in the defendant’s stock             20(a) claim may proceed.
price was proximately caused by a revelation of fraudulent
activity rather than by changing market conditions, changing
investor expectations, or other unrelated factors.”       Loos                              CONCLUSION
v. Immersion Corp., 762 F.3d 880, 887 (9th Cir. 2014); see
                                                                     For the foregoing reasons, the Court DENIES Defendants'
also15 U.S.C. § 78u–4(b)(4) (“the plaintiff shall have the
                                                                     motion to dismiss (Docket No. 57).
burden of proving that the act or omission of the defendant
alleged to violate this chapter caused the loss for which the
                                                                     Within fourteen days after the date of this order, Plaintiff must
plaintiff seeks to recover damages”). Plaintiff must allege that
                                                                     file a second amended complaint naming all Defendants he
the market learned of and reacted to the “fraud, as opposed
                                                                     intends to sue. No other amendments are permitted except as
to merely reacting to reports of the defendant’s poor financial
                                                                     provided by Federal Rule of Civil Procedure 15.
health generally.” Id. at 887-88 (quoting      Metzler Inv.
GMBH v. Corinthian Colleges, Inc., 540 F.3d 1049, 1063 (9th           *8 IT IS SO ORDERED.
Cir. 2008)).




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                                                    Footnotes


1      The caption of the 1AC lists only two Defendants: GoPro and Woodman. The title of a complaint “must name
       all the parties.” Fed. R. Civ. P. 10(a). The allegations in the body of the 1AC make it plain that McGee
       and Bates also are intended as Defendants, however. 1AC ¶¶ 28-31. Plaintiff must file a second amended
       complaint naming all Defendants he intends to sue.

2      The Court notes that Plaintiff has withdrawn his claims based on statements alleged to have been made on
       November 3, 2016. Opp. at 4 n.8. The Court does not consider the withdrawn claims in this order.



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                        TAB No. 2




                                                                 Pl. Appx. B-009
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                                                                        misrepresentations in their statements to investors in violation

      KeyCite Yellow Flag - Negative Treatment
                                                                        of the Securities Act of 1933, 15 U.S.C. §§ 77k,  77l, 77o
Distinguished by In re Campbell Soup Company Securities Litigation,     (the “Securities Act”) and the Securities Exchange Act of
D.N.J., October 11, 2022
                                                                        1934,     15 U.S.C. §§ 78j, 78t (the “Exchange Act”). Id. ¶¶
                                                                        7–12. Lead Plaintiff seeks to certify a class of stockholders.
                      2018 WL 394878
                                                                        Id. ¶¶ 13–19.
         United States District Court, D. New Jersey.

      Gary CURRAN, Individually and on Behalf
                                                                           A. Freshpet Business Model
       of All Others Similarly Situated, Plaintiff,
                                                                        Defendant Freshpet is a manufacturer and marketer of natural
                           v.                                           fresh foods, refrigerated meals, and treats for dogs and cats.
  FRESHPET, INC., Richard Thompson, Rchard Kassar,                      Id. ¶ 20. Freshpet describes its business model as “disrupting
    Scott Morris and Charles A. Norris, Defendants.                     the North American pet food industry” by offering healthy,
                                                                        organic alternatives to traditional pet food. Id. ¶ 22. It
                    Civil Action No. 16–2263
                                                                        distributes its products through branded refrigerators, known
                                 |
                                                                        as “Freshpet Fridges” (“Fridges”), which are placed in retail
                       Signed 01/09/2018
                                                                        locations. Id. ¶ 20. Freshpet claimed that its Fridges gave
                                 |
                                                                        them a competitive advantage in several ways, including
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                                                                        guaranteeing Freshpet exclusive shelf space in retail stores
                                                                        and allowing it greater control over its brand identity. Id. ¶ 23.
Attorneys and Law Firms
                                                                        Plaintiffs allege that Freshpet's growth strategy is therefore
James E. Cecchi, Carella Byrne Cecchi Olstein Brody &                   directly linked with its ability to install new Fridges in retail
Agnello, P.C., Roseland, NJ, for Plaintiff.                             stores. Id. ¶ 24. These retailers include Petco, PetSmart,
                                                                        Target, and Walmart. Id. ¶¶ 33–51. At the beginning of the
Angelo A. Stio, III, Pepper Hamilton LLP, Princeton, NJ,                Class Period, Freshpet reported that it had installed 14,019
Robert L. Hickok, Ryan Elliot Peters, Pepper Hamilton, LLP,             Fridges in stores. Id.
Philadelphia, PA, for Defendants.

                                                                           B. Allegedly Misleading Statements
                           OPINION                                      Plaintiffs allege that throughout the Class Period, Freshpet
                                                                        experienced issues with its largest customers and most
Madeline Cox Arleo, United States District Judge                        popular products, which ultimately stunted the growth of its
                                                                        Fridges. Plaintiffs allege that despite being aware of these
 *1 THIS MATTER comes before the Court by way of                        issues in early 2015, Defendants failed to disclose them until
Defendants Freshpet, Inc. (“Freshpet”), Richard Thompson,               their November 2015 earnings report.
Richard Kassar, Scott Morris, and Charles A. Norris's
(together, “Defendants”) Motion to Dismiss Lead Plaintiff               Freshpet made its initial public offering in November 2014,
Alaska Electrical Pension Fund's (“Lead Plaintiff”) Amended             and subsequently filed its annual financial report on Form
Complaint on behalf of itself and others similarly situated             10–K for the period ending December 31, 2014 on March
(“Plaintiffs”), ECF No. 28, pursuant to Fed. R. Civ. P. 12(b)           31, 2015. Id. ¶¶ 79, 110. That same day, Freshpet issued a
(6). ECF No. 29. For the following reasons, the motion is               press release and held a conference call to discuss its earnings
DENIED.                                                                 release and operations. Id. ¶ 112. On the call, individual
                                                                        Defendants provided details regarding Freshpet's outlook for
                                                                        the year, including statements about the growth of Freshpet
   I. BACKGROUND
                                                                        Fridges. Id. They specifically stated, “For full-year 2015, we
Plaintiffs are purchasers of Freshpet common stock between
                                                                        expect Freshpet Fridges in the range of 15,100 to 15,600,” and
April 1, 2015 and November 11, 2015 (the “Class Period”).
                                                                        “we are very confident that we are going to be where we need
Am. Compl. ¶ 1. Plaintiffs allege that Defendants, a publicly
                                                                        to be by the end of the year.” Id. ¶¶ 113–14. Following the
traded company and several of its officers and directors, made



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March 31, 2015 call, the price of Freshpet common stock rose         Shredded product has been lower than originally projected,”
to a Class Period high of $25.46 on April 9, 2015. Id. ¶ 116.        “we now expect Freshpet Fridges in the range of 14,900 to
                                                                     15,000,” and “[i]n the third quarter, our production rates were
 *2 Freshpet subsequently filed a registration statement in          significantly lower than we had ever projected.” Id. ¶¶ 137–
connection with its Secondary Offering (the “Registration            39.
Statement”) on April 13, 2015. Id. ¶¶ 20, 25. The Registration
Statement included guidance about the expected growth of             Plaintiffs allege that following the November 2015
Fridges (i.e. “We have successfully expanded our network of          disclosures, Freshpet was downgraded by several analysts. Id.
Freshpet Fridges within leading blue-chip retail chains ... we       ¶¶ 144–48. The price of Freshpet subsequently fell to $6.28
believe there is an opportunity to install a Freshpet Fridge         per share on November 12, 2015, the end of the Class Period.
in at least 35,000 stores across North America.”). Id. ¶             Id. ¶ 149.
51. Plaintiffs allege that Freshpet insiders and Defendants
collectively sold 6.1 million shares of their personally held        Plaintiffs allege that Defendants “artificially inflated” the
common stock in the Secondary Offering, earning gross                price of Freshpet common stock during the Class Period by
proceeds of $131.1 million. Id. ¶ 154.                               publicly stating materially false and misleading statements
                                                                     throughout 2015 about its “manufacturing, operations,
Defendants reiterated this guidance in their August 11,              forecasts, and business prospects.” Id. ¶¶ 156–57. Plaintiffs
2015 earnings call. Id. ¶¶ 124–32. Defendant Kassar stated           allege that they suffered losses from the decline in the
that he projected “net sales, excluding Freshpet Baked test          common stock price of Freshpet after Defendants disclosed
product, to be in the range of $112 million to $114.5 million,       the truth about the company to the public in November 2015.
representing an increase of 29% to 32% compared to 2014.”            Id.
Id. ¶ 129. Also on August 11, Freshpet disclosed that its gross
margin gains throughout the rest of 2015 were likely to be           Plaintiffs specifically allege that Defendants misled investors
more modest than contemplated and were forecasted to come            about Freshpet's growth potential by failing to disclose
in 100 to 200 basis points below prior forecast for the year.        material information with respect to: (1) Freshpet's ability to
Id. ¶ 132. In addition, the Company predicted it would be            expand its Fridges in retail locations, including stores such
closer to the low end of its guidance for Fridge placement. Id.      as Target, BJ's, A&P, and Haggen; (2) difficulties producing
Plaintiffs allege that these statements caused analysts to lower     Freshpet's baked product line at the forecasted profit margin
their earnings per share ratings for Freshpet. Id. On August         stemming from a factory fire that halted production for two
12, 2015, the price of Freshpet common stock declined $0.87          weeks; (3) and production problems with Freshpet's shredded
per share, to close at $13.73 per share. Id. ¶ 133.                  product line stemming from the frequent break down of
                                                                     manufacturing equipment. Id. ¶¶ 86–108.
On November 11, 2015, Freshpet issued a press release
announcing its financial results for the third quarter of 2015,       *3 Plaintiffs seek damages for violations of the Securities
updating its previous guidance to note challenges to its             Act Sections 11, 12(a)(2) and 15, and the Exchange Act
business. Id. ¶ 133. Specifically, Defendants stated:                Sections 10(b) and 20(a). Id. ¶¶ 58–78, 165–70. Defendants
                                                                     move to dismiss all counts for failure to state a claim.


             We experienced lower than expected
                                                                       II. LEGAL STANDARD
             Freshpet Fridge growth and our gross
                                                                     In considering a Rule 12(b)(6) motion to dismiss, the court
             margin was negatively affected by
                                                                     accepts as true all of the facts in the complaint and draws
             manufacturing inefficiencies from new
             product innovation and the near term                    all reasonable inferences in favor of the plaintiff.  Phillips
             cost of adjusting processes on our                      v. Cnty. of Allegheny, 515 F.3d 224, 231 (3d Cir. 2008).
             primary products.                                       Moreover, dismissal is inappropriate even where “it appears
                                                                     unlikely that the plaintiff can prove those facts or will
                                                                     ultimately prevail on the merits.” Id. However, the facts
Id. ¶ 135. Defendants noted, “production capabilities                alleged must be “more than labels and conclusions, and a
including the production throughput of our new Freshpet              formulaic recitation of the elements of a cause of action will



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                                                                      harbor for forward-looking statements. See15 U.S.C. § 78u–
not do.”     Bell Atlantic Corp. v. Twombly, 550 U.S. 544,
                                                                      5(c). Plaintiffs counter that despite the forward-looking nature
555 (2007). That is, the allegations in the complaint “must be
                                                                      of some of the statements, they do not fall under the PSLRA
enough to raise a right to relief above the speculative level.”
                                                                      safe harbor because they contain omissions of present fact.
Id. Accordingly, a complaint will survive a motion to dismiss
                                                                      The Court agrees.
if it provides a sufficient factual basis such that it states a
facially plausible claim for relief.    Ashcroft v. Iqbal, 556         *4 The PSLRA's safe harbor provision, 15 U.S.C. § 77z–
U.S. 662, 678 (2009).                                                 2, “immunizes from liability any forward–looking statement,
                                                                      provided that: the statement is identified as such and
In addition to the customary pleading requirements under              accompanied by meaningful cautionary language; or is
Rule 8, plaintiffs must meet the heightened pleading                  immaterial; or the plaintiff fails to show the statement was
requirements under Rule 9(b) and the Private Securities
                                                                      made with actual knowledge of its falsehood.” Avaya, 564
Litigation Reform Act (“PSLRA”) for Exchange Act claims
                                                                      F.3d at 254. However, this safe harbor provision does not
sounding in fraud. See City of Edinburgh, 754 F.3d at 168.            apply to a “ ‘mixed present/future statement ... with respect
To allege fraud under Rule 9(b), “a party must state with
                                                                      to the part of the statement that refers to the present.’ ”   Id.
particularity the circumstances constituting fraud.” Fed. R.
                                                                      at 255 (quoting      Makor Issues & Rights, Ltd. v. Tellabs,
Civ. P. 9(b). At a minimum, “plaintiffs [must] support their
                                                                      Inc., 513 F.3d 702, 705 (7th Cir. 2008)). As such, “to the
allegations of securities fraud with all of the essential factual
                                                                      extent plaintiffs [ ] challenge defendants' alleged omission
background that would accompany ‘the first paragraph of a
                                                                      of present facts with respect to the challenged statements,
newspaper story’—that is, the ‘who, what, when, where and
                                                                      PSLRA's safe harbor does not apply.”       Mallen v. Alphatec
how’ of the events at issue.”       In re Alpharma Inc. Sec.
                                                                      Holdings, Inc., 861 F. Supp.2d 1111, 1126 (S.D. Cal. 2012)
Litig., 372 F.3d 137, 147 (3d Cir. 2004) (citation omitted).
                                                                      (concluding that defendants' statements that the company
                                                                      had “already begun to realize synergies from the Scient'x
  III. DISCUSSION                                                     acquisition” and “we anticipate that our revenues throughout
                                                                      the balance of 2010 will continue to grow ” were not protected
   A. Exchange Act Claims                                             by the PSLRA safe harbor for “forward-looking” statements,
In a securities fraud action, to state a claim under § 10(b)          but dismissing the case on other grounds); see alsoIn re
and Rule 10b–5, a plaintiff must allege “(1) a material               Majesco Securities Litig., 2006 WL 2846281, at *4 (D.N.J.
misrepresentation or omission, (2) scienter, (3) a connection         Sept. 29, 2006) (noting “allegations based upon omissions
between the misrepresentation or omission and the purchase            of existing facts or circumstances do not constitute forward-
or sale of a security, (4) reliance upon the misrepresentation or     looking statements protected by the safe harbor”) (quoting
omission, (5) economic loss, and (6) loss causation.” City                  In re MobileMedia Securities Litig., 28 F. Supp. 2d 901,
of Edinburgh Council v. Pfizer, Inc., 754 F.3d 159, 167               930 n.18 (D.N.J. 1998)).
(3d Cir. 2014). “A corporation is liable for statements by
employees who have apparent authority to make them.” Inst.            Defendants are correct that many of the allegedly misleading
Invs. Grp. v. Avaya, Inc., 564 F.3d 242, 251 (3d Cir. 2009)           statements are forward-looking, because they predict future
(internal citation omitted).                                          Fridge placement. But a number of these statements
                                                                      encompass representations of present fact, and those
Here, Defendants assert that Plaintiffs have failed to show the       representations are not subject to the PSLRA safe harbor.
first, second, and sixth elements of a 10–b(5) claim, namely          These statements include: (1) “We expect continued demand
(1) a material misrepresentation or omission by Defendants,           for our Freshpet Fridges;” (2) “The store count is obviously
(2) scienter, and (3) loss causation. The Court disagrees.            growing;” (3) “We are also pleased with our initial
                                                                      test of Freshpet's new baked product;” and (4) “we
                                                                      have enhanced our strategic manufacturing infrastructure
   1. PSLRA Safe Harbor                                               capabilities at our Freshpet Kitchens.” These statements
Defendants first argue that the allegedly misrepresentative           incorporate representations about current Fridge growth and
statements all qualify for immunity under the PSLRA safe              Freshpet's current manufacturing capacity.



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                                                                     as rotators that were not designed to manufacture shredded
Similarly, Plaintiffs primarily allege that Defendants'              product. Am. Compl. ¶ 104. “As a result, Freshpet was
statements are misleading by virtue of omission of existing          replacing manufacturing equipment at a faster rate than
facts. Plaintiffs claim that Defendants omitted facts about          anticipated.” Id.
their Fridge-placement and sales problems at major retailers,
as well as manufacturing problems affecting the production            *5 Plaintiffs allege that the problems only continued
of its shredded and baked products during their March                throughout the year. By August 2015, Defendants had
and August 2015 earnings calls. See id. ¶¶ 117, 134.                 been presented with more evidence that it could not meet
Representative statements made during the calls include:             the 15,100 to 15,600 Fridge placement projection. With
(1) “We continue to expect to install approximately 2,000            respect to Freshpet's baked product, they allege that due to
Freshpet fridges in new store locations each year. Long-term,        manufacturing issues, including a fire at Freshpet's Baxter
we believe 35,000 store locations are achievable;” (2) For           Springs facility on July 6, 2015, “the profit margin for the
full-year 2015, we expect Freshpet fridges in the range of           baked product was significantly lower than Freshpet's original
15,100 to 15,600; (3) “For the full year 2015, I'll reiterate        expectations.” Id. ¶ 108. They allege that “in the first half of
our previously disclosed guidance. We continue to expect             2015,” Freshpet was on the verge of being fined by Walmart
Freshpet Fridges in the range of 15,100 to 15,600;” (4) “We          for not being able to keep its products in stock, thereby
are also pleased with our initial test of Freshpet's new baked       limiting its growth opportunities at the store. Id. ¶ 107. The
product;” (5) “in order to keep up with demand and support           company was also fined by BJ's in the summer of 2015 for
our fantastic sales growth .... we are upsizing much of the          not maintaining sufficient frozen products. Id. ¶ 100.
equipment in phase two to provide increased capacity;” and
(6) “we took advantage of a unique opportunity to purchase           The omission of any information with respect to challenges
a 60,000 square foot building on 6.5 acres directly adjacent         with retailers and manufacturing problems was material and
to our current Freshpet Kitchens location in Bethlehem,              misleading because that omission led investors to believe that
Pennsylvania.” Id. ¶¶ 112–13, 126–29.                                Freshpet was on track to meet its predicted Fridge growth
                                                                     for the year 2015 of 15,100 to 15,600. In fact, as Defendants
Reading Defendants' statements in context, and construing all        later revealed, their Fridge placement for the year would fall
inferences in Plaintiffs' favor, the Court finds that Plaintiffs     several hundred below the original guideline range. Indeed,
have adequately alleged that Defendants made actionable              by November 2015, Freshpet had only placed a total of 14,670
misleading statements about their ability to grow Fridge             Fridges. Am. Compl. ¶ 135.
placement across North American retailers in their March
and August 2015 earnings calls. Plaintiffs have plausibly            The Court's reading of these statements is further bolstered
alleged that Defendants misled investors by suggesting that          by analysts' comments during the earnings calls, indicating
Freshpet was able to continue to place Fridges at the same           that they understood Defendants' statements to reflect current
rate of growth as it had experienced between 2011 and 2014,          growth. For instance, during the August 2015 call, an analyst
when Defendants knew by early 2015 that Freshpet was                 asked, “you describe first quarter definitely ahead of your
facing substantial obstacles that would impede the growth of         plan. Second quarter you said you were happy with the results.
its Fridges. Plaintiffs allege that Defendants were aware of         Is it fair to say that the first half of the year is ahead of plan
Freshpet's problems with major retailers as early as March           as you originally had it be?”
2015 because: (1) “in the beginning of 2015,” individual
Defendants Kassar and Morris received production updates             Accordingly, Defendants' statements in the March and August
from Freshpet's Bethlehem facility reflecting the alleged            2015 earnings calls, taken in light of the overall context
manufacturing problems with Freshpet's shredded product;             in which they were made, are not subject to the PSLRA
(2) throughout the Class Period, retailers PetSmart, BJ's, and       safe harbor for forward-looking statements because they (1)
Walmart had expressed concerns about the products; (3) A&P           incorporated misleading representations of present fact, and/
filed for bankruptcy in the first half of 2015 while Target          or (2) were made misleading by material omissions. 1
closed all 133 Canadian stores in April 2015. Plaintiffs allege
these issues with specificity. For example, the Amended
Complaint details the origins of the manufacturing problems,           2. Scienter
alleging that Freshpet was using production equipment such



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Defendants next contend that even if the allegedly
                                                                      holistic review of the evidence.”      Rahman v. Kid Brands,
misrepresentative statements are not protected by the PSLRA
Safe Harbor, they are still inactionable because Plaintiffs have      Inc., 736 F.3d 237, 245 (3d Cir. 2013) (citing        Tellabs,
failed to allege that they were made with a strong inference          Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 325–26
of scienter. The Court disagrees.                                     (2007)). Here, Plaintiffs have pled motivation. They allege
                                                                      that Individual Defendants timed their Secondary Offering at
The Third Circuit has established that in an Exchange Act             just below Freshpet's peak price. After Freshpet announced
matter, plaintiffs may establish the requisite scienter in one        its first annual results on March 31, 2015, the price of its
of two ways. “They may either allege facts that establish             stock rose to the Class Period high of $25.46 on April 9,
that defendants had the motive and opportunity to commit              2015. The next day, Individual Defendants filed a Registration
fraud, or they may set forth facts that constitute circumstantial     Statement that allowed them to sell their own shares, reaping
evidence of reckless or conscious misbehavior.” In re Great           proceeds of $131 million. Accordingly, Plaintiffs have alleged
Atlantic and Pacific Tea Co., 103 Fed. App'x 465, 468–69              motive.
(3d Cir. 2004). Where, as here, the alleged fraud is based
on non-disclosure of facts, “evidence that the defendants had         Defendants' arguments that Plaintiffs have not sufficiently
actual knowledge of the facts is sufficient to show scienter.”        alleged scienter are unavailing. In Tellabs, the Supreme Court
                                                                      instructed lower courts to “consider plausible, nonculpable
Id. (citing  GSC Partners CDO Fund v. Washington, 368
                                                                      explanations for the defendant's conduct, as well as inferences
F.3d 228, 237–38, (3d Cir. 2004)).
                                                                      favoring the plaintiff.”        551 U.S. at 323. But “the
Here, Plaintiffs properly allege scienter based on Defendants'        inference ... need not be irrefutable, i.e. of the “smoking-gun”
conscious decision to omit presently known facts. As                  genre, or even the most plausible of competing inferences.”
discussed above, Plaintiffs have alleged that Defendants had          Id. (quotations omitted). Here, Plaintiffs have provided a
extensive information about difficulties facing their largest         theory that Defendants omitted material information to inflate
customers, as well as challenges meeting demand due to                the Freshpet stock price, allowing them to profit after the
manufacturing problems. See supra Section III(A)(1).                  Secondary Offering. Defendants, however, have not provided
                                                                      the Court with any cogent non-fraudulent inference that is
Plaintiffs have pled such knowledge with particularity.               more compelling than the inferences of fraud alleged by
Especially compelling are their allegations that in the               Plaintiffs.
beginning of 2015, Defendants Kassar and Morris were
presented with production updates from the Bethlehem                  Defendants also contend that Plaintiffs have failed to allege
production facility that reflected manufacturing problems             that Defendants were aware of the materiality of any specific
with the shredded product. These manufacturing problems               omitted fact on Freshpet's growth projections. Defs.' Opp'n
allegedly included the frequent breakdown of the equipment            at 20. But the proper inquiry is “whether all of the facts
used to produce the shredded product. As discussed above,             alleged, taken collectively, give rise to a strong inference of
Plaintiffs allege that Defendants were also aware that                scienter.” Avaya, 564 F.3d at 269 (quoting Tellabs, 127
the manufacturing issues affected their ability to expand             S.Ct. at 2509)). Here, Plaintiffs have alleged that Plaintiffs
their Fridges because customers such as Walmart and BJ's              were aware of manufacturing issues and retailer issues from
had reprimanded Freshpet in the first half of 2015 about              the beginning of 2015, such that the inclusion of these facts
its failure to keep their products sufficiently stocked in            would have presented a materially different outlook for the
their stores. In addition, the Amended Complaint details              company's growth to a reasonable investor.
countless examples of financial troubles at Freshpet's leading
customers, including the closure of Target's Canadian stores,         Finally, Defendants also dispute many of the allegations,
A&P's bankruptcy, and declining growth at Petco and                   denying Freshpet's strained relationship with BJ's, the
PetSmart.                                                             stagnation of its growth at Petco and PetSmart, and the
                                                                      discovery of low profit margins for its baked product. Defs.'
 *6 Plaintiffs have also pled Defendants' motive and                  Opp'n at 20–21. But at the motion to dismiss stage, the Court
opportunity to commit fraud. “Though it is not necessary              is obliged to accept all factual allegations in the Complaint as
to plead motive to establish that a defendant acted with              true. In re Merck & Co., Inc. Vytorin/Zetia Sec. Litig., No.
scienter, its presence can be persuasive when conducting a            08–2177, 2009 WL 2855601, at *4 (D.N.J. Sept. 2, 2009)


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(denying dismissal for lack of scienter where “the inference           and business prospects.” Id. ¶ 157. Plaintiffs allege that on
of scienter created by Plaintiffs' allegations is at least as          August 11, 2015, Freshpet disclosed that its gross margin
compelling as any other plausible inference that be drawn.”).          gains throughout the rest of 2015 would be more modest than
                                                                       it had predicted earlier in the year, and pointed to the lower
Accordingly, the Exchange Act claims cannot be dismissed at            end of its 15,100 to 15,600 Fridge range. Id. ¶ 132. In response
this time for failure to plead scienter.                               to the news, Freshpet stock fell 6% to a close of 13.73 on
                                                                       august 12, 2015. Id. ¶ 133. Finally, Plaintiffs allege that when
                                                                       Freshpet finally revealed its manufacturing and retailer issues
   3. Loss Causation                                                   on November 11, 2015, its stock price fell 25% to close at
Defendants also dispute whether Plaintiffs have sufficiently           $6.28 on November 12, 2015. Id. ¶ 149.
alleged loss causation. The PSLRA requires a plaintiff
to allege that a defendant's act or omission “caused the               Therefore, the Exchange Act claims cannot be dismissed
loss” for which he seeks to recover. 15 U .S.C. § 78u–                 for failure to plead loss causation. Because the Court finds
4(b)(4); see also McCabe v. Ernst & Young, LLP, 494                    that Plaintiffs have sufficiently pled Exchange Act claims,
F.3d 418, 426 (3d Cir.2007) (“In order to satisfy the loss             it cannot dismiss the derivative Section 20 claim against
causation requirement ... the plaintiff must show that the             individual Defendants at this time.
defendant misrepresented or omitted the very facts that were
a substantial factor in causing the plaintiff's economic loss”).
                                                                          B. Securities Act
An allegation that the value of a stock declined following
                                                                       Section 11 of the Securities Act permits recovery by
the public announcement of “bad news” does not, by itself,
                                                                       purchasers of securities where “a registration statement, as
demonstrate loss causation.    In re Tellium, Inc. Sec. Litig.,        of its effective date: (1) contained an untrue statement of
No. 02–5878, 2005 WL 2090254, at *4 (D.N.J. Aug.26, 2005)              material fact; (2) omitted to state a material fact required
(“loss causation is not pled upon allegations of drops in              to be stated therein; or (3) omitted to state a material fact
stock price following an announcement of bad news that does            necessary to make the statements therein no misleading.”
not disclose the fraud”). Rather, a plaintiff must allege “that
                                                                          In re Suprema Specialties, Inc. Sec. Litig., 438 F.3d 256,
the misstatement or omission concealed something from the
                                                                       269 (3d Cir. 2006) (internal quotations omitted). It is a
market that, when disclosed, negatively affected the value of
                                                                       “virtually absolute liability provision[ ], which do[es] not
the security.”  Lentell v. Merrill Lynch, 396 F.3d 161, 173            require plaintiffs to allege that defendants possessed any
(2d Cir.2005). Allegations of loss causation are not subject
                                                                       scienter. Id. (quoting   In re Adams Golf, Inc. Sec. Litig.,
to the heightened pleading requirements of        Rule 9(b) and        381 F.3d 267, 274 n.7 (3d Cir. 2004)).
the PSLRA.     Dura Pharms, Inc. v. Broudo, 544 U.S. 336,
348 (2005). The issue of loss causation is usually not resolved        Plaintiffs allege that Defendants omitted information about
                                                                       Freshpet's sales and Fridge placement issues, as well as its
on a motion to dismiss. EP Medsystems, Inc. v. EchoCath,               manufacturing issues from its April 30, 2015 Registration
Inc., 235 F.3d 865, 884 (3d Cir. 2000) (“Whether the plaintiff         Statement in violation of Item 303. Am. Compl. ¶¶ 32–57.
has proven [loss] causation is usually reserved for the trier of       Representative statements include: (1) “We have successfully
fact.”).                                                               expanded our network of Freshpet Fridges within leading
                                                                       blue-chip retail chains including Albertsons, BJ's, Kroger,
 *7 Here, the Amended Complaint sufficiently pleads loss               Petco, PetSmart, Publix, Safeway, Target, Wal–Mart and
causation with respect to the alleged omissions on the March           Whole Foods;” (2) “we believe there is an opportunity to
and August earnings calls. Plaintiffs assert that on April 9,          install a Freshpet Fridge in at least 35,000 stores across
2015, there was a 31% increase in Freshpet's stock price to            North America;” (3) “We believe there is a significant
$25.46 per share as a result of the company's announcement             opportunity to continue to grow our network of Freshpet
on March 31, 2015 predicting that Freshpet Fridges will be             Fridges by expanding within the store base of existing and
in 15,100 to 15,600 stores by year end. Am. Compl. ¶¶ 112–             new customers;” and (4) “Over the next three years, we plan
16. Plaintiffs allege that Freshpet's stock price was artificially     to install over 6,000 Freshpet Fridges in new retail locations.”
inflated at that time because it was based on a “misleading            Id.
picture of Freshpet's manufacturing, operations, forecasts,



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                                                                       § 229.303. A registrant must “describe any unusual or
Defendants first argue that several of the alleged statements 2
                                                                       infrequent events or transactions or any significant economic
are inactionable statements of opinion. Defs.' Opp'n at 28.
                                                                       change that materially affected the amount of reported income
The Court disagrees. In Omnicare, Inc. v. Laborers District
                                                                       from continuing operations.” To bring a claim pursuant
Council Construction Industry Pension Fund, the Supreme
                                                                       to the Securities Act based on an Item 303 violation, a
Court held that a statement of opinion is subject to omissions
                                                                       plaintiff must allege that the defendant had actual knowledge
liability under the second clause of Section 11 if a plaintiff
                                                                       of of the alleged undisclosed relevant rent or uncertainty.
can plead particular material facts underlying the opinion,
the omission of which made the opinion misleading “to                  See Indiana Pub. Ret. Sys. V. SAIC, Inc., 818 F 3d
a reasonable person reading the statement fairly and in                85, 95 (2d Cir. 2017). Plaintiffs have done so here. As
                                                                       discussed above, reading Defendants' statements in context,
context.”     135 S. Ct. 1318, 1332 (2015). Plaintiffs have
                                                                       and construing all inferences in Plaintiffs' favor, they have
sufficiently pled such an omission here. They allege that at the
                                                                       alleged that by April 2015, Defendants were aware of
time of the Registration Statement, manufacturing and retailer
                                                                       the manufacturing and retailer issues that would impede
problems had already affected Freshpet's ability to expand its
                                                                       Freshpet's ability to expand Fridge placement. Accordingly,
fridge growth. As such, their statements that they believe that
                                                                       Plaintiffs' claims based on violations of Item 303 cannot be
Freshpet could expand by 6,000 Fridges over the next few
                                                                       dismissed.
years, with an opportunity to ultimately install 35,000 Fridges
in North America were misleading.
                                                                       Because the Court finds that Plaintiffs have sufficiently pled
                                                                       Securities Act claims, it cannot dismiss the derivative Section
 *8 Next, Defendants argue that the Registration Statement
                                                                       15 claim against individual Defendants at this time.
is protected by the PSLRA Safe Harbor for forward–looking
statements. The Court finds that for the reasons stated above
(see supra Section III(A)(1)), Plaintiffs have sufficiently pled       IV. CONCLUSION
a violation based on the omission of known facts. Therefore,           For the reasons set forth above, Defendants Freshpet, Inc.,
the statements are not protected by the PSLRA Safe Harbor.             Richard Thompson, Richard Kassar, Scott Morris and Charles
                                                                       A. Norris' Motion to Dismiss, ECF No. 28, is DENIED. An
Finally, Defendants contend that Plaintiffs failed to satisfy          appropriate Order accompanies this Opinion.
the pleading standard for claims based on a violation of
Item 303. The Court disagrees. Item 303 requires registrants
to “describe any known trends or uncertainties that have               All Citations
had or that the registrant reasonably expects will have a
                                                                       Not Reported in Fed. Supp., 2018 WL 394878, Fed. Sec. L.
material favorable or unfavorable impact on net sales or
                                                                       Rep. P 100,001
revenues or income from continuing operations.” 17 C.F.R.




                                                           Footnotes


1      Because the Court finds that Plaintiffs have pled misrepresentations based on omissions of material
       information, it does not consider whether Defendants' forward-looking statements were accompanied by
       sufficient cautionary language.

2      E.g. “We believe there is an opportunity to install a Freshpet Fridge in at least 35,000 stores across North
       America;” “We believe our Freshpet Fridges generate compelling economics,” “We believe there is a a
       significant opportunity to continue to grow our network of Freshpet Fridges.” Am. Compl. ¶¶ 51–52.



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                        TAB No. 3




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                                                                     (Exchange Act),       15 U.S.C. §§ 78j(b) and 78t(a), and Rule
                   2012 WL 3242447                                   10b–5, 17 C.F.R. § 240.10b–5, promulgated thereunder. The
      Only the Westlaw citation is currently available.              motion was heard on May 3, 2012. Having considered all of
               United States District Court,                         the parties' papers and oral argument on the motion, the Court
                     N.D. California.                                grants Defendants' motion in part, with leave to amend.

        Robert CURRY, Individually and on Behalf
         of All Others Similarly Situated, Plaintiff,
                                                                                            BACKGROUND
                             v.
           HANSEN MEDICAL, INC.; Frederic                            I. Second Amended Complaint
          H. Moll; Steven M. Van Dick; Gary C.                       The parties in this action previously stipulated to the filing of a
        Restani; and christopher sells, Defendants.                  first amended complaint and a second consolidated amended
                                                                     complaint (2AC). On August 25, 2011, another judge of this
                      No. C 09–5094 CW.                              Court granted Defendants' motion to dismiss the 2AC, with
                               |                                     leave to amend. Docket No. 59. The statement of facts in that
                        Aug. 10, 2012.                               order is summarized as follows.

Attorneys and Law Firms
                                                                     Defendants are Hansen, Hansen's former Chief Executive
Michael M. Goldberg, Ex Kano S. Sams, II, Lionel Z. Glancy,          Officer (CEO), Defendant Moll; Hansen's former Chief
Robin B. Howald, Robert V. Prongay, Peter A. Glancy                  Financial Officer (CFO), Defendant Dick; Hansen's former
Binkow & Goldberg LLP, Los Angeles, CA, for Plaintiffs.              Chief Operating Officer (COO), Defendant Restani; and
                                                                     Hansen's former Senior Vice President (SVP) of Commercial
Charlene Sachi Shimada, John D. Pernick, Bingham                     Operations, Defendant Sells. Hansen's revenue recognition
McCutchen LLP, San Francisco, CA, for Defendants.                    policy for its main product, the Sensei Robotic Catheter
                                                                     System (Sensei unit), is based on American Institute
                                                                     of Certified Accountants, Statement of Position 97–2
          ORDER GRANTING, IN PART,                                   (SOP 97–2), Software Revenue Recognition, which allows
     DEFENDANTS' MOTION TO DISMISS THIRD                             recognition of revenue only after installation of the product
      CONSOLIDATED AMENDED COMPLAINT                                 and training of the end-users are complete. In August
                                                                     2009, an investigation conducted by Hansen's audit team
CLAUDIA WILKEN, District Judge.                                      with independent counsel concluded that data on certain
                                                                     sales transactions was withheld from Hansen's accounting
 *1 In this consolidated securities fraud class action,
                                                                     department and outside auditors, and that documents related
Defendants Hansen Medical, Inc., and former Hansen
                                                                     to some revenue were falsified so that Hansen's accounting
employees Frederic H. Moll, Steven M. Van Dick, Gary C.
                                                                     department had incomplete information about temporary
Restani and Christopher Sells move to dismiss the Third
                                                                     installations, unfulfilled training obligations and undisclosed
Consolidated Amended Complaint (3AC). 1 Lead Plaintiffs              side agreements. Also, the investigation raised questions
Mina and Nader Farr, and Plaintiffs Robert Curry, Kim                about Hansen's distributors' ability to install Sensei units and
M. Prenter, Muthusamy Sivanantham, and Jean and Gary                 train end-users independently. On October 8, 2009, these
Cawood, (collectively, Plaintiffs), bringing this putative class     findings were made public in Hansen's Form 8–K filed
action on behalf of the Hansen shareholders who purchased            with the Securities and Exchange Commission (SEC). On
or acquired stock between February 19, 2008 and October              November 16, 2009, Hansen restated its financial statements
18, 2009 (Class Period), oppose the motion. Plaintiffs allege        for the year ending December 31, 2008, and for the quarters
that, during the Class Period, Defendants induced them to            ending March 31, June 30 and September 30, 2008 and March
acquire Hansen stock at artificially inflated prices by making       31 and June 30, 2009 (the Restatement). As a result of the
knowing and intentional misstatements regarding Hansen's             Restatement, Hansen's stock price decreased significantly.
revenue recognition and sales performance in violation of
§§ 10(b) and 20(a) of the Securities Exchange Act of 1934             *2 In the August 25, 2011 Order, the Court found that
                                                                     Plaintiffs had not alleged that Defendants made misstatements


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with actual knowledge of their falsity. Order at 7. The Court
held that the accounts from twelve confidential witnesses
(CWs) were insufficient to allege scienter because: (1)                 B. Allegations Against Other Individual Defendants
only one of the CWs was employed by Hansen throughout                In meetings and conversations with financial analysts,
the entirety of the class period; (2) none of the CWs                Defendants Moll, Van Dick and Restani consistently gave
worked directly with revenue recognition; (3) many of the            optimistic predictions about the pipeline for future Sensei
allegations were hearsay and, even at face value, failed             unit sales and the utilization of Sensei units by purchaser
to demonstrate Defendants had knowledge of the alleged               hospitals. In these conversations, Moll, Van Dick and Restani
fraudulent activity; and (4) the allegations stated information      also provided positive interpretations of questionable data
that could only circumstantially give rise to an inference of        regarding sales of catheters. Based upon the sales data
scienter. Order at The Court found the following allegations         and reports they received on a weekly basis, Defendants
were insufficient to show scienter: (1) Defendants' presumed         Moll, Van Dick and Restani knew or should have known
knowledge of Hansen's core business activity; (2) the                that revenue was recognized for installations that did not
magnitude of the Restatement and accounting violations; (3)          meet Hansen's accounting guidelines. Based upon sales of
Defendants' certifications pursuant to the Sarbanes–Oxley            catheters, Defendants Moll, Van Dick and Restani knew or
                                                                     should have known that utilization of Sensei units at customer
Act of 2002(SOX),       15 U.S.C. § 7201, et seq.; and (4)           hospitals was not strong.
Defendants' decision to conduct two public equity offerings
during the Class Period. Order at 9–11.                               *3 Plaintiffs assert the following claims for relief:


II. Third Amended Complaint                                          (1) against all Defendants, violation of § 10(b) of the
                                                                     Exchange Act and Rule 10b–5(b); (2) against Sells alone,
   A. Allegations Against Defendant Sells
                                                                     violation of § 10(b) of the Exchange Act and Rules 10b–5(a)
Sells was one of only six Hansen executives and, as the
                                                                     and (c); and (3) against all Defendants, violation of § 20(a) of
SVP of Commercial Operations, he was responsible for sales,
                                                                     the Exchange Act.
training, installation and customer service. 3AC ¶ 23. He
participated in weekly meetings with the other Defendants
regarding the status of Sensei unit sales and installations,                             LEGAL STANDARD
received Sensei unit sales and installations reports, and
                                                                     A complaint must contain a “short and plain statement of
monitored utilization of Sensei units and catheter sales data. 2
                                                                     the claim showing that the pleader is entitled to relief.”
During installation status meetings, Van Dick, Moll and Sells
                                                                     Fed.R.Civ.P. 8(a). When considering a motion to dismiss
would reach a consensus on which Sensei units could be
                                                                     under Rule 12(b)(6) for failure to state a claim, dismissal
recognized as revenue. 3AC ¶ 52. Sells participated in calls
                                                                     is appropriate only when the complaint does not give the
with Hospital A and reprimanded a Hansen employee for
                                                                     defendant fair notice of a legally cognizable claim and the
documenting an agreement that the Sensei unit installed
would immediately be taken apart, stored and reinstalled in a        grounds on which it rests.     Bell Atl. Corp. v. Twombly,
later quarter when the construction of Hospital A's laboratory       550 U.S. 544, 555, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007).
was complete. 3AC ¶¶ 125, 127. Sells directed a Hansen               In considering whether the complaint is sufficient to state
employee to obtain signatures required to recognize revenue          a claim, the court will take all material allegations as
from a Sensei unit sold to Hospital B, even though Sells             true and construe them in the light most favorable to the
knew it would be impossible for the required training to be
                                                                     plaintiff.   NL Indus., Inc. v. Kaplan, 792 F.2d 896, 898
completed before the end of the quarter. 3AC ¶¶ 134–36. Sells
                                                                     (9th Cir.1986). However, this principle is inapplicable to legal
entered into a side agreement to make a leasing company
                                                                     conclusions; “threadbare recitals of the elements of a cause
whole if Hospital C returned its Sensei unit, by helping the
                                                                     of action, supported by mere conclusory statements,” are not
leasing company find another buyer. 3AC ¶¶ 142–48. Sells
helped arrange for the installation and immediate dismantling        taken as true.    Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct.
and storage of a Sensei unit sold to Hospital D, which allowed       1937, 1949–50, 173 L.Ed.2d 868 (2009) (citing         Twombly,
Hansen to record approximately $550,000 in revenue for the           550 U.S. at 555).
quarter. 3AC ¶¶ 149–54.



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                                                                       misrepresentation or omission of material fact, (2) scienter,
                                                                       (3) a connection with the purchase or sale of a security, (3)
           REQUESTS FOR JUDICIAL NOTICE
                                                                       transaction and loss causation, and (5) economic loss.”     In
Federal Rule of Evidence 201 allows a court to take judicial           re Gilead Sciences Securities Litig., 536 F.3d 1049, 1055 (9th
notice of a fact “not subject to reasonable dispute in that it         Cir.2008).
is ... capable of accurate and ready determination by resort
to sources whose accuracy cannot reasonably be questioned.”             *4 Plaintiffs must plead any allegations of fraud with
Even where judicial notice is not appropriate, courts may also
properly consider documents “whose contents are alleged                particularity, pursuant to     Rule 9(b) of the Federal Rules
in a complaint and whose authenticity no party questions,              of Civil Procedure.       In re GlenFed, Inc. Sec. Litig., 42
but which are not physically attached to the [plaintiff's]             F.3d 1541, 1543 (9th Cir.1994) (en banc). Pursuant to the
pleadings.”      Branch v. Tunnell, 14 F.3d 449, 454 (9th              requirements of the Private Securities Litigation Reform
Cir.1994).                                                             Act of 1995 (PSLRA), the complaint must “specify each
                                                                       statement alleged to have been misleading, the reason or
Defendants request that the Court take judicial notice of              reasons why the statement is misleading, and, if an allegation
copies of completed SEC filings by Hansen, Stereotaxis and             regarding the statement or omission is made on information
Intuitive Services, Inc. They also request that the Court take         and belief, the complaint shall state with particularity all facts
judicial notice of conference call transcripts. Plaintiffs object      on which that belief is formed.” 15 U.S.C. § 78u–4 (b) (1).
to the request for judicial notice of these documents if they
are taken for the truth of the matter asserted. Plaintiffs seek
                                                                          A. Misrepresentation or Omission of a Material Fact
judicial notice of two SEC filings by Sells documenting that
                                                                       To state a claim pursuant to Rule 10b–5(b), Plaintiffs must
he sold Hansen securities on August 8, 2008 and March 3,
                                                                       allege, among other things, a misrepresentation or omission
2009.
                                                                       of a material fact. “A litany of alleged false statements,
                                                                       unaccompanied by the pleading of specific facts indicating
The Court grants Plaintiffs' request for judicial notice of Sells'
                                                                       why those statements were false, does not meet this standard.”
SEC filings. See      Dreiling v. American Exp. Co., 458 F.3d
                                                                          Metzler Investment v. Corinthian Colleges, 540 F.3d 1049,
942, 946 n. 2 (9th Cir.2006) (SEC filings may be judicially
noticed). The Court takes judicial notice of the filings by            1070 (9th Cir.2008); Falkowski v. Imation Corp., 309 F.3d
Hansen, Stereotaxis and Intuitive Services and the conference          1123, 1133 (9th Cir.2002).
calls for the fact that they were made on the dates specified,
but not for the truth of the matters asserted therein.
                                                                          1. Sells' Liability for Rule 10b–5(b) Violation
                                                                       Sells argues that, because there are no allegations that he
                                                                       made statements or that he was required to make statements,
                         DISCUSSION                                    he cannot be liable under Rule 10b–5(b). Plaintiffs do not
                                                                       allege that Sells made any false or misleading statements
I. Section 10(b) of the Exchange Act and Rule 10b–5(b)                 or omissions of material facts. In the appendix to the 3AC,
Section 10(b) of the Exchange Act makes it unlawful for any            Plaintiffs present a list of press releases and investor calls
person to “use or employ, in connection with the purchase or           in which Hansen's financial situation was discussed. No
sale of any security ... any manipulative or deceptive device          statements are attributed to Sells. Nor do Plaintiffs allege that
or contrivance in contravention of such rules and regulations          Sells signed any of Hansen's SEC filings.
as the [SEC] may prescribe.”       15 U.S.C. § 78j(b); see also
17 C.F.R. § 240.10b–5 (Rule 10b–5). Rule 10b–5(b) clarifies            Nevertheless, Plaintiffs argue that, as a result of the decisions
that it is “unlawful for any person, directly or indirectly, ...       Sells took to manipulate Hansen's financial results, he
to make any untrue statement of material fact or to omit to            made it necessary and inevitable that false and misleading
state a material fact necessary in order to make the statements        statements regarding Hansen's financial condition would be
made, in the light of the circumstances under which they were          communicated to investors. They also argue that, as a member
made, not misleading ...” 17 C.F.R. § 240.10b–5(b). To state           of the disclosure committee, Sells had responsibility for the
a claim under Rule 10b–5(b), a plaintiff must allege: “(1) a


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accurate and fair presentation of Hansen's press releases and        back half of the year than the front half.” 3AC ¶ 204. Plaintiffs
SEC quarterly filings.                                               allege that this was false because Hansen's 4Q07 sales were
                                                                     not reported accurately and sales were flat between 3Q07 and
                                                                     4Q07.
Both sides cite a recent Supreme Court case, Janus Capital
Group, Inc. v. First Derivative Traders, ––– U.S. ––––, 131
                                                                     In the 1Q08 conference call, Moll stated, “I'm pleased to
S.Ct. 2296, 180 L.Ed.2d 166 (2011), in support of their
                                                                     report that since commercialization we have achieved four
positions. In Janus, the Court held that, for purposes of
                                                                     consecutive quarters of increases in the number of systems
Rule 10b–5(b), “the maker of a statement is the person or
                                                                     placed.” 3AC ¶ 207. During the same call, Restani stated
entity with ultimate authority over the statement, including
                                                                     that Hansen had experienced “steady quarterly growth, four
its content and whether and how to communicate it.” Id. at
                                                                     quarters in a row.” 3AC ¶ 207. Plaintiffs allege this was
2302. The Court explained that, without control, a person
                                                                     false because the Restatement reflects that Hansen improperly
can only suggest what to say, not make a statement in his or
                                                                     recognized revenue for two Sensei units in 1Q08. 3AC ¶ 208.
her own right. Id. The Court noted that this was exemplified
                                                                     Without these two “manufactured” sales, Hansen's growth for
by the relationship between a speechwriter and speaker; the
                                                                     1Q08 would be flat. 3AC ¶ 208. Plaintiffs have sufficiently
speechwriter drafts the speech, but the speaker is responsible
                                                                     alleged that these statements, of past and present financial and
for its content and is the person who takes the credit, or the
                                                                     sales results, were false.
blame, for what is said. Id.

                                                                     During a 3Q08 conference call with industry analysts, a
 *5 Plaintiffs' argument that their allegations regarding Sells
                                                                     question was asked about the stagnant growth in catheter sales
are sufficient under Janus is unavailing. Janus clarifies that
                                                                     and utilization of installed Sensei units that might be “sitting
the lack of allegations that an individual was the maker of
                                                                     idle” or “sleeping,” as an indicator of future sales of Sensei
a statement is fatal to a Rule 10b–5(b) claim against that
                                                                     units. Moll replied, “No, I wouldn't call it sitting idle. I mean,
individual. Therefore, the Rule 10b–5(b) claim against Sells is
                                                                     certainly there are-there's probably a couple examples where
dismissed. Because this claim was alleged for the first time in
                                                                     Sensei that actually have had the time to percolate through
Plaintiffs' 3AC, dismissal is with leave to amend, if Plaintiffs
                                                                     the process aren't being used a lot. But, there's—there are a
can truthfully allege that Sells made a statement as required
                                                                     number of systems in that we are growing placements rapidly
by Janus.
                                                                     per quarter, so there is [sic] a lot of systems that are sort of in
                                                                     the early stages of utilization.... And so, there is-there aren't a
   2. Other Defendants' Liability Under Rule 10b–5(b)                lot of systems that are sleeping. There are systems that are not
Plaintiffs allege that, throughout the Class Period, Hansen          anywhere near up to full utilization because they haven't sort
published false statements about its financial performance,          of gone through the process of getting up to full independence
the number of Sensei units installed each quarter and the            and utilization by the institution ...” 3AC ¶ 163. Plaintiffs
market outlook for Sensei units. In the Restatement, Hansen          allege that Moll made this statement when reports showed that
admitted making these false statements and Defendants do             at least three of the forty-five Sensei units sold were never
not dispute this. Because, as discussed below, Plaintiffs            used and customers for these Sensei units never purchased
sufficiently allege Hansen made these misstatements with             any catheters. 3AC ¶ 164. Plaintiffs have sufficiently alleged
scienter, they have stated a Rule 10b–5(b) claim against             that this statement of present utilization of Sensei units was
Hansen.                                                              false.

Plaintiffs allege that Defendants Moll, Van Dick and Restani          *6 Plaintiffs also allege that Defendants first stated in a
made false statements regarding Hansen's past and present            4Q07 conference call that Hansen's customers do not buy
sales of Sensei units. For instance, during a 4Q07 conference        catheters in bulk and that “there's not a lot of stocking
call with industry analysts, Moll stated that “we've been able       built into our numbers at this point.” 3AC ¶ 220 (Restani
to move from four units in the second quarter to five in the         statement). Van Dick added that this was because the “current
third and sixth—six units in our fourth quarter. I think we're       shelf life on a catheter is not that long.” Id. Moll explained
going to continue, we would continue to expect to see a stair-       that the number of catheters sold was a better indicator of
step approach going into ′ 08, and as a natural consequence          utilization than reporting the number of procedures performed
of a stair step, you're going to see obviously more units in the     with each Sensei unit. 3AC ¶ 221. In 1Q08, Hansen reported



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sales of 401 catheters. 3AC ¶ 223. However, Defendants                 extent to which the 2008 economic recession would affect
failed to disclose that this number was inflated by twenty             Hansen's sales, 3AC ¶¶ 249–70, or on vague predictions
to twenty-five percent because three customers placed large            of “stair-step” growth or puffery of “strong demand” or a
orders near the end of the first quarter. 3AC ¶ 225a. The
                                                                       “healthy” pipeline, 3AC ¶¶ 206–07, 264–65. See             In re
report of such a high number of catheter sales in 1Q08 created
                                                                       Cutera Securities Litig., 610 F.3d 1103, 1111 (9th Cir.2010)
the misleading impression among investors that utilization
                                                                       (optimistic, subjective assessments do not rise to the level
of Sensei units was increasing faster than it was. 3AC ¶¶
                                                                       of a securities violation; investors devalue the optimism
226, 227 (positive analyst reports based on 401 catheter sales
                                                                       of corporate executives). Indeed, the Court's August 25,
as compared to analysts' 230 unit estimate). Plaintiffs have
                                                                       2011 Order held that statements such as “ ‘we feel very
sufficiently alleged that the failure to disclose the fact that a
                                                                       confident that given the pipeline ... we're going to have a
significant number of catheter sales in 1Q08 was made in bulk
                                                                       very reason[able] 2009’ ” are protected by the safe harbor
to three customers was an omission of material fact.
                                                                       provision. Order at 6–7. However, in the Order, the Court
                                                                       noted that references to concrete rates of Sensei unit sales and
Defendants argue that the alleged misstatements are protected
by the PSLRA safe harbor provision because they are                    user activity would not be immune. Order at 6 (citing Livid
forward-looking and accompanied by meaningful cautionary               Holdings Ltd. v. Salomon Smith Barney, Inc., 416 F.3d 940,
language.                                                              947–48 (9th Cir.2005) (statements of present or historical fact
                                                                       are not protected under safe harbor provision)).
In order for the safe harbor provision to apply, a
statement is “identified as a forward-looking statement,                *7 In addition to puffery and optimistic forward-looking
and is accompanied by meaningful cautionary statements                 statements, as discussed above, Plaintiffs cite statements of
identifying important factors that could cause actual results          historical or present fact made by Defendants. Defendants'
to differ materially from those in the forward-looking                 report of a high number of catheter sales, without clarifying
statement.” 15 U.S.C. § 78u–5(c)(1)(A)(i). The “bespeaks               that a significant percentage was due to large orders
caution” doctrine, which was formulated by courts prior to the         from three customers, misrepresented present customer
enactment of the PSLRA, operates in a similar fashion. This            utilization activity and Defendants' statement that Hansen
doctrine                                                               had experienced steady growth for four quarters in a
                                                                       row misrepresented historical facts. Therefore, some of
                                                                       Defendants' alleged statements are not protected by the safe
             provides a mechanism by which                             harbor provision.
             a court can rule as a matter of
             law ... that defendants' forward-
                                                                          B. Scienter For Rule 10b–5(b) Claim
             looking representations contained
                                                                       Pursuant to the requirements of the PSLRA, a complaint
             enough cautionary language or risk
                                                                       must “state with particularity facts giving rise to a strong
             disclosure to protect the defendant
                                                                       inference that the defendant acted with the required state of
             against claims of securities fraud.
                                                                       mind.” 15 U.S.C. § 78u–4(b)(2). The PSLRA thus requires
                                                                       that a plaintiff plead with particularity “facts giving rise
                                                                       to a strong inference that the defendant acted with,” at a
      Provenz v. Miller, 102 F.3d 1478, 1493 (9th Cir.1996)            minimum, deliberate recklessness. 15 U.S.C. § 78u–4(b)(2);

(citing     In re Worlds of Wonder Securities Litigation, 35              In re Silicon Graphics, Inc. Secs. Litig., 183 F.3d 970, 977
F.3d 1407, 1413–14 (9th Cir.1994)). “Cautionary statements             (9th Cir.1999). Facts that establish a motive and opportunity,
must be precise and directly address[ ] ... the [defendants']          or circumstantial evidence of “simple recklessness,” are
future projections ... Blanket warnings that securities involve        not sufficient to create a strong inference of deliberate
a high degree of risk [are] insufficient to ward against a federal     recklessness. Id. at 979. To satisfy the heightened pleading
securities fraud claim.” Id.                                           requirement of the PSLRA for scienter, plaintiffs “must state
                                                                       specific facts indicating no less than a degree of recklessness
Defendants correctly argue that Plaintiffs cannot assert claims        that strongly suggests actual intent.” Id.
based solely on Hansen's alleged failure to predict the



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When evaluating the strength of an inference, “the court's          allegations from these witnesses for the following reasons:
job is not to scrutinize each allegation in isolation but to        (1) only one of the twelve CWs was employed by Hansen
                                                                    throughout the entirety of the class period; (2) none of the
assess all the allegations holistically.”  Tellabs, Inc. v.
                                                                    twelve witnesses worked with revenue recognition; (3) none
Makor Issues & Rights, Ltd., 551 U.S. 308, 325, 127 S.Ct.
                                                                    of the witnesses would have been in a position to know
2499, 168 L.Ed.2d 179 (2007). “The inference of scienter
                                                                    whether the individual Defendants knew or should have
must be more than merely ‘reasonable’ or ‘permissible’—it
                                                                    known of Hansen's improper recognition of revenue; and
must be cogent and compelling, thus strong in light of other
                                                                    (4) certain allegations relied on hearsay and, even at face
explanations.” Id. at 324. However, “the inference that the         value, failed to demonstrate that the individual Defendants
defendant acted with scienter need not be irrefutable, i.e.,        had knowledge of the alleged fraudulent activities. August 25,
of the ‘smoking-gun’ genre, or even the ‘most plausible of          2011 Order at 8. The Court found that the most compelling
competing inferences.’ ” Id. The Tellabs decision suggests          allegations came from CW1, who was the only witness who
that Silicon Graphics and its progeny may have been “too            was employed throughout the Class Period, and who allegedly
demanding and focused too narrowly in dismissing vague,             worked with customer support and managed installations.
ambiguous, or general allegations outright.”       South Ferry      Id. In its previous Order, the Court found that CW1 was
LP, No. 2 v. Killinger, 542 F.3d 776, 784 (9th Cir.2008). Thus,     described with sufficient particularity. CW1 was Director
Tellabs “permits a series of less precise allegations to be         of Customer Support from April 2006 to November 2009.
read together to meet the PSLRA requirement.... Vague or            Initially, CW1 completed sales in Europe and later managed
ambiguous allegations are now properly considered as a part         all of Hansen's Sensei unit installers. CW1 attended weekly
of a holistic review when considering whether the complaint         installation meetings with Van Dick and Moll where they
raises a strong inference of scienter.” Id.                         discussed, line by line, reports showing installations for each
                                                                    customer, with columns for the order, installation date and
Scienter also can be shown by pleading “a highly                    training dates. Id. The August 25, 2011 Order indicated
unreasonable omission, involving an extreme departure from          that CW1 mentioned that there were several incomplete
the standards of ordinary care, and which presents a danger         transactions for which revenue should have been deferred, but
of misleading buyers or sellers that is either known to the         that he did not indicate that this information was made known
defendant or is so obvious that the actor must have been aware      to Defendants at the weekly meetings. Id. at 9. The Court
                                                                    also noted that CW1 stated that catheter sales would be talked
of it.”   Zucco Partners, LLC v. Digimarc Corp., 552 F.3d           about at the meetings, but did not indicate how this would alert
981, 991 (9th Cir.2009).                                            Defendants to the misstatements noted in the Restatement. Id.

*8 In the August 25, 2011 Order, the Court noted that:              In the 3AC, Plaintiffs again include statements from CW1
                                                                    and include statements from two new CWs, CW2 and CW3.
  Witness accounts can give rise to a strong inference of
                                                                    CW2 was Sales Director for Central and Eastern Europe from
  scienter if: (1) witnesses are “described in the complaint
                                                                    2007 through 2011. He participated in conference calls with
  with sufficient particularity to support the probability that
                                                                    Defendants, during which the participants discussed the status
  a person in the position occupied by the source would
                                                                    of Sensei unit sales, one at a time. 3AC ¶ 26. CW3 was
  possess the information alleged;” and (2) the statements
                                                                    Sales Director of the Southeast Region from September 2006
  attributed to witnesses are indicative of scienter.   In re       through June 2009. 3AC ¶ 27. CW3 stated that, on occasion,
  Daou Sys., Inc., 411 F.3d 1006, 1015–16 (9th Cir.2005).           he received calls from Van Dick wanting to know about the
  The Ninth Circuit concluded in Zucco that allegations made        closure of particular deals. 3AC ¶ 27.
  by witnesses who were not employed throughout the length
  of the relevant time period were unreliable.     552 F.3d at       *9 Unlike the other confidential witnesses mentioned in
  996–97.                                                           the 2AC, CW2 and CW3, as well as CW1, worked for
                                                                    Hansen during the Class Period and had direct knowledge
August 25, 2011 Order at 7.                                         of Sensei unit sales and installations. Moreover, CW1 and
                                                                    CW2 attended weekly meetings with Defendants at which
The Order noted that the 2AC set forth accounts from                they discussed sales and installations to specific customers,
twelve confidential witnesses (CWs), but rejected most of the       which are central to the alleged misstatements about



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premature revenue recognition. Therefore, their accounts             revenue recognition upon shipment to its purportedly
of the circumstances surrounding Sensei unit sales and               independent distributors improper. For instance, CW1
installations and of what occurred at the staff meetings are         explained that the two days of training that distributors
relevant to scienter. The statement alleged to be made by            received was insufficient for them independently to install
CW3, that Van Dick wanted to know about deals closing,               Sensei units for their customers and to train them. 3AC ¶ 59.
provides some support for Defendants' knowledge or scienter.         Defendants would have been aware of this because Hansen
                                                                     installation personnel received two weeks of training at a
                                                                     Hansen facility and then three to six months of training in the
   1. Scienter of Individual Defendants Moll, Van Dick and           field under the supervision of a senior employee. 3AC ¶ 59.
   Restani For Rule 10b–5(b) Claim
Plaintiffs argue that Hansen's Restatement of its financial           *10 In a 4Q07 conference call, Restani admitted that training
statements for 4Q07 through 2Q09 demonstrates Defendants'            new end-users took three to six months, 3AC ¶ 97, and Van
direct knowledge of the previous misstatements they made.            Dick explained, during a 2Q09 conference call, that Hansen
The Court previously held, in the August 25, 2011 Order,             had to complete its training obligations to distributors before
that the accounting mistakes acknowledged in Hansen's                it could recognize revenue on its sales to them. 3AC ¶ 46.
Restatement were not so egregious that Defendants must
have been aware of them. Order at 10–11. The Court also              CW2 confirmed that distributors' personnel attended only a
addressed Plaintiffs' allegations regarding core operations, the     three or five-day training session for both installations and
magnitude of the Restatement, and the certifications made            end-user support. 3AC ¶ 61. CW2 indicated that, during
pursuant to the Sarbanes–Oxley Act of 2002(SOX), and                 weekly conference calls with the individual Defendants,
concluded that “Plaintiffs have laid a foundation for their          training was often discussed. 3AC ¶ 68. CW2 also indicated
10(b) claim, but additional specificity is needed to show that       that two of Hansen's distributors were incapable of supporting
Defendants acted with the requisite mental state.” Order at 12.      an end-user. 3AC ¶¶ 68–69. To show that Defendants
                                                                     knew that the distributors required extensive training from
As discussed below, Plaintiffs now provide specific                  Hansen personnel, Plaintiffs cite the reselling and distribution
allegations that Defendants ignored information that it was          agreements that Hansen entered into with its distributors.
impossible for Hansen to meet its training obligations to            3AC, Ex. 14 (October 31, 2007 Agreement with Italian
certain distributors in the quarter in which Hansen recognized       distributor AB Medica signed by Restani on behalf of
revenue from Sensei unit sales to those distributors. These          Hansen). Exhibit C to the Agreement, titled “Clinical
allegations sufficiently state that Defendants willfully ignored     Support Services for Reseller,” indicated that Hansen would
information in their possession and exclude the Court's              provide appropriate training for the Reseller's clinical support
previous hypothesis, based on the allegations in the 2AC,            personnel and that the Reseller would be responsible for
that Defendants could have been ignorant of the improper             providing ongoing clinical support for end-users. Exhibit D
revenue recognition because they were provided with false            to the Agreement, titled, “End–User Training Provided by
information.                                                         Hansen,” provided that every end-user was required to attend
                                                                     and satisfactorily complete end-user peer training before
The 3AC alleges that, in its Restatement, Hansen disclosed           making human clinical use of the Sensei units and that
that, for Sensei unit sales to “independent distributors,” it        Hansen would evaluate each participant who was trained to
had “recognized revenue upon shipment of Systems to those            determine whether certification was appropriate or whether
distributors that we believed were independently capable             further training was needed.
of performing required installation and training,” but “the
distributors were not independently capable of installing            These allegations show that Moll, Van Dick and Restani
systems and/or clinically training end users at the time we          were aware of the amount of training of distributors that was
recognized revenue on systems purchased by distributors”             necessary to ensure that they could install Sensei units and
and “therefore, revenue on such Systems should have been             train end-users.
deferred until installation and training had occurred at the
distributor's end user.” 3AC ¶ 57.                                   Plaintiffs also allege that, in several instances, Hansen
                                                                     recognized revenue at the time it sold a Sensei unit to a
Plaintiffs allege that Defendants knew or recklessly                 distributor rather than after the distributor sold the unit to
disregarded Hansen's post-shipment obligations that made


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an end-user. In conjunction with allegations of Defendants'
knowledge of this practice, this raises an inference of              Defendants cite cases for the proposition that the fact that
scienter. Revenue recognition upon the sale to a distributor         corporate officers monitor financial or sales data does not
was improper because Hansen accounting procedures did
                                                                     establish that they are deliberately reckless. See e.g.,    In
not allow revenue recognition until the end-user had been
                                                                     re Daou Systs, Inc., 411 F.3d 1006, 1022 (9th Cir.2005)
sufficiently trained. For instance, Plaintiffs allege that one
                                                                     (“General allegations of defendants' hands-on management
Sensei unit was sold to AB Medica on the last day of 1Q08 and
                                                                     style, their interaction with other officers and employees,
revenue was recognized for its sale in that quarter. Plaintiffs
                                                                     their attendance at meetings, and their receipt of unspecified
allege that AB Medica personnel were not sufficiently
                                                                     weekly or monthly reports are insufficient” to support an
trained to install the unit for an end-user; AB Medica was
independently unable to provide clinical support for an end-         inference of scienter). However, in      Zucco Partners, 552
user; AB Medica, as of March 31, 2008, did not have an end-          F.3d at 1000–01, the court stated that an inference of
user to purchase the Sensei unit; and, even if AB Medica             scienter is permitted where the information misrepresented
did have a purchaser in mind, an end-user could not have             was readily apparent to the corporation's senior management.
completed the required training to allow Hansen to recognize         This is such a case. Hansen was a small company, with less
revenue in that quarter. 3AC ¶ 94. Plaintiffs allege that these      than 200 employees, focused on selling only one product,
facts were known to Defendants because by March 31, 2008,            with quarterly sales derived from the sale of only three to
it was clear that AB Medica had been unable independently            fourteen units of that product. 3AC ¶ 2, 120, 211. Because
to install and support a system it sold to a hospital end-user.      Hansen sold so few units and because each unit was vitally
3AC ¶ 94.                                                            important to Hansen's revenue stream, Defendants discussed,
                                                                     and must have known about, each of them. Furthermore, even
 *11 Plaintiffs also allege that Hansen recognized revenue           though hands-on management style alone is insufficient to
in 1Q08 from a sale to Palex, another distributor, made on           establish scienter, “specific admissions from top executives
the last day of 1Q08. 3AC ¶¶ 96–97. Plaintiffs allege that           that they are involved in every detail of the company and
Moll, Van Dick and Restani knew or should have known that            that they monitored portions of the company's database are
it was improper to recognize revenue from this sale because          factors in favor of inferring scienter in light of improper
it was impossible for a Palex employee to have received              accounting reports.”     Daou Systs., 411 F.3d at 1022. Here,
sufficient training by the end of 1Q08 to be able independently      Van Dick, Restani and Moll made statements indicating that
to provide clinical support to an end-user. 3AC ¶ 97.                they were familiar with and closely monitored the revenue
                                                                     recognition of every transaction, see 3AC ¶¶ 6, 45, 46, 49,
Also, according to CW1, Hansen sold a Sensei unit to a               and the utilization data for the units that had been installed,
Canadian distributor in December 2008 and recognized the             see 3AC ¶ 163.
revenue from that sale, although the unit was never installed
and the distributor did not obtain approval from the Canadian         *12 Taken collectively, all of the allegations add up to a
government to use the equipment. 3AC ¶ 108.                          strong inference of deliberate recklessness on the part of
                                                                     Defendants Moll, Van Dick and Restani. Therefore, Plaintiffs'
In sum, these allegations give rise to an inference of scienter      allegations are sufficient to assert that these Defendants acted
on the part of Moll, Van Dick and Restani: (1) Defendants            with the required scienter for the Rule 10b–5(b) claim.
met weekly to go over each Sensei unit sale on an individual
basis; (2) Defendants knew that Hansen's training obligations
to distributors had to be met before it could recognize revenue         2. Sells' Scienter for Rule 10b–5(a) and (c) Claim
from a sale to a distributor; and (3) at least two of the sales      Although the Rule 10b–5(b) claim against Sells is dismissed,
to distributors took place on the last day of the quarter, when      the Court addresses Sells' scienter under Rule 10b–5(a) and
Defendants knew the distributors' personnel had not been             (c) because, as discussed below, Sells' motion to dismiss the
adequately trained to install the Sensei units and to train end-     Rule 10b–5(a) and (c) claims is denied and Plaintiffs rely on
users. These allegations show that Defendants either knew            Sells' scienter to impute scienter to Hansen.
or were reckless in not knowing that recognizing revenue
from these sales to distributors violated Hansen's revenue           To plead scienter in the context of scheme liability under Rule
recognition policy.                                                  10b–5(a) and (c), a complaint must allege that the defendant



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                                                                      there is no allegation that he shared this knowledge with
engaged in deceptive conduct with scienter.          Simpson v.
                                                                      anyone.
AOL Time Warner Inc., 452 F.3d 1040, 1047 (9th Cir.2006),
vacated on other grounds, 552 U.S. 1162, 128 S.Ct. 1119,
                                                                       *13 In the Ninth Circuit, a corporate entity can be
169 L.Ed.2d 945 (2008). To claim a “scheme to defraud,”
                                                                      vicariously liable under § 10(b) for the fraudulent acts of its
the complaint must allege that the defendant engaged in a
                                                                      officers, if the officers are alleged to have acted within the
manipulative or deceptive act that had the principal purpose
                                                                      scope of their employment and for the benefit of the company.
and effect of creating a false appearance of fact in furtherance
                                                                         In re Cylink Securs. Litig., 178 F.Supp.2d 1077, 1088
of the scheme to defraud.     Id. at 1048. A deceptive act, in
this context, is defined as “engaging in a transaction whose          (N.D.Cal.2001) (citing      Hollinger v. Titan Capital Corp.,
principal purpose and effect is to create a false appearance of       914 F.2d 1564, 1576–78 (9th Cir.1990)). In Hollinger, the
revenues.” Id.                                                        Ninth Circuit overturned its previous rule that the vicarious
                                                                      liability provisions in certain sections of the Securities Act
Sells argues that this claim must be dismissed because                supplanted the common law doctrine of respondeat superior.
Plaintiffs have failed to allege facts giving rise to a strong
                                                                         914 F.2d at 1578;       In re Network Equipment Techs.,
inference of his scienter. The 3AC includes the same
                                                                      Inc., Litig., 762 F.Supp. 1359, 1363–64 (N.D.Cal.1991). “So
allegations as the SEC's complaint in SEC v. Sells, about
                                                                      long as scienter is appropriately alleged for the officers and
Sells' actions in regard to four sales of Sensei units to
                                                                      directors of a company, then it is appropriately alleged for the
Hospitals A, B, C and D. See Order Denying Defendants'
                                                                      company itself.”     Cylink Securs., 178 F.Supp.2d at 1088.
Motion to Dismiss in SEC v. Sells, C 11–4941 CW. 3
In that Order, the Court describes Sells' deceptive acts
                                                                      Because the 3AC adequately alleges Sells' scienter in regard
involving these transactions, the purpose of which was to
                                                                      to the scheme to recognize revenue prematurely and that
cause Hansen to recognize revenue improperly, before its
                                                                      Sells undertook this scheme in the scope of his employment,
accounting principles and procedures would allow, so that
                                                                      to benefit his employer, his scienter is imputed to Hansen
its revenue stream would appear to be increasing each
                                                                      through vicarious liability.
quarter. The allegations that Sells undertook these actions to
manipulate the timing of Hansen's revenue recognition are
                                                                      Defendants' argument that Hollinger should be limited
sufficient to allege that he had the required scienter.
                                                                      to its facts regarding broker-dealers was addressed and
As discussed above, Plaintiffs also allege that Sells, as SVP         rejected in     Network Equipment Techs., 762 F.Supp. at
of Commercial Operations, attended meetings with Moll,                1364, where the court held that Hollinger embraced “the
Restani and Van Dick during which the installation of each            old traditional common law doctrine” which contains no
Sensei unit was discussed and Sells, Van Dick and Moll would          limitation that would confine its application exclusively
reach a consensus on which sales of Sensei units could be             to broker-dealers. Furthermore, Network Equipment Techs.
recognized as revenue. 3AC ¶ 52. Thus, for the same reasons           addressed Defendants' second argument that Hansen cannot
that these allegations raise an inference of scienter on the part     be liable because there is no evidence that it knew of
of Van Dick, Moll and Restani, they also raise an inference           any contradictory information at the time of the alleged
of Sells' scienter.                                                   misstatements. Regarding this argument, the court explained
                                                                      that, “respondeat superior liability establishes a form of
                                                                      secondary liability which does not require actual knowledge
  3. Hansen's Scienter For Rule 10b–5(b) Claim                        or recklessness on the part of the vicariously liable principal.”
Plaintiffs argue that they have alleged Hansen's scienter
under the doctrine of respondeat superior, based upon Sells'             762 F.Supp. at 1364. Defendants' last argument is that
                                                                      scienter cannot be imputed to Hansen because, in Hollinger,
scienter. 4 According to Plaintiffs, even if the Court finds that
                                                                      the court dismissed the plaintiffs' claim against the corporate
Sells did not make a false statement, his scienter of improper
                                                                      defendant where there was no allegation of the corporation's
revenue recognition, inferred from actions he took within
the scope of his employment, can be imputed to Hansen.                scienter.   914 F.2d at 1572. Defendants misread the
Defendants respond that Sells' alleged knowledge of improper          import of Hollinger's vicarious liability analysis. Although
revenue recognition cannot be imputed to Hansen because               the court found insufficient allegations of the defendant's



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scienter and dismissed the claim on that ground, it found            complaint must allege that the allegedly fraudulent practices
that the defendant was secondarily liable under the theory           were revealed to the market and caused the resulting losses.
of respondeat superior. Id. at 1577–78. Therefore, as in
                                                                        Metzler Inv. v. Corinthian Colleges, Inc., 540 F.3d 1049,
Hollinger, although Hansen may not be primarily liable for
                                                                     1063 (9th Cir.2008). A plaintiff is not required to show that a
securities fraud, it is secondarily liable under the theory of
                                                                     misrepresentation was the sole reason for the stock's decline
respondeat superior.
                                                                     in value; as long as the misrepresentation is one substantial
                                                                     cause of the investment's decline, other contributing factors
  II. Rule 10b–5(a) and (c) Claim Against Sells                      will not bar recovery, but will play a role in determining
Plaintiffs assert the Rule 10b–5(a) and (c) claim against Sells      recoverable damages.      In re Daou Systs., 411 F.3d at 1025.
only. In the related case, SEC v. Sells, C 11–4941 CW, the
Court addressed the SEC's claim against Sells pursuant to
Rule 10b–5(a) and (c). The Court held that Sells' first two             A. Loss Causation Based on 1Q08 Statements Regarding
arguments here-that this claim is precluded by the Supreme              Catheter Sales
Court's holding in Janus, and that the claim is a Rule 10b–          As discussed above, Plaintiffs sufficiently allege the
5(b) claim disguised as a fraudulent scheme claim-were               misleading nature of Defendants' statement regarding the
unpersuasive. The Court adopts that holding here.                    sale of 401 catheters in 1Q08, which created the false
                                                                     impression that utilization of Sensei units was increasing
*14 Sells also contends that the allegations of fraud are            when Defendants knew that this number was inflated by
                                                                     three large orders placed at the end of 1Q08. 3AC ¶¶ 223–
not stated with the particularity required under    Rule 9(b).
                                                                     25. When Defendants reported Hansen's 2Q08 results, they
In SEC v. Sells, the Court found that the allegations of
                                                                     admitted that 1Q08 catheter sales had been inflated. 3AC
sales transactions with Hospitals A through D were stated
                                                                     ¶¶ 228–29. Plaintiffs allege that analysts expressed surprise
with sufficient particularity to allege a fraudulent scheme.
                                                                     that the 1Q08 number of reported catheter sales had been
Therefore, Sells' motion to dismiss Plaintiffs' Rule 10b–5(a)
                                                                     inflated and, on August 1, 2008, the first day after this
and (c) claims against him is denied.
                                                                     revelation by Defendants, Hansen's stock price declined by
                                                                     $2.01 per share or 13.18% and, on August 4, 2008, the second
III. Loss Causation                                                  trading day following the catheter report, Hansen's stock price
As indicated above, loss causation is an element of the claims       fell another $1.30 per share, or 9.82%. 3AC ¶¶ 316–324.
under Rule 10b–5(b). Although Defendants do not contest              These allegations are sufficient to allege loss causation due to
Plaintiffs' claim that they suffered losses due to the decline       Defendants' statements regarding catheter sales.
in the price of Hansen's stock in October 2009 immediately
after Hansen issued its Restatement, they do dispute Plaintiffs'
                                                                        B. Misrepresentations Concerning Demand, Utilization,
claim that they suffered losses from declines in Hansen's stock
                                                                        Inactive Systems and Guidance about the Future
price based on pre-October 2009 alleged false statements.
                                                                      *15 Plaintiffs allege that Defendants' statements about the
Defendants move to dismiss the claims to the extent they
                                                                     actual sales of Sensei units each quarter, the utilization of
are based on allegations of pre-October 2009 statements and
                                                                     Sensei units and, thus, their predictions of demand were
stock declines.
                                                                     false and that when the market realized the falsity of
                                                                     these statements, the price of Hansen's stock declined. The
To plead loss causation adequately, a plaintiff must provide
                                                                     allegations supporting this claim are as follows.
the defendant with fair notice of what the relevant economic
loss might be and the causal connection between that loss
                                                                     At the end of FY07, due to Defendants' positive outlook
and the misrepresentation.       Dura Pharmaceuticals, Inc. v.       for FY08, analysts were impressed with Hansen's strong
Broudo, 544 U.S. 336, 347, 125 S.Ct. 1627, 161 L.Ed.2d 577           past performance and promising future performance. 3AC
(2005). This is not subject to the heightened pleading standard      ¶ 306–11. On the news about Hansen's 1Q08 earnings, its
                                                                     shares increased 5.52% to close on May 2, 2008 at $18.54
of Rule 9(b) or the PSLRA; Rule 8's requirement of a short
                                                                     per share. 3AC ¶ 311. The following trading day, Hansen's
and plain statement of the claim showing that the pleader is
                                                                     shares increased another $.62 or 3.34%, to close at $19.16
entitled to relief is sufficient.   Id. at 346. Nonetheless, the     per share. On May 13, 2008, the day after Hansen filed its



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quarterly report on Form 10–Q for 1Q08 with the SEC, its            be influenced by macroeconomic trends, we are confident
stock increased $1.35 per share or 7.41% to close at a Class        that our current technology and planned product development
Period high of $19.57 per share. Id.                                activities present a compelling value proposition to hospitals
                                                                    and payors.” 3AC ¶ 342. On July 7, 2009, the day following
On July 28, 2008, JP Morgan reported that Hansen's 2Q08             Hansen's press release, its stock declined $1.58 per share, or
sales would be flat due to the timing of shipments, but that JP     33.40%, to close at $3.15 per share. 3AC ¶ 351. The following
Morgan's checks continued to indicate that momentum was             day it declined another $.27, or 8.57%, to close at $2.88 per
strong. 3AC ¶ 313. On July 29, 2008, the day after this report      share.
was published, Hansen's stock price declined $.88 per share,
nearly 5%, to close at $17.52 per share. 3AC ¶ 315. On July 30      On August 4, 2009, Defendants reported 2Q09 financial
and 31, the price declined again and closed at $15.25 per share     results which revealed that the sales cycle was longer than
for a total decline of 17.12%. 3AC ¶ 315. Plaintiffs tie this       had been anticipated, demand for Sensei units was lower than
decline in price to Defendants' improper revenue recognition        anticipated and utilization rates were declining. 3AC ¶ 352.
for one Sensei unit in 4Q07 and for two units in 1Q08, which        On August 5, 2009, Hansen's shares fell $.33 per share, more
allowed them to portray a steady increase in revenue over the       than 8%, to close at $3.71 per share. 3AC ¶ 354.
few quarters it had been selling the Sensei units. 3AC ¶ 313.
                                                                    Plaintiffs allege that these disclosures regarding the true
On December 5, 2008, during an analyst conference call,             nature of Hansen's financial situation and revised demand
Moll allegedly falsely assured the market that, although the        predictions revealed previous misstatements and caused
economy was tougher, the enthusiasm for Hansen's Sensei             Hansen's stock price to decline. These claims of loss
units remained, Hansen was working harder, and it would,            causation adequately allege a causal connection between
therefore, deliver in the face of the declining economic            Defendants' alleged previous fraudulent statements, their
environment. 3AC ¶ 258. On January 8, 2009, Morgan                  2009 disclosures, and the decline in the price of Hansen's
Stanley issued a report lowering its 2009 forecast for Sensei       stock.
unit sales from seventy-four to fifty-six, based on a survey of
fifty hospitals, only one of which was considering purchasing
a Sensei unit. 3AC ¶ 330. The same day, Hansen issued a             IV. Section 20(a) Claim Against all Defendants
press release reporting lower than expected sales and 2009          Plaintiffs assert a § 20(a) claim against all Defendants,
guidance of fifty-three to sixty-five units. 3AC ¶ 333. The         alleging that Hansen, Moll, Van Dick, Restani and Sells acted
following day, Hansen's shares declined $.50 per share, or          as control persons within the meaning of § 20(a) of the
7.99%, closing at $5.76 per share. On the next trading day,         Exchange Act.
the stock declined another $.60 to close at $5.16 per share.
3AC ¶ 337. Moll's December 5, 2008 statement, cited as              Section 20(a) provides, in relevant part:
the alleged misstatement causing Hansen's stock decline, is
a forward-looking statement regarding sales in the midst of
a declining economy. This statement is protected by the safe                    Every person who, directly or
harbor provision and is not actionable under the Rule 10b–                      indirectly, controls any person liable
5(b). Therefore, Moll's December 5, 2008 statement cannot                       under any provision of [the Exchange
be considered to be a factor in the loss causation analysis.                    Act] or of any rule or regulation
                                                                                thereunder shall also be liable jointly
 *16 On July 6, 2009, Hansen issued a press release                             and severally with and to the same
announcing that its FY09 guidance for sales was unattainable;                   extent as such controlled person ...
it faced further issues delaying revenue recognition, and
demand for and utilization of Sensei units were not as high
as suggested in the past. 3AC ¶ 342. The press release cited        15 U.S.C. § 78t(a).
Moll as saying that sales were adversely affected by “general
macroeconomic conditions that continue to significantly             To plead liability under § 20(a), a plaintiff must allege that:
impact our potential customers' capital spending.” 3AC ¶            (1) there is a primary violation of federal securities law, and
342. Moll reiterated, “While sales cycles will continue to          (2) the defendant exercised actual power or control over the



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                                                                       allegation in the 3AC that Murawski committed a primary
primary violator.    Howard v. Everex Systs., Inc., 228 F.3d           securities law violation and because the allegation is general,
1057, 1065 (9th Cir.2000). Plaintiffs need not show that the           conclusory and lacking in factual support. Because the Court
control persons had scienter or that they culpably participated        did not address this claim in its previous Order, it is dismissed
in the wrongdoing.        Paracor Finance, Inc. v. General             with leave to amend against the individual Defendants.
Elec. Capital Corp., 96 F.3d 1151, 1161 (9th Cir.1996).
Thus, to allege that an individual is a control person, the            Therefore, Defendants' motion to dismiss the claim of control
plaintiff does not have to allege that the person had scienter         person liability is granted in part.
distinct from the scienter of the controlled corporation or the
controlled individual.     Everex, 228 F.3d at 1065. However,
the individual who is alleged to be a control person may assert                               CONCLUSION
a good faith defense to prove the absence of scienter and a
                                                                       Based on the foregoing, the Court rules as follows: the
failure directly or indirectly to induce the violations at issue.
                                                                       Rule 10b–5(b) claim against Sells is dismissed with leave to
Id.
                                                                       amend; the Rule 10b–5(b) claim against the other Defendants
                                                                       is sufficiently alleged; the Rule 10b–5(a) and (c) claim
 *17 Plaintiffs adequately allege that Moll, Van Dick, Restani
                                                                       against Sells is sufficiently alleged; the control person claim
and Sells controlled Hansen by virtue of their supervisory
                                                                       against all individual Defendants based on their control
involvement in the day-to-day operations of Hansen. 3AC
                                                                       of Hansen is sufficiently alleged; the control person claim
¶ 20–24. Therefore, this claim sufficiently alleges that these
                                                                       against Moll, Van Dick and Restani based on their control of
individual Defendants were control persons in regard to
                                                                       Sells is sufficiently alleged; the control person claim against
Hansen. Plaintiffs also allege that Hansen controlled the
                                                                       Moll, Van Dick, Restani and Sells based on their control
individual Defendants. 3AC ¶ 388. However, a fictitious
                                                                       of Murawski is dismissed with leave to amend; the control
entity cannot control those who act on its behalf. Plaintiffs cite
                                                                       person claim against Hansen based on its control of Sells and
no authority for the proposition that a corporation can control
                                                                       Murawski is dismissed without leave to amend. The element
its employees or officers. Therefore, this claim is dismissed.
                                                                       of loss causation for the Rule 10b–5(b) claim is sufficiently
Dismissal is without leave to amend as amendment would be
                                                                       alleged.
futile.

                                                                       If Plaintiffs wish to file a fourth amended complaint (4AC),
Plaintiffs also allege that Hansen, Moll, Van Dick and Restani
                                                                       they must do so within fourteen days from the date of this
exercised control over Sells through their ability to supervise,
                                                                       Order, with a red-lined version showing the changes made.
monitor and direct Sells' conduct and activities and because
                                                                       Defendants' answer or motion to dismiss is due fourteen days
of their superior positions of power within the corporation.
                                                                       thereafter. If Defendants file a motion to dismiss, Plaintiffs'
3AC ¶ 389. As stated above, Hansen cannot exercise control
                                                                       opposition is due two weeks thereafter and Defendants reply
over its employee. Therefore, this claim against Hansen is
                                                                       is due one week later. The motion will be taken under
dismissed without leave to amend. However, by virtue of
                                                                       submission and decided on the papers.
their positions, Moll, Van Dick and Restani exercised control
over Sells, who was their subordinate. Therefore, this claim
                                                                        *18 IT IS SO ORDERED.
is adequately alleged against Moll, Van Dick and Restani.

Finally, Plaintiffs allege that Hansen, Moll, Van Dick, Restani        All Citations
and Sells exercised control over Murawski. 3AC ¶ 388.
For the reasons stated previously, this claim is dismissed             Not Reported in F.Supp.2d, 2012 WL 3242447, Fed. Sec. L.
without leave to amend against Hansen. This claim against              Rep. P 96,972
the individual Defendants is dismissed because there is no




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                                                     Footnotes


1     Sells, who is named as a defendant for the first time in the 3AC, files his motion separately. In a related action,
      the Securities and Exchange Commission charges Sells and Timothy Murawski, another former Hansen
      employee, with violations of federal securities laws. See SEC v. Sells and Murawski, C 11–4941 CW. Sells
      and Murawski's motion to dismiss the SEC's complaint is addressed in a separate order.

2     Catheter sales were an indicator of Hansen's hospital customers' utilization of the Sensei units they had
      purchased.

3     Scienter is not an issue in SEC v. Sells because the PSLRA does not apply to claims brought by the SEC.
      See     SEC v. Yuen, 221 F.R.D. 631, 636 (C.D.Cal.2004).

4     Plaintiffs do not argue that the scienter of Restani, Van Dick and Moll can be imputed to Hansen.



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                        TAB No. 4




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                                                                     amended by the Private Securities Litigation Reform Act of
                      2024 WL 83503                                  1995,     15 U.S.C. §§ 78j(b), 78t(a), and its implementing
United States District Court, S.D. Texas, Houston Division.          regulation, Rule 10b–5, 17 C.F.R. § 240.10b–5.

         DELAWARE COUNTY EMPLOYEES                                   The plaintiffs seek leave to file a second amended complaint
      RETIREMENT SYSTEM, individually and on                         adding new alleged misrepresentations and omissions.
      behalf of all others similarly situated, Plaintiffs,           (Docket Entry No. 185). The defendants are opposed. (Docket
                              v.                                     Entry No. 191). Based on the pleadings, the motion, the
                    CABOT OIL & GAS                                  response, and the applicable law, leave to amend is granted.
           CORPORATION, et al., Defendants.                          However, the plaintiffs' claims based on the 2018 production
                                                                     guidance are dismissed with prejudice because they are time-
                  Civil Action No. H-21-2045                         barred. The reasons are set out below.
                               |
                    Signed January 8, 2024
                                                                     I. Background
Attorneys and Law Firms
                                                                       A. Cabot's Wells Polluted Susquehanna County Water
Darryl James Alvarado, Pro Hac Vice, Francisco J Mejia,                Supplies
Pro Hac Vice, Jack Abbey Gephart, Pro Hac Vice, Kevin                The factual background is summarized in detail in the court's
Lavelle, Pro Hac Vice, Robbins Geller Rudman & Dowd LLP,             memorandum and opinion granting the motion for class
San Diego, CA, Lawrence F. Stengel, Saxton & Stump LLC,              certification. (Docket Entry No. 173). The court merely
Lancaster, PA, Joe Kendall, Kendall Law Group, Dallas, TX,           sketches the allegations here.
Alex B. Heller, Andrew L. Zivitz, Pro Hac Vice, Helen J Bass,
Kessler Topaz Meltzer & Check LLP, Henry W. Longley, Pro             Cabot does hydraulic fracturing of the Marcellus Shale
Hac Vice, Jamie M. McCall, Pro Hac Vice, Joshua Edward               underneath Susquehanna County, Pennsylvania. (Docket
D'Ancona, Stuart L. Berman, Pro Hac Vice, Kessler Topaz              Entry No. 110 at ¶ 29). In 2009, the Pennsylvania Department
Meltzer & Check LLP, Radnor, PA, for Plaintiffs Iron Workers         of Environmental Protection (the “Department”) concluded
District Council (Philadelphia and Vicinity) Retirement and          that Cabot's wells had been releasing dissolved methane into
Pension Plan.                                                        nearby residential water supplies. (Id. at ¶ 45). This led to a
                                                                     series of consent orders and agreements between Cabot and
Gerard G. Pecht, Pro Hac Vice, Kelly A. Potter, Norton               the Department. (Id.). The consent orders and agreements
Rose Fulbright US LLP, Houston, TX, Peter Andrew Stokes,             required Cabot to remediate both the defective wells that
Norton Rose Fulbright US LLP, Austin, TX, Amy L. Barrette,           had been leaking dissolved methane and the residential water
Buchanan Ingersoll & Rooney PC, Pittsburgh, PA, for                  supplies that the methane had contaminated. (Id. at ¶¶ 46–49,
Defendants.                                                          133–34). The orders and agreements also restricted Cabot's
                                                                     ability to operate wells within certain areas of Susquehanna
                                                                     County. (Id. at ¶¶ 133–34).
            MEMORANDUM AND OPINION
                                                                     The plaintiffs allege that Cabot ignored its obligations under
Lee H. Rosenthal, United States District Judge
                                                                     the consent orders and agreements for nearly a decade. (Id. at
 *1 The named plaintiffs in this class action lawsuit—               ¶¶ 136–49). They allege that Cabot's dereliction of its legal
Delaware County Employees Retirement System and the                  obligations led the Pennsylvania Attorney General to charge
Iron Workers District Council (Philadelphia & Vicinity)              Cabot with felonies in 2020. (Id. at ¶¶ 50, 208). This lawsuit
Retirement and Pension Plan—represent shareholders of                was filed in 2020. (Docket Entry No. 1).
Cabot Oil & Gas Corporation. The plaintiffs allege that Cabot
and two of its executive officers, Dan Dinges and Scott
                                                                        B. The Alleged Misrepresentations and Omissions
Schroeder, made material misrepresentations or omissions
                                                                     In January 2022, the court granted the defendants' motion
that caused their representations to be misleading, in violation
                                                                     to dismiss. (Docket Entry No. 109). The plaintiffs then filed
of Section 10(b) of the Securities Exchange Act of 1934, as
                                                                     a first amended complaint. (Docket Entry No. 110). That


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complaint alleged that Cabot had made several material               Rule 15(a) provides that a party may amend its pleading once
misrepresentations and omissions concerning its compliance           without seeking leave of court or the consent of the adverse
with environmental laws in Susquehanna County and its                party at any time before a responsive pleading is served. FED.
remediation of defective wells and contaminated waters,              R. CIV. P. 15(a). After a responsive pleading is served, a party
violating the consent orders and agreements. (Id. at ¶¶              may amend only “with the opposing party's written consent
184–204). In August 2022, the court dismissed some of                or the court's leave.” Id. Although a court “should freely give
these claims with prejudice. (Docket Entry No. 118). In              leave when justice so requires,” id., leave to amend “is not
September 2023, the court granted the plaintiffs' motion to
                                                                     automatic.”    Matagorda Ventures, Inc. v. Travelers Lloyds
certify a class “of all persons or entities who purchased or
                                                                     Ins. Co., 203 F. Supp. 2d 704, 718 (S.D. Tex. 2000) (citing
otherwise acquired Cabot common stock between February
22, 2016, and June 12, 2020, inclusive and were damaged                 Dussouy v. Gulf Coast Inv. Corp., 660 F.2d 594, 598 (5th
thereby.” (Docket Entry No. 173 at 1–2).                             Cir. 1981)). A district court reviewing a motion to amend
                                                                     pleadings under Rule 15(a) may consider factors such as
 *2 In October 2023, on the deadline to amend pleadings              “undue delay, bad faith or dilatory motive ... undue prejudice
under the scheduling and docket control order, (Docket               to the opposing party, and futility of amendment.”          In
Entry No. 156), the plaintiffs moved for leave to file a             re Southmark Corp., 88 F.3d 311, 314–15 (5th Cir. 1996).
second amended complaint. (Docket Entry No. 185). The                Amendment is futile when the amended complaint would fail
proposed second amended complaint alleges not only that              to state a claim upon which relief could be granted or would
Cabot misrepresented the extent to which it was complying            otherwise be subject to dismissal. Legate v. Livingston, 822
with environmental laws and regulations and remediating              F.3d 207, 211 (5th Cir. 2016), cert. denied sub nom. Legate v.
defective wells and contaminated waters, but also that Cabot         Collier, 137 S. Ct. 489, 196 L.Ed.2d 389 (2016), reh'g denied,
had: (1) publicly announced production guidance in 2018 and          137 S. Ct. 1139, 197 L.Ed.2d 239 (2017); Daniels v. Corr.
2019 that it knew it would not meet; (2) knowingly failed            Corp, 47 F.3d 426 (5th Cir. 1995).
to disclose that it had reduced its 2018 production guidance
because of a gas migration investigation by the Department;
(3) knowingly failed to disclose that it would soon be charged          B. Rule 12(b)(6)
with felonies by the Pennsylvania Attorney General; and (4)          Rule 12(b)(6) allows dismissal if a plaintiff fails “to state
knowingly failed to disclose a proposed consent order and            a claim upon which relief can be granted.” FED. R. CIV.
agreement it had received from the Department to address             P. 12(b)(6). Rule 12(b)(6) must be read in conjunction with
its alleged noncompliance with environmental laws and                Rule 8(a), which requires a short and plain statement of the
regulations. These alleged misrepresentations and omissions          claim showing that the pleader is entitled to relief.” FED.
were not alleged in the plaintiffs' previous complaints. The         R. CIV. P. 8(a)(2). “[A] complaint must contain sufficient
defendants oppose the motion for leave to amend on the               factual matter, accepted as true, to ‘state a claim to relief
grounds that amendment would be futile and would cause
                                                                     that is plausible on its face.’ ”   Ashcroft v. Iqbal, 556 U.S.
undue delay and prejudice. (Docket Entry No. 191).
                                                                     662, 678 (2009) (quoting       Bell Atl. Corp. v. Twombly, 550
The plaintiffs' new claims, with one exception, satisfy              U.S. 544, 570 (2007)). Rule 8 “does not require ‘detailed
the applicable pleading standards and amendment would                factual allegations,’ but it demands more than an unadorned,
therefore not be futile. The exception is the claim based on the     the-defendant-unlawfully-harmed-me accusation.”           Id. at
2018 production guidance, which is barred by the applicable
five-year statute of repose. Amendment would not cause               678 (quoting       Twombly, 550 U.S. at 555). “A claim has
undue delay or prejudice. The motion for leave to amend is           a facial plausibility when the plaintiff pleads factual content
therefore granted, but the 2018 production guidance claims           that allows the courts to draw the reasonable inference that
are dismissed with prejudice. The reasons are set out below.         the defendant is liable for the misconduct alleged.” Id. (citing
                                                                        Twombly, 550 U.S. at 556). “The plausibility standard is
                                                                     not akin to a ‘probability requirement.’ But it asks for more
II. The Legal Standards
                                                                     than a sheer possibility that a defendant has acted unlawfully.”
  A. Rule 15(a)                                                      Id. (quoting     Twombly, 550 U.S. at 556).




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“A complaint ‘does not need detailed factual allegations,’             omission by the defendant; (2) scienter; (3) a connection
but facts alleged ‘must be enough to raise a right to relief           between the misrepresentation or omission and the purchase
                                                                       or sale of a security; (4) reliance upon the misrepresentation or
above the speculative level.’ ”  Cicalese v. Univ. Tex.
                                                                       omission; (5) economic loss; and (6) loss causation. R2 Invs.
Med. Branch, 924 F.3d 762, 765 (5th Cir. 2019) (quoting
                                                                       LDC v. Phillips, 401 F.3d 638, 641 (5th Cir. 2005) (internal
    Twombly, 550 U.S. at 555). “Conversely, when the
                                                                       citations omitted); see also  Dura Pharm., 544 U.S. at 338
allegations in a complaint, however, true, could not raise a
                                                                       (citing 15 U.S.C. § 78u–4(b)(4)).
claim of entitlement to relief, this basic deficiency should
be exposed at the point of minimum expenditure of time
and money by the parties and the court.”            Cuvillier v.
                                                                             1. Material Misrepresentations and Omissions
Taylor, 503 F.3d 397, 401 (5th Cir. 2007) (alterations omitted)
(quoting     Twombly, 550 U.S. at 558).                                A plaintiff who asserts securities fraud in violation of § 10(b)
                                                                       and Rule 10b–5 must comply with the pleading requirements
 *3 A court reviewing a motion to dismiss under Rule 12(b)             of    Federal Rule of Civil Procedure 9(b) and the Private
(6) may consider “(1) the facts set forth in the complaint, (2)
documents attached to the complaint, and (3) matters of which          Securities Litigation Reform Act. See Lormand v. U.S.
judicial notice may be taken under Federal Rule of Evidence            Unwired, Inc., 565 F.3d 228, 239 (5th Cir. 2009); see

201.”    Inclusive Cmtys. Project, Inc. v. Lincoln Prop. Co.,          also   Tellabs, 551 U.S. at 322–23.       Rule 9(b) requires
920 F.3d 890, 900 (5th Cir. 2019).                                     the complaint to “state with particularity the circumstances
                                                                       constituting fraud.”     FED. R. CIV. P 9(b). In the Fifth

  C. Section 10(b) of the Securities Exchange Act of                   Circuit, “the    Rule 9(b) standards require ‘specificity as to
  1934                                                                 the statements (or omissions) considered to be fraudulent, the
Under § 10(b) of the Securities Exchange Act of 1934, “[i]t            speaker, when and why the statements were made, and an
shall be unlawful for any person, directly or indirectly, ... [t]o     explanation why they are fraudulent.”       Plotkin v. IP Axess
use or employ, in connection with the purchase or sale of
any security registered on a national securities exchange ...          Inc., 407 F.3d 690, 696 (5th Cir. 2005). “Put simply, Rule
any manipulative or deceptive device or contrivance in                 9(b) requires ‘the who, what, when, where, and how’ to be
contravention of such rules and regulation as the [Securities          laid out.”   Benchmark Elecs., Inc. v. J.M. Huber Corp.,
and Exchange Commission] may prescribe as necessary or                 343 F.3d 719, 724 (5th Cir. 2003) (citation omitted); see also
appropriate in the public interest or for the protection of            Martin Res. Mgmt. Corp. v. Fed. Ins. Co., No. 20-40571, 2021
investors.”    15 U.S.C. § 78j(b). Rule 10b–5 implements               WL 4269565, at *5 (5th Cir. Sept. 20, 2021);          Neiman v.
§ 10(b) by forbidding, among other things, the making of               Bulmahn, 854 F.3d 741, 746 (5th Cir. 2017).
any “untrue statement of material fact” or the omission of
any material fact “necessary in order to make the statements            *4 The Private Securities Litigation Reform Act requires
made ... not misleading.” 17 C.F.R § 240.10b–5(b). While               the party to “specify each statement alleged to have been
providing a cause of action to securities purchasers or sellers        misleading, and the reason or reasons why the statement is
injured by statutory and rule violations,         Tellabs, Inc.        misleading.”     Neiman, 854 F.3d at 746 (quoting       Local
v. Makor Issues & Rts., Ltd., 551 U.S. 308, 318 (2007),                731 I.B. of T. Excavators & Pavers Pension Tr. Fund v.
“these latter actions [are] available, not to provide investors        Diodes, Inc., 810 F.3d 951, 956 (5th Cir. 2016)). “[F]or each
with broad insurance against market losses, but to protect             act or omission alleged to be false or misleading, plaintiffs
them against those economic losses that misrepresentations             must state with particularity facts giving rise to a strong
actually cause.”     Dura Pharm., Inc. v. Broudo, 544 U.S.             inference that the defendant acted with the requisite state of
336, 345 (2005).                                                       mind.” Id. (quoting     Diodes, 810 F.3d at 956)).

To state a claim under § 10(b), a plaintiff must allege                Even if misrepresentations and omissions are pleaded with
facts sufficient to show: (1) a material misrepresentation or          sufficient specificity, they must be material. There is no



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bright-line rule; determining materiality is a fact-intensive          investors and analysts are too sophisticated to rely on vague
inquiry into “the source, content, and context” of the allegedly
                                                                       expressions of optimism rather than specific facts.”        In re
misleading or omitted information.            Matrixx Initiatives,     BP p.l.c. Sec. Litig. (BP I), 843 F. Supp. 2d 712, 748 (S.D. Tex.
Inc. v. Siracusano, 563 U.S. 27, 43 (2011). A representation
                                                                       2012) (citing Krim v. BancTexas Grp., Inc., 989 F.2d 1435,
is material if there is a substantial likelihood that a reasonable
                                                                       1446 (5th Cir. 1993)). The statements the plaintiffs rely on
investor would consider it important in making an investment
                                                                       must be something more than a corporate officer's generalized
decision. Basic Inc. v. Levinson, 485 U.S. 224, 231 (1988).            optimistic comments about the company's policies, programs,
Omitted facts are material if there is a “substantial likelihood       or performance. As in other areas of the law, “puffery” is not
that the disclosure of the omitted fact would have been viewed
                                                                       actionable.    BP I, 843 F. Supp. 2d at 748;     Omnicare, 583
by the reasonable investor as having significantly altered the
                                                                       F.3d at 944.
‘total mix’ of information made available.” Emp. Ret. Sys. v.
Whole Foods Mkt., Inc., 905 F.3d 892, 901 (5th Cir. 2018)
(quoting     Rosenzweig v. Azurix Corp., 332 F.3d 854, 865
                                                                                                 2. Scienter
(5th Cir. 2003)).
                                                                        *5 In addition to pleading that specific statements
“[T]he disclosure required by the securities laws is measured          misrepresented or omitted material facts, the plaintiffs must
not by literal truth, but by the ability of the statements to          plead that the responsible person acted with the necessary
accurately inform rather than mislead prospective buyers.”
                                                                       culpability, or scienter. Tellabs, 551 U.S. at 319. Section
   Lormand, 565 F.3d at 248. Opinion statements, such as               10(b) and Rule 10b–5 do not insure against bad corporate
those prefaced by “we believe” or “we think,” may, or                  management. Rather, they protect against only knowing or
may not, be actionable.    Omnicare, Inc. v. Laborers Dist.            severely reckless misstatements.        Indiana Elec. Workers'
Council Const. Indus. Pension Fund, 575 U.S. 175, 188                  Pension Trust Fund IBEW v. Shaw Group., Inc., 537 F.3d
(2015). Whether representations in an opinion statement are            527, 535 (5th Cir. 2008). “Scienter, in the context of securities
actionable depends on whether (1) “the speaker did not hold            fraud, is defined as ‘an intent to deceive, manipulate, or
the belief she professed” and (2) “the supporting fact she             defraud or that severe recklessness in which the danger of
supplied [was] untrue.”      Id. at 185–86. Whether omissions          misleading buyers or sellers is either known to the defendant
in an opinion statement are actionable depends on whether the          or is so obvious that the defendant must have been aware of
statement “omits material facts about the issuer's inquiry into        it.’ ”   Flaherty & Crumrine Preferred Income Fund, Inc.
or knowledge concerning a statement of opinion, and if those           v. TXU Corp., 565 F.3d 200, 207 (5th Cir. 2009) (quoting
facts conflict with what a reasonable investor would take from         R2, 401 F.3d at 643). “[F]or ‘each act or omission alleged,’
the statement itself.”    Id. at 189.                                  securities fraud plaintiffs must ‘state with particularity facts
                                                                       giving rise to a strong inference that the defendant acted with
Applying these principles, courts have found that “corporate           the required state of mind.’ ” Shaw Grp., 537 F.3d at 533
cheerleading” in the form of “generalized positive statements          (quoting 15 U.S.C. § 78u–4(b)(2)).
about a company's progress” is not a basis for liability
under the securities laws.       Nathenson v. Zonagen Inc.,            The court may consider documents incorporated by reference
267 F.3d 400, 419 (5th Cir. 2001). A statement “of the                 into the complaint and matters proper for judicial notice.
vague and optimistic type ... cannot support a securities fraud           BP I, 843 F. Supp. 2d at 748 (citing         Tellabs, 551
action [because it] contain[s] no concrete factual or material         U.S. at 323). The court looks to the allegations about an
misrepresentation.”      Southland Sec. Corp. v. INSpire Ins.          individual's state of mind when that individual made a
Sols., Inc., 365 F.3d 353, 372 (5th Cir. 2004) (quotation marks        challenged statement to determine whether the allegations
omitted). “[G]eneralized positive characterization[s] [are] not        support a strong inference of scienter. Tellabs, 551 U.S. at

actionable under the securities laws.” Rosenzweig v. Azurix            33;   Southland, 365 F.3d at 364–65. The inference must
Corp., 332 F.3d 854, 870 (5th Cir. 2003). “[N]o reasonable             be “cogent and compelling,” not simply “reasonable” or
investor would consider such statements material and ...               “permissive,” and “at least as compelling as any opposing



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                                                                       plaintiff seeks to recover damages.” 15 U.S.C. § 78u–4(b)
inference one could draw from the facts alleged.” Tellabs,
                                                                       (4). The Act “makes clear Congress' intent to permit private
551 U.S. at 324. The court must consider “plausible
                                                                       securities fraud actions for recovery where, but only where,
nonculpable explanations for the defendant's conduct, as
                                                                       plaintiffs adequately allege and prove the traditional elements
well as inferences favoring the plaintiff.”       Id. at 323–24.
                                                                       of causation and loss.”       Broudo, 544 U.S. at 346. “To
“[O]missions and ambiguities count against inferring scienter,
                                                                       establish proximate causation, the plaintiff must allege that
for plaintiffs must ‘state with particularity facts giving rise to
                                                                       when the ‘relevant truth’ about the fraud began to leak out
a strong inference that the defendants acted with the required
                                                                       or otherwise make its way into the marketplace, it caused
state of mind.’ ”      Id. at 326 (quoting 15 U.S.C. § 78u–4(b)        the price of the stock to depreciate and, thereby, proximately
(2)). “[A]ppropriate allegations of motive and opportunity
                                                                       caused the plaintiff's economic harm.”     Pub. Emps. Ret.
may meaningfully enhance the strength of the inference of
                                                                       Sys. of Miss. v. Amedisys, Inc., 769 F.3d 313, 320 (5th Cir.
scienter, but ... allegations of motive and opportunity, without
                                                                       2014). The Fifth Circuit has stated that
more, will not fulfill the pleading requirements of the [Private
Securities Litigation Reform Act].” Owens v. Jastrow, 789
F.3d 529, 539 (5th Cir. 2015) (quoting         Goldstein v. MCI                    [l]oss causation in fraud-on-the-
WorldCom, 340 F.3d 238, 246 (5th Cir. 2003)). The plaintiffs                       market cases can be demonstrated
must plead facts that give rise to a strong inference of scienter,                 circumstantially by: (1) identifying
for each individual defendant, for each alleged misstatement.                      a “corrective disclosure” (a release
                                                                                   of information that reveals to the
The plaintiffs cannot simply allege that some person at the                        market the pertinent truth that was
corporation knew of facts that make a challenged statement                         previously concealed or obscured
misleading and impute that person's knowledge to the speaker.                      by the company's fraud); (2)
    Southland, 365 F.3d at 366. The plaintiffs must make                           showing that the stock price dropped
specific factual allegations about each responsible person's                       soon after the corrective disclosure;
state of mind when each challenged statement was made.                             and (3) eliminating other possible
Allegations about another person's knowledge, or about the                         explanations for this price drop, so
defendants' collective knowledge, are insufficient. Simply                         that the factfinder can infer that it is
pleading that internal information contradicted an individual                      more probable than not that it was the
                                                                                   corrective disclosure—as opposed to
defendant's public statements is not enough. In re BP
                                                                                   other possible depressive factors—that
P.L.C. Sec. Litig. (BP II), 852 F. Supp. 2d 767, 817
                                                                                   caused at least a “substantial” amount
(S.D. Tex. 2012) (citing      ABC Arbitrage Plaintiffs Grp.                        of price drop.
v. Tchuruk, 291 F.3d 336, 356 (5th Cir. 2002)). To the
extent that a plaintiff's scienter argument is based on the
availability of some internal document setting out certain             Id. at 320–21 (internal quotation marks and citation omitted).
facts, the complaint must make specific allegations about the
document, its author, contents, and character, and when and            Although the corrective-disclosure information need not
by whom it was received, to link it to the person making
the challenged statement when the statement was made.                  “precisely mirror” the alleged misrepresentations,  Alaska
                                                                       Elec. Pension Fund v. Flowserve Corp., 572 F.3d 221,
   Abrams v. Baker Hughes Inc., 292 F.3d 424, 432 (5th Cir.            230 (5th Cir. 2009) (quotation marks omitted), a corrective
2002).                                                                 disclosure must be “ ‘related to’ or ‘relevant to’ the
                                                                       defendants' fraud and earlier misstatements.”        Amedisys,
                                                                       769 F.3d at 321. “The test for relevant truth simply means that
                      3. Loss Causation                                the truth disclosed must make the existence of the actionable
                                                                       fraud more probable than it would be without that alleged fact,
 *6 Under the Private Securities Litigation Reform Act, “the
                                                                       taken as true.” Id.
plaintiff shall have the burden of proving that the act or
omission of the defendant ... caused the loss for which the


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   D. The Private Securities Litigation Reform Act “Safe                  (i) if made by a natural person, was made with actual
   Harbor”                                                                knowledge by that person that the statement was false or
The Private Securities Litigation Reform Act protects certain             misleading; or
“forward-looking statements.” A forward-looking statement
includes:                                                                 (ii) if made by a business entity; was--

  (A) a statement containing a projection of revenues, income                (I) made by or with the approval of an executive
  (including income loss), earnings (including earnings loss)                officer of that entity; and
  per share, capital expenditures, dividends, capital structure,
                                                                             (II) made or approved by such officer with actual
  or other financial items;
                                                                             knowledge by that officer that the statement was false
  (B) a statement of the plans and objectives of management                  or misleading.
  for future operations, including plans or objectives relating
                                                                     § 78u-5(c)(1).
  to the products or services of the issuer;

  (C) a statement of future economic performance, including          The Fifth Circuit has described the test for applying the safe-
  any such statement contained in a discussion and analysis          harbor provision as “two independent prongs: one focusing
  of financial condition by the management or in the results         on the defendant's cautionary statements and the other on
  of operations included pursuant to the rules and regulations       the defendant's state of mind.”      Southland, 365 F.3d at
  of the Commission;                                                 371. Under the first prong, the safe harbor protects a
                                                                     forward-looking statement if it is either (1) identified as
  (D) any statement of the assumptions underlying or relating
                                                                     forward looking and accompanied by “meaningful cautionary
  to any statement described in subparagraph (A), (B), or (C);
                                                                     statements” or (2) immaterial. Id. Under the second prong,
  (E) any report issued by an outside reviewer retained by           the safe harbor protects a forward-looking statement if the
  an issuer, to the extent that the report assesses a forward-       plaintiff fails to prove that the statement was made with
  looking statement made by the issuer; or                           “actual knowledge” that it was false or misleading. Id.

  (F) a statement containing a projection or estimate of such        The safe harbor is disjunctive. See 15 U.S.C. § 78u–5(c)(1)
  other items as may be specified by rule or regulation of the       (using the word “or”). Fifth Circuit case law makes clear that
  Commission.                                                        the safe harbor applies to a statement that is identified as
                                                                     forward-looking and accompanied by meaningful cautionary
15 U.S.C. § 78u–5(i)(1).                                             language, that is immaterial, or that was not made with

Under the Act's “safe-harbor” provision, a defendant “shall          actual knowledge that it was false or misleading. Lormand,
not be liable with respect to any forward-looking statement,         565 F.3d at 243 (a three-pronged, disjunctive inquiry);
whether written or oral, if”:                                           Southland, 365 F.3d at 371 (“two independent prongs”).
                                                                     Even if the plaintiffs show actual knowledge, the safe harbor
  (A) the forward-looking statement is--                             may still apply if the statement is either immaterial or
                                                                     is identified as forward looking and is accompanied by
     (i) identified as a forward-looking statement, and
     is accompanied by meaningful cautionary statements              meaningful cautionary language.         Southland, 365 F.3d at
     identifying important factors that could cause actual
                                                                     371; see also       BP I, 843 F. Supp. 2d at 777. Other circuits
     results to differ materially from those in the forward-
     looking statement; or                                           are consistent. 2

     *7 (ii) immaterial; or                                           *8 A cautionary statement must “identify important factors
                                                                     that could cause actual results to differ materially from
  (B) the plaintiff fails to prove that the forward-looking          those in the forward-looking statement.” § 78u–5(c)(1)(A)
  statement--                                                        (i). This standard is “somewhat ambiguous given the variety
                                                                     of possible factual circumstances that could arise.”         In


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re Harman Int'l Indus., Inc., 791 F.3d 90, 101 (D.C. Cir.
                                                                     looking statement.” 15 U.S.C. § 78u–5(c)(1)(A)(i); see     In
2015) (citations omitted). The question is how to separate
                                                                     re Harman, 791 F.3d at 102. The investor must be “warned
those disclosures that provide investors with “meaningful”
                                                                     of risks of a significance similar to that actually realized”
and “important” information from those that are either too
                                                                     so that she “is sufficiently on notice of the danger of the
vague for an investor to find relevant or too specific to expect
                                                                     investment to make an intelligent decision about it according
a reasonable issuer to identify as important. The case law
is clear that while “cautions must be tailored to the risks          to her own preferences for risk and reward.” Harris v. Ivax
that accompany the particular projections,” the cautionary-          Corp., 182 F.3d 799, 807 (11th Cir. 1999) (quotation marks
                                                                     omitted). That said, while “investors would like to have ... a
statement requirement does not demand prescience. Asher
                                                                     full disclosure of the assumptions and calculations behind the
v. Baxter Int'l Inc., 377 F.3d 727, 732 (7th Cir. 2004)
                                                                     projections[,] ... this is not a sensible requirement. Many of
(collecting cases). “[T]he cautions need not identify what
                                                                     the assumptions and calculations would be more useful to a
actually goes wrong and causes the projections to be
inaccurate.” Id. This tension reflects a safe-harbor provision       firm's rivals than to its investors.” Asher, 377 F.3d at 733.
born out of “a compromise between legislators who did                “[D]isclosing assumptions, methods, or confidence intervals”
not want any safe harbor ... and those who wanted a safe             underlying a projection is not required.      Id. at 734. “The
harbor ... that did not require any cautionary statements but        PSLRA does not require the most helpful caution; ... it is
just required the projection to have a reasonable basis.” Id.        enough to point to the principal contingencies that could cause
                                                                     actual results to depart from the projection.” Id.
A “meaningful” cautionary statement “calls for ‘substantive’
company-specific warnings based on a realistic description           In keeping with the statutory and case-law emphasis on
of the risks applicable to the particular circumstances, not         tailored disclosures, “[e]ach statement that benefits from the
merely a boilerplate litany of generally applicable risk
                                                                     safe harbor must be addressed individually.”          Lormand,
factors.”     Southland, 365 F.3d at 372. A “generic and             565 F.3d at 245. When a statement is forward looking only in
formulaic” cautionary statement that is repeated “only with          part, the “mixed present/future statement is not entitled to the
slight variations” and used “in conjunction with each alleged        safe harbor with respect to the part of the statement that refers
misrepresentation” is not meaningful.        Lormand, 565            to the present.”     Spitzberg v. Houston Am. Energy Corp.,
F.3d at 245 (emphasis in original). Nor are “[s]tatements
along the lines of ‘all businesses are risky’ or ‘the future         758 F.3d 676, 691 (5th Cir. 2014) (quoting Makor Issues &
lies ahead,’ ” which at bottom “come to nothing other                Rights, Ltd. v. Tellabs Inc., 513 F.3d 702, 705 (7th Cir. 2008)).

than caveat emptor.”       Asher, 377 F.3d at 733; see also
                                                                     III. Analysis
   Lormand, 565 F.3d at 244 (the following disclaimer
                                                                      *9 The defendants argue that leave to amend should
was not meaningfully cautionary: “[The statements are] not
                                                                     be denied because amendment would be futile and would
guarantees of future performance ... and involve known and
                                                                     cause undue delay and prejudice. The defendants argue
unknown risks and other factors that could cause actual
                                                                     that amendment would be futile because (1) the production
results to be materially different from any future results
                                                                     guidance statements are subject to the Private Securities
expressed or implied by them.”);       Plotkin v. IP Axess,          Litigation Reform Act safe harbor; (2) the 2018 production
Inc., 407 F.3d 690, 694 (5th Cir. 2005) (the following               guidance claims are time-barred under the applicable statute
disclaimer was not meaningfully cautionary: “These forward-          of repose; and (3) the plaintiffs fail to state a claim under Rule
looking statements involve numerous risks, uncertainties and         12(b)(6) and the Private Securities Litigation Reform Act's
assumptions, and actual results could differ materially from         heightened pleading standard.
anticipated results.”).
                                                                     For the reasons that follow, only the second argument is
A cautionary statement must be tailored “to a particular             persuasive.
company's status at a particular time.”    In re Harman, 791
F.3d at 101. The disclaimer must warn of what “could cause
                                                                       A. The Production Guidance Claims
actual results to differ materially from those in the forward-



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                                                                       • Dinges stated on Cabot's third quarter 2018 earnings call,
                     1. The Safe Harbor                                   held the same day as the press release, that: “We felt
                                                                          like we were prudent in dialing back our capital spend,
The defendants argue that the production guidance statements
                                                                          dialing back our '19 guidance to 20% to 25% growth in
fall within the Private Securities Litigation Reform Act safe
                                                                          2019, which is 25% to 30% growth on a debt adjusted per
harbor. The plaintiffs argue that the safe harbor does not apply
                                                                          share basis. And that's off a 2 Bcf plus net production.
because: (1) the production guidance was “knowingly false”;
                                                                          We think that's fairly robust production. Regardless of
(2) “the alleged misrepresentations are not accompanied by
                                                                          what we said earlier, we think that's fairly ... productive.
meaningful cautionary language”; and (3) the production
                                                                          But we get reports that have come out, and some of
guidance contained certain statements that were not forward-
                                                                          the headlines and reports are guidance and production is
looking. (Docket Entry No. 193-2 at 16–19). The court
                                                                          light in 2019. Yes, it's light, Okay, it's only 20%, 25%, but
disagrees with the defendants that the safe harbor applies.
                                                                          we think it's also reasonable to take in consideration the
Before explaining the reasons, the court summarizes the
                                                                          value proposition that Cabot brings to the table.” (Docket
allegations related to the production guidance.
                                                                          Entry No. 186-4 at ¶ 194).

The proposed second amended complaint alleges that Dinges               *10 • On February 22, 2019, Cabot issued a press release
and Schroeder knowingly issued false statements about                    announcing that it had “updated its 2019 production
Cabot's production guidance in press releases and investor               growth guidance to 20 percent[.]” (Docket Entry No.
conference calls. The production guidance statements fall into           190-13 at 12; Docket Entry No. 186-4 at ¶ 196).
two categories: (1) production guidance for fiscal year 2018             The release explained that “[t]his production growth is
and (2) production guidance for fiscal year 2019.                        based on an updated capital budget of $800 million.
                                                                         Approximately $160 million of the 2019 capital budget
The alleged misrepresentations regarding            the   2018           relates to wells that are drilled and / or completed in 2019
production guidance are as follows:                                      but not placed on production until 2020.” (Docket Entry
                                                                         No. 190-13 at 12).
  • On April 27, 2018, Cabot stated in a press release
    that “[t]he Company has [ ] reaffirmed its total                   • On April 26, 2019, Cabot issued a press release
    2018 daily production growth guidance of 10 to 15                    “reiterat[ing] its 2019 production growth guidance of 20
    percent.” (Docket Entry No. 186-4 at ¶ 191; Docket                   percent[.]” (Docket Entry No. 190-14 at 9; Docket Entry
    Entry No. 190-12 at 8).                                              No. 186-4 at ¶ 196).

  • On July 27, 2018, Cabot issued another press release
                                                                     The proposed second amended complaint contains numerous
    announcing a reduction of its “2018 daily production
                                                                     allegations supporting scienter—that is, that Dinges and
    growth guidance range from 10 - 15 percent to 10
                                                                     Schroeder knew that Cabot would not be able to meet the
    - 12 percent.” (Docket Entry No. 186-4 at ¶ 192;
                                                                     production guidance numbers that it gave investors. The
    Docket Entry No. 190-17 at 10). The press release
                                                                     plaintiffs allege that the production guidance was “falsely
    explained that the reduced guidance was “[d]ue to our
                                                                     manufactured ... to appease shareholders.” (Docket Entry No.
    year-to-date actual volumes being slightly lower than
                                                                     186-4 at ¶ 197).
    originally budgeted, primarily resulting from delays in
    third-party compressor stations in the first-quarter and
                                                                     Each press release containing the allegedly false
    downtime on Transco and Millenium during the second-
                                                                     production guidance featured this forward-looking statements
    quarter[.]” (Docket Entry No. 190-17 at 10).
                                                                     disclaimer:

The alleged misrepresentations regarding            the   2019
production guidance are as follows:
                                                                                 This press release includes forward-
  • On October 26, 2018, Cabot issued a press release                            looking statements within the meaning
    announcing “its preliminary 2019 production growth                           of Section 27A of the Securities
    guidance range of 20 to 25 percent[.]” (Docket Entry No.                     Act of 1933, as amended, and
    19-12 at 10; Docket Entry No. 186-4 at ¶ 193).                               Section 21E of the Securities



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           Exchange Act of 1934, as amended.
           The statements regarding future                Cabot's Form 10-Ks, which the disclaimer references as
           financial and operating performance            containing additional “Risk Factors,” stated in relevant part:
           and results, strategic pursuits and
           goals, market prices, future hedging              Our growth is materially dependent upon the success of our
           and risk management activities,                   drilling program. Drilling for natural gas and oil involves
           and other statements that are not                 numerous risks, including the risk that no commercially
           historical facts contained in this                productive natural gas or oil reservoirs will be encountered.
           report are forward-looking statements.            The cost of drilling, completing and operating wells is
           The words “expect”, “project”,                    substantial and uncertain, and drilling operations may be
           “estimate”, “believe”, “anticipate”,              curtailed, delayed or canceled as a result of a variety of
           “intend”, “budget”, “plan”, “forecast”,           factors beyond our control, including:
           “outlook”, “predict”, “may”, “should”,
                                                             *11 • decreases in natural gas and oil prices;
           “could”,      “will”     and     similar
           expressions are also intended to                  • unexpected drilling conditions, pressure or irregularities
           identify forward-looking statements.                 in formations;
           Such statements involve risks and
           uncertainties, including, but not                 • equipment failures or accidents;
           limited to, market factors, market
                                                             • adverse weather conditions;
           prices (including geographic basis
           differentials) of natural gas and crude           • surface access restrictions;
           oil, results of future drilling and
           marketing activity, future production             • loss of title or other title related issues;
           and costs, legislative and regulatory
           initiatives, electronic, cyber or                 • lack of available gathering or processing facilities or
           physical security breaches and other                 delays in the construction thereof;
           factors detailed herein and in our other
                                                             • compliance with, or changes in, governmental
           Securities and Exchange Commission
                                                               requirements and regulation, including with respect to
           (SEC) filings. See “Risk Factors”
                                                               wastewater
           in Item 1A of the Form 10-K
           and subsequent public filings for                 • disposal, discharge of greenhouse gases and fracturing;
           additional information about these                   and
           risks and uncertainties. Should one or
           more of these risks or uncertainties              • costs of shortages or delays in the availability of
           materialize, or should underlying                   drilling rigs or crews and the delivery of equipment and
           assumptions prove incorrect, actual                 materials.
           outcomes may vary materially from
           those indicated. Any forward-looking              Our future drilling activities may not be successful and,
           statement speaks only as of the date              if unsuccessful, such failure will have an adverse effect
           on which such statement is made, and              on our future results of operations and financial condition.
           the Company does not undertake any                Our overall drilling success rate or our drilling success rate
           obligation to correct or update any               within a particular geographic area may decline. We may
           forward-looking statement, whether as             be unable to lease or drill identified or budgeted prospects
           the result of new information, future             within our expected time frame, or at all. We may be unable
           events or otherwise, except as required           to lease or drill a particular prospect because, in some cases,
           by applicable law.                                we identify a prospect or drilling location before seeking an
                                                             option or lease rights in the prospect or location. Similarly,
                                                             our drilling schedule may vary from our capital budget.
                                                             The final determination with respect to the drilling of any
(Docket Entry No. 190-10 at 11–12).



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  scheduled or budgeted wells will be dependent on a number            having the potential to cause Cabot's actual production
  of factors, including:                                               to differ materially from its production guidance were
                                                                       “a boilerplate litany of generally applicable risk factors.”
  • the results of exploration efforts and the acquisition,
     review and analysis of seismic data;                                 Southland, 365 F.3d at 372. The factors were not Cabot-
                                                                       specific and were not tailored to Cabot's circumstances at the
  • the availability of sufficient capital resources to us and the
                                                                       particular time. See  Southland, 365 F.3d at 372;   In re
     other participants for the drilling of the prospects;
                                                                       Harman, 791 F.3d at 101. Cabot used the same “generic and
  • the approval of the prospects by other participants after          formulaic” disclaimer in each press release. Lormand, 565
     additional data has been compiled;                                F.3d at 245 (emphasis in original). An investor reading the
                                                                       disclaimer would not have been “sufficiently on notice of the
  • economic and industry conditions at the time of drilling,          danger of the investment to make an intelligent decision about
     including prevailing and anticipated prices for natural           it according to her own preferences for risk and reward.”
     gas and oil and the availability of drilling rigs and crews;
                                                                          Harris, 182 F.3d at 807 (quotation marks omitted).
  • our financial resources and results; and
                                                                       The defendants argue that the disclaimer warned of the
  • the availability of leases and permits on reasonable               specific risk that the plaintiffs allege caused Cabot's actual
    terms for the prospects and any delays in obtaining such           production to differ materially from its production guidance.
    permits.                                                           The defendants presumably refer to the disclaimer's warnings
                                                                       about “legislative and regulatory initiatives” and “compliance
  These projects may not be successfully developed and
                                                                       with ... governmental requirements and regulation.” However,
  the wells, if drilled, may not encounter reservoirs of
                                                                       these generic warnings are insufficiently specific to put an
  commercially productive natural gas or oil.
                                                                       investor on notice of the danger of the investment, particularly
(Docket Entry No. 190-15 at 39).                                       because the plaintiffs allege that Cabot's production from
                                                                       specific wells was already being negatively affected by
The applicability of the safe harbor to the production guidance        the Department's enforcement of environmental laws and
depends on whether the disclaimer in the press releases (1)            regulations.
sufficiently identified the production guidance as forward-
looking statements and (2) meaningfully cautioned investors            As other circuits have recognized, “cautionary language
with “statements identifying important factors that could              cannot be meaningful if it is misleading in light of historical
cause actual results to differ materially from those in the            facts[ ] that were established at the time the statement was
forward-looking statement[s].” § 78u–5(c)(1)(A).                       made” because “[s]uch statements are neither significant nor
                                                                       of useful quality or purpose.”       In re Harman, 791 F.3d
The disclaimer satisfies the first inquiry because it identified
the production guidance as forward-looking statements. It              at 102 (citing     Slayton v. Am. Exp. Co., 604 F.3d 758,
stated that “[t]his press release includes forward-looking             770 (2d Cir. 2010)) (quotation marks omitted). The proposed
statements within the meaning of Section 27A of the                    second amended complaint alleges that, from 2017 to 2019,
Securities Act of 1933, as amended, and Section 21E of                 Cabot's drilling manager, Steven Novakowsi, “repeatedly
the Securities Exchange Act of 1934, as amended.” It                   informed” Dinges and Schroeder “that ongoing gas migration
identified these forward-looking statements as including               investigations at various Cabot wells had the potential to
“[t]he statements regarding future financial and operating             negatively impact the company's performance.” (Docket
performance and results ... and other statements that are              Entry No. 186-4 at ¶ 191(b)). The proposed second amended
not historical facts[.]” That description clearly included the         complaint also alleges that the defendants were informed
production guidance statements.                                        in April 2018 that “drilling issues” and “remedial work”
                                                                       was causing production delays. (Id. at ¶ 191(f)). Finally,
 *12 However, the disclaimer fails the second inquiry                  the plaintiffs allege that, just weeks before Cabot issued
because it did not contain “meaningful cautionary                      its 2019 production guidance, Novakowsi again warned the
statements.” The factors that the disclaimer identified as             defendants about the “potential impact of gas migration and/




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or alleged gas migration issues on the ability of the company         191(i)). Nonetheless, the plaintiffs allege that Cabot publicly
to meet guidance.” (Id. at ¶ 197(b)).                                 reaffirmed its 2018 production guidance a few days later.
                                                                      (Id. at ¶ 192). The proposed second amended complaint
These allegations support an inference that the defendants            further alleges that, just weeks before Cabot issued its
knew that a specific risk had materialized that was                   2019 production guidance, Novakowski had informed the
significantly likely to cause Cabot's actual production to differ     defendants “about the potential impact of gas migration
materially from the production guidance that it had issued.           and/or alleged gas migration issues on the ability of the
In light of these allegations, it was insufficient for Cabot          company to meet guidance.” (Id. at ¶ 197(b)). The plaintiffs
to warn vaguely of “legislative and regulatory initiatives”           allege that Cabot's own internal forecasts “were never at
and “compliance with ... governmental requirements and                20% production growth” even though its 2019 production
regulation.”                                                          guidance announced a low end of 22% growth. (Id. at ¶
                                                                      197(h)).
The D.C. Circuit's opinion in In re Harman is analogous.
The defendant in that case had warned that actual outcomes            The plaintiffs have stated a claim on which relief can be
might differ from forward-looking statements because of               granted with respect to the production guidance statements.
“amassed inventory.”        791 F.3d at 104. The court held
that this statement was not meaningful because it “did not
convey that inventory was obsolete, as opposed to stocked                               3. The Statute of Repose
with the latest, cutting-edge models. Even if viewed as
implicitly raising the specter of obsolescence, the statements        The defendants argue that the plaintiffs' claims based on the
were insufficient for at least the reason that they did not warn      2018 production guidance are time-barred under 28 U.S.C.
of actual obsolescence that had already manifested itself.”           § 1658(b). (Docket Entry No. 191 at 28). Section 1658(b)
Id. Likewise, it was not sufficiently meaningful for Cabot            provides that “a private right of action that involves a claim of
to raise the specter of regulatory compliance issues when             fraud, deceit, manipulation, or contrivance in contravention of
specific regulatory action had already begun affecting Cabot's        a regulatory requirement concerning the securities laws[ ] ...
production.                                                           may be brought not later than the earlier of—(1) 2 years after
                                                                      the discovery of the facts constituting the violation; or (2) 5
 *13 The safe harbor does not apply to the production                 years after such violation.”
guidance.
                                                                      The defendants note that the motion for leave to amend was
                                                                      filed more than five years after the alleged misstatements.
                                                                      (Docket Entry No. 191 at 22). They argue that the 2018
                   2. Falsity and Scienter                            production guidance allegations do not relate back to prior
                                                                      complaints because they “are based on substantially different
The defendants argue that, even if the safe harbor does not
                                                                      disclosures, documents, and theories.” (Id.).
apply, the proposed second amended complaint fails to state
a claim on which relief can be granted as to the production
                                                                      The plaintiffs respond that § 1658(b) does not apply because
guidance statements. (Docket Entry No. 191 at 27). The court
                                                                      they filed the action within the five-year repose period.
disagrees.
                                                                      (Docket Entry No. 193-2 at 20). The plaintiffs rely on
As already partially detailed, the plaintiffs have alleged facts          Southeastern Pennsylvania Transportation Authority v.
giving rise to the reasonable inference that the defendants           Orrstown Financial Services Inc., 12 F.4th 337, 351 (3rd Cir.
issued production guidance with knowledge—or at least                 2021), for the proposition that “statutes of repose create a
with “severe recklessness”—that Cabot was unlikely to meet            deadline for filing actions, rather than resolving them.” The
                                                                      plaintiffs misread Orrstown. The plaintiffs in that case sought
the production guidance.       Nathenson, 267 F.3d at 408.
                                                                      to “reassert the same claims against the same parties” that they
The plaintiffs allege that the defendants had been informed
                                                                      had previously brought within the repose period, but which
by internal analysts that Cabot's “overall production level
was [ ] forecasted to be lower than the production level              had been dismissed. Id. at 344. The Third Circuit held that
disclosed to the market.” (Docket Entry No. 186-4 at ¶                the claims that the plaintiffs sought to reassert through an



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amended complaint related back to the previously dismissed             original pleading.” F.D.I.C. v. Bennett, 898 F.2d 477, 480
                                                                       (5th Cir. 1990) (quoting WRIGHT & MILLER, FEDERAL
claims and were not time-barred.     Id. at 352–53. If, as the
                                                                       PRACTICE & PROCEDURE 6A, § 1497, p. 94). However,
plaintiffs contend, the court had interpreted the statute of
                                                                       “when new or distinct conduct, transactions, or occurrences
repose to limit only the time that an action could be filed,
                                                                       are alleged as grounds for recovery, there is no relation back,
rather than the time that a claim could be brought, relation-
                                                                       and recovery under the amended complaint is barred by
back would have been a moot point.
                                                                       limitations if it was untimely filed.” Holmes v. Greyhound
                                                                       Lines, Inc., 757 F.2d 1563, 1566 (5th Cir. 1985); see also
 *14 The plaintiffs' reliance on           Hogan v. Pilgrim's
Pride Corporation, 73 F.4th 1150 (10th Cir. 2023), is also                 F.D.I.C. v. Conner, 20 F.3d 1376, 1385 (5th Cir. 1994) (“If
misplaced. The Tenth Circuit held that relation-back applied           a plaintiff attempts to interject entirely different transactions
to § 1658(b). It also interpreted § 1658(b) to apply to initiating     or occurrences into a case, then relation back is not allowed.”).
                                                                       “In a securities fraud action, courts examine whether the
or commencing a claim rather than amending one.      Id. at
                                                                       allegations relate to the same statements and/or documents
1157. However, the court made the following disclaimer:
                                                                       referenced in the original complaint.”           In re Enron
  This is not to say, however, that once a complaint is filed          Corp., No. H-01-3624, 2005 WL 1638039, at *4 (S.D.
  within the repose period, § 1658(b)(2) always continues to           Tex. June 21, 2005) (quoting reference and quotation marks
  be satisfied despite later amendments to the complaint. The          omitted). The relation-back doctrine is “liberally applied ...
  repose statute is claim specific. It speaks in terms of a cause      ‘based on the idea that a party who is notified of litigation
  of action “that involves a claim of fraud.” A claim raised           concerning a given transaction or occurrence is entitled to no
  for the first time in an amendment to a complaint may well           more protection from statutes of limitation than one who is
  be barred by the statute. But that is not the situation here,        informed of the precise legal description of the rights sought
  where the SAC adds no parties or causes of action; it does
  not even add additional statements alleged to be fraudulent.         to be enforced.’ ”    Williams v. United States, 405 F.2d
  We thus see no reason to bar the SAC under the repose                234, 236 (5th Cir. 1968) (quoting 3 MOORE, FEDERAL
  statute.                                                             PRACTICE ¶ 15.15[2]).

Id. at 1157–58.                                                         *15 The plaintiffs argue that the 2018 production guidance
                                                                       allegations relate back to the first amended complaint because
Unlike the amended complaint at issue in Hogan, the                    the allegations arise “from the same operative conduct alleged
plaintiffs' second amended complaint does “add additional              in the FAC and amplify that Cabot's ongoing remedial work
statements alleged to be fraudulent.” The question, therefore,         negatively impacted Cabot's ability to meet its production
is whether the new statements relate back to the claims that           guidance.” (Docket Entry No. 193-2 at 23).
were brought within the repose period.
                                                                       The plaintiffs are correct that the first amended complaint
Federal Rule of Civil Procedure 15(c) provides that: “An               alleged that Cabot's environmental compliance issues
amendment to a pleading relates back to the date of the                were “reasonably likely to, and would, adversely impact
original pleading when: ... the amendment asserts a claim              Cabot's ability to achieve its financial and operational
or defense that arose out of the conduct, transaction, or              projections.” (Docket Entry No. 110 at ¶¶ 190(i), 259).
occurrence set out—or attempted to be set out—in the original          However, the first amended complaint did not allege
pleading. FED. R. CIV. P. 15(c)(1)(B).                                 that Cabot's 2018 production guidance was a material
                                                                       misrepresentation, and it did not allege the facts that are
“[R]elation back depends on the existence of a common ‘core
                                                                       the basis for that theory. Compare      In re Enron Corp.,
of operative facts’ uniting the original and newly asserted
                                                                       2005 WL 1638039, at *4 (applying relation-back because
claims.”     Mayle v. Felix, 545 U.S. 644, 659 (2005). “The            the amended complaint “assert[ed] claims based on the same
fact that an amendment changes the legal theory on which               alleged misrepresentations and omissions” as the original
the action initially was brought is of no consequence if the
                                                                       complaint);     Hogan, 73 F.4th at 1157–58. The 2018
factual situation upon which the action depends remains the
                                                                       production guidance allegations are based on “new or distinct
same and has been brought to defendant's attention by the
                                                                       conduct, transactions, or occurrences” and do not relate-back


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to the allegations in the first amended complaint. The claims        § 229.103(c)(3)”; (2) “the alleged omissions rendered any
based on the 2018 production guidance are time-barred.               affirmative statements misleading”; (3) “Dinges or Schroeder
                                                                     knew for sure Cabot would be charged, let alone charged with
                                                                     felonies”; (4) “Dinges or Schroeder had no reasonable basis
   B. The Failure-to-Disclose Claims                                 to believe that the alleged proposed consent order or charges
The proposed second amended complaint alleges that the               would result in less than $100,000 in penalties, or that Cabot
defendants failed to disclose the following material facts           had no reasonable chance of prevailing at trial.” (Docket
that made Cabot's public statements misleading: (1) that its         Entry No. 191 at 29).
lowered production guidance announced in a July 17, 2019
press release had been caused by a gas migration investigation       The defendants' argument with respect to the proposed
conducted by the Department; (2) that it had received a              consent order fails because, as explained above, once
proposed consent order and agreement from the Department             the defendants addressed the proposed consent orders and
relating to ongoing violations of a previous consent order; and      agreements, they were obligated to do so accurately. The
(3) that the Pennsylvania Attorney General was preparing to          plaintiffs allege that the defendants disclosed only two
file criminal charges against Cabot. The defendants argue that       proposed consent orders and agreements and failed to disclose
the proposed second amended complaint fails to state a claim         a proposed consent order and agreement that Cabot had
on which relief can be granted as to each alleged omission.          received on the same day as the other two consent orders and
The court disagrees.                                                 agreements. (Docket Entry No. 186-4 at ¶ 201). The plaintiffs
                                                                     have stated a claim that the defendants breached their duty to
The second amended complaint alleges that, beginning July            disclose this proposed consent order and agreement.
17, 2019, an “ongoing gas migration investigation at the
Powers M well pad[ ] required a lengthy cessation of drilling        The defendants' argument with respect to the criminal charges
operations there, indefinitely delaying the completion of the        also fails. 17 C.F.R. § 229.103(a) requires registrants to
wells and, therefore, gas production.” (Docket Entry No.             “[d]escribe briefly any material pending legal proceedings,
186-4 at ¶ 200). The plaintiffs further allege that Dinges           other than ordinary routine litigation incidental to the
and Schroeder had been informed of the investigation and             business, to which the registrant or any of its subsidiaries is
suspension. (Id.). Instead of disclosing this investigation, the     a party or of which any of their property is the subject.” This
plaintiffs allege that Cabot attributed the lowered production       requirement applies also to “any such proceedings known to
guidance “in large part to a change in the operating plan            be contemplated by governmental authorities.” Id. Section
resulting from a unique opportunity to acquire acreage               229.103(c) further requires disclosure of “[a]dministrative or
adjacent to an eight-well paid, allowing the Company                 judicial proceedings (including proceedings which present
to increase the total lateral footage on the pad.” (Id.).            in large degree the same issues) arising under any Federal,
The defendants contend that the non-disclosure is not                State, or local provisions that have been enacted or adopted
actionable because “Cabot did not represent that the acreage         regulating the discharge of materials into the environment
acquisition rationale was the only reason for the guidance           or primarily for the purpose of protecting the environment.”
change.” (Docket Entry No. 191 at 29). This argument is              Such proceedings “shall not be deemed ‘ordinary routine
unavailing because Cabot incurred “a duty to speak the               litigation incidental to the business’ and shall be described if:
full truth” when it released a statement about the delayed
production from the Powers M well pad. See Oklahoma                    (i) Such proceeding is material to the business or financial
Firefighters Pension & Ret. Sys. v. Six Flags Entm't Corp.,            condition of the registrant;
58 F.4th 195, 217 (5th Cir. 2023) (quoting     Lormand, 565            (ii) Such proceeding involves primarily a claim for
F.3d at 249). Cabot cannot avoid liability by arguing that the         damages, or involves potential monetary sanctions, capital
statement was a partial truth.                                         expenditures, deferred charges or charges to income and the
                                                                       amount involved, exclusive of interest and costs, exceeds
 *16 The defendants argue that the plaintiffs do not                   10 percent of the current assets of the registrant and its
sufficiently claim that Cabot failed to disclose the proposed          subsidiaries on a consolidated basis; or
consent order and criminal charges because the plaintiffs
have not pleaded particularized facts showing that: (1) “Cabot         (iii) A governmental authority is a party to such
was required to disclose these alleged items under 17 C.F.R.           proceeding and such proceeding involves potential



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  monetary sanctions, unless the registrant reasonably               The plaintiffs have stated a claim that Cabot failed to
  believes that such proceeding will result in no monetary           disclose material facts necessary to make its statements not
  sanctions, or in monetary sanctions, exclusive of interest         misleading.
  and costs, of less than $300,000 or, at the election of
  the registrant, such other threshold that (A) the registrant
  determines is reasonably designed to result in disclosure            C. Undue Delay and Prejudice
  of any such proceeding that is material to the business or         Finally, the defendants argue that, even if the amendment is
  financial condition is disclosed, (B) the registrant discloses     not futile, it should not be allowed because (1) the plaintiffs'
  (including any change thereto) in each annual and quarterly        “effort to add new claims based on litigation discovery is [ ] an
  report, and (C) does not exceed the lesser of $1 million           improper end-run around the PSLRA's pleading standards”;
  or one percent of the current assets of the registrant and         and (2) amendment would cause delay and prejudice because
  its subsidiaries on a consolidated basis; provided, however,       a new class certification proceeding would be required.
  that such proceedings that are similar in nature may be            (Docket Entry No. 191 at 31–32).
  grouped and described generically.
                                                                     The court is not persuaded that amendment would be an
§ 229.103(c)(3). The version of § 229.103 that was in place          “end-run around the PSLRA's pleading standards.” The
during the relevant time required, in (c)(3)(iii), disclosure        defendants cite several cases describing a “tension” between
of governmental environmental proceedings unless the                 the Act's heightened pleading standard and the liberal leave
company “reasonably believes” that the proceeding will not           to amend under Rule 15. But these cases deny leave to
result in “monetary sanctions, exclusive of interest and costs,      amend only when the plaintiff presents no explanation
of less than $100,000,” rather than the $300,000 in the current
                                                                     for not including the new allegations earlier, see   In re
version. (Docket Entry No. 191 at 23).
                                                                     Bristol-Myers Squibb Sec. Litig., 228 F.R.D. 221, 229–30
                                                                     (D.N.J. 2005), or when the claims asserted in the amended
 *17 The second amended complaint sufficiently alleges that
                                                                     complaint were previously dismissed for failure to meet
the criminal charges were not “ordinary routine litigation
incidental to the business” and were subject to the disclosure       the heightened pleading standard, see  In re Bisys Sec.
requirements of § 229.103. The plaintiffs allege that, when          Litig., 496 F. Supp. 2d 384, 387 (S.D.N.Y. 2007), aff'd
Cabot filed its 2019 Form 10-K and 1Q20 Form 10-Q—which              sub nom.    Pub. Employees Ret. Ass'n of New Mexico v.
failed to disclose the criminal charges—the defendants “(i)          PricewaterhouseCoopers LLP, 305 Fed. App'x. 742 (2d Cir.
ha[d] received the Grand Jury's subpoena ..., (ii) kn[ew] of the
Attorney General's criminal complaint, and (iii) expect[ed]          2009);    Zwick Partners, LP v. Quorum Health Corp., 394
that criminal charges would be forthcoming[.]” (Docket               F. Supp. 3d 804, 813 (M.D. Tenn. 2019), or when amendment
Entry No. 186-4 at ¶ 202). The plaintiffs have further               would be futile, see     Miller v. Champion Enterprises Inc.,
alleged that the criminal charges were “material to the
                                                                     346 F.3d 660, 692 (6th Cir. 2003),     In re NAHC, Inc. Sec.
business or financial condition” of Cabot. § 229.103(c)(3).
                                                                     Litig., 306 F.3d 1314, 1332 (3d Cir. 2002).
They have alleged that Cabot's “Susquehanna County gas
exploration and production operations ... were existential
                                                                     In this situation, in which the plaintiffs met the heightened
to the Company's business” and that “[s]ubstantially all of
                                                                     pleading standard initially but seek to add additional claims
Cabot's oil and gas production occurred in Susquehanna
                                                                     based on information learned in discovery, the purpose
County during the Class Period.” (Docket Entry No. 186-4
                                                                     behind the heightened pleading standard—“to screen out
at ¶¶ 251–52). Finally, drawing all reasonable inferences in
the plaintiffs' favor, it would have been unreasonable for           lawsuits that have no factual basis,”        In re NAHC, 306
the defendants to believe that the criminal charges would            F.3d at 1332—would not be frustrated by amendment. The
result in monetary sanctions less than $100,000 because,             Third Circuit has recognized that amendment ought to be
as the plaintiffs allege, the defendants knew that a single          permitted when the plaintiff learns the basis of a claim through
notice of violation it had received from the Department in
                                                                     discovery and could not have done so earlier. See       Werner
September 2011 would “likely” result in the payment of a
                                                                     v. Werner, 267 F.3d 288, 297 (3d Cir. 2001) (“Given the high
penalty between $100,000 and $300,000. (Docket Entry No.
                                                                     burdens the PSLRA placed on plaintiffs, justice and fairness
186-4 at ¶ 187).
                                                                     require that the plaintiffs before us be allowed an opportunity



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                                                                 argue that amendment would require resolving “potential
to amend their complaint to include allegations relating to
                                                                 predominance issues based on the expiration of the two-
the newly discovered Board meeting minutes.”); see also
                                                                 year statute of limitations for the new 2019 and 2020 claims
   In re Livent, Inc. Noteholders Secs. Lit., 174 F. Supp.       (which were brought within the five-year repose period
2d 144, 148 (S.D.N.Y. 2001) (allowing a third amendment);        but, without relation back, would be beyond the two-year
    McNamara v. Bre–X Minerals, Ltd., 197 F. Supp. 2d 622        limitations period and subject to inquiry notice).” (Id.). The
                                                                 court doubts that any putative class members learned of the
(E.D. Tex.2001) (allowing a fourth amendment);  Chu v.
                                                                 facts underlying those claims over two years ago, but to the
Sabratek Corp., 100 F. Supp. 2d 827, 844 & n. 14 (N.D.
                                                                 extent there are genuine predominance issues, they can be
Ill. 2000) (allowing a sixth amendment);     In re Southern      resolved efficiently and without undue delay or prejudice to
Pac. Funding Corp. Sec. Lit., 83 F. Supp. 2d 1172, 1174 (D.      the defendants.
Or. 1999) (allowing a fourth amendment). On these facts,
amendment would not frustrate the Act's heightened pleading
standard.                                                        IV. Conclusion
                                                                 The motion for leave is granted, (Docket Entry No. 185),
 *18 The court is also not convinced that amendment              but the claims based on the 2018 production guidance are
would cause undue delay or prejudice. The defendants argue       dismissed with prejudice.
that amendment “would require a new class certification
proceeding to assess the 2018 stock drop,” but, as the court
                                                                 All Citations
has explained, the 2018 production guidance claim is time-
barred. (Docket Entry No. 191 at 31). The defendants also        Slip Copy, 2024 WL 83503, Fed. Sec. L. Rep. P 101,744




                                                       Footnotes


2
       See, e.g.,    Slayton v. Am. Express Co., 604 F.3d 758, 766 (2d Cir. 2010) (“The safe harbor is written in the
       disjunctive; that is, a defendant is not liable if the forward-looking statement is identified and accompanied
       by meaningful cautionary language or is immaterial or the plaintiff fails to prove that it was made with actual
       knowledge that it was false or misleading.”);    In re Aetna, Inc. Sec. Litig., 617 F.3d 272, 278–79 (3d Cir.
       2010) (“[T]he safe harbor applies to statements that are forward-looking as defined by the statute provided
       that they are (1) identified as such, and accompanied by meaningful cautionary statements; or (2) immaterial;
       or (3) made without actual knowledge that the statement was false or misleading.”);       In re Cutera Sec.
       Litig., 610 F.3d 1103, 1112 (9th Cir. 2010) (“[T]he investors argue for a conjunctive reading of the safe
       harbor provision, under which a sufficiently strong inference of actual knowledge would overcome a claim
       of safe harbor protection even for statements identified as forward-looking and accompanied by meaningful
       cautionary language. The difficulty with this approach is that it ignores the plain language of the statute,
       which is written in the disjunctive as to each subpart.”);        Edward J. Goodman Life Income Trust v. Jabil
       Circuit, Inc., 594 F.3d 783, 795 (11th Cir. 2010) (“The statute offers several ways for a defendant to avoid
       liability, all written in the disjunctive.... First, a defendant may avoid liability by showing that his statement
       was issued with meaningful cautionary language. Or, the defendant can show that the statement was simply
       immaterial. As a third alternative, the defendant can avail himself of the safe harbor if the plaintiff fails to
       prove that the statement was made with actual knowledge that it was false. Any one of these suffices for
       the defendant; a top-to-bottom reading of the statute shows that the plaintiff's inability to show knowledge of
       falsity is only relevant if the defendant is unable to produce meaningful cautionary statements or evidence
       of immateriality.” (citations omitted)); Ind. State Dist. Council & Hod Carriers Pension & Welfare Fund v.
       Omnicare, Inc., 583 F.3d 935, 943 (6th Cir. 2009) (the safe-harbor provision “is overcome only if the statement


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      was material; if defendants had actual knowledge that it was false or misleading; and if the statement was
      not identified as ‘forward-looking’ or lacked meaningful cautionary statements.” (quotation marks omitted)).



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                        TAB No. 5




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                     2023 WL 2647855                                                       I. Background
        United States District Court, S.D. New York.
                                                                    A. Facts 1
         Jason DENNY, Individually and on Behalf                    This case arises out of the proposed class's purchases of
          of All Others Similarly Situated, Plaintiff,              American Depositary Shares (“ADSs”) of Canaan between
                              v.                                    February 10, 2021 and April 9, 2021 (the “Class Period”).
                  CANAAN INC., Nangeng                              Am. Compl. ¶ 1. Canaan is a Cayman Islands corporation
              Zhang, and Tong He, Defendants.                       that primarily manufactures and sells cryptocurrency mining
                                                                    equipment. Id. ¶¶ 16, 23. In 2018, 2019, and 2020, sales of this
                      21 Civ. 3299 (JPC)                            equipment comprised 99.7%, 97.7% and 94.4% respectively
                               |                                    of Canaan's total revenue. Id. ¶ 27. Canaan's ADSs are
                    Signed March 27, 2023                           publicly traded on the Nasdaq. Id. ¶ 2. Mr. Zhang is the
                                                                    founder of Canaan, and has served as its CEO and as
Attorneys and Law Firms
                                                                    Chairman of its Board of Directors since that founding. Id.
Samuel Howard Rudman, Robbins Geller Rudman & Dowd                  ¶ 18. Mr. He has served as Canaan's Director of Finance
LLP, Melville, NY, for Plaintiff.                                   since July 2020 and served as its acting CFO from February
                                                                    2021 to August 2021. Id. ¶ 19. Lead Plaintiffs allege that
Daniel L. Cantor, O'Melveny & Myers LLP, New York, NY,              both Mr. Zhang and Mr. He “because of their positions within
Meg Kalikman Lippincott, Los Angeles, CA, William Ka                [Canaan] possessed the power and authority to control the
Hing Pao, O'Melveny & Myers, LLP, Los Angeles, CA, for              contents of Canaan's SEC filings, press releases, and other
Defendant Canaan Inc.                                               market communications.” Id. ¶ 21. Lead Plaintiffs further
                                                                    allege that Mr. Zhang and Mr. He “were provided with copies
                                                                    of the Company's SEC filings and press releases ... prior to or
                  OPINION AND ORDER                                 shortly after their issuance and had the ability and opportunity
                                                                    to prevent their issuance or to cause them to be corrected.” Id.
JOHN P. CRONAN, United States District Judge:
                                                                     *2 On November 30, 2020, Canaan issued a press release
*1 Lead Plaintiffs Bill Lu and Liying Huang allege that             attached as Exhibit 99.1 to a Form 6-K filed with the SEC,
Defendants Canaan, Inc. (“Canaan”), Nangeng Zhang (“Mr.             which was titled “Canaan Inc. Reports Unaudited Third
Zhang”), and Tong He (“Mr. He”) made knowingly false and            Quarter 2020 Financial Results” and announced Canaan's
misleading statements in violation of Section 10(b) of the          financial results for the quarter ending September 30, 2020.
Securities Exchange Act of 1934 (“Exchange Act”),            15     Id. ¶ 28; see Dkt. 71-2 at 2-12 (“11/30/20 Press Release”).
U.S.C. § 78j(b), and Securities and Exchange Commission             This press release reported a 20.7% decrease in total
(“SEC”) Rule 10b-5, 17 C.F.R. § 240.10b-5, and in violation         computing power sales from the same period in 2019 and a
of Section 20(a) of the Exchange Act, 15 U.S.C. § 78t(a).           13.4% quarter-over-quarter increase in such sales compared
Defendants have moved to dismiss the Amended Complaint,             to the second quarter of 2020, as well as a 75.7% year-over-
arguing that it fails to adequately plead a substantive Section     year revenue decrease and 8.5% quarter-over-quarter revenue
10(b) violation because Lead Plaintiffs have not alleged that       decrease. 11/30/20 Press Release at 1. The press release
Defendants made materially false or misleading statements or        contained quotations from both Mr. Zhang, as the Chairman
that they did so with the requisite scienter. Because the Court     and CEO of Canaan, and Quanfu Hong (“Mr. Hong”), then the
determines that one of Defendants’ alleged misstatements            CFO of Canaan. Mr. Hong mentioned, among other things,
was outside of the class period and inactionable, another           the rebounding market demand for Bitcoin mining machines
was not materially false or misleading, and the third was not       and pre-sale orders that Canaan had received: “[T]he demand
made with the requisite scienter, the Court grants Defendants’      for mining machines in the market continued to rebound
motion in its entirety.                                             during the third quarter, and we have received a large number
                                                                    of pre-sale orders which are scheduled for delivery starting in
                                                                    the fourth quarter of 2020.” Id. at 2.




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Mr. Hong resigned as CFO effective immediately for                              Above all, it should help us achieve
“personal reasons” on February 9, 2021. Am. Compl. ¶ 30.                        profitable growth for the long run.
The next day, which is the start of the Class Period, Canaan
issued a press release again attached as Exhibit 99.1 to a
Form 6-K filed with the SEC and signed by Mr. Zhang, which         Id.
was titled “Canaan Announces Improved Revenue Visibility
in 2021.” Id. ¶ 32; see Dkt. 71-3 at 104-06 (“2/10/21 Press        On Monday, February 8, 2021, two days before this press
Release”). Lead Plaintiffs rely on multiple statements made in     release was issued, Canaan's ADSs opened trading at $6.91
the February 10, 2021 press release that touted the company's      each. Am. Compl. ¶ 33. The shares closed trading on Friday,
increased revenue visibility thanks to purchase orders for         February 12, 2021, at $13.04 each. Id.
Bitcoin mining machines. The release stated:
                                                                   On April 9, 2021, a magazine called Decrypt published an
                                                                   interview with Mr. Zhang in an article titled, “Canaan CEO Is
            Canaan ... announced that its revenue                  Bullish on Bitcoin Mining Ahead of Earnings – The Nasdaq-
            visibility has improved substantially in               listed manufacturer of crypto mining hardware has seen its
            2021 as a result of attaining purchase                 stock jump almost 1000% in six months.” Id. ¶ 36; Dkt.
            orders totaling more than 100,000                      71-3 (“Decrypt Article”) at 1. The article began: “Canaan
            units of bitcoin mining machines                       founder and CEO Nangeng Zhang has reason to be chipper.
            from customers in North America.                       His Beijing-based company is reporting earnings on Monday,
            Many of those purchase orders were                     when it will disclose Q4 and full 2020 results, and the
            placed with prepayment and will                        outlook is rosy.” Decrypt Article at 2. The article attributed
            likely occupy the Company's current                    several statements to Mr. Zhang. 2 Mr. Zhang was quoted
            manufacturing capacity entirely for the                as saying that “Canaan has secured a large number of pre-
            full year of 2021 and beyond.                          sale orders for its mining machines,” and that “as institutional
                                                                   interest in Bitcoin continues to strengthen, so will the entry
                                                                   of more actors into Bitcoin mining.” Id. The article described
2/10/21 Press Release at 1. It further stated that “[w]ith         Canaan as “one of the world's largest manufacturers of mining
those fully committed purchase orders, the Company now             hardware,” and observed that “[a]ll [presumably referring to
enjoys a much higher degree of revenue visibility and more         manufacturers of mining hardware] have seen demand for
precise forecast. As such the Company is able to leverage          their products soar in recent months.” Id. The article reported
such information and additional liquidity to conduct its           that “Canaan anticipates it will have no problem fulfilling its
component purchases, production scheduling, warehousing            bulging order book,” but did not attribute that anticipation to
and logistics.” Id. The press release quoted Mr. Zhang as          Mr. Zhang. Id. at 4. The article proceeded to paraphrase Mr.
saying:                                                            Zhang as saying “that the company had secured chips from
                                                                   a number of fabrication plants in advance of the worldwide
                                                                   shortage of processors—which has impacted the gaming,
            In late 2020, we shifted our client base               computing, and automotive industry, as well as Bitcoin
            to mostly publicly traded companies                    mining.” Id. Mr. Zhang then was quoted: “Our approach is one
            and bitcoin-focused investment funds                   of a multi-fab strategy, where we collaborate and work with
            which tend to place sizable orders with                a number of leading chip manufacturers to reduce supply-
            longer-term commitment. As a result,                   chain risks.” Id. He further was quoted: “We have been able to
            we can now forecast our revenue                        successfully secure an entire year's worth of orders for 2021,
            much more precisely. Our increased                     with orders for our Avalon A1246 miners scheduled till March
            revenue visibility is not only enabling                2022.” Id. Mr. Zhang also was quoted to say that Canaan's
            us to plan our production and logistics                operation of its own mining business “will significantly
            well in advance, but also helping us                   strengthen our inventory management capabilities, stabilize
            to optimize our cost structure and                     our supply chain networks, and diversify our revenue stream,
            improve our customer satisfaction rate.                allowing us to better optimize our mining hardware during the




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lull seasons (where demand for mining machines tends to be         chips from our foundry partners.” Id. He also stated that
weaker).” Id.                                                      “since the second half of last year and the first half of this year,
                                                                   most of the mining machines we sold were actually sold as
 *3 Then, on the morning of April 12, 2021, Canaan issued          futures contracts, which had a fixed price. And the prices were
a press release regarding its fourth quarter and year end          actually lower than our existing machines.” Id. at 13; accord
2020 financial results attached as Exhibit 99.1 to a Form          Am. Compl. ¶ 40. While Canaan ADSs closed on Friday,
6-K filed with the SEC and titled “Canaan Inc. Reports             April 9, 2021, at $18.67 per share, they closed on Monday,
Unaudited Fourth Quarter and Full Year 2020 Financial              April 12, 2021, following the press release and earnings call,
Results.” Am. Compl. ¶ 39; see Dkt. 71-3 at 141-53 (“4/12/21       at $13.14 per share, with trading volume “more than three
Press Release”). That press release revealed a total computing     times the average daily volume over the preceding ten trading
power sales decrease of 93.1% both year-over-year and              days.” Am. Compl. ¶ 41.
quarter-over-quarter, as well as a 91.75% decrease in revenue
year-over-year and a 76.56% decrease in revenue quarter-
over-quarter. 4/12/21 Press Release at 1. Other financial          B. Procedural History
results for the quarter and year were similarly poor. Id. The      Plaintiff Jason Denny filed the original Complaint in this
release quoted Mr. Zhang as saying, among other things:            action on April 15, 2021. Dkt. 1. On December 9, 2021, the
                                                                   Court granted Lu and Huang's motion for appointment as
                                                                   Lead Plaintiffs, and approved their selection of lead counsel.
                                                                   Dkt. 62. Lead Plaintiffs filed their Amended Complaint
            Although the outbreak of COVID-19
                                                                   on February 7, 2022. Dkt. 65. Lead Plaintiffs allege that
            caused supply chain disruptions and
                                                                   Defendants committed violations of Section 10(b) of the
            thus negatively impacted our revenues
                                                                   Exchange Act and SEC Rule 10b-5 promulgated thereunder
            in the fourth quarter of 2020,
                                                                   (Count I), Am. Compl. ¶¶ 70-81, and that Mr. He and Mr.
            our market leadership has enabled
                                                                   Zhang violated Section 20(a) of the Exchange Act (Count II),
            us to attain US$174 million of
                                                                   id. ¶¶ 82-87.
            contracted orders, with US$66 million
            of cash advance from customers as of
                                                                   Defendants filed a motion to dismiss on April 8, 2022, Dkts.
            December 31, 2020, thus laying a solid
                                                                   69, 70 (“Motion”), accompanied by a motion requesting that
            foundation for solid revenue growth in
                                                                   the Court take judicial notice of certain materials, Dkt. 71.
            2021.
                                                                   Defendants argue that the Amended Complaint should be
                                                                   dismissed because Lead Plaintiffs fail to plead falsity or
                                                                   scienter with respect to alleged violations of Section 10(b)
Id. at 2. Additionally, Mr. He was quoted as saying, among
                                                                   and Rule 10b-5. 3 See Motion at 8-20. Lead Plaintiffs filed
other things: “Due to supply chain disruptions, as the price
                                                                   their response to both motions on June 7, 2022. Dkts. 72
of Bitcoin rallied in late 2020, we experienced a surge of
                                                                   (“Opposition”), 73. Defendants filed their reply in further
demand for high-quality mining machines both in and outside
                                                                   support of their motion to dismiss on July 7, 2022. Dkt. 74
of China.” Id.
                                                                   (“Reply”).
That same morning, Canaan discussed its fourth quarter and
2020 year end financial results on an earnings conference
call. Am. Compl. ¶ 40; see Dkt. 71-3 at 166-82 (“4/12/21                               II. Standard of Review
Call Tr.”). On that call Mr. Zhang stated through a translator
that Canaan “saw a severe supply shortage in the industry”          *4 To survive a motion to dismiss for failure to state a
related to “chip supply” during the fourth quarter of 2020 and     claim, “a complaint must contain sufficient factual matter,
into 2021. 4/12/21 Call Tr. at 10. He added that he “[could        accepted as true, to ‘state a claim to relief that is plausible
not] really disclose the exact number of chips that [Canaan        on its face.’ ”    Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)
had] under production right now” but that the “strategies
                                                                   (quoting     Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570
[Canaan had] adopted to address this problem” had “helped
                                                                   (2007)). A claim is plausible “when the plaintiff pleads factual
[Canaan] achieve outstanding results in terms of keeping up”
                                                                   content that allows the court to draw the reasonable inference
and that Canaan “can effectively secure the delivery of our


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that the defendant is liable for the misconduct alleged.” Id.         inference of scienter to be strong, “a reasonable person must
A complaint's “[f]actual allegations must be enough to raise          deem it cogent and at least as compelling as any opposing
a right to relief above the speculative level.”      Twombly,         inference one could draw from the facts alleged.”  ATSI
550 U.S. at 555. Although the Court must “accept[ ] as                Commc'ns, 493 F.3d at 99 (brackets and emphasis omitted)
true the factual allegations in the complaint and draw[ ] all
                                                                      (quoting     Tellabs, 551 U.S. at 324).
inferences in the plaintiff's favor,” Biro v. Condé Nast, 807
F.3d 541, 544 (2d Cir. 2015), it need not “accept as true legal
                                                                      Although pleading standards are heightened for securities
conclusions couched as factual allegations,” LaFaro v. N.Y.
                                                                      fraud claims, the Second Circuit has cautioned that courts
Cardiothoracic Grp., PLLC, 570 F.3d 471, 475-76 (2d Cir.
                                                                      “must be careful not to mistake heightened pleading standards
2009).
                                                                      for impossible ones.’ ”      Altimeo Asset Mgmt. v. Qihoo
Plaintiffs bringing securities fraud claims must satisfy              360 Tech. Co., 19 F.4th 145, 150 (2d Cir. 2021) (quoting
                                                                      In re Synchrony Fin. Sec. Litig., 988 F.3d 157, 161 (2d
heightened pleading standards under Federal Rule of Civil
                                                                      Cir. 2021)). The PSLRA does not demand “that plaintiffs
Procedure 9(b) in order to survive a motion to dismiss.
                                                                      plead with particularity every single fact upon which their
    ATSI Commc'ns, Inc. v. Shaar Fund, Ltd., 493 F.3d 87,             beliefs concerning false or misleading statements are based.”
99 (2d Cir. 2007). A complaint making fraud allegations
                                                                         Novak v. Kasaks, 216 F.3d 300, 313 (2d Cir. 2000).
under Section 10(b) and Rule 10b-5 “must ‘(1) specify the
statements that the plaintiff contends were fraudulent, (2)           Nor does       Rule 9(b) “require the pleading of detailed
identify the speaker, (3) state where and when the statements         evidentiary matter in securities litigation.” In re Scholastic
were made, and (4) explain why the statements were                    Corp. Sec. Litig., 252 F.3d 63, 72 (2d Cir. 2001).
fraudulent.’ ” Diesenhouse v. Social Learning & Payments,
Inc., No. 20 Civ. 7436 (LJL), 2022 WL 3100562, at *4
(S.D.N.Y. Aug. 3, 2022) (quoting      Rombach v. Chang, 355                                   III. Discussion
F.3d 164, 170 (2d Cir. 2004)). Allegations that are conclusory
or unsupported by factual assertions are insufficient. See            A. Judicial Notice
                                                                       *5 As part of their motion to dismiss, Defendants have
  ATSI Commc'ns, 493 F.3d at 99; see also               Luce v.
                                                                      filed a motion requesting that the Court take judicial notice
Edelstein, 802 F.2d 49, 54 (2d Cir. 1986).
                                                                      of certain materials, which are identified in the motion as
                                                                      Exhibits 1 through 9. Dkt. 71. Lead Plaintiffs have opposed
Securities fraud claims must also satisfy the Private Securities
                                                                      this motion in part. Dkt. 73. Lead Plaintiffs do not oppose the
Litigation Reform Act (“PSLRA”)’s heightened pleading
                                                                      Court taking judicial notice of Exhibits 1, 4, 6, 7, and 9, id. at
requirements. Diesenhouse, 2022 WL 3100562, at *5. The
                                                                      2, each of which is a document incorporated into the Amended
PSLRA requires that “the complaint shall specify each
statement alleged to have been misleading, the reason or              Complaint by reference. 4 The Court therefore grants the
reasons why the statement is misleading, and, if an allegation        motion with respect to those materials. With respect to the
regarding the statement or omission is made on information            remaining materials, the Court need not determine whether to
and belief, the complaint shall state with particularity all          take judicial notice of them in resolving Defendants’ motion
facts on which that belief is formed.” 15 U.S.C. § 78u-4(b)           to dismiss. The Court therefore declines to take judicial notice

(1); see    Gamm v. Sanderson Farms, Inc., 944 F.3d 455,              of Exhibits 2, 3, 5, and 8. 5
462 (2d Cir. 2019). In pleading scienter, a complaint must
“state with particularity facts giving rise to a strong inference
                                                                      B. Section 10(b) and Rule 10b-5 Claims
that the defendant acted with the required state of mind.” 15
                                                                      Count I alleges that Defendants “carried out a plan, scheme,
U.S.C. § 78u-4(b)(2); see Diesenhouse, 2022 WL 3100562,
                                                                      and course of conduct” that violated Section 10(b) and
at *5. “[I]n determining whether the pleaded facts give rise
                                                                      Rule 10b-5 by deceiving investors, inflating and maintaining
to a ‘strong’ inference of scienter, the court must take into
                                                                      prices of the Canaan ADSs, and causing proposed class
account plausible opposing inferences.”     Tellabs, Inc. v.          members to purchase ADSs at inflated prices. Am. Compl.
Makor Issues Rights, Ltd., 551 U.S. 308, 323 (2007). For an           ¶¶ 71-72. To state a claim under Section 10(b), “a complaint



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must adequately plead ‘(1) a material misrepresentation or            Lead Plaintiffs respond that these statements “misled the
omission by the defendant; (2) scienter; (3) a connection             market” and Defendants had a “duty to correct and a duty
between the misrepresentation or omission and the purchase            to update” the statements, thus rendering the November 30,
or sale of a security; (4) reliance upon the misrepresentation        2020 statements actionable. Opposition at 14 & n.7.
or omission; (5) economic loss; and (6) loss causation.’ ”
                                                                       *6 In the Second Circuit, a duty to update a past statement
   In re DraftKings Inc. Sec. Litig., No. 21 Civ. 5739 (PAE),
                                                                      “may exist when a statement, reasonable at the time it is
2023 WL 145591, at *15 (S.D.N.Y. Jan. 10, 2023) (quoting
                                                                      made, becomes misleading because of a subsequent event.”
    Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27, 37-38       Pipefitters Union Local 537 Pension Fund v. Am. Express
(2011)). Defendants contend that Plaintiffs fail to allege a
                                                                      Co., 773 F. App'x 630, 632 (2d Cir. 2019) (quoting      In re
materially false or misleading statement, Motion at 8-17, and
                                                                      Int'l Bus. Machs. Corp. Sec. Litig., 163 F.3d 102, 110 (2d
fail to plead any facts permitting an inference of scienter, id.
                                                                      Cir. 1998)). “There is, however, no duty to update vague
at 17-20.
                                                                      statements of optimism or expressions of opinion, statements
                                                                      that are not material, or statements that are not forward
   1. Misstatements or Omissions of Material Fact                     looking and do not contain some factual representation that
Lead Plaintiffs allege three occasions when Defendants made           remains alive in the minds of investors as a continuing
“made untrue statements of material facts or omitted to state         representation.” Id. (internal quotation marks and brackets
material facts necessary to make the statements made, in              omitted). On the other hand, a duty to correct “applies when
light of the circumstances under which they were made, not            a company makes a historical statement that at the time
misleading,” Am. Compl. ¶ 73: (1) the November 30, 2020               made, the company believed to be true, but as revealed by
press release, id. ¶ 28, (2) the February 10, 2021 press release,     subsequently discovered information actually was not.” In
id. ¶ 32, and (3) the April 9, 2021 Decrypt article reporting         re Int'l Bus. Machs. Corp. Sec. Litig., 163 F.3d at 109 (internal
an interview with Mr. Zhang, id. ¶ 36. Defendants argue that          quotation marks omitted).
the Amended Complaint fails to adequately plead for any of
those occasions a material representation that was false when         While generally a defendant is liable “only for those
made or the omission of material information that Defendants
had a duty to disclose. Motion at 8. The Court will analyze           statements made during the class period,”           id. at 107,
the challenged statements chronologically.                            courts have suggested that liability may arise for earlier made
                                                                      statements if the duty to update or correct them subsequently
                                                                      arose during the class period, see        IBEW Local Union
         i. The November 30, 2020 Press Release                       No. 58 Pension Tr. Fund & Annuity Fund v. Royal Bank of
                                                                      Scotland Grp., PLC, 783 F.3d 383, 390 (2d Cir. 2015) (“The
The first challenged statements come from Mr. Zhang's and             August 3, 2007 statements regarding RBS's exposure were
Mr. Hong's quotes in the November 30, 2020 press release.             made prior to the start of the Class Period and cannot be the
Mr. Zhang stated, among other things: “With new generations           basis of liability unless there was a duty to update or correct
of mining machines and AI chips in the pipeline, we are               them.”); see also   Lattanzio v. Deloitte & Touche LLP, 476
confident that the enhanced performance of our new products           F.3d 147, 154 (2d Cir. 2007) (holding that a misstatement
will continue to bolster our competitive advantages and               created by the duty to correct a statement made outside the
solidify our market leadership going forward.” 11/30/20 Press         class period “was made (if at all) when a duty to correct
Release at 2; see Am. Compl. ¶ 28. Mr. Hong, in turn,
stated that “the demand for mining machines in the market             arose”);     In re Inv. Tech. Grp., Inc. Sec. Litig., 251 F.
continued to rebound during the third quarter [of 2020], and          Supp. 3d 596, 610 (S.D.N.Y. 2017) (“The Second Circuit has
we have received a large number of pre-sale orders which              held that ‘the duty to correct previous misstatements does
are scheduled for delivery starting in the fourth quarter of          not apply where the defendants made the original statements
2020.” 11/30/20 Press Release at 2; see Am. Compl. ¶ 28.              before the Class Period and became aware of the errors in
Defendants argue that, as a threshold matter, these statements        those statements before the Class Period.’ ” (quoting    In
are not actionable because they occurred prior to the Class           re Lions Gate Ent. Corp. Sec. Litig., 165 F. Supp. 3d 1, 17
Period, which began on February 10, 2021. Motion at 9.                (S.D.N.Y. 2016))).



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                                                                      Defendants argue first that no statement in the February 10,
Lead Plaintiffs argue that Mr. Hong's statement in the                2021 press release was untrue, Motion at 11, and second
November 30, 2020 release that “demand for mining                     that the Amended Complaint fails to plead a valid omissions
machines in the market continued to rebound during the third          theory because there is not a sufficiently close nexus between
quarter, and we have received a large number of pre-sale              the statements that were made and the additional statements
orders which are scheduled for delivery starting in the fourth        that Lead Plaintiffs claim had to be made to render the
quarter of 2020,” 11/30/20 Press Release at 2, “later bec[a]me        press release not misleading, id. at 11-14. Lead Plaintiffs
misleading during the Class Period when Defendants learned            appear to cede that they are proceeding only on an omissions
that the increasing bitcoin market made those pre-sale orders         theory: they respond that “each of the above statements was
a detriment rather than something positive.” Opposition at 14         materially false and misleading, omitting ... that the pre-
n.7. They further argue that Mr. Zhang's statement that a new         sale prepayment orders actually harmed Canaan's financial
generation of mining machines would bolster the company's             outcome for the fourth quarter of 2020,” and they point
competitive advantage, 11/30/20 Press Release at 2, was               to Canaan's April 12, 2021 statement that “most of the
“subject to a duty to update because although reasonable to           mining machines were sold as future contracts, which had
believe at the time ..., once the bitcoin market price rose,          a fixed price ... actually lower than our existing machines.”
due to the fact that [the] Company's mining machines were             Opposition at 15 (quoting Am. Compl. ¶¶ 38-40). Further,
sold on prepayment, the Company was not at a competitive              Lead Plaintiffs claim that Defendants’ omission of the true
advantage, but a disadvantage.” Opposition at 14 n.7.                 effect of the pre-payment orders “affirmatively created an
                                                                      impression of a state of affairs that differed in a material
As alleged, these statements were made prior to the Class
                                                                      way from the one that actually existed,” id. (quoting     In re
Period. Yet the Amended Complaint fails to plead facts to
                                                                      Alstom SA Sec. Litig., 406 F. Supp. 2d 433, 453 (S.D.N.Y.
establish that any duty to update or correct them subsequently
                                                                      2005)), particularly when it came to how the company had
arose within the Class Period. The Amended Complaint
                                                                      performed in the fourth quarter of 2020. That matters, Lead
contains no allegation of knowledge giving rise to such
                                                                      Plaintiffs reason, because Canaan's performance in the fourth
a duty that was gained by Defendants during the Class
                                                                      quarter of 2020 was in fact harmed by the pre-sales of mining
Period. 6 Rather, the Amended Complaint is vague as to                machines, yet the release trumpeted those pre-sales only as
when exactly Defendants supposedly understood that rising             something positive for the company. Id.; see Am. Compl.
Bitcoin prices would reduce the benefits of pre-selling mining        ¶ 38(b), (c) (alleging that Defendants concealed from the
machines in late 2020. Without any allegations stating that,          investing public that “the Company's touted pre-sale orders
or how, Defendants reached such an understanding during the           were locked in at lower prices than the re-bounding bitcoin
Class Period, these November 30, 2020 statements are not              market prices during the third and fourth quarters of 2020,
actionable. 7                                                         reducing the Company's ability to earn revenue from the
                                                                      increasing market prices during the fourth quarter 2020” and
                                                                      that as a result, “Canaan's fourth quarter 2020 sales and sales
                                                                      revenue had declined dramatically”).
          ii. The February 10, 2021 Press Release

 *7 Canaan issued a press release on February 10, 2021                Section 10(b) and Rule 10b-5 “do not create an affirmative
titled “Canaan Announces Improved Revenue Visibility in               duty to disclose any and all material information.” Matrixx
2021.” 2/10/21 Press Release. The challenged statements in            Initiatives, 563 U.S. at 44. “Disclosure of an item of
this release include Canaan's assertion that revenue visibility       information is not required simply because it may be relevant
had improved due to prepaid purchase orders that “will
                                                                      or of interest to a reasonable investor.”  Kleinman v. Elan
likely occupy the Company's current manufacturing capacity
                                                                      Corp., 706 F.3d 145, 152-53 (2d Cir. 2013) (ellipsis omitted)
entirely for the full year of 2021 and beyond.” Id. at 1; see Am.
                                                                      (quoting Resnik v. Swartz, 303 F.3d 147, 154 (2d Cir. 2002)).
Compl. ¶ 32. The press release added a quote from Mr. Zhang,
                                                                      Instead, absent an independent duty to speak, disclosure is
saying that the increased revenue visibility was attributable to
                                                                      required “only when necessary ‘to make statements made, in
a late 2020 shift in Canaan's “client base to mostly publicly
                                                                      the light of the circumstances under which they were made,
traded companies and bitcoin-focused investment funds.”
2/10/21 Press Release at 1.                                           not misleading.’ ” Id. (quoting      Matrixx Initiatives, 563
                                                                      U.S. at 44). “[W]hether a statement is misleading depends on


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                                                                     in the fourth quarter of 2020—render the statements in that
the perspective of a reasonable investor.”     Omnicare, Inc.
                                                                     release misleading to a reasonable investor. Am. Compl. ¶¶
v. Laborers Dist. Council Const. Indus. Pension Fund, 575
                                                                     31-35, 38; see id. ¶ 33 (“The press release concealed the
U.S. 175, 187 (2015) (internal quotation marks omitted). So,
                                                                     fourth quarter's known dismal financial performance, while
with respect to omissions “the court must determine whether
                                                                     promoting Canaan's expected future success.”). The press
the omitted fact would have been material to a reasonable
                                                                     release quoted Mr. Zhang as explaining that the prepaid
investor – i.e. whether ‘there is a substantial likelihood that
                                                                     purchase orders resulted from a “late 2020” shift 8 in Canaan's
a reasonable investor would consider it important.’ ”        Id.
                                                                     “client base to mostly publicly traded companies and bitcoin
at 196 (brackets omitted) (quoting        TSC Indus. Inc. v.         investment funds which tend to place sizable orders with
Northway, Inc., 426 U.S. 438, 445 (1976)). And in particular         longer-term commitment.” 2/10/21 Press Release at 1; see
“a duty [to disclose omitted facts] may arise when there is ...      Am. Compl. ¶ 32. Mr. Zhang continued that “as a result
a corporate statement that would otherwise be inaccurate,            [of that shift] we can now forecast our revenue much more
                                                                     precisely” which increased revenue visibility “should help us
incomplete, or misleading.”        Stratte-McClure v. Morgan
                                                                     achieve profitable growth for the long run.” 2/10/21 Press
Stanley, 776 F.3d 94, 101 (2d Cir. 2015) (internal quotation
                                                                     Release at 1; see Am. Compl. ¶ 32.
marks omitted). Part of that analysis requires a court to
examine the relatedness of the statement actually made and
                                                                     In other words, as alleged, Mr. Zhang explained that it was
the facts which were omitted. See In re Omega Healthcare
                                                                     the shift in client base in “late 2020,” so presumably in the
Invs., Inc. Sec. Litig., 563 F. Supp. 3d 259, 272-73 (S.D.N.Y.
2021) (“[T]o prevail on [an omission theory], plaintiffs must        fourth and perhaps third quarters of 2020, 9 which created the
establish a sufficiently close nexus between the affirmative         prepaid purchase orders that Defendants touted for increasing
statement and the alleged omission to demonstrate that” there        revenue visibility, yet the release omitted that the same late
is a “a duty to disclose the omitted information ... in order to     2020 shift in the client base—and its associated increase
prevent the statement from being materially misleading.”).           in locked-in prepaid orders—led to significantly reduced
                                                                     revenue in the previous quarter. Id. ¶ 38. This decrease in
 *8 Here, Defendants argue that, because the press release           revenue occurred, Lead Plaintiffs allege, because the “pre-
concerned “only ... then-existing facts and projections              sale orders were locked in at lower prices than the re-
about how those facts would affect Canaan's future                   bounding bitcoin market prices during the third and fourth
performance,” no reasonable investor would conclude that             quarters of 2020, reducing the Company's ability to earn
those statements had anything to do with performance in              revenue from the increasing market prices during the fourth
the fourth quarter, which had recently passed. Motion at             quarter 2020.” Id. ¶ 38(b). The fact that the same business
12-13 (emphasis omitted). Moreover, Defendants argue that            practice that was lauded in the release caused both the
Canaan's “statements about prepaid purchase orders were              forward-looking revenue visibility optimism and allegedly
made in the context of how they would provide enhanced               contributed significantly to the past revenue performance
‘revenue visibility’ in 2021; they were not about how pre-           gloom is what creates a sufficiently close relationship
sales would impact fourth-quarter 2020 results.” Id. at 13-14.       between the two to require disclosure of the latter in order to
And Defendants rely heavily on In re Ferroglobe PLC                  render the former not misleading to a reasonable investor. Or
Securities Litigation, where the court held that statements          put differently, both the future revenue visibility and the past
which were “expressly directed to the future” could not              lost revenue opportunities were significant effects of the same
be viewed by a reasonable investor as related to negative            cause, just felt in different quarters. A reasonable investor
performance in the past quarter. No. 19 Civ. 2368 (RA), 2020         learning of the touted positive effect on the future would find
WL 6585715, at *8 (S.D.N.Y. Nov. 10, 2020).                          material the negative effect on the present.


Lead Plaintiffs argue that, unlike the statements in                  *9 Nor does this determination require the Court to adopt
Ferroglobe, the statements in the February 10, 2021 press            some legally novel “freestanding completeness requirement”
release were not solely forward-looking. The Court agrees.           as Defendants argue. Motion at 13. Indeed, the fact
The Amended Complaint alleges that the omission of                   allegedly omitted by Defendants was later acknowledged by
information in the February 10, 2021 press release—the               Defendants themselves during the April 12, 2021 earnings
below market prepaid prices of the mining machines sold,             call as contributing to the fourth quarter of 2020 financial
and the negative effect those pre-sales would have on revenue        results. Am. Compl. ¶ 40; see Dkt. 4/12/21 Call Tr. at 13


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(Mr. Zhang: “[T]he price of mining machines actually moves           of the worldwide shortage of processors” and directly quoted
with the Bitcoin prices only for the mining machines that are        Mr. Zhang as saying that the company's approach is “one
ready for delivery. So, since the second half of last year and       of a multi-fab strategy, where we collaborate and work with
the first half of this year, most of the mining machines we          a number of leading chip manufacturers to reduce supply-
sold were actually sold as futures contracts, which had a fixed      chain risks.” Decrypt Article at 4. Lead Plaintiffs allege that
price. And the prices were actually lower than our existing          these statements “concealed from the investing public” that
machines.”). In other words, as alleged, in the February 10,         “Canaan had experienced significant ongoing supply chain
2021 press release, Defendants voluntarily touted the positive       disruptions during the fourth quarter 2020.” Am. Compl. ¶
future effects of a business decision, yet hid the significant       38(a). Lead Plaintiffs further contend that during the April 12,
negative effects of that very same decision. “Even when there        2021 earnings call, “Defendants reported the exact opposite
is no existing independent duty to disclose information, once        [of what Mr. Zhang said during the Decrypt interview],
a company speaks on an issue or topic, there is a duty to            that Cannon had experienced a ‘severe supply shortage’ of
                                                                     ‘mining machine’ chips during the fourth quarter of 2020.”
tell the whole truth.”    Meyer v. Jinkosolar Holdings Co.,
                                                                     Opposition at 9 (quoting Am. Compl. ¶ 40). Defendants argue
Ltd., 761 F.3d 245, 250 (2d Cir. 2014); see also       Setzer v.     that Lead Plaintiffs’ claim based on the Decrypt article fails
Omega Healthcare Invs., Inc., 968 F.3d 204, 214 n.15 (2d             first because many statements within the article were not
Cir. 2020) (holding that when the defendant spoke regarding          made by Canaan, but by an independent reporter, Motion at
rental payments made by a large lessee, it put those payments        14-16, and second because Mr. Zhang's statement that the
“in play” and therefore had a duty to disclose that the lessee       company was working with leading chip manufacturers to
was only able to make rental payments because of a loan              reduce supply chain risks was not false or misleading, id. at
provided by the defendant). While it is certainly conceivable        16-17.
that the negative effect on past revenue created by a shift to
pre-orders could be small enough that a reasonable investor          First, there is of course no general rule that statements
would not find it important, that is not what is alleged here.       made to the media cannot form the basis for securities
                                                                     fraud claims. See e.g.,     In re Banco Bradesco S.A. Sec.
Of course, corporate officials are only responsible for
                                                                     Litig., 277 F. Supp. 3d 600, 662-64 (S.D.N.Y. 2017). But
“revealing those material facts reasonably available to them....
                                                                     courts in this District have dismissed claims arising from
Thus, allegations that defendants should have anticipated
                                                                     statements in the press that “are not reasonably attributable
future events and made certain disclosures earlier than they
                                                                     to defendants and accordingly do not give rise to liability
actually did do not suffice to make out a claim of securities
                                                                     under the federal securities laws.”   Hershfang v. Citicorp.,
fraud.”     Novak, 216 F.3d at 309 (citations omitted). But
                                                                     767 F. Supp. 1251, 1255 (S.D.N.Y. 1991). In Hershfang,
Defendants do not argue that a lack of knowledge on their
                                                                     for instance, the court determined that statements attributed
part defeats the alleged duty to disclose an omitted fact here.
                                                                     to a defendant's “spokesman” in various news articles were
For that reason, the Court treats the question of whether
Defendants knew the impact that the mining machine pre-              insufficiently attributed to the defendant under       Rule 9(b)
sales would have on fourth quarter revenue at the time                                10
                                                                     to state a claim, and then turned to other portions of those
they issued the February 10, 2021 press release only when            articles which were “attributed to specific defendants” and
addressing scienter at infra III.C.                                  determined that they too were not actionable because they
                                                                     contained only statements of opinion.       Id. at 1256.

           iii. The April 9, 2021 Decrypt Article                     *10 On the other hand, when a pleading sufficiently alleges
                                                                     that a statement in an article is attributable to a defendant, the
The Court next turns to the April 9, 2021 Decrypt article,
                                                                     statement may be treated as being made by that defendant. In
which was titled “Canaan CEO is Bullish on Bitcoin Mining
                                                                     In re Columbia Securities Litigation, the court determined that
Ahead of Earnings – The Nasdaq-listed manufacturer of
                                                                     at the motion to dismiss stage, a statement in a Forbes article
crypto mining hardware has seen its stock jump almost
                                                                     could serve as the basis for a fraud claims “[i]f, as plaintiffs
1000% in six months.” Decrypt Article; see Am. Compl. ¶ 36.
                                                                     allege, [one of the defendants] made a false statement to the
The article reported that “Zhang said that the company had
                                                                     Forbes reporter,” because “[w]hile defendants certainly had
secured chips from a number of fabrication plants in advance


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less than complete control over what the reporter wrote, they        *11 To support this claim, Lead Plaintiffs point to statements
                                                                    made in Canaan's fourth quarter and year end 2020 financial
did have control over what [that defendant] said.”      747 F.
                                                                    results released on April 12, 2021, id. ¶ 39, as well as
Supp. 237, 245 (S.D.N.Y. 1990); see also Banco Bradesco,            statements made by Mr. Zhang during the earnings call that
277 F. Supp. 3d at 663 (determining that a corporate defendant      day discussing those results, id. In particular, the press release
could be liable for statement made to the press by an               announcing the financial results contained a statement by Mr.
unidentified spokesperson).                                         Zhang that “[a]lthough the outbreak of COVID-19 caused
                                                                    supply chain disruptions and thus negatively impacted our
Thus, the quote from Mr. Zhang in the Decrypt article that          revenues in the fourth quarter of 2020, our market leadership
the company's approach “is one of a multi-fab strategy,             has enabled us to attain US$174 million of contracted orders,”
where we collaborate and work with a number of leading              and a statement by Mr. He that “[d]ue to supply chain
chip manufacturers to reduce supply-chain risks,” Decrypt           disruptions, as the price of Bitcoin rallied in late 2020,
Article at 4, clearly may be attributed to him. Further, at         we experienced a surge of demand for high quality mining
this stage, where all reasonable inferences must be drawn           machines both in and outside of China.” 4/12/21 Press
in favor of Lead Plaintiffs, the Court determines that the          Release at 2; see Am. Compl. ¶ 39. And on the earnings
content of Zhang's statement, as reported in the article, “that     call, Lead Plaintiffs allege that “Zhang stated that Canaan
the company had secured chips from a number of fabrication          experienced ‘a severe supply shortage’ of ‘mining machine’
plants in advance of the worldwide shortage of processors—          chips during the fourth quarter of 2020.” Am. Compl. ¶ 40.
which has impacted the gaming, computing, and automotive            A review of the full transcript of that call, however, shows
industry, as well as Bitcoin mining,” id., may be attributed        that he made a different statement. Mr. Zhang said, through
to him as well, even though it was not a direct quote. The          a translator:
Decrypt article consists substantially of an interview with
Mr. Zhang, and contains multiple direct quotes and multiple           Due to the low Bitcoin prices in the second half of
paraphrases of statements made by Mr. Zhang. The statement            2020, most mining machine manufacturers reduced their
begins with “Zhang said,” id., and the Amended Complaint              investment in fabrication during the period. As a result,
alleges that Mr. Zhang made this statement, Am. Compl. ¶              when the Bitcoin price bounced back in the second half of
37. 11 To hold that this statement could not be attributed to         2020, we saw a severe supply shortage in the industry. In
Mr. Zhang in such conditions would be to determine that               addition [ ] the limited supplies across the semiconductor
only words within direct quotes in press articles could be            manufacturing sector recently also ha[ve] played a role in
attributed to securities fraud defendants, a proposition which        building the shortage of chips in 2021, further accelerating
is unsupported by any caselaw cited by Defendants and which           the problem of chip supply.

the Court declines to endorse. 12                                     We cannot really disclose the exact number of chips that we
                                                                      have under production right now. But one of the strategies
The Court therefore turns to Defendants’ argument that Mr.            we've adopted to address this problem is to maintain
Zhang's statements in the Decrypt article were not false              our partnerships with multiple foundry partners and keep
or misleading. Motion at 16; Reply at 5-6. As stated, the             expanding our collaborations, which has helped us achieve
Amended Complaint relies on two statements in the Decrypt             outstanding results in terms of keeping up.
article attributable to Mr. Zhang: (1) “Zhang said that the
company had secured chips from a number of fabrication              4/12/21 Call Tr. at 10 (emphasis added). 13
plants in advance of the worldwide shortage of processors,”
and (2) a quote from Mr. Zhang saying that “[o]ur approach          Lead Plaintiffs argue that Defendants’ statements “regarding
is one of a multi-fab strategy, where we collaborate and            securing chips [i]n advance of the worldwide shortage of
work with a number of leading chip manufacturers to reduce          processors’ was an outright falsehood as Defendants’ own
supply-chain risks.” Am. Compl. ¶ 37 (emphasis omitted);            admissions, just three days later, prove,” because “Defendants
see Decrypt Article at 4. Lead Plaintiffs allege that these         reported the exact opposite, that Canaan had experienced ‘a
statements were false because “Canaan had experienced               severe supply shortage’ of ‘mining machine’ chips during
significant ongoing supply chain disruptions during the fourth      the fourth quarter of 2020.” Opposition at 9. They argue
quarter 2020.” Am. Compl. ¶ 38.                                     further that “even if Canaan had secured chips prior to
                                                                    the shortage, the statement gives the false impression that


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the Company was not affected by the shortage,” effectively            meet the PSLRA's requirement of specifying “each statement
omitting material information. Id. at 9-10.                           alleged to have been misleading [and] the reason or reasons
                                                                      why the statement is misleading.” 15 U.S.C. § 78u-4(b)
The flaw in Lead Plaintiffs’ argument is that they have               (1). And while the PSLRA does not demand “that plaintiffs
failed to adequately allege the true state of the world which         plead with particularity every single fact upon which their
could make either a false statement false or an omission an           beliefs concerning false or misleading statements are based,”
omission. In order to establish an outright misrepresentation,
                                                                         Novak, 216 F.3d at 313, they are required to plead at least
Lead Plaintiffs would need to allege either that Canaan had
                                                                      some fact supporting their belief. Lead Plaintiffs have not
not “secured chips from a number of fabrication plants in
                                                                      done so.
advance of the worldwide shortage of chips” or that Canaan
had not “reduce[d] supply-chain risks.” But in support of
                                                                      Accordingly, the Court determines that Lead Plaintiffs have
those facts, Lead Plaintiffs point only to statements from
                                                                      failed to adequately allege a false or misleading statement
April 12, 2021 that refer either to general supply chain
                                                                      with respect to the April 9, 2021 Decrypt article.
disruptions without reference to chips, or to industry-wide
disruptions to chips without mention of whether or to what
extent those disruptions impacted Canaan in particular. To               2. Scienter
this end, it is significant to note Lead Plaintiffs’ misstatement     Because the Court concludes that Lead Plaintiffs have alleged
in the Amended Complaint of what Mr. Zhang said during                a false or misleading statement with respect only to the
the earnings call. They allege that “defendant Zhang stated           February 10, 2021 press release, the Court assesses whether
that Canaan experienced ‘a severe supply shortage,’ ” Am.             Lead Plaintiffs have adequately pleaded scienter with respect
Compl. ¶ 40 (emphasis added), whereas in fact Mr. Zhang               to the statements in that press release.
stated that “we saw a severe supply shortage in the industry,”
Dkt. 71-3 at 175 (emphasis added). Neither the severity, nor          To plead scienter, a complaint must allege facts showing
even the existence, of the shortage as applied to Canaan is           “either: 1) a ‘motive and opportunity to commit the fraud’; or
indicated by that statement. In short, Defendants’ subsequent         2) strong circumstantial evidence of conscious misbehavior
statements about supply chain issues or chip supply chain
                                                                      or recklessness.”    Emps.’ Ret. Sys. of Gov't of the V.I. v.
disruptions in the industry generally are insufficient to show
that Mr. Zhang's previous statements during the Decrypt               Blanford, 794 F.3d 297, 306 (2d Cir. 2015) (quoting ATSI
interview that “the company had secured chips” and had                Commc'ns, 493 F.3d at 99). As the Second Circuit has
“reduce[d] supply-chain risks” were false statements when             explained:
made.
                                                                        Circumstantial evidence can support an inference of
 *12 Lead Plaintiffs’ omissions theory as to Mr. Zhang's                scienter in a variety of ways, including where defendants
Decrypt interview statements fails for similar reasons. To              (1) benefitted in a concrete and personal way from
sufficiently plead that these statements were misleading                the purported fraud; (2) engaged in deliberately illegal
because they omitted material information, Lead Plaintiffs              behavior; (3) knew facts or had access to information
must identify the information that was omitted. But again,              suggesting that their public statements were not accurate;
Lead Plaintiffs contend that the omitted information was a              or (4) failed to check information they had a duty to
“severe supply shortage” of “mining machine” chips affecting            monitor.
Canaan, yet their allegations fail to establish that such a
                                                                        A complaint will survive if a reasonable person would
shortage occurred. In fact, Lead Plaintiffs’ omission theory
                                                                        deem the inference of scienter cogent and at least as
is weaker than their misrepresentation theory because even
                                                                        compelling as any opposing inference one could draw from
if the Defendants’ April 12, 2021 statements had revealed
                                                                        the facts alleged.
that Canaan experienced a shortage of chips, they say nothing
about the extent to which Canaan experienced that shortage.           Id. (quotations omitted).
For example, a minor shortage would be consistent with
the assertion that Canaan had previously “secured chips”              Lead Plaintiffs allege that “each of the Individual Defendants
and “reduce[d] supply chain risks.” Without any information           acted with scienter in that they knowingly or recklessly
regarding the extent of any shortage, Lead Plaintiffs cannot          disregarded that the information disseminated to the public



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contained materially false and/or misleading information             Lead Plaintiffs say that Defendants must have known this
and omitted material information.” Am. Compl. ¶ 42. In               information because of, for example, the timing of the
particular, Lead Plaintiffs allege that “[i]n their respective       statements, the positions of Mr. Zhang and Mr. He in
roles as senior officers of Canaan, the Individual Defendants        Canaan, and the magnitude of the impact on revenue. But
were able to, and did, control the information disseminated          Lead Plaintiffs never allege how Defendants would have
to the investing public in the Company's various SEC filings,        this information, regardless of how important it may have
press releases, and other public statements during the Class         been, and “[w]here plaintiffs contend defendants had access
Period,” and that “[n]umerous facts ... considered collectively,     to contrary facts, they must specifically identify the reports
support a strong inference that Defendants knew or, at a
                                                                     or statements containing this information.”        Novak, 216
minimum, were severely reckless in not knowing, the true
undisclosed facts when they made their false and misleading          F.3d at 309; accord        Landesbank Baden-Wurttemberg v.
                                                                     Goldman Sachs & Co., 478 F. App'x 679, 682 (2d Cir. 2012)
representations to investors.” Id. ¶¶ 43-44. 14
                                                                     (“[A]n allegation that defendants had access to information
                                                                     that was inconsistent with their alleged misstatements ‘must
Those “[n]umerous facts” include, first, that Defendants
                                                                     specifically identify the reports or statements containing this
“made detailed statements based on purportedly personal
knowledge regarding ... the Company's sales of bitcoin               information.’ ” (quoting     Novak, 216 F.3d at 309)).
mining machines,” showing that “the Individual Defendants
were intently focused on Canaan's bitcoin mining machines ...        The Amended Complaint contains no allegation of such a
and were intimately familiar with the Company's actual               report or statement accessible to Defendants at the time
performance and sales ... at the time they made their                of the February 10, 2021 statement, and instead argues
statements”; second, that the statements “were relayed after         in conclusory fashion that “Canaan's dismal results [were]
quarter end in February ... 2021” such that “the Individual          known to Defendants” because “the fourth quarter and year”
Defendants knew, or were reckless in not knowing, the                were already completed and because the February 10, 2021
previous quarter's financial results and reasons for the results     statement was made “six weeks after the fourth quarter and
months later”; third, “the magnitude of Canaan's revenue             full year 2020 ended.” Am. Compl. ¶¶ 31-32. While there
decline in the fourth quarter 2020 makes it simply implausible       may be an intuitive appeal to the idea that Defendants must
that the Individual Defendants did not know of the negative          have known about fourth quarter of 2020 revenue because
financial results and causes of those results during the             they were touting increased revenue visibility, that revenue
Class Period”; fourth, “the timing and circumstances of the          visibility was explicitly tied to 2021. Id. ¶ 32. The February
departure of Canaan's former CFO,” Mr. Hong; fifth, that             10, 2021 statement did not say that Defendants had increased
“bitcoin mining machines were the single largest income              revenue visibility as to the not-yet-reported financial results
producing segment for the Company”; and sixth, that Mr.              of 2020, or that they already had generated revenue figures for
Zhang “founded the Company and not only served as its                2020. And while at least some revenue information was likely
highest-ranking officer and Chairman of the Board, but he            obtainable within the company related to pre-sale orders,
also controlled 69.4% of the voting power as of December             due to the fact that these orders were locked in during late
31, 2020.” Am. Compl. ¶¶ 45-50. Lead Plaintiffs further              2020, the Amended Complaint contains no allegations related
argue that the core operations doctrine provides supplemental        to how such information for each sale might have been
support for allegations of scienter in this instance. See            compiled into some sort of report accessible to Defendants,
Opposition at 22.                                                    or even that Mr. He or Mr. Zhang would have been privy
                                                                     to individual sale prices for each of the pre-sales at the time
 *13 The flaw in each of these theories is that they                 they were made or otherwise before the February 10, 2021
amount to various ways that Defendants must have known               statement, let alone the effects of those sale prices on the
specific information at the time of the February 10, 2021            company's revenue. In short, the Amended Complaint does
statement. That specific information consists of Canaan's            not “specifically identify the reports or statements containing”
revenue figures associated with the pre-sales and that               the revenue information; in essence they allege only that such
those figures were lower than otherwise achievable because           reports must have existed. 15 Such allegations are insufficient
of rising Bitcoin prices during the fourth quarter which             to plead scienter. See In re Renewable Energy Grp. Sec.
Defendants could have taken advantage of had the sale price          Litig., No. 22-335, 2022 WL 14206678, at *3 (2d Cir. Oct.
of the mining machines not been locked in. Essentially,              25, 2022) (“These allegations amount to little more than


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speculation that documentation or evidence of internal control       leaving money on the table either while they were doing it
deficiencies must have existed and do not specifically identify
                                                                     or shortly thereafter. See also    In re Nielsen Holdings PLC
the reports or statements containing the truthful information,
                                                                     Sec. Litig., 510 F. Supp. 3d 217, 231 (S.D.N.Y. 2021) (“[T]he
as a plaintiff generally must when contending defendants
                                                                     magnitude (or duration) of an adverse result does not provide
had access to contrary facts.” (internal quotation marks and
                                                                     an independent basis for scienter.” (internal quotation marks
alterations omitted)).
                                                                     omitted)). The Court therefore determines that the magnitude
                                                                     of the revenue decline in this case does not raise an inference
Nor, with this path foreclosed, do Lead Plaintiffs’ other
                                                                     of scienter.
attempts lead to a successful pleading. It may be true
that “[a]ctively communicating with the public about [an]
                                                                     The departure of Canaan's former CFO, Mr. Hong, one
issue demonstrates defendants’ sensitivity to it,”   Gauquie         day before the February 10, 2021 statement, also does not
v. Albany Molecular Rsch., Inc., No. 14 Civ. 6637 (FB),              sufficiently raise an inference of scienter. “Courts ... have
2016 WL 4007591, at *2 (E.D.N.Y. July 26, 2016), but                 consistently held that an officer's resignation, without more,
Defendants’ February 10, 2021 statements related to their            is insufficient to support a strong inference of scienter.”
pre-sales indicate only that they were sensitive to how those
                                                                        Gillis v. QRX Pharma Ltd., 197 F. Supp. 3d 557, 605
pre-sales would improve revenue visibility in 2021, not that
they necessarily understood how those sales had impacted             (S.D.N.Y. 2016) (collecting cases); see also          Glaser v.
past revenue in late 2020. The fact that these statements            The9, Ltd., 772 F. Supp. 2d 573, 598 (S.D.N.Y. 2011) (holding
were made after the fourth quarter concluded also does not           that resignations “without some indicia of highly unusual
raise an inference that revenue information for that quarter         or suspicious circumstances, are insufficient to support the
was available, especially absent any allegations relating to         required strong circumstantial evidence of scienter”). The
the company's practices for when it prepares its revenue             Amended Complaint alleges only that Mr. Hong “suddenly
                                                                     resigned effective immediately” without explanation and
information for internal review. See  Lopez v. CTPartners
                                                                     “citing only ‘personal reasons,’ ” Am. Compl. ¶ 30, and then
Exec. Search Inc., 173 F. Supp. 3d 12, 38 (S.D.N.Y. 2016)
                                                                     alleges that The Motley Fool opined that the February 10,
(“[T]hat a quarter has concluded does not mean that the
                                                                     2021 “financial update is oddly timed” since it immediately
quarter's results have yet been tabulated.”); see also San           followed the CFO's resignation, id. ¶ 34. The suggestion
Leandro Emergency Med. Grp. Profit Sharing Plan v. Phillip           appears to be that this “odd[ ] timing” indicates that Mr.
Morris Co., 75 F.3d 801, 812 (2d Cir. 1996) (“Plaintiffs’            Hong's resignation was related to some corporate misconduct.
unsupported general claim of the existence of confidential           But the Amended Complaint alleges no other facts related to
company sales reports that revealed the larger decline in            his departure that suggest that it was related in any way to the
sales is insufficient to survive a motion to dismiss” when           February 10, 2021 statements, let alone facts that give rise to
allegedly false statement was made three weeks before final          an inference of scienter.
sales figures were announced.).
                                                                     Finally, what remains is the “core operations” doctrine. See
 *14 Next, the magnitude of the eventual revenue decline             Opposition at 22. “The core operations doctrine provides
does not raise an inference of scienter both because as              that a court may infer that a company and its senior
discussed there is no indication that Defendants had access to       executives have knowledge of information concerning the
that information at the time of the February 10, 2021 press          core operations of a business, such as events affecting a
release and because it is not clear what portion of that decline     significant source of revenue.” Renewable Energy Grp.,
was due to an increased volume of pre-sales. This is especially      2022 WL 14206678, at *3 n.4 (internal quotation marks
true because Lead Plaintiffs’ argument is not that the pre-          omitted). But the Second Circuit has “not clearly affirmed
sales alone caused a loss of revenue, but rather that because        the validity of this doctrine following the passage of the
the sales prices were locked in, Defendants were unable to           PSLRA.” Id. And so courts in this Circuit generally treat
take advantage of potentially higher sale prices as the price of     core operations allegations as providing “supplementary
Bitcoin, and the accompanying demand for mining machines,            but not independently sufficient means to plead scienter.”
rose. But the magnitude of a revenue decrease from one
                                                                         Cortina v. Anavex Life Sci. Corp., No. 15 Civ. 10162
year to another or from one quarter to another says nothing
                                                                     (JMF), 2016 WL 7480415, at *7 (S.D.N.Y. Dec. 29, 2016)
about the ability of Defendants to understand that they were
                                                                     (internal quotation marks omitted). Because none of the Lead


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Plaintiffs’ other allegations support an inference of scienter,
the core operations doctrine—even if it remains a valid               D. Leave to Amend
doctrine—cannot save Lead Plaintiffs’ claims.                         Under Rule 15(a) of the Federal Rules of Civil Procedure,
                                                                      a court “should freely give leave when justice so requires.”
Ultimately the Court must assess, in light of these allegations       Fed. R. Civ. P. 15(a)(2). Lead Plaintiffs have asked the Court
taken collectively, “would a reasonable person deem the               for leave to amend their Amended Complaint should the
inference of scienter at least as strong as any opposing              Court rule in Defendants’ favor. Opposition at 25. Because
inference?”      Tellabs, 551 U.S. at 326. For this Amended           the Amended Complaint is the first complaint submitted by
Complaint, without any allegation specifically identifying a          Lead Plaintiffs, the Court grants leave to amend. The Court
report or statement containing omitted material facts, the            emphasizes that Lead Plaintiffs should only file a Second
Court concludes that the answer is no. The inference that             Amended Complaint if they are able to remedy the pleading
Defendants had access to fourth quarter of 2020 revenue data          deficiencies identified herein.
related to their pre-sales is not as strong as the inference that
Defendants lacked that data a mere six weeks after the close
of the quarter. For that reason, the Court determines that Lead
                                                                                              IV. Conclusion
Plaintiffs have failed to adequately allege scienter for the
February 10, 2021 statement and grants the motion to dismiss          For the stated reasons, Defendants’ motion to dismiss is
on that ground.                                                       granted. The Court grants Lead Plaintiffs leave to amend their
                                                                      Amended Complaint. In the event Lead Plaintiffs decide to
 *15 Because those are the only statements which the Court            file another amended complaint, they must file it within thirty
finds actionable, the Court dismisses Lead Plaintiffs’ Section        days of this Opinion and Order. If Lead Plaintiffs fail to file an
10(b) and Rule 10b-5 claims.                                          amended complaint within thirty days, and do not show good
                                                                      cause to excuse the failure to do so, the Court will dismiss this
                                                                      action with prejudice.
C. Section 20(a) Claims Against Mr. He and Mr. Zhang
Because the Court has dismissed Lead Plaintiffs’ Section
                                                                      SO ORDERED.
10(b) and Rule 10b-5 claims, the Section 20(a) claims
likewise fail for lack of a primary violation. See, e.g.,   In
re Mylan N.V. Sec. Litig., 379 F. Supp. 3d 198, 215 (S.D.N.Y.         All Citations
2019) (dismissing Section 20(a) control liability claims after
                                                                      Not Reported in Fed. Supp., 2023 WL 2647855, Fed. Sec. L.
dismissing Section 10(b) primary violations). The Court
                                                                      Rep. P 101,562
therefore also dismisses the Section 20(a) claims.




                                                            Footnotes


1       The following facts, which are assumed true for purposes of this Opinion and Order, are taken from the
        Amended Complaint, Dkt. 65 (“Am. Compl.”), as well as documents incorporated by reference in the Amended
        Complaint. See      Interpharm, Inc. v. Wells Fargo Bank, Nat'l Ass'n, 655 F.3d 136, 141 (2d Cir. 2011)
        (explaining that on a motion to dismiss pursuant to Rule 12(b)(6), the court must “assum[e] all facts alleged
        within the four corners of the complaint to be true, and draw[ ] all reasonable inferences in plaintiff's favor”);
          Chambers v. Time Warner, Inc., 282 F.3d 147, 153 (2d Cir. 2002) (“[O]n a motion to dismiss, a court may
        consider documents attached to the complaint as an exhibit or incorporated in it by reference....” (internal
        quotation marks omitted)).




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2     The Decrypt article contained numerous direct quotes from Mr. Zhang, while also paraphrasing other
      statements that are attributed to him. For clarity purposes, the Court specifically notes when reciting a reported
      direct quote from Mr. Zhang.

3     Defendants seek dismissal of the entire Amended Complaint, though their arguments address only the
      violations of Section 10(b) and Rule 10b-5 alleged in Count One. See generally Motion. However, because
      “[t]o establish liability under section 20(a), a plaintiff ‘must first establish a primary violation,’ ” Diehl v. Omega
      Protein Corp., 339 F. Supp. 3d 153, 169 (S.D.N.Y. 2018) (quoting      In re Omnicom, 597 F.3d 501, 514 n.6
      (2d Cir. 2010)), dismissal of Count I would require dismissal of Count II.

4     These materials consist of the November 30, 2020, February 10, 2021, and April 12, 2021 press releases,
      the Decrypt article, and the transcript of the April 12, 2021 earnings call. Dkt. 71 at 1-3.

5     These materials consist of, respectively, Canaan's Form F-1 Registration Statement filed with the SEC on
      October 28, 2019, Canaan's ADS historical stock data, Bitcoin's historical price data, and Canaan's Form 6-
      K reporting financial results from the first quarter of 2021 filed with the SEC on June 1, 2021. Dkt. 71 at 1-3.

6     If anything, the allegations in the Amended Complaint suggest that Defendants gained knowledge of the
      allegedly misleading nature of the November 30, 2020 statements prior to the commencement of the Class
      Period. For instance, Lead Plaintiffs contend that Defendants had a duty to update or correct the quotation
      from Canaan's CFO, Mr. Hong, in the November 30, 2020 press release. Yet, the Amended Complaint's
      scienter allegations specifically refer to Mr. Hong's resignation the day before the Class Period as supporting
      an inference of scienter with respect to the February 10, 2021 press release. Am. Compl. ¶ 48. Moreover,
      any theory that knowledge giving rise to a duty to update or correct with respect to the November 30, 2020
      statements was first gained after the Class Period began on February 10, 2021 would seem in tension with
      Lead Plaintiffs’ claim that statements in the February 10, 2021 press release were misleading due to an
      omission at the time they were made, which naturally would entail having the requisite knowledge at some
      point before filing the Form 6-K with the attached press release on February 10, 2021. See id. ¶ 32; Opposition
      at 14-15.

7     As discussed at infra III.C, Lead Plaintiffs’ allegations on this point are insufficient to establish scienter
      given the heightened pleading requirements, as they fail to allege with the requisite specificity that and how
      Defendants understood the impact of rising Bitcoin prices during the Class Period.

8     Drawing all inferences in favor of Lead Plaintiffs, the Court assumes that an order made with “prepayment”
      in the fourth quarter of 2020 would have meant collecting the revenue associated with that order in the fourth
      quarter.

9     This inference is strengthened by the fact that the November 30, 2020 press release referenced increase pre-
      sales beginning in the third quarter of 2020 and continuing into the fourth quarter. 11/30/20 Press Release
      at 2; see Am. Compl. ¶ 28

10    The court in Banco Bradesco arguably took a different approach on this issue, rejecting an argument that a
      claim based on statement in an article attributed to an unidentified representative of a corporate defendant
      should be dismissed on the basis that it was not attributed to a specific individual.        277 F. Supp. 3d at 663.

11    Lead Plaintiffs do not appear to argue, and the Court does not hold, that the opening of the article, which
      included a statement that the “outlook is rosy” referring to the fourth quarter and full year 2020 results, is
      attributable to Defendants. Opposition at 9-10, 13. There is of course significantly more reason to doubt that




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      such a claim, found only in the article's introduction, prior to any direct reference to statements made by Mr.
      Zhang and without any direct attribution to any Defendant, could be considered a statement by Defendants.

12    Such a rigid rule would also open avenues for fraud by making it possible for entities and insiders to make
      statements in the press without fear of liability so long as they secured a reporter's agreement not to put
      their words in quotes.

13    “It is well established that ‘where the plaintiffs[’] allegations are contradicted by a document that the complaint
      incorporates by reference, the document controls.’ ” Optionality Consulting Pte. Ltd. v. Nekos, No. 18 Civ.
      5393 (ALC), 2019 WL 4523469, at *6 (S.D.N.Y. Sept. 18, 2019) (quoting 380544 Can., Inc. v. Aspen Tech.,
      Inc., 544 F. Supp. 2d 199, 215 (S.D.N.Y. 2008)). Defendants moved the Court to consider the transcript of
      the April 12, 2021 earnings call as an incorporated-by-reference document in their motion for judicial notice.
      Dkt. 71 at 4 (referring to Exhibit 9 as incorporated by reference in the Amended Complaint). Lead Plaintiffs
      did not opposed that motion with respect to the April 12, 2021 transcript. Dkt. 73 at 2, 5.

14    Because Lead Plaintiffs’ theory of corporate scienter is predicated on the scienter of Mr. Zhang and Mr. He,
      see Opposition at 24-25; Am. Compl. ¶ 51, the Court does not separately analyze Canaan's scienter. See
          Teamsters Local 445 Freight Div. Pension Fund v. Dynex Cap., Inc., 531 F.3d 190, 195 (2d Cir. 2008)
      (“In most cases, the most straightforward way to raise [an inference of scienter] for a corporate defendant
      will be to plead it for an individual defendant.”).

15    While not finding that any of these allegations necessarily would have been sufficient, the Court notes that
      Lead Plaintiffs might have alleged, for example, the existence of a sales report showing the funds brought
      in by pre-sales, a regular practice of reporting preliminary revenue figures within the company shortly after
      the end of a quarter, or that Mr. Zhang and Mr. He were intimately involved in each individual pre-sale such
      that they knew the prices and quantities of those sales.



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                        TAB No. 6




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      KeyCite Yellow Flag - Negative Treatment
                                                                                            I. BACKGROUND
Distinguished by SLF Holdings, LLC v. Uniti Fiber Holdings, Inc.,
D.Del., November 4, 2020
                                                                      For present purposes, the allegations of the amended
                                                                      complaint can be summarized as follows. NBTY
                   2012 WL 1078823                                    manufactures, markets, and distributes nutritional
      Only the Westlaw citation is currently available.               supplements. NBTY's common stock trades on the New York
               United States District Court,                          Stock Exchange. Rudolph served as chairman of the board
                     E.D. New York.                                   and chief executive officer during the class period. Kamil
                                                                      served as president and chief financial officer during the class
      John F. HUTCHINS, Individually and On Behalf                    period.
         of All Others Similarly Situated, Plaintiff,
                             v.                                       NBTY conducts its business through four business segments,
              NBTY, INC., et al., Defendants.                         one of which is the Wholesale/U.S. Nutrition segment. This
                                                                      segment includes branded products that are marketed under
                No. CV 10–2159(LDW)(WDW).                             various brand names and private-label brands that NBTY
                              |                                       manufactures for many leading retailers. Before and during
                       March 30, 2012.                                the class, NBTY's largest customer was Wal–Mart Stores, Inc.
                                                                      (“Wal–Mart”). During the class period, Wal–Mart accounted
Attorneys and Law Firms                                               for 30% of NBTY's net sales and 80% of its private-label
                                                                      sales. In the fall of 2009, Wal–Mart told NBTY that, for the
Michael I. Fistel, William W. Stone, Holzer Holzer & Fistel,
                                                                      first time in 10 years, it would put out for competitive bids
LLC, Atlanta, GA, David A. Rosenfeld, Mario Alba, Jr.,
                                                                      the products it had been purchasing from NBTY. Thereafter,
Robert M. Rothman, Samuel H. Rudman, Robbins Geller
                                                                      Wal–Mart sent mass emails to suppliers of such private-label
Rudman & Dowd, LLP, Melville, NY, for Plaintiff.
                                                                      products encouraging them to bid on products previously sold
Michael R. Young, Antonio Yanez, Jr., Willkie Farr &                  to Wal–Mart by NBTY. According to plaintiff, defendants
Gallagher LLP, New York, NY, for Defendants.                          knew that NBTY would have to lower prices of products
                                                                      sold to Wal–Mart, or lose the business, and that the resulting
                                                                      pricing pressure would threaten or cause NBTY to suffer
               MEMORANDUM AND ORDER                                   materially lower gross margins and operating results. Plaintiff
                                                                      alleges that defendants and the investment community were
WEXLER, District Judge.                                               keenly focused on an adverse trend in NBTY's gross margins,
                                                                      as all of NBTY's growth from 2007 to 2009 was generated
 *1 Plaintiff John F. Hutchins brings this federal securities         by its lower margin Wholesale/U.S. Nutrition segment, which
fraud class action against defendants NBTY, Inc. (“NBTY”)             had caused a downward trend in its reported gross margins.
and NBTY directors/officers Scott Rudolph (“Rudolph”) and             Consequently, NBTY's reported gross margins were a key
Harvey Kamil (“Kamil”), alleging violation of § 10(b) of the          metric used by investors to gauge NBTY's financial condition.
Securities Exchange Act of 1934 (the “Exchange Act”), 15
U.S.C. § 78j(b), and Securities and Exchange Commission               During the class period, defendants issued press releases
(“SEC”) Rule 10b–5, as well as § 20(a) of the Exchange Act,           making positive statements about NBTY's business, gross
15 U.S.C. § 78t(a). Plaintiff sues individually and on behalf of      margins and future operating performance, but never told
all purchasers of NBTY's common stock from November 9,                investors about Wal–Mart's competitive bidding initiative or
2009 to April 27, 2010 (the “class period”). Defendants move          discussed the resulting adverse impact on NBTY's sales,
to dismiss the amended complaint pursuant to Federal Rules            pricing and future prospects. For instance, on November
of Civil Procedure (“FRCP”) 9(b) and 12(b)(6). Plaintiff              9, 2009, Kamil stated to the investing public that NBTY's
opposes the motion. Upon oral argument, the Court denied              reported gross margins of approximately 45% for the
the motion for the reasons below.                                     two most recent fiscal quarters (ending June 30, 2009
                                                                      and September 30, 2009) were indicative of its ongoing
                                                                      performance, not the lower reported gross margins of the



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prior three quarters. Kamil made this statement even though        name were materially false and misleading, and that such
defendants—but not investors—knew that NBTY's largest              documents and statements would be issued or disseminated
customer was soliciting competing bids for products NBTY           to the investing public. Plaintiff alleges that a motivation for
had been supplying it and that, as a result, NBTY's gross          defendants' course of conduct was to allow NBTY insiders,
margins would be decreasing. At the end of NBTY's                  including Rudolph and Kamil, to sell substantial amounts
December 2009 quarter, defendants purportedly assuaged             of NBTY common stock during the class period at prices
investor concerns about lower gross margins for the quarter by     artificially inflated by their fraud. In this respect, NBTY
stating that NBTY had become more efficient by improving           insiders collectively sold 1,655,063 shares of their personally-
supply chain management and employing effective controls           held NBTY common stock, generating proceeds in excess
over advertising and selling, general, and administrative          of $73 million during the six-month class period. Allegedly,
costs. Then, on March 11, 2010, a few weeks prior to               these sales were 24 times the amount of insider sales—$3
the quarter ending March 31, 2010, Kamil again stated              million—in the prior 12–month period. In particular, Rudolph
publicly that NBTY's recently reported gross margins               sold 500,000 shares, 9.4% of his holdings, in November
were sustainable. Similarly, defendants allegedly knew that        2009, generating $21.2 million; Kamil sold 677,713 shares,
NBTY would be further adversely impacted by Wal–Mart's             50.9% of his holdings, in November 2009 and January 2010,
competitive bidding initiative because NBTY would have to          generating $29.5 million. Plaintiff alleges that Rudolph's and
ramp up advertising costs associated with marketing NBTY's         Kamil's stock sales were made pursuant to a stock trading plan
branded products to offset the decline in the private-label        established under SEC Rule 10b5–1 and NBTY policies to
business, yet they told investors at the time that they were       avoid concerns about whether insiders had material adverse
advertising more “efficiently.”                                    inside information when they sold their stock. However,
                                                                   plaintiff alleges, defendants did have such information and
 *2 On November 30, 2009, NBTY filed its annual 10–K               adopted the stock trading plan to take advantage of the
form for the fiscal year ended September 30, 2009 (the “2009       artificially inflated stock prices.
Form 10–K”). The 2009 Form 10–K stated, inter alia, that
(1) Wal–Mart accounted for 30% of NBTY's Wholesale/U.S.
Nutrition net sales and 18% of company-wide net sales; (2)
                                                                                          II. DISCUSSION
Wal–Mart had no commitment to purchase from NBTY; (3)
NBTY had no obligation to sell to Wal–Mart; and (4) that           A. Motion to Dismiss Standard
loss of Wal–Mart, or any other major customer, would have a
                                                                   In Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 127 S.Ct.
material adverse effect on NBTY's operations if NBTY were
                                                                   1955, 167 L.Ed.2d 929 (2007), the Supreme Court held that
unable to replace that customer. The 2009 Form 10–K did not
                                                                   to avoid dismissal a plaintiff is required to plead enough
mention Wal–Mart's competitive bidding initiative.
                                                                   facts “to state a claim for relief that is plausible on its face.”
On April 27, 2010, defendants announced, inter alia, that             Id. at 570; see also       Ashcroft v. Iqbal, 556 U.S. 662,
NBTY faced increasing competition in its private-label             129 S.Ct. 1937, 1949–50, 173 L.Ed.2d 868 (2009). While
business, that it anticipated a decrease in gross profits in       heightened factual pleading is not required, Twombly holds
the wholesale division for the remainder of 2010, and that         that a “formulaic recitation of the elements of a cause of action
it had spent $51 million more on television advertising in
                                                                   will not do.”    Twombly, 550 U.S. at 555. On a motion to
its 2010 fiscal second quarter than in the prior fiscal second
                                                                   dismiss, the court must, as always, assume that all allegations
quarter—a 54% increase, adversely affecting the company's
                                                                   in the complaint are true and draw all inferences in favor
net income. After analysts publicly disclosed Wal–Mart's
competitive bidding initiative, NBTY's stock fell 21% on           of the nonmoving party.     Plair v. City of New York, 789
unusually heavy trading volume. In August 2010, NBTY               F.Supp.2d 459, 463 (S.D.N.Y.2011). However, the court must
filed its Form 10–Q for the quarter ended June 30, 2010,           ensure that the complaint sets forth “enough facts to state
which reported that sales to Wal–Mart that quarter dropped         a claim to relief that is plausible on its face.”      Twombly,
“precipitously.”
                                                                   550 U.S. at 570; see        Ruston v. Town Bd. for Town of
According to plaintiff, defendants knew that the public            Skaneateles, 610 F.3d 55, 57 (2d Cir.2010). A pleading that
documents and statements issued or disseminated in NBTY's          does nothing more than recite facts and bare legal conclusions
                                                                   is insufficient to “unlock the doors of discovery ... and only


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a complaint that states a plausible claim for relief survives a     made material misstatements or omissions of fact and that
                                                                    they acted with scienter.
motion to dismiss.”     Iqbal, 129 S.Ct. at 1950. Although a
Rule 12(b)(6) motion is directed only to the sufficiency of the
                                                                    At the pleading stage, the materiality requirement is satisfied
pleading, the court may consider written documents attached
                                                                    if a plaintiff alleges a misstatement or omission that “a
to the complaint as well as documents incorporated therein
                                                                    reasonable investor would have considered significant in
by reference and those of which plaintiff had knowledge and
                                                                    making investment decisions.”        Ganino, 228 F.3d at 161
relied upon in commencing the action. See      Brass v. Amer.
Film Techn., Inc., 987 F.2d 142, 150 (2d Cir.1993).                 (citing    Basic Inc. v. Levinson, 485 U.S. 224, 231, 108
                                                                    S.Ct. 978, 99 L.Ed.2d 194 (1988)). As the Supreme Court
*3 Moreover, a complaint alleging securities fraud must             has explained, “ ‘there must be a substantial likelihood that
                                                                    the disclosure of the omitted fact would have been viewed
satisfy the heightened pleading requirements of FRCP 9(b)
                                                                    by the reasonable investor as having significantly altered the
and the Private Securities Litigation Reform Act of 1995
(“PSLRA”), 15 U.S.C. § 78u–4, “by stating with particularity        ‘total mix’ of information made available.' ”       Basic, 485
the circumstances constituting fraud.”      ECA & Local 134         U.S. at 231–32 (quoting TSC Indus., Inc. v. Northway, Inc.,
IBEW Joint Pension Trust of Chicago v. JP Morgan Chase              426 U.S. 438, 449, 96 S.Ct. 2126, 48 L.Ed.2d 757 (1976).
Co., 553 F.3d 187, 196 (2d Cir.2009). Under the PSLRA, “the         “Because materiality is a mixed question of law and fact, in
complaint must ‘specify each statement alleged to have been         the context of a Fed.R.Civ.P. 12(b)(6) motion, a complaint
misleading, [and] the reason or reasons why the statement is        may not properly be dismissed ... on the ground that the
misleading,’ and ‘state with particularity facts giving rise to     alleged misstatements or omissions are not material unless
a strong inference that the defendant acted with the required       they are so obviously unimportant to a reasonable investor
state of mind.’ ” Id. (quoting 15 U.S.C. § 78u–4(b) (1),            that reasonable minds could not differ on the question of their
(2));     ATSI Commc'ns., Inc. v. Shaar Fund, Ltd. 493 F.3d         importance.”    ECA & Local 134, 553 F.3d at 197 (internal
87, 99 (2d Cir.2007) (“A securities fraud complaint based           quotation marks omitted).
on misstatements must: (1) specify the statements that the
plaintiff contends were fraudulent; (2) identify the speaker;        *4 A securities fraud complaint based on omissions
(3) state where and when the statements were made; and (4)          “is actionable under the securities laws only when the
explain why the statements were fraudulent.”).                      corporation is subject to a duty to disclose the omitted facts.”
                                                                       In re Time Warner Inc. Sec. Litig., 9 F.3d 259, 267 (2d
B. Applicable Law                                                   Cir.1993). Such a duty “arises when disclosure is necessary
                                                                    to make prior statements not misleading.”       Id. at 268.
   1. Section 10(b) and Rule 10b–5
To prevail on a securities fraud claim under § 10(b)
                                                                    Under the PLSRA, a plaintiff's securities fraud complaint
and Rule 10b–5, a plaintiff “must prove ‘(1) a material
                                                                    must “state with particularity facts giving rise to a strong
misrepresentation or omission by the defendant; (2) scienter;
                                                                    inference that the defendant acted with the required state
(3) a connection between the misrepresentation or omission
and the purchase or sale of a security; (4) reliance upon the       of mind.”    Matrixx Initiatives, Inc., 131 S.Ct. at 1324. A
misrepresentation or omission; (5) economic loss; and (6) loss      complaint adequately pleads scienter “ ‘only if a reasonable
                                                                    person would deem the inference of scienter cogent and at
causation.’ ”  Matrixx Initiatives, Inc. v. Siracusano, –––
                                                                    least as compelling as any opposing inference one could
U.S. ––––, ––––, 131 S.Ct. 1309, 1317, 179 L.Ed.2d 398
                                                                    draw from the facts alleged.’ ” Id. (quoting Tellabs, Inc. v.
(2011) (quoting      Stoneridge Investment Partners, LLC v.         Makor Issues & Rights, Ltd., 127 S.Ct. 2549, 2499 (2007)).
Scientific–Atlanta, Inc., 552 U.S. 148, 157, 128 S.Ct. 761,         “The requisite scienter can be established by alleging facts
                                                                    to show either: (1) that defendants had the motive and
169 L.Ed.2d 627 (2008));      Ganino v. Citizens Utilities Co.,
                                                                    opportunity to commit fraud, or (2) strong circumstantial
228 F.3d 154, 161 (2d Cir.2000);        In re Int'l Bus. Mach.
                                                                    evidence of conscious misbehavior or recklessness.”   ECA
Corp. Sec. Litig., 163 F.3d 102, 106 (2d Cir.1998). Here,
                                                                    & Local 134, 553 F.3d at 198. Under the first prong, motive
defendants argue that plaintiff fails to allege that defendants



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and opportunity to commit fraud is usually met where the
complaint alleges facts that show the “defendants benefitted           1. Violation of § 10(b) and Rule 10b–5
in some concrete and personal way from the purported
                                                                     a. Material Misstatement or Omission
fraud.”     Novak v. Kasaks, 216 F.3d 300, 307–08 (2d                Defendants argue that they made no misstatement or omission
Cir.2000). This element generally is met “when corporate             of material fact because NBTY met its stated gross margin
insiders misrepresent material facts to keep the price of stock      projections for the class period and their projections were
                                                                     labeled as “best guesses” and were indicative of past
high while selling their own shares at a profit.”        In re
                                                                     quarter earnings. Defendants maintain that NBTY's 2009
Scholastic Corp. Sec. Litig., 252 F.3d 63, 74 (2d. Cir.2001). “
                                                                     Form 10–K refutes plaintiff's claim because it stated that
‘Unusual’ insider sales at the time of the alleged withholding
                                                                     (1) Wal–Mart bought NBTY's products on an individual
of negative corporate news may permit an inference of ...
                                                                     basis, (2) Wal–Mart had no commitment to purchase
scienter.” Id. “Factors considered in determining whether
                                                                     NBTY's products, (3) NBTY had no obligation to sell
insider trading activity is unusual include the amount of
                                                                     Wal–Mart its products, and (4) losing Wal–Mart or any
profit from the sales, the portion of stock holdings sold, the
                                                                     other major customer would have a material adverse effect
change in volume of insider sales, and the number of insiders
                                                                     on NBTY. Defendants further maintain that they made no
selling.” Id. at 74–75. Under the second prong, “the strength
                                                                     actionable misstatement because NBTY's statements about
of the circumstantial allegations must be correspondingly
                                                                     gross profits were “forward looking” and accompanied by
greater” if there is no motive.    Kalnit v. Eichler, 264            “meaningful cautionary language,” thereby satisfying the
F.3d 131, 143 (2d Cir.2001). To qualify as recklessness,             “bespeaks caution” doctrine and statutory “safe harbor”
“defendants' conduct must have been ‘highly unreasonable’            provision of the PSLRA. See 15 U.S.C. § 78u–5(c) (providing
and ‘an extreme departure from the standards of ordinary             “safe harbor” for a forward-looking statement identified
care ... to the extent that the danger was either known              as such and accompanied by “meaningful cautionary
to the defendant or so obvious that the defendant must               statements identifying important factors that could cause
have been aware of it.’ ”        In re Scholastic Corp. Sec.         actual results to differ materially from those in the forward-

Litig., 252 F.3d at 76 (quoting        Rolf v. Blyth, Eastman        looking statement”); In re IAC/InterActiveCorp Sec. Litig.,
Dillon & Co., 570 F.2d 38, 47 (2d Cir.1978)). “Where the             478 F.Supp.2d 574, 586 (S.D.N.Y.2007) (observing that
complaint alleges that defendants knew facts or had access to        under “bespeaks caution” doctrine courts have held that
non-public information contradicting their public statements,        meaningful cautionary language can render omissions or
recklessness is adequately plead for defendants who knew or          misrepresentations immaterial).
should have known they were misrepresenting material facts
with respect to the corporate business.” Id.                         Plaintiff maintains that the amended complaint sufficiently
                                                                     alleges that defendants made misstatements or omissions
                                                                     of material fact. According to plaintiff, defendants' positive
   2. Section 20(a )                                                 statements about NBTY's business, gross margins and
 *5 To state a claim for control person liability under §            operating leverage and profitability during the class period
20(a), a plaintiff must allege (1) a primary violation by a          were misleading because the information that Wal–Mart,
controlled person; (2) actual control by the defendant; and (3)      NBTY's then-biggest wholesale customer, was soliciting
the controlling person's culpable participation in the primary       competitive bids for the first time in 10 years meant
                                                                     NBTY's current results were not indicative of its future
violation.    In re Bristol Meyers Squibb Co. Sec. Litig., 586
                                                                     performance. According to plaintiff, defendants knew that
F.Supp.2d 148, 170 (S.D.N.Y. Aug.20, 2008). Thus, any claim
                                                                     Wal–Mart's decision to solicit competitive bids meant that
for “control person” liability under § 20(a) must be predicated
                                                                     NBTY's operating leverage would decline materially, making
on a primary violation of securities law. See 15 U.S.C. § 78t(a)
                                                                     defendants' statements concerning NBTY's positive financial
(imposing liability on any person who “controls any person
                                                                     results false and misleading for omitting any discussion
liable” for securities fraud);   Rombach v. Chang, 355 F.3d          of Wal–Mart's decision and its inevitable consequences.
164, 177–78 (2d Cir.2004).                                           Defendants also allegedly knew that NBTY would be further
                                                                     adversely impacted by Wal–Mart's competitive bidding
                                                                     initiative because NBTY would have to ramp up advertising
C. Analysis of Claims


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                                                                      Upon consideration, the Court concludes that plaintiff pleads
costs associated with marketing NBTY's branded products to
                                                                      with particularity facts giving rise to a strong inference
offset the decline in the private-label business.
                                                                      that defendants acted with the required state of mind. In
                                                                      this respect, plaintiff sufficiently pleads “unusual” sales
 *6 Upon consideration, the Court concludes that plaintiff
                                                                      by NBTY insiders, particularly defendants Rudolph and
sufficiently pleads with particularity material misstatements
                                                                      Kamil, during the class period, given the substantial amounts
or omissions by defendants. The information relating to Wal–
                                                                      and percentages sold during that period and as compared
Mart's competitive bidding initiative, in light of statements
                                                                      to the prior 12 months. Moreover, the Court finds that
made, was not “so obviously unimportant to a reasonable
                                                                      plaintiff sufficiently pleads strong circumstantial evidence
investor that reasonable minds could not differ on the question
                                                                      of conscious misbehavior or recklessness by defendants,
of their importance.”        ECA & Local 134, 553 F.3d at             given their failure to disclose material adverse information
197. Reasonable minds could differ on the importance to               concerning the company's largest customer and the potential
reasonable investors of the information relating to Wal–Mart          resulting adverse impact on costs, sales, pricing, operating
in light of the information disclosed, particularly since NBTY        leverage and profitability, while making positive statements
was Wal–Mart's exclusive nutritional supplement supplier              about costs, sales, gross margins, and operating leverage and
and Wal–Mart accounted for a substantial percentage of                profitability, all while engaging in substantial insider stock
NBTY's sales. It is plausible that a reasonable investor              sales.
would view NBTY's potential loss of Wal–Mart's business—
or retaining it at lower prices—significant to an investment           *7 Thus, the Court concludes that the amended complaint
decision under the circumstances. See Ganino, 228 F.3d at             sufficiently pleads a violation of § 10(b) and Rule 10b–5
161. Moreover, to the extent NBTY's alleged statements were           against defendants.
“forward looking,” the Court cannot say, as a matter of law,
that there was sufficiently “meaningful cautionary language”
                                                                         2. Violation of § 20(a)
to satisfy the “bespeaks caution” doctrine and “safe harbor”
                                                                      As for the alleged violation of § 20(a), Rudolph and Kamil
provision.
                                                                      do not dispute that they are “control persons.” Given the
                                                                      Court's conclusion that the amended complaint sufficiently
   b. Scienter                                                        states a claim of primary violation under § 10(b) by Rudolph
As for scienter, plaintiff argues that (1) defendants'                and Kamil, and given their culpable participation therein,
substantial stock sales during the class period show a                the Court concludes that the amended complaint sufficiently
motive and opportunity to commit fraud; and (2) defendants'           pleads that Rudolph and Kamil violated § 20(a).
conduct shows strong circumstantial evidence of conscious
misbehavior or recklessness because defendants knew that
Wal–Mart was soliciting competitive bids from other                                        III. CONCLUSION
suppliers, yet did not disclose this information while making
positive statements of NBTY's costs, sales, gross margins,            For the above reasons, defendants' motion to dismiss is
operating leverage and profitability. Defendants argue that           denied.
there was no motive and opportunity to commit fraud because
their stock sales were not unusual and were made pursuant             SO ORDERED.
to a Rule 10b5–1 trading plan, and the Wal–Mart information
was sufficiently disclosed in the 2009 Form 10–K, while the
gross margin projections were indicated as “best guesses” and         All Citations
ultimately achieved.
                                                                      Not Reported in F.Supp.2d, 2012 WL 1078823, Fed. Sec. L.
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                        TAB No. 7




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                                                                  Defendants under Section 20(a) of the Exchange Act, 15
                    2023 WL 3442087                               U.S.C. § 78t(a). (Id. ¶¶ 525–26.)
     Only the Westlaw citation is currently available.
United States District Court, W.D. Texas, Austin Division.
                                                                  I. The Company
                                                                  Cassava is a small biotechnology company based in Austin,
             IN RE CASSAVA SCIENCES,
                                                                  Texas. (Dkt. # 68 ¶ 73.) Cassava's primary drug candidate
            INC. SECURITIES LITIGATION
                                                                  is simufilam, a small-molecule drug designed to treat
          This Document Relates to: All Actions.
                                                                  Alzheimer's disease. (Id. ¶ 80.) Some analysts have predicted
    Master File No. 1:21-CV-751-DAE CLASS ACTION                  that simufilam could generate billions of dollars in annual
                             |                                    revenue within the next decade should it prove to be an
                    Signed May 11, 2023                           effective treatment for Alzheimer's disease. (Id. ¶ 81.)

                                                                  Cassava was founded by Remi Barbier (“Barbier”), who
                                                                  serves as its Chairman, President, and Chief Executive
     ORDER GRANTING IN PART AND DENYING
                                                                  Officer. (Id. ¶¶ 1, 59.) Lindsay Burns (“Dr. Burns”) is
    IN PART DEFENDANTS' MOTION TO DISMISS
                                                                  Cassava's Senior Vice President of Neuroscience. (Id. ¶ 61.)
David Alan Ezra, Senior Judge                                     Both are members of Cassava's product development and
                                                                  management teams. (Id. ¶¶ 59, 61.) Nadav Friedmann (“Dr.
 *1 Before the Court is Defendants' Motion to Dismiss             Friedmann”) served as Cassava's Chief Operating Officer
Plaintiffs' Consolidated Complaint filed on October 25, 2022.     and Chief Medical Officer and was a member of its board
(Dkt. # 81.) The Court held a hearing on Defendants'              of directors. 1 (Id. ¶¶ 64, 65.) Eric Schoen (“Schoen”) is
Motion on April 26, 2023. After careful consideration of          Cassava's Chief Financial Officer. (Id. ¶ 67.) Hoau-Yan Wang
the memoranda filed in support of and in opposition to the
                                                                  (“Dr. Wang”) 2 is an Associate Medical Professor at the City
Motion, as well as the arguments advanced at the hearing,
                                                                  University of New York (“CUNY”) School of Medicine and
the Court, for the reasons below, GRANTS IN PART and
                                                                  is a member of Cassava's scientific advisory board, a Cassava
DENIES IN PART Defendants' Motion to Dismiss.
                                                                  consultant, and the co-inventor of simufilam. (Id. ¶ 57.)

                                                                  Cassava's predecessor entity, Pain Therapeutics, Inc.,
                     BACKGROUND                                   began operating in 1998. (Id. ¶ 74.) Pain Therapeutic's
                                                                  primary drug candidate, a painkiller named Remoxy, never
This case arises from four securities class action lawsuits       received approval from the United States Food and Drug
brought against Cassava Sciences, Inc. (“Cassava”) and            Administration (“FDA”). (Id.) On August 6, 2018, after Pain
Cassava executives Remi Barbier, Eric Schoen, Lindsay             Therapeutics announced that it had received a Complete
Burns, and Nadav Friedmann (the “Individual Defendants,”          Response Letter from the FDA denying its Remoxy New
and together with Cassava, “Defendants”). After this Court        Drug Application, its stock price “lost nearly all of its value.”
consolidated the cases into a single action (dkt. # 58), Lead     (Id. ¶¶ 74, 75.) In March 2019, Pain Therapeutics rebranded
Plaintiff Mohammad Bozorgis and additional 1 plaintiffs Ken       as Cassava and announced that it would be “align[ing] its
Calderone and Manohar Rao (collectively, “Plaintiffs”) filed      resources on advancing its drug and diagnostic assets in
a Consolidated Complaint on behalf of those who purchased         Alzheimer's disease.” (Id. ¶ 75.)
or otherwise acquired Cassava securities between September
14, 2020, and July 26, 2022 (the “Class Period”) (dkt. # 68).      *2 Cassava developed simufilam during research conducted
                                                                  at the company from about 2008 to 2018. (Id. ¶ 80.) (During
Plaintiffs allege securities fraud claims against Defendants      this time, Cassava also developed SavaDx, a diagnostic
under Section 10(b) of the Securities Exchange Act of 1934        product candidate aimed at detecting Azheimer's disease.)
(the “Exchange Act”), 15 U.S.C. § 78j(b), and Rule 10b-5,         (Id.) Simufilam is intended to restore a protein, filamin A,
17 C.F.R. § 240.10b-5. (Id. ¶¶ 520–24.) Plaintiffs also bring     that Cassava's scientists state is misshapen in the brains of
claims for control person liability against the Individual        Alzheimer's patients. (Id. ¶ 83.) Dr. Burns and Dr. Wang




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published their research on filamin A and simufilam in several       the bonus plan in October 2020. (Id. ¶ 101.) On November
peer-reviewed scientific journals. (Id. ¶ 87.)                       13, 2020, Cassava sold 9,375,000 shares of common stock for
                                                                     $75 million. (Id. ¶ 288.)
In July 2017, the company announced that the FDA had
approved its Investigational New Drug application to study           In February 2021, Cassava's stock leapt again after Cassava
simufilam in patients with Alzheimer's disease. (Id. ¶ 88.)          reported results from another trial that indicated simufilam
The press release noted that “[t]he underlying science for           may renew cognitive function in patients with Alzheimer's
[simufilam] has been published in Journal of Neuroscience,           disease. (Id. ¶ 10.) Cassava sold over four million shares of its
Neurobiology of Aging, Journal of Biological Chemistry,              common stock at $49 per share on February 10, 2021. (Id. ¶¶
PLOS-One and other peer-reviewed scientific journals.” (Id.)         10, 11.) On February 22, 2021, Cassava announced that the
                                                                     FDA and Cassava had reached an agreement on key elements
Following the successful completion of its Phase 1 and Phase         of a Phase 3 program for simufilam. (Id. ¶ 297.)
2a clinical studies, Cassava launched a Phase 2b study (a
placebo-controlled, blind trial) in September 2019. (Id. ¶¶ 88,       *3 On July 26, 2021, a Cassava poster authored by
89.) The bioanalysis for the study was conducted by a lab            Dr. Burns, Dr. Wang, and others on the Phase 2b trial
at Lund University. (Id. ¶ 94.) On May 15, 2020, Cassava             was presented at the Alzheimer's Association International
announced that the Phase 2b study “did not meet its primary          Conference. (Id. ¶ 218.) However, a key plasma biomarker
endpoint” because it did not show that simufilam lowered             data point had been inserted into the placebo group rather than
certain biomarkers of Alzheimer's disease. (Id. ¶¶ 8, 90.)           the 100mg group. (Id. ¶¶ 222, 329.)
Cassava's stock price tumbled. (Id. ¶ 91.)
                                                                     By July 29, 2021, Cassava's stock price had reached $146
                                                                     per share. (Id. ¶ 6.) But on August 18, 2021, a Citizen
II. The Class Period                                                 Petition was filed with the FDA raising “grave concerns about
A few months later, on September 14, 2020, Cassava issued            the quality and integrity of the laboratory-based studies”
a press release announcing the “final results” of its Phase          involving simufilam. (Id. ¶ 105.) The Citizen Petition noted
2b study. (Id. ¶¶ 93, 268.) The press release stated that            that all the foundational research supporting simufilam came
all samples “were sent to outside labs for bioanalysis” to           from journal articles “with two common co-authors”: Dr.
measure the biomarkers and that “[a]n academic lab generated         Wang and Dr. Burns. (Id. ¶ 106.)
final results.” (Id. ¶ 271.) According to Cassava, “an initial
bioanalysis by a different lab showed highly anomalous               The Citizen Petition cited three primary concerns: 1) the
data .... With its validity in question, the initial bioanalysis     Western blots in the journal articles contained “a series
serves no useful purpose.” (Id.) But the “final results” showed      of anomalies that are strongly suggestive of systematic
that simufilam “significantly improved an entire panel of            data manipulation and misrepresentation”; 2) Cassava's
validated biomarkers” of Alzheimer's disease. (Id. ¶ 269.)           presentation of its Phase 2b “final results” raised questions
                                                                     about the validity of the data, while the July 26, 2021 poster
Cassava did not disclose, however, that the reanalysis had           showed “signs of data anomalies or manipulation”; and 3)
been conducted by Dr. Wang's lab 3 and contained “highly             some experiments conducted by Dr. Wang and Dr. Burns
anomalous” results. (Id. ¶ 96.) Immediately following the            were on postmortem human brain tissue and presented data
press release and an investor conference call— during which          that also bore “hallmarks of manipulation.” (Id. ¶ 107.) The
Barbier stated that the reanalysis was performed by an               Petition further noted that Cassava (and before that, Pain
“academic lab”—Cassava's stock price climbed. (Id. ¶¶ 276,           Therapeutics) has funded Dr. Wang's lab at CUNY for over
279.)                                                                fifteen years. (Id. ¶ 108.)

A few weeks earlier, in August 2020, Cassava's Board of              The authors of the Citizen Petition were later revealed to
Directors had approved a “cash incentive bonus plan” that            be Dr. David Bredt and Dr. Geoffrey Pitt. (Id. ¶ 105.) After
tied cash bonuses to increases in Cassava's stock price. (Id. ¶¶     reviewing Cassava's pre-clinical research, Drs. Bredt and Pitt
2, 98, 100–03.) Thus, “Barbier and other Cassava executives          had noticed that some images of Cassava's Western-blot tests
stood ready to cash in on the Phase 2b study reanalysis.” 4          “looked ... as though they had been tweaked by a program
(Id. ¶ 98.) Cassava reached the first valuation milestone under      such as Photoshop.” (Id. ¶ 120.) The science behind simufilam



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also “didn't make sense.” (Id.) Although neither worked for          Cassava's stock price jumped by almost 50% on November
short seller firms, both shorted Cassava's stock. (Id. ¶ 112.)       4, 2021, after Cassava issued a press release stating that
                                                                     it “had been informed by the Journal of Neuroscience that
On August 25, 2021, Cassava issued a public statement                there is no evidence of data manipulation in an article
before the market opened to respond to the Citizen Petition,         it published in July 2012 describing a new approach to
which had been “posted on-line [on August 24, 2021] after            treating Alzheimer's disease.” (Id. ¶¶ 22, 23, 339.) Cassava
market hours.” (Id. ¶ 316.) Cassava called the Petition's claims     explained that the journal had requested “raw data for the
“false and misleading,” declared that Cassava “stands behind         article, including images of original, uncropped Western
its science, its scientists and its scientific collaborators,”       blots. Having received that data and completed its review,
and provided a list of statements labeled either “fiction” or        the Journal of Neuroscience stated: ‘No evidence of data
“fact.” (Id. ¶¶ 316, 317.) Two of the statements concerned the       manipulation was found for Western blot data.’ ” (Id. ¶ 22.)
biomarker data from the reanalysis:                                  But Cassava's stock price then dropped again when Dr. Bik
                                                                     posted a few days later that she had reviewed the images and
  Fiction: Biomarker data is generated by Cassava Sciences
                                                                     they did not appear to be the originals. 5 (Id. ¶¶ 24, 25.)
  or its science collaborators and therefore are falsified.

  Fact: Cassava Sciences' plasma p-tau data from                     Cassava's stock price dropped even lower when Cassava
  Alzheimer's patients was generated by [Quanterix],                 disclosed in November 2021 that “[c]ertain government
  an independent company, and presented at the recent                agencies have asked us to provide them with corporate
  Alzheimer's Association International Conference[ ].               information and documents.” (Id. ¶¶ 26, 27.) A Wall Street
                                                                     Journal article subsequently revealed that the U.S. Securities
(Id. ¶ 317.) Despite its denials, Cassava's stock fell sharply.      and Exchange Commission and the National Institutes of
(Id. ¶ 15.) Two days later, Cassava's stock fell again               Health were investigating the research manipulation claims,
when Quanterix issued the following statement: “Cassava              and that CUNY had begun to investigate Dr. Wang's lab. (Id.
previously engaged Quanterix' Accelerator laboratory to              ¶ 28.)
perform sample testing based on blinded samples provided by
Cassava. Quanterix or its employees did not interpret the test       Cassava's stock price further declined after a third supplement
results or prepare the data charts presented by Cassava at the       to the Citizen Petition was filed in November 2021 (alleging
Alzheimer's Association International Conference (AAIC) in           that several biomarkers analyzed by Dr. Wang's lab in the
July 2021 or otherwise.” (Id. ¶ 323.) Cassava responded the          Phase 2a study “also appear to have wildly anomalous
same day and confirmed that “Quanterix' sole responsibility          baseline measures” and that certain of Drs. Wang and Burns's
with regard to this clinical study was to perform sample             experiments “seem scientifically undoable”), and then again
testing, specifically, to measure levels of p-tau in plasma          when a fourth supplement was filed in December 2021
samples collected from study subjects.” (Id. ¶ 324.)                 (alleging that Drs. Bredt and Pitt had found “irrefutable
                                                                     evidence of data manipulation/fabrication”). (Id. ¶¶ 29–32,
 *4 That day, Dr. Elisabeth Bik, an expert in identifying            372–73, 380.) In 2022, several journals retracted papers
manipulation in biomedical images, posted online that she            authored by Dr. Wang and Dr. Burns, and another journal
had reviewed the photos included in the Citizen Petition and         issued an Expression of Concern. 6 (Id. ¶¶ 37– 39.)
“agree[d] with most of those concerns.” (Id. ¶¶ 132, 135.)
She also stated that “[a]t least five other articles from the        On February 10, 2022, the FDA denied the Citizen Petition,
Wang lab at CUNY appear to show image concerns.” (Id. ¶              stating that it was “being denied solely on the grounds that
135.) Cassava's stock price continued to fall after an August        your requests are not the appropriate subject of a citizen
30, 2021 supplement to the Citizen Petition “identified              petition.” (Id. ¶ 411.) Cassava's press release the same day
new instances of scientific misconduct by Cassava and                contained a statement from Barbier: “The news is very
Dr. Wang.” (Id. ¶¶ 18, 19.) A few days later, it fell                welcome but not surprising .... We said from the outset that
again after Cassava issued a press release in which Barbier          the allegations are false. I think the message may be that the
again denied the allegations in the Citizen Petition but did         FDA's citizen petition privilege is not to be trifled with by
acknowledge “visual errors” in “one publication and one              stock market participants.” (Id. ¶ 412.)
poster presentation.” (Id. ¶ 20.)




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 *5 Even so, Cassava's stock price fell again after The New
York Times published an April 18, 2022 article in which nine           (4) plead with particularity the contents of the false
“prominent experts” said that “they did not trust [Cassava's]             representations;
methods, results or even the premise underlying [simufilam's]
                                                                       (5) plead with particularity what the person making the
supposed effectiveness.” (Id. ¶¶ 40, 41.) And the price fell yet
                                                                          misrepresentation obtained thereby;
again when Reuters revealed that the Department of Justice
had opened a criminal probe into Cassava's research results.           (6) explain the reason or reasons why the statement is
(Id. ¶¶ 43, 44.)                                                          misleading, i.e. why the statement is fraudulent.

In short, Plaintiffs allege that Cassava misrepresented the              ABC Arbitrage Plaintiffs Grp. v. Tchuruk, 291 F.3d 336,
research on simufilam by manipulating data and failing to            350 (5th Cir. 2002). Further, if an allegation regarding a
disclose conflicts of interest. By misrepresenting its research      statement or omission is “made on information and belief, the
results, Defendants were able to raise millions of dollars to        plaintiff must (7) state with particularity all facts on which
fund simufilam's development and stood to personally profit          that belief is formed, i.e., set forth a factual basis for such
from cash bonuses.                                                   belief.” Id. (citing 15 U.S.C. § 78u–4(b)(1)). According to the
                                                                     Fifth Circuit, “this is the ‘who, what, when, where, and how’
                                                                     required under Rule 9(b) in our securities fraud jurisprudence
                   LEGAL STANDARDS                                   and under the PSLRA.” Id.

Under Rule 12(b)(6), a court may dismiss a complaint for
“failure to state a claim upon which relief can be granted.”
                                                                                            DISCUSSION
Fed. R. Civ. P. 12(b)(6). In analyzing a motion to dismiss for
failure to state a claim, the court “accept[s] ‘all well pleaded     The elements of a securities-fraud claim under Section 10(b)
facts as true, viewing them in the light most favorable to the       and Rule 10b–5 are “(1) a material misrepresentation or
plaintiff.’ ”   United States ex rel. Vavra v. Kellogg Brown         omission by the defendant; (2) scienter; (3) a connection
                                                                     between the misrepresentation or omission and the purchase
& Root, Inc., 727 F.3d 343, 346 (5th Cir. 2013) (quoting In
                                                                     or sale of a security; (4) reliance upon the misrepresentation
re Katrina Canal Breaches Litig., 495 F.3d 191, 205 (5th Cir.
                                                                     or omission; (5) economic loss; and (6) loss causation.”
2007)).
                                                                        Stoneridge Inv. Partners, LLC v. Sci.- Atlanta, 552 U.S.
To survive a Rule 12(b)(6) motion to dismiss, the plaintiff          148, 157 (2008).
must plead “enough facts to state a claim to relief that is
                                                                     Defendants contend that the Complaint violates basic
plausible on its face.”    Bell Atl. Corp. v. Twombly, 550
                                                                     pleading rules by “puzzle pleading.” Defendants also
U.S. 544, 570 (2007). “A claim has facial plausibility when
                                                                     challenge the adequacy of the Complaint's allegations
the plaintiff pleads factual content that allows the court to
                                                                     regarding material misrepresentations or omissions, scienter,
draw the reasonable inference that the defendant is liable for
                                                                     and loss causation.
the misconduct alleged.”      Ashcroft v. Iqbal, 556 U.S. 662,
678 (2009).
                                                                     I. Puzzle Pleading
In addition, when alleging claims under Section 10(b) of              *6 “Puzzle pleading” requires a court to “wade through a
the Exchange Act and Rule 10b-5 promulgated thereunder, a            complaint and pick out properly pleaded segments.” Owens
plaintiff must:                                                      v. Jastrow, 789 F.3d 529, 537 (5th Cir. 2015); see also In re
                                                                     Autodesk, Inc. Sec. Litig., 132 F. Supp. 2d 833, 841 (N.D. Cal.
  (1) specify each statement alleged to have been misleading,        2000) (declining to solve the puzzle of “try[ing] to figure out
     i.e. contended to be fraudulent;                                exactly what the misleading statements are, and to match the
                                                                     statements up with the reasons they are false or misleading”).
  (2) identify the speaker;
                                                                     According to Defendants, the Complaint is a “paradigm
  (3) state when and where the statement was made;
                                                                     example” of puzzle pleading and should be dismissed on this


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ground alone. (Dkt. # 81 at 12– 13.) Defendants assert that          Defendants assert that Plaintiffs' arguments about Defendants'
the Complaint is improperly pleaded because Plaintiffs did           failure to disclose “run[ ] contrary to the well-settled principle
not tie each of the alleged misstatements to the reason or           that there is no duty to ‘confess’ to unadjudicated allegations
reasons each statement is false or misleading, “leaving the          of wrongdoing.” (Id. at 2.) Plaintiffs respond that they
reader to decipher which of the 15 purported reasons apply to        do not allege “an independent duty to disclose uncharged
each of the 47 alleged misstatements.” (Id.) Plaintiffs respond      criminal behavior,” but that Defendants' statements were
that the Complaint contains a dedicated section in which             false and misleading because Defendants omitted important
Plaintiffs set out each of the alleged false and misleading          information when making public statements. (Dkt. # 86 at 17.)
statements, with the relevant portions bolded and italicized,
followed by the corresponding adverse facts. (Dkt. # 86 at 3.)        *7 Along with pleading “the type of facts omitted, the
Plaintiffs argue that the Motion to Dismiss itself demonstrates      place in which the omissions should have appeared, and the
that Defendants were able to identify the statements and the         way in which the omitted facts made the representations
reasons for their alleged falsity. (Id.)
                                                                     misleading,”     Carroll v. Fort James Corp., 470 F.3d 1171,
                                                                     1174 (5th Cir. 2006), a plaintiff must establish “a substantial
The Court does not find this Complaint to be a paradigm
                                                                     likelihood” that the disclosure of the omitted facts would
example of puzzle pleading. The reader can logically connect
                                                                     have been viewed by the reasonable investor as having
the bolded and italicized statements to the reasons Plaintiffs
                                                                     significantly altered the “total mix” of information made
allege they are false or misleading. See Rougier v. Applied
Optoelectronics, Inc, No. 4:17-CV-2399, 2019 WL 6111516,             available.”    Basic Inc. v. Levinson, 485 U.S. 224, 231–
at *8 (S.D. Tex. Mar. 27, 2019) (declining to dismiss a              32 (1988). “[D]etermining materiality is a ‘fact-specific
complaint because the plaintiff's explanations for the falsity       inquiry that requires consideration of the source, content,
of the statements logically corresponded with each alleged           and context’ of the allegedly omitted information.” Rougier,

misstatement); In re Concho Res. Inc., No. 4:21-CV-2473,             2019 WL 6111516, at *8 (citing      Matrixx Initiatives, Inc.
2023 WL 2297425, at *17 (S.D. Tex. Feb. 23, 2023) (same);            v. Siracusano, 563 U.S. 27, 43 (2011)).

cf.    Primo v. Pac. Biosciences of California, Inc., 940 F.
                                                                     Although “corporate officials need not present an overly
Supp. 2d 1105, 1112 (N.D. Cal. 2013) (noting that while
                                                                     gloomy or cautious picture of the company's current
the plaintiffs made “some attempt to connect the alleged
                                                                     performance,” its public statements must still be “reasonably
omissions to particular statements,” they did so “in a general
manner that require[d] the reader to guess what particular           consistent with reasonably available data.”      Abrams v.
statements they mean or how those statements were rendered           Baker Hughes Inc., 292 F.3d 424, 433 (5th Cir. 2002) (citing
false and misleading”). Because the Court is able to discern            Novak v. Kasaks, 216 F.3d 300, 309 (2d Cir. 2000)). “[A]
which reasons apply to each allegedly false or misleading            duty to speak the full truth arises when a defendant undertakes
statement without undue effort, the Court will not dismiss
the Complaint on the ground that it engages in impermissible         a duty to say anything.”    In re Concho Res. Inc., 2023 WL
puzzle pleading.                                                     2297425, at *17 (quoting Oklahoma Firefighters Pension &
                                                                     Ret. Sys. v. Six Flags Ent. Corp., 58 F.4th 195, 217 (5th Cir.
                                                                     2023)).
II. Actionable Misstatements or Omissions
Defendants argue Plaintiffs have failed to adequately plead          Defendants had a duty to disclose certain facts relating to its
an actionable misstatement or omission. (Dkt. # 81 at 13.)           clinical trial results. According to Plaintiffs, Defendants failed
Defendants contend that the misstatements or omissions               to disclose that:
detailed in the Complaint are not actionable either because
there is no duty to disclose, because they are not supported           • The Phase 2a study and 2b reanalysis “suffered from
by particularized allegations of fact, or because they are true.         highly anomalous baseline measurements.” (Dkt. # 86 at
(Id. at 2, 13, 15, 19.)                                                  19.)

                                                                       • Defendants “intentionally removed unfavorable data”
  A. Disclosure Obligations                                              from Cassava's presentation of the Phase 2b results. (Id.)




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                                                                     record that FCPA violations occurred is [the company's]
  • The Phase 2b reanalysis was conducted by Dr. Wang's lab.         disclosure of subpoena requests” by the DOJ and SEC).
     (Id. at 20.)
                                                                      *8 The materiality of Cassava's alleged omissions regarding
  • Quanterix did not interpret the test results or prepare the
                                                                     its research is supported by the drops in stock price that
     data for the Phase 2b reanalysis. (Id. at 21.)
                                                                     accompanied each revelation of an alleged omission or
  • The missing data point from the AAIC poster reflected a          misrepresentation.   Frater, 996 F. Supp. 2d at 347. The
     150% increase rather than a 38% increase. (Id.)                 Court concludes Plaintiffs have sufficiently pled actionable
                                                                     misstatements and omissions by Defendants to survive a
A reasonable investor could certainly have viewed these              motion to dismiss.
omissions— particularly the omission related to the
involvement of Dr. Wang's lab—as significantly altering
                                                                        B. Particularized Allegations
the total mix of information available. See           Frater v.
                                                                     Defendants argue that because the allegations of data
Hemispherx Biopharma, Inc., 996 F. Supp. 2d 335, 346
                                                                     manipulation and other misconduct have never been adopted
(E.D. Pa. 2014) (concluding that a “factfinder could easily
                                                                     or advanced by any entity or person with personal knowledge
determine that announcements that [the company's] studies
                                                                     of the underlying facts, the Complaint does not meet the
demonstrated [a drug's] effectiveness implied those studies'
                                                                     PSLRA's requirement that the Complaint be supported by
empirical validity and analytic soundness”); The MJK Fam.
LLC v. Corp. Eagle Mgmt. Servs., Inc., No. CIV.09-12613,             particularized allegations of fact. 7 (Dkt. # 81 at 15.)
2009 WL 4506418, at *8 (E.D. Mich. Nov. 30, 2009)
(collecting cases holding that undisclosed conflicts of interest     However, the “the PSLRA acknowledges that complaints will
are material).                                                       often have to be pleaded based on acquired information.”
                                                                     Bond v. Clover Health Invs., Corp., 587 F. Supp. 3d 641,
Plaintiffs further claim that Defendants touted the research by      667 (M.D. Tenn. 2022). “[T]he particularity rules should
Cassava that supported simufilam but failed to disclose that         not be interpreted to require the pleading of facts which,
this research was “rife with manipulated data.” (Dkt. # 86 at        because of the lack of discovery, are in defendants' exclusive
14.) Taking Plaintiffs' allegations as true—as the Court must        possession.” In re Fleming Cos. Inc. Sec. & Derivative Litig.,
do at this stage—the Court finds that, if ultimately proven, the     No. CIVA503MD1530TJW, 2004 WL 5278716, at *6 (E.D.
statements regarding manipulated or falsified data would be          Tex. June 16, 2004) (citing       ABC Arbitrage, 291 F.3d at
actionable.                                                          348).

The Court agrees with Defendants that “an investigation              Other courts have found it permissible for plaintiffs to rely on
is not a violation.” See In re Key Energy Servs., Inc.               short-seller reports to allege falsity at the motion to dismiss
Sec. Litig., 166 F. Supp. 3d 822, 863 (S.D. Tex. 2016)
                                                                     stage. Bond, 587 F. Supp. 3d at 668 (citing   McIntire
(collecting cases holding same). But the initiation of
                                                                     v. China MediaExpress Holdings, Inc., 927 F. Supp. 2d
government investigations into Cassava is not the only
evidence relied on by Plaintiffs to support their claims of          105 (S.D.N.Y. 2013);         Snellink v. Gulf Res., Inc., 870 F.
extensive data manipulation. The Complaint details specific          Supp. 2d 930, 939 (C.D. Cal. 2012). This is because the
instances of allegedly intentional manipulation and supports         reliability of short-seller reports—here, the Citizen Petitions
these allegations with “photographic evidence.” In addition,         —is a question of fact that the Court cannot resolve at this
Plaintiffs describe the response from scientific journals
                                                                     time. See    McIntire, 927 F. Supp. 2d at 123–24 (collecting
(which included retractions and expressions of concern) and
                                                                     cases).
independent experts who reviewed Cassava's research. Cf.
In re KBR, Inc. Sec. Litig., No. CV H-17-1375, 2018 WL
4208681, at *3 (S.D. Tex. Aug. 31, 2018) (“Plaintiffs simply            C. Literal Truth
assumed the worst based on the fact that certain governmental        Finally, Defendants argue that several statements are not
agencies have announced the opening of investigations ....”);        actionable because they are true. (Dkt. # 81 at 19, 20.) But
Parker v. Hyperdynamics Corp., 126 F. Supp. 3d 830, 843              it is well-settled that “[t]he ability of a statement to provide
(S.D. Tex. 2015) (“The only authoritative evidence in the


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accurate information, rather than the statement's literal truth,      2017), aff'd sub nom. Alaska Elec. Pension Fund v. Flotek
is the benchmark by which statements to the market are                Indus., Inc., 915 F.3d 975 (5th Cir. 2019). Plaintiffs have
measured in securities fraud cases.” KB Partners I, L.P. v.           made several allegations regarding selective reporting by
Pain Therapeutics, Inc., No. A-11-CA-1034-SS, 2015 WL                 Defendants, including that Defendants did not divulge that
                                                                      the “outside lab” for the reanalysis was in fact Dr. Wang's
7760201, at *9 (W.D. Tex. Dec. 1, 2015) (citing  Lormand
                                                                      lab (despite disclosing Dr. Wang's involvement with the 2a
v. U.S. Unwired, Inc., 565 F.3d 228, 248 (5th Cir. 2009));
                                                                      trial results), and that the Phase 2b “final results” contained
see also    Omnicare, Inc. v. Laborers Dist. Council Constr.          anomalous data.
Indus. Pension Fund, 575 U.S. 175, 192 (2015) (“[L]iteral
accuracy is not enough: An issuer must as well desist from            Scienter can also be “supported by the reaction” of the
misleading investors by saying one thing and holding back             scientific community “to the disclosure of Defendants'
another.”) For example, while it may be literally true that Dr.
                                                                      manipulation of data.”        In re Fibrogen, Inc., No. 21-
Wang's lab is an “outside lab,” a factfinder might find this
                                                                      CV-02623-EMC, 2022 WL 2793032, at *22 (N.D. Cal. July
statement misleading given Dr. Wang's ties to Cassava. See
                                                                      15, 2022). Plaintiffs allege that the main reaction of ten
Bond, 587 F. Supp. 3d at 672 (“[T]here is a point at which a
                                                                      prominent scientists to Cassava's research papers was “Oh,
speaker's use of elision and obfuscation becomes actionable,
                                                                      my God, how could they get away with this?” (Dkt. # 68 ¶
even if he has in his back pocket an anticipated defense that
                                                                      123.) According to one scientist, “numerous top Alzheimer's
nothing he said was technically untrue.”)
                                                                      experts, plus forensic image specialists ... were stunned by the
                                                                      apparent extreme manipulations.” (Id. ¶ 127.) An author of
III. Scienter                                                         the Citizen Petition claimed that “[i]n my thirty-five years of
 *9 The PSLRA requires that a complaint in a securities case          research, I've never seen such a long trail of apparently clear
support allegations of scienter with “facts giving rise to a          misrepresented scientific data.” (Id. ¶ 128.) When The New
strong inference that the defendant acted with the required           York Times “contacted nine prominent experts for comment
state of mind.” Six Flags Ent. Corp., 58 F.4th at 214 (citing         about the scientific underpinnings of Cassava's trials,” all the
15 U.S.C. § 78u-4(b)(2)(A)). “A complaint adequately pleads           experts said that they “did not trust the company's methods,
scienter by alleging facts that support the defendant acted           results or even the premise underlying the drug's supposed
with an ‘intent to deceive, manipulate, or defraud or severe          effectiveness.” (Id. ¶ 425.)

recklessness.’ ” Id. (citing   Lormand, 565 F.3d at 251).
                                                                      Further, when confronted with the Citizen Petition, Cassava
                                                                      issued a statement almost immediately, calling the Petition's
When evaluating scienter, a court must (1) take the factual
                                                                      claims “false and misleading” and declaring that Cassava
allegations as true, (2) “consider the complaint's allegations
                                                                      “stands behind its science, its scientists and its scientific
in its entirety,” and (3) “take into account plausible inferences
                                                                      collaborators.” Such denials can indicate that a defendant was
opposing as well as supporting a strong inference of
                                                                      “either sufficiently familiar with the facts, or severely reckless
scienter.” Id. The inference of scienter must be “cogent and
                                                                      in not being familiar, to be in a position to issue a denial.”
compelling.” Id. (citing     Tellabs, Inc. v. Makor Issues &
                                                                         In re ArthroCare Corp. Sec. Litig., 726 F. Supp. 2d 696,
Rts., Ltd., 551 U.S. 308, 314 (2007)).
                                                                      711–12 (W.D. Tex. 2010).

Defendants assert that Plaintiffs have not alleged specific
facts that give rise to a strong inference of scienter. (Dkt. #          B. Motive
81 at 23.) Defendants also argue that Plaintiffs' allegations         Contrary to Defendants' assertions, the allegations here
regarding Defendants' motives do not support an inference             suggest that Defendants had motive to inflate Cassava's
of scienter and that Plaintiffs rely on generalized and group         stock price. Weeks before releasing the “final results” of
pleading. (Id. at 24, 27.)                                            Phase 2b, Cassava's Board instituted a new cash bonus plan
                                                                      tying executive bonuses to short-term increases in Cassava's
                                                                      stock price. Plaintiffs point out that, although Defendants
  A. Specific Facts
                                                                      never ultimately received the hundreds of millions of dollars
Selective reporting supports an inference of scienter. Ho v.
                                                                      in bonus payments provided for by the plan, Defendants
Flotek Indus., Inc., 248 F. Supp. 3d 847, 852 (S.D. Tex.
                                                                      “obviously did not orchestrate the unforeseen filing of the


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Citizen Petition” and the bonus plan nonetheless “allowed             The “core operations” theory of scienter provides that “special
Defendants to profit regardless of the long-term value of             circumstances, taken together with an officer's position,
Cassava's stock price.” (Dkt. # 86 at 30.) Barbier allegedly          may support a strong inference of scienter.” Six Flags Ent.
earned nearly $27 million in salary, bonuses, and stock option        Corp., 58 F.4th at 219 (emphasis added). Relevant factors
grants as CEO of Pain Therapeutics even though the stock              may include: (1) the size of the company; (2) whether the
price of Pain Therapeutics ultimately lost 98% of its value.          transactions are “critical to the company's continued vitality”;
(Dkt. # 68 ¶ 76.)                                                     (3) whether the misrepresented information “would have
                                                                      been readily apparent to the speaker”; and (4) whether “the
 *10 Defendants have not explained the timing of the                  defendant's statements were internally inconsistent with one
cash bonus plan or the reason for its structure. Although
                                                                      another.” Id. at 219 (quoting Loc. 731 I.B. of T. Excavators
“incentive compensation” typically cannot be the basis on
                                                                      & Pavers Pension Tr. Fund v. Diodes, Inc., 810 F.3d 951, 959
which an allegation of fraud is predicated,”    Tuchman v.            (5th Cir. 2016)).
DSC Commc'ns Corp., 14 F.3d 1061, 1068 (5th Cir. 1994), the
circumstances and structure of this cash bonus plan support           Barbier served as Cassava's Chief Executive Officer; Dr.
an inference of scienter. See Six Flags Ent. Corp., 58 F.4th          Burns as Senior Vice President of Neuroscience; Dr.
                                                                      Friedmann as Chief Operating Officer and Chief Medical
at 215 (quoting     Mun. Employees' Ret. Sys. of Michigan
                                                                      Officer; and Schoen as Chief Financial Officer. (Dkt. # 68 ¶¶
v. Pier 1 Imports, Inc., 935 F.3d 424, 431 (5th Cir. 2019)
                                                                      59–68.)
(“[P]erformance-based compensation can establish motive in
circumstances ‘when the potential bonus is extremely high
                                                                      The first two circumstances are clearly present. Cassava is a
and other allegations support an inference of scienter.’ ”)
                                                                      small company, with only eight or nine employees in 2019 and
                                                                      eleven in 2020. (Id. ¶ 440.) Simufilam is Cassava's primary
In addition, by pumping up Cassava's stock price, Defendants
                                                                      drug candidate, and the company has no other revenue. (Id.)
were able to raise much-needed working capital for the future
development of simufilam. This can be probative of scienter.
                                                                      As for the third circumstance, Plaintiffs note that Barbier,
See Skiadas v. Acer Therapeutics Inc., No. 1:19-CV-6137-              Dr. Burns, and Dr. Friedmann authored Cassava's 2020
GHW, 2020 WL 3268495, at *11 (S.D.N.Y. June 16, 2020)                 paper on the (allegedly manipulated) 2a study results. (Dkt.
(noting that when a company needs to fundraise to survive,            # 86 at 24.) Dr. Burns, who is married to Barbier, co-
an executive “has a stronger incentive to bet the farm in a           authored the research papers and Cassava presentations
reckless gamble because the alternative is certain failure”);         alleged to contain manipulated data. (Dkt. # 68 ¶ 61.)
    In re Portal Software, Inc. Sec. Litig., No. C-03-5138            Barbier, Dr. Burns, and Dr. Friedmann were members of
VRW, 2005 WL 1910923, at *12 (N.D. Cal. Aug. 10, 2005)                Cassava's product development and management teams.
(the contention that the defendants “were motivated to inflate        (Id. ¶¶ 59– 64.) Each of these Defendants had important
artificially [the company's] stock price in the short term in         responsibilities at Cassava: “global responsibilities for
order to conduct a successful secondary public offering and           the scientific direction, management, operations, strategy,
obtain much-needed operating capital does allege facts of a           and financing of the Company” (Barbier), “monitor[ing]
palpable motive for fraud”).                                          the proof-of-concept research, lead selection and efficacy
                                                                      experiments for [simufilam] and over[seeing] IND-enabling
                                                                      studies, chronic toxicity studies, and first-in-human and first-
   C. Generalized or Group Pleading                                   in-patient clinical trials” (Dr. Burns), and “over[seeing] the
The PSLRA requires that plaintiffs “distinguish among those           clinical development of simufilam” (Dr. Friedmann).
they sue and enlighten each defendant as to his or her
particular part in the alleged fraud. As such, corporate officers      *11 The presence of these circumstances contributes to an
may not be held responsible for unattributed corporate                inference of scienter as to these three Defendants with respect
                                                                      to the alleged material misstatements regarding Cassava's
statements solely on the basis of their titles.”    Southland
Sec. Corp. v. INSpire Ins. Sols., Inc., 365 F.3d 353, 365 (5th        research. See also    Frater, 996 F. Supp. 2d at 350 (“The
Cir. 2004).                                                           defendants are sophisticated scientists running a regulated,
                                                                      publicly traded corporation ....”)



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                                                                         the grounds upon which it rests.’ ” Pub. Emps. Ret. Sys. of
The scienter allegations regarding Schoen are weaker.
                                                                         Mississippi, Puerto Rico Tchrs. Ret. Sys. v. Amedisys, Inc.,
Schoen, as CFO, does not appear to have been directly
involved with Cassava's scientific research. He is not alleged           769 F.3d 313, 320 (5th Cir. 2014) (citing      Dura Pharms.,
to have authored the journal articles or posters in question.            Inc. v. Broudo, 544 U.S. 336, 346 (2005)). The complaint
And Defendants are correct that “a basis for scienter beyond             must include “sufficient allegations the misrepresentations
signatures on SEC filings is required.” (Dkt. # 90 at 11 n.17)           actually caused plaintiffs' loss—it is insufficient to simply
(citing Izadjoo v. Helix Energy Sols. Grp., Inc., 237 F. Supp.           allege the misrepresentation ‘touches upon’ a later economic
3d 492, 520 (S.D. Tex. 2017)).                                           loss.”     In re ArthroCare Corp. Sec. Litig., 726 F. Supp.
                                                                         2d at 725–26; see also Congregation of Ezra Sholom v.
However, Plaintiffs have alleged facts supporting an inference           Blockbuster, Inc., 504 F. Supp. 2d 151, 167 (N.D. Tex.
that, at least as to Cassava's failure to disclose that the “outside     2007) (“To allege loss causation adequately, Plaintiffs must
lab” conducting the reanalysis for the Phase 2b study was                explicitly allege a corrective disclosure—i.e., a statement that
Dr. Wang's lab, Schoen possessed the requisite scienter. On              corrects a previous misrepresentation or discloses a prior
September 14, 2020, the day that Cassava announced its                   omission—that, when disclosed, negatively affected the value
Phase 2b “final results,” a Form 8-K—signed by Schoen and                of the security.”).
attaching Cassava's September 14, 2020 press release and
presentation regarding the results—was filed with the SEC.                *12 “[T]he truth can be gradually perceived in the
(Dkt. # 68 ¶ 268.) The misleading nature of certain statements           marketplace through a series of parties disclosures”—for
in the press release—“[a]ll CSF samples were sent to outside             example, the market may learn of possible fraud from
labs for bioanalysis” and “[a]n academic lab generated                   newspapers and journals, analysts' questioning financial
final results”—would have been readily apparent given the
importance of these results to Cassava, even to someone                  results, and whistleblowers.      Amedisys, 769 F.3d at 322
without a science background. Schoen's participation in the              (citing     In re Enron Corp. Sec., Derivative & ERISA
Company's cash bonus plan, though not sufficient on its own,             Litig., No. MDL–1446, 2005 WL 3504860, at *16 (S.D. Tex.
also supports an inference of scienter. (Id. ¶ 68.)                      2005)). Plaintiffs may thus rely on sources like the Citizen
                                                                         Petitions, news articles, Quanterix's press release, and Dr.
Although it is a closer call, the Court concludes that the               Bik's postings.
necessary strong inference of scienter has been adequately
pleaded as to Schoen.                                                    Plaintiffs have alleged that immediately following each
                                                                         partial disclosure, Cassava's stock price dropped. Viewed
In conclusion, accepting the factual allegations as true,                collectively, these partial disclosures “gradually informed the
and considering inferences supporting as well as opposing                market of the relevant truth” regarding Cassava's clinical
scienter, the Court finds that Plaintiffs have adequately                trial results and published research, “and, thus, collectively
alleged scienter as to each Defendant.                                   constitute a corrective disclosure that adequately pleads
                                                                         loss causation.”     Parmelee v. Santander Consumer USA
IV. Loss Causation                                                       Holdings, Inc., No. 3:16-CV-783-K, 2018 WL 276338, at *6
Finally, Defendants contend that Plaintiffs have not                     (N.D. Tex. Jan. 3, 2018).
established loss causation. (Dkt. # 81 at 29.) Defendants state
that none of the corrective disclosures identified by Plaintiffs
                                                                         V. Control Person Liability
reveal a “truth” that was misstated or omitted— rather, most
                                                                         Individual Defendants argue that the § 20(a) control person
of the disclosures contain “uncharged or unadjudicated public
                                                                         liability claim must be dismissed because Plaintiffs failed
accusations of wrongdoing.” (Id. at 31.)
                                                                         to allege a primary claim under § 10(b) and Rule 10b-5.
                                                                         However, Plaintiffs have adequately alleged the primary
For a complaint to adequately plead loss causation, “it need
                                                                         claim as to Barbier, Schoen, Dr. Burns, and Dr. Friedmann.
only set forth ‘a short and plain statement of the claim
                                                                         Plaintiffs' § 20(a) claim is therefore not subject to dismissal
showing that the pleader is entitled to relief’ and provide the
defendant with ‘fair notice of what the plaintiff's claim is and         on this basis. See     Georgia Firefighters' Pension Fund v.



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                                                                More than ninety days have passed since Defendants notified
Anadarko Petroleum Corp., 514 F. Supp. 3d 942, 957 (S.D.
Tex. 2021).                                                     the Court and parties of the death of Dr. Friedmann. Because
                                                                no motion for substitution has been filed, Plaintiffs' claims
                                                                against Dr. Friedmann must be dismissed. See         Ray v.
VI. Rule 25a Dismissal                                          Koester, 85 F. App'x 983, 985 (5th Cir. 2004) (affirming
On January 27, 2023, Defendants filed a Suggestion of Death     dismissal following the plaintiff's failure to timely file a
of Defendant Nadav Friedmann. (Dkt. # 91). The Federal          motion to substitute).
Rules of Civil Procedure provide:


                                                                                       CONCLUSION
             If a party dies and the claim is not
             extinguished, the court may order                  For the reasons stated above, Defendants' Motion to Dismiss
             substitution of the proper party. A                the Complaint (Dkt. # 81) is GRANTED IN PART and
             motion for substitution may be made                DENIED IN PART. Plaintiffs' claims against Defendant
             by any party or by the decedent's                  Nadav Friedmann are DISMISSED WITH PREJUDICE
             successor or representative. If the                pursuant to Federal Rule of Civil Procedure 25(a)(1). The
             motion is not made within 90 days                  Motion to Dismiss Plaintiffs' claims as to all other Defendants
             after service of a statement noting the            is DENIED.
             death, the action by or against the
             decedent must be dismissed.                        IT IS SO ORDERED.


Fed. R. Civ. P. 25(a)(1).                                       All Citations

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                                                       Footnotes


1      On January 27, 2023, a Suggestion of Death of Defendant Nadav Friedmann was filed. (Dkt. # 91.)

2      Dr. Wang is not a defendant in this case.

3      Plaintiffs note that a previous presentation by Cassava about the results of the simufilam Phase 2a study
       did disclose that Dr. Wang was a Cassava consultant and that Dr. Wang and others at CUNY conducted the
       biomarker analysis. (Id. ¶¶ 259, 260.)

4      Dr. Wang was apparently also a participant in an unspecified Cassava bonus plan. (Id. ¶ 104.)

5      Emails between the editor-in-chief of the Journal of Neuroscience and Dr. Wang from November 3, 2021,
       reflect that Dr. Wang provided a PowerPoint “containing the requested uncropped blots”—rather than the
       original blots—because it was “more difficult than [Dr. Wang] anticipated to find the blots.” (Id. ¶ 355.) The
       Journal of Neuroscience later changed its editorial note into an Expression of Concern. (Id. ¶¶ 33, 357.)

6      One journal, Neuroscience, stated in an editorial note on December 20, 2021, that it found “no evidence” of
       manipulation in a 2005 paper by Drs. Burns and Wang. (Id. ¶ 387.) The journal reported that it “asked the
       authors for images of the original, uncropped Western blots from this study” and “[a]fter careful examination
       of these original material ... found no evidence of manipulation of the Western blot data or other figures of




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       this publication.” (Id.) But Drs. Wang and Burns allegedly did not provide the original, uncropped Western
       blots to Neuroscience. (Id. ¶¶ 389, 396.)

7      Defendants also argue that the PSLRA does not permit opinions to substitute for facts. (Id. at 13.) Plaintiffs
       respond that “detailed facts and supporting documentation (including photographic evidence) pled in the
       Complaint show specific and widespread instances of data manipulation based on first-hand analysis of
       Cassava's own data.” (Dkt. # 86 at 15.) Upon reviewing the Complaint, the Court agrees that Plaintiffs have
       included sufficient factual allegations to support the claims of data manipulation.



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                        TAB No. 8




                                                                 Pl. Appx. B-082
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                                                                       Statements Attributed to Defendants” (“Motion to Exclude
                                                                       Plaintiffs' Experts' Opinions as to Truth or Falsity”) [Doc.
      KeyCite Yellow Flag - Negative Treatment                         No. 151]; Defendants' “Motion to Exclude Opinions of
Distinguished by In re Valeant Pharmaceuticals International, Inc.
                                                                       Plaintiffs' Expert, Dr. Marion Kainer” (“Motion to Exclude
Securities Litigation, D.N.J., May 22, 2023
                                                                       Kainer”) [Doc. Nos. 152 and 163]; Defendants' “Motion
                    2005 WL 8155579                                    to Exclude Opinions of Plaintiffs' Experts Dr. Doppelt and
      Only the Westlaw citation is currently available.                Dr. Eastlund” (“Motion to Exclude Doppelt and Eastlund”)
               United States District Court,                           [Doc. No. 153]; Plaintiffs' “Motion to Exclude Opinions of
              N.D. Georgia, Atlanta Division.                          Defendants' Expert Lance D. Trainor, M.D.” (“Motion to
                                                                       Exclude Trainor”) [Doc. Nos. 181 and 182]; Defendants'
   IN RE CRYOLIFE, INC. SECURITIES LITIGATION                          “Motion to Exclude Opinions of Plaintiffs' Expert Candace
                                                                       L. Preston” (“Motion to Exclude Preston”) [Doc. No. 184];
       CIVIL ACTION FILE NO. 1:02-CV-1868-BBM                          and Plaintiffs' “Motion to Exclude Opinions of Defendants'
                          |                                            Expert, James L. Benson” (“Motion to Exclude Benson”)
                  Signed 06/17/2005                                    [Doc. No. 230].

                                                                       Finally, the court is presented with several administrative
                            ORDER                                      motions, including Defendants' “Motion to Amend the
                                                                       Scheduling Order Pending Resolution of Defendants'
BEVERLY B. MARTIN, UNITED STATES DISTRICT                              Motions to Exclude Plaintiffs' Experts' Opinions [and]
JUDGE                                                                  Request for Scheduling Conference” (“Motion to Amend

 *1 This securities fraud action is currently before the               the Scheduling Order”) [Doc. No. 149]; 2 the parties'
court on a bevy of motions filed by the parties. Both                  “Joint Motion to Extend Page Limits for Summary
the consolidated class action plaintiffs (“Plaintiffs”) and            Judgment Briefing” [Doc. No. 172]; 3 Defendants' Motion
defendants CryoLife, Inc. (“CryoLife”), Steven G. Anderson             for “Oral Argument on Their Motion for Summary
(“Anderson”), D. Ashley Lee (“Lee”), James C. Vander                   Judgment” (“Motion for Oral Argument”) [Doc. No. 195]; 4
Wyk (“Vander Wyk”), and Albert E. Heacox (“Heacox”)                    Defendants' “Motion to File Under Seal [Volume 4 of
(collectively, “Defendants”) have moved for summary                    Their Exhibits In Support of Their Motion for Summary
judgment. In addition to Defendants' Motion for Summary
                                                                       Judgment]” [Doc. No. 196]; 5 Plaintiffs' “Motion for Leave
Judgment [Doc. No. 194] and Plaintiffs' Motion for Partial
                                                                       to File Supplemental Brief to Address Intervening Supreme
Summary Judgment [Doc. No. 197], the court is presented
with eighteen other motions that purport to address a variety          Court Authority” [Doc. No. 231]; 6 and Plaintiffs' “Motion
of matters.                                                            for Leave to File Supplemental Brief to Address Intervening
                                                                       Eleventh Circuit Authority” [Doc. No. 232]. 7
Specifically, Plaintiffs have filed two discovery motions,
including a “Motion for Leave to Subpoena Documents
and Testimony From a Non-Party Law Firm and Motion to                  I. Factual and Procedural Background
Compel Documents from Defendants All Relating To An                     *2 This is a class action lawsuit against CryoLife and its four
Advice of Counsel Defense” (“Advice of Counsel Motion                  principal officers (Anderson, Lee, Vander Wyk, and Heacox)
to Compel”) [Doc. No. 135] and a “Motion to Compel                     for alleged violations of the Securities Exchange Act of
Documents From Defendants' Experts Dr. Nolte and Dr.                   1934 (“Exchange Act”). At all times pertinent, Anderson was
Trainor” (“Motion to Compel Documents from Experts”)                   CryoLife's President, Chief Executive Officer, and Chairman;
                                                                       Lee was CryoLife's Vice President and Chief Financial
[Doc. Nos. 165 and 168]. 1 The parties have also filed several
                                                                       Officer; Vander Wyk was CryoLife's Vice President of
motions pertaining to the admissibility of expert witness
                                                                       Regulatory Affairs and Quality Assurance; and Heacox was
testimony, including Defendants' “Motion for an Evidentiary
                                                                       CyroLife's Senior Vice President for Laboratory Operations.
Daubert Hearing” (“Motion for Daubert Hearing”) [Doc.
No. 150]; Defendants' “Motion to Exclude Plaintiffs' Experts'
                                                                       CryoLife processes, “cryopreserves,” and distributes viable
Opinions as to the Truth or Falsity of Certain Public
                                                                       human soft tissue for use in cardiovascular, vascular,



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and orthopedic surgical transplants. CryoLife's stock is           that “discovery could have been concluded much more
publicly traded on the New York Stock Exchange. Plaintiffs         expeditiously than the schedule proposed by the parties.”
allege that Defendants intentionally, or at least with             Order of April 13, 2004 at 6. Fact discovery ultimately closed
severe recklessness, deceived investors by concealing and          on August 28, 2004. The court extended expert discovery
misrepresenting various facts about CryoLife's operations.         through February 9, 2005 and instructed the parties to file
The specific misrepresentations alleged by Plaintiffs are          their summary judgment motions on or before March 11,
discussed infra. Generally, Plaintiffs allege that Defendants      2005. Order of October 14, 2004 at 2. In its October 14
misled investors throughout 2001 and 2002 by concealing            Scheduling Order, the court stated that “[t]hese deadlines are
the truth about CryoLife's unsafe tissue processing practices;     set in stone, and shall not be extended.” Id. at 3 (emphasis
regulatory violations; lack of cooperation with Food and Drug      added).
Administration (“FDA”) and Centers for Disease Control and
Prevention (“CDC”) investigations; and contaminated tissue          *3 Defendants filed their Motion for Summary Judgment
inventory.                                                         on March 11, 2005. Generally speaking, Defendants argue
                                                                   that (1) Plaintiffs are unable to point to any admissible
The FDA and CDC focused attention on CryoLife in                   record evidence showing that the Defendants' alleged
the aftermath of the death of Brian Lykins (“Lykins”) in           misrepresentations were in fact false; (2) even if there are
November 2001. Lykins was a twenty-three year old male             genuine issues of material fact as to the falsity of Defendants'
who underwent elective knee surgery wherein he received            statements or omissions, Plaintiffs are unable to point to any
human soft tissue provided by CryoLife. As it happened, two        admissible record evidence showing that Defendants made
other patients died from knee surgery in nearby hospitals          those statements or omissions with the requisite state of mind
at around the same time, and accordingly Lykins' death             or scienter; and (3) even if Plaintiffs can establish genuine
was widely publicized. Investigation ultimately revealed           issues of material fact as to falsity and scienter, Plaintiffs
that Lykins died from a clostridium infection arising out          cannot point to any admissible record evidence showing
of his knee surgery. The court takes judicial notice that          that Defendants' statements or omissions proximately caused
“[c]lostridium is a genus of bacteria ... made up of obligate      investors any loss. Plaintiffs, of course, argue that there are
anaerobic or microaerophilic, gram positive, spore-forming,        genuine issues of material fact on the issues of falsity, scienter,
rod-shaped bacilli, with spores of greater diameter than the       and causation.
vegetative cells.” W.B. Saunders, Clostridium (Dictionary),
Merck Source (2002), at http://www.mercksource.com.                Meanwhile, Plaintiffs filed their Motion for Partial Summary
Cultures were subsequently obtained from the CyroLife              Judgment on March 14, 2005. 8 Plaintiffs argue that as a
donor who had supplied Lykins' knee tissue (the “Lykins            matter of law, the record evidence establishes that Defendants,
donor”), and those cultures tested positive for clostridium.       with the requisite scienter, made several materially false
Another recipient of tissue from the Lykins donor developed        statements upon which investors relied and which caused
septic arthritis and a high fever in mid-November 2001,            investors loss. Notably, the great majority of the alleged
symptoms which the parties do not appear to dispute are            misstatements on which Plaintiffs seek summary judgment
consistent with a clostridium infection. Many of the alleged       are not addressed by Defendants' Motion for Summary
misstatements and omissions that are the subject of this           Judgment. According to Defendants, this is because Plaintiffs'
lawsuit, discussed in greater detail infra, arise out of the       Motion for Partial Summary Judgment improperly seeks
aftermath of Lykins' death and the reactions thereto by            summary judgment on various alleged misstatements that
CryoLife, the FDA, and the CDC.                                    Plaintiffs did not plead in the Complaint.

As the court has discussed in earlier Orders, the first            In addition to their summary judgment motions, the parties
complaint in this action was filed almost three years ago,         have filed several motions pertaining to their proffered expert
on July 3, 2002. The Amended Consolidated Class Action             witnesses. Defendants ask the court to exclude the opinions
Complaint (“Complaint”) was filed on January 15, 2003.             of Dr. Marion Kainer (“Kainer”), Dr. Samuel H. Doppelt
Discovery commenced on July 16, 2003, almost two years             (“Doppelt”), and Dr. D. Ted Eastlund (“Eastlund”), as well as
ago. Fact discovery was initially set to expire on June 16,        the opinions of Plaintiffs' damages expert, Candace L. Preston
2004, but it was subsequently extended to August 28, 2004          (“Preston”), under Federal Rule of Evidence 702 (“Rule 702”)
by consent of the parties, in spite of the court's belief
                                                                   and     Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579


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(1993). Defendants have also filed a separate motion wherein         1192, 1196 (11th Cir. 1997). Nevertheless, “[i]f the record
they ask the court to exclude testimony from Kainer, Doppelt,        presents factual issues, the court must not decide them; it
and Eastlund as to the truth or falsity of various statements
                                                                     must deny the motion and proceed to trial.”   Clemons v.
allegedly made by Defendants. Defendants seek a Daubert
                                                                     Dougherty County, 684 F.2d 1365, 1369 (11th Cir. 1982).
hearing on their various motions to exclude Plaintiffs' experts.
Plaintiffs, meanwhile, seek to exclude the opinions of Dr.
Lance D. Trainor (“Trainor”) and the opinions of Defendants'           B. Expert Witnesses
regulatory expert, James S. Benson (“Benson”).                       Federal Rule of Evidence 702 provides:

Finally, Plaintiffs have filed two discovery motions. In
Plaintiffs' first discovery motion, filed October 18, 2004,                      If scientific, technical, or other
Plaintiffs ask the court for leave to subpoena documents                         specialized knowledge will assist the
and testimony from the law firm Arnall Golden Gregory                            [jury] to understand the evidence
regarding advice given to CryoLife concerning the FDA's                          or to determine a fact in issue, a
legal authority to regulate CryoLife's tissue processing                         witness qualified as an expert by
activities. In the same motion, Plaintiffs ask the court to                      knowledge, skill, experience, training,
compel Defendants to produce documents that Plaintiffs                           or education, may testify thereto in the
claim Defendants are improperly withholding on the basis                         form of an opinion or otherwise, if (1)
of attorney-client privilege. Plaintiffs' second discovery                       the testimony is based upon sufficient
motion, filed February 24, 2005, asks the court to compel                        facts or data, (2) the testimony is
Defendants' experts Trainor and Dr. Frederick S. Nolte                           the product of reliable principles and
(“Nolte”) to produce documents that Plaintiffs allege have                       methods, and (3) the witness has
been improperly withheld.                                                        applied the principles and methods
                                                                                 reliably to the facts of the case.
II. Applicable Legal Standards

   A. Summary Judgment                                               Fed. R. Evid. 702. Under Daubert and its progeny, the
 *4 Summary judgment is proper “if ... there is no genuine           court must “act as a gatekeeper to insure that speculative
issue as to any material fact” and “the moving party is entitled
                                                                     and unreliable opinions do not reach the jury.”        McClain
to judgment as a matter of law.” Fed. R. Civ. P. 56(c). In
                                                                     v. Metabolife Int'l, Inc., 401 F.3d 1233, 1237 (11th Cir.
considering a motion for summary judgment, “[t]he evidence
                                                                     2005). This requires the court to undertake “ ‘a preliminary
of the non-movant is to be believed, and all justifiable
                                                                     assessment of whether the reasoning or methodology
inferences are to be drawn in his favor.”        Anderson v.         underlying the testimony is scientifically valid and of whether
Liberty Lobby, Inc., 477 U.S. 242, 255 (1986). “Credibility          that reasoning or methodology properly can be applied to the
determinations, the weighing of the evidence, and the drawing        facts in issue.’ ” Id. (citation omitted). “The most common
of legitimate inferences from the facts are jury functions,          method for fulfilling [the court's gatekeeper] function is a
not those of a judge.” Id. However, the non-movant must              Daubert hearing, although such a process is not specifically
do more than “simply show that there is some metaphysical
                                                                     mandated.”     Goebel v. Denver & Rio Grande W. R.R.,
doubt as to the material facts.”    Matsushita Elec. Indus.          215 F.3d 1083, 1087 (10th Cir. 2000). “ ‘[T]he burden of
Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). “The            establishing qualification, reliability, and helpfulness rests
mere existence of a scintilla of evidence in support of the
                                                                     on the proponent of the expert opinion....’ ”     McClain,
[non-movant's] position will be insufficient; there must be
                                                                     401 F.3d at 1238 (citation omitted). Finally, the court
evidence on which the jury could reasonably find for the
                                                                     notes that it has “considerable leeway” in making reliability
[non-movant].”    Anderson, 477 U.S. at 252. Accordingly,            determinations under Daubert, and that the decision of
the non-movant may not avoid summary judgment with                   whether to admit or exclude an expert witness is within the
evidence that is “merely colorable or is not significantly
                                                                     court's sound discretion.    Kumho Tire Co. v. Carmichael,
probative.”     Raney v. Vinson Guard Serv., Inc., 120 F.3d
                                                                     526 U.S. 137, 152 (1999);      McClain, 401 F.3d at 1238.


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                                                                      should have been filed by September 14, 2004. Thus, at
                                                                      best, Plaintiffs' Motion is over one month tardy. Plaintiffs
   C. Discovery Motions                                               do not explain why Local Rule 37.1(B) does not bar their
Under the Local Rules of this court, “a motion to compel              Motion despite Defendants' argument in this regard; instead,
a disclosure or discovery must be filed within the time               Plaintiffs only assert that they are entitled to the discovery
remaining prior to the close of discovery or, if longer, within       and that granting the discovery will “not extend the schedule
ten (10) days after service of the disclosure or discovery            for expert discovery or dispositive motions.” Accordingly,
response upon which the objection is based.” L.R. 37.1(B),            Plaintiffs' Advice of Counsel Motion to Compel is DENIED.
N.D.Ga. Additionally, “the control of discovery is committed          Additionally, in light of Plaintiffs' apparently callous attitude
to the sound discretion of the trial court.”    Mut. Serv. Ins.       towards the court's deadlines; the court's long struggle to
Co. v. Frit Indus., Inc., 358 F.3d 1312, 1322 (11th Cir. 2004).       make the parties conform to any sort of discovery schedule in
                                                                      this action; the massive number of filings in this case which
                                                                      have required the court's extensive and ongoing attention in
III. Analysis                                                         addition to Plaintiffs' blatantly untimely Motion; and the fact
                                                                      that the court previously warned the parties multiple times to
   A. Discovery Motions
                                                                      be “circumspect[ ] in submitting any future discovery dispute
The court once again notes that fact discovery closed in this
                                                                      to the court,” see Order of April 14, 2004 at 7 n. 4; Order
action on August 28, 2004; that the parties had over one
                                                                      of October 26, 2004 at 3, 6, Plaintiffs are ORDERED to
year of fact discovery despite the court's opinion that fact
                                                                      pay Defendants' reasonable attorney's fees and costs incurred
discovery could have been concluded much more quickly;
                                                                      in responding to Plaintiffs' Advice of Counsel Motion to
and that although the court extended expert discovery through
                                                                      Compel.
February 9, 2005 in its October 14 Scheduling Order, it
did so under the express condition that the new deadline
                                                                      For substantially the same reasons, Plaintiffs' Motion to
was “set in stone, and shall not be extended.” The court
                                                                      Compel Documents from Experts is DENIED as untimely.
additionally notes that its October 14 Scheduling Order
                                                                      According to Plaintiffs' Motion, Defendants' allegedly
bifurcated expert discovery, such that Plaintiffs' initial expert
                                                                      deficient responses to subpoenas were served on December
designations and reports were due to Defendants on or before
                                                                      20 and December 27, 2004. According to Plaintiffs' Motion,
October 11, 2004; 9 Defendants were to depose Plaintiffs'             Plaintiffs realized that the subpoena responses were deficient
experts by November 10, 2004; Defendants' designations                by January 7, 2005 at the latest. Even taking January 7, 2005
and reports for any rebuttal experts were due to Plaintiffs           as the date of “service of the disclosure or discovery response
on or before December 10, 2004; Plaintiffs were to depose
                                                                      upon which the objection is based,” 10 ten days thereafter
Defendants' rebuttal experts by January 10, 2005; and
                                                                      was still within the expert discovery period. Accordingly,
Plaintiffs' designations of rebuttal experts or supplements to
                                                                      Plaintiffs' Motion should have been filed on or before
earlier expert reports were due to Defendants on or before
                                                                      February 9, 2005, see L.R. 37.1(B), N.D. Ga., and it was not
January 25, 2005. Id. at 2. By February 9, 2005, Defendants
                                                                      filed until February 24, 2005. Plaintiffs' Motion to Compel
were to conduct “any remaining expert discovery, including
                                                                      Documents from Experts is thus DENIED. 11
deposing Plaintiffs' rebuttal experts, if any ... deposing
Plaintiffs' affirmative experts regarding their supplemental
reports, if any, and serv[ing] any supplemental rebuttal expert          B. Expert Witnesses
reports.” Id.                                                         Preliminarily, Defendants' Motion for Daubert Hearing is
                                                                      GRANTED. As noted supra, a Daubert hearing is the most
 *5 Plaintiffs' Advice of Counsel Motion to Compel, filed             common way for a district court to fulfill its expert witness
on October 18, 2004, is DENIED as untimely. According                 gatekeeper responsibility, and the court believes that it would
to Plaintiffs' Motion, this discovery dispute arose on August         be helpful in this instance (for both parties' motions to
31, 2004 at the absolute latest. Even if the court were to            exclude). Although Plaintiffs assert that “such a hearing will
take a generous reading of Local Rule 37.1(B) and allow               waste valuable Court, expert, and counsel time, and will delay
Plaintiffs ten days from August 31, 2004 to file their Motion         a trial in this case,” the court cannot imagine that either of
instead of requiring that it have been filed prior to August          the parties can claim with a straight face at this juncture that
28, 2004 (the close of fact discovery), Plaintiffs' Motion still      any particular action by the court might delay this litigation.



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Additionally, the court assures the parties that the Daubert        expert witness; nor does Local Rule 7.1(D) contemplate the
hearing most certainly will not delay the trial of this case.       parties avoiding the page limits on a Daubert motion by
Given the remarkable length to which the schedule of this           filing multiple motions to exclude expert witnesses. See L.R.
litigation has been stretched due to the torrent of filings and     7.1(D), N.D. Ga.; L.R. 26.2(C), N.D. Ga. The court once
the parties' insistence on protracted discovery, the court will     again ADVISES the parties that it does not look kindly
simply not tolerate any further substantial delays. Indeed,         upon attempted end runs around the Local Rules. However,
the parties are ADVISED that the Daubert hearing is hereby          because—as Plaintiffs point out—Defendants' Motion is
scheduled for Tuesday, June 28, 2005 and Wednesday, June            more properly considered as a motion in limine seeking to
29, 2005, the next open dates on the court's calendar.              exclude evidence (as opposed to a motion to exclude an expert
                                                                    witness under Daubert), the court will not reject Defendants'
 *6 Thus, the court will defer a decision on Defendants'            Motion out of hand. Plaintiffs' argument is essentially that
Motion to Exclude Kainer [Doc. No. 152], Defendants'                evidence of the non-pled misstatements is admissible—even
Motion to Exclude Doppelt and Eastlund, Plaintiffs' Motion          if not actionable—to show fraud under Federal Rule of
to Exclude Trainor [Doc. No. 182], Defendants' Motion               Evidence 404(b). The court will defer this core question until
to Exclude Preston, and Plaintiffs' Motion to Exclude               an appropriate time before trial, when the court fully expects
Benson until the Daubert hearing. For purposes of docket            the parties to raise other motions in limine. The court is able
maintenance, Defendants' Motion to Exclude Kainer [Doc.             to take this course of action because, in ruling on the parties'
No. 163] and Plaintiffs' Motion to Exclude Trainor [Doc. No.        motions for summary judgment, the court does not consider
181] are DENIED WITHOUT PREJUDICE to their identical,               Plaintiffs' experts' opinions as to the truth or falsity of the
companion (i.e., non-redacted) motions [Doc. Nos. 152 and           thirty statements that Defendants challenge in their Motion.
182]. 12
                                                                     *7 The court notes that Plaintiffs do not contest Defendants'
The court does not, however, believe that a hearing is              argument that the majority of the thirty statements at issue
required on Defendants' Motion to Exclude Plaintiffs' Experts'      here are not pled in the Complaint. 13 Indeed, Plaintiffs assert
Opinions as to Truth or Falsity. Essentially, Defendants            that they “are not attempting to amend the Complaint,” and
argue therein (1) that Doppelt, Eastlund, and Kainer cannot         that they “will not seek to add new claims at trial based on
offer opinions as to purportedly false statements that were         these statements.” 14 Rather, as discussed, Plaintiffs instead
not pled in the Complaint; (2) that Doppelt, Eastlund, and          argue that evidence of Defendants' similar acts of fraud, and
Kainer cannot offer opinions as to the truth or falsity             Plaintiffs' experts' opinions about those acts of fraud, are
of any statements allegedly made by Defendants (pled in             admissible to prove Defendants' scienter with regard to the
the Complaint or otherwise), because such opinions would            alleged misstatements that are in the Complaint. See Fed. R.
constitute inadmissible conclusions of law and improperly           Evid. 404(b). Again, the court will defer this question as more
invade the province of the jury; and (3) even if Kainer
                                                                    appropriate for a pre-trial motion in limine; 15 however, the
is somehow generally qualified to offer opinions as to the
                                                                    court wishes to make clear that it will not permit Plaintiffs to
truth or falsity of four statements that were pled in the
                                                                    amend their Complaint or to recover on statements not pled
Complaint, that testimony should nevertheless be excluded as
                                                                    in the Complaint. See supra note 14; see also discussion infra
unsupported and unreliable.
                                                                    at Section III(C)(2).

Preliminarily, as noted supra, Defendants filed separate,
                                                                    Additionally, despite its decision to defer the ultimate
individual motions to exclude the expert testimony of
                                                                    question of the admissibility of alleged misstatements not in
Doppelt, Eastlund, and Kainer on Daubert grounds.
                                                                    the Complaint, the court finds it appropriate to now resolve
Defendants nevertheless took the liberty (without the court's
                                                                    the smaller issues raised by Defendants' Motion to Exclude
permission) of filing their Motion to Exclude Plaintiffs'
                                                                    Plaintiffs' Experts' Opinion as to Truth or Falsity. First, the
Experts' Opinions as to Truth or Falsity and raising certain
                                                                    court rejects Defendants' argument that Plaintiffs' experts
Daubert issues therein (specifically, the competency of
                                                                    cannot testify to the truth or falsity of any given statement
Plaintiffs' experts to testify about what constitutes falsity
                                                                    without “ipso facto” rendering an inadmissible conclusion of
under the federal securities laws, as well as the scientific
                                                                    law. The court acknowledges that as a general proposition a
basis for certain of Kainer's opinions). Local Rule 26.2(C)
                                                                    witness “may not testify to the legal implications of conduct.”
does not contemplate more than one Daubert motion per



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                                                                      14, 2001 press release, wherein CryoLife stated: “We are
    Montgomery v. Aetna Cas. & Sur. Co., 898 F.2d 1537,
                                                                      pleased to report that all other recipients [of tissue from the
1541 (11th Cir. 1990). However, “[a]n expert may testify as to
                                                                      Lykins donor] are doing well with no evidence of Clostridium
his opinion on an ultimate issue of fact.” Id. (emphasis added);
see also Fed. R. Evid. 704. Although Defendants are correct           sordellii 20 infection.” Kainer opines that this statement is
as a matter of law that Plaintiffs' experts may not provide           misleading because another recipient of tissue from the
pure legal conclusions, the court finds that Plaintiffs' experts      Lykins donor (the “second patient”) indisputably developed
can opine as to the truth or falsity of statements without            a fever, septic arthritis, and was given antibiotics to combat
providing legal conclusions. For example, Plaintiffs' experts         a possible clostridium infection. Defendants, however, argue
may have specialized or scientific knowledge that would               that Kainer's opinion is based on incomplete data because
assist the jury in evaluating the truth or falsity of Defendants'     Kainer consulted the second patient's medical records to form
alleged statement that “[s]wabbing [donors] ... may produce           her opinion, but the second patient's medical records have not
                                                                      been produced in discovery and are accordingly inadmissible.
false positives which will limit the use of donated tissue.” 16
                                                                      Defendants also argue that Kainer's opinion is based on
The average juror will not know whether such a statement
                                                                      incomplete data because no cultures were ever taken from the
is false or misleading; however, Kainer claims to have
                                                                      second patient, so that there is no laboratory confirmation of
specialized knowledge that allows her to opine that swabbing
                                                                      the alleged clostridium infection. However, Kainer testified in
can help determine the presence of contamination that is not
                                                                      her deposition that her opinion is based both on conversations
susceptible to CryoLife's “antimicrobial cocktail,” 17 and that       with the second patient's treating physician and her review
such contaminants (including clostridium, which Plaintiffs            of the second patient's medical records, and Kainer further
allege was consistently missed by CryoLife's screening                testified that she no longer had copies of the second patient's
techniques) are not considered false positives. If Kainer             medical records in her possession because they were “at
ultimately qualifies as an expert, 18 she would certainly             the CDC.” Although Defendants argue that “Kainer cannot
be permitted to testify as to her opinion of the truth or             rely upon such records” because she “did not produce”
falsity of this and other similar statements, to the extent that      them “despite subpoenas directed to her seeking all such
the statements themselves are admissible. Plaintiffs' experts         information and documents,” the court was presented with
are not seeking to (and will not be permitted to) testify             no motion to compel on the subject, and Kainer complied
as to whether Defendants made statements that are “false              with the requirements of Federal Rule of Civil Procedure 26
and misleading under the federal securities laws.” Instead,           that she delineate the “data or other information considered.”
Plaintiffs' experts may offer opinions about the objective            Fed. R. Civ. P. 26(a)(2)(B). Defendants point to no case
truth or falsity of statements based on their specialized or          in support of their argument that Kainer's opinion must
scientific knowledge. For the same reasons, the court rejects         be excluded because Plaintiffs did not produce the second
Defendants' arguments that Plaintiffs' experts cannot testify         patient's medical records. Assuming that Kainer otherwise
to the truth or falsity of statements without impermissibly           qualifies as an expert at the Daubert hearing, she will be able
invading the province of the jury and that Plaintiffs' experts        to give her opinion that the statement at issue is misleading
are not competent to testify as to the truth or falsity of            because, among other things, the normal treatment time for
statements because they have not been shown to possess any            a post-operative septic knee infection and fever is six weeks;
specialized knowledge about securities laws or standards.             the second patient did not respond to the initial, standard
Simply put, if they appropriately qualify at the Daubert              treatment that he was given but his fever began to subside
hearing, Plaintiffs' experts will be permitted to testify to the      when he was treated with an antibiotic that specifically
truth or falsity of a given statement based on their specialized      treats clostridium infections; and septic arthritis and fever are
or scientific knowledge. Such testimony will aid the jury. If         consistent with a clinical diagnosis of clostridium infection.
it should become necessary at trial, the court can exclude any
pure legal conclusion testimony. 19                                   Defendants next attack Kainer's opinion that another
                                                                      statement in the December 14, 2001 press release was
 *8 Finally, the court rejects Defendants' argument that              misleading—specifically, CryoLife's statement therein that
Kainer should not be permitted to testify as to the truth or          upon examination of other tissue from the Lykins donor,
falsity of four statements that are in the Complaint because          “[t]he CDC confirmed that the tissue examined contained
there is no reliable scientific basis for her opinions thereon.       the rare bacterium Clostridium sordellii. The tissue examined
The first statement at issue is from CryoLife's December              by the CDC had not been released for transplant and was



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examined by [the CDC] subsequent to its implant expiration
date.” Kainer opines that this statement is misleading because         CryoLife stated in the press release that reports from
it implicitly attaches significance to the fact that the CDC           hospitals clearly demonstrated no evidence of infection in
examined the other tissue from the Lykins donor “subsequent            either of the two heart valves that the government had been
to its implant expiration date.” Defendants argue that Kainer's        investigating. In the conference call, CryoLife claimed that
opinion endeavors to impermissibly invade the role of the jury         “during the [FDA] inspection [pertaining to the reported
to determine what is or is not misleading under the securities         infections in heart valves] it was demonstrated that there
laws. However, for reasons similar to those discussed supra,           were no such infections. So just because there is a report of
the court finds that Kainer can assist the jury by explaining          infections does not mean there is one.
exactly why Defendants' statement might be misleading as a
                                                                     According to Kainer, these statements are false because
matter of science. Assuming that she otherwise qualifies as
                                                                     CryoLife received reports evincing endocarditis in at least
an expert, Kainer can testify that the CDC was no more or
                                                                     one of the heart valves in April and May. Defendants claim
less likely to detect clostridium on the Lykins donor whether
                                                                     that Kainer has no knowledge of CryoLife receiving such
it tested the donor prior to its implant expiration date or
                                                                     reports, and indeed, Kainer's report cites to no record evidence
subsequent to its implant expiration date. In fact, the court
                                                                     in support of her claim that CryoLife received such reports.
is unclear as to exactly how the jury might come to that
                                                                     However, Kainer asserts that she has knowledge in this
important bit of scientific knowledge without the assistance
                                                                     regard, and accordingly, if Kainer does in fact have personal
of expert testimony.
                                                                     knowledge that CryoLife received such reports, she may
                                                                     testify thereto in her capacity as a fact witness. The court notes
Defendants also object to Kainer's attack on CryoLife's
                                                                     that a July 6, 2002 Wall Street Journal Online article quotes
statement from the December 14, 2001 press release that
                                                                     Kainer as stating that in March 2002, CryoLife was in receipt
“[n]either the [FDA] nor the CDC, after conducting thorough
                                                                     of information that supported a diagnosis of endocarditis in
inspections of the CryoLife processing facilities, have
                                                                     one patient, which indicates that Kainer does have personal
recommended or suggested changes in CryoLife's processing
                                                                     knowledge in this regard. See infra at Section III(C)(1)(h).
protocols of human tissues.” Kainer asserts that this is
false because she herself communicated recommendations
                                                                     Accordingly, Defendants' Motion to Exclude Plaintiffs'
to CryoLife, through Vander Wyk, on behalf of the CDC.
                                                                     Experts' Opinions as to Truth or Falsity is GRANTED
Defendants concede that Kainer may testify to such matters
                                                                     IN PART AND DENIED IN PART, without prejudice to
as a fact witness, but that she may not testify to such matters
                                                                     Defendants' right to later move in limine to exclude from
as an expert witness. The court agrees with Defendants (as
                                                                     evidence alleged misstatements that are not in the Complaint.
do Plaintiffs), although the court is not clear as to why it
                                                                     Plaintiffs will not be permitted to recover on any alleged
was necessary to address this minor issue at this point in
                                                                     misstatements not pled in the Complaint, as discussed in
time. Kainer will be only permitted to testify as a fact witness
                                                                     greater detail infra at Section III(C)(2). See also supra note
about what she told Vander Wyk on behalf of the CDC.
                                                                     14 and accompanying text. As a general matter, however,
The court notes, however, that Kainer might still permissibly
                                                                     Plaintiffs' experts will be permitted to opine as to the truth or
opine that the statement at issue—whether or not the CDC
                                                                     falsity of a statement where such opinions are based on the
recommended any processing protocol changes to CryoLife
                                                                     experts' specialized or scientific knowledge and will assist the
in the aftermath of its inspection of CryoLife—is false. See
                                                                     jury. Additionally, Kainer may testify as to the truth or falsity
Fed. R. Evid. 701 (laywitnesses may offer opinions that are
                                                                     of the four specific statements discussed supra in the fashion
“rationally based on the perception of the witness”).
                                                                     described by the court, assuming that she otherwise qualifies

 *9 Finally, Defendants object to Kainer's attack on                 as an expert at the Daubert hearing where necessary. 22
CryoLife's statements in a June 24, 2002 press release and
a June 25, 2002 conference call. The statements pertain to
                                                                        C. Summary Judgment
the FDA's March 2002 investigation of CryoLife following
                                                                      *10 Plaintiffs' Complaint alleges violations of Section 10(b)
reports of endocarditis 21 in patients who received transplants      of the Exchange Act (“Section 10(b)”) and Section 20(a) of
of CryoLife heart valves. Specifically, the statements at issue      the Exchange Act (“Section 20(a)”), as well as Securities and
are that                                                             Exchange Commission (“SEC”) Rule 10b-5 (“Rule 10b-5a”)




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                                                                                and that present a danger of misleading
promulgated thereunder. See       15 U.S.C. § 78j(b) (Section
                                                                                buyers or sellers which is either known
10(b) ); 15 U.S.C. § 78t(a) (    Section 20(a) ); 17 C.F.R. §                   to the defendant or is so obvious that
240.10b-5 (Rule 10b-5).                                                         the defendant must have been aware of
                                                                                it.
Section 10(b) makes it unlawful “[t]o use or employ, in
connection with the purchase or sale of any security ...
any manipulative or deceptive device or contrivance in              Id. at 1282 n. 18 (citations and quotation marks omitted).
contravention of such rules and regulations as the [SEC] may        Evidence that a defendant had the motive and opportunity
prescribe....” 15 U.S.C. § 78j(b). Rule 10b-5, promulgated          to commit fraud may be used, along with other evidence, to
by the SEC, provides that:                                          show wilfulness or recklessness, but motive and opportunity
                                                                    evidence alone cannot satisfy the scienter element. Id. at
  It shall be unlawful for any person, directly or indirectly,      1285-86.
  by the use of any means or instrumentality of interstate
  commerce, or of the mails or of any facility of any national
                                                                    Finally, under Section 20(a), any person who “controls” an
  securities exchange,
                                                                    entity that violates a provision of the Exchange Act is jointly
  (a) To employ any device, scheme, or artifice to defraud,         and severally liable for the violation. 15 U.S.C. § 78t(a).
                                                                    For the individual Defendants to be liable under       Section
  (b) To make any untrue statement of a material fact or to
                                                                    20(a), it must be shown that (1) CryoLife committed a so-
  omit to state a material fact necessary in order to make the
                                                                    called “primary” violation of Rule 10b-5; (2) the individual
  statements made, in the light of the circumstances under
                                                                    Defendants had the power to control the general affairs
  which they were made, not misleading, or
                                                                    of CryoLife at the time CryoLife committed its primary
  (c) To engage in any act, practice, or course of business         violation; and (3) the individual Defendants “ ‘had the
  which operates or would operate as a fraud or deceit upon         requisite power to directly or indirectly control or influence
  any person, in connection with the purchase or sale of any        the specific corporate policy which resulted in the primary
  security.                                                         liability.’ ”  Brown v. Enstar Group, Inc., 84 F.3d 393, 396
                                                                    (11th Cir. 1996) (citation omitted).
17 C.F.R. § 240.10b-5. “ ‘A successful cause of action under
Section 10(b) or Rule 10b-5 requires that the plaintiff prove
(1) a misstatement or omission (2) of a material fact (3)
made with scienter (4) upon which the plaintiff relied (5) that            1. Defendants' Motion for Summary Judgment
proximately caused the plaintiff's loss.’ ”    Theoharous v.         *11 Defendants ask the court to grant them summary
Fong, 256 F.3d 1219, 1224 (11th Cir. 2001) (citation omitted).      judgment on three specific grounds. First, Defendants argue
Scienter is “a mental state embracing intent to deceive,            that Plaintiffs are unable to point to any record evidence
manipulate, or defraud.”       Ernst & Ernst v. Hochfelder,         establishing that any of the statements at issue in the
425 U.S. 185, 193 n.12 (1976). A showing of “severe                 Complaint were false when made. Second, Defendants argue
recklessness” will satisfy the scienter requirement in a Rule       that even if Plaintiffs can establish a genuine issue of
                                                                    material fact as to the falsity of certain of the statements
10b-5 case. See    Bryant v. Avado Brands, Inc., 187 F.3d
                                                                    at issue in the Complaint, Plaintiffs are unable to point to
1271, 1283 (11th Cir. 1999).
                                                                    any record evidence establishing that those statements were
                                                                    made with the requisite level of scienter. Finally, Defendants
                                                                    argue that Plaintiffs are unable to point to any record
            Severe recklessness is limited to                       evidence establishing that Defendants' alleged misstatements
            those highly unreasonable omissions
                                                                    or omissions caused any loss. 23 The court will evaluate
            or misrepresentations that involve not
                                                                    Defendants' falsity and scienter arguments for each individual
            merely simple or even inexcusable
                                                                    statement at issue, and then the court will address the general
            negligence, but an extreme departure
                                                                    loss causation issue.
            from the standards of ordinary care,



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                                                                       [of] infections. So clearly, there was knowledge on the part
                                                                       of CryoLife.

     a. December 7, 2001 press release (four statements)             Dep. of Timothy R. Wells at 91-92. Additionally, it
                                                                     is undisputed that in 1997, CryoLife discontinued pre-
Plaintiffs assert that four statements from CryoLife's
                                                                     processing testing, and there is record evidence that in
December 7, 2001 press release violate Rule 10b-5. The
                                                                     1998, the FDA conducted an inspection of CryoLife after a
first statement at issue is CryoLife's assertion that its
                                                                     CryoLife knee tissue recipient suffered a clostridium infection
“processing protocols in its clean-room environment assure
                                                                     due to tissue contamination. For all of the foregoing reasons,
the highest standard of quality control.” Plaintiffs assert that
                                                                     the court finds that there is a genuine issue of material fact as
this statement is false and misleading for several reasons.
                                                                     to the truth or falsity of CryoLife's statement that in December
First, the American Association of Tissue Banks (“AATB”),
                                                                     2001, its “processing protocols in its clean-room environment
a voluntary peer group organization of individuals involved
                                                                     assure[d] the highest standard of quality control.”
in tissue banking activities, had promulgated guidelines in
2001 that required its members to obtain pre-processing
                                                                     Defendants also argue that Plaintiffs improperly characterize
cultures to identify microorganisms that might contaminate
                                                                     the statement about Defendants' “clean-room environment”
incoming tissue. CryoLife was not an AATB member,
                                                                     as a broad guarantee of Defendants' tissue quality. Defendants
and CryoLife does not appear to contest that in 2001 it
                                                                     argue that the statement at issue only focuses “on CryoLife's
did not comply with AATB standards, including AATB's
                                                                     aseptic handling techniques as employed in the clean-room
pre-processing recommendations. CryoLife does, however,
                                                                     environment and [is] not [a] broad, general guarantee[ ] of
vigorously contest that AATB's standards constituted the
                                                                     tissue safety.” The court does not agree with Defendants
tissue processing industry standards or that there were any
                                                                     that Plaintiffs mischaracterize the statement at issue as a
tissue processing industry standards at the time of the alleged
                                                                     broad guarantee of tissue safety. The statement at issue is
misstatement. Indeed, CryoLife seeks to exclude Doppelt and
                                                                     Defendants' assertion that they could “assure the highest
Eastlund's proposed expert testimony to that effect. As the
                                                                     standard of quality control,” via their processing protocols
court has deferred the issue of whether Doppelt and Eastlund
                                                                     in their clean-room environment. Wells' testimony that
will be permitted to testify until the Daubert hearing, the
                                                                     in December 2001 CryoLife knew of problems in its
court does not consider for purposes of this motion Doppelt
                                                                     tissue processing operations, and the evidence of CryoLife's
and Eastlund's opinion that CryoLife was not in compliance
                                                                     discontinuation of pre-processing testing in 1997, raise an
with tissue processing industry standards in December 2001,
                                                                     issue of material fact as to whether the statement at issue was
or Dopplet and Eastlund's opinion that AATB's standards
                                                                     false when made.
were the tissue processing industry standards in December
2001. However, the mere fact that there existed a voluntary
                                                                     As for whether the statement was made with the requisite
peer organization of tissue processing industry participants,
                                                                     scienter, the court first notes that, despite Defendants'
of which CryoLife was not a member and whose guidelines
                                                                     exhortations to the contrary, scienter is generally a jury
CryoLife did not follow in December 2001, cuts against the
truth of CryoLife's statement that its processing protocols          question—even in securities fraud cases. See     Sammons
assured the highest standard of quality control. More                v. Taylor, 967 F.2d 1533, 1545 (11th Cir. 1992) (a question
importantly, Plaintiffs' expert Timothy R. Wells (“Wells”),          of motive, if presented in a more than conclusory way,
whom Defendants have not moved to exclude, testified in his          can often “make a disposition upon summary judgment
deposition as follows:                                               inappropriate”); Croley v. Matson Navigation Co., 434 F.2d
                                                                     73, 77 (5th Cir. 1970) 24 (“The court should be cautious in
  *12 Q: Do you have any basis to believe that as of
                                                                     granting a motion for summary judgment when resolution
  December 2001 that anyone at CryoLife believed that
                                                                     of the dispositive issue requires a determination of state of
  CryoLife had problem in its tissue processing operations?
                                                                     mind.”);      In re Worlds of Wonder Sec. Litig., 35 F.3d
  ....                                                               1407, 1412 (9th Cir. 1994) (noting, in a securities fraud case,
                                                                     that scienter is a fact-specific issue that should ordinarily be
  The Witness: I do have that belief.... [P]rior to this, there
                                                                     left to the jury); Schoch v. Dade City Ret. Hous., Inc., No.
  had been communications to CryoLife from the CDC, and
                                                                     87-388 Civ. T-10(B), 1989 WL 67745, at *1 (M.D. Fla. Feb.
  in fact, they had filed reports with the FDA of problems



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                                                                      the fact finder—that the court concluded that “no finding of
9, 1989) (noting in a Rule 10b-5 and         Section 20(a) case
                                                                      fraud or recklessness [could] rationally be made in this case”
that “summary judgment is generally inappropriate to decide
                                                                      because “the Court heard diametrically opposing views from
questions of scienter, knowledge and intent”). Moreover, as to
                                                                      experts as to the reasonableness of [the] accounting and audit
the specific statement at issue, the court again notes that Wells
testified at his deposition that in December 2001, CryoLife           judgments.” Price Waterhouse, 797 F. Supp. at 1241; In
had “knowledge” of problems with its tissue processing                re Miller, 120 F. Supp. 2d at 1382-83. The court sees no reason
operations.                                                           why, if there is a “battle of the experts” at trial, the jury could
                                                                      not permissibly choose to completely disregard Defendants'
 *13 Defendants argue that Plaintiffs have nevertheless               experts' testimony as not credible. Accordingly, for all the
failed to establish a genuine material fact as to scienter            foregoing reasons, the court concludes that genuine issues of
because Plaintiffs' sole evidence of scienter is expert               material fact as to falsity and scienter exist with regard to
witness testimony that Defendants argue is inadmissible.              CryoLife's December 7, 2001 statement that its “processing
Additionally, Defendants assert that even if Plaintiffs' experts'     protocols in its clean-room environment assure the highest
testimony is admissible, at best that testimony creates a             standard of quality control.” 25
battle of expert witnesses over the question of whether
Defendants were unreasonable in their scientific judgments             *14 The next statement at issue in the December 7, 2001
of the adequacy of CryoLife's tissue processing. According to         press release is CryoLife's assertion that “[i]n the past 17
Defendants, if qualified expert witnesses can disagree about          years, CryoLife has processed some 250,000+ pieces of
the reasonableness of tissue processing and testing techniques        human tissue from more than 60,000+ donors, without a
(or the lack thereof), Defendants cannot have been “severely          single known incidence of Clostridium sordellii bacterial
reckless” in stating that their processing protocols assure the       infection.” Plaintiffs assert that this statement is false and
highest standard of quality control.                                  misleading because the FDA's Manufacture and User Facility
                                                                      Device Experience Database (“MAUDE”) 26 shows that in
The court disagrees with Defendants. Most crucially, as
                                                                      1998, a patient received soft knee tissue from CryoLife
noted supra, Defendants do not seek to prevent Wells from
                                                                      and developed a clostridium infection. Specifically, the
testifying, and he testified at his deposition that CryoLife had
                                                                      MAUDE report states: “Wound culture collected 4/7/98. Final
knowledge of problems with its tissue processing operations
                                                                      report showed ‘clostridium species identified as clostridium
as of December 2001. Moreover, as for Defendants' “battle of
                                                                      septicum - beta lactamase negative....’ [The] [a]llograft 27
the experts” argument, the court acknowledges that         In re      was cultured at time of implant 3/27/98. Reported back
Miller Indus., Inc. Sec. Litig., 120 F. Supp. 2d 1371, 1382-83        4/22/98 as ‘clostridium sordelli[i] - beta lactamase negative.’
(N.D. Ga. 2000) (Thrash, J.), can be read to hold that a “battle      ” Defendants' sole argument that the statement at issue is
of the experts” on the reasonableness of a decision requires          not actionable is that “[t]he MAUDE report shows that the
summary judgment for a defendant on the question of scienter.         infection was caused by Clostridium septicum—an entirely
However, to the extent that In re Miller so holds, this court         different species from Clostridium sordellii.” The court
does not agree, and instead the court finds that disposing of a       disagrees with Defendants for two reasons. First, Defendants
claim because expert witnesses disagree as to whether a given         cite no evidence in support of their assertion that clostridium
course of action was “severely reckless” would improperly             sordellii is “an entirely different species” from clostridium
usurp the jury's responsibility to evaluate witness credibility.      septicum, and the court cannot simply take Defendants' word
See         Allison v. McGhan Med. Corp., 184 F.3d 1300,              for it. 28 Indeed, had the court simply taken at face value
1321 (11th Cir. 1999) (noting that trial judges must carefully        Defendants' dismissive argument that the statement at issue
act as gatekeepers of expert testimony, but also noting that an       is not actionable because “[t]he MAUDE report shows that
overly searching inquiry “would inexorably lead to evaluating         the infection was caused by Clostridium septicum,” the court
witness credibility and weight of the evidence, the ageless role      would have missed the last sentence of the MAUDE report
of the jury”). Indeed, in the principal case relied on by the         —left completely unaddressed by Defendants—that a culture
In re Miller court,   Securities and Exchange Commission              of the transplant allograft revealed clostridium sordellii.
v. Price Waterhouse, 797 F. Supp. 1217 (S.D.N.Y. 1992),               Defendants' failure to disclose or address this important
it was only after a bench trial—wherein the court itself              piece of information is inexcusable and violates Defendants'
properly evaluated the credibility of the expert witnesses, as        counsel's duty of candor to the court. Regardless, given that


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the MAUDE report indicates that a CryoLife allograft tested        CDC stated in writing its final conclusion that [the Lykins
positive for clostridium sordellii in 1998, the court finds        donor was infected with] Clostridium sordellii.”
that there is a genuine issue of material fact as to the truth
or falsity of CryoLife's assertion that prior to the Lykins        As an aside, the court notes that Defendants' argument that
incident, it had never previously experienced an incident of       the CDC did not state its final conclusion in writing until
clostridium sordellii bacterial infection. As for whether the      January 3, 2002 is of no relevance because in CryoLife's
scienter element is present, the court notes that the MAUDE        own December 14, 2001 press release, CryoLife announced
report indicates that CryoLife was made aware of the findings      that the CDC had completed its testing of tissue from the
therein, and the court further notes that the FDA apparently       Lykins donor and “confirmed that the tissue ... contained the
inspected CryoLife in 1998 in the aftermath of this incident.      rare bacterium Clostridium sordellii.” In fact, on December
Moreover, Defendants do not argue the issue of whether             11, 2001, Kainer sent Vander Wyk an email on behalf of
this statement was made with the requisite scienter, and thus      the CDC stating that “[t]he Clostridium from the [donor]
they concede the point. Accordingly, CryoLife's statement          has now been identified as ... sordelli[i].” More importantly,
in the December 7, 2001 press release that “[i]n the past          the court finds that there are genuine issues of material fact
17 years, CryoLife has processed some 250,000+ pieces              as to whether the statement at issue is false or misleading,
of human tissue from more than 60,000+ donors, without             because there is record evidence suggesting that the CDC had
a single known incidence of Clostridium sordellii bacterial        at least preliminarily concluded prior to December 7, 2001—
infection,” survives summary judgment on the falsity and           i.e., reached some conclusion, rather than “no conclusion”—
scienter issues. 29                                                that the Lykins donor was the source of Lykins' infection. 30
                                                                   There is also record evidence tending to show that the CDC
The next statement at issue from the December 7, 2001 press        informed CryoLife of its conclusion prior to December 7,
release is the following:                                          2001. Specifically, a chronology kept by Kainer indicates that
                                                                   on November 28, 2001, the CDC concluded that the donor
                                                                   tissue contained clostridium. Vander Wyk's diary indicates
             Based      on     [CryoLife's]    recent              that on that same day, he received a call from Kainer reporting
             conversations with state and federal                  on the donor's tissue growth, and Kainer's chronology further
             public health agencies, they are unable               indicates that on December 3, 2001, she visited CryoLife and
             at this time to tell us how the                       advised Vander Wyk that the second recipient of tissue from
             Clostridium sordellii bacterium was                   the Lykins donor had contracted septic arthritis. Accordingly,
             introduced into [Lykins'] body and                    the court finds that there are genuine issues of material fact as
             they have revealed no conclusion                      to whether CryoLife's December 7, 2001 statement that state
             regarding the source of the infection in              and federal public health agencies had reached “no conclusion
             [Lykins]. The CDC is testing a similar                regarding the source” of Lykins' infection was knowingly
             tissue from the [Lykins] donor, but the               false when made.
             final results are not known at this time.
                                                                    *15 The final statement at issue from CryoLife's December
                                                                   7, 2001 press release is a statement regarding the health of
                                                                   the eight other patients who were implanted with tissue from
Plaintiffs argue that this statement was false and misleading
                                                                   the Lykins donor. CryoLife asserted that “[p]hysician follow-
and made with the requisite scienter because prior to
                                                                   ups on these patients have indicated they are all doing well.”
December 7, 2001, the CDC had already concluded that the
                                                                   Plaintiffs argue that statement was knowingly false when
Lykins donor was infected with clostridium and informed
                                                                   made because, as noted above, Kainer's chronology indicates
CryoLife of that conclusion. Defendants argue, however, that
                                                                   that on December 3, 2001, she personally informed Vander
the CDC itself stated in a Morbidity and Mortality Weekly
                                                                   Wyk that one of the recipients of the Lykins donor tissue had
Report (“MMWR”) issued on December 7, 2001 that only
                                                                   contracted septic arthritis. Defendants respond that the March
“preliminary” results had been obtained from the Lykins
                                                                   15, 2002 MMWR “makes clear” that the patient's “symptoms
donor, indicating mere growth of a clostridium “species”
                                                                   subsided by November 23, 2001, such that Defendants'
as opposed to clostridium sordellii. In fact, according to
                                                                   statement on December [7, 2001] that all other recipients
Defendants, “[i]t was not until January 3, 2002 ... that the
                                                                   [were all] ‘doing well’ was entirely accurate.” However, the



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court observes that although the March 15, 2002 MMWR                 recipient of the tissue contracted septic arthritis and may well
does state that the patient's 103.5 degree fever subsided on         have still been “recovering” in March 2002, let alone on
or about November 23, 2001, the MMWR also states that                December 14, 2001. 32
“[t]he patient is recovering,” which implies that even as
of March 15, 2002, the patient had not fully recovered. 31            *16 The next statement at issue in the December 14, 2001
More fundamentally, despite the fact that CryoLife knew by           press release does not have a counterpart in the December
December 3, 2001 at the latest that a second recipient of tissue     7, 2001 press release. Specifically, in the December 14,
from the Lykins donor had contracted post-operative septic           2001 press release, CryoLife made the following statement
arthritis, that fact is mentioned nowhere in the December            with regard to the CDC's tests on additional tissue from the
7, 2001 press release. Instead, CryoLife merely asserted             Lykins donor: “The CDC confirmed that the tissue examined
that after talking to the doctors for each of the eight other        contained the rare bacterium Clostridium sordellii. The tissue
recipients of tissue from the Lykins donor, each recipient           examined by the CDC had not been released for transplant
was “doing well.” The court thus concludes that there are            and was examined by [the CDC] subsequent to its implant
genuine issues of material fact as to whether this statement         expiration date.” Plaintiffs contend that this statement is
was knowingly false or misleading when made.                         misleading because, as a matter of science, a finding of
                                                                     clostridium sordellii would be no more or less likely if
                                                                     tissue were examined before its implant expiration date or
                                                                     after its implant expiration date. See supra Section III(B).
    b. December 14, 2001 press release (four statements)
                                                                     Preliminarily, the court notes that Defendants did not move
Plaintiffs also assert that four statements in CryoLife's            for summary judgment on this specific statement, which is
December 14, 2001 press release were false and misleading            in the Complaint. See Complaint ¶ 70. Accordingly, unless
in violation of Rule 10b-5. First, CryoLife stated in its            the court fully grants Defendants summary judgment on
December 14, 2001 press release—as it essentially did in             the loss causation issue, this statement survives Defendants'
its December 7, 2001 press release—that “[i]n the seventeen          Motion for Summary Judgment. Moreover, as discussed
years since its founding CryoLife has processed tissue from          supra, presuming Kainer qualifies as an expert in her field,
over 60,000 donors without a single known incident of                she will be permitted to testify as to whether she believes this
Clostridium sordellii infection.” Plaintiffs' claim arising out      statement to be misleading because as a matter of science, a
of this statement survives summary judgment for the same             finding of clostridium sordellii is no more likely when tissue
reasons that Plaintiffs' claim arising out of CryoLife's nearly-     is examined subsequent to its implant expiration date. Finally,
identical December 7, 2001 statement survives summary                given the individual Defendants' educational backgrounds
judgement. As discussed supra, the 1998 MAUDE report                 (Vander Wyk, for instance, has a Ph.D. in microbiology) and
raises genuine issues of material fact as to whether CryoLife        the fact that CryoLife is in the tissue processing business, the
had suffered an incident of clostridium sordellii infection          court finds that there is a genuine issue of material fact as
prior to the Lykins incident, and whether CryoLife knew              to whether CryoLife was severely reckless in implying that
about that incident.                                                 a finding of clostridium sordellii might be more likely when
                                                                     tissue is examined subsequent to its implant expiration date.
The second statement at issue in the December 14, 2001
press release is also essentially identical to a statement in        The last statement at issue in the December 14, 2001 press
the December 7, 2001 press release. Specifically, in its             release is CryoLife's assertion therein that “[n]either the
December 14, 2001 press release, CryoLife stated that “all           [FDA] nor the CDC, after conducting thorough inspections
other recipients of tissue from the [Lykins donor] are doing         of the CryoLife processing facilities, have recommended
well with no evidence of Clostridium sordellii infection.” The       or suggested changes in CryoLife's processing protocols of
court finds that there are genuine issues of material fact as        human tissues.” As discussed supra, Kainer purports to have
to the actionability of this statement for the same reasons          personal knowledge in her capacity as a fact witness that this
that Plaintiffs' claim arising out of the similar December 7,        statement was false when made. Moreover, the court notes
2001 statement survives summary judgment—there is record             that although Defendants argue that “the record is clear” that
evidence tending to suggest that it was materially misleading        CryoLife did not receive Kainer's December 14, 2001 email
for CryoLife to assert that all other recipients of tissue from      recommendations on behalf of the CDC until December 17,
the Lykins donor were “doing well,” given that at least one          2001, Vander Wyk's diary, read in conjunction with Kainer's



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chronology, indicates that Vander Wyk and Kainer had a            Defendants' argument is sound with regard to the January
telephone discussion on December 14, 2001 wherein Kainer          29, 2002 statement, though as discussed supra, the court
conveyed “initial” CDC recommendations to Vander Wyk              rejects Defendants' argument with regard to the clean-
before his lunch meeting to discuss the December 14, 2001         room environment statement of December 7, 2001. The
press release. Thus, the court finds that there are genuine       distinction is this: The December 7, 2001 statement can
issues of material fact as to whether CryoLife's statement        fairly be read as an assurance of general high quality control
that neither the FDA nor the CDC had recommended any              standards due (in whole or in part) to CryoLife's processing
changes in CryoLife's human tissue processing protocols as        protocols in its clean-room environment. The January 29,
of December 14, 2001 was knowingly false when made.               2002 statement, however, can only be fairly read to state (1)
                                                                  that CryoLife's aseptic handling procedures met or exceeded
Defendants also argue that this last statement from the           industry standards; and (2) that the CDC and FDA concluded
December 14, 2001 press release—CryoLife's assertion              that those procedures were properly followed. In their
that neither the FDA nor the CDC had conveyed any                 opposition to Defendants' Motion for Summary Judgment,
recommendations to CryoLife for processing protocol change        Plaintiffs respond to Defendants' argument by stating that
as of December 14, 2001—is inactionable as a matter of            CryoLife's “actual deficiencies (and regulatory violations)
law because Plaintiffs' damages expert (Preston) testified at     had nothing to do with its aseptic practices,” tacitly conceding
her deposition that the statement “itself caused no damage.”      that CryoLife was not deficient with regard to its aseptic
However, Defendants take Preston's testimony out of context.      handling procedures and practices. Pls.' Resp. in Opp'n to
Preston's full testimony was “that statement itself caused        Defs.' Mot. for Summ. J. at 13 (emphasis added). Although
no damage, [but] when people find out the result of that          Plaintiffs assert in a footnote that Defendants' “injection of the
[statement], it causes damages.” Plaintiffs argue that the        term ‘aseptic’ processing into public statements was nothing
March 15, 2002 MMWR ultimately revealed this statement            more than a calculated subterfuge of the facts,” Plaintiffs
to be false, and accordingly that is the relevant date for loss   cite to no evidence in support of that assertion. Accordingly,
causation purposes. The court observes that the March 15,         given Plaintiffs' tacit concession as to the truth of the
2002 MMWR does indeed list several recommendations that           actual statement at issue—that CryoLife's aseptic handling
the CDC contends it “provided” to CryoLife “in response           procedures met or exceeded industry standards and that the
to the initial case investigation and the subsequent reports      CDC and FDA concluded that those specific procedures
of Clostridium ... infections.” The record does not appear        were properly followed—the statement is not actionable and
to reflect that the CDC's recommendations to CryoLife             summary judgment is appropriate thereon.
were revealed to the market prior to March 15, 2002, and
accordingly, the court rejects Defendants' argument that the       *17 The second statement from the January 29, 2002 press
December 14, 2001 statement about CDC recommendations             release challenged by Plaintiffs is CryoLife's assertion that
is inactionable as a result of Preston's testimony. 33            “none of the eight other recipients of tissue from [the Lykins
                                                                  donor] has become infected with sordellii and all are doing
                                                                  well.” For the same reasons discussed supra with regard
                                                                  to CryoLife's similar statements in the December 7, 2001
     c. January 29, 2002 press release (two statements)           and December 14, 2001 press releases, the court finds that
                                                                  there are genuine issues of material fact as to whether this
Plaintiffs challenge two statements from CryoLife's January
                                                                  statement was knowingly false when made, and accordingly
29, 2002 press release. Plaintiffs first attack CryoLife's
statement that the CDC and FDA concluded “that CryoLife           the statement survives summary judgment. 34
procedures, which met or exceeded typical industry processes
for aseptic handling, were properly followed.” Similar to their
argument with regard to the December 7, 2001 statement                  d. March 15, 2002 press release (two statements)
that “CryoLife's processing protocols in its clean-room
environment assure the highest standard of quality control,”      Plaintiffs complain of two alleged misstatements in
Defendants argue that the statement at issue focuses “only        CryoLife's March 15, 2002 press release. The first
on CryoLife's aseptic handling techniques as employed             statement was made by CryoLife in response to the CDC's
in the clean-room environment and [is] not [a] broad,             announcement in the March 15, 2002 MMWR that upon
general guarantee[ ] of tissue safety.” The court finds that      soliciting additional reports of allograft-associated infections


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in otherwise healthy patients with no known risk factors for      statement is somewhat misleading, the court cannot say that
surgical site infections, the CDC received twenty-six such        Defendants made the statement with severe recklessness.
reports. CryoLife stated in its March 15, 2002 press release
that:                                                              *18 The second statement at issue in the March 15, 2002
                                                                  press release is CryoLife's assertion that it “has taken all
                                                                  suggestions from the CDC seriously and implemented those
            The report of twenty six infections                   that it can at this time.” Preliminarily, the court notes that
            in tissue transplants released by the                 Defendants do not address this statement in their Motion for
            CDC this morning relates to tissue                    Summary Judgment, although the statement is addressed in
            processed by four or five tissue banks                Defendants' reply. As for the truth or falsity of the statement,
            across the U.S. and represents events                 Plaintiffs argue that the statement is false because as of March
            dating back as far as 1998. Some of the               15, 2002, CryoLife had not followed at least two of the CDC's
            infections are likely not to be due to                December 14, 2001 recommendations, one of which was
            the tissue itself and may be infections               a recommendation that CryoLife implement pre-processing
            transmitted from other sources.                       testing. Defendants argue that Plaintiffs have insufficient
                                                                  evidence of falsity because, among other reasons, “such
                                                                  scientific processing changes could not be made overnight
                                                                  and had to be examined.” Defendants also argue that CryoLife
Defendants argue that they are entitled to summary judgment
                                                                  disclosed to the market on March 15, 2002 that it could
on this statement because it only “pointed out the fact that
                                                                  not at that time implement all of the CDC's suggestions,
the reported infections discussed in the MMWR did not
                                                                  and that accordingly, the statement at issue was true in
exclusively involve tissue processed by CryoLife and noted
                                                                  that CryoLife had implemented all CDC suggestions that it
that some of the reported infections were likely not to have
                                                                  could “at [the] time.” The court, however, disagrees with
been caused by the implanted tissues.” Plaintiffs, however,
                                                                  Defendants. Specifically, the court again notes that in 1997,
assert that as of March 13, 2002, Defendants were aware that
                                                                  CryoLife discontinued pre-processing testing. Given that
(1) fourteen out of the twenty-six infected patients received
                                                                  CryoLife had previously engaged in pre-processing testing, it
tissue processed by CryoLife and (2) of the thirteen of the
                                                                  is not unreasonable to argue that three months of discussion
twenty-six patients who were infected with some type of
                                                                  about the merits of pre-processing testing (from December
clostridium, eleven of those thirteen received tissue processed
                                                                  14, 2001 to March 15, 2002) was enough time for the merits
by CryoLife. Accordingly, Plaintiffs argue that CryoLife's
                                                                  of such testing to be “examined.” In light of this, and further
statement in the March 15, 2002 press release was knowingly
                                                                  given that Defendants did not even address this statement
false.
                                                                  in their Motion for Summary Judgment, the court finds that
                                                                  CryoLife's March 15, 2002 statement that it had “taken
The court finds summary judgment is proper on this
                                                                  all suggestions from the CDC seriously and implemented
statement. As a technical matter, Plaintiffs do not appear
                                                                  those that it [could] at [that] time” should survive summary
to contest that the twenty-six patients received tissue from
more than one tissue bank; nor do Plaintiffs appear to            judgment. 35
contest that less than 100% (i.e., “some”) of the reported
infections were caused by something other than the implanted
tissues. Instead, Plaintiffs merely assert that the statement         e. March 16, 2002 newspaper article (one statement)
is “misleading because CryoLife knew that CDC had found
that there was significant evidence implicating CryoLife's        According to a March 16, 2002 Atlanta-Journal Constitution
tissue.” Even granting Plaintiffs' point that the statement       article, during a March 15, 2002 conference call, “CryoLife
is somewhat misleading in that it minimizes the fact that         executives reiterated that the Company is doing everything
CryoLife's tissue was implicated in a high percentage of the      possible to ensure the purity of tissues used in transplants.”
twenty-six infections, the court cannot say that Defendants       Defendants argue that this statement cannot be actionable
acted with the requisite scienter in making the statement. As     because it is inadmissible hearsay and Plaintiffs have no
a technical matter, the veracity of CryoLife's assertion about    evidence that any Defendant actually made the statement.
the CDC's report appears uncontested, such that even if the       Plaintiffs argue in response that “[t]he fact that the quote
                                                                  appeared in a newspaper is evidence that the statement was


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in fact conveyed to the market and constituted part of the mix                   it exists. Ordinarily, if the FDA finds
of information upon which the stock price was determined.”                       the company's response acceptable,
Plaintiffs miss the point, however, which is that the court has                  the FDA will take no further action.
been pointed to no admissible evidence that the statement                        If the FDA finds the company's
was ever actually made. Indeed, the version of the statement                     response unacceptable, the FDA may
provided by Plaintiffs is not even a quote; rather, it is                        take further action such as the issuance
the newspaper reporter's paraphrase of a quote or quotes                         of a regulatory letter.
from the conference call. Because Plaintiffs lack admissible
evidence that the statement at issue was actually made by any
Defendant, summary judgment on the statement is proper.             *19 Kapoor, 16 F. Supp. 2d at 943. As Plaintiffs point out,
                                                                   however, regardless of whether a Form 483 serves to initiate
                                                                   a dialogue between a company and the FDA, Kapoor does not
       f. April 23, 2002 press release (one statement)             hold that the issuance of a Form 483 is not an indication of
                                                                   FDA noncompliance. In fact, there is authority to the contrary
It is undisputed that between March 25, 2002 and April             —even from the same court that issued the Kapoor decision.
12, 2002, the FDA conducted an inspection of CryoLife's
                                                                   See     Anderson v. Abbott Labs., 140 F. Supp. 2d 894, 900
facilities, and in the aftermath of that inspection, on or about
                                                                   (N.D. Ill. 2001) (stating that at the conclusion of an FDA
April 12, 2002, the FDA issued what it calls a “Form 483.”
                                                                   inspection, the FDA served the defendant “with a Form 483,
The implications of the FDA's issuance of the Form 483,
however, are of course contested and pertain to the statement      noting further regulatory violations”);      Arla Labs., Inc. v.
from CryoLife's April 23, 2002 press release that is at issue      Am. Cyanamid Co., No. 92 C 2252, 1999 WL 160710, at *2
herein.                                                            (N.D. Ill. Mar. 11, 1999) (noting that after FDA inspection,
                                                                   the FDA issued observations in a Form 483 that “pertained to
Specifically, CryoLife stated in its April 23, 2002 press          the conditions at Arla's plant, Arla's compliance with various
release that it “complies with current regulatory requirements     regulations, and the competence of Arla's employees”); see
of the [FDA] in the handling and processing of human               also United States of America v. Barr Labs., Inc., 812 F.
tissues.” Plaintiffs assert that this statement was knowingly      Supp. 458, 465-66 (D. N.J. 1993) (“After a compliance
false when made because the FDA's issuance of the Form             investigation, FDA inspectors must issue a Form 483 ... in
483 on April 12, 2002 was equivalent to an FDA notification        which they record their observations about the firm's more
to CryoLife of noncompliance with certain FDA regulatory           serious ... violations.”); United States of America v. Baxter
requirements. Defendants, however, argue that a Form 483           Healthcare Corp., 901 F.2d 1401, 1415 (7th Cir. 1990) (Pell,
is merely a form on which individual FDA inspectors record         J., dissenting) (stating that a Form 483 is the “FDA's method
their “observations,” and that a Form 483 is not tantamount        of informing the inspected facility of the agency's belief of a
to an FDA finding of regulatory violation. Defendants cite to      violative practice”); 36 Ex. 37 to Defs.' Mot. for Summ. J. at 3
Fujisawa Pharm. Co. v. Kapoor, 16 F. Supp. 2d 941 (N.D.            (the FDA warning letter, issued to CryoLife on June 17, 2002
Ill. 1998) in support of their argument that the issuance of a     in the aftermath of this inspection, speaks of “[t]he specific
Form 483 is only “a preliminary step in an ongoing dialogue        violations noted in this letter and in the [Form] 483”). The
between a regulated company and the FDA.” Specifically, in         court finds that in light of this authority, and in light of the fact
Kapoor, the court stated that                                      that Kapoor does not expressly hold that receipt of a Form
                                                                   483 is not equal to a finding of noncompliance with FDA
                                                                   regulations, there is a genuine issue of material fact as to the
             Form 483s list observations made                      truth or falsity of CryoLife's assertion that it complied with
             by an FDA inspector during an                         all FDA regulatory requirements as of April 23, 2002.
             inspection of a plant. When a company
             receives a Form 483, it usually                       Additionally, given that the Form 483 was issued to CryoLife
             submits a written response to the FDA                 on April 12, 2002, the court finds that there is a genuine
             disputing or explaining the inspector's               issue of material fact as to whether CryoLife was severely
             observations, or promising to correct                 reckless in asserting that it complied with all FDA regulatory
             the problem if the company agrees that                requirements as of April 23, 2002. The court notes that the



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April 23, 2002 press release does expressly mention the Form      because CryoLife did not implement pre-processing testing
483, but the press release dismisses the Form 483 as merely “a    on orthopaedic tissues until after September 2002. Defendants
number of observations that do not encompass requirements         do not contest that CryoLife had not implemented pre-
for significant change to CryoLife.” In light of the fact         processing testing in May 2002. 37 Instead, Defendants argue
that observation number eleven in the Form 483 pertains to        only that “the May 2002 representation stated only that such
problems with CryoLife's tissue processing operations, and        testing was a step that ‘will be taken’; it did not say that such
in light of the fact that CryoLife (in addressing the March       testing was already in place as of May 2002,” and accordingly,
15, 2002 press release) argues in this very litigation that       the statement is “accurate and inactionable.”
“scientific processing changes [can]not be made overnight
and [first] ha[ve] to be examined” (i.e., such changes are        The court finds Defendants' argument in this regard to be
significant), the court finds that the statement from the April   emblematic of the manner in which a great deal of this
23, 2002 press release survives summary judgment.                 case has been litigated: incorrect, a waste of time, and quite
                                                                  possibly worthy of sanctions. Despite Defendants' use of
                                                                  quotation marks around the phrase “will be taken,” that phrase
        g. May 2002 website posting (one statement)               appears nowhere in the May 2002 “CryoLife Update.” The
                                                                  court acknowledges that the second “additional step” states
In a May 2002 posting to its website, entitled “CryoLife          that “[p]rior to antimicrobial treatment, a microbiological
Update: Donor Criteria and Processing Changes—May 2002”           sample of representative tissue shall be taken from each
CryoLife asserted:                                                donor recovery site of orthopaedic tissue,” but all three
                                                                  “additional steps” listed in the May 2002 “CryoLife Update”
  While CryoLife continues to work to validate a processing       are unquestionably modified by the clause “we are taking,”
  technology to sterilize allograft tissue while maintaining      as one can see from the court's full reproduction of the
  its tissue integrity, we are taking the following additional    statement, supra. Thus, at the very least, the May 2002
  steps that may reduce the risk of orthopaedic allograft-        “CryoLife Update” implies that at that time, CryoLife had
  associated bacterial infections as outlined in the [CDC's]      already commenced implementation of the “additional steps”
  MMWR dated March 15, 2002.                                      listed therein. Defendants' argument that the May 2002
                                                                  “CryoLife Update” “stated only that such pre-processing
     1. Warm ischemic time shall not exceed 15 hours unless
                                                                  testing was a step that ‘will be taken’ ” in the future is
     the body is refrigerated within 12 hours. As in the
                                                                  simply wrong. It is also a violation of Rule 11 of the Federal
     past, under no circumstances will CryoLife accept donor
     tissue that has been recovered after 24 hours.               Rules of Civil Procedure. 38 See Fed. R. Civ. P. 11. The
                                                                  court accordingly rejects Defendants' sole argument as to why
     2. Prior to antimicrobial treatment, a microbiological       summary judgment is supposedly proper on this statement.
     sample of representative tissue shall be taken from
     each donor recovery site of orthopaedic tissue. The
     sample shall be incubated and tested for anaerobic
                                                                         h. June 24, 2002 press release (four statements)
     microorganisms. Any resulting growth shall be
     identified. If any Clostridium is identified, all tissue     In the aftermath of the FDA's issuance of its Form 483 in
     processed from that donor recovery site will not be          April 2002, the FDA ultimately—on June 17, 2002—issued
     released for distribution.                                   a warning letter to CryoLife. See Kapoor, 16 F. Supp. 2d
                                                                  at 943 (“If the FDA finds the company's response [to the
      *20 3. Current inventory of tissue (both tissue
                                                                  issuance of a Form 483 to be] unacceptable, the FDA may take
     available for distribution and tissue in quarantine) will
                                                                  further action such as the issuance of a regulatory letter.”).
     be reviewed with regard to warm ischemic time and
                                                                  The June 17, 2002 warning letter essentially dovetails with
     refrigeration time. Any tissue falling outside of the warm
                                                                  the observations recorded in the April 12, 2002 Form 483.
     ischemic or refrigeration time described above will not
     be made available for distribution.
                                                                   *21 In response to the June 17, 2002 warning letter,
Ex. 34 to Defs.' Mot. for Summ. J. (emphasis added).              CryoLife issued a press release on June 24, 2002. Therein,
Plaintiffs assert that this statement was false when made         CryoLife made four statements attacked by Plaintiffs in
                                                                  this case. The first statement at issue from the June 24,


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2002 press release is CryoLife's assertion that “since its            a traditional holiday weekend. The court takes judicial notice
inception, [CryoLife had] never before received a warning             that July 4, 2002 was a Thursday; that July 5, 2002 was a
letter [from the FDA].” Defendants apparently do not dispute          Friday; and that July 8, 2002 was a Monday.
the falsity of this statement. In 1997, Ideas for Medicine,
Inc., a CryoLife subsidiary, received an FDA warning letter.          Although the court reserves the right to revisit its decision
According to Defendants, however, “[t]he record is clear ...          after the Daubert hearing if necessary, the court at this time
that no one involved in the drafting of the June 24 press             concludes that Preston's opinion in this regard is sufficient
release remembered the earlier warning letter when drafting           to create a genuine issue of material fact as to whether
the June 24 press release.” Defendants argue that “[a]t most,         loss was caused by CryoLife's statement that it had never
this was excusable neglect, which is not securities fraud.”           before received an FDA warning letter. Of course, should the
                                                                      court at the Daubert hearing ultimately exclude Preston from
The court disagrees with Defendants as to the supposed                testifying as an expert, the court would likely find summary
clarity of the record. Although the court acknowledges that           judgment for Defendants to be appropriate on this statement,
Anderson and Vander Wyk aver in their affidavits that they            given that Defendants' damages expert—whom Plaintiffs do
“had previously been aware of the 1997 warning letter ... [but]       not seek to exclude—is of the opinion that the relevant days of
did not recall it at the time of the June 24 press release,” the      market observation are June 27, 2002 and July 5, 2002 rather
court notes that Anderson testified in his deposition that the        than July 8, 2002. 39
1997 warning letter was sent directly to him as President and
CEO of CryoLife. Dep. of Steven G. Anderson at 153-54.                 *22 The next statements at issue from the June 24, 2002
Given that summary judgment is generally inappropriate on             press release are CryoLife's assertions that (1) CryoLife
scienter, and further given that the 1997 warning letter was          “carefully considered the CDC's report of March 15, 2002 and
sent directly to Anderson himself, the court finds that there         adopted those recommendations which were scientifically
is a genuine issue of material fact as to whether CryoLife's          useful and technically feasible,” and (2) as of June 24, 2002,
statement that it had “never before received a warning letter”        CryoLife had “either corrected the [FDA's] observations or
was severely reckless when made. Anderson and Vander Wyk              will work closely with the FDA to correct them as soon as
may certainly testify at trial that they did not recall the 1997
                                                                      possible.” 40 According to Plaintiffs, these statements were
warning letter at the time they drafted the June 24, 2002 press
                                                                      knowingly false when made because as of June 24, 2002,
release, but the jury is entitled to evaluate their credibility and
                                                                      CryoLife had still not re-adopted pre-processing testing,
reject their explanation.
                                                                      despite the fact that CryoLife had previously engaged in
                                                                      pre-processing testing until 1997. Plaintiffs also point to the
Defendants also argue that this statement is inactionable
                                                                      FDA's August recall of CryoLife's inventory as evidence
because when it was made public, there was no market
                                                                      of the falsity of the second statement, and on the question
reaction. Specifically, on June 27, 2002, the Wall Street
                                                                      of scienter, Plaintiffs point to a May 15, 2002 letter from
Journal Online reported CryoLife's receipt of the 1997
                                                                      Vander Wyk to the FDA on behalf of CryoLife wherein
warning letter, and on July 5, 2002, CryoLife itself disclosed
                                                                      CryoLife asserted “that the [FDA] has no legal authority to
its receipt of the 1997 warning letter in a corrective press
                                                                      support many of the” observations in the Form 483 and further
release. According to Defendants, because there was no
                                                                      asserted that “the FDA has not yet established the legal basis
market reaction on either June 27, 2002 or July 5, 2002,
                                                                      for such an inspection.” Plaintiffs' argument is essentially
the statement is not actionable as a matter of law because
                                                                      that if in the aftermath of the FDA's issuance of the Form
Plaintiffs cannot show that the statement caused any loss.
                                                                      483 CryoLife was actively questioning the FDA's authority
See, e.g.,    Robbins v. Koger Props., Inc., 116 F.3d 1441,           to support the observations, CryoLife cannot have sincerely
1447 (11th Cir. 1997) (plaintiff must show a substantial link         addressed or intended to address the FDA's observations.
between misrepresentation and investment's decline in value).
According to Preston, however, the relevant price adjustment          Defendants argue that it is “beyond dispute” that as of June
occurred on July 8, 2002, the first “full” trading day after          24, 2002 CryoLife was in good faith addressing certain of
CryoLife issued the corrective press release. Preston's opinion       the FDA's observations and was working to address others. In
is that July 5, 2002 was only a half day of trading and that          support of their argument, Defendants cite the May 15, 2002
trading on that day was exceptionally light because the market        letter to the FDA as well as other correspondence between
had been closed on July 4, 2002 and July 5, 2002 preceded             CryoLife and the FDA.


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                                                                    its observations, and further given the FDA's subsequent
First, the court notes that Defendants neglect to address the       classification of CryoLife's letters of May 15, 2002, June 25,
statement about the CDC's recommendations anywhere in               2002, and July 2, 2002 as essentially unacceptable, the court
their Motion for Summary Judgment or in their reply in              also finds that there are genuine issues of material fact as to
support of their Motion for Summary Judgment, although              whether CryoLife was severely reckless in stating that as of
interestingly, that fact did not stop Defendants from asserting,    June 24, 2002 it had “corrected the [FDA's] observations or
via a chart attached to their reply brief, that they do             will work closely with the FDA to correct them as soon as
address the statement in several places. See Ex. 61 to              possible.”
Defs.' Reply in Support of Their Mot. for Summ. J.
(“Exhibit 61”). In fact, Defendants' Exhibit 61 asserts that         *23 The final statement at issue in the June 24, 2002 press
Defendants address CryoLife's statement about the CDC's             release pertains to CryoLife's distribution of heart valves.
recommendations at pages 22-23, 25-26, and 35-36 of their           Specifically, in its June 24, 2002 press release, CryoLife
Motion for Summary Judgment and at pages 11-13 of their             addressed reports of endocarditis allegedly associated with
reply, but several of those pages contain no discussion             two CryoLife-distributed heart valves, stating: “The ... FDA
about either CryoLife's statement that it was addressing the        inspection at CryoLife, completed in April 2002, followed a
CDC's recommendations or CryoLife's statement that it was           report of two allograft heart valve infections. Subsequently,
addressing the FDA's observations, and at best, the cited           CryoLife received pathology data from the implanting
pages only contain discussion about CryoLife's response to          hospitals' own laboratories that clearly demonstrated that
the FDA's observations. Accordingly, CryoLife's statement           there was no evidence of infection in either valve.” However,
that as of June 24, 2002 it had “carefully considered the CDC's     on July 5, 2002, CryoLife corrected the June 24, 2002
report of March 15, 2002 and adopted those recommendations          statement, stating that “subsequent communications” with
which were scientifically useful and technically feasible”          the CDC revealed “signs of fungal infection were isolated
remains in the case, and the court once again finds itself          on a culture of the explanted [heart] valve.” According to
forced to direct the parties' attention to Rule 11 of the Federal   Defendants, the June 24, 2002 statement was true when made
Rules of Civil Procedure. Defendants' Exhibit 61 (at least with     because—as Plaintiffs acknowledge—a cusp of the valve did
regard to “statement 25a”) is inaccurate and misleading.            in fact test negative for fungal infection at the hospital and that
                                                                    report was sent to CryoLife. Additionally, Defendants argue
As for Defendants' argument that CryoLife was, as of June           that the CDC's subsequent disclosure to CryoLife that there
24, 2002, in good faith addressing the FDA's observations           was evidence of fungal infection in the valves is not sufficient
as noted in the April Form 483 and the June warning letter,         to render the June 24, 2002 statement false when made.
the court agrees with Plaintiffs that the FDA's August 2002
correspondence with CryoLife raises a genuine issue of              However, Plaintiffs argue that the June 24, 2002 statement
material fact as to whether CryoLife had as of June 24,             was false when made, because (as reported in a July 6,
2002 corrected or was “as soon as possible” going to correct        2002 Wall Street Journal Online article and discussed supra
the FDA's observations. The FDA's August 12, 2002 letter            at Section III(B) ), Kainer can apparently testify that on
specifically states that CryoLife's May 15, 2002, June 25,          March 22, 2002, the CDC provided CryoLife with “the
2002, and July 2, 2002 letters “do not adequately address           relevant information” tending to show fungal infection in
most of the violations in the Warning Letter or ... the [Form]      the heart valve. In fact, the July 6, 2002 article reports that
483 observations not specifically mentioned in the Warning          CryoLife confirmed to the CDC that it received the patient's
Letter.” Additionally, on August 13, 2002, the FDA issued its       operation report in March, and that report at least contained
recall order letter for CryoLife's vascular non-valved cardiac      evidence of fungal infection. Given that Kainer can testify
and orthopaedic tissue processed by CryoLife since October          about information pertaining to the patient's endocarditis that
3, 2001. In the recall letter, the FDA advised CryoLife that        she allegedly provided to CryoLife on behalf of the CDC
it was the FDA's “view that CryoLife has not promptly               in March 2002, the court finds that there are genuine issues
implemented appropriate corrective measures to address the          of material fact as to whether CryoLife's June 24, 2002
serious deficiencies that have been brought to [CryoLife's]         statement that the pathology data “clearly demonstrated that
attention,” including the “CDC's recommendations” and               there was no evidence of infection” was knowingly false
the FDA's observations. Moreover, in light of CryoLife's            when made. See also Aug. 12, 2002 Letter from FDA to James
argument to the FDA that the FDA lacked authority to support        Vander Wyk (stating that the CDC “has informed us that they



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notified you on March 22, 2002 that test results from the          of the warning letter itself, there are genuine issues of
hospital where the [heart] valve was implanted confirm that        material fact as to whether the June 25, 2002 statement
the recipient ... had acquired fungal endocarditis”).              that CryoLife's inventory was not under suspicion “at all”
                                                                   was false when made. Moreover, it is apparently undisputed
                                                                   that in January 2002 the CDC requested that CryoLife
                                                                   conduct testing of a portion of its inventory to determine
      i. June 25, 2002 conference call (one statement)
                                                                   whether the inventory contained additional contaminated
On June 25, 2002, CryoLife conducted an analyst conference         tissues. Even accepting Defendants' argument that the CDC
call in order to “discuss the issues associated with the [FDA's]   “lacked regulatory authority to order a recall of CryoLife's
warning letter” of June 17, 2002. Plaintiffs challenge one         tissues,” the court nevertheless disagrees with Defendants
statement from the conference call as false when made;             that the CDC's request in this regard thus “did not indicate
specifically, Vander Wyk's response to the question of             likely future adverse action on the inventory.” Given that the
whether any of the “current issues with the FDA ... could          CDC and the FDA unquestionably worked closely together to
[adversely affect CryoLife's] inventory.” Vander Wyk stated,       investigate CryoLife in the aftermath of the Lykins incident,
in pertinent part:                                                 the CDC's January 2002 request that CryoLife conduct
                                                                   inventory testing, viewed in the light most favorable to
                                                                   Plaintiffs, is evidence that CryoLife's inventory was “under
                                                                   suspicion” for a recall in June 2002. See, e.g., Aug. 12,
             The inventory of tissue that we are
             holding for the procurement agencies,                 2002 Letter from FDA to James Vander Wyk (stating that
             I am not aware is under suspicion at all.             the CDC “has informed us that they notified you on March
             The FDA does, have, always, if you                    22, 2002 that test results from the hospital where the [heart]
             will, standard legal language in every                valve was implanted confirm that the recipient ... had acquired
             warning letter that they ever issue that              fungal endocarditis”); Aug. 13, 2002 Letter from FDA to
             says that a company's operations are                  Steven G. Anderson (noting that the CDC and the FDA
             obviously at risk and there is always                 conducted a “joint inspection” of CryoLife in December
             a potential for action on inventory, but              2001 and criticizing CryoLife for failing to implement CDC
             that is if the issues are not resolved.               recommendations). The evidence that as of June 24, 2002,
             CryoLife intends to resolve the issues,               CryoLife may not have actually intended to address the
             is capable of resolving the issues, and               FDA's observations, combined with the evidence tending to
             has made a commitment to do that. My                  show that as early as January 2002 CryoLife may have been
             opinion right now is that there is no                 on notice of a possible threat to its inventory, also allows
             reflection upon that current inventory.               Plaintiffs to survive summary judgment on the question of
                                                                   scienter. 41


As discussed supra at Section III(C)(1)(h) with regard to           *24 Finally, Defendants argue that the June 25, 2002
the June 24, 2002 press release, there are genuine issues          statement is not actionable because Defendants' disclosures
of material fact as to whether CryoLife in late June in            made “the truth regarding the risk of a recall ... known to
fact “intend[ed] to resolve the issues” raised by the FDA.         the market [such that] any alleged omission regarding such
More specifically, as acknowledged by Defendants in the            risk is inactionable.” The court, however, rejects Defendants'
June 25, 2002 conference call, the June 17, 2002 warning           argument. Defendants' disclosure of the “standard legal
letter expressly advises CryoLife of the possibility of adverse    language” in FDA warning letters indeed conveyed to the
action against its inventory: “You should take prompt action       market that a recall was possible. However (as discussed),
to correct these deviations. [The] FDA may take additional         there are genuine issues of material fact as to whether
regulatory action without further informal notice, including,      the statement was severely recklessly misleading by virtue
but not limited to, seizure, injunction, civil penalties, and/or   the statement's omission of (a) CryoLife's arguable intent
an Order for Retention, Recall, and/or Destruction.” Given         not to comply fully with the FDA's observations, despite
that there are issues of material fact as to whether CryoLife      its assertion directly to the contrary; and/or (b) the CDC's
intended to resolve the issues raised by the FDA in the            January 2002 request for an examination of CryoLife's
Form 483 and the warning letter, and given the language            inventory. Accordingly, “the truth regarding the risk of a



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recall” was not fully known to the market at the time of           false when made because CryoLife did not adopt the
the June 25, 2002 statement, and the statement remains             CDC's pre-processing or tissue discard recommendations
actionable.                                                        until September 2002. As they did in defending the July 23,
                                                                   2002 statements, Defendants argue that CryoLife actually
                                                                   implemented pre-processing testing by June 2002, such that
                                                                   the August 14, 2002 statement was factually accurate. In
      j. July 23, 2002 conference call (two statements)
                                                                   response, Plaintiffs point to Heacox's deposition testimony,
In a July 23, 2002 analyst conference call regarding               wherein he testified that “the date that sits in [his] mind” for
second quarter earnings, CryoLife asserted that “the FDA           when CryoLife began to use a compulsory tissue discard list
observations are being addressed” and also asserted that it        is September 2002.
had implemented “pre-processing bacterial testing.” Plaintiffs
assert that these statements were knowingly false when made,       Although Defendants argue that Heacox's testimony does not
arguing that deposition testimony from Heacox tends to             pertain to when CryoLife instituted pre-processing testing,
show that CryoLife did not implement pre-processing testing        that argument is irrelevant because Heacox's testimony
until September 2002, and further arguing, as discussed            unquestionably does pertain to the matter of when CryoLife
supra, that in July 2002 CryoLife had neither addressed            implemented a compulsory tissue discard list. Specifically,
nor intended to address the FDA observations. Defendants           though Heacox was not 100% certain of the date CryoLife
argue that CryoLife actually implemented pre-processing            commenced compulsory tissue discard, he testified that the
testing by June 2002 and, as discussed, argue that CryoLife        “date that sits in [his] mind is the September [2002] date that
was imminently addressing or had addressed all FDA                 I know of.” Defendants argue that Heacox “could not recall”
observations. The court need not decide which side has the         when CryoLife instituted tissue discard, but the transcript
better of the falsity and scienter arguments for the July          of Heacox's testimony clearly indicates that, to the best of
23, 2002 statements, however. More specifically, Defendants        his recollection, such discard occurred in September 2002.
argue in their Motion for Summary Judgment that Preston            This is sufficient to raise a genuine issue of material fact as
(Plaintiffs' damages expert) is of the opinion that the July 23,   to the falsity of CryoLife's August 14, 2002 statement that
2002 statements actually decreased the percentage inflation        “well in advance” of that date it had adopted the CDC's tissue
of the CryoLife stock price, and that as a result, Plaintiffs      discard criteria. Additionally, the court finds that there are
cannot show that the July 23, 2002 statements caused any loss.     genuine issues of material fact as to whether this statement
Plaintiffs in response simply state that “evidence concerning      was made with severe recklessness, given that CryoLife was
the July 23, 2002 deceptions [is] admissible, even if no           unquestionably aware of the CDC's recommendations in one
particular losses are attributed to them.” However, Plaintiffs     form or another for several months by August 14, 2002.
do not bother to show why any “particular losses” should
be attributed to the July 23, 2002 statements, and as a
result, summary judgment is appropriate thereon. 42 See                            l. 2000 and 2001 Form 10-Ks
   Theoharous, 256 F.3d at 1224.                                    *25 Finally, Plaintiffs challenge statements made by
                                                                   CryoLife in its 2000 and 2001 Annual Report on Form 10-
                                                                   Ks (“Form 10-Ks”). A company's Form 10-K, filed with the
      k. August 14, 2002 press release (one statement)             SEC, is intended to provide a comprehensive overview of
                                                                   the company's business and financial condition. CryoLife's
In its August 14, 2002 press release, announcing                   2000 Form 10-K was filed with the SEC on April 2, 2001.
receipt of the FDA recall order on August 13, 2002,                CryoLife's 2001 Form 10-K was filed with the SEC on March
CryoLife made the following statement: “The [CDC]                  29, 2002.
made several recommendations to CryoLife, many of
which were already included in [CryoLife's] procedures.            Although Plaintiffs reproduce massive sections of each
Others were adopted well in advance of the FDA's                   of CryoLife's Form 10-Ks in the Complaint, the upshot
order, including recommended refrigeration protocols,              of Plaintiffs' claim is that CryoLife misleadingly asserted
preprocessing microbiological cultures and tissue discard          in its Form 10-Ks that it was in compliance with FDA
criteria.” Plaintiffs assert that this statement was knowingly     regulations. According to Plaintiffs, those statements are



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“false and misleading because the FDA confirmed CryoLife's       loss causation is “a causal connection between the material
regulatory violations during inspections in 1998, 1999, 2001
                                                                 misrepresentation[s] and the loss.”      Dura Pharms., Inc. v.
and 2002.” 43 Plaintiffs argue that because the FDA's April      Broudo, 125 S. Ct. 1627, 1631 (2005). In Dura, the Supreme
2002 Form 483, June 2002 warning letter, and August 2002         Court rejected the Ninth Circuit's conclusion that a securities
recall letter all discuss past noncompliance by CryoLife that    fraud plaintiff only need establish that the price of the stock
existed at the time the 2000 and 2001 Form 10-Ks were filed,     at issue was “ ‘on the date of purchase ... inflated because of
there is a genuine issue of fact as to whether the statements    the misrepresentation.’ ” Id. (citation omitted). A securities
at issue in the 2000 and 2001 Form 10-Ks were false when         fraud plaintiff must show that the stock price dropped “after
made.                                                            the truth became known” and that the drop in stock price
                                                                 (i.e., the plaintiff's loss) was caused by the untruth.  Id.
Even accepting Plaintiffs' contention that there is a genuine
                                                                 at 1634. An artificially inflated purchase price “may prove
issue of material fact as to the truth or falsity of the
                                                                 to be a necessary condition of any such loss,” so that the
statements in the Form 10-Ks, the court finds that Plaintiffs
                                                                 “misrepresentation ... ‘touches upon’ [the] later economic
fail to demonstrate a genuine issue of material fact that the
allegedly misleading statements in the Form 10-Ks were           loss.”    Id. at 1632. But “[t]o ‘touch upon’ a loss is not to
made with severe recklessness. Specifically, Plaintiffs do not   cause a loss, and it is the latter that the law requires.” Id.
persuasively address the fact that the Form 10-Ks were both
filed with the SEC prior to the FDA's issuance of the Form        *26 In addition to seeking to exclude Preston's testimony
483, the warning letter, and the recall letter. 44
                                                     Although    on the various bases that will be addressed at the
those documents arguably show that CryoLife's assertions of      Daubert hearing, Defendants also argue that Preston's
regulatory compliance in April 2001 and March 2002 were          analysis improperly finds loss causation where the alleged
inaccurate, the court fails to see how those documents also      misrepresentations only “touch upon” Plaintiffs' loss. 45
show that CryoLife was severely reckless to assert regulatory    However, Preston's rebuttal expert report reflects Preston's
compliance in April 2001 and March 2002. As of those             opinion that the alleged misstatements and the disclosures
dates, it is undisputed that CryoLife had not received a Form    thereof “more than ‘touch[ ] upon’ the causes of investors'
483 since 1999. Although the FDA inspected CryoLife in           losses.” Moreover, Preston's deposition testimony and expert
December 2001, no Form 483 was issued in the aftermath           reports indicate that she will testify (if she otherwise qualifies)
of that inspection. The FDA issued no Form 483 until April       simply that the alleged misstatements “caused” Plaintiffs'
2002. Accordingly, summary judgment is appropriate on the        loss. Preston does not purport to (and, in fact, will not be
statements in CryoLife's Form 10-Ks.                             permitted to) opine that loss causation is present in this case
                                                                 merely because Defendants' misrepresentations “touch upon”
                                                                 investors' losses.
      m. Motive and opportunity evidence of scienter
                                                                 As for loss causation generally, it appears otherwise
The court at this time makes no finding as to the viability      undisputed that if Preston qualifies as an expert at the Daubert
of Plaintiffs' motive and opportunity evidence. Plaintiffs       hearing, her opinions provide Plaintiffs with sufficient
have adduced sufficient evidence of scienter to survive          evidence of loss causation to survive summary judgment.
summary judgment where noted by the court, and Plaintiffs        According to Defendants' final brief on the issue:
have adduced insufficient evidence of scienter to survive
summary judgment (even if they had the benefit of motive and
opportunity evidence) where the court has granted summary                     To be sure, Ms. Preston appears to be
                                                                              of the opinion that some misstatements
judgment on that basis. See    Bryant, 187 F.3d at 1285-86.
                                                                              or omissions caused loss, and she so
                                                                              stated various times in her reports and
                                                                              her depositions. The problem is that
                      n. Loss causation                                       Plaintiffs ... have not shown that Ms.
                                                                              Preston's opinions in this regard [meet
Finally, the court addresses Defendants' loss causation
argument. As recently explained by the Supreme Court,



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            the requirements of] Federal Rule of                  statement is made misleading by defendants' omission. Their
            Evidence 702 [and] Daubert.                           failure to do so is fatal to those claims”).

                                                                  Plaintiffs assert that “[a]ll of the alleged false statements [on
Defs.' Resp. to Pls.' Mot. for Leave to File Supplemental         which they move for summary judgment] pertain to” issues
Br. to Address Intervening Supreme Ct. Authority at 2.            raised in the Complaint, such as CryoLife's tissue processing
Accordingly, although the court is willing to revisit the         procedures and the government investigation of CryoLife, but
question of loss causation should Preston ultimately not          that is not the point. The statements themselves are not in the
qualify as an expert, at this time, summary judgment is not       Complaint, and that is unquestionably required for recovery
                                                                  under the PSLRA. Plaintiffs' argument that “Defendants have
appropriate thereon. 46
                                                                  been on notice of all of the statements that are the subject
                                                                  of Plaintiffs' Motion [for Partial Summary Judgment] for
                                                                  many months” is unavailing for the same reason. The PSLRA
    2. Plaintiffs' Motion for Partial Summary Judgment            requires that for a statement to be actionable, it must be
                                                                  pled in the Complaint. In light of the fact that Plaintiffs'
Plaintiffs themselves seek summary judgment on several
                                                                  attorneys purportedly specialize in securities fraud cases,
other allegedly misleading statements made by Defendants.
                                                                  Plaintiffs' Motion for Partial Summary Judgment (beyond the
Specifically, Plaintiffs ask the court to grant them summary
                                                                  one statement from the June 25, 2002 conference call that is
judgment on statements allegedly made in CryoLife's March
                                                                  in the Complaint) thus borders on the frivolous. 48 Plaintiffs'
15, 2002 conference call (and reduced to writing in CryoLife's
March 2002 “CryoLife Update”); a statement from the April         Motion for Partial Summary Judgment is thus DENIED. 49
23, 2002 press release; and a statement from an April 24, 2002
conference call. 47 However, because essentially none of the      IV. Summary
statements upon which Plaintiffs seek summary judgment            And thus, over eighty pages after it began, the court has
are in the Complaint, summary judgment for Plaintiffs is          addressed each and every motion currently pending on the
inappropriate on those statements. Indeed, Plaintiffs are         docket in this case. To recap: Plaintiffs' Advice of Counsel
precluded from recovering on any statements not pled in the       Motion to Compel [Doc. No. 135] is DENIED, with Plaintiffs
Complaint.                                                        to pay Defendants' reasonable attorney's fees and costs
                                                                  incurred in responding to the Motion. Plaintiffs' Motion to
 *27 The Private Securities Litigation Reform Act of 1995         Compel Documents from Experts [Doc. Nos. 165 and 168]
(“PSLRA”) “insists that securities fraud complaints ‘specify’     is DENIED. Defendants' Motion for Daubert Hearing [Doc.
each misleading statement; that they set forth the facts          No. 150] is GRANTED. The Daubert hearing is scheduled for
‘on which [a] belief’ that a statement is misleading was
                                                                  Tuesday, June 28, 2005 and Wednesday, June 29, 2005. 50
‘formed’; and that they ‘state with particularity facts giving
rise to a strong inference that the defendant acted with
                                                                  Defendants' Motion to Exclude Plaintiffs' Experts' Opinions
the required state of mind.’ ”   Dura, 125 S. Ct. at 1633         as to Truth or Falsity [Doc. No. 151] is GRANTED IN PART
(citing the PSLRA, 15 U.S.C. §§ 78u-4(b)(1), (2) ) (emphasis      AND DENIED IN PART, without prejudice to Defendants'
added). This requirement is well-settled, and as illustrated      right to later move in limine to exclude from evidence alleged
by the Supreme Court's use of the word “insists,” it is non-      misstatements that are not in the Complaint but that Plaintiffs
negotiable. See also Phillips v. Scientific-Atlanta, Inc., 374    might seek to introduce into evidence on the question of
F.3d 1015, 1016 (11th Cir. 2004) (“The statute states that        scienter. The court defers ruling on Defendants' Motion
the complaint ‘shall specify each statement alleged to have       to Exclude Kainer [Doc. No. 152], Defendants' Motion to
                                                                  Exclude Doppelt and Eastlund [Doc. No. 153], Plaintiffs'
been misleading....’ ”) (emphasis added);        Anderson, 140    Motion to Exclude Trainor [Doc. No. 182], Defendants'
F. Supp. 2d at 903-04 (holding that because statements in         Motion to Exclude Preston [Doc. No. 184], and Plaintiffs'
securities fraud class action “were not pled” in Complaint, the   Motion to Exclude Benson [Doc. No. 230] until the Daubert
court “need not discuss them” and further holding that under      hearing, except as otherwise noted herein. Additionally, for
the PSLRA, “plaintiffs must, at the very least, identify which    purposes of docket maintenance, Defendants' Motion to




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                                                                Finally, for the foregoing reasons and in the manner described
Exclude Kainer [Doc. No. 163] and Plaintiffs' Motion to
                                                                herein, Defendants' Motion for Summary Judgment [Doc. No.
Exclude Trainor [Doc. No. 181] are DENIED.
                                                                194] is GRANTED IN PART AND DENIED IN PART, and
                                                                Plaintiffs' Motion for Partial Summary Judgment [Doc. No.
 *28 Defendants' Motion to Amend the Scheduling Order
                                                                197] is DENIED. The parties' consolidated pretrial order is
[Doc. No. 149] is DENIED AS MOOT. The parties' Joint
                                                                due within twenty (20) days after the court's Daubert rulings,
Motion to Extend Page Limits for Summary Judgment
                                                                and no extensions will be granted. (That deadline is “set in
Briefing [Doc. No. 172] is GRANTED. Defendants' Motion
                                                                stone.”)
for Oral Argument [Doc. No. 195] is DENIED. Defendants'
Motion to File Under Seal [Doc. No. 196] is GRANTED.
Plaintiffs' Motion for Leave to File Supplemental Brief to      IT IS SO ORDERED, this 17 th day of June, 2005.
Address Intervening Supreme Court Authority [Doc. No.
231] and Plaintiffs' Motion for Leave to File Supplemental
                                                                All Citations
Brief to Address Intervening Eleventh Circuit Authority
[Doc. No. 232] are GRANTED.                                     Not Reported in Fed. Supp., 2005 WL 8155579




                                                       Footnotes


1      Apparentlydueto issues arising out of filing the documents under seal, Plaintiffs' Motion to Compel Documents
       from Experts appears twice on the court's docket. The same is true of Defendants' “Motionto Exclude Expert
       Opinions of Plaintiffs' Expert, Dr. Marion Kainer” [Doc. Nos. 153 and 163] and Plaintiffs' “Motion to Exclude
       Opinions of Defendants' Expert Lance D. Trainor, M.D.” [Doc. Nos. 181 and 182].

2      Defendants' Motion to Amend the Scheduling Order is DENIED AS MOOT, because Defendants filed their
       Motion for Summary Judgment on March 11, 2005 in compliance with the court's Scheduling Order of
       October 14, 2004 (the “October 14 Scheduling Order”). However, the court would be remiss if it did not
       note that its October 14 Scheduling Order expressly stated that the deadlines therein were “set in stone,
       and shall not be extended.” Order of October 14, 2004 at 3. Even given some of the remarkably improper
       arguments made by both parties throughout this litigation (see infra), the court will not accept that its October
       14 Scheduling Orderwas somehow unclear in this regard. Defendants' insistence on filing their Motion to
       Amend the Scheduling Order, however well-intentioned, is illustrative of both parties' ongoing disregard of
       this court's obligation to manage the litigation before it. It is the court's view that if the court's deadlines and
       rules had been more closely followed by the parties, this case (one out of 195 civil cases) would not be solely
       responsible for over 10% of the court's current pending civil motions list.

3      The parties' Joint Motion to Extend Page Limits for Summary Judgment Briefing is GRANTED.

4      Defendants' Motion for Oral Argument is DENIED. As a general matter, motions are “decided by the court
       without oral hearing.” L.R. 7.1(E), N.D. Ga. Additionally, given the mass of filings in this case and the
       thousands of pages of documents in the record, the court finds it difficult to imagine that the parties have
       anything else relevant to say.

5      Defendants' Motion to File Under Seal is GRANTED.

6      Plaintiffs' Motion for Leave to File Supplemental Brief to Address Intervening Supreme Court Authority is
       GRANTED.




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7      Plaintiffs' Motion for Leave to File Supplemental Brief to Address Intervening Eleventh Circuit Authority is
       GRANTED.

8      The court acknowledges that Plaintiffs' Motion for Partial Summary Judgment purports to have been filed on
       March 11, 2005. See Pls.' Mot. for Partial Summ. J. at 35 (“Respectfully submitted this 11th day of March
       2005.”). Nevertheless, the Clerk of the Court's file stamp reflects that Plaintiffs' Motion was filed with the court
       on March 14, 2005, and the court's docket reflects the same. Although the Federal Rules of Civil Procedure
       do provide a three-day time extension for a party who “is required to do some act or take some proceedings
       within a prescribed period” after the party is served by the opposing party, that extension is not applicable
       here because Plaintiffs were not taking action “after the service of [any] notice or other paper [by the opposing
       party] ... under Rule 5(b)(2)(B), (C), or (D).” Fed. R. Civ. P. 6(e). Accordingly, Plaintiffs' Motion for Partial
       Summary Judgment was to be filed with the court on or before March 11, 2005, and the court finds that it
       was not so filed. See Order of October 14, 2004 at 2.

9      The partieshadlong-since commenced expert discovery and themselves proposed the initial October 11,
       2004 designation deadline; accordingly, the court accepted the October 11, 2004 deadline despite entering
       the Scheduling Order on October 14, 2004.

10     In actuality, the latest possible date of “service of the disclosure or discovery response upon which the
       objection is based” is December 27, 2004, the date upon which Defendants served Plaintiffs with the allegedly
       deficient responses to the second set of subpoenas directed to Nolte and Trainor. L.R. 37.1(B), N.D. Ga.
       (emphasis added).

11     Because the court supposes that Plaintiffs might have thought that the relevant date of “service” implicated
       by Local Rule 37.1(B) was actually February 9, 2005, the court will not require Plaintiffs to pay Defendants'
       attorney's fees and costs incurred in responding to Plaintiffs' Motionto Compel Documents from Experts. The
       court, however, rejects the notion that the relevant date of “service” here could have been February 9, 2005.
       Although Defendants hand-delivered a letter to Plaintiffs on February 9, 2005 that apparently concluded
       the parties' month-long attempt to resolve this discovery dispute in good faith, the letter is irrelevant for
       purposes of Local Rule 37.1(B). See supra note 10. While the court appreciates Plaintiffs' attempts to resolve
       this dispute without immediately involving the court, once those efforts proved unsuccessful, Plaintiffs were
       required to file any motion to compel arising out of the discovery dispute prior to the close of the relevant
       discovery period.

12     The court notes that the remaining version of Defendants' Motion to Exclude Kainer [Doc. No. 152] is missing
       two pages (pages 10 and 16). As those two pages are available in full to the court in the redacted version of
       Defendants' Motion to Exclude Kainer [Doc. No. 163], the court will simply refer to pages 10 and 16 of the
       redacted version of Defendants' Motion if and when it is necessary.

13     The court nevertheless acknowledges Plaintiffs' point that Defendants incorrectly assert that twenty-six of the
       thirty statements at issue were not pled in the Complaint. In actuality, twenty-three of the thirty statements
       were not pled in the Complaint. Specifically, referencing Exhibit A to Defendants' Motion, the court notes that
       the statements from the “[1]2/7 press release,” the “1/29 press release,” and the “May 2002 White Paper” are
       asserted to be false and misleading in Plaintiffs' Complaint, despite Defendants' claim to the contrary. In fact,
       Defendants move for summary judgment on those statements, and in their Motion for Summary Judgment,
       Defendants acknowledge that those statements are included in Plaintiffs' Complaint. Yet Defendants' reply
       brief in support of their Motionto Exclude Plaintiffs' Experts' Opinions as to Truth or Falsity does not address
       the complete inaccuracy of Defendants' Exhibit A in this regard. Perhaps if this were the only occurrence of
       such distortion of the record in this case, the court might not be so concerned. Unfortunately, as detailed
       infra, it is not the only such occurrence. See generally Fed. R. Civ. P. 11.




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14     The court finds these two assertions by Plaintiffs to be extremely noteworthy, as Plaintiffs' Motion for Partial
       Summary Judgment seeks summary judgment on several statements that are not pled in the Complaint,
       including, by the court's count, at least four statements that Defendants attack in their Motion to Exclude
       Plaintiffs' Experts' Opinions as to Truth or Falsity. Although the court defers the question of whether or
       not evidence of the (non-pled) allegedly false statements is admissible under Federal Rule of Evidence
       404(b) in order to show Defendants' alleged fraud, the court—both for the alleged misstatements attacked
       in Defendants' Motion to Exclude Plaintiffs' Experts' Opinions as to Truth or Falsity and for the alleged
       misstatements that are the subject of Plaintiffs' Motion for Partial Summary Judgment—will hold Plaintiffs to
       their assertion that they “are not attempting to amend the Complaint.” See also 15 U.S.C. § 78u-4(b); Fed.
       R. Civ. P. 15; discussion infra at Section III(C)(2).

15     Accordingly, although Defendants' Motion is DENIED IN PART, such denial is WITHOUT PREJUDICE
       as to Defendants' right to seek (at the appropriate time) a pre-trial ruling on the admissibility of alleged
       misstatements that are not included in the Complaint.

16     The court makes no finding as to the admissibility of this statement. Plaintiffs will not be permitted to recover
       on this statement, as it is not pled in the Complaint. The court merely cites the statement as an example
       of how Plaintiffs' experts' testimony on the truth or falsity of certain statements might be helpful to the jury,
       as a general proposition.

17     During the relevant time period, CryoLife apparently soaked its donors in a “antimicrobial cocktail” (immersing
       the tissue in an antibiotic mixture) as part of its tissue processing procedures. According to Plaintiffs, the
       antimicrobial cocktail is not effective against spore-forming organisms such as clostridium.

18     The court makes no finding in this regard at this time, instead electing to wait until the Daubert hearing.
       However, the court notes that Kainer was an Epidemic Intelligence Service Officer with the CDC for two
       years; spearheaded a lengthy CDC investigation of CryoLife upon Lykins' death; and is the co-author of a
       New England Journal of Medicine article discussing a study that concluded that the risk of infection from
       CryoLife tissue vis-a-vis its competitors' tissue was significantly higher due to CryoLife's processing methods.

19     The court notes that Plaintiffs assert that they “have not and will not offer Kainer, Doppelt, and Eastlund to
       testify about any legal conclusions as to liability.”

20     The court gathers that there are different types of clostridium bacteria, including clostridium sordellii and
       clostridium septicum. It appears undisputed that Lykins died of a clostridium sordellii infection. As far as the
       court can tell, the parties have failed to explain the distinction between these different types of clostridium
       (beyond Defendants' unsupported assertion in their Motion for Summary Judgment that clostridium sordellii
       is “an entirely different species” from clostridium septicum ). See infra at Section III(C)(1)(a).

21     The court takes judicial notice that endocarditis is “aninfection of the inner lining of the heart or its valves ...
       usually caused by bacteria and ... more likely to occur in people who have heart valve defects or have
       had heart surgery to treat valve disease.” Heart Disease: Glossary of Terms, WebMDHealth (Charlotte E.
       Grayson, M.D. ed. June 2004), at http://mywebmd.com/content/pages/9/1675_57847.

22     Defendants' Daubert-based challenges to Kainer's testimony raised in Defendants' Motion to Exclude
       Plaintiffs' Experts' Opinions as to Truth or Falsity are DENIED. The court will not accept two separate Daubert
       motions attacking the same witness and thereby permit an end run around the court's Local Rules governing
       the length of briefs.

23     The court recognizes that Defendants, in passing, make certain other arguments for summary judgment. First,
       Defendants argue generally at the beginning of their Motion that summary judgment is proper because “[t]he
       allegedly omitted facts were already known to the market.” However, Defendants point to only a few specific


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       misstatements that were allegedly known to the market prior to their disclosure. The court will address those
       statements where applicable. Second, Defendants argue in a footnote that Plaintiffs have failed to carry “their
       burden of demonstrating that each of the individual Defendants was involved in the dissemination of allegedly
       false or misleading statements ... especially ... Dr. Heacox.” The court disagrees, as Dr. Heacox himself
       testified that he would generally review some edits of press releases pertaining to laboratory operations
       prior to their release, and several of the statements at issue in the Complaint pertain to CryoLife's laboratory
       operations. Additionally, the court rejects Defendants' vague and unspecific argument that Plaintiffs have
       failed to demonstrate that the other individual Defendants were involved in disseminating the allegedly false or
       misleading statements. “[I]t is the movant's responsibility—not the Court's—to search the record and identify
       those portions which support the motion for summary judgment.” Anderson v. Raddison Hotel Corp., 834 F.
       Supp. 1364, 1369 n.3 (S.D. Ga. 1993). Finally, Defendants argue that they are entitled to summary judgment
       on the      Section 20(a) claims because Plaintiffs cannot prove a primary violation by CryoLife (i.e., because
       Plaintiffs' Rule 10b-5 claims fail). Thus, if the court concludes that any primary violation claim against CryoLife
       survives summary judgment, the         Section 20(a) claim will survive summary judgment as well.

24
       In      Bonner v. City of Prichard, 661 F.2d 1206 (11th Cir. 1981) (en banc), the Eleventh Circuit adopted
       as binding precedent all decisions of the former Fifth Circuit handed down prior to October 1, 1981.

25     Finally, the court briefly addresses Defendants' argument that Plaintiffs' evidence that CryoLife tissue was
       subject to ninety-six voluntary recalls over three years was “overstated,” and that, at any rate, the FDA
       published all voluntary recalls so that such information was already known to the market. Because the court
       did not rely on Plaintiffs' purported evidence of CryoLife's voluntary recalls in evaluating CryoLife's statement
       that CryoLife's “processing protocols in its clean-room environment assure the highest standard of quality
       control,” the court need not rule on the merits of Defendants' arguments at this time. Moreover, even if the
       market was aware of CryoLife's voluntary recalls on December 7, 2001, the court is not certain that awareness
       would necessarily include an awareness that CryoLife's processing protocols did not in fact assure the highest
       standard of quality control.

26     According to the FDA's website, “MAUDE data represents reports of adverse events involving medical
       devices.” Manufacturer and User Facility Device Experience Database, at http://www.fda.gov/cdrh/
       maude.html.

27     The court takes judicial notice that an allograft is “a transplanted organ or tissue from a genetically non-
       identical member of the same species. Most human tissue and organ transplants are allografts.” Allograft,
       Wikipedia: The Free Encyclopedia, at http://en.wikipedia.org/wiki/Allograft.

28     In fact, the court notes that CryoLife's own “CryoLife Update” newsletter from May 2002—in which CryoLife
       outlined steps that it was “taking” to “reduce the risk of orthopaedic allograft-associated bacterial infections”—
       does not differentiate between different types of clostridium, and instead states that CryoLife would not
       release tissue for distribution “[i]f any Clostridium [was] identified....” Ex. 33 to Defs.' Mot. for Summ. J.
       (emphasis added).

29     Throughout Section III(C)(1), the court may state that various statements “survive summary judgment,” or
       words to that effect. The court implies no ruling on the loss causation issue when it states that a particular
       statement “survives summary judgment”; rather, the court simply means that Defendants' challenges to the
       statement on falsity and scienter grounds fail for summary judgment purposes.




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30     Additionally, the court again notes that although Defendants assert that there is a meaningful distinction
       between clostridium sordellii and other types of clostridium, Defendants cite no record evidence in support
       of this proposition. See Anderson, 834 F. Supp. at 1369 n.3; see also supra note 20.

31     Additionally, the court notes that if Kainer qualifies as an expert at the Daubert hearing, it is her opinion is
       that the ordinary treatment time for a post-operative septic knee infection is six weeks, such that a patient
       first treated for such an infection on November 21, 2001 would ordinarily not have even completed treatment
       until on orabout January 2, 2002 (to say nothing of when that patient might have fully recovered).

32     For this reason, the court need not address Defendants' argument that this statement is not actionable
       because there was in fact “no evidence of Clostridium sordellii infection” in the other recipients of Lykins
       donor tissue. However, the court notes that septic arthritis is apparently consistent with a clostridium sordellii
       infection, such that it was arguably misleading for CryoLife to state that there was “no evidence” of a
       clostridium sordellii infection. CryoLife was on notice by December 3, 2001 that one of the recipients of Lykins
       donor tissue had contracted septic arthritis. Regardless, because there are genuine issues of material fact
       as to whether the other recipients of tissue from the Lykins donor were all “doing well” as of December 14,
       2001, this statement survives summary judgment.

33     The court's finding in this regard is limited to Defendants' argument that this specific statement is inactionable
       because Preston supposedly testified that the statement caused no loss. The court draws no conclusions at
       this time regarding the general admissibility of Preston's testimony.

34     This statement is essentially identical to the companion “doing well” statements in the December 7, 2001 and
       December 14, 2001 press releases, but the court notes that Plaintiffs do not appear to expressly plead this
       statement in the Complaint. Given the court's general holding infra that Plaintiffs cannot recover on statements
       not pled in the Complaint, the court would under ordinary circumstances hold that this statement is thus out
       of the case. However, the parties appear to agree that this statement was properly pled by Plaintiffs, as
       Defendants move for summary judgment on the statement and also assert that their Motion for Summary
       Judgment addresses only those claims actually pled by Plaintiffs. Accordingly, the court will proceed as
       though this statement appears in the Complaint.

35     Similarly, although Defendants conclusorily argue in their reply that “any alleged misstatements omissions
       [sic] by Defendants with respect to the CDC recommendations were immaterial and caused no loss,”
       Defendants did not raise this point in their Motion for Summary Judgment and accordingly the court does not
       address it beyond the court's discussion of Defendants' general loss causation argument infra.

36     The court nevertheless observes that Plaintiffs incorrectly and improperly classify Baxter Healthcare Corp. as
       a case in which the “Seventh Circuit noted” that a Form 483 is the “FDA's method of informing the inspected
       facility of the agency's belief of a violative practice.” Baxter Healthcare Corp., 901 F.2d at 1415. The quoted
       language is from the dissent of Senior Circuit Judge Pell and does not constitute any type of observation or
       holding of the “Seventh Circuit.” The court once again directs the parties' attention to Rule 11 of the Federal
       Rules of Civil Procedure. See Fed. R. Civ. P. 11.

37     The court acknowledges that Defendants assert elsewhere that CryoLife implemented such testing as of
       June 3, 2002; however, the point for this statement is that Defendants do not dispute that such testing was
       not in place when the May 2002 “CryoLife Update” was published.

38     The court notes that despite the fact that Plaintiffs raise the argument adopted by the court herein in their
       opposition to Defendants' Motion for Summary Judgment, Defendants do not even address the point in
       their reply brief. The court is not certain whether this should be taken as an indication that Defendants
       inadvertently made their “will be taken” argument in their Motion for Summary Judgment and now waive



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       the point, or whether Defendants, having been caught red-handed in an intentional misrepresentation of the
       record, choose to simply hide behind their silence. Either way, Defendants' conduct is unacceptable.

39     The court notes, however, that Preston has apparently been permitted to testify as an expert witness on
       damages issues in securities law cases in several other federal courts. See Pls.' Resp. in Opp'n to Defs.'
       Mot. to Exclude Preston at 6-7 and infra note 45.

40     The court was unable to locate the second of these statements in the Complaint. However, Defendants treat
       the statement as properly pled, and the court will accordingly follow suit. See supra note 34.

41     The court acknowledges that Wells (Plaintiffs' own regulatory expert) was unwilling to testify that Defendants
       should have known that a recall was “likely,” instead only testifying that Defendants should have known that a
       recall was “possible.” This is evidence tending to show that Defendants were not severely reckless in asserting
       that CryoLife's inventory was not under suspicion in June 2002; however, it is for the jury to determine which
       evidence is more persuasive on the question of scienter. See, e.g., Sammons, 967 F.2d at 1545. For these
       same reasons, Plaintiffs' Motion for Partial Summary Judgment on this statement is DENIED. See infra at
       Section III(C)(2).

42     As discussed supra, the court does not at this time decide the question of whether evidence of other alleged
       misstatements is admissible for the purpose of proving fraud.

43     The court notes that although Plaintiffs also assert that the Form 10-Ks misleadingly state that CryoLife
       was “inspected by the FDA and four states,” Plaintiffs point to no evidence in support of that allegation, and
       accordingly summary judgment is proper thereon.

44     Indeed, the court notes that the 2000 Form 10-K was filed well in advance of the Lykins incident.

45     The court notes that Plaintiffs inconsistently (and improperly) argue for and against the “touch upon” theory
       of causation. Compare Pls. Mot. for Partial Summ. J. at 20 (“To demonstrate loss causation, ‘plaintiff must
       show that the misrepresentation touches upon the reasons for the investment's decline in value.’ ”) (citation
       and internal quotation marks omitted); with Pls.' Supplemental Mem. of Law to Address Intervening Supreme
       Ct. Authority at 2 n.1 (“Defendants claim that ‘Plaintiffs have [mis]read [Eleventh Circuit case law] to permit
       proof of loss causation through evidence that an alleged misstated or omitted fact touches upon the subject
       matter of a later disclosure that precedes a stock drop.’ Plaintiffs have done no such thing, having altogether
       omitted any ‘touches upon’ analysis from their Opposition.”) (citation and internal quotation marks omitted).
       Regardless, Dura clarifies that a misrepresentation must do more than “touch upon” a plaintiffs' loss.

46     The court again notes with some interest, however, that Preston has been permitted to testify as an expert
       witness in front of several other federal courts, including at least once on behalf of the SEC. See Pls.' Resp.
       in Opp'n to Defs.' Mot. to Exclude Preston at 6-7. The court also notes that, although the parties have not
       briefed the question, some courts have apparently reserved the issue of causation for a separate hearing
       after a finding that the other elements are present. See 4 Alan R. Bromberg & Lewis D.Lowenfels, Securities
       Fraud and Commodities Fraud § 7:499 (2d ed. 2004) (“Such a procedure ... helps to promote settlement and
       avoid confusion of the different possible functions of causation.”).

47     Plaintiffs also seek summary judgment on CryoLife's June 25, 2002 assertion in an investor conference call
       that its inventory was not under FDA suspicion at that time. As discussed supra at note 41, Plaintiffs' Motion
       for Partial Summary Judgment on this statement is DENIED because there are genuine issues of material
       fact on the issue of whether the statement was made with the requisite level of scienter.




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48     The court additionally finds Plaintiffs' Motion for Partial Summary Judgment to be particularly improper in light
       of the assurances Plaintiffs made to the court in their response to Defendants' Motion to Exclude Plaintiffs'
       Experts' Opinions as to Truth or Falsity. See supra note 14 and accompanying text.

49     Finally, beyond the substantive failures of Plaintiffs' Motionfor Partial Summary Judgment, the court also
       denies the Motion on the grounds that it is untimely. See supra note 8. For future reference, in case there
       was any confusion, the court advises the parties that when a deadline is “set in stone,” that means it is non-
       negotiable.

50     Inlight of the parties' dispute about the necessity for a Daubert hearing, the court is reluctantly willing to revisit
       the scheduling of the hearing prior to its actual commencement, via teleconference with the parties.



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                         TAB No. 9




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                                                                Baumstein, Esquire, and Kimberly A. Haviv, Esquire of
                     2015 WL 6039690                            White & Case LLP.

                                                                Kenneth J. Nachbar, Esquire and Lindsay M. Kwoka, Esquire
Editor's Note: Additions are indicated by Text and deletions
                                                                of Morris, Nichols, Arsht & Tunnell LLP, Wilmington,
by Text .
      Only the Westlaw citation is currently available.         Delaware. Counsel for Defendants Kleiner Perkins Caufield
         United States District Court, D. Delaware.             & Byers LLC and Ray Lane. Of Counsel: Michael D. Celia,
                                                                Esquire, Laurie Carr Mims, Esquire, and Sophie A. Hood,
      IN RE FISKER AUTOMOTIVE HOLDINGS,                         Esquire of Keker & Van Nest LLP.
          INC. SHAREHOLDER LITIGATION

                    Civ. No. 13-2100-SLR                             * * REVISED MEMORANDUM OPINION * *
                               |
                   Signed October 15, 2015                      ROBINSON, District Judge

Attorneys and Law Firms                                         I. INTRODUCTION
                                                                 *1 By an order dated June 30, 2014, the court consolidated
Norman M. Monhait, Esquire and P. Bradford deLeeuw,             three securities fraud lawsuits filed against defendants Henrik
Esquire of Rosenthal, Monhait & Goddess, P.A., Wilmington,      Fisker, Bernhard Koehler, Joe DaMour, Peter McDonnell,
Delaware. Counsel for Plaintiffs. Of Counsel: Kurt Olsen,       Kleiner Perkins Caufield & Byers LLC, Ray Lane, Keith
Esquire of Klafter Olsen & Lesser LLP and Todd S.               Daubenspeck, Richard Li Tzar Kai, and Ace Strength,
Collins, Esquire and Barbara A. Podell, Esquire of Berger &
                                                                Ltd. (collectively “defendants”). 1 (D.I. 23) On July 23,
Montague, P.C.
                                                                2014, plaintiffs 2 filed an amended consolidated complaint
M. Duncan Grant, Esquire and Christopher B. Chuff., Esquire     (“complaint”) alleging violations of the Securities Act of
of Pepper Hamilton LLP, Wilmington, Delaware. Counsel           1933 (the “Securities Act”) and the Securities Exchange Act
for Defendant Keith Daubenspeck. Of Counsel: Min Choi,          of 1934 (the “Exchange Act”). (D.I. 24) Presently before
Esquire of Pepper Hamilton LLP.                                 the court are defendants' motions to dismiss the consolidated
                                                                complaint. (D.I. 29; D.I. 31; D.I. 33; D.I. 36; D.I. 38; D.I.
Vernon R. Proctor, Esquire of Proctor Heyman Enerio             43) Plaintiffs filed a motion for judicial notice of certain
LLP, Wilmington, Delaware. Counsel for Defendant Peter          documents. (D.I. 54) The court has jurisdiction pursuant to
McDonnell. Of Counsel: Steven J. Rosenberg, Esquire of          Section 22 of the Securities Act (15 U.S.C. § 77v), Section
Steven J. Rosenberg, P.C.                                       27 of the Exchange Act (15 U.S.C. § 78aa), and 28 U.S.C. §
                                                                1331.
William B. Chandler III, Esquire and Ian R. Liston, Esquire
of Wilson Sonsini Goodrich & Rosati, P.C., Wilmington,
Delaware. Counsel for Defendants Henrik Fisker and              II. BACKGROUND
Bernhard Koehler. Of Counsel: David J. Berger, Esquire and
Steven Guggenheim, Esquire of Wilson Sonsini Goodrich &            A. The Parties
Rosati, P.C.                                                    Plaintiffs PEAK6 Opportunities Fund L.L.C. and MCP Fisker
                                                                are Illinois-based entities. Plaintiff 8888 Investments GmbH
J. Clayton Athey, Esquire of Prickett, Jones & Elliott, P.A.,   is a Swiss-based entity. Plaintiff 12BF Global Investments,
Wilmington, Delaware. Counsel for Defendant Joe DaMour.         Ltd. is a company organized under the laws of the
Of Counsel: Peter M. Stone, Esquire and Panteha Abdollahi,      Cayman Islands with limited liability. Plaintiff ASC Fisker
Esquire of Paul Hastings LLP.                                   L.L.C. is a Florida-based entity. Plaintiff CK Investments
                                                                LLC (“CK Investments”) is a Maryland-based entity. The
Samuel A. Nolen, Esquire and Katharine C. Lester, Esquire
                                                                following entities are based in Texas: Plaintiff Atlas
of Richards, Layton & Finger, P.A., Wilmington, Delaware.
                                                                Management, the general partner and investment advisor to
Counsel for Defendants Richard Li Tzar Kai and Ace Strength
                                                                plaintiff Atlas Fund (collectively, “Atlas”); plaintiff Hunse
Ltd. Of Counsel: Glenn M. Kurtz, Esquire, Douglas P.
                                                                Investments, L.P. (“Hunse Investments”); plaintiff Southwell
                                                                Partners, L.P. (“Southwell”); plaintiff Sandor Master Capital



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Fund (“Sandor”); and plaintiff Pinnacle Family Office
Investments, L.P. (“Pinnacle”). Plaintiffs SAML Partners
(“SAML Partners”) and Kenneth & Kimberly Roebbelen                  B. Fisker Automotive
Revocable Trust of 2001 (“KKRR Trust”) are California-           In 2003, Fisker and Koehler founded Fisker Coachbuild
based entities. Plaintiffs David W. Raisbeck (“Raisbeck”) and    LLC to create “new exterior car designs while utilizing
Dane Andreeff (“Andreeff”) are residents of Florida. Plaintiff   existing luxury car engineering.” (D.I. ¶ 37) On August 7,
John S. Lemak (“Lemak”) is a resident of Texas. Plaintiff        2007, Quantum Fuel Systems Technologies Worldwide, Inc.
Brian Smith (“Smith”) is a resident of Utah. (D.I. 24 at ¶¶      (“Quantum Fuel Systems”) and Fisker Coachbuild, LLC,
9-25)                                                            launched Fisker Automotive to build plug-in hybrid cars and
                                                                 in the process sold $5.5 million in Series A financing. Fisker
Non-party Fisker Automotive is a Delaware corporation            Automotive anticipated initial deliveries of a four-door sports
which had its principal place of business in Anaheim,            sedan by December 2009. (Id. at ¶¶ 38-39) In January 2008,
California. Non-parties Middlebury Group LLC, Middlebury         Fisker Automotive completed a $20 million Series B round of
Ventures II/III, LLC, and/or Ridgemakers SPV II/III, LLC         financing, with Kleiner Perkins contributing more than $10
                                                                 million and Lane joining Fisker Automotive's Board. (Id. at
(collectively, “Middlebury”) 3 are Delaware limited liability
                                                                 ¶¶ 41-42)
companies, which were also used by Fisker Automotive to
raise capital. (Id. at ¶¶ 26, 36)
                                                                 On or about December 31, 2008, Fisker Automotive applied
                                                                 for a loan with the U.S. Department of Energy (“DOE”) under
 *2 Defendant Henrik Fisker (“Fisker”) was a co-founder
                                                                 the DOE's Advanced Technology Vehicles Manufacturing
and Director of Fisker Automotive. He was also Fisker
                                                                 Loan Program (“the ATVM loan”). (Id. at ¶¶ 44) On or about
Automotive's Chief Executive Officer from its inception
                                                                 March 2, 2009, Fisker Automotive raised approximately
through February 2012. Defendant Bernhard Koehler
                                                                 $68.5 million in Series C financing, including another
(“Koehler”) was a co-founder of Fisker Automotive's
                                                                 investment from Kleiner Perkins. (Id. at ¶ 45) On August
predecessor entity, Fisker Coachbuild, LLC, and was Fisker
                                                                 23, 2009, Koehler wrote an email to the DOE inquiring
Automotive's Chief Operating Officer at all relevant times.
                                                                 about the status of the ATVM loan application, because of
Defendant Joe DaMour (“DaMour”) was Fisker Automotive's
                                                                 financial concerns. (Id. at ¶ 46) On September 18, 2009,
Chief Financial Officer at all relevant times through July
                                                                 the DOE issued a $528.7 million Conditional Commitment
2012, after which he acted as a “special adviser” to
                                                                 Letter and allocated $169.3 million for Fisker Automotive
Fisker Automotive. Defendant Kleiner Perkins Caufield &
                                                                 to complete its first vehicle, the Fisker Karma (“Karma”),
Byers (“Kleiner Perkins”) is a venture capital firm with
                                                                 and $359 million to complete a low cost plug-in hybrid,
its headquarters in Menlo Park, California, and was a
                                                                 the Fisker Nina. Fisker Automotive had to complete several
controlling shareholder of Fisker Automotive. Defendant
                                                                 “milestones” to avoid default, including raising additional
Ray Lane was a Managing Partner of Kleiner Perkins
                                                                 outside capital by certain dates and beginning commercial
and was Fisker Automotive's Chairman of the Board of
                                                                 production of the Karma vehicle by February 2011 (“February
Directors at all relevant times. Defendant Ace Strength Ltd
                                                                 2011 Karma production milestone”). (Id. at ¶¶ 47-51)
(“Ace Strength”) is an investment vehicle through which
defendant Richard Li Tzar Kai (“Li”) invested in Fisker
                                                                 On or about January 13, 2010, Fisker Automotive and A123
Automotive. Ace Strength was a controlling shareholder of
                                                                 Systems, Inc. (“A123”) entered into a supply agreement
Fisker Automotive. Li was a member of Fisker Automotive's
                                                                 for automotive batteries. A123 also agreed to invest
Board of Directors at all relevant times. Defendant Keith
                                                                 approximately $20.5 million in Fisker Automotive. (Id. at ¶
Daubenspeck (“Daubenspeck”) was a Director of Fisker
Automotive and cofounder of Advanced Equities, Inc.              49) On January 20, 2010, an article 4 based on interviews
(“Advanced Equities”), which was one of several investment       with Fisker and Lane stated: “Lane said Fisker [Automotive]
banks or vehicles that Fisker Automotive used to raise           will grab the investing momentum surrounding the company
capital. Defendant Peter McDonnell (“McDonnell”) was the         to complete the $150 million funding round in ‘the next
senior managing director of the investment banking group         month or two.’ ” (Id. at ¶ 50) On or about May 5, 2010,
at Advanced Equities and was responsible for, inter alia,        Fisker Automotive raised an additional $145 million in Series
marketing Fisker Automotive's Series D-1 offering. (Id. at ¶¶    A-1 venture capital from investors, including Kleiner Perkins
27-35)                                                           and Advanced Equities (the latter raising approximately $27



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million from 347 private investors a few weeks later). (Id. at    2011. (Id. at ¶ 64) In May 2011, after Fisker Automotive
¶ 52)                                                             had completely drawn down the Fisker Karma portion of the
                                                                  ATVM Loan, the DOE issued a non-public “drawstop notice”
In March 2011, Fisker Automotive made a non-public                to the Federal Financing Bank preventing Fisker Automotive
presentation to DOE officials, representing that it met the       from making any further draws on the Fisker Nina phase
February 2011 Karma production milestone for the ATVM             of the loan. (Id. at ¶ 61) In June 2011, Fisker Automotive
Loan, when in fact it had not. (Id. at ¶ 53) On or about          informed the DOE that it had not met the February 2011
March 23, 2011, Fisker Automotive raised an additional $190       Karma production milestone, contrary to its March 2011
million in private equity including investments from Kleiner      representation. On or about June 6, 2011, Fisker Automotive
Perkins and Advanced Equities. (Id. at ¶ 54) In April 2011,       raised another $115 million in venture capital, including
Fisker Automotive solicited qualified investors in connection     investments from Advanced Equities, Kleiner Perkins and a
with a $100 million offering of Series C-1 Preferred Stock        new investor, New Enterprise Associates. (Id. at ¶ 62)
(the “April 2011 Offering”). The related offering documents,
including a Confidential Private Placement Memorandum             In July 2011, Fisker Automotive began preparations for a new
dated March 31, 2011 (“March 2011 CPPM”), were available          round of financing. On July 27, 2011 (on behalf of Fisker
to plaintiffs and other investors. (Id. at ¶ 56) The March 2011   Automotive), McDonnell, Fisker, Koehler and DaMour held
CPPM described related party transactions and stated that         a conference call with analysts and investors designed to
“Daubenspeck, AEFC and its affiliates, including [Advanced        solicit investors “for a new round of private equity financing
Equities], have an economic interest in Fisker's success          to raise approximately $150 million by issuing Series D-1
as well as the success of the Offering.” (Id. at ¶ 56;            shares of Fisker Automotive.” (Id. at ¶ 66) DaMour discussed
D.I. 53, ex. Eat 42) It also contained a statement on             the ATVM loan, but did not mention that funds had been
the cover page—“Preliminary Draft—Terms may Change                cut off. He explained that the interest rates were low and
Subject to Board and Shareholder Approval.” (D.I. 53, ex.         refinancing would not be needed. 6 A replay of the call
E) During the same timeframe, Middlebury circulated a             and a PowerPoint presentation by Fisker Automotive was
Confidential Private Placement Memorandum (“April 2011            made available to plaintiffs and other investors. (Id. at ¶¶
Middlebury CPPM”) to the Middlebury plaintiffs soliciting
                                                                  66-67) On August 21, 2011, an article 7 stated that “Fisker
qualified investors. Potential investors, including plaintiffs,
                                                                  Automotive is using a flurry of hype surrounding its first
could examine Fisker Automotive's “Series C-1 Transaction
                                                                  car—the $98,000 Karma hybrid—to ask for another $200
Documents” through a website link with the password
                                                                  million from investors ....” (Id. at ¶ 68) On September 15,
included in the April 2011 Middlebury CPPM. (D.I. 24 at
                                                                  2011, Fisker Automotive began twelve rounds of sales of
¶ 57) The April 2011 Middlebury CPPM stated that Fisker
                                                                  Series D-1 stock (ending on December 2, 2011), raising a total
Automotive had “incurred losses in the operation of our
                                                                  of approximately $86 million based on offering documents
business and anticipate that we will continue to incur losses
                                                                  distributed in August 2011. The Amended and Restated
for the future.” (Id. at ¶ 57; D.I. 53, ex. Eat 44) It also
                                                                  Series D-1 Preferred Stock Purchase Agreement (“December
disclosed that “loss of key certain key personnel without DOE
                                                                  2011 stock purchase agreement”) states: “The Knowledge of
consent” could trigger a default on the ATVM loan. (D.I.
                                                                  the Company shall mean the Knowledge of Henrik Fisker,
53, ex. Eat 44) It further included an “exculpation among
                                                                  Bernhard Koehler, and Joseph DaMour.” (Id. at ¶ 69) The
purchasers” clause stating that the purchasers are relying
                                                                  December 2011 stock purchase agreement also contained an
solely on Fisker Automotive and “its officers and directors”
                                                                  “exculpation among purchasers” stating that the purchasers
in making the decision to invest. (D.I. 53, ex. G at 18) By
                                                                  are relying solely on Fisker Automotive and “its officers and
May 2011, Kleiner Perkins owned a 12.61 % equity stake
                                                                  directors” in making the decision to invest. (D.I. 53, ex. H at
in Fisker Automotive and Ace Strength 10.15%. (D. I. 24
                                                                  21)
at ¶ 59) On May 13, 2011, an article 5 stated that “Lane,
a managing partner at storied venture capital firm Kleiner        On October 20, 2011, the DOE posted a press release on
Perkins Caufield & Byers, said Fisker Automotive also plans       its website touting the ATVM loan program and Fisker
to go public in the future ....” (Id. at ¶ 60)                    Automotive. (D.I. 24 at ¶ 70) The DOE press release
                                                                  stated in part, “[w]ith the help of a $529 million loan,
 *3 Fisker Automotive continued to draw approximately             Fisker is producing high performance vehicles with an
$29 million on the ATVM loan from February through May            advanced hybrid electric powertrain that could significantly


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improve performance and fuel economy.” It explained that             to appease the investors. (Id. at ¶¶ 80-81) The email stated
the two-part loan provides $169 million for the Fisker               that “Daubenspeck, a Fisker Board member and Chairman
Karma (developed in “Fisker [Automotive]'s US facilities,            of Advanced Equities [will] join our call” the next day. (Id.
including its headquarters in Irvine, California which has 700       at ¶ 81) On December 15, 2011, Fisker Automotive made
employees and plans to continue hiring”) and $359 million for        available to plaintiffs and other investors offering documents
the Fisker Nina (which will be produced in a now “shuttered          associated with the December 2011 Capital Call, including the
General Motors plant in Delaware” and employ “more than              Amended and Restated Series DI Preferred Stock Purchase
2,500 workers”). It also stated that “Fisker [Automotive]'s          Agreement (“December 2011 Capital Call documents”). The
production schedule was delayed by regulatory issues that            December 2011 Capital Call documents provided that Fisker
were outside of its control, but [Fisker Automotive] has             Automotive's
successfully raised more than $650 million in private sector
investment to support its ongoing operations since closing
its DOE loan.” (Id. at ¶ 70) On October 26, 2011, Fisker                         Board of Directors and the Audit
Automotive (with McDonnell, Fisker, Koehler, and DaMour                          Committee of the Company's Board of
participating) held a conference call with investors. Plaintiffs                 Directors have reviewed and discussed
summarized the call as “investors expressed concerns about                       the terms of the Series D-1 Financing
the ATVM Loan in light of the recent bankruptcy filing of                        Capital Call ... and have determined
DOE loan guarantee recipient, Solyndra. Defendant Henrik                         that the terms of the Series D-1
Fisker stated that there was no risk of losing the DOE                           Financing Capital Call ... are in the
loan.” (Id. 71)                                                                  best interests of the Company and its
                                                                                 stockholders.
 *4 On November 1, 2011, Fisker Automotive confidentially
informed the DOE that it would run out of cash within
three days without additional government loan money or               (D.I. 53, ex. F at 1) A letter from Fisker (the “December 2011
an injection of private equity. (Id. 72) On November 4,              Fisker Letter) explained:
2011, A123 announced it was lowering its 2011 revenue
guidance range “due to an unexpected reduction in orders               We have had several delays to the Karma program
for battery packs from Fisker Automotive ....” (Id. 73) In             due to component part shortages, obtaining emissions
November 2011, two articles 8 based on interviews with Lane            and regulatory clearances and fine tuning the Karma to
stated that Fisker Automotive would meet its 2012 production           get it ready for customers. Consequently, we did not
goals. According to Lane, “[i]ln production of a first vehicle,        realize revenue as expected in 2011. We now believe that
everything doesn't go the way you plan .... Next year, we'll do        raising equity is a prudent course of action. Improving
exactly what we plan.” (Id. 74-75) On November 30, 2011,               our cash position will allow us to continue to build
Fisker Automotive confidentially informed the DOE that a               momentum behind the Karma production and sales launch
modest investment increase of $37 million at mid-month had             and maintain the 2013 launch timing of the Nina sedan.
nudged its available cash up to a still-thin $20 million. (Id. 76)
                                                                       Management and the Board of Directors have determined
                                                                       that it is in the best interest of Fisker Automotive to
On December 8, 2011, Fisker Automotive's Board of
                                                                       raise equity through the D-1 Financing Capital Call that is
Directors unanimously approved a 40% “pay to play”
                                                                       described in detail in the attached Information Statement. ...
capital call imposed on all Fisker Automotive investors
                                                                       I encourage you to carefully review the Information
(the “December 2011 Capital Call”), based on “an obscure
                                                                       Statement and consider a further investment in Fisker
provision in the April 2011 Offering documents called a ‘pay
                                                                       Automotive. Importantly, three of our major venture capital
to play’ capital call provision.” 9 Investors faced penalties          investors, Kleiner Perkins, NEA and Pacific Century,
of “having each share of preferred stock converted to one-             support this action and have already made, or committed
half share of common stock, as well as the severe dilution             to make, their capital calls, together totaling more than $57
of their existing interests in Fisker Automotive” if they did          million.
not comply. (Id. 79) On Sunday, December 11, 2011, Greg
Osborn (“Osborn”) of Middlebury sent an email to certain             (Id. 83) The Executive Summary accompanying the
investors detailing the “pay to play” plan and attempting            December 2011 Fisker Letter described the “Board Approval


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Process” as using an Audit Committee and discussing the               complete plan as we have explained .... We are at the point
Capital Call in “working group calls and meetings.” After             now that the ... [Karma] is fully funded.”
considering “a number of factors,”
                                                                    (Id. at ¶ 89) Plaintiffs allege that “Fisker ‘responded to
                                                                    a question about concerns of battery fires in light of the
                                                                    Chevrolet Volt's reported battery fire problems by stating that
              *5 [t]he Board of Directors then
                                                                    it ‘is not a risk for us, we have a different chemistry [a] liquid
             instructed its officers to solicit the
                                                                    cooled battery.’ ” (Id. at ¶ 88)
             approval of the requisite vote of the
             stockholders of the Company, mail
                                                                    On December 21, 2011, the National Highway Traffic Safety
             this Information Statement, and obtain
                                                                    Commission (“NHTSC”) acknowledged (through a “non-
             indications of interest from interested
                                                                    public letter” to Fisker Automotive) a “report of a ‘safety
             stockholders. The Company received
                                                                    recall campaign which [would] be conducted under Federal
             the requisite vote of the stockholders
                                                                    law’ of 239 Fisker Karmas due [to] a battery problem that
             to approve the Series D-1 Financing
                                                                    could cause a fire” (“Karma recall notice”). (Id. at ¶ 90)
             Capital Call on December 14, 2011.
                                                                    On December 29, 2011, the day after the first deadline to
                                                                    invest in the December 2011 Capital Call, Fisker Automotive
                                                                    publicly announced its recall of 239 Fisker Karmas due to the
(D.I. 53, ex. J at 55-56)
                                                                    battery fire issue. (Id. at ¶¶ 90-92) On December 30, 2011,
                                                                    an article 10 reported that “Fisker spokesman Roger Ormisher
On a conference call with investors December 15, 2011,
                                                                    [ (“Ormisher”) ] said customers were alerted of the faulty
Fisker Automotive (represented by McDonnell, Fisker,
                                                                    batteries last week ....” (Id. at ¶ 92) The article also explained
Koehler, and DaMour) discussed the ATVM Loan status. The
                                                                    that the source of the problem is “misaligned hose clamps
complaint states that “[o]n that call, ... DaMour discussed
                                                                    that could cause coolant leaks, and potentially a dangerous
the ATVM [l]oan, stating that ‘[Fisker Automotive is]
                                                                    electrical short circuit.” According to the article, the NHTSC
currently not drawing [on the ATVM loan] and that was
                                                                    notice stated, “[i]f coolant enters the battery compartment, an
a mutual agreement between [Fisker Automotive] and the
                                                                    electrical short could occur, possibly resulting in a fire.” (D.I.
government as [Fisker Automotive] work[s] to finalize the
                                                                    34, ex. A)
revised covenants and milestones, but as you see, [Fisker
Automotive] ha[s] $340 million remaining to be drawn and
                                                                     *6 A January 4, 2012 non-public report prepared by the
that will be drawn through the 2012 and first half 2013
                                                                    DOE Loans Program Office discussed Fisker Automotive's
timeframe.’ ” (Id. at ¶ 86) “[l]n response to investor questions
                                                                    missed launch dates and potential alternatives. (D.I. 24 at ¶¶
about the ATVM Loan, ... Fisker reiterated that ‘there is not
                                                                    93-94) Specifically, the report stated that Fisker Automotive
a risk that [the DOE] will not continue to fund because they
                                                                    had $200 million in payables as of November 30, 2011, of
have already given us a commitment by letter that they are
                                                                    which $120 million were overdue—with only $20 million in
committed to Fisker Automotive.’ ” (Id. at ¶ 87) Moreover,
                                                                    cash on hand and could be out of money as early as December
plaintiffs allege:
                                                                    15, 2011. (Id. 93) On February 7, 2012, an article 11 reported
  DaMour ... stated “with the money we raised in this               layoffs of workers refurbishing the manufacturing plant in
  round, [Fisker Automotive] can continue with the [Karma]          Wilmington, Delaware and of workers at Fisker Automotive's
  indefinitely,” even if Fisker Automotive received no              California headquarters. According to the article, “Fisker
  further funds from the DOE or other outside capital.              officials characterized the layoffs as part of the complicated
  And, in response to specific questions regarding Fisker           process of getting a billion-dollar car company off the
  Automotive's business plan and whether the funding from           ground.” (Id. 95) The article further reported:
  this $300 million Series D round would be sufficient to fund
  Fisker Automotive's business plan without another capital           A Fisker spokesman said Monday that negotiations are
  call or some other additional funding, Defendant DaMour             under way with the Energy Department to modify the
  stated “this is the last ... private raise, and surely the last     loan achievement goals to allow some cash to be drawn
  capital call .... The $300 [million] is enough to fund the          down. “To date we have received $193 million of the
                                                                      $529 million Department of Energy loan, mostly for the



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  Karma program, and received our last reimbursement in            said Lane, ‘caused [Fisker Automotive] to accelerate capital
  May 2011,” Fisker spokesman Roger Ormisher said in a             raising.’ ” (Id.) On July 6, 2012, an article 14 “reported
  statement Monday. “We are renegotiating some terms of            that Jim Yost, a former executive at Ford Motor Co. and
  the DOE agreement for the $336 million balance of the            Dana Holdings Corporation, had replaced Defendant DaMour
  loan related to the Project Nina program.” Ormisher said         as Fisker Automotive's CFO and that DaMour would ‘stay
  the exact terms of the loan conditions are confidential. “The    on as a special advisor to [Fisker Automotive].’ ” (Id. at
  DOE can sometimes take a little bit of time,” Ormisher           ¶ 106) A confidential DOE presentation dated August 2,
  said. “We can't keep going and going and going without           2012 stated that the DOE had spoken to Lane regarding the
  that money.”                                                     financial status of Fisker Automotive and was told that Fisker
                                                                   Automotive “was down to $12 million in cash and ... expected
(Id.) On February 22, 2012, Fisker Automotive (represented
                                                                   to run out of cash ‘within a month.’ ” (Id. at ¶ 107)
by McDonnell, Fisker, Koehler, and DaMour) held a
conference call to update investors regarding its status
                                                                    *7 On August 14, 2012, LaSorda was replaced as CEO by
and a change in the Series D-1 round of financing
                                                                   the former head of the Chevy Volt hybrid program, Tony
whereby Fisker Automotive wanted to raise an additional
                                                                   Posowatz. (Id. at ¶ 108) The complaint alleges that:
$100 million by the end of March. The complaint states
that “Fisker acknowledged recent negative press regarding            On August 16, 2012, Reuters published an interview of
the ATVM Loan, and characterized Fisker's problems                   Ray Lane in which he stated [Fisker Automotive] was
as ‘essentially driven by more political views around                seeking to raise an additional $150 million to increase
whether the government should be lending money or not.               cash on Fisker Automotive's balance sheet and to fund
And unfortunately, we have become somewhat a political               development of Fisker Automotive's next model car. Lane
football ....’ ” (D.I. 24 at ¶ 97) Further, “Fisker Automotive's     held out the prospect of an upcoming IPO, which would
Board of Directors had made a decision that it was in                save Fisker Automotive's investors, stating that “[o]nce
Fisker Automotive's ‘better interests ... in the future to pay       Fisker [Automotive] breaks even, [it] could pursue an
back the [DOE] and basically get alternative financing,’ ”           initial public offering or a sale to a strategic investor, which
in order to be “self-sustaining as a company” with just the          could come in late 2013.”
Karma. But Fisker “also stated that they would continue
negotiating with the DOE to obtain the remaining funds             (Id. at ¶ 109) In late August 2012, Fisker Automotive
under the ATVM Loan.” (Id. at ¶¶ 98-99) On February 28,            issued offering documents in connection with a Series E
2012, Fisker Automotive announced Fisker's resignation as          round of financing/preferred stock (“2012 Series E offering
Fisker Automotive's CEO to be replaced by Tom LaSorda              documents”), seeking to raise at least $30 million in bridge
(“LaSorda”). The confidential ATVM Loan contained a “Key           loan financing which would convert into Series E Preferred
Personnel” covenant requiring Fisker to be “responsible for        stock if the full amount was actually raised. The DOE agreed
the management of the borrower.” (Id. at ¶ 100)                    to waive Fisker Automotive's covenant violations and not
                                                                   declare the ATVM Loan in default if Fisker Automotive
In March 2012, Fisker Automotive notified its investors            raised that amount. Fisker Automotive raised $50 million by
of another “pay to play” capital call (the “March 2012             early September. (Id. at ¶ 110) On or around September 19,
Capital Call”), which raised $392 million. (Id. at ¶¶ 101-103)     2012, Osborn sent plaintiffs and other investors a pay to play
On April 19, 2012, an article 12 reported more layoffs in          capital call (the “September 2012 Capital Call”) for Series E
Delaware. (Id. at ¶ 104) A Fisker Automotive spokesman             preferred stock, raising approximately $104 million. (Id. at ¶¶
stated “[w]e have always had a flexible business model.            111-12)
The plant is now ready for the next phase of installing
new production equipment.” (Id.) On June 26, 2012, an              On or about October 16, 2012, A123 filed for bankruptcy
                                                                   protection. Shortly thereafter, Fisker Automotive stopped
article 13 detailed Fisker Automotive's continued attempt to
                                                                   production of the Karma, laid off another 40 employees,
raise more equity, having sold 1,700 Karma vehicles. (Id.
                                                                   and retained an investment banking advisory firm to find a
at ¶ 105) The article quoted Lane as stating: “I'm looking
                                                                   “strategic partner” to save itself. On March 13, 2013, Fisker
at about $400 million in revenue this year. That would
                                                                   resigned from the Board of Directors. Fisker Automotive
make [Fisker Automotive] the fastest growing start-up ever.”
                                                                   then hired the law firm of Kirkland & Ellis, PC to advise
The article also stated that “[t]he situation with the DOE,
                                                                   it on a possible bankruptcy filing. In April 2013, Fisker


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Automotive laid off another 160 employees (75% of its
                                                                   in Twombly and       Ashcroft v. Iqbal, 556 U.S. 662 (2009),
remaining workforce). (Id. at ¶¶ 113-115)
                                                                   the Third Circuit requires a two-part analysis when reviewing

On April 17, 2013, PrivCO, a private research firm, made           a Rule 12(b)(6) motion.       Edwards v. A.H. Cornell & Son,
available a detailed report (“the PrivCo Report”) based on         Inc., 610 F.3d 217, 219 (3d Cir. 201 O);  Fowler v. UPMC
documents obtained through Freedom of Information Act              Shadyside, 578 F.3d 203, 210 (3d Cir. 2009). First, a court
requests detailing Fisker Automotive's decline. On April 21,       should separate the factual and legal elements of a claim,
2013, the U.S. Government reported that it had seized $21          accepting the facts and disregarding the legal conclusions.
million in cash from Fisker Automotive to fulfill the first loan
payment. On April 24, 2013, a U.S. House of Representatives           Fowler, 578 F.3d. at 210-11. Second, a court should
Subcommittee On Economic Growth, Job Creation And                  determine whether the remaining well-pied facts sufficiently
Regulatory Affairs Of The Committee On Oversight And               show that the plaintiff “has a ‘plausible claim for relief.’ ”
Government Reform held a hearing to investigate Fisker                 Id. at 211 (quoting     Iqbal, 556 U.S. at 679). As part
Automotive (the “House Fisker Hearing”). (Id. at ¶¶ 116-122)       of the analysis, a court must accept all well-pleaded factual
Lane resigned from Fisker Automotive's Board of Directors          allegations in the complaint as true, and view them in the light
in May 2013. (Id. at ¶ 123) On September 17, 2013, the DOE
                                                                   most favorable to the plaintiff. See       Erickson v. Pardus,
put the remaining $168 million owed on the ATVM Loan out
to bid in a public auction. (Id. at ¶ 124) On November 22,         551 U.S. 89, 94 (2007);      Christopher v. Harbury, 536 U.S.
2013, Fisker Automotive filed for bankruptcy protection. (Id.
                                                                   403, 406 (2002);     Phillips v. Cnty. of Allegheny, 515 F.3d
at ¶ 125) 15                                                       224, 231 (3d Cir. 2008). In this regard, a court may consider
                                                                   the pleadings, public record, orders, exhibits attached to the
                                                                   complaint, and documents incorporated into the complaint
   C. Claims
The complaint alleges violations of § 12(a)(2) of the              by reference.      Tellabs, Inc. v. Makar Issues & Rights, Ltd.,
Securities Act against all defendants except Kleiner Perkins       551 U.S. 308, 322 (2007);      Oshiver v. Levin, Fishbein,
and Ace Strength; violations of § 15 of the Securities Act         Sedran & Berman, 38 F.3d 1380, 1384-85 n.2 (3d Cir. 1994).
against defendants Kleiner Perkins, Lane, Fisker, Koehler,
DaMour, Daubenspeck, Li and Ace Strength; violations               The court's determination is not whether the non-moving
of § 10(b) of the Exchange Act and Rule 10b-5 against              party “will ultimately prevail” but whether that party
all defendants except Kleiner Perkins and Ace Strength;            is “entitled to offer evidence to support the claims.”
and violations of § 20(a) of the Exchange Act against
defendants Kleiner Perkins, Lane, Fisker, DaMour, Koehler,               United States ex rel. Wilkins v. United Health Grp.,
Daubenspeck, Li and Ace Strength. (D.I. 24 at ¶¶ 126-165)          Inc., 659 F.3d 295, 302 (3d Cir. 2011). This “does not
                                                                   impose a probability requirement at the pleading stage,” but
                                                                   instead “simply calls for enough facts to raise a reasonable
III. MOTION TO DISMISS                                             expectation that discovery will reveal evidence of [the

  A. Standard                                                      necessary element].”       Phillips, 515 F.3d at 234 (quoting
 *8 A motion filed under Federal Rule of Civil Procedure              Twombly, 550 U.S. at 556). The court's analysis is a
12(b)(6) tests the sufficiency of a complaint's factual            context-specific task requiring the court “to draw on its
allegations.    Bell Atl. Corp. v. Twombly, 550 U.S. 544,          judicial experience and common sense.”         Iqbal, 556 U.S.
555 (2007);     Kost v. Kozakiewicz, 1 F.3d 176, 183 (3d Cir.      at 663-64.
1993). A complaint must contain “a short and plain statement
of the claim showing that the pleader is entitled to relief, in
                                                                     B. Discussion
order to give the defendant fair notice of what the ... claim is
and the grounds upon which it rests.”     Twombly, 550 U.S.
                                                                                   1. Omissions and misstatements
at 545 (internal quotation marks omitted) (interpreting Fed.
R. Civ. P. 8(a)). Consistent with the Supreme Court's rulings



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Plaintiffs assert “the following material omissions which           12(a)(2) ] of this title unless brought within one year after
[d]efendants had a duty to disclose in connection with              the discovery of the untrue statement or the omission, or after
[d]efendants' efforts to solicit [p]laintiffs and other investors   such discovery should have been made by the exercise of
to purchase Fisker Automotive Securities in violation of [§]        reasonable diligence.” 15 U.S.C. § 77m. A discovery standard
12(a)(2) and Rule 10b-5” (D.I. 52 at 20): (1) the failure to        governs § 13 of the Securities Act, that is, a claim “accrues
disclose that Fisker Automotive did not meet the February           ‘(1) when the plaintiff did in fact discover, or (2) when
2011 Karma production milestone, the representation to the          a reasonably diligent plaintiff would have discovered, ‘the
DOE that Fisker Automotive did meet such milestone in               facts constituting the violation’—whichever comes first.’ ”
the March 2011 presentation, and the failure to disclose the
                                                                       Pension Trust Fund for Operating Engineers v. Mortgage
DOE's drawstop decision in May 2011 (D.I. 24 at ¶¶ 53,
                                                                    Asset Securitization Transactions, Inc., 730 F.3d 263, 273
64, 149-51); (2) the failure to disclose the Karma recall
notice, acknowledged by NHTSA on December 21, 2011                  (3d Cir. 2013) (quoting      Merck & Co. v. Reynolds, 559
during the December 2011 Capital Call, one week before the          U.S. 633, 637 (2010)). Therefore, “a fact is not deemed
December 2011 Capital Call closed (id. at ¶¶ 90-91, 152);           ‘discovered’ until a reasonably diligent plaintiff would have
(3) the failure to disclose during the December 2011 Capital        sufficient information about that fact to adequately plead it
Call Fisker Automotive's precarious cash position, i.e., that       in a complaint ... with sufficient detail and particularity to
Fisker Automotive had $200 million in payables as of no             survive a 12(b)(6) motion to dismiss.”    Pension Trust Fund,
later than November 30, 2011, of which $120 million were
overdue—with only $20 million in cash on hand and could             730 F.3d at 275 (citing City of Pontiac General Employees'
be out of money as early as December 15, 2011 (id. at ¶¶            Retirement System v. MBIA, Inc., 637 F.3d 169, 175 (2d Cir.
93, 153); and (4) the failure to disclose in connection with        2011)).
the March 2012 Capital Call and September 2012 Capital
Call offerings that Fisker's resignation from the day-to-day
management of Fisker Automotive as CEO in February 2012                         In determining the time at which
caused Fisker Automotive to be in default of the ATVM Loan                      “discovery” of those “facts” occurred,
“Key Personnel” covenant requiring him to be “responsible                       terms such as “inquiry notice” and
for the management of the borrower” (id. at ¶¶ 100, 154).                       “storm warnings” may be useful to
                                                                                the extent that they identify a time
                                                                                when the facts would have prompted
                                                                                a reasonably diligent plaintiff to
                 2. Section 12(a)(2) claims 16                                  begin investigating. But the limitations
                                                                                period does not begin to run
 *9 To state a claim under § 12(a)(2), 17 plaintiffs must allege                until the plaintiff thereafter discovers
that they purchased securities pursuant to a materially false or                or a reasonably diligent plaintiff
misleading prospectus or oral communication. In re Adams                        would have discovered “the facts
Golf, Inc. Sec. Litig., 381 F.3d 267, 273-74 (3d Cir. 2004)                     constituting the violation,” including
(internal citations and quotations omitted). Where a plaintiff's                scienter—irrespective of whether the
§ 12(a)(2) claims are not grounded in allegations of fraud,                     actual plaintiff undertook a reasonably
scienter is not required to be pied and “the liberal notice                     diligent investigation

pleading requirements of Rule 8 apply.”         In re Suprema
Specialties, Inc. Sec. Litig., 438 F.3d 256, 270 (3d Cir. 2006)
                                                                       Merck, 559 U.S. at 653.
(citing     In re Adams Golf, 381 F.3d at 273 n.5).

                                                                    Snippets of Fisker Automotive's financial struggles were
                                                                    presented in various news articles and confidential
          a. Timeliness of plaintiffs' § 12(a)(2) claim             memoranda published in 2011 and 2012, including references
                                                                    to the ATVM loan status. (D.I. 24 at ¶¶ 57, 90-91, 100,
Section 13 of the Securities Act provides that “[n]o action         105; 0.1. 53, ex. E at 44) However, the PrivCo Report
shall be maintained to enforce any liability created under [§       (published on April 17, 2013) and the House Fisker Hearing


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(held on April 24, 2013) disclosed previously unknown                           and Registration Statement used in
material, including the OOE's termination of funding in                         conjunction with the sale of Craftmatic
June 2011, Fisker Automotive's $200 million in past due                         securities.
bills, the NHTSA Recall Notice, and the Key Personnel
Milestone in the ATVM loan. (D.I. 24 at ¶¶ 116, 118;
D.I. 52 at 37) While defendants argue that each of these           Id. at 637. Such allegation was “sufficient to survive a Rule
issues was discoverable through news articles and the private      12(b)(6) motion to dismiss[, as i]t cannot be said at this
offering documents, the PrivCo Report and hearing testimony        juncture that plaintiffs can prove no set of facts that would
contained unpublished documents and brought to light non-          entitle them to relief.” Id. Similarly, in In re Westinghouse, the
public information regarding the ATVM loan. (D.I. 24 at ¶¶         Third Circuit held that while the complaint was “not clearly
116-122) The court concludes that the claims are not time-         drafted, ... [t]aken in the light most favorable to plaintiffs,
barred.                                                            however, the complaint does allege that the Westinghouse
                                                                   defendants ‘solicited plaintiffs’ to purchase Westinghouse
                                                                   securities and that in so doing they were motivated by a desire
            b. Statutory sellers under § 12(a)(2)                  to serve their own financial interests.”     In re Westinghouse
                                                                   Securities Litigation, 90 F.3d 696, 717 (3rd Cir. 1996). The
 *10     In Craftmatic Sec. Litig. v. Kraftsow, 890 F.2d           Third Circuit reversed the district court's dismissal of the
628 (3d Cir. 1989), the Third Circuit adopted the Supreme          claims even though “[p]laintiffs d[id] not, for example, make
                                                                   clear which defendants are alleged to be direct sellers as
Court's analysis in     Pinter v. Dahl, 486 U.S. 622 (1988),
                                                                   opposed to solicitor sellers ... or allege how the Westinghouse
holding that “liability under § 12(2) extends not only to
                                                                   defendants, assuming they are alleged to be solicitor sellers,
those who pass title to the purchaser, but also to those who
                                                                   directly and actively participated in the solicitation of the
successfully solicit the purchase, motivated by their own or
                                                                   immediate sales.” Id.
the securities owner's financial interests.”   Id. at 636. In
evaluating whether participation falls within such scope, the      The complaint at bar states that:
language of § 12 “focuses the inquiry on the relationship
between the purchaser and the participant, rather than on
the latter's degree of involvement in the transaction.” Id.                     Defendants, with the exceptions of
(citing     Pinter, 486 U.S. at 651-52). More specifically,                     Kleiner Perkins and Ace Strength
liability should not be imposed “on persons whose actions                       which are named as control persons
were merely a ‘substantial factor’ in causing the purchase,”                    in Count II below, were sellers and
instead “[t]he purchaser must demonstrate direct and active                     offerors and/or solicitors of purchasers
participation in the solicitation of the immediate sale to hold                 of the Fisker Automotive Securities
the issuer liable as a § 12(2) seller.” Id. (citations omitted).                offered, including to [p]laintiffs.
                                                                                Plaintiffs purchased these securities as
Plaintiffs alleged in Craftmatic that:                                          a result of the material omissions ....



             Each of the defendants ... solicited                  (D.I. 24 at ¶ 128) The complaint identifies Daubenspeck as
             plaintiffs ... to buy Craftmatic common               a Director of Fisker Automotive and cofounder of Advanced
             stock ... and in so acting were                       Equities, Inc. (“Advanced Equities”), 18 which was one of
             motivated by a desire to serve their                  several investment banks or vehicles that Fisker Automotive
             own financial interests or the financial              used to raise capital. (Id. at ¶ 34) With respect to the December
             interests of the owner(s) of Craftmatic               2011 Capital Call, Osborn wrote an email on December 11,
             securities, and they ... conspired with               2011, purportedly based on his conversations with Fisker
             and aided and abetted one another                     Automotive representatives, to the Middlebury Plaintiffs and
             in connection with the preparation of                 others stating that “Daubenspeck, a Fisker Board member and
             the false and misleading Prospectus                   Chairman of Advanced Equities [will] join our call” the next



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day. (Id. at ¶ 81) The complaint also references the private       to dismiss stage. 20 While plaintiffs have not used the precise
memorandum dated March 31, 2011 used to solicit investors,         language “motivated by their own or the securities owner's
which describes related party transactions and states that         financial interests,” plaintiffs' factual allegations are sufficient
“Daubenspeck, AEFC and its affiliates, including [Advanced         to support such motivation as the defendants stood to gain
Equities], have an economic interest in Fisker's success as        from Fisker Automotive's success though their positions as
well as the success of the Offering.” (Id. at ¶ 56; D.I. 53, ex.
                                                                   Directors of Fisker Automotive. 21 The court concludes that
E at 42)
                                                                   plaintiffs have sufficiently pied that defendants were § 12(2)
                                                                   sellers.
 *11 The complaint identifies Koehler as a participant and
Fisker and DaMour as speakers in several conference calls
with analysts and/or investors. The purpose of the conference
calls was to solicit investors in Fisker Automotive securities.                           c. Public offerings
Certain calls were recorded for future distribution to potential
investors. (D.I. 24 at ¶¶ 69, 66, 71, 86, 96) The December         Section 12(a)(2) provides liability for misstatements made
                                                                   “by means of a prospectus or oral communication.”
2011 Fisker Letter encouraged investing. 19 (Id. at ¶ 83) The
Executive Summary described the “Board Approval Process”              Gustafson v. Alloyd Co., 513 U.S. 561, 567 (1995); see
as using an Audit Committee and discussing the Capital Call        also,     In re Adams Golf, Inc. Sec. Litig., 381 F.3d 267,
in “working group calls and meetings.” After considering “a        273 (3d Cir. 2004). “[T]he word ‘prospectus’ is a term of
number of factors,”                                                art referring to a document that describes a public offering
                                                                   of securities by an issuer or controlling shareholder” and
                                                                   “must include the ‘information contained in a registration
             [t]he Board of Directors then
                                                                   statement.’ ”     Gustafson, 513 U.S. at 584, 569.
             instructed its officers to solicit the
             approval of the requisite vote of the
             stockholders of the Company, mail
             this Information Statement, and obtain                             An offering is considered private
             indications of interest from interested                            only if limited to investors who
             stockholders. The Company received                                 have no need for the protection
             the requisite vote of the stockholders                             provided by registration. To determine
             to approve the Series D-1 Financing                                if an offering is sufficiently limited
             Capital Call on December 14, 2011.                                 courts focus on such factors as:
                                                                                (1) the number of offerees; (2)
                                                                                the sophistication of the offerees,
                                                                                including their access to the type of
(D.I. 53, ex. J at 55-56) Lane was a Managing Partner of
                                                                                information that would be contained
Kleiner Perkins and was Fisker Automotive's Chairman of
                                                                                in a registration statement; and (3) the
the Board of Directors. (D.I. 24 at ¶ 31) Li was a controlling
                                                                                manner of the offering.
shareholder through Ace Strength (Id. at ¶ 32) and was on
the Board of Directors, which approved the December 2011
“pay-to-play” capital call. (Id. at ¶ 81)
                                                                    *12 See, e.g.,    United States v. Arutunoff, 1 F.3d 1112,
Taking the allegations in the complaint in the light most          1118 (10th Cir. 1993).
favorable to plaintiffs, the court concludes that as to
defendants Daubenspeck, Fisker, Koehler and DaMour,                The complaint alleges that the “offering materials including
plaintiffs have alleged sufficient facts regarding solicitation.   Prospectuses/Private Placement Memoranda and other
As to Lane, the offering documents point to decisions              offering documents made available to purchasers of Fisker
regarding solicitation made by the Board, of which Lane is         Automotive Securities” omitted material information. (D.I.
chairman. This, together with Lane's position as Managing          24 at ¶ 129) The following offering materials are identified in
Partner of Kleiner Perkins (a major investor in Fisker             the complaint: The March 2011 CPPM (id. at ¶ 56); the April
Automotive) is sufficient to allege solicitation at the motion     2011 Middlebury CPPM (id. at ¶ 57); the December 2011


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stock purchase agreement (id. at ¶ 69); Information Statement     the [p]laintiffs rely, shows that this was a private transaction
dated December 14, 2011 (id. at ¶¶ 82-85); the March 2012         involving six investors.”).
D-1 offering documents (id. at ¶¶ 101-102); and the 2012
Series E offering documents (id. at ¶ 110). The March 2011
CPPM and April 2011 Middleburry CPPM are “Confidential
Private Placement Memorand[a].” (Id. at ¶¶ 56-57) The April                   3. Section 10(b) and Rule 10b-5 24
2011 Middlebury CPPM makes clear that the shares “have
                                                                   *13 According to § 10(b) of the Exchange Act, it is
not been registered under the Securities Act.” (D.I. 53, ex.
                                                                  unlawful:
E) The December 2011 information statement is marked
“Strictly Confidential & Proprietary.” (Id. at ex. F) The
March 2012 Capital Call D-1 offering documents are labeled
                                                                               To use or employ, in connection
“Confidential & Proprietary.” (D.I. 24 at ¶ 102) Certain
                                                                               with the purchase or sale of any
offering materials required a password. (Id. at ¶¶ 56-57)
                                                                               security registered on a national
                                                                               securities exchange or any security
Fisker Automotive solicited only “qualified investors.” (Id. at
                                                                               not so registered, or any securities-
¶¶ 56-58) For example, the AEI investor acknowledgement
                                                                               based swap agreement (as defined
states that the “investor is an ‘accredited investor’ within
                                                                               in section 2068 of the Gramm-
the meaning of Rule 501 (A) of Regulation D under the
                                                                               Leach-Bliley Act), any manipulative
[S]ecurities Act of 1933 ....” 22 (D.I. 53, ex. L; see also,                   or deceptive device or contrivance
ex. G at 17; ex. H at 21; ex. K at 2-3) While the news                         in contravention of such rules and
articles mentioned the possibility of an upcoming IPO, no                      regulations as the Commission may
such offering was made to the public. Plaintiffs aver that the                 prescribe as necessary or appropriate
number of investors is in the hundreds—“Fisker Automotive                      in the public interest or for the
raised an additional $145 million in Series A-1 venture capital                protection of investors.
from Kleiner Perkins, Palo Alto Investors and Advanced
Equities (which raised approximately $27 million from 347
private investors);” however, the investment information was
provided to the venture capital firms, not to the private            15 U.S.C. § 78j(b). Rule 10b-5, promulgated by the
investors. (Id. at ¶ 52)                                          Securities and Exchange Commission to implement § 10(b),
                                                                  makes it unlawful:
The court concludes that the offerings were made via private
placement memoranda to sophisticated investors and were             (a) To employ any device, scheme, or artifice to defraud,
not public offerings. The motion to dismiss is granted as
                                                                    (b) To make any untrue statement of a material fact or to
to the § 12(a)(2) claims. 23 See e.g.,      Vannest v. Sage,        omit to state a material fact necessary in order to make the
Rutty & Co., 960 F. Supp. 651, 654-55 (W.D.N.Y. 1997)               statements made, in the light of the circumstances under
(concluding that there was no public offering where the             which they were made, not misleading, or
private placement memorandum expressly (and repeatedly)
stated that the offering was not subject to registration            (c) To engage in any act, practice, or course of business
requirements and that the securities are intended to be sold        which operates or would operate as a fraud or deceit upon
only to purchasers qualified by the Rule 506 regulations.);         any person, in connection with the purchase or sale of any
                                                                    security.
    In re J W.P. Inc. Securities Litigation, 928 F. Supp. 1239,
1259 (S.D.N.Y.1996) (“Courts in this district have held that      17 C.F.R. § 240. 10b-5.
under Gustafson, private placement memoranda like those
at issue are not ‘prospectuses’ for the purposes of a claim       In order to state a claim for securities fraud under § 10(b)
under § 12(2)”); Walish v. Leverage Grp., Inc., Civ. No. 97-      and Rule 10b-5, a plaintiff must allege: “(1) a material
CV-5908, 1998 WL 314644, at *5 (E.D. Pa. June 15, 1998)           misrepresentation or omission by the defendant [i.e., falsity];
(“The complaint does not allege that the sale was a public        (2) scienter; (3) a connection between the misrepresentation
offering of securities and the ‘defacto prospectus,’ on which     or omission and the purchase or sale of a security; (4) reliance



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upon the misrepresentation or omission; (5) economic loss;         defendant acted with the required state of mind.” Id. (citing
                                                                   15 U.S.C. § 78u-4(b)(2)). This is the scienter requirement.
and (6) loss causation.”      In re DVI, Inc. Sec. Litig., 639
F.3d 623, 630-31 (3d Cir. 2011). A statement or omission is
                                                                    *14 Both of these provisions require that facts be pied “with
material if there is “a substantial likelihood that a reasonable
                                                                   particularity.” With respect to the falsity requirement,
shareholder would consider it important in deciding how to
[act].”    In re Aetna, Inc. Sec. Litig., 617 F.3d 272, 283
(3d Cir. 2010) (citing   TSC Indus., Inc. v. Northway, Inc.,                   the   particularity   standard   echoes
426 U.S. 438, 449 (1976)). “A material misrepresentation                          Rule 9(b) of the Federal Rule[s] of
or omission is actionable if it significantly altered the                      Civil Procedure, which is comparable
total mix of information made available.” Id. (citations and                   to and effectively subsumed by the
quotations omitted). Material misstatements are contrasted                     requirements of ... the PSLRA. Like
with subjective analyses and general or vague statements of
intention or optimism which constitute no more than mere                           Rule 9(b), the PSLRA requires
                                                                               plaintiffs to plead the who, what,
corporate puffery.   In re Aetna, 617 F.3d at 283; City of                     when, where and how: the first
Roseville Employees' Ret. Sys. v. Horizon Lines, Inc., 713                     paragraph of any newspaper story.
F. Supp. 2d 378, 390 (0. Del. 2010). “Scienter is a mental                     Additionally, if an allegation regarding
state embracing intent to deceive, manipulate, or defraud,                     [a] statement or omission is made on
and requires a knowing or reckless state of mind.”   Inst.                     information and belief, a plaintiff must
Investors Group v. Avaya, Inc., 564 F.3d 242, 252 (3d Cir.                     state with particularity all facts on
2009) (citations and quotations omitted).                                      which that belief is formed.

Shareholders filing a securities fraud lawsuit under the
Exchange Act are subject to the heightened pleading standard
                                                                      Horizon Lines, 686 F. Supp. 2d at 414 (citing       Avaya,
codified by the Private Securities Litigation Reform Act
                                                                   Inc., 564 F.3d at 253) (internal quotations and citations
(“PSLRA”).     Avaya, Inc., 564 F.3d at 253;     City of           omitted). The scienter requirement, on the other hand, “marks
Roseville Employees' Ref. Sys. v. Horizon Lines, 686 F.
                                                                   a sharp break from       Rule 9(b).”      Avaya, 564 F.3d at
Supp. 2d 404, 414 (D. Del. 2009) (“The PSLRA imposes
a dramatically higher standard on a plaintiff drafting             253. “Unlike       Rule 9(b), under which a [plaintiff] could
a complaint than that of traditional notice pleading.”);           plead scienter generally, § 78u-4(b)(2) requires any private
                                                                   securities complaint alleging that the defendant made a false
   Brashears v. 1717 Capital Mgmt, Nationwide Mut. Ins.
                                                                   or misleading statement ... [to] state with particularity facts
Co., 2004 WL 1196896, at *4 (D. Del. 2004) (“[B]y
                                                                   giving rise to a strong inference that the defendant acted with
enacting the current version of the [PSLRA], Congress
expressly intended to substantially heighten the existing          the required state of mind.”     Horizon Lines, 686 F. Supp.
pleading requirements.”) 25 (internal quotations omitted).         2d at 414 (citations and quotations omitted).
“The PSLRA provides two distinct pleading requirements,
both of which must be met in order for a complaint to survive a    Aside from these two requirements, the PSLRA imposes
                                                                   additional burdens with respect to allegations involving
motion to dismiss.”    Avaya, Inc., 564 F.3d at 252. First, the    forward-looking statements. The PSLRA's Safe Harbor
complaint must “specify each allegedly misleading statement,       provision, 15 U.S.C. § 78u-5(c), “immunizes from liability
the reason or reasons why the statement is misleading, and,        any forward-looking statement, provided that: the statement is
if an allegation is made on information and belief, all facts      identified as such and accompanied by meaningful cautionary
supporting that belief with particularity.” Id. at 259 (citing     language; or is immaterial; or the plaintiff fails to show the
15 U.S.C. § 78u-4(b)(1)). This is the falsity requirement.         statement was made with actual knowledge of its falsehood.”
Second, “with respect to each act or omission alleged to              Avaya, 564 F.3d at 254.
violate [§ 10(b) ],” a plaintiff is required to “state with
particularity facts giving rise to a strong inference that the



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                      a. Duty to disclose                                                     b. Falsity

 *15 “[N]on-disclosure of material information will not give        Plaintiffs allege material omissions in certain statements and
rise to liability under Rule 10b-5 unless the defendant had an      documents made by “defendants.” (D.I. 24 at ¶¶ 147-48)
affirmative duty to disclose that information. ‘Silence, absent
                                                                    In    Winer Family Trust v. Queen, 503 F.3d 319 (3d Cir.
a duty to disclose, is not misleading under Rule 10b-5.’ ”
                                                                    2007), the Third Circuit made clear that “the group pleading
See     Oran v. Stafford, 226 F.3d 275, 78-86 (3d Cir. 2000).       doctrine is no longer viable in private securities actions after
There is no affirmative duty to disclose information unless
                                                                    the enactment of the PSLRA.”        Id. at 337. More recently,
1) there is insider trading, 2) a statute requires disclosure,
or 3) a previous disclosure becomes inaccurate, incomplete,         the Supreme Court in    Janus Capital Group, Inc. v. First
or misleading. Id. In the context of insider trading, liability     Derivative Traders, --- U.S. ----, 131 S.Ct. 2296 (2011),
for securities nondisclosure “is premised upon a duty to            explained that:
disclose arising from a relationship of trust and confidence
between parties to a transaction.” See    Chiarella v. United
                                                                                 For purposes of Rule 10b-5, the
States, 445 U.S. 222, 235 (1980). As the Supreme Court
                                                                                 maker of a statement is the person
acknowledged in Chiarella, corporate insiders, particularly
                                                                                 or entity with ultimate authority over
officers, directors, or controlling stockholders, assume an
                                                                                 the statement, including its content
affirmative duty of disclosure when trading in shares of their
                                                                                 and whether and how to communicate
own corporation.       Id. at 226-27 (citing In re Cady, Roberts                 it. Without control, a person or
& Co., 40 S.E.C. 907, 1961 WL 3743 (1961)). “[I]nsiders                          entity can merely suggest what to
must disclose material facts which are known to them by                          say, not “make” a statement in its
virtue of their position but which are not known to persons                      own right. One who prepares or
with whom they deal and which, if known, would affect their                      publishes a statement on behalf of
investment judgment.” In re Cady, 1961 WL at* 3. This                            another is not its maker. And in the
duty extends not only to existing shareholders but also to                       ordinary case, attribution within a
nonshareholders when sales of securities are made to them.                       statement or implicit from surrounding
See id. at * 5. Such a duty ensures that corporate insiders “will                circumstances is strong evidence that a
not benefit personally through fraudulent use of material,                       statement was made by—and only by
nonpublic information.”      Chiarella, 445 U.S. at 230.                         —the party to whom it is attributed.


Plaintiffs allege “a duty to disclose the material omitted facts
as insiders engaging in sales and purchases or otherwise            Id. at 2302. The Supreme Court specifically declined to
benefiting from those transactions while in a position of           equate “create” with “make,” stating that “in Stoneridge,
‘trust and confidence’ and/or in a fiduciary relationship with      we rejected a private Rule 10b-5 suit against companies
[p]laintiffs.” (D.I. 52 at 43) While defendants argue that          involved in deceptive transactions, even when information
they did not engage in “trading,” to the extent defendants          about those transactions was later incorporated into false
made statements regarding Fisker Automotive in an effort            public statements.” Id. at 2303-04 (citing         Stoneridge
to entice plaintiffs into becoming shareholders, defendants         Investment Partners, LLC v. Scientific-Atlanta, Inc., 552 U.S.
had a duty to disclose material information. 26 See Tse v.          148, 161 (2008)).
Ventana Med. Sys., Inc., Civ. No. 97-37-SLR, 1998 WL
743668, at *8 (D. Del. Sept. 23, 1998) (finding a duty to
disclose when “defendants were asking plaintiffs to become
equity shareholders in the acquiring corporation, defendant                           i. Offering documents 27
[Ventana]. Accordingly, as ‘insiders,’ defendants assumed an
                                                                    Plaintiffs allege that the offering documents expressly state
affirmative duty to disclose material information.”).
                                                                    that Fisker Automotive's Board of Directors had control
                                                                    and authority over the offering documents, by reference


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to statements in the April 2011 Middlebury CPPM and                    material misstatement (or omission) or the commission
December 2011 stock purchase agreement regarding the                   of a manipulative act.” Consequently, incorporating into
“exculpation among purchasers” clause (D.I. 53, ex. G and              the statute an obligation to rectify others' misstatements
H); the statement on the cover page of the March 2011                  (though lacking even the aiding and abetting mens rea
CPPM—“Preliminary Draft—Terms may Change Subject                       requirement of the initial statement made) would be
to Board and Shareholder Approval” (id., ex. E); and the               illogical in light of the Supreme Court's holding.
statements in the December 2011 Capital Call documents
and Executive Summary (that the Board of Directors and                  U.S. v. Schiff, 602 F.3d 152, 167 (3d Cir. 2010) (citing
the Audit Committee reviewed and discussed the terms of
                                                                         Central Bank of Denver, N.A. v. First Interstate Bank
the Series D-1 Financing Capital Call). (Id., ex. Fat 1) The
                                                                     of Denver, N.A., 511 U.S. 164 (1994)) (internal citations
documents associated with the solicitation of investments and
                                                                     omitted). This analysis is also consistent with the Supreme
various Capital Calls 28 are not signed. Fisker signed the           Court's decision in Janus, discussed above. The court
Series C-1 preferred Stock Purchase Agreement dated April            concludes that participation in a conference call, without
27, 2011 on behalf of Fisker Holdings, Inc. (Id., ex. G) In          speaking, cannot confer liability under Rule 10b-5 for the
the case at bar, the court is not called upon to determine           misstatements or omissions of the speaker. As plaintiffs do not
whether a director signing certain documents had “authority          allege that Koehler and McDonnell spoke on the conference
over the content of the statement and whether and how to             calls, no liability for misstatements made by others may
communicate it,” sufficient to be deemed to have “made” the          attach.
statement. See e.g.,     WM High Yield Fund v. O'Hanlon,
964 F. Supp. 2d 368, 390 (E.D. Pa. 2013). Instead, the               Plaintiffs identify certain statements made by DaMour and
court is presented with documents containing statements              Fisker (such statements are presented in the complaint in
indicating that the Board was likely involved in their creation      the context of the larger transcripts). 31 The salient facts are
and dissemination. 29 As discussed below, certain Board              presented in detail above. (D.I. 24 at ¶¶ 67, 70-71, 86-87,
members participated in conference calls on behalf of Fisker         89, 93-94, 97-99, 110) The Third Circuit has “explained
Automotive discussing these documents and the associated             that for ‘misrepresentations in an opinion’ or belief to be
solicitations. The court concludes that this is sufficient to pass   actionable, plaintiffs must show that the statement was ‘issued

muster at the motion to dismiss stage. See e.g., In re Merck         without a genuine belief or reasonable basis’....”        In re
& Co., Inc. Securities, Derivative, & ERISA Litigation, Civ.         Merck & Co., Inc. Sec., Derivative & ““ERISA” Litig., 543
Nos. 05-1151 (SRC), 05-367(SRC), 2011 WL 3444199 at                  F.3d 150, 166 (3d Cir. 2008) (citations omitted). DaMour and
                                                                     Fisker's positive statements regarding the ATVM loan, while
*25 (D. NJ Aug. 8, 2011) (citing         Suez Equity Investors,
                                                                     reflecting the fact that Fisker Automotive was working with
L.P. v. Toronto-Dominion Bank, 250 F.3d 87, 101 (2d Cir.
                                                                     the DOE to negotiate terms, contradict the actual frozen status
2001)) (denying motion to dismiss where officer “signed SEC
                                                                     of the loan. That the DOE's press release reported positively
forms and was quoted in articles and reports in his [official]
                                                                     on Fisker Automotive's progress does not validate DaMour
capacity .... pursuant to his responsibility and authority to act
                                                                     and Fisker's statements. DaMour and Fisker's statements
as an agent of Merck”).
                                                                     regarding Fisker Automotive's cash position (presenting
                                                                     Fisker Automotive as well capitalized, without mentioning
                                                                     payables and continuing without the DOE loan) conflict
                    ii. Conference calls 30                          with the actual state of affairs, that Fisker Automotive had
                                                                     payables, some of which were overdue. As to the battery fires,
*16 The Third Circuit has explained that                             Fisker disputes the falsity of his response based on the cause
                                                                     of the fires. However, the timing of the recall belies Fisker's
  the plain language of § 10(b) and corresponding Rule               conclusion that there were no “concerns of battery fires.” The
  1Ob-5 do not contemplate the general failure to rectify            court concludes that plaintiffs have sufficiently alleged that
  misstatements of others. Moreover, in Central Bank,                Fisker and DaMour's statements were misleading.
  the Supreme Court determined that the scope of §
  10(b) does not encompass aiding and abetting liability
  because the statute “prohibits only the making of a



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                                                                    attributable to Lane. Indeed, the author of the article had
                                                                    control over which portions of the interview to use and how
           iii. The December 2011 Fisker Letter
                                                                    to present any information received from Lane. The same
 *17 Plaintiffs also allege that Fisker's statement in the          analysis applies to plaintiffs' second citation 33 as no portion
December 2011 Fisker Letter explaining the reasons for the          is directly attributable to Lane.
December 2011 Capital Call omitted any reference to the
$200 million in outstanding bills, i.e., Fisker Automotive's        The complaint generally alleges that “Lane's, Fisker's,
true cash position, rendering such statement misleading. The        DaMour's, Koehler's and/or McDonnell's statements
complaint quotes a portion of such letter and describes it          described at ¶¶ 56, 60, 63, 66-67, 71, 74-75, 86-89,
as “repeat[ing] the theme that the ‘pay to play’ capital            96-99 and 105” failed to disclose certain facts. (Id. at ¶
call was merely a prudent business decision.” (D.I. 24              149) The following material (from the cited paragraphs)
at ¶ 83) However, the letter explicitly refers investors to         is directly attributable to Lane and related to plaintiffs'
the “Information Statement” and plaintiffs have alleged             arguments. 34 , 35 An article 36 discussing the production
that the defendants distributed December 2011 Capital Call          of the Karma states: “ ‘In production of a first vehicle,
documents together with the December 2011 Fisker Letter             everything doesn't go the way you plan,’ Lane said in a recent
and the Information Statement. As the December 2011 Fisker          interview. ‘Next year, we'll do exactly what we plan.’ ” (Id.
Letter is not a standalone document, the court declines to          at ¶ 74)
analyze it in a vacuum.

                                                                    *18 The article cited by plaintiffs above 37 also stated:

               iv. Statements in news articles                        In the first quarter, the company said it drew in $100
                                                                      million in revenue. ‘I'm looking at about $400 million in
In the briefing, plaintiffs allege that two particular statements     revenue this year. That would make it the fastest growing
by Lane in news articles were misleading.                             start-up ever,’ Lane said. These projections, he added,
                                                                      don't include sales in China and Middle East, where the
                                                                      company is building relation-ships with dealerships. Fisker
             However, Fisker Chairman Ray Lane                        Automotive, however, is not profitable, said Lane.
             says that the issues in 2011 were a
                                                                    Discussing investments, the article stated “[w]e've added
             combination of difficulties faced by
                                                                    warrants as a sweetener,’ said Lane.” The article continued:
             any start up—such as problems with
             the electrical system that didn't appear                 The situation with the DOE, said Lane, “caused us to
             until production was underway—and                        accelerate capital raising.” That is leading to certain
             some one-off disasters. For example,                     compromises. Advanced Equities has recently been
             a flood soaked the initial shipment of                   served a Wells Notice from the Securities & Exchange
             leather delivered for the car's interior,                Commission, which indicates the SEC may enforce action
             leaving Fisker with 250 vehicles that                    against it.
             were ready to go, except for seats,
             dashboards, steering wheels and every                    Asked why Kleiner Perkins is continuing to use Advanced
             other surface that needed to be covered                  Equities' services in light of the SEC investigation, Lane
             in cowhide.                                              said: “They are good at what they do.”

                                                                    (Id. at ¶ 105) Lane's statement regarding revenue is followed
                                                                    by the admission that Fisker Automotive is not profitable.
(D.I. 24 at ¶ 75) (emphasis added) This statement 32 cannot
                                                                    The quoted statements do not conflict with the alleged facts,
be reconciled with the standard articulated in Janus, i.e.,
                                                                    therefore, the court concludes that such statements are not
that statements attributable to an individual are those which
                                                                    actionable.
the individual has “ultimate authority over ..., including
its content and whether and how to communicate it.” The
above paraphrased or summarized statement is not wholly



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                                                                       The Tenth Circuit held that “[s]tatements such as these, while
                                                                       struggling valiantly to bring the alleged conduct within the
                           c. Reliance
                                                                       definition of ‘omission,’ indicate that what [plaintiff] really
                                                                       protests are the affirmative misrepresentations allegedly made
In    Affiliated Ute Citizens v. United States, 406 U.S. 128
                                                                       by defendants.” Id.
(1972), the Supreme Court examined reliance in the context of
cases seeking to predicate Rule 10b-5 liability upon omissions
                                                                       The allegations at bar present a mix of both omissions
and concluded that in cases “involving primarily a failure
                                                                       (e.g., not disclosing the status of the ATVM loan) and
to disclose [material facts], positive proof of reliance is not
                                                                       misrepresentations (e.g., statements regarding working with
a prerequisite to recovery.”   Id. at 153-54. “[R]eliance              the DOE to resolve issues with the ATVM loan). Considering
will be presumed from the materiality of the information               all of plaintiffs' allegations, the court concludes that plaintiffs
not disclosed. Conversely, no presumption arises in cases              are principally complaining of the misrepresentations, i.e.,
                                                                       presenting Fisker Automotive's status as stable and funded,
of alleged misrepresentations.”          Johnston v. HBO Film
                                                                       when it was failing. The Affiliated Ute presumption of
Management, Inc., 265 F.3d 178, 192 (3d Cir. 2001); Sharp              reliance does not apply.
v. Coopers & Lybrand, 649 F.2d 175, 187 (3d Cir. 1981)
(overruled on other grounds by        Mccarter v. Mitcham, 883         The burden of reliance “requires a plaintiff to demonstrate
F.2d 196, 202 (3d Cir. 1989)). The proper approach to reliance         that defendants' conduct caused him ‘to engage in the
in cases involving both omissions and misrepresentations “is           transaction in question.’ ” Newton v. Merrill Lynch, Pierce,
to analyze the plaintiff's allegations, in light of the likely proof   Fenner & Smith, Inc., 259 F.3d 154, 174 (3d Cir. 2001), as
at trial, and determine the most reasonable placement of the           amended (Oct. 16, 2001) (citations omitted). In this regard,
burden of proof of reliance.”       Sharp, 649 F.2d at 188.            the complaint at bar identifies the offering documents and
                                                                       alleges that such documents were false and misleading.
 *19 Applying Affiliated Ute, the Court of Appeals for the             In the briefing, plaintiffs point out that the “prospectuses/
Tenth Circuit explained:                                               offering memoranda alleged in the Complaint ... required
                                                                       investors to sign a Subscription Agreement, warranting that
                                                                       they had read the agreement and were ‘not relying on any
                                                                       representation other than that contained [t]herein.’ ” (D.I. 52
             Any fraudulent scheme requires some
                                                                       at 77) Defendants argue that plaintiffs continued to invest
             degree of concealment, both of the
                                                                       after several of the misstatements at issue were presented in
             truth and of the scheme itself.
                                                                       news articles. The various disclosures—the snippets available
             We cannot allow the mere fact
                                                                       in news articles, the information from the conference calls,
             of this concealment to transform
                                                                       and the information contained in the offering documents
             the alleged malfeasance into an
                                                                       —are intertwined. The court concludes that plaintiffs have
             omission rather than an affirmative
                                                                       sufficiently pied reliance. C.f., Gallup v. Clarion Sintered
             act. To do otherwise would permit
                                                                       Metals, Inc., 489 Fed.Appx. 553, 557 (3d Cir. 2012) (citing
             the Affiliated Ute presumption to
             swallow the reliance requirement                              Rochez Bros., Inc. v. Rhoades, 491 F.2d 402, 410 (3d
             almost completely.                                        Cir. 1974)) (Finding no evidence of reliance at the summary
                                                                       judgment stage, when plaintiffs did not read the financial
                                                                       statements and reports, which omitted information, therefore,
                                                                       plaintiffs decisions “were entirely unaffected by the contents
    Joseph v. Wiles, 223 F.3d 1155, 1163 (10th Cir. 2000)              of [defendant's] financial statements.”).
(citations omitted). In Wiles, the plaintiff alleged that
defendant “continually reported in its public statements that
it had achieved, and would continue to achieve, substantial
growth in revenue and profits. These statements ... were                                     d. Scienter* * 38 * *
materially false and misleading in that they failed to disclose
                                                                       *20 Scienter is a “mental state embracing intent to deceive,
the existence of the fraudulent scheme ...”           Id. at 1163.     manipulate, or defraud,” and requires a knowing or reckless



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state of mind.    Avaya, 564 F.3d at 252 (internal citations
                                                                      4. Section 20(a)* * 38 * *
omitted). “A reckless statement is one involving ... an extreme
                                                                   Section 20(a) of the Exchange Act imposes joint and several
departure from the standards of ordinary care, and which
                                                                   liability on any person who “directly or indirectly controls
presents a danger of misleading buyers or sellers that is either
                                                                   any person liable” under any provision of the Act, “unless
known to the defendant or is so obvious that the actor must
                                                                   the controlling person acted in good faith and did not directly
have been aware of it.”    Id. at 267 n.42. The court must         or indirectly induce the act or acts constituting the violation
be mindful of the heightened pleading standards prescribed
                                                                   or cause of action.” 15 U.S.C. § 78t(a);     In re Suprema,
by the PSLRA throughout its analysis of defendants' state
                                                                   438 F.3d at 284 (citing 15 U.S.C. § 78t(a)). Plaintiffs “must
of mind. See     Tellabs, 551 U.S. at 324 (defining PSLRA's        prove that one person controlled another person or entity
characterization of “strong” inference as one that is “powerful    and that the controlled person or entity committed a primary
or cogent”). The court must look to the totality of the
                                                                   violation of the securities laws.”   In re Suprema, 438 F.3d
allegations in order to determine whether defendants acted
                                                                   at 284 (citation omitted). Accordingly, liability under § 20(a)
with the required level of intent. See         Avaya, 564 F.3d     is derivative of an underlying violation of those sections by
at 272-73. Although the pleadings need not present an              the controlled person.
irrefutable inference of scienter, plaintiffs' allegations as to
defendants' intent must remain “strong in light of other           The court has found that plaintiffs have adequately alleged
explanations.”      Tellabs, 551 U.S. at 324. Accordingly,         a primary violation of § 10(b) by the various defendants. 39
the court must examine plaintiffs' complaint to determine          As to the control element, Daubenspeck, DaMour and Li
whether it has adequately pied that the misrepresentations and     were members of Fisker Automotive's Board of Directors
omissions attributed to defendants give rise to an inference       and plaintiffs have alleged that the Board was responsible
of scienter that is at least as compelling as any nonculpable      for the creation and dissemination of various confidential
explanations presented by the defendants. See id.                  memoranda regarding the offerings and Capital Calls.
                                                                   DaMour participated in conference calls regarding Fisker
The Third Circuit has held that a securities fraud plaintiff may   Automotive. Daubenspeck cofounded Advanced Equities, an
not merely allege “motive and opportunity” as the requisite        investment bank used by Fisker Automotive to raise capital.
                                                                   As to Ace Strength, plaintiffs have alleged that Li invested
scienter necessary to survive a motion to dismiss.      Avaya,
                                                                   in Fisker Automotive through Ace Strength, such that Ace
564 F.3d at 277. Although motive may be a factor in analyzing
                                                                   Strength was a controlling shareholder of Fisker Automotive.
defendant's state of mind, plaintiff's complaint must also
                                                                   The court concludes that plaintiffs have adequately pied
include some element of volition on the part of the defendant.
                                                                   “actual control” as to these defendants.
See id.

As discussed above, Fisker and DaMour made positive                IV. PERSONAL JURISDICTION
statements regarding the ATVM loan after it had
been frozen, and conflicting statements regarding Fisker              A. Standard
Automotive's cash position. Fisker additionally made                *21 Rule 12(b)(2) directs the court to dismiss a case when it
statements downplaying the potential for battery fires.            lacks personal jurisdiction over the defendants. Fed.R.Civ.P.
Plaintiffs relied on the representations in the offering           12(b)(2). When reviewing a motion to dismiss pursuant to
documents, which allegedly contained misstatements and             Rule 12(b)(2), a court must accept as true all allegations of
omissions. The totality of the circumstances, which can be         jurisdictional fact made by the plaintiffs and resolve all factual
succinctly described as ardently soliciting investors in order     disputes in the plaintiffs' favor. Traynor v. Liu, 495 F. Supp.
to launch and sustain Fisker Automotive, with defendants           2d 444, 448 (D. Del. 2007). Once a jurisdictional defense has
standing to gain from Fisker Automotive's success through          been raised, the plaintiffs bear the burden of establishing, with
their positions as Directors, leads to a strong inference that     reasonable particularity, that sufficient minimum contacts
defendants acted with an intent to manipulate investors. For       have occurred between the defendants and the forum to
these reasons, defendants' motions to dismiss the § 10(b)
                                                                   support jurisdiction. See  Provident Nat'l Bank v. Cal. Fed.
claims are denied.
                                                                   Sav. & Loan Ass'n, 819 F.2d 434, 437 (3d Cir. 1987). To meet



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this burden, the plaintiffs must produce “sworn affidavits                     and regulations thereunder. Any suit
or other competent evidence,” since a Rule 12(b)(2) motion                     or action to enforce any liability or
“requires resolution of factual issues outside the pleadings.”                 duty created by this title or rules and
                                                                               regulations thereunder, or to enjoin
      Time Share Vacation Club v. Atlantic Resorts, Ltd., 735
                                                                               any violation of such title or rules and
F.2d 61, 67 n. 9 (3d Cir. 1984).
                                                                               regulations, may be brought in [the
                                                                               district wherein any act or transaction
In determining whether a court may exercise personal
                                                                               constituting the violation occurred] or
jurisdiction, a court must examine the relationship among
                                                                               in the district wherein the defendant is
the defendants, the forum, and the litigation.     Pinker v.                   found or is an inhabitant or transacts
Roche Holdings Ltd., 292 F.3d 361, 368 (3d Cir. 2002).                         business, and process in such cases
Where the plaintiffs' cause of action is related to or arises                  may be served in any other district of
out of the defendants' contacts with the forum, the court is                   which the defendant is an inhabitant or
said to exercise “specific jurisdiction.” IMO Indus., Inc.                     wherever the defendant may be found.
v. Kiekert AG, 155 F.3d 254, 259 (3d Cir. 1998) (quoting
   Helicopteros Nacionales de Colombia, S.A. v. Hall, 466
U.S. 408, 414 n.8 (1984)). In federal court, the exercise of      15 U.S.C. § 78aa.* * 40 * *
specific jurisdiction must satisfy the requirements of the Due
Process Clause of the Fifth Amendment. See         In re Real        B. Discussion
Estate Title & Settlement Servs. Antitrust Litig., 869 F.2d        *22 Plaintiffs allege that both Li and Ace Strength possess
760, 766 n. 6 (3d Cir. 1989). In assessing the sufficiency of     minimum contacts with the United States. Specifically,
defendants' contacts with the forum as required by the Due        plaintiffs allege that Li, a Hong Kong resident and member of
Process Clause, “a court should look at the extent to which       the Fisker Automotive Board of Directors, held a “controlling
the defendants ‘availed [themselves] of the privileges of         interest” in Fisker Automotive through Ace Strength, a British
American law and the extent to which [they] could reasonably      Virgin Islands corporation which owned 10.15% of Fisker's
anticipate being involved in litigation in the United States.’    shares. (D.I. 24 at ¶¶ 32-33, 59) Plaintiffs aver that Li voted
                                                                  for and/or approved the December 2011 Capital Call. (Id. at
”   Pinker, 292 F.3d at 370 (quoting       Max Daetwyler
                                                                  ¶¶ 79, 81) Plaintiffs also allege that the solicitations were
Corp. v. Meyer, 762 F.2d 290, 293 (3d Cir. 1985)); see also
                                                                  directed at the United States and that “substantial acts” related
   Hanson v. Denckla, 357 U.S. 235, 253 (1958). The final         to the disclosure allegations took place in the United States.
phase of assessing whether to exercise personal jurisdiction      Li was identified as a Director and used Fisker Automotive's
over defendants involves an analysis of whether jurisdiction      address in a Notice of Exempt Offering of Securities. (D.I. 52
comports with “traditional notions of fair play and substantial   at 84; D.I. 53, ex. 1)41
justice.”   Int'l Shoe Co. v. Washington, 326 U.S. 310, 316,
66 S.Ct. 154, 90 L.Ed. 95 (1945).                                 So long as defendants have minimum contacts with the
                                                                  United States as a whole, § 78aa and § 77v confer personal
Jurisdiction over alleged violations of the Exchange Act is       jurisdiction over the defendant in any federal court. The due
governed by § 27 of the Act. See 15 U.S.C. § 78aa. Section        process requirement that
78aa provides in pertinent part:

                                                                               a defendant have “minimum contacts”
            The District Courts of the United                                  with a particular district or state ... is
            States ... shall have exclusive                                    not a limitation imposed on the federal
            jurisdiction of this title or the rules                            courts under Section 27 in a federal
            and regulations thereunder, and of all                             case. Due process concerns under the
            suits in equity and actions at law                                 Fifth Amendment are satisfied if a
            brought to enforce any liability or                                federal statute provides for nationwide
            duty created by this title or the rules


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             service of process in federal court for                   [the parties] and the forum state,’ the plaintiff's right to
             federal question cases.
                                                                       conduct jurisdictional discovery should be sustained.”        Id.
                                                                       at 456 (quoting   Mellon Bank (East) PSFS, Nat'l Ass'n v.
FS Photo, Inc. v. PictureVision, Inc., 48 F. Supp. 2d 442, 445         Farino, 960 F.2d 1217, 1223 (3d Cir. 1992)). A court must
(D. Del. 1999).                                                        determine whether certain discovery avenues, “if explored,
                                                                       might provide the ‘something more' needed” to establish
Specific jurisdiction cannot be solely based upon shares               personal jurisdiction.      Toys “R” Us, 318 F.3d at 456. To
in a United States corporation.            Balden Techs., Inc.         receive jurisdictional discovery, plaintiffs must claim that
v. LS Corp. 626 F. Supp. 2d 448, 457 (D. Del. 2009)                    their factual allegations establish with reasonable particularity
(“[m]ere ownership of a [Delaware] corporation is not                  the possible existence of requisite contacts. If they do
sufficient to confer personal jurisdiction over a non-resident         not, to allow jurisdictional discovery would “allow plaintiff
defendant”). A position of director is by itself insufficient to       to undertake a fishing expedition based only upon bare
find specific jurisdiction. Tracinda Corp. v. Daimlerchrysler          allegations.” Inno360 v. Zakta, LLC, 50 F. Supp. 2d 587,
AG, 197 F. Supp. 2d 86, 99 (D. Del. 2002). Moreover,                   597 (2014). Notably, in addition, “the United States Supreme
plaintiffs must “adequately specif[y defendants'] alleged role”        Court has held that courts should ‘exercise special vigilance
to establish specific jurisdiction. See id. at 96 (declining “to       to protect foreign litigants from the danger that unnecessary,
exercise jurisdiction over [d]efendant Kopper based solely on          or unduly burdensome, discovery may place [on] them.’ ”
Tracinda's controlling person claims”).                                Telecordia Tech, Inc. v. Alcatel S.A., Civ. No. 04-874 GMS,
                                                                       2005WL1268061, at *8 (D. Del. May 27, 2015).
Plaintiffs assert that Li's position on Fisker's Board of
Directors, identification in the Notice of Exempt Offering of           *23 In support of the request for jurisdictional discovery,
Securities with Fisker Automotive's California address, along          plaintiffs suggest that Ace Strength might have an alter-
with his “active participation” and vote on the December               ego or agency relationship with a company for which
2011 Capital Call, mandates specific jurisdiction. While these         this court has general jurisdiction and that Li might own
statements demonstrate that Li had some contact with the               property in the United States. * * 44 * * (D. I. 52 at 86-87)
United States, plaintiffs do not allege that the cause of              Plaintiffs also contend that Li may have “traveled to the
action—misrepresentations and omission in the disclosures              United States in connection with Fisker Automotive or the
                                                                       offerings, particularly the pay-to-play offerings,” and that
—arises out of or is related to said contact. See       IMO
                                                                       such information might provide further relevant information
Indus., Inc., 155 F.3d at 259. Plaintiffs have not pied facts
                                                                       pertaining to specific jurisdiction. (D.I. 52 at 87) These
showing that Li or Ace Strength exercised control over
                                                                       contentions, along with Li's status as a Director of Fisker
the challenged disclosures or engaged in “substantial acts”
“purposefully directed” at the United States and sufficient            Automotive, * * 45 * * raise a colorable showing of personal
                                                                       jurisdiction sufficient to allow jurisdictional discovery.
to establish minimum contacts. * * 42 * *, * * 43 * *
   Burger King Corp. v. Rudzewicz, 471 U.S. 462, 472
                                                                       V. CONCLUSION
(1985);     Helicopteros, 466 U.S. at 414.                             For the foregoing reasons, the court grants in part and
                                                                       denies in part defendants Daubenspeck, Fisker and Koehler,
While plaintiffs shoulder the burden of demonstrating                  DaMour, and Kleiner and Lane's motions to dismiss the
sufficient jurisdictional facts, “courts are to assist the plaintiff   consolidated complaint (D.I. 29; D.I. 33; D.I. 36; D.I. 43);
by allowing jurisdictional discovery unless the plaintiff's            stays Ace Strength and Li's motion to dismiss (D.I. 38)
claim is ‘clearly frivolous.’ ”    Toys “R” Us, Inc. v.                pending the completion of jurisdictional discovery; grants.
Step Two, S.A., 318 F.3d 446, 456 (3d Cir. 2003) (quoting              McDonnell's motion to dismiss (D.I. 31); and grants plaintiffs'
                                                                       motion for judicial notice of certain documents (D.I. 54). An
   Mass. Sch. of Law at Andover, Inc. v. Am. Bar Ass'n,
                                                                       appropriate order shall issue.
107 F.3d 1026, 1042 (3d Cir. 1997)). “If a plaintiff presents
factual allegations that suggest ‘with reasonable particularity'
the possible existence of the requisite ‘contacts between



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                                                     Footnotes


1      The present action filed on December 27, 2013; CK Investments LLC v. Fisker, Civ. No. 14-118 filed on
       January 31, 2014; and PEAK6 Opportunities Fund L.L.C. v. Fisker, Civ. No. 14-119 filed on January 31, 2014.
       All citations are to the present action, Civ. No. 13-2100, unless otherwise indicated.

2      Defined below.

3      Plaintiffs Atlas, CK Investments, Raisbeck, Hunse Investments, Southwell, Sandor, Lemak, Pinnacle,
       Andreeff, SAML Partners, KKRR Trust, and Smith are collectively the Middlebury plaintiffs.

4      Car Maker Taps Funding Karma, Wall Street Journal, January 20, 2010 (based primarily on interviews with
       Fisker and Lane).

5      Luxury hybrid electric car maker Fisker Automotive raises an extra $100M, VentureBeat, May 13, 2011.

6      Specifically, DaMour stated:

         We've already raised over $600 million worth of equity and when you combine that with the Department of
         Energy loans, which we secured, which are $530 million—that's $1.1 billion of total capital already secured
         for the business.

         ...

         But importantly, a significant cash cushion which provides significant security and comfort to our suppliers
         and our dealers and all the other major partners we have that run the business with us. So in sum, we
         know we are very well capitalized today.

       (D.I. 24 at ¶ 67)

7      Fisker asks investors for $200M more: Funding is being called a ‘pre-IPO’ round, The News Journal
       (Wilmington, Delaware), August 21, 2011.

8      Fisker on track to make electric sports cars, despite delays, Calgary Herald (Alberta), November 18, 2011
       and Fisker says Karma will meet 15,000 production target for 2012, AutoblogGreen, November 26, 2011.

9      It is unclear in the complaint to which specific documents this refers.

10     Jonathan Starkey, Fisker issues Karma recalls, The News Journal (Wilmington, Delaware), December 30,
       2011.

11     Fisker slows work at former GM site, lays off 26, The News Journal (Wilmington, Delaware), February 7, 2012.

12     The Detroit Free Press, April 19, 2012.




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13     Fisker Pursues $87M Capital Raise, Debt Deal, Amid DOE Loan Suspension, The Wall Street Journal Venture
       Capital Dispatch Blog, June 26, 2012.

14     In 4WheelsNews.

15     From the record at bar, at least $1.4 billion was invested in Fisker Automotive prior to its bankruptcy filing.

16     Against all defendants except Kleiner Perkins and Ace Strength. (D.I. 24 at ¶¶ 126-139)

17     Section 12(a)(2) provides that any defendant who

         offers or sells a security ... by means of a prospectus or oral communication, which includes an untrue
         statement of a material fact or omits to state a material fact necessary in order to make the statements,
         in the light of the circumstances under which they were made, not misleading (the purchaser not knowing
         of such untruth or omission), and who shall not sustain the burden of proof that he did not know, and in
         the exercise of reasonable care could not have known, of such untruth or omission, shall be liable ... to
         the person purchasing such security from him.

       15 U.S.C. § 771.

18     The SEC censured Advanced Equities for fraudulent practices and Advanced Equities then ceased
       operations and is now defunct. (D.I. 24 at ¶ 34)

19     Stating in part:

         I encourage you to carefully review the Information Statement and consider a further investment in Fisker
         Automotive. Importantly, three of our major venture capital investors, Kleiner Perkins, NEA and Pacific
         Century, support this action and have already made, or committed to make, their capital calls, together
         totaling more than $57 million.

       (D.I. 24 at ¶ 83)

20     The court does not base its decision on the news articles containing general statements regarding raising
       capital and going public.

21     The court addresses Li infra.

22     Rule 501 (a) defines “accredited investor,” which are more sophisticated investors, such as banks, companies
       and high net worth individuals. 17 C.F.R. § 230.501(a).

23     Section 15 of the Securities Act provides for joint and several liability on the part of one who controls a violator
       of § 12. Accordingly, a violation of § 15 only applies when a primary violation of § 12 has been found.         In
       re Suprema Specialties, Inc. Sec. Litig., 438 F.3d 256, 284 (3d Cir. 2006). As plaintiffs have failed to set forth
       a primary violation of § 12(a)(2), plaintiffs' controlling person claims under § 15 must also be dismissed.

24     Against all defendants except Kleiner Perkins and Ace Strength. (D.I. 24 at ¶¶ 145-159)

25     The PSLRA's heightened pleading requirements were constructed in order to restrict abuses in securities
       class-action litigation, including: (1) the practice of filing lawsuits against issuers of securities in response to
       any significant change in stock price, regardless of defendants' culpability; (2) the targeting of ‘deep pocket’
       defendants; (3) the abuse of the discovery process to coerce settlement; and (4) manipulation of clients by
       class action attorneys.




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          Horizon Lines, 686 F. Supp. 2d at 414.

26     The court does not reach plaintiffs' duty to disclose argument based on the third prong, prior misleading
       statements.

27     Plaintiffs allege that all defendants except McDonnell had a duty to disclose related to the offering documents.

28     Provided by plaintiffs as exhibits.

29     Without discovery, the court struggles to envision how plaintiffs could ascertain which individuals were
       responsible for the creation of these types of documents.

30     Plaintiffs allege that McDonnell, Fisker, Koehler, and DaMour had a duty to disclose in connection with the
       conference calls.

31     Defendants argue that plaintiffs have not identified in the complaint with specificity which statements from
       the conference calls are misleading and may not now do so through the briefing.            Com. of Pa. ex rel.
       Zimmerman v. PepsiCo, Inc., 836 F.2d 173, 181 (3d Cir. 1988) (“[l]t is axiomatic that the complaint may not be
       amended by the briefs in opposition to a motion to dismiss.”). However, in the interests of efficiency (because
       an amendment would be granted) and as defendants have substantively responded to the arguments, the
       court reviews the identified statements.

32     Fisker says Karma will meet 15, 000 production target for 2012, AutoblogGreen, November 26, 2011.

33     Fisker Pursues $87M Capital Raise, Debt Deal, Amid DOE Loan Suspension, The Wall Street Journal Venture
       Capital Dispatch Blog, June 26, 2012.

         For a while, Irvine, Calif.-based Fisker was operating under the assumption that it has $529 million
         in federal loans, but last year the Department of Energy, which handles the loans, suspended
         issuing new checks because the car company missed some milestones. Fisker delayed the release
         of Karma and sold fewer Karmas than it promised under the DOE loan agreement. As a result of the
         loan suspension, Fisker stopped additional work on a plant in Delaware where it was planning to build the
         cars and laid off some employees.

       (Id. at ¶ 105) (emphasis added)

34     Again, rather than entertain an amended complaint.

35     Paragraphs 56, 66-67, 71, 86-89, 96-99 relate to offering documents and conference calls. The articles cited
       in ¶¶ 60 and 75 do not contain direct quotations. The article in 63 states, “[q]uote: ‘Reduce demand for oil by
       5 to 10 percent, and you start to control pricing.’ ” This statement is unrelated to the issues at bar.

36     Fisker on track to make electric sports cars, despite delays, Calgary Herald (Alberta), November 18, 2011.
       The article also states: “ ‘The leather was useless. We had 250 cars parked and waiting for leather,’ Lane
       said.” Such statement is unrelated to the issues at bar.

37     Fisker Pursues $87M Capital Raise, Debt Deal, Amid DOE Loan Suspension, The Wall Street Journal Venture
       Capital Dispatch Blog, June 26, 2012. Other quotations do not relate to the issues at bar. “ ‘We have 1,700
       cars sold now,’ said Ray Lane ....” Discussing financing operations and its next car model, Atlantic, the article
       stated

         “You don't make money until volumes are up,” said Lane. The company needs to build the Atlantic, which
         would increase its volumes, and amortize its fixed costs across more units, as well as allow Fisker to


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         negotiate better deals with suppliers. “We can't move forward without the debt,’ said Lane, referring to the
         Atlantic program.”

         ...

         The company has been using equity, the most expensive capital, to pay for the development of Atlantic
         to date. “We spent $130 million on the Atlantic,” Lane said. “No one wants to spend” [sic] more equity,”
         he said. That is the reason Fisker is in discussions with a syndicate of private lenders, led by the Royal
         Bank of Canada, he added.

       (Id. at

38     As the court previously found that only risker and DaMour “made” statements, the scienter analysis is limited
       to these defendants .

38     Against Kleiner Perkins, Lane, Fisker, DaMour, Koehler, Daubenspeck, Li and Ace Strength.

39     Kleiner Perkins, Lane, Fisker and Koehler only challenged the § 20(a) claim as failing to allege a primary
       violation. (D.I. 58; D.I. 62)

40     Defendants did not oppose plaintiffs' motion to take judicial notice of certain documents. (D.I. 54) Such
       documents are cited in the complaint (D.I. 53, ex. B-H and JN); a matter of public record (id., ex. A); and filed
       with the SEC (id., ex. I). The court takes judicial notice of such documents as needed for the present motions.
         Pension Benefit Guar. Corp. v. White Consol. Indus., Inc., 998 F.2d 1192, 1196 (3d Cir. 2006) (“[A] court
       may consider an undisputedly authentic document that a defendant attaches as an exhibit to a motion to
       dismiss if the plaintiff's claims are based on the document.”);   Oshiver v. Levin, Fishbein, Sedran &
       Berman, 38 F.3d 1380, 1385 (3d Cir. 1994) (“We may also consider matters of public record, orders, exhibits
       attached to the complaint and items appearing in the record of the case.”);       Oran v. Stafford, 226 F.3d
       275, 289 (3d Cir. 2000) (taking “judicial notice of properly-authenticated public disclosure documents filed
       with the SEC”).

42
       Plaintiffs' citation to TCS Capital Management, LLC v. Apax Partners, L.P., 2008 U.S. Dist. LEXIS 19854,
       2008 WL 650385 (S.D.N.Y. Mar. 7, 2008) is inapposite. Though it was indeed “foreseeable” that defendants'
       actions would have an “effect” in the United States, the jurisdictional issue in the case turned on the fact
       that the “director defendants were all primary violators by virtue of their having prepared and approved the
       allegedly false and/or misleading Explanatory Report.” Id. at *29-33.

43     Therefore, the court does not consider whether the exercise of specific jurisdiction “would comport with ‘fair
       play and substantial justice.’ ”   D'Jamoos ex rel. Estate of Weingeroff v. Pilatus Aircraft Ltd., 566 F.3d 94,
       106 (3d Cir. 2009) (citing     Burger King, 471 U.S. at 476).

44     Plaintiffs also assert that jurisdictional discovery is supported by the fact that Ace Strength is not a public
       company and that a great deal of information is solely in their hands. See    Rocke v. Pebble Beach Co.,
       541 Fed.Appx. 208, 212-13 (3d Cir. 2013) (finding that a district court abused its discretion by failing to
       allow jurisdictional discovery where the necessary information was solely in defendants' hands resulting in
       an “imbalance in access to information” between the parties).

45     Who may have participated in the preparation of offering documents, discussed above.




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                       TAB No. 10




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                                                                  every drug distributed in the U.S. Id. at ¶¶ 44, 54. If drugs fail
                     2023 WL 3539371                              testing, manufacturers are prohibited from re-testing them to
      Only the Westlaw citation is currently available.           achieve a passing result, because doing so could conceal the
      United States District Court, W.D. Pennsylvania.            production of unsafe drugs. Id. at ¶¶ 49-50.

     IN RE MYLAN N.V. SECURITIES LITIGATION                       As another safeguard to ensure compliance with CGMP
                                                                  requirements, the FDA conducts periodic inspections of drug
                       2:20-cv-955-NR                             manufacturing facilities. Id. at ¶ 52. Those inspections can
                              |                                   result in the issuance of a “Form 483,” which is a report setting
                     Signed May 18, 2023                          forth “conditions that in [the FDA inspector's] judgment may
                                                                  constitute violations of the Food Drug and Cosmetic (FD&C)
                                                                  Act[.]” ECF 47-10, FDA 483, FAQs. But this Form only
                         OPINION                                  lists inspectional observations and “does not constitute a final
                                                                  Agency determination of whether any condition [at a facility]
J. Nicholas Ranjan, United States District Judge                  is in violation of the FD&C Act[.]” Id. Manufacturers, like
                                                                  Mylan, are encouraged to respond to any issues noted in a
 *1 In this putative securities class action, Lead Plaintiff
                                                                  Form 483 that they receive. ECF 47-1, p. 1.
Public Employees’ Retirement System of Mississippi sues
Defendants Mylan N.V., CEO Heather Bresch, President
                                                                  The FDA may follow up on Form 483 inspectional
Rajiv Malik, and CFO Kenneth Parks under Sections 10(b)
                                                                  observations by issuing an untitled letter or a “Warning
and 20(a) of the Securities Exchange Act of 1934, and Rule
                                                                  Letter.” ECF 39, ¶ 152. Untitled letters document less
10b-5 promulgated thereunder. Defendants move to dismiss
                                                                  significant issues and do not “warn” about potential
the amended complaint for failure to state a claim. For the
                                                                  enforcement actions. ECF 47-12. Warning Letters are
reasons below, Defendants’ motion to dismiss will be granted
                                                                  reserved for more “significant violations” that “may lead
in part and denied in part.
                                                                  to an enforcement action if not promptly and adequately
                                                                  corrected.” ECF 47-13.

               FACTUAL BACKGROUND                                  *2 At all relevant times, Mylan recognized that “failure
                                                                  to comply with CGMP” could result in a host of
I. Regulatory environment for Mylan's core business.              serious regulatory sanctions, including “warning letter[s],
As pled in the amended complaint, Mylan is one of the             fines, penalties, disgorgement, unanticipated compliance
largest generic drug manufacturers in the world. ECF 39, ¶ 2.     expenditures,” product recalls, and even criminal prosecution.
Mylan has fifty manufacturing facilities worldwide, sixteen       ECF 39, ¶ 56.
of which are in North America. Id. at ¶ 281. One of those
North American facilities is in Morgantown, West Virginia.
Id. at ¶ 1. The Morgantown facility accounted for roughly         II. Inspection of Mylan's Nashik facility.
85% of the tablets and gel capsule drugs that Mylan sold in the   In September 2016, the FDA inspected Mylan's facility in
United States each year during what is defined as the “class      Nashik, India. ECF 39, ¶ 91. After that inspection, the
period” (February 16, 2016, through May 7, 2019). Id. at ¶¶       FDA issued a Form 483 to Mylan, documenting a series
7, 34. 1                                                          of safety and data failures. Id. at ¶¶ 91-93; ECF 39-3, pp.
                                                                  1-4. Later, the FDA issued a Warning Letter to Mylan about
Mylan operates in a heavily regulated industry, and, as           the issues observed during the inspection. ECF 39, ¶ 146.
a result, its success and reputation depends on producing         Mylan publicly acknowledged the letter. Id. at ¶ 277. The
safe and efficacious products. Id. at ¶¶ 26, 35, 43. Drug         FDA eventually issued a “Closeout Letter,” stating that it “had
manufacturers like Mylan must comply with FDA quality             completed an evaluation of [Mylan]’s corrective actions”
control regulations, including Current Good Manufacturing         and “it appears that [Mylan has] addressed the violations
Practices (“CGMP”). Id. at ¶¶ 2, 43. The FDA relies on            contained in th[e] [Nashik] Warning Letter.” ECF 47-4.
manufacturers to conduct testing (and implement data quality
controls to validate that testing), since the FDA cannot test
                                                                  III. Inspections of Morgantown facility.


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In November 2016, the FDA inspected Mylan's facility in           Publicly, as early as April 20, 2018, Mylan announced that
Morgantown, West Virginia. ECF 39, ¶ 95. Once again, after        it was “right-sizing” the Morgantown plant to make it “less
that inspection, the FDA issued a Form 483 to Mylan. Id. at       complex.” Id. at ¶¶ 11, 179, 290. At the time, Mylan explained
¶¶ 95, 97; ECF 47-1. The Morgantown Form 483 focused              that the rightsizing tracked discussions it was having with the
on problematic laboratory controls and documentation              FDA. Id.
practices, including the practice of impermissibly “testing
into compliance.” ECF 39, ¶ 97; ECF 47-1. In a separate            *3 In June 2018, Mylan acknowledged receipt of the
letter, not a Warning Letter, the FDA informed Mylan that         2018 Form 483 and stated that it had “submitted a
the inspections “raised questions regarding the integrity and     comprehensive response to the [FDA] and committed to a
reliability of data generated” by Mylan's quality control         robust improvement plan.” ECF 39, ¶¶ 181, 184-85; ECF
functions. ECF 39, ¶ 145. As a result, the FDA classified the     47-29.
Morgantown facility as “Voluntary Action Indicated.” Id. at
¶ 152.                                                            In August 2018, Mylan publicly disclosed that the
                                                                  restructuring and remediation program at Morgantown would
In March and April 2018, the FDA conducted another                include the discontinuation of several products, that the
inspection of Morgantown. Id. at ¶ 164. Following that            program had harmed operations (e.g., it had lowered
inspection, on April 12, 2018, the FDA issued another             production levels and increased expenses), and that it would
Form 483 for Morgantown. Id.; ECF 47-2. This Form 483             continue to have a negative impact through the end of 2018.
focused on manufacturing operations, including the processes      ECF 39, ¶ 186; ECF 47-26, p. 3.
and procedures for cleaning manufacturing equipment and
utensils. ECF 47-2, pp. 2-13, 18-25.                              In November 2018, Mylan updated investors again—this
                                                                  time stating that the remediation program would continue
On May 3, 2018, Mylan submitted a detailed response to the        into 2019 and that expenses related to these additional
2018 Form 483, and Mylan continued to engage with the             restructuring activities could not reasonably be estimated.
FDA on proposed corrective actions to address the FDA's           ECF 39, ¶ 194; ECF 47-22; ECF 47-31.
observations. ECF 47-8.
                                                                  On January 31, 2019, Bloomberg Law published an article
Even so, on November 9, 2018, the FDA issued a Warning            in which Mylan's spokeswoman responded to allegations
Letter to Mylan about Morgantown, which “summarize[d]             of CGMP and data integrity failure at Mylan's plants
significant violation of current good manufacturing practice      by stating that “[a]ny explicit or implicit suggestion that
(CGMP) regulations for finished pharmaceuticals” that had         Mylan employees circumvented data and quality systems that
been laid out in the April 2018 Form 483. ECF 39, ¶¶ 195-206.     jeopardized the quality of the medications we manufacture—
It added that Mylan “lack[ed] an adequate ongoing program         for time pressures or any other reason—is simply false.” ECF
for monitoring process control to ensure stable manufacture       39, ¶ 299.
operations and consistent drug quality.” Id. at ¶¶ 199, 281,
283.
                                                                  V. Changes in Mylan's share price.
                                                                  According to the amended complaint, the “relevant truth”
IV. Mylan's response to Morgantown inspection and                 about the FDA's inspections and Mylan's data integrity
correspondence from the FDA.                                      failures only began to partially surface in 2018. For example,
Mylan acted in response to the Warning Letter. It halted          on June 27, 2018, Bloomberg reported that the FDA inspected
production at Morgantown while it sought to remediate             Morgantown in 2018 and issued a Form 483 listing 13
the noticed violations (ECF 39, ¶ 178); it dramatically           significant deficiencies in Morgantown's operations. ECF 39,
reduced the facility's production volume (id.); it implemented    ¶ 181. Soon after, Mylan's share price fell about 4%, from
remedial measures under consultant supervision and ensured        $37.45 per share to $36.33 per share. Id. at ¶ 183.
that those measures were validated and scalable before
resuming production (id.); and it recalled at least seven drugs   During Mylan's first earnings call after the article, Defendant
manufactured at Morgantown (id. at ¶ 180).                        Malik described the issues as “temporary” and claimed
                                                                  that Mylan's restructuring efforts had been planned before
                                                                  receiving the Form 483. Id. at ¶ 187. Mr. Malik tried to


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assuage investors that Mylan would “re-bring volume back
up” following remediation of the issues observed by the FDA.
Id. at ¶ 187. After this news, Mylan's stock price fell around
7% from $39.23 per share to $36.61 per share. Id. at ¶ 188.

On February 26, 2019, Mylan released its financial results
for the fourth quarter of 2018. These results disclosed
a 5% decline of total quarterly revenues, a 16% decline
for the quarter in North American segment net sales,
the discontinuation of 250 products, and $258 million in
remediation costs. Id. at ¶¶ 207-11. In response to this report,
Mr. Malik assured investors that the negative impact from the
Morgantown remediation was “largely behind” Mylan. Id. at
¶ 213. Once again, Mylan's stock price fell—this time $4.61
per share—but analysts were encouraged by Mr. Malik's
assurance that the worst was over. Id. at ¶¶ 212-16.

On May 7, 2019, Mylan reported a loss for the first quarter
of 2019. Id. at ¶ 217. After this news, Mylan's share price fell
another $6.73 per share. Id. at ¶ 219.


VI. Plaintiff files suit.                                                         DISCUSSION & ANALYSIS
 *4 From these core facts, Plaintiff sued Mylan, along with
                                                                   I. The Court will consider Plaintiff's allegations based on
Ms. Bresch, its CEO, Mr. Malik, its President, and Mr. Parks,
                                                                   former employees and media sources.
its CFO, alleging claims under Sections 10(b) and 20(a) of the
                                                                   Before the Court can begin to analyze the sufficiency
Exchange Act. ECF 39. Defendants then moved to dismiss
                                                                   of Plaintiff's claims, it must first establish the rules of
the claims in their entirety. ECF 45.
                                                                   engagement. That's because Defendants argue that the Court
                                                                   should disregard huge swaths of the amended complaint
                                                                   that are based on (1) statements from “low-level former
              TIMELINE OF KEY EVENTS                               employees” and (2) “other unnamed sources borrowed from
                                                                   Bottle of Lies: The Inside Story of the Generic Drug Boom and
                                                                   two articles from Bloomberg.” ECF 46, p. 12. After careful
                                                                   consideration, the Court will credit these allegations in its
                                                                   analysis.


                                                                      A. The Court will consider the statements from the
                                                                      former employees.
                                                                   “[T]he PSLRA imposes a particularity requirement on
                                                                   all allegations, whether they are offered in support
                                                                   of a statement's falsity or of a defendant's scienter.”
                                                                       Institutional Inv'rs Grp. v. Avaya, Inc., 564 F.3d 242, 263
                                                                   (3d Cir. 2009) (citation omitted). “Thus, when considering
                                                                   allegations from confidential sources, the Third Circuit
                                                                   instructs that courts apply the particularity requirement by
                                                                   evaluating the detail provided by the confidential sources, the
                                                                   sources’ basis of knowledge, the reliability of the sources,
                                                                   the corroborative nature of other facts alleged, including


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from other sources, the coherence and plausibility of the           (D.N.J. 2007) (citing       Chubb, 394 F.3d at 147) (other
allegations, and similar indicia.” In re Aurora Cannabis, Inc.      citations omitted).
Sec. Litig., No. 19-20588, 2022 WL 4446125, at *6 (D.N.J.
Sept. 23, 2022) (cleaned up).                                        *5 Defendants maintain that the allegations made by the
                                                                    former employees “fail to satisfy the Third Circuit's rigorous
The crucial aspect of this evaluation is whether the                pleading requirements” and should not be credited, either to
confidential witnesses “are described in the complaint with         “establish falsity or [to] support an inference of scienter.”
sufficient particularity to support the probability that a person   ECF 46, p. 13. Defendants’ position centers on two main
in the position occupied by the source would possess the            arguments, neither of which is convincing.
information alleged.” Wu v. GSX Techedu Inc., No. 20-4457,
2023 WL 2207422, at *5 (D.N.J. Feb. 24, 2023) (citing               First, Defendants argue that Plaintiff has failed to provide
                                                                    enough detail about the tenure, position, and responsibilities
   Rahman v. Kid Brands, Inc., 736 F.3d 237, 244 (3d Cir.
                                                                    of the former employees to provide the Court with the
2013)). Courts typically find sufficient particularity where the
                                                                    necessary detail to conclude that they plausibly possessed
plaintiff has alleged “(1) the time period that the confidential
                                                                    the information alleged. The Court disagrees. The amended
source worked at the defendant-company, (2) the dates on
                                                                    complaint provides the following information about the
which the relevant information was acquired, and (3) the facts
                                                                    tenure and job titles of all the former employees:
detailing how the source obtained access to the information.”
   In re Intelligroup Sec. Litig., 527 F. Supp. 2d 262, 290
       FE                        Tenure                                                       Job Title

        1       Entire class period (ECF 39, ¶                                Quality Control and Technical
                95)                                                           Area Lead in Packaging at
                                                                              Morgantown (id.)

        2       Before class period until April                               Quality Assurance Specialist at
                2018 (id. at ¶ 111)                                           Morgantown (id.)

        3       2016 to 2019 (id. at ¶ 112)                                   Chemist (id.)

        4       Start of class period until                                   Quality Control Chemist at
                mid-2016 (id. at ¶ 113)                                       Morgantown (id.)

        5       Start of class period until                                   Quality Compliance Manager
                November 2016 (id. at ¶ 115)                                  (id. at ¶ 115)

        6       Before class period until Spring                              Lead Financial Analyst (id.)
                2018 (id. at ¶ 131)

        7       Before class period until                                     Quality Assurance Supervisor
                November 2018 (id. at ¶ 143)                                  (id.)

        8       2016 to 2018 (id. at ¶ 160)                                   Technical Area Lead in
                                                                              Manufacturing (id.)

                                                                    Lead Financial Analysis, FE6 is alleged to have been assigned
And although the descriptions of each former employee's             to Morgantown to help “oversee the site operations budget,
job responsibilities vary in the degree of specificity, all are     with significant work on the Company's quality budget.” ECF
sufficient at the motion-to-dismiss stage of the case for the       39, ¶ 131. In that role, FE6 is said to have “supported the Vice
Court to credit the challenged allegations.                         President and Site Head of Quality at Morgantown.” Id. Given
Some descriptions, like those for former employee (or “FE”)         those descriptions, the Court finds it plausible that FE6 would
2, FE3, FE6, and FE 7, are more detailed. For example, as the       know details about the budget (id. at ¶¶ 131-35) and could



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offer information on the impact that the budget would have on       47-6. They are further corroborated by the book Bottle of Lies,
production and compliance goals at the Morgantown facility          which is discussed below.
(id. at ¶ 131).
                                                                    Considering all these allegations together, Plaintiff has set
The descriptions for FE2 and FE3 also provide insights into         forth sufficient facts to establish the reliability of the former
the job responsibilities of FE1, FE4, and FE5, who held             employees’ statements, and the Court will consider them.
similar positions. As a “Quality Assurance Specialist” at
Morgantown, FE2 was “responsible for analyzing drugs and
equipment for compliance with quality standards.” Id. at ¶             B. The Court will consider the allegations based on
111. FE3 worked as a chemist “responsible for quality control          Bottle of Lies and the Bloomberg articles.
and validation” at Morgantown. Based on those consistent            Defendants also argue that the Court should discredit
descriptions, and the job titles for and nature of the statements   Plaintiff's allegations that reference or are otherwise based
from FE1, FE4, and FE5, the Court infers that those                 on information in Bottle of Lies and two Bloomberg articles.
former compliance-related employees had similar duties and          According to Defendants, these sources are not reputable, are
responsibilities. And in that capacity, each of these former        not particular and detailed enough to reflect their reliability,
employees would be qualified to speak on the compliance and         or both. The Court disagrees.
quality-control processes and procedures at Mylan generally,
and the Morgantown facility specifically, if the former             The parties agree, generally, that plaintiffs in securities
employee was alleged to have worked there during his or her         actions can rely on certain media sources when making their
                                                                    allegations. ECF 46, p. 20; ECF 48, p. 32. Their disagreement
tenure. See     Industriens Pensionsforsikring A/S v. Becton,       is whether Plaintiff can rely on the specific media sources
Dickinson & Co., No. 22-2155, 2022 WL 3273879, at *11               at issue. To meet the heightened pleading requirements in
(D.N.J. Aug. 11, 2022) (“FE-9 and FE-10's respective job title      securities-fraud cases, “media sources must be sufficiently
and functions further support the plausibility that they would      detailed to indicate [ ] their reliability and be based on
have the information alleged. Accepting these allegations as
true, as the Court must, Plaintiff has satisfactorily alleged how   an independent investigative effort.” In re Loewen Grp.
the FEs had access to such information.” (cleaned up)).             Inc., No. 98-6740, 2004 WL 1853137, at *6 (E.D. Pa. Aug.
                                                                    18, 2004) (cleaned up). 2 Bottle of Lies and the Bloomberg
 *6 Along with those descriptions, the mutual consistency           articles meet both requirements.
of the former employees’ accounts reinforces their reliability.
They tell a story of widespread compliance and product-              *7 Taking Bottle of Lies first, author Katherine Eban's
quality issues at Morgantown that were driven by outsized           reporting is detailed enough to reflect its reliability and comes
production demands imposed by management. See, e.g.,                from an exhaustive independent investigative effort.
ECF 39, ¶¶ 108-62. They also describe that these issues
were directly communicated to management and high-level             Ms. Eban, helpfully, describes her reporting process in
executives at Mylan but not meaningfully addressed until            considerable detail. As she states in her forward, the
after repeated serious warnings from the FDA. That these            book is based on “extensive interviews, firsthand reporting,
accounts tell the same coherent story enhances the plausibility     and documentation.” ECF 47-33. She “interviewed over
of that story. See Pelletier v. Endo Int'l PLC, 439 F. Supp.        240 people, a number of them multiple times, including
3d 450, 468 n.8 (E.D. Pa. 2020) (“[T]he [FE] allegations are        regulators, drug investigators, criminal investigators,
specific, mutually consistent, and plausibly within the scope       diplomats, prosecutors, scientists, lawyers, public-health
of knowledge each [FE] would have acquired during his or            experts, doctors, patients, company executives, consultants,
her employment[.]”).                                                and whistleblowers.” Id. Her primary reporting took her to
                                                                    “India, China, Ghana, England, Ireland, and Mexico” and
Not only that, contrary to Defendants’ argument that the            she “travel[ed] throughout the United States” to get “on-
accounts of the former employees are “uncorroborated by             the-ground” information. Id. She also obtained a “significant
any document, meeting or witnessed discussion,” they are            number of confidential documents,” including “20,000
supported by the several Forms 483 and the Warning Letter           internal documents from the [FDA].” Id. Those internal
that the FDA issued to Mylan regarding the Morgantown               documents, in turn, contained “emails, memorandum [sic],
facility. See generally ECF 47-1; ECF 47-2; ECF 47-3; ECF           meeting minutes, reports, and data; thousands of internal


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government records related to the investigation of the generic    from the amended complaint that borrow from Bottle of
drug company Ranbaxy; and thousands of internal corporate         Lies relate to reporting that could be plausibly corroborated
records from several generic drug companies, including            by a review of documents examined by Ms. Eban and the
emails, reports, strategy documents, correspondence, and          authors of the Bloomberg articles. And on top of that, contrary
sealed court records.” Id. Ms. Eban also obtained other           to Defendants’ suggestion, many of the unnamed witnesses
documentation from “sixteen Freedom of Information Act            are described with enough particularity to give the Court
requests” that she filed with the FDA, “as well as from a         confidence that the information they provided was reliable.
lawsuit that [she] filed to obtain calendar and meeting records
for an FDA official.” Id. Finally, she “read through years of     For these reasons, the Court will consider the allegations
publicly available FDA inspection records.” Id.                   in the amended complaint based on Bottle of Lies and the
                                                                  Bloomberg articles. See    In re Lehman Bros. Sec. & ERISA
Ms. Eban's on-the-ground reporting and firsthand review
                                                                  Litig., No. 10-6637, 2013 WL 3989066, at *4 (S.D.N.Y.
of core documents allowed her to provide insights related
                                                                  July 31, 2013) (recognizing that “a plaintiff may rely in
to several relevant topics, including, but not limited to,
                                                                  its complaint on witness statements recounted in newspaper
the 2015 and 2016 FDA whistleblower reports, Mylan's
correspondence with the FDA in 2016 and 2017, and Mylan's         articles” and similar sources). 3
reaction to the 2016 Form 483. ECF 39, ¶¶ 89, 91. The Court
will credit this kind of effort. See, e.g., In re JPMorgan        II. Plaintiff has alleged a material misrepresentation or
Chase & Co. Sec. Litig., No. 06-4675, 2007 WL 4531794,            omission.
at *5 (N.D. Ill. Dec. 18, 2007) (crediting “an independent        With those threshold issues resolved, the Court now turns
investigation” conducted by a journalist “who interviewed         to Plaintiff's securities-fraud claim under Rule 10b-5. That
several individuals with personal knowledge of the merger”        rule states that it violates the Exchange Act “[t]o make
and provided “detail about the people involved ... and the        any untrue statement of material fact or to omit to state a
details of the negotiations, including where and when the         material fact ... in connection with the purchase or sale of any
negotiations took place, the existence of the no-premium          security.” 17 C.F.R. § 240.10b-5. To state a claim under Rule
offer, and terms of the final deal”).                             10b-5, Plaintiff must show: “(1) a material misrepresentation
                                                                  (or omission); (2) scienter, i.e., a wrongful state of mind;
The same goes for the Bloomberg articles. Defendants do           (3) a connection with the purchase or sale of a security;
not dispute that Bloomberg is a “reputable” media source,         (4) reliance, often referred to in cases involving public
because it plainly is. See, e.g., ECF 47-36, p. 3 (“In a          securities markets (fraud-on-the-market cases) as ‘transaction
year-long investigation into FDA's regulation of the generic-     causation’; (5) economic loss; and (6) ‘loss causation,’ i.e.,
drug industry, Bloomberg examined hundreds of pages of            a causal connection between the material misrepresentation
inspection documents; reviewed more than 10 years of
                                                                  and the loss.”      In re Aetna, Inc. Sec. Litig., 617 F.3d 272,
inspection data and thousands of pages of pretrial depositions;
                                                                  277 (3d Cir. 2010) (cleaned up). Defendants only argue at
and interviewed more than two dozen current and former
                                                                  this stage that Plaintiff failed to adequately allege the first and
FDA inspectors and agency officials, lawmakers, and industry
                                                                  second elements.
experts.”). The Court can credit articles “published in
industry journals ... and reputable newspapers” based on
                                                                  The first step in the Court's analysis of the Rule 10b-5
detailed reporting, like Bloomberg's publications, because
                                                                  claim, then, is to determine whether Plaintiff has alleged
they “meet the requirements of being independent and
                                                                  any actionable misstatements. The heightened pleading
reliable.”   Loewen Grp., 2004 WL 1853137, at *6.                 standard of the PSLRA requires that complaints alleging
                                                                  securities fraud “specify each statement alleged to have been
 *8 In one last attempt to convince the Court to disregard        misleading” and “the reason or reasons why the statement is
the allegations based on Bottle of Lies and the Bloomberg         misleading.” 15 U.S.C. § 78u-4(b)(1).
articles, Defendants argue that these publications rely too
heavily on “anonymous sources” that are not described with        “Although Rule 10b-5 imposes no duty to disclose all
sufficient particularity to credit the information that they      material, nonpublic information, once a party chooses to
provide. ECF 54, pp. 21-22. However, most of the allegations      speak, it has a duty to be both accurate and complete.”



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Oklahoma Police Pension Fund & Ret. Sys. v. Teligent,             Plaintiff has alleged that several statements on Mylan's
Inc., No. 19-3354, 2020 WL 3268531, at *9 (S.D.N.Y. June          website regarding the quality and reliability of its
17, 2020) (cleaned up). “Disclosure is required only when         manufacturing processes were material misrepresentations.
necessary to make statements made, in the light of the            See ECF 39, ¶¶ 254, 256, 258, 260, 262, 264. These
circumstances under which they were made, not misleading.”        statements, however, cannot serve as the basis for Plaintiff's
Id. (cleaned up).                                                 securities-fraud claim.

 *9 For omitted facts to be material, “there must be a            Rule 10b-5 states that to be actionable, an alleged
substantial likelihood that the disclosure of the omitted fact    misrepresentation must be made “in connection with the
would have been viewed by the reasonable investor as having
                                                                  purchase or sale of any security[.]”     15 U.S.C. § 78j(b).
significantly altered the total mix of information available.”
                                                                  This “in connection with” requirement is met “where material
Id. at 10 (cleaned up). “Because materiality is a mixed
                                                                  misrepresentations are disseminated to the public in a medium
question of law and fact, a complaint may not be properly
                                                                  upon which a reasonable investor would rely” in deciding
dismissed on the ground that the alleged misstatements or
omissions are not material unless they are so obviously           whether to buy or sell a security.     Rowinski v. Salomon
unimportant to a reasonable investor that reasonable minds        Smith Barney Inc., 398 F.3d 294, 301 (3d Cir. 2005) (cleaned
could not differ on the question of their importance.” Id.        up). The Court must construe this requirement “flexibly” in
                                                                  order to effectuate the “remedial purposes” of the statute.
(cleaned up); see also Shapiro v. UJB Fin. Corp., 964 F.2d
272, 280 n.11 (3d Cir. 1992) (citation omitted). “[A]lthough         SEC v. Zandford, 535 U.S. 813, 819 (2002). But the Court
questions of materiality have traditionally been viewed as        must also keep in mind that the statements must “make[ ] a
particularly appropriate for the trier of fact, complaints        significant difference to someone's decision to purchase or
alleging securities fraud often contain claims of omissions or    sell” a security. Chadbourne & Parke LLP v. Troice, 571
misstatements that are obviously so unimportant that courts       U.S. 377, 387 (2014) (emphasis added).
can rule them immaterial as a matter of law at the pleading
stage.”    Aetna, 617 F.3d at 283.                                After careful consideration, the Court concludes that the
                                                                  statements from Mylan's website are not the type of
Over the course of 129 pages and 354 individually numbered        statements upon which a reasonable investor would rely.
paragraphs, Plaintiff alleges that Defendants made many
actionable misrepresentations and omissions.                      To start, the alleged misstatements appeared on Mylan's
                                                                  general website, not its investor-relations page. While
For purposes of its analysis, the Court has organized the         certainly not dispositive, this fact suggests that investors
allegations of fraud into these categories: (1) statements on     visiting Mylan's website would view the information
Mylan's public website; (2) Mylan's other self-congratulatory     contained on the separate investor-relations page to have
statements about aspects of its performance, business strategy,   more value to them, since it was specifically targeted to them.
and compliance measures; (3) statements about Mylan's             The information on the other pages within Mylan's website
regulatory compliance; (4) statements about the “suitability”     drives this point.
of manufacturing facilities; (5) other statements of opinion;
(6) statements about “right sizing” the Morgantown facility;      These other pages included things like descriptions of
and (7) a statement that appears in a Bloomberg Law article.      products, general statements about safety and quality, and
                                                                  narratives regarding the company's history. Essentially, these
After carefully reviewing the allegations, the Court finds that   pages are all about promoting Mylan, its brand, and its
only the alleged misstatement or omission in paragraph 299        products. “No reasonable investor would rely upon these
of the amended complaint from the Bloomberg Law article is        promotional phrases in making investment decisions.”        In
actionable. Nothing else in the amended complaint can serve       re Medtronic Inc., Sec. Litig., 618 F. Supp. 2d 1016, 1030 (D.
as the basis for Plaintiff's Rule 10b-5 claim in Count I.         Minn. 2009) (holding that information published “about the
                                                                  Fidelis lead on its website to promote it to physicians” was
                                                                  not made in connection with the sale of securities), aff'd sub
  A. The statements on Mylan's public website are not
  actionable.


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nom. Detroit Gen. Ret. Sys. v. Medtronic, Inc., 621 F.3d 800     simultaneously publicly disclosing the significant regulatory
(8th Cir. 2010).   4                                             risks facing the company in all its SEC filings. A reasonable
                                                                 investor would therefore recognize that while Mylan might
 *10 The nature of the statements themselves further             subjectively believe that it uses “advanced” and “state-of-the-
underscores this fact. They are best characterized as            art” systems and that its standards were not “generic,” it was
statements of “corporate optimism,” “mere puffing,” or           possible regulators might not agree. See    In re Peabody
“generalized statements of optimism.”          Grossman v.       Energy Corp. Sec. Litig., No. 20-8024, 2022 WL 671222, at
Novell, Inc., 120 F.3d 1112, 1119 (10th Cir. 1997). Classic      *13-14 (S.D.N.Y. Mar. 7, 2022).
examples of puffery are when a company offers “[v]ague
positive statements regarding a corporate entity's risk          The allegations based on statements from Mylan's public
management strategy, asset quality, and business practices[.]”   website do not state a claim.
In re Synchrony Fin. Sec. Litig., 988 F.3d 157, 170 (2d Cir.
2021). A reasonable investor cannot rely on such statements
                                                                    B. Mylan's other self-congratulatory statements about
because they are too general.
                                                                    aspects of its performance, business strategy, and
                                                                    compliance measures are not actionable.
All the statements from Mylan's website fall into this
                                                                 The same “puffery” analysis discussed in the previous section
category:
                                                                 applies with equal force to various soft statements cited in the
  • “[T]here's nothing generic about our standards. Our          amended complaint. This is all puffery—Mylan describing:
    internal teams conduct reviews of all products, start to     (1) its overall “operational excellence” (ECF 39, ¶ 271), (2)
    finish.” ECF 39, ¶ 254.                                      its “deep and unwavering commitment to quality” (id. at
                                                                 ¶ 279), (3) its manufacturing platform as “[p]owerful” and
  • “[O]ur priorities are to meet or exceed industry             “high quality” (id. at ¶ 281), (4) its quality standards as
    standards. Our own teams conduct ongoing reviews to          “stringent” (id. at ¶ 283), (5) its investments in “quality” (id.
    ensure quality and integrity of products, start to finish,   at ¶¶ 284, 292-93), (6) its business strategy as “win-win” (id.
    and to continually improve for optimal quality and           at ¶ 303), (7) its manufacturing operations as “extensive” (id.
    consistency.” Id. at ¶ 256.                                  at ¶ 304), and (8) its supply chain as “reliable” and “second

  • “Mylan uses advanced testing and monitoring systems          to none” (id. at ¶¶ 305-07). See, e.g.,  Aetna, 617 F.3d at
     to assure product adheres to testing acceptance criteria    280 n.7, 283-84 (dismissing claims where underwriting and
     that are in alignment with requirements established by      pricing practices were described as “strong,” “disciplined,”
     standard-setting organizations around the world.” Id. at    and “rigor[ous]”);      SEPTA v. Orrstown Fin. Servs., Inc.,
     ¶ 258.                                                      No. 12-993, 2015 WL 3833849, at *19 (M.D. Pa. June
                                                                 22, 2015) (finding that “representations of ... ‘stringent’
  • “Mylan utilizes state-of-the-art monitoring systems that
                                                                 underwriting standards are ... accurately characterized as
     can automatically evaluate and reject a product that does
                                                                 puffery, or a positive portrayal so vague as to be immaterial
     not meet specifications.” Id. at ¶ 260.
                                                                 to a reasonable investor.”); Freedman v. St. Jude Med., Inc.,
  • “Mylan assures product potency, purity, and drug release     4 F. Supp. 3d 1101, 1107-13 (D. Minn. 2014) (finding
     through expiration date by testing the stability of our     “strict design rules” and “high quality product designs”
     products at specific intervals.” Id. at ¶ 262.              immaterial despite Forms 483 citing design deficiencies).
                                                                 These adjective-laden statements are too vague to be verified.
These general statements about Mylan's “standards” and           What makes a manufacturing platform “powerful”? What
“systems” are non-actionable because “they do no more            constitutes “operational excellence”? A reasonable investor
than reflect statements that are loosely optimistic regarding    would not put stock in these corporate platitudes.
[the] company's well-being, and they are so vague, broad,
and non-specific that a reasonable investor would not rely        *11 Similarly, these statements too are all puffery: Mylan's
on them.” In re AstraZeneca PLC Sec. Litig., No. 21-722,         statements about (1) its “commitment” to “maintaining
2022 WL 4133258, at *8 (S.D.N.Y. 2022) (cleaned up;              the highest quality manufacturing standards at its facilities
collecting cases). That's especially true here since Mylan was   around the world” (ECF 39, ¶ 297), (2) being “best positioned



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to take [its] entire product portfolio across the globe” (id. at    In the amended complaint, Plaintiff left out this important bit
¶ 310), (3) its ability to “leverage” its platform and portfolio    of adjacent information from the SEC disclosure:
(id. at ¶¶ 311-12), and (4) “celebrating” or expressing
“excitement” about “the credibility of [Mylan's] science, our
portfolio, our ability, our operational excellence, the ability                 [D]espite our efforts at compliance,
to manufacture high-quality, high-volume products around                        from time to time we receive notices
the globe” (id. at ¶¶ 317, 319). See, e.g.,    Advanta, 180                     of manufacturing and quality-related
F.3d at 537-38 (statements puffery where cost structure,                        observations following inspections
credit quality, and customer recruiting process described as                    by regulatory authorities around the
                                                                                world, as well as official agency
“superior,” “excellent” and “high quality”);      In re Hertz                   correspondence regarding compliance.
Glob. Holdings, Inc. Sec. Litig., No. 13-7050, 2017 WL                          We may receive similar observations
1536223, at *10-11 (D.N.J. Apr. 27, 2017) (“sustained                           and correspondence in the future.
operational excellence” statement was immaterial because
it was not “determina[ble]” or “verifiable”), aff'd sub nom.
    In re Hertz Glob. Holdings Inc., 905 F.3d 106 (3d Cir.          See, e.g., ECF 47-20, p. 36. Adding in the unedited “context
2018); In re AstraZeneca, 2022 WL 4133258, at *8 (finding           of the complained-of statements ... actually cuts [Plaintiff's]
that statements about “various commitments to public safety
                                                                    argument out from under it.”        Carvelli v. Ocwen Fin.
and equitable access” could not support a claim “even if the
                                                                    Corp., 934 F.3d 1307, 1322 (11th Cir. 2019). That's because
statements are in tension with any omissions in some abstract
                                                                    Plaintiff's omission demonstrates that Mylan disclosed the
sense”). These aspirational statements “read like mission
                                                                    very thing that Plaintiff claims was left out—that Mylan
statements rather than guarantees” in that they outline goals
                                                                    had already received “quality-related observations following
toward which Mylan is working, rather than listing objective
accomplishments. Howard v. Arconic Inc., 395 F. Supp. 3d            inspections by regulatory authorities.”      In re Lions Gate
516, 547 (W.D. Pa. 2019) (Hornak, C.J.); see, e.g., ECF             Entm't Corp. Sec. Litig., 165 F. Supp. 3d 1, 15-16 (S.D.N.Y.
39, ¶ 284 (Mylan conducting a “series of reviews designed           2016) (finding that there was “nothing false or misleading”
to meet or exceed ... regulatory ... standards ... around the       about repeated statements in SEC filings that “[f]rom time
globe” (emphasis added)).                                           to time, the Company is involved in certain claims and legal
                                                                    proceeding arising in the normal course of business” because
                                                                    “they accurately describe that there were currently pending
   C. Statements about Mylan's regulatory compliance                claims or legal proceedings”).
   are not actionable.
Plaintiff next alleges that Defendants misled investors about       The added context of the other risk disclosures in these same
the status of Mylan's regulatory compliance in several of           SEC filings further undermines Plaintiff's position. In each
Mylan's SEC filings during the class period. Specifically,          of Mylan's SEC quarterly and annual filings during the class
Plaintiff claims that it was misleading for Mylan to suggest        period, Mylan included the following cautionary statements:
that “there is no guarantee” that its compliance programs and
policies “will meet regulatory agency standards in the future         • THE PHARMACEUTICAL INDUSTRY IS HEAVILY
or will prevent instances of non-compliance with applicable              REGULATED AND WE FACE SIGNIFICANT
laws and regulations,” and that Mylan only “may receive”                 COSTS AND UNCERTAINTIES ASSOCIATED
notices of regulatory violations in the future. ECF 39, ¶¶ 269,          WITH OUR EFFORTS TO COMPLY WITH
275, 289, 296. According to Plaintiff, these statements were             APPLICABLE LAWS AND REGULATIONS (ECF
misleading because they only stated that compliance-related              47-19, pp. 33-34 (emphasis in original); see also ECF
risks might occur in the future, when, in fact, Mylan had                47-18, pp. 22-23; ECF 47-20, pp. 35-36; ECF 47-21, pp.
already received notices of significant violations. Id. at ¶¶            33-34); and
270, 276, 289, 296. Plaintiff's claim fails, ironically, because
of what it selectively omitted from its quotation of the at-issue      *12 • Although we have established internal quality and
SEC filings.                                                            regulatory compliance programs and policies, there is no
                                                                        guarantee that these programs and policies, as currently
                                                                        designed, will meet regulatory agency standards in the


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     future or will prevent instances of non-compliance with
     applicable laws and regulations (ECF 47-18, p. 23).
                                                                               We believe that all of our facilities
Mylan also advised investors of the potentially severe
                                                                               are in good operating condition, the
consequences of any non-compliance, including “receipt of
                                                                               machinery and equipment are well-
an untitled or warning letter, ... unanticipated compliance
                                                                               maintained, the facilities are suitable
expenditures, ... [and/or] total or partial suspension of
                                                                               for their intended purposes and they
production and/or distribution,” which could materially affect
                                                                               have capacities adequate for the
Mylan's “business, financial condition, [and] results of
                                                                               current operations.
operations[.]” ECF 47-19, p. 33; see also ECF 47-20, p. 36.

These added disclosures made it clear that, even under the
                                                                  See ECF 39, ¶¶ 267, 273, 288. Plaintiff alleges that this
best circumstances, there was “uncertainty as to the very
                                                                  statement was misleading because Mylan's facilities “were
possibility of adequate compliance ... in light of complex and
                                                                  rife with serious, repeat CGMP and data integrity violations.”
shifting government regulations.”       Singh v. Cigna Corp.,     Id. at ¶ 268. The Court, though, does not find this statement
918 F.3d 57, 64 (2d Cir. 2019). That uncertainty was even         to be actionable.
more pronounced here since Mylan was telling investors
that it, in fact, had already received (and would continue        Mylan's statement, with its “we believe” language, is clearly
to receive) notices of non-compliance. See Garnett v. RLX
                                                                  an opinion.      Omnicare, Inc. v. Laborers Dist. Council
Tech. Inc., No. 21-5125, 2022 WL 4632323, at *19 (S.D.N.Y.
                                                                  Constr. Indus. Pension Fund, 575 U.S. 175, 183-84 (2015)
Sept. 30, 2022) (“Viewed as a whole, these statements in
                                                                  (words like “I think” or “I believe” connote opinions). Of
the Offering Materials fairly alerted investors to the existing
                                                                  course, an opinion can be “misleading if it omits material facts
regulatory strictures in China governing e-cigarettes, the
                                                                  about the inquiry into or knowledge concerning a statement
prospect that heightened regulation of these products would
be undertaken, and the attendant risks to investors.”).           of opinion.” Jaroslawicz v. M&T Bank Corp., 962 F.3d
                                                                  701, 717 (3d Cir. 2020) (cleaned up). “But liability attaches
Considering what securities law refers to as the “total mix”      only if those facts conflict with what a reasonable investor
of information available to investors, Mylan's compliance         would take from the statement itself.” Id. (cleaned up). Thus,
disclosures did not misleadingly “suggest that adverse            alleging an actionable opinion “is no small task” because “a
consequences were only a possibility” and that the company        reasonable investor understands that opinions sometimes rest
was currently compliant despite allegedly “widespread” and        on a weighing of competing facts; indeed, the presence of
“serious compliance issues.” ECF 39, ¶¶ 269, 275, 289, 296.       such facts is one reason why an issuer may frame a statement
Rather, they told investors the truth: Mylan faced serious        as an opinion.” Id. (cleaned up).
business risk because of the heavily regulated industry in
which it operated, and that maintaining adequate compliance        *13 Plaintiff's allegations do not meet this “rigorous
would be a significant undertaking—an undertaking at which        benchmark.” Id. The facts that Plaintiff alleges were omitted
it would sometimes come up short. Therefore, the alleged          don't even relate to the content of the statement at issue.
misrepresentations in paragraphs 269, 275, 289, and 296 of        That statement speaks to whether Mylan's facilities had the
the amended complaint cannot serve as the basis for Plaintiff's   necessary operational equipment to allow for manufacturing
Rule 10b-5 claim.                                                 at the levels required for its business. In other words,
                                                                  this statement is clearly and objectively about the physical
                                                                  condition of the manufacturing facilities and the machinery
  D. Mylan's opinion statements about the “suitability”           and equipment contained within them. It does not go to
  of its manufacturing facilities are not actionable.             whether those facilities complied with all the regulatory
Plaintiff also challenges Mylan's repeated statement about the    requirements related to quality control testing, data integrity,
“suitability” of its manufacturing facilities:                    or cleaning that was the focus of the FDA's observations
                                                                  and warnings. Because there is no allegation that Mylan
                                                                  offered an insincere opinion about the physical characteristics
                                                                  of its manufacturing facilities, any claim based on these



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                                                                      Defendants did not genuinely believe that Mylan possessed
“suitability” statements fails. See, e.g.,        Omnicare, 575
                                                                      the ability to produce a diverse portfolio of products in
U.S. at 194 (plaintiff must “identify particular (and material)
                                                                      volumes that would provide a competitive advantage; only
facts” that “call into question the issuer's basis for offering the
                                                                      that compromising quality (and the attendant regulatory risks
opinion.”);     PolarityTE, 2020 WL 6873798, at *10 (“there           that would come with such a compromise) could jeopardize
is no plausible basis to think ... the Form [483] somehow             Mylan's rosy outlook. Plaintiff's argument “essentially boils
alters the meaning of the statement” describing manufacturing         down to an allegation that the statements were misleading
facilities layout and capabilities).                                  for failure to include a fact that would have potentially
                                                                      undermined Defendants’ optimistic projections.”         Tongue
  E. Mylan's other statements of opinion are not                      v. Sanofi, 816 F.3d 199, 212 (2d Cir. 2016).
  actionable.
Similarly, the amended complaint does not state a claim               The problem with that argument is that when expressing an
based on allegations that Defendants’ positive opinions about         optimistic opinion about Mylan's future, Defendants didn't
Mylan's business strategy or outlook during the class period          have to disclose every possible problem that could arise
were misleading.                                                      along the way.      Omnicare, 575 U.S. at 194 (“[a]n opinion
                                                                      statement ... is not necessarily misleading when an issuer
The challenged statements in this category outline Mylan's            knows, but fails to disclose, some fact cutting the other way”).
decision not to reduce its product portfolio in the hope that         Rather, such an obligation could only arise if the undisclosed
its reputation as a reliable supplier would put the company           fact made it impossible for the speaker's opinion to be
in a good position to gain market share as competitors                correct. But the individual Defendants’ alleged knowledge of
exited certain segments of the market. See, e.g., ECF 39, ¶           systemic quality and data integrity issues would not mean that
302 (Bresch: “our ability to be nimble, to react to market            “it was impossible” for Mylan to execute its business strategy.
opportunities, to react to customer disruption ... certainly
then puts a different perspective of how you're leveraged                Carvelli v. Ocwen Fin. Corp., 934 F.3d 1307, 1329 n.13
with the customers”); ¶ 305 (Bresch: “I think” that the “need         (11th Cir. 2019) (emphasis in original).
for a reliable supply” will “be a differentiator” and “a real
value driver and growth driver for us”); ¶ 307 (Bresch: “I             *14 This is true even where, as Plaintiff alleges, some of
truly think” that “ability to be that reliable supplier” will         the individual Defendants’ knowledge came from asserted
allow for “capacity to do the kind of the [sic] volumes               violations on the Forms 483. Importantly, a Form 483 is
that need to be done”); ¶ 313 (Bresch: “I think, where                simply “interim FDA feedback.”         Schaeffer v. Nabriva
Mylan has differentiated itself is, one, having that broad            Therapeutics PLC, No. 19-4813, 2020 WL 7701463, at
base, that portfolio, the capacity to truly meet the supply           *9 (S.D.N.Y. Apr. 28, 2020). The “advisory language that
that's needed[.]”); ¶ 314 (Bresch: “I think we have found             accompanies all Forms 483” makes clear that the forms “do
ourselves in a position” to maintain production levels for            not represent the FDA's final word” and “do not represent a
generics); ¶ 315 (Bresch: “I think” that as other “companies          final agency determination regarding ... compliance.” In re
are rationalizing” Mylan is “able to kind of be patient”); ¶          Genzyme Corp. Sec. Litig., 754 F.3d 31, 35 (1st Cir. 2014)
316 (Parks: “I think some of these larger customers value             (cleaned up). Consequently, Mylan, as it did here, had the
the fact that you can bring to them more today than 5                 opportunity to address that feedback, while continuing its
years ago the ability to supply them with a broader range             operations. Any quality and data integrity issues might have
of products”). Plaintiff alleges that these statements were           made it tougher for Mylan to meet its production goals if the
misleading because Defendants did not disclose that Mylan             problems could not be adequately resolved, but they wouldn't
was quietly compromising quality to meet volume demands.              have made it impossible.
ECF 48, p. 38. The Court disagrees.
                                                                      In the end, “Plaintiff may disagree with Defendants’ opinion,
Defendants did not base their belief that Mylan could gain            but so long as Defendants conducted a meaningful inquiry and
market share on the quality of its manufacturing processes,           in fact held the stated view, the statements did not mislead
but instead based it on Mylan's “ability to provide all the
                                                                      in a manner that is actionable.”     In re Investment Tech.
different products [its customers] need[ed].” ECF 39, ¶¶ 303,
                                                                      Grp., Inc. Sec. Litig., 251 F. Supp. 3d 596, 619 (S.D.N.Y.
308, 309, 312, 315. On that score, Plaintiff does not allege that


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2017) (cleaned up). The Court finds that these opinion               term.” Id. at p. 6. Mr. Parks then updated investors that
statements about Mylan's business strategy and outlook are           the costs of restructuring and remediation had materially
not actionable.                                                      increased to $98 million. Id.

                                                                     Taking these two earnings calls together, Mylan was being
   F. Statements about “right sizing” the Morgantown                 forthright about the challenges facing the Morgantown
   facility were not materially misleading.                          facility. There was no definitive end in sight for the
Plaintiff next argues that “Defendants made false and                restructuring and remediation program and only “hope” that
misleading statements about the expansive remediation that           production volumes would match previous levels in the near
was undertaken at Morgantown.” ECF 48, p. 41. According to           term.
Plaintiff, Defendants “downplayed the Morgantown issues”
by claiming that a “compelled remediation” was part of an            Mylan painted an even bleaker picture in its contemporaneous
existing plan to “right size” the facility and that any disruption   SEC filings. In its 8-K filed on the same day as the
would be “temporary.” Id. at p. 42. After carefully reviewing        first earnings call, Mylan stated that its restructuring and
the statements that serve as the crux for this claim, the Court      remediation program at Morgantown had “a significantly
finds that the statements were not misleading because they did       negative impact on production levels, product supply and
not downplay anything—they, in fact, painted a grim picture          operations.” ECF 47-26, p. 3 (emphasis added). Similar
of the circumstances at Morgantown. 5 See, e.g., ECF 39, ¶¶          statements were repeated in the 8-K filed on the same
290, 321-23, 325.                                                    day as the second call. ECF 47-25, p. 2 (“[remediation]
                                                                     program includes the discontinuation and transfer to other
Most of these statements were made during two earnings               manufacturing sites of a number of products, a reduction
calls. During the first call, Mr. Malik discussed the FDA            of the workforce and extensive remediation activities. These
inspection at Morgantown and the observations in the Form            actions have led to a temporary disruption in supply of
483. ECF 47-32, pp. 6-7. He then said in the next breath             certain products.”). Mylan further stated that it “expected”
that Mylan had “undertaken a restructuring and remediation           its “remediation activities, lower production levels, [and]
program,” which included “a discontinuation of a number              the negative impact on operations and related expenses
of products” to “reduc[e] complexity.” Id. at p. 7. Those            to continue through the end of 2018.” ECF 47-26, p. 3
actions led to a “negative impact on production levels, product      (emphasis added). The added context of these SEC filings
supply and operations.” Id. In response to investor questions,       makes it even clearer that Defendants did not mislead
Mr. Malik and Ms. Bresch would only say that Mylan was               investors about the state of the remediation and restricting
“hopeful” that it would “be able to rebring volume back up”          activities during the at-issue conference calls.
by the end of the year. Id. at p. 9. But that hope was tempered
by the reality that it would be “difficult for [Mylan] to            In sum, Defendants’ statements during the earnings calls
manage [the] sort of complexity which Morgantown [had].”             cannot be actionable omissions because they disclosed the
Id. Importantly, Mr. Malik never denied that this program was        exact information that Plaintiff alleges was concealed to the
put in place because of the FDA's observations. Id. Later on,        market (i.e., that the remediation efforts triggered, in part, by
Mr. Parks disclosed that the program had cost the company            the FDA's inspections and observations significantly affected
$87 million. Id. at p. 7.                                            Morgantown's productivity). See Anderson v. StoneMor
                                                                     Partners, L.P., 296 F. Supp. 3d 693, 703 (E.D. Pa.
 *15 The outlook didn't get any rosier during the second             2017) (dismissing claim where defendant “disclosed the
call a few months later. Mr. Malik noted that Mylan was              very information Plaintiffs allege was concealed from the
still working to “reduce the complexity” of the Morgantown
                                                                     market”), aff'd sub nom.      Fan v. StoneMor Partners, L.P.,
facility and reiterated that the company had “discontinued
                                                                     927 F.3d 710 (3d Cir. 2019); Shemian v. Research In Motion
a number of products while also transferring some to other
                                                                     Ltd., No. 11-4068, 2013 WL 1285779, at *20 (S.D.N.Y. Mar.
sites.” ECF 47-31, p. 5. He stated again that these actions
                                                                     29, 2013) (dismissing claim based on alleged omission where
led to a “disruption” of the “supply of certain products for
                                                                     information at issue was in fact disclosed), aff'd, 570 F. App'x
[Mylan's] customers and reduced volume in North America
generic sales.” Id. He also made clear that the “remediation         32 (2d Cir. 2014). 6
and restructuring activities” would “continue in the near



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   G. Mylan's declaration in the Bloomberg Law article is          must have been aware of it.”      Avaya, 564 F.3d at 267 n.42
   actionable.                                                     (citation omitted).
That leaves one final statement that has not been addressed
elsewhere in this opinion. That statement appeared in an           To determine whether the allegations in the amended
article in Bloomberg Law on January 31, 2019. ECF 39,              complaint satisfy the scienter requirement, the Court must
¶ 299. In that article, a Mylan spokeswoman, Lauren                engage in a three-part analysis.
Kashtan, responded to allegations of CGMP and data integrity
failures at Mylan's plants by declaring that “[a]ny explicit       First, the Court accepts “all factual allegations in the
or implicit suggestion that Mylan employees circumvented           complaint as true.”     Martin, 757 F. App'x at 154 (citation
data and quality systems that jeopardized the quality of the       omitted).
medications we manufacture—for time pressures or any other
reason—is simply false.” ECF 47-37, p. 6. Unlike the other         Second, the Court determines “whether all of the facts alleged,
statements that Mylan made, this one is actionable.                taken collectively, give rise to a strong inference of scienter,
                                                                   not whether any individual allegation, scrutinized in isolation,
 *16 Ms. Kashtan's statement on behalf of Mylan wasn't
                                                                   meets that standard.” Id. (cleaned up); see also           OFI
corporate puffery or a statement of her opinion. It wasn't
                                                                   Asset Mgmt., 834 F.3d at 493 (noting that the court must
qualified. It wasn't aspirational. It was a declaration that,
                                                                   “consider[ ] all the arguments presented by the Complaint
at that moment in time, any “suggestion” that Mylan
                                                                   and assess[ ] scienter holistically”). Such an inference can
employees circumvented “data and quality systems that
                                                                   arise where the defendants “knew facts or had access to
jeopardized the quality of the medications” it manufactured
                                                                   information suggesting that their public statements were not
was “simply false.” The amended complaint alleges in
                                                                   accurate ... or ... failed to check information they had a duty
detail—largely through accounts of former employees—the
clear circumvention of quality controls at Mylan to cut            to monitor.”   Plumbers & Steamfitters Local 773 Pension
corners for time pressure and in a way that jeopardized the        Fund v. Canadian Imperial Bank of Commerce, 694 F. Supp.
quality of the medications. ECF 39, ¶¶ 108-77. The Court           2d 287, 298 (S.D.N.Y. 2010) (citation omitted).
therefore finds that this statement by Mylan, which was
published in the January 2019 Bloomberg Law, was a material        Third, “to determine whether the allegations give rise to a
misrepresentation and can serve as the basis for Plaintiff's       ‘strong’ inference of scienter, [the Court] take[s] into account
Rule 10b-5 claim.
                                                                   plausible opposing inferences.”      Martin, 757 F. App'x.
                                                                   at 154 (cleaned up). In other words, on this last part, the
III. Plaintiff has adequately alleged corporate scienter.          Court “must consider plausible, nonculpable explanations for
Having found one alleged material misrepresentation, the           the defendant's conduct, as well as inferences favoring the
Court must now turn to the second step of its analysis—            plaintiff.” Id. (cleaned up). “A securities fraud complaint
determining whether Plaintiff has adequately alleged scienter      will therefore only survive a 12(b)(6) motion to dismiss if
as it relates to that statement.                                   a reasonable person would deem the inference of scienter
                                                                   cogent and at least as compelling as any opposing inference
“Scienter is a mental state embracing intent to deceive,           one could draw from the facts alleged.” Id. (cleaned up).

manipulate, or defraud.” Institutional Inv'rs Grp. v. Avaya,       To begin with, Plaintiff cannot establish scienter as to
Inc., 564 F.3d 242, 252 (3d Cir. 2009) (cleaned up). A plaintiff   the Bloomberg Law statement with respect to the three
alleging scienter must assert facts giving rise to a strong        individual Defendants. There are no allegations in the
inference of reckless or conscious behavior. Martin v. GNC         amended complaint as to their role in drafting, reviewing,
Holdings, Inc., 757 F. App'x 151, 153-54 (3d Cir. 2018)            or approving the statement. Therefore, Count I of the
(citation omitted). “A reckless statement is one involving         amended complaint as against the individual Defendants
not merely simple, or even inexcusable negligence, but an          will be dismissed.    Allegheny Cnty. Emps.’ Ret. Sys. v.
extreme departure from the standards of ordinary care, and         Energy Transfer LP, 532 F. Supp. 3d 189, 232 (E.D. Pa.
which presents a danger of misleading buyers or sellers that       2021) (“[A] person with ultimate authority over a statement
is either known to the defendant or is so obvious that the actor   can be liable under Rule 10b-5, even without uttering the


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words of the statement. But Plaintiffs have not alleged with        And finally, the Sixth Circuit has carved out a middle
particularity facts showing that McGinn or Hennigan had             ground or intermediate approach, in which the court considers
ultimate authority for any of the statements at issue.”). 7         the mental state of “[t]he individual agent who uttered or
                                                                    issued the misrepresentation; ... [a]ny individual agent who
 *17 But the Court finds that Plaintiff has adequately pled         authorized, requested, commanded, furnished information
“corporate scienter,” and so the claim against Mylan may            for, prepared ..., reviewed, or approved the statement ...;
proceed. “Courts are divided on whether and when scienter           [and] ... [a]ny high managerial agent or member of the board
is adequately alleged as to a corporation in the absence of         of directors who ratified, recklessly disregarded, or tolerated
scienter allegations as to the individual who made the material     the misrepresentation after its utterance or issuance.” In re
misstatement.” In re Cognizant Tech. Sols.       Corp. Sec.         Omnicare, Inc. Sec. Litig., 769 F.3d 455, 476 (6th Cir. 2014).
Litig., No. 16-6509, 2018 WL 3772675, at *31 (D.N.J. Aug.
8, 2018). And the Third Circuit has not squarely decided the         *18 Like the other district courts from this Circuit that
                                                                    have waded into these waters, this Court declines to adopt
issue. 8 Id. at *32 (cleaned up).
                                                                    the narrow approach. See        In re Cognizant, 2018 WL
On the facts alleged here, the concept of corporate scienter
                                                                    3772675, at *33;     Energy Transfer, 532 F. Supp. 3d at
seems particularly applicable. The unattributed statements
                                                                    237. That approach “has a significant disadvantage: it allows
contained in the Bloomberg Law article “are all statements
                                                                    corporations to evade liability through tacit encouragement
made ex cathedra, on behalf of the corporation,” and “there
                                                                    and willful ignorance and fails to address instances where
is ample evidence that high-ranking corporate officials were
                                                                    widespread corporate fraud cannot be connected to individual
personally engaged in the details of the project, making it
highly unlikely that the unattributed statements were rogue         defendants at the pleading stage.”       Energy Transfer, 532
pronouncements by employees lacking authority to speak on           F. Supp. 3d at 237 (cleaned up). Plus, “[s]lanting too far
                                                                    toward” the narrow approach “risks running counter to the
the corporation's behalf.”   Energy Transfer, 532 F. Supp.
                                                                    goals and purposes of the 1934 Act—which includes fostering
3d at 237. And then there is the nature of that statement.
                                                                    an attitude of full disclosure by publicly traded corporations,
It was a statement of then-existing fact that Mylan's senior
                                                                    rather than a philosophy of caveat emptor for securities
management team allegedly knew was false (or at least
                                                                    buyers.” Id. (cleaned up).
materially misleading) given the corporation's recent history
of compliance issues at several of its flagship manufacturing
                                                                    Having rejected the narrow approach, the Court need not
facilities.
                                                                    predict whether the Third Circuit would adopt the broad or
                                                                    intermediate approach because the allegations in the amended
There are three approaches to corporate scienter the Court
                                                                    complaint satisfy both.
could adopt: broad, intermediate, and narrow. First, the broad
approach. “Some courts, including the Second and Seventh
                                                                    Starting with the broader approach, Plaintiff alleges in the
Circuits, have adopted a [broad] theory of ‘collective’ or
                                                                    amended complaint that there was a pervasive, top-down
‘corporate’ scienter and held that allegations can give rise to a
                                                                    scheme to dupe the FDA and ignore regulatory compliance
strong inference of scienter as to the corporation even if they
                                                                    best practices in the name of juicing manufacturing output
do not give rise to an inference of scienter as to the individual
                                                                    and increasing corporate profits. It was not limited to a
who uttered the material misstatement.”        In re Cognizant,     “group of rogue employees perpetuating fraud and concealing
2018 WL 3772675, at *31 (cleaned up).      9                        it from corporate management, but instead was a pervasive
                                                                    operation extending from senior management itself.”        In
In contrast, courts adopting the narrow approach “require a         re Cognizant, 2018 WL 3772675, at *33. Under these
strong inference of scienter as to the individual corporate         circumstances, an inference of fraud is at least as likely, if
official or officials who make or issue the statement rather
                                                                    not more so, than an inference of recklessness. See     id.
than generally to the collective knowledge of all the
                                                                    at *34 (“[W]hen there is circumstantial evidence creating
corporation's officers and employees.” Id. (citing cases from
                                                                    a strong inference that someone involved in the making of
the Fifth and Eleventh Circuits).
                                                                    the misstatement was aware of its falsity, the ‘collective




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scienter’ theory is appropriate to allow plaintiffs to proceed    compliance and quality control budget. Id. at ¶¶ 8, 132, 135,
to discovery.”).                                                  157.

The Court reaches the same conclusion on scienter under           These direct warnings to Mylan's senior management support
the intermediate approach. The scienter of Defendants Malik,      a strong inference of their scienter, which can, in turn, be
Bresch, and Parks may be imputed to Mylan because each
                                                                  imputed to Mylan. See Able Labs,        2008 WL 1967509, at
is a “high managerial agent ... who ratified, recklessly
                                                                  *16-17 (finding scienter where: (i) Form 483 and warning
disregarded, or tolerated the misrepresentation after its
                                                                  letter “provided notice to the defendants that serious problems
utterance or issuance.”      Omnicare, 769 F.3d at 476.           existed in the [company's] manufacturing process”; (ii) the
These individual Defendants had access to observations            president's “receipt and review of the FDA warning letter
and warnings from the FDA that directly contradicted the          should have alerted him to potential problems”; and (iii) the
company's public statement in the Bloomberg Law article.          “FDA investigation and Form 483 demonstrate that numerous
The clearest examples of this access are the Forms 483 and        problems with ... quality controls continued” after receiving
Warning Letters that Mylan received about its Nashik and          initial warnings).
Morgantown facilities.
                                                                  The last step in the scienter analysis requires the Court
For example, with respect to Morgantown, in March 2018,           to examine any non-culpable competing inferences. On
the FDA observed that the “responsibilities and procedures        this issue, Defendants argue that “there are numerous non-
applicable to the quality control unit are not fully followed.”   culpable and far more compelling explanations as to why
ECF 47-2, p. 1. One consequence of this failure was that          Mylan did [ ] or did not immediately disclose the Form[s]
“[l]aboratory analyses are repeated until passing results are     483,” including that Forms 483 “are non-final; it was
obtained.” Id. at p. 13. Many of these violations were repeat     reasonable to wait to disclose until the FDA's concerns and
violations, as the FDA outlined in its Warning Letter dated       proposed remediations crystalized; Defendants reasonably
November 9, 2018. ECF 47-6, pp. 6-7. According to the             believed the FDA's concerns could be remedied; and investors
FDA, those “repeated failures at multiple sites demonstrate[d]    were repeatedly warned that compliance was not guaranteed
that Mylan's management oversight and control over the            and that Form[s 483] were received from time to time.” ECF
manufacture of drugs [wa]s inadequate.” Id. at p. 7. And          54, p. 26 (cleaned up).
that lack of oversight, in turn, was “a major factor in the
unexpected variation observed in [Mylan's] drug products.”        But none of those proffered “compelling explanations” really
Id. at p. 5. These issues were serious. As the FDA put it         apply to the statement in the Bloomberg Law article. At
in its Warning Letter, Mylan's failure to correct them could      that point, the FDA's concerns had been repeatedly clarified.
lead to “legal action without further notice including, without   And while Mylan may have believed it could remedy those
limitation, seizure and injunction.” Id. at p. 7. The FDA could   concerns, claiming that any “suggestion” of compliance
also “withhold approval of pending drug applications” from        issues was objectively “false” flies in the face of the reality
drugs manufactured at those facilities. Id. The Warning Letter    facing the company at the time. At that point, any warnings
was addressed directly to Ms. Bresch and was sent less than       issued to investors previously did not inoculate Mylan
a year before the Bloomberg Law article was published. Id.        against materially misrepresenting the state of compliance
at p. 1. These issues were clearly fresh in the minds of senior   at Morgantown. For these reasons, the Court finds that
management.                                                       Defendants’ alternative non-culpable explanations are not
                                                                  compelling. 10
 *19 But that's not all. Even earlier, the FDA allegedly told
Mylan executives, including Mr. Malik, that it was “stunned”      At this stage, the Court must not “improperly conflate
by the “egregious” violations in the 2016 Form 483 and
questioned whether Mylan was being “transparent at all of         pleading rules and liability rules.”   Teamsters Local 445
its sites.” ECF 39, ¶¶ 9, 150, 224. According to the former       Freight Div. Pension Fund v. Dynex Capital Inc., 531 F.3d
employees detailed in the amended complaint, Mr. Malik            190, 195 (2d Cir. 2008). To survive a motion to dismiss,
balked at implementing meaningful changes to address the          Plaintiff only needs to state facts “giving rise to strong
violations, and instead internally demanded that Morgantown       inference that the defendant acted with the required state of
increase its annual production goals and cut its regulatory


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                                                                  specifically dispute” the individual Defendants “control over
mind.” 15 U.S.C. § 78u-4(b)(2)(A). Plaintiff has met that
                                                                  [Mylan] at this stage of the proceedings,” and therefore the
burden. 11
                                                                  Court finds that the statement in the Bloomberg Law article “is
                                                                  a proper predicate for establishing control person liability[.]”
IV. Plaintiff has stated a claim for scheme liability.               Owl Creek I, L.P. v. Ocwen Fin. Corp., No. 18-80506, 2018
 *20 Defendants next argue that “Plaintiff's claim for            WL 4844019, at *11 (S.D. Fla. Oct. 4, 2018); see also In re
scheme liability under Rule 10b-5(a) and (c) fails because ...    Spear & Jackson Sec. Litig., 399 F. Supp. 2d 1350, 1359-60
Plaintiff has failed to allege an actionable misrepresentation    (S.D. Fla. 2005) (noting that courts “have held that allegations
or scienter, and therefore has not alleged any deceptive          that individuals, because of their management and/or director
conduct.” ECF 54, p. 30. In other words, according to             positions, could control a company's general affairs, including
Defendants, the scheme liability claim is entirely derivative     the content of public statements ... disseminated by the
of the misrepresentation claim.                                   company, are sufficient to state a cause of action for
                                                                  controlling person liability” (collecting cases)).
Because the Court has found that Plaintiff has pled at least
one actionable misrepresentation and scienter, Defendants’
argument is not a basis to dismiss this claim, and the Court
                                                                                         CONCLUSION
will deny the motion.
                                                                  For these reasons, the Court will grant in part and deny in
                                                                  part Defendants’ motion to dismiss (ECF 45). Specifically, as
V. Plaintiff has stated a claim for control-person liability
                                                                  discussed above, the Court has narrowed the claims at issue
against the individual Defendants.
                                                                  to the one actionable misrepresentation. The claims related
Finally, Defendants move to dismiss Plaintiff's claim under
                                                                  to that statement in Count I of the amended complaint may
Section 20(a) of the Exchange Act. ECF 46, p. 60 n.30.
                                                                  proceed, but only against Defendant Mylan. The derivative
That section provides that, “[e]very person who, directly or
                                                                  control-person liability claim in Count II may proceed against
indirectly, controls any person 12 liable under any provision     the individual Defendants (Bresch, Malik, and Parks), as they
of this chapter or of any rule or regulation thereunder shall     relate to the actionable misrepresentation. The Court will
also be liable jointly and severally with and to the same         not grant leave to amend as to the scope of the actionable
extent as such controlled person to any person to whom such       statements, because the defects in the amended complaint
controlled person is liable ... unless the controlling person     (i.e., whether certain statements are actionable) are purely
acted in good faith and did not directly or indirectly induce
the act or acts constituting the violation or cause of action.”   legal issues, and so amendment would be futile. See         In re
15 U.S.C. § 78t(a).                                               NAHC, Inc. Sec. Litig., 306 F.3d 1314, 1332 (3d Cir. 2002).
                                                                  But the Court will allow Plaintiff to seek leave to amend
“Defendants’ argument, however, is premised entirely on the       during discovery to add back in the individual Defendants as
principle that claims under Section 20(a) are derivative, and     to Count I if Plaintiff can establish their involvement as to the
must be dismissed if the underlying Section 10(b) claim is        one remaining actionable statement at issue.        Winer, 503
dismissed.”    Mill Bridge V, Inc. v. Benton, No. 08-2806,        F.3d at 337. An appropriate order follows.
2009 WL 4639641, at *34 (E.D. Pa. Dec. 3, 2009) (cleaned
up). But, as discussed above, the Court is not dismissing
                                                                  All Citations
the Section 10(b) claims against Mylan and therefore this
argument does not hold water. Id. Defendants “do not              Not Reported in Fed. Supp., 2023 WL 3539371




                                                          Footnotes




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1      Mylan, as a corporate entity, no longer exists. In November 2020, it merged with Upjohn Co. to now form
       Viatris Inc. ECF 46, p. 1 n.1.

2      Defendants attempt to graft on top of this standard a requirement that the media source meet some undefined
       and amorphous understanding of being “reputable” within the journalistic community. ECF 46, pp. 19-24.
       Defendants, however, cite no authority for this extra requirement, and the Court declines to impose it on
       Plaintiff. That said, even if the Court did adopt this extra requirement, Bottle of Lies and the two Bloomberg
       articles would meet it. Defendants argue that Bottle of Lies is “hardly a well-known and reputable source” and
       in support cite a single critical Washington Post book review. ECF 46, p. 21. On the flip side, Plaintiff cites a
       host of favorable reviews and awards for Ms. Eban's work. ECF 48, p. 33 n.11. It is not the Court's province to
       wade into literary criticism and decide which opinion is the right one. The Court, instead, must focus on what
       Ms. Eban described as her process and decide whether that process is sufficient to yield reliable results. If
       so, the work is “reputable” for the purposes of the Court's analysis, regardless of any literary criticism the
       book may have received. As discussed in this opinion, Ms. Eban's comprehensive reporting makes Bottle of
       Lies a reputable source of information under this definition.

3      Defendants also suggest that Plaintiff was required to have “conducted its own investigation which
       corroborates the information in the article or journal.” ECF 46, p. 20 (citing cases). Not so. That suggestion
       misreads McKesson HBOC, Inc. Sec. Litig., 126 F. Supp. 2d 1248 (N.D. Cal. 2000). In McKesson, the court
       required that “the article be the result of independent investigative efforts by those authorizing or sponsoring
       the article.”     Tracinda Corp. v. DaimlerChrysler AG, 197 F. Supp. 2d 42, 80-81 (D. Del. 2002) (discussing
       McKesson). Counsel need not conduct a separate investigation into the article to corroborate its contents.
       But even if such a requirement did exist, the voluminous allegations in the amended complaint that reference
       witness interviews and specific documents support an inference that such an investigation was done.

4
       Unlike the defendant in    Howard v. Arconic, No. 17-cv-1057, 2021 WL 2561895 (W.D. Pa. June 23, 2021)
       (Hornak, C.J.), a case cited by Plaintiff, Mylan specifically directed investors to its “Investor Relations” page,
       which did not include the challenged statements. See ECF 54, p. 12 n.13.

5      They are also, explicitly, forward-looking statements. ECF 47-31, p. 4 (“During today's call, we will be making
       forward-looking statements on a number of matters” that are “subject to risks and uncertainties that could
       cause future results or events to differ materially from today's projections.”); ECF 47-32, p. 4 (same). Forward-
       looking statements are protected if they are “either accompanied by ‘substantive and tailored’ cautionary
       statements or if the plaintiff fails to show actual knowledge of falsehood.” OFI Asset Mgmt. v. Cooper Tire &
       Rubber, 834 F.3d 481, 491 (3d Cir. 2016) (cleaned up). The statements here are protected under both prongs.
       There were substantive and tailored cautionary statements made contemporaneously with the earnings calls
       about the “risks and uncertainties” regarding the predictions made by senior management, including the fact
       that Mylan might be “unable to achieve expected synergies and operating efficiencies in connection with ...
       restructuring programs within the expected time-frames or at all.” ECF 47-26, p. 10. Plaintiff also does not
       allege sufficient facts to establish that the individual Defendants who spoke on these earnings calls knew
       their statements were false at the time they were made.

6      The same is true about Mylan's allegedly misleading statement in its Form 10-Q on May 10, 2018, that there
       had been no material changes in the company's risk factors. ECF 39, ¶ 295. That statement is talking about
       the regulatory risk from a macro perspective, and those risks had not changed. And that also goes for Mr.
       Malik's statement during an earnings call in 2017 about the FDA warning letter at the Nashik site, which is
       quoted in paragraph 286 of the amended complaint.




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7      Any effort to attribute the statement in the January 2019 Bloomberg article to the individual Defendants
       fails “because it represents impermissible group-pleading.”      Energy Transfer, 532 F. Supp. 3d at 235.
       “Group-pleading is a judicial presumption that statements in group-published documents are attributable to
       officers in that group.” Id. (cleaned up). When group-pleading is permitted, it allows a “plaintiff to plead that
       defendants made a misstatement or omission of a material fact without pleading particular facts associating
       the defendants to the alleged fraud.”    Winer Family Tr. v. Queen, 503 F.3d 319, 335 (3d Cir. 2007). The
       Third Circuit, though, has rejected group-pleading as inconsistent with the heightened pleading standards of
       the PSLRA.     Id. at 336-37. In Winer, the Third Circuit found an effort to connect unattributed statements to
       the corporation by pleading that the individual Defendants had “access to, control over, and ability to edit and
       withhold dissemination of [the corporation's] press releases and SEC filings” was insufficient. Id. at 334-35.
       To attribute the statements from the Bloomberg Law article to any of the individual Defendants, Plaintiff would
       have to make this same (already rejected) argument.

8      “We, however, neither have accepted nor rejected the doctrine of corporate scienter in securities fraud
       actions, and we do not do so now[.]”       Rahman, 736 F.3d at 246; see also    In re Hertz Global Holdings,
       Inc., 905 F.3d 106, 121 n.6 (3d Cir. 2018) (“We have neither accepted nor rejected that doctrine and decline
       to do so here because the ... allegations would not give rise to corporate scienter under any recognized
       theory of that doctrine.” (citation omitted)).

9      The Ninth Circuit has also recognized that “in certain circumstances, some form of collective scienter pleading
       might be appropriate.”     Glazer Capital Mgmt., LP v. Magistri, 549 F.3d 736, 744 (9th Cir. 2008).

10     Defendants also argue that the lack of clear motive undermines the fraud allegations. But Plaintiff has pled a
       motive; according to Plaintiff, Defendants were “motivated to hide misconduct at Morgantown as they knew
       remediation would be costly, reduce production, and signal that CGMP violations were not isolated to Nashik.”
       ECF 39, ¶¶ 148, 153; ECF 48, p. 57. They also “could not afford another setback after facing criticism over”
       numerous other issues. ECF 48, p. 57.

11     The Court has undergone this analysis because the amended complaint is silent on whether any of the
       individual Defendants participated in the drafting, delivery, or approval of the statement in the Bloomberg
       Law article. Of course, given their important roles, maybe one or all the individual Defendants were at least
       consulted on the content of the statement—especially considering the importance of avoiding any suggestion
       that Mylan had compliance issues in such a highly regulated industry. If, in discovery, it turns out that those
       individual Defendants were involved in making that statement, Plaintiff can seek leave to amend the amended
       complaint.    Winer, 503 F.3d at 337 (“If a private securities case proceeds past the pleadings stage against
       a corporation and discovery reveals individual culpability, a plaintiff may seek permission to amend the
       complaint to assert claims against individual defendants.”).

12     “Person” also includes any entity, such that if the individual Defendants have control over a liable corporate
       entity (like Mylan), then they could be liable under a control-person theory of liability.    In re Suprema
       Specialties, Inc. Sec. Litig., 438 F.3d 256, 284 (3d Cir. 2006) (“[T]he plaintiff must prove that one person
       controlled another person or entity and that the controlled person or entity committed a primary violation
       of the securities laws.” (emphasis added)).



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                       TAB No. 11




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                   2003 WL 23018761                                   West Headnotes (15)
      Only the Westlaw citation is currently available.
               United States District Court,
                     C.D. California.                                 [1]   Securities Regulation        Persons entitled to
                                                                            sue or recover
           In re NATIONAL GOLF PROPERTIES                                   Purchasers of real estate investment trust's stock
                  INC. Securities Litigation                                had standing to assert claim under Securities Act
                                                                            provision barring untrue statements of material
                  No. CV 02–1383GHK(RZX).
                                                                            fact or omissions of a material fact in a
                              |
                                                                            registration statement or prospectus, although
                       March 19, 2003.
                                                                            the lead plaintiffs could not trace their shares
Synopsis                                                                    to secondary offering from which claim arose,
                                                                            where the original and named plaintiff could
Background: Purchasers of real estate investment trust's
                                                                            trace her shares to the allegedly offending
stock brought class action against trust, trust's primary lessee,
                                                                            prospectus. Securities Act of 1933 §11(a), 15
trust's chairman, and chairman's wife, based on alleged
federal securities law violations in connection with secondary              U.S.C.A. § 77k(a).
offering of trust's stock.
                                                                            2 Cases that cite this headnote


                                                                      [2]   Federal Civil Procedure           Stockholders,
Holdings: On Defendants' motions to dismiss, the District
                                                                            investors, and depositors
Court, King, J., held that:
                                                                            Private Securities Litigation Reform Act
                                                                            (PSLRA) did not require lead plaintiffs in class
[1] purchasers had standing to assert claim under Securities
                                                                            action to have standing to assert all claims; it
Act provision barring untrue statements of material fact or
                                                                            only required that they have the greatest financial
omissions of a material fact in a registration statement or
                                                                            stake in the action. Securities Exchange Act of
prospectus;
                                                                            1934, § 21D, as amended, 15 U.S.C.A. § 78u-4.
[2] lessee was a proper defendant;                                          1 Case that cites this headnote

[3] trust and its chairman were statutory sellers of trust's stock;
                                                                      [3]   Securities Regulation        Persons Liable
[4] allegations were sufficient to state claim against lessee;              Lessee of real estate investment trust's property,
                                                                            by including its financial statements in trust's
[5] purchasers plead fraud with sufficient particularity;                   prospectus for secondary offering of its shares,
                                                                            did not become an expert who certified to facts
[6] Private Securities Litigation Reform Act (PSLRA) did not                made in a registration, so as to make it a proper
require purchasers to state the names and titles of their sources           defendant in action for violation of Securities Act
at pleadings stage; and                                                     provision barring untrue statements of material
                                                                            fact or omissions of a material fact in a
[7] chairman's wife was not subject to control person liability.            registration statement or prospectus. Securities
                                                                            Act of 1933 §11(a)(4), 15 U.S.C.A. § 77k(a)(4).

Motions granted in part and denied in part.
                                                                      [4]   Securities Regulation        Persons entitled to
                                                                            sue or recover
                                                                            Allegation that at least one named plaintiff
                                                                            purchased shares of real estate investment trust


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         pursuant to registration/prospectus for secondary                Securities Act provision imposing liability on
         offering of its shares sufficiently alleged standing             any person who offers or sells a security by
         under Securities Act provision imposing liability                means of prospectus or oral communication
         on any person who offers or sells a security by                  which includes untrue statement of material fact
         means of a prospectus or oral communication                      applied to sale of real estate investment trust
         which includes an untrue statement of a material                 stock at secondary offering to public for first
                                                                          time pursuant to a prospectus; provision was not
         fact. Securities Act of 1933 §12(a)(2),          15
                                                                          limited to initial public offerings. Securities Act
         U.S.C.A. § 77l(a)(2).
                                                                          of 1933 §12,     15 U.S.C.A. § 77l.
         2 Cases that cite this headnote


 [5]     Securities Regulation        Sellers                       [8]   Securities Regulation        Pleading
         Real estate investment trust and its chairman                    Rule requiring fraud to be plead with
         were statutory sellers of trust's stock that was                 particularity applied to claims under Securities
         sold at secondary offering by school that had                    Act provisions barring material misstatements
         previously received the stock as a donation, for                 in a registration statement or prospectus,
         purposes of Securities Act provision imposing                    although plaintiffs expressly disclaimed fraud in
         liability on any person who offers or sells                      those claims; plaintiffs did not plead that the
         a security by means of prospectus or oral                        misstatements were the result of negligence, or
         communication which includes untrue statement                    allege alternative theory for the misstatements
         of material fact; chairman signed prospectus on                  or omissions. Securities Act of 1933 §§11,12,
         trust's behalf and was board member and founder
                                                                          15 U.S.C.A. §§ 77k,        77l;         Fed. Rules
         of the school, and trust stood to benefit from
                                                                          Civ.Proc.Rule 9(b), 28 U.S.C.A.
         successful issuance of its shares. Securities Act
         of 1933 §12,     15 U.S.C.A. § 77l.
                                                                    [9]   Securities Regulation        False Statements or
                                                                          Omissions; Accuracy
 [6]     Securities Regulation        Sellers                             Securities Regulation        Fiscal or accounting
         Allegations that real estate investment trust's                  data
         lessee was controlled by trust's chairman,                       Allegations      that    financial     statements
         actively solicited sale of trust's stock at                      incorporated by reference in prospectus for
         secondary offering by including its financial                    secondary offering of real estate investment
         statement in prospectus, and that proceeds of                    trust's stock overstated accumulated earnings
         offering help fund construction project that                     of trust's primary lessee by 101% and its net
         lessee managed were sufficient to state claim                    earnings by 114%, and that trust's shares suffered
         against the lessee under Securities Act provision                a 13% one-day decline in value when those
         imposing liability on any person who offers or                   earnings were restated after the offering were
         sells a security by means of prospectus or oral                  sufficient to allege material misstatements in
         communication which includes untrue statement                    offering's prospectus with sufficient particularity
         of material fact. Securities Act of 1933 §12,                    to state claim under Securities Act provisions
            15 U.S.C.A. § 77l.                                            barring material misstatements in registration
                                                                          statement or prospectus. Securities Act of 1933
         2 Cases that cite this headnote
                                                                          §§11,12, 15 U.S.C.A. §§ 77k,      77l;        Fed.
                                                                          Rules Civ.Proc.Rule 9(b), 28 U.S.C.A.
 [7]     Securities Regulation        False Statements or
         Omissions; Accuracy




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                                                                          Securities Exchange Act of 1934, § 21D, as
 [10]   Securities Regulation        False Statements or                  amended, 15 U.S.C.A. § 78u–4(b)(1).
        Omissions; Accuracy
        Securities Regulation        False Statements or
        Omissions; Accuracy                                        [13]   Securities Regulation    Scienter, Intent,
        Allegations that financial statements of real                     Knowledge, Negligence or Recklessness
        estate investment trust's primary lessee, which                   Allegations regarding false statements made in
        were incorporated into registration/prospectus                    connection with secondary offering of shares
        for secondary offering of trust's stock, failed                   in real estate investment trust supported a
        to disclose over $53 million owed lessee by                       strong inference of scienter, as required to state
        its majority stockholder and related affiliates                   securities fraud claim; plaintiffs alleged that
        were sufficient to allege material omissions in                   trust and its chairman made positive statements
        offering's prospectus with sufficient particularity               about rental income and growth despite knowing
        to state claim under Securities Act provisions                    of financial distress of its primary lessee, that
        barring material omissions in registration                        there was centralized control of all involved
        statement or prospectus. Securities Act of 1933                   entities, and that chairman actually controlled
        §§11,12, 15 U.S.C.A. §§ 77k,      77l;         Fed.               lessee's operations and received large loans
        Rules Civ.Proc.Rule 9(b), 28 U.S.C.A.                             from it. Securities Exchange Act of 1934, §
                                                                          21D, as amended, 15 U.S.C.A. § 78u–4(b)(1);
                                                                             Fed.Rules Civ.Proc.Rule 9(b), 28 U.S.C.A.
 [11]   Securities Regulation        Misrepresentation
        Purchasers of real estate investment trust's stock
        sufficiently alleged facts of false or misleading          [14]   Securities Regulation       In general; control
        statements in connection with a secondary                         persons
        offering of trust's stock to state securities                     Inclusion of financial statement of real estate
        fraud claim; purchasers explained that financial                  investment trust's primary lessee in registration
        statements incorporated into the prospectus were                  statement for secondary offering of trust's
        false, and alleged that trust's statements about its              stock was sufficient to make the lessee a
        rental income and growth made to analysts at                      proper defendant in securities fraud action based
        time it was making millions of dollars in loans                   on false statements in the prospectus; lessee
        to a shareholder who could not repay them were                    should have known that financial statement,
        false and misleading. Securities Exchange Act                     which allegedly contained false statements or
        of 1934, § 21D, as amended, 15 U.S.C.A. §                         omissions, would be communicated to investors.
        78u–4(b)(1);      Fed.Rules Civ.Proc.Rule 9(b),                      15 U.S.C.A. §78j(b).
        28 U.S.C.A.

        2 Cases that cite this headnote
                                                                   [15]   Securities Regulation       In general; control
                                                                          persons
 [12]   Securities Regulation        Pleading
                                                                          Wife of chairman of real estate investment trust
        Private Securities Litigation Reform Act                          was not subject to control person liability in
        (PSLRA) did not require plaintiffs in securities                  securities fraud action arising from secondary
        fraud action to state the names and titles of their               offering of trust's stock, absent allegations that
        sources at pleadings stage; allegations regarding                 she played an active role in any of the entities
        position each witness held at the relevant time                   against whom primary liability was asserted.
        that allowed them to personally observe or                        Securities Act §§15, 20.
        know the facts that they assert were sufficient.




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                                                                    & Lerach, San Diego, CA, Jonathan E. Behar, Milberg, Weiss,
                                                                    Bershad, Hynes & Lerach, Los Angeles, CA, Stephen D.
Attorneys and Law Firms                                             Oestreich, Entwistle & Cappucci, New York, NY, Stephen D.
                                                                    Oestreich, Slotnick, Shapiro & Crocker, New York, NY, for
Charles D. Hoornstra, Assistant Attorney General, Madison,          Plaintiffs.
WI, for Defendants.
                                                                    Opinion
Curtis L. Bowman, J Allen Carney, Randall K. Pulliam,
Steven E. Cauley, T. Brent Walker, Cauley, Geller, Bowman           KING, J.
& Coates, Little Rock, AR, Darren J. Robbins, Douglas R.
Britton, William S. Lerach, Milberg, Weiss, Bershad, Hynes
 PROCEEDINGS:                                      Defendants' Motions to Dismiss

 *1 This matter is before the court on the above-titled motion        A. The Securities Act of 1933
and is appropriate for resolution without oral argument.
Fed.R.Civ.P. 78; Local Rule 7–15. After fully considering the       1. Section 11
briefs and papers pertaining to this matter, we rule as follows:    Section 11 imposes liability based on registration statements
                                                                    and prospectuses that contain “untrue statements of material
                                                                    fact or [omissions of] a material fact required” to make
I. Background
This action arises from a secondary offering of securities          the statements therein not misleading.    15 U.S.C. § 77(a).
of National Golf Properties, a publicly traded Real Estate          Liability under this section is broad, requiring plaintiffs to
Investment Trust that leases golf course properties to property     prove only that they had purchased shares from a registration
managers. Plaintiffs allege the following facts give rise to this   or prospectus that contained a material misstatement or
action: National Golf leases 98% of its properties to American      omission.
Golf. David Price is the Chairman of both National Golf and
American Golf, the majority shareholder of American Golf, a
                                                                       (a) Standing under § 11
minority shareholder of National Golf, and active in the day-
                                                                     [1] In order to bring a § 11 claim, plaintiffs must allege
to day operations of both companies. The shares offered in
                                                                    they purchased securities from the offending registration or
this registration/prospectus were sold by the Oaks Christian
                                                                    prospectus. Hertzberg v. Dignity Partners, 191 F.3d 176, 180–
High School. (Hereinafter “Oaks”). National Golf issued the
Oaks shares in a public offering on May 17, 2001. David Price       82 (9 th Cir.1999). Defendants claim that the Lead Plaintiffs,
and his ex-wife Dallas Price are both on the board of directors     Random Walk Investment Club, Alan Klein, and Randall N.
of Oaks and had given the shares of National Golf to Oaks           Kirk, cannot trace their shares to the Oaks issuance and thus
as a donation back in 1999. Following the issuance of these         have no standing to assert the § 11 claim. They argue that if
securities, American Golf announced a business reversal in          Lead Plaintiffs have no standing, the claim must be dismissed.
which it was forced to restate its earnings for fiscal years 1999
and 2000 This had adverse results on National Golf's stock           [2] Lead Plaintiffs concede that they cannot trace their
price.                                                              shares to the Oaks issuance. They counter, however, that
                                                                    Ellen Brodsky, the original and a named plaintiff in this
Plaintiffs are a class of National Golf stock purchasers. They      case, can trace her shares and has sufficiently pleaded
bring claims for violations of Sections 11 and 12 of the            that her shares were purchased “pursuant to” the offending
Securities Act of 1933, and Section 10(b) of the Exchange Act       prospectus.      Shapiro v. UJB, 964 F.2d 272; 286 (3d
of 1934. Plaintiffs also bring claims against David and Dallas      Cir.1992) (pleading that securities were purchased pursuant to
Price as individuals under § 15 of the Securities Act and §         the registration sufficiently alleged the tracing requirement).
20(a) of the Exchange Act. All Defendants move to dismiss.          Further, the Private Securities Litigation Reform Act
                                                                    (hereinafter “PSLRA”) does not require Lead Plaintiffs to
                                                                    have standing to assert all claims, only that they have the
II. Discussion
                                                                    greatest financial stake in the action.




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 *2 At this stage of the litigation, we conclude dismissal
is not warranted on this basis because a named plaintiff            Defendants argue that Plaintiffs have failed to state a § 12
has sufficiently alleged an ability to trace her shares to the      claim because: (1) plaintiffs cannot trace their purchase to
allegedly offending prospectus. SeeIn re IPO Sec. Litig., 2002      the Oaks issuance, (2) defendants are not statutory sellers of
U.S. Dist. LEXIS 23823, *13 (S.D.N.Y. Dec. 12, 2002).               the Oaks issuance, and (3) the Oaks issuance is not a public
Moreover, we agree with Plaintiffs that nothing in the PSLRA        offering covered by § 12. We address each in turn.
requires Lead Plaintiffs be able to assert each claim against
Defendants. Brodsky's ability to assert a § 11 claim does
not reduce the fact that Lead Plaintiffs still have the greatest       (a) Standing under § 12
financial stake in the action. Accordingly, we conclude that at      [4] Section 12 expressly limits recovery to only those
least a plaintiff in this action has standing to sue under § 11.    purchasers who purchase their shares from a seller who
                                                                    makes use of a false or misleading statements. 15
                                                                    U.S.C. § 771(a)(2) (seller “shall be liable to the person
   (b) American Golf's liability under § 11                         purchasing such security from him”). In this case, Plaintiffs
 [3] In order to assert a § 11, claim against American Golf,        must allege that they purchased the offending Oaks
plaintiffs must be able to allege that American Golf falls          securities. Plaintiffs have pleaded that at least one named
within one of the enumerated categories of proper § 11              plaintiff, Ellen Brodsky, purchased shares pursuant to the
defendants. In their opposition, Plaintiffs argue only that         Oaks registration/prospectus. Thus, at the pleading state,
American Golf, by including its financial statements in the         Plaintiffs have sufficiently alleged standing under § 12.
National Golf prospectus, is liable under 15 U.S.C. § 77k(a)
                                                                    See        In re Ultrafem Inc. Sec. Litig., 91 F.Supp.2d 678,
(4) 1 as an expert who certifies to facts made in a registration.   694 (S.D.N.Y.2000) (finding plaintiffs who alleged they
Defendants argue Plaintiffs' attempt to shoehorn American           purchased shares pursuant to or traceable to a prospectus had
Golf into this definition by analogizing its role in the            standing to assert § 12 claim). Seealso discussion, supra, at
offending prospectus to that of an expert is an unsupportable       II A 1(a).
extension of § 11 liability.

We conclude that American Golf does not fall within one of             (b) Statutory Seller Status
the categories of proper § 11 defendants merely because its          *3 [5] Defendants argue that they are not statutory sellers
financial statements are included in the offending prospectus.      under § 12 because they did not pass title to the securities
The plain language of § 77k(a)(4) requires that a defendant         and thus § 12 liability cannot attach to their conduct. They
must be, among other things, a “person whose profession             further argue that without privity between the seller and the
gives authority to a statement made by him....” American            purchaser, § 12 liability cannot lie.
Golf is not such a person. While it can be argued that
American Golf can be seen as knowledgeable in its own               The Supreme Court has not read § 12 liability so restrictively.
financial statements, the plain meaning of sub-section (4)          See Pinter v. Dahl, 486 U.S. 622, 108 S.Ct. 2063, 100
does not extend liability to a company in its use of its own        L.Ed.2d 658 (1988). “A natural reading of the statutory
financial statements in the manner alleged. Were it otherwise,      language would include in the statutory seller status at least
the language of sub-section (4) would have to be broader
so as to include any person who could be expected to be             some persons who urged the buyer to purchase.”                 Id .
knowledgeable about any statement it makes. Thus, as to             at 645. Although the Securities Act “does not define the
American Golf, we grant its motion to dismiss the § 11 claim        term ‘purchase,’ the soundest interpretation of the term is
against it.                                                         a correlative to both ‘sell’ and ‘offer’ at least to the extent
                                                                    that the latter entails active solicitation of an offer to buy.”Id.
                                                                    The Dahl court found that active solicitation coupled with
   2. Section 12                                                    a motivation, at least in part, to benefit one's own financial
Liability is imposed under § 12 on “any person who                  interests or those of the securities owner was sufficient to
offers or sells a security by means of a prospectus or oral         satisfy the statutory requirement. Id. at 649.
communication, which includes an untrue statement of a
material fact or omits to state a material fact required” to make   Furthermore, allegations that an issuer signed a registration
the statements therein not misleading. 15 U.S.C. § 771(a)(2).       statement is sufficient to allege active solicitation. SeeIn


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re Proxima Corp. Sec. Litig., [1993–1994 Transfer                  L.Ed.2d 1 (1995), for the proposition that only initial public
Binder] Fed.Sec.L.Rep. (CCH) P98, 236 at 99,619                    offerings are subject to the provisions of § 12.
(S.D.Cal.1994)Fed.Sec.L.Rep. (CCH) P98, 236 at 99,619
(S.D.Cal.1994) (because the registration/prospectus is a           Plaintiffs respond that Gustafson' s holding distinguishes
solicitation document, those who sign registration statement       between offerings to the public from a company for the first
effectively solicit purchase of securities).                       time and other purchases and sales made in the secondary
                                                                   market. Section 12 liability applies to all securities issued
Under the foregoing authority, Plaintiffs have sufficiently        pursuant to a prospectus. Accordingly, the Oaks issuance
alleged that both David Price and National Golf meet the           qualifies under § 12.
statutory seller requirement under § 12. David Price is
Chairman of National Golf and signed the prospectus on its         Gustafson' s holding limits § 12 liability, but not as far as
behalf. Moreover, as a board member and founder of the Oaks        Defendants claim. Although not applicable to secondary sales
school, and as one of the two persons who donated the shares       made in the open market, Gustafson does not hold that §
to Oaks, it cannot be said that David Price was disinterested in   12 applies solely to IPOs. Section 12 regulates any sales of
financially benefitting the Oaks school. National Golf was the     securities to the public for the first time via a prospectus.
issuer of the securities and stood to benefit from a successful
                                                                      Gustafson, 513 U.S. at 576–77. Therefore, we conclude
issuance of the Oaks shares. See Compl., at ¶¶ 2,5. As such,
                                                                   that § 12 does apply to the Oaks offering. American Golf's
National Golf and David Price can be said to have actively
                                                                   and David Price's motion to dismiss the § 12 claim on this
solicited with a motivation, at least in part, to benefit their
                                                                   ground is denied.
own or Oaks' financial interests.

Defendants' arguments that they had no role in the individual         3. Material Misstatements and Omissions
solicitation of specific sales of the Oaks issuance is              [8] Finally, to successfully assert either a § 11 or § 12 claim,
unavailing. In re OPUS380 Corp., Sec. Litig., 2002 U.S. Dist.      Plaintiffs must allege material misstatements or omissions.
LEXIS 18558, *29–30 (S.D.N.Y. Oct. 5, 2002) (allegations           See15 U.S.C. § 77k(a) and 15 U.S.C. § 771(a)(2).
that a specific sale was solicited unnecessary when Defendant
signed the registration/prospectus). Therefore, we deny            Defendants argue that plaintiffs have failed to plead
National Golf and David Price's motion to dismiss this claim.      such material misstatements or omissions with sufficient
                                                                   particularity to satisfy the heightened pleading requirements
 [6] Defendant American Golf argues that applying § 12 to it
                                                                   of     Rule 9(b) of the Federal Rules of Civil Procedure
would impose liability for mere participation in an issuance,
a position the Dahl Court expressly declined to adopt.             because these claims sound in fraud.        In re Stac Elecs. Sec.
                                                                                                   th
    Dahl, 486 U.S. at 649–50. Plaintiffs allege that David         Litig., 89 F.3d 1399, 1404 (9        Cir.1994). Plaintiffs counter
Price controlled American Golf and argue that the inclusion of     that   Rule 9(b) does not apply to their claims because they
American Golf's financial statements under Price's direction       have expressly disclaimed fraud on these claims in their First
also constitutes active solicitation. Furthermore, Plaintiffs      Amended Complaint (hereinafter “FAC”).
allege that American Golf was the manager of the Oaks
Christian High School construction project, and that the           Plaintiffs must do more, however, than expressly disclaim
proceeds of the Oaks issuance helped fund that project. At the     fraud in order to avoid the heightened pleading requirements
pleading stage, this is sufficient to state a § 12 claim against
American Golf under the Dahl standard.                             of     Rule 9(b).      Stac, 89 F.3d 1399, 1405 n. 2 (“These
                                                                   nominal efforts are unconvincing where the gravamen of the
                                                                   complaint is plainly fraud and no effort is made to show any
  (c) Section 12 Applicability to Secondary Offerings              other basis for the claims levied at the prospectus.”). Plaintiffs
 *4 [7] Defendants American Golf and David Price also              have not pleaded that the misstatements here were the result
argue that § 12 liability can only attach to activity              of negligence. In fact, Plaintiffs have alleged no alternative
in connection with an initial public offering (hereinafter         theory for the misstatements or omissions. Therefore, we find
“IPO”), not a secondary offering as here. Defendants cite          plaintiffs' claims sound in fraud, and as such must meet the

   Gustafson v. Alloyd, 513 U.S. 561, 115 S.Ct. 1061, 131          heightened pleading requirements set forth in         Rule 9(b).


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                                                                   note receivable that the Prices owed American Golf. ¶ 38–
                                                                   39. In addition, these financials also erroneously classified
   Rule 9(b) requires particularized allegations of the
                                                                   $27 million loaned to David Price as a current receivable (an
circumstances constituting fraud.     In re Glenfed Sec. Litig.,   asset) when the Prices and their wholly owned affiliate Golf
                              th                                   Enterprises could not repay the note. Id. This $27 million
42 F.3d 1541, 1545–46 (9 Cir.1994). The time, place,
and content of an alleged misrepresentation may identify           note represented “in excess of 28% of American Golf's total
the statement or the omission complained of, but these             current assets” for that time period. FAC ¶ 39. Plaintiffs
circumstances do not “constitute” fraud. Id. Accordingly, the      allege that by the end of 2000, David Price and Price related
Ninth Circuit requires that in addition to the time, place and     affiliates owed American Golf at least $53 million. This
content of an alleged misrepresentation, plaintiffs must “set      figure represents “19.6% of total assets of American Golf and
forth what is false or misleading about a statement and why        330.5% its shareholder equity” for the class period. FAC ¶ 39.
it is false.” Id.
                                                                   These loan relationships were not disclosed in the financials
                                                                   incorporated into the Oaks registration and were taking place
   a. Material Misstatements                                       regardless of signs that American Golf was in financial
 *5 [9] Plaintiffs allege the following statements were false      distress. Had these loans been accounted for properly,
when made. In 1999, National Golf reported American Golf's         they would have been included in the financials that were
Net Earnings were $8 .7 million and its Shareholder Equity         incorporated into the Oaks registration and prospectus. Thus,
was $14.2 million. In 2000, it reported American Golf              American Golf's poor financial health would have been
had positive net income of $2.1 million. These financial           public prior to the Oaks issuance and would not need to be
statements were made in filings to the SEC and incorporated        restated after Plaintiffs had already purchased National Golf
by reference into the Oaks registration/prospectus.                securities.

After being restated, American Golf's 1999 Net Earnings were       We conclude that Plaintiffs' allegations satisfy the heightened
$5.7 million (a 33% decrease) and its shareholder equity was
                                                                   pleading requirements of       Rule 9(b). Thus we deny
reduced to only $218,000. For 2000, American Golf restated
                                                                   Defendants' motion to dismiss Plaintiffs' § 11 and § 12 claims
its earnings and posted a net loss of $.03 million. Furthermore,
                                                                   on this basis.
after the restatement, it was apparent that American Golf's
2000 accumulated earnings had been overstated by 101%
and its 2000 net earnings were overstated by 114%. By                 B. The Exchange Act of 1934
restating these financials after the Oaks issuance, Defendants      *6 Plaintiffs also bring a claim against all Defendants for
essentially admit that the statements included in the Oaks         violation of § 10(b) and Rule 10b–5 (hereinafter “10(b)
issuance were false.                                               claim”). To assert this claim, Plaintiffs must allege (1)
                                                                   material misrepresentations or omissions, (2) in connection
It cannot be said, at least at the pleading stage, that these      with the sale or purchase of a security, (3) made with the
disparities would not be material to a reasonable investor. In
fact, after the restatements, National Golf's shares suffered a    requisite scienter, and (4) reliance. See   Ambassador Hotel
one-day decline in value of 13%.                                   Co. v. Wei–Chuan Inv., 189 F.3d 1017, 1025 (9 th Cir.1999).


   b. Material Omissions                                             1. Pleading with Particularity
 [10] Plaintiffs also allege omissions, which, if revealed in
                                                                   [11] Under the PSLRA and         Rule 9(b), Plaintiffs must
the Oaks registration statement would have made National
                                                                   meet a heightened pleading standard when asserting claims
Golf's and American Golf's financials not misleading.
Specifically, American Golf “failed to disclose the credit         of fraud. 15 U.S.C. § 78u–4(b)(1);        Fed.R.Civ.P. 9(b). This
concentration of American Golf related to the receivables          heightened requirement serves to put Defendants on notice of
owed to American Golf by Golf Enterprises .” FAC ¶ 38–             the charges levied against them, and seeks to curb attempts
39. Plaintiffs allege that throughout the class period American    by plaintiffs to assert claims first, then use discovery to build
Golf's financials, incorporated into National Golf's Oaks          a case.
registration/prospectus, omitted to include $40–60 million


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Defendants argue that Plaintiffs' averments of fraud regarding     *7 Plaintiffs have alleged the position each witness
National Golf's false financial statements as well as other       held at the relevant time that allowed them to personally
statements made “in connection with” the Oaks offering do         observe or know the facts that they assert. This sufficiently
not meet this heightened pleading requirement. We disagree.
                                                                  identifies such witnesses at the pleading stage.       In re
                                                                  McKesson HBOC, 126 F.Supp.2d at 1271 (“It is possible
Plaintiffs have detailed specific statements that are false and
                                                                  to identify sources and provide other corroborating details
misleading, the dates these statements were made or became
                                                                  without disclosing the names of sources.”). Requiring greater
public, where each statement was made, and what about each
                                                                  disclosure on a motion to dismiss “serves no legitimate
of the statements was false. See FAC, ¶¶ 32, 34–35, 37, 41,
                                                                  pleading purpose” but could have the effect of deterring
43, 48, 50, 52–53.
                                                                  informants from providing information.       Novak v. Kasaks,
First, Plaintiffs explain that financial statements made in       216 F.3d 300, 314 (2d Cir.2000).
filings with the SEC from May 11, 1999 until November 14,
2001, and incorporated into the Oaks prospectus, are false.       Under    Rule 9(b), Plaintiffs have alleged sufficiently facts
See discussion, supra at II A 3.                                  of false or misleading statements in connection with a
                                                                  securities offering that form the basis of their 10(b) claim. 2
Second, Plaintiffs allege that National Golf's statements about
                                                                  As such, Defendants motion to dismiss the 10(b) claim on this
its rental income and growth, made to Merrill Lynch analysts
                                                                  basis is denied.
on June 7, 2001, were false and misleading. Specifically,
National Golf's statements that its property revenues had
“picked up” and that American Golf would have “ample                 2. Strong Inference of Scienter
coverage” to service its lease payments and debt service          In order to survive a motion to dismiss, Plaintiffs must also
requirements to National Golf were false because of the           allege facts that, taken together, create a strong inference of
known financial distress of American Golf, National Golf's        scienter. 15 U.S.C. § 78u–4(b)(2). Scienter requires proof
primary lessee, from whom National Golf derives 98% of its
rental income.                                                    of “deliberately reckless or conscious misconduct.” In re
                                                                  Silicon Graphics, 183 F.3d at 974. At the pleading stage,
Plaintiffs allege these statements were false because they were   this means a plaintiff must state facts that “come closer
made while American Golf was cutting costs in response            to demonstrating intent, as opposed to just motive and
to decreased earnings, and while it was lending millions of       opportunity.” Id.;seealso   Ronconi v. Larkin, 253 F.3d 423,
dollars to David Price, who could not repay the loans.            429 (9   th
                                                                                Cir.2001).

 [12] Defendants argue that Plaintiffs have not sufficiently       [13] Plaintiffs allege the following to support a strong
identified the confidential witnesses whose statements form       inference of scienter.
the basis for these allegations. Defendants argue that the
Exchange Act requires a plaintiff to state the names and titles   First, Plaintiffs allege that Defendants knew or were
of his/her sources and the bases of the source of knowledge.      deliberately reckless in not knowing the falsity of their
                                                                  statements because of the temporal proximity of these
Such evidentiary facts are not necessary at the pleading stage.   positive statements to objective signs of American Golf's
The text of the Exchange Act does not require such specificity.   financial distress. American Golf was responding to mounting
15 U .S.C. § 78u–4(b)(1). Moreover, neither the PSLRA             financial difficulties by laying off employees and eliminating
nor Ninth Circuit authority requires the naming of sources.       certain employee benefits. Plaintiffs support these allegations
See,e.g., In re McKesson HBOC, Inc. Sec. Litig., 126              with percipient witness testimony. FAC ¶¶ 46–50.
F.Supp.2d 1248, 1271 (N.D.Cal.2000) (“Nowhere, however,
did the Silicon Graphics court require naming ... of sources.”)   Second, a strong inference of scienter is further supported
                                                                  by the centralized control of all of the involved entities. Not
(citing In re Silicon Graphics Sec. Litig., 183 F.3d 970, 985
                                                                  only was American Golf National Golf's primary tenant, both
(9th Cir.1999)).
                                                                  companies were run by David Price, who held a substantial




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ownership position in both companies and was involved in            Taken together, the quantum of evidence indicating
the day-to-day operations of both.                                  control, contemporaneous knowledge of negative financial
                                                                    information, as well as motive and opportunity provide
Plaintiffs also alleged that David Price was involved in            sufficient allegations of a strong inference of scienter. 3
and actually controlled American Golf's operations. Price
had frequent closed door meetings with American Golf's
vice-president of acquisitions and its co-CEOs where they              3. Proper 10(b) Defendants
discussed American Golf's failing operations. Moreover, the          [14] From the facts alleged, it is clear that David Price and
proceeds of the Oaks issuance funded the construction of an         National Golf are proper 10(b) defendants because of their
extensive complex on the school's grounds, a construction           roles in the issuance of the Oaks securities. The question
project managed by American Golf. David Price's hand                is whether American Golf's role is sufficient to render it
was allegedly in every entity involved with the sale of             primarily liable for fraud in connection with National Golf's
these securities. This too supports a strong inference that         securities issuance.
Defendants knew or were deliberately reckless in not
knowing that their statements were false when made.                 Defendant American Golf argues that merely including its
                                                                    financial information in the prospectus used to sell the
 *8 Plaintiffs provide other circumstantial evidence to             National Golf securities without more does not amount to
support a strong inference of scienter. Plaintiffs point to the     the type of manipulative or deceptive practice 10(b) seeks to
large loans David Price and his wholly owned entity Golf            proscribe. It argues that Plaintiffs are attempting to “revive
Enterprises were receiving from American Golf during the            aiding and abetting liability” by holding American Golf liable
class period. Plaintiffs allege Price failed to repay $60 million   for “assenting to the inclusion of American Golf's financial
that he and Dallas Price had borrowed. Instead of repaying          statements in National Golf's public filings.”
these loans, Price arranged to have these loans reclassified
on American Golf's balance sheet as a long term receivable.         There is no aiding and abetting liability in a private 10(b)
While this provided a deferred payment and an extremely
                                                                    action. See Central Bank of Denver v. First Interstate Bank
low interest rate to the Prices, it drastically reduced American
                                                                    of Denver, 511 U.S. 164, 114 S.Ct. 1439, 128 L.Ed.2d 119
Golf's current assets during the class period.
                                                                    (1994). However, the Court in Central Bank cautioned that “in
                                                                    any complex securities fraud, [ ] there are likely to be multiple
Because David Price was the personal recipient of these loans
                                                                    violators[.]” Id. “Any person or entity, [ ] who employs a
from American Golf he knew they would not be repaid within
                                                                    manipulative device or makes a material misstatement (or
the class period. Therefore, he knew that American Golf's
                                                                    omission) on which a purchaser or seller of securities relies
financials were false when they reflected that these loans were
                                                                    may be liable as a primary violator under 10b–5, assuming
current receivables, instead of long term notes.
                                                                    all of the requirements for primary liability under Rule 10b–
                                                                    5 are met.”Id.
Plaintiffs also provide ample evidence of motive and
opportunity. The proceeds of the Oaks issuance were going
                                                                     *9 To be liable under 10(b), a defendant must know or
to fund further expansion of the Oaks Christian High School.
                                                                    should know that his representations would be communicated
David and Dallas Price were members of the three-person
Oaks Christian High School board. It was their earlier gift         to investors.     Wright v. Ernst & Young, 152 F.3d 169,
of National Golf's shares to Oaks that was going to be used         175 (2d Cir.1998). Seealso        Shapiro v. Cantor, 123 F.3d
to fund the planned expansion. These facts provide sufficient
motive.                                                             717, 719 (2d Cir.1997),        Anixter v. Home–Stake Prod., 77
                                                                                              th
                                                                    F.3d 1215, 1226–27 (10 Cir.1996). However, “there is no
As for opportunity, David Price's position of control in all        requirement that the alleged violator directly communicate
entities involved in this transaction provides ample support        his misrepresentations to investors for primary liability to
for the proposition that he possessed the opportunity to            attach.”   Anixter, 77 F.3d at 1226. It is sufficient that
commit these alleged violations.                                    the statement be attributable to the defendant, and publicly




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                                                                   the Defendant was in a position to exercise actual power and
disseminated prior to the investment decision.     Wright, 152
                                                                   control over the offending entity.        Howard v. Everex, 228
F.3d at 175.
                                                                                        th
                                                                   F.3d 1057, 1065 (9        Cir.2000).
Here, American Golf allegedly made false statements (or
omissions) in its financial statements that were incorporated      Plaintiffs assert Dallas Price was a control person by virtue of
into the registration statement upon which purchasers relied.      her ownership interest in National Golf and American Golf,
From this, American Golf knew or should have known that            her role on the board of the Oaks School, her status as the wife
these misstatements would be communicated to investors.            of David Price, and that she “enjoyed a special relationship”
                                                                   with American Golf because her husband received loans from
   Wright, 152 F.3d at 175. Defendant's argument that
                                                                   it from which she benefitted.
it did not communicate these false statements directly,
but only allowed them to be included in the registration/
                                                                   Plaintiffs provide no allegations that Dallas Price was in a
prospectus, does not insulate it from primary liability. Direct
                                                                   position to exert actual control over National Golf. Being
communication of the alleged misstatements is unnecessary.
                                                                   the wife of the chairman cannot subject someone to liability
Therefore, Defendant American Golf's motion to dismiss the
                                                                   for the alleged wrongdoing associated with her husband's
10(b) claim on this basis is denied.
                                                                   business dealings. Without allegations of an active role in
                                                                   any of the entities against whom primary liability is asserted,
   C. Control Person Liability                                     Plaintiffs cannot allege control person liability under either §§
To assert a claim under § 15 of the Securities Act and § 20        15 or 20 against Dallas Price. Dallas Price's motion to dismiss
of the Exchange Act, Plaintiffs must show (a) an underlying        these claims against her is hereby granted.
securities violation by the entity that the defendant is alleged
to control, and (b) that the individual had actual control over
                                                                   III. Disposition
the entities.        Hollinger v. Titan Capital Corp., 914 F.2d     *10 In light of the foregoing, we DENY National Golf's and
                th
1564, 1575 (9 Cir.1990). This is known as “control person”         David Price's motion to dismiss in its entirety; we GRANT
liability. David and Dallas Price move to dismiss these claims     American Golf's motion to dismiss the § 11 claim against
against them.                                                      it and we DENY its motion to dismiss the § 12 claim; We
                                                                   DENY American Golf's motion to dismiss the 10(b) claim;
                                                                   finally, we DENY David Price's motion to dismiss the §§ 15
  1. David Price                                                   and 20 claims against him in his individual capacity, and we
We have concluded that Plaintiffs have stated securities           GRANT Dallas Price's motion to dismiss the §§ 15 and 20
violations against National Golf and American Golf. David          claims against her.
Price's argument that he is not liable under §§ 15 and 20
because no primary violation can be made against National          The remaining Defendants shall answer the First Amended
Golf thus fails. Therefore, David Price's motion to dismiss the    Consolidated Complaint within 20 days hereof.
§§ 15 and 20 claims is denied.

                                                                   IT IS SO ORDERED.
   2. Dallas Price
 [15] Dallas Price also challenges Plaintiffs' claims against      All Citations
her for “control person” liability. To establish the liability
                                                                   Not Reported in F.Supp.2d, 2003 WL 23018761
of a control person, Plaintiffs must make some showing that




                                                           Footnotes


1       15 U.S.C. § 77k(a) details the classes of proper § 11 defendants. Sub-section four (4) specifically provides
        that a plaintiff may sue, “every accountant, engineer ....or any person whose profession gives authority to a


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       statement made by him, who has with his consent been named as having prepared or certified any report or
       valuation which is used in connection with the registration statement ... [and] which purports to be certified
       by him[.]”

2      Defendants American Golf and David Price incorrectly claim that Plaintiffs argue that GAAP violations alone
       render American Golf liable under 10(b). As noted above Plaintiffs provided multiple allegations of material
       misstatements made in connection with the Oaks offering, upon which a reasonable investor could have
       relied and which, if true, could render American Golf and David Price primarily liable under 10(b).

3      American Golf and David Price argue that GAAP violations alone cannot support a finding of a strong
       inference of scienter. We need not decide that issue because, as noted above, Plaintiffs have pleaded
       sufficient facts to show a strong inference of scienter apart from any argument that American Golf or David
       Price may have violated GAAP principles.



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                                                                 to dismiss the Consolidated Class Action Complaint (the
                    2015 WL 1143081                              “Complaint,” ECF No. 54) for failure to plead fraud with
                United States District Court,                    the heightened specificity required by Rule 9(b) of the
                        S.D. Texas,                              federal procedure rules, and the Private Securities Litigation
                     Houston Division.                           Reform Act (“PSLRA”), 15 U.S.C. § 78u–4 et seq. (ECF
                                                                 No. 55). 1 The plaintiff filed an opposing response (ECF No.
     LOCAL 210 UNITY PENSION AND WELFARE                         57), in which it alternatively requests leave to amend the
        FUNDS, Individually and on Behalf of all                 Complaint if dismissal is granted, and the defendants timely
        Others Similarly Situated, et al, Plaintiffs,            replied (ECF No. 58). Having reviewed the pleadings, motion
                            v.                                   and responsive documents, the Court determines that the
          McDERMOTT INTERNATIONAL                                defendants' motion should be GRANTED and the plaintiff's
                 INC., et al, Defendant.                         request for leave to amend be DENIED.

               Civil Action No. 4:13–CV–2393.
                               |                                 II. FACTUAL AND PROCEDURAL BACKGROUND
                   Signed March 13, 2015.
                                                                   A. McDermott's Business
                                                                 The following facts are taken from the Complaint and
Attorneys and Law Firms
                                                                 public disclosure documents on file with the SEC. 2
Damon Joseph Chargois, Mashayekh & Chargois, P.C.,               McDermott, headquartered in Houston, Texas, is a global
Andrew M. Edison, Edison, McDowell & Hetherington, LLP,          engineering, procurement, construction and installation
Thomas Robert Ajamie, Ajamie LLP, Houston, TX, Michael           (“EPCI”) company focused on designing and executing
W. Stocker, Labaton Sucharow LLP, New York, NY, Danielle         complex offshore oil and gas projects. As an EPCI services
S. Myers, Jonah H. Goldstein, Ashley M. Robinson, Robbins        provider, the Company delivers fixed and floating production
Geller Rudman & Dowd, LLP, Blair A. Nicholas, David R.           facilities, pipeline installations and subsea systems from
Kaplan, Timothy A. Delange, Bernstein Litowitz Berger &          concept to commissioning. McDermott conducts much of
Grossman LLP, San Diego, CA, for Plaintiffs.                     its business through fixed-price contracts—i.e., contracts
                                                                 executed for a pre-determined amount based on project
David D. Sterling, Baker Botts LLP, Mark Alan Junell, The
                                                                 cost and profit assessments—that are awarded through a
Junell Law Firm PC, Houston, TX, Nicholas I. Porritt, Levi
                                                                 competitive bid process. All bids over $40 million are
Korsinsky LLP, Washington, DC, for Defendants.
                                                                 reviewed by executive management, including Johnson and
                                                                 Elders (the “individual defendants”). Executive officers
                                                                 additionally review developments on these projects on a
       MEMORANDUM OPINION AND ORDER                              monthly basis.

KENNETH M. HOYT, District Judge.
                                                                 Because fixed-price contracts typically take years to
I. INTRODUCTION                                                  complete, the Company often requires customers to make
 *1 In this consolidated securities fraud class action,          progress payments. McDermott employs a percentage-of-
PAMCAH–UA Local 675 Pension Fund (the “plaintiff”)               completion accounting method for determining contract
brings suit against McDermott International, Inc.                revenue, which requires it to periodically review contract
(“McDermott” or the “Company”), Stephen M. Johnson               price and cost estimates and make profit adjustments to
(“Johnson”), former President and CEO of the Company,            reflect work progress. Ultimately, successful and profitable
and Perry L. Elders (“Elders”), its Senior Vice President and    completion of a project depends on several factors, including
CFO (collectively, the “defendants”) for alleged violations of   project bidding discipline, execution and oversight.
§§ 10(b) and 20(a) of the Securities Exchange Act of 1934
                                                                 According to public disclosure documents, projects executed
(“Exchange Act”), as amended,     15 U.S.C. §§ 78j(b) and        under McDermott's fixed-price contracts entail inherent risks
78t(a), and Securities and Exchange Commission (“SEC”)           that expose it to profitability losses. In fact, “[f]ixed-price
Rule 10b–5, 17 C.F.R. § 240.10b–5, promulgated thereunder.       contracts entail more risk to [the Company] because they
Pursuant to FED. R. CIV. P. 12(b)(6), the defendants move


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require [it] to predetermine both the quantities of work to        The Complaint blames the defendants for causing these
be performed and the costs associated with executing the           losses by engaging in a course of fraudulent conduct that
work.” Actual costs related to a project could exceed original     deceived the plaintiff and other class-member investors in
projections notwithstanding measures taken in the first            the process. Allegedly, the defendants artificially inflated
instance to account for “anticipated changes in labor, material    McDermott's stock price by making overly optimistic, false
and service costs.” Specifically, “cost and gross profit ...       and/or misleading statements and concealing truths about
could vary materially from the estimated amounts because           McDermott's business, financial status and outlook. The
of supplier, contractor and subcontractor performance, [the        information concerned material losses on several problematic
Company's] own performance, changes in job conditions,             projects and challenges related to project bidding and
unanticipated weather conditions, variations in labor and          execution.
equipment productivity and increases in the cost of raw
materials ... over the term of the contract.” Accordingly,         The individual defendants are quoted at length as proof that
                                                                   the two actively participated in the fraud. Their statements
                                                                   are contained in paragraphs 32–96 of the Complaint
              *2       current     estimates     of                and summarized in the defendants' motion to dismiss.
             [McDermott's] contract costs and                      Representative statements are reprinted here for convenience
             the profitability of [its] long-term                  and reference:
             projects, although reasonably reliable
                                                                     • “The positive results of our 2012 third quarter keep
             when made, could change as a
                                                                       us on track for solid 2012 financial performance”
             result of the uncertainties associated
                                                                       (quoting Johnson in Nov. 5, 2012 (3Q2012) Press
             with these types of contracts, and
             if adjustments to overall contract                        Release (Form 8–K)). 4
             costs are significant, the reductions
             or reversals of previously recorded
                                                                     • The Company is on pace for “solid” performance (quoting
             revenues and profits could be material
                                                                        Johnson in Nov. 5, 2012 (3Q2012) Press Release
             in future periods.
                                                                        (Form 8–K), and Johnson and Elders on Nov. 6, 2012
                                                                        conference call reporting 3Q2012 earnings).

Moreover, if developed into actual events, project risks could            • It is “my [Johnson's] belief that it is highly likely that
affect the business, financial condition, results of operations              we will return the Atlantic region to profitability
or cash flows of the Company in a manner that causes the                     into 2013” and that the region “is likely to be one
trading price of company common stock to decline. These                      of the highest growth markets for the Company”
risks are matters of public record.                                          (quoting Johnson on Nov. 6, 2012 conference call
                                                                             reporting 3Q2012 earnings).

   B. Alleged Misrepresentations                                          • The Atlantic Region's “competitive situation
The Complaint alleges that between November 6, 2012 and                     remains stable in our view” and “nothing is
August 6, 2013, inclusive (the “Class Period”), the plaintiff               changing in a material way up or down” (quoting
purchased shares of McDermott common stock and that the                     Johnson on Nov. 6, 2012 conference call reporting
stock value plummeted because the defendants concealed                      3Q2012 earnings).
“pervasive” and “ongoing” failures related to the Company's
project bidding, execution and oversight. These failures,                  *3 • “We feel very good about our strength in
the Complaint asserts, caused McDermott to experience                       the Middle East. We hold what we consider the
significant losses. Stock prices dropped 13% in May of 2013                 strongest competitive position because of not only
and another 21% in August of 2013 allegedly in response to                  our Jebel Ali facility, but also because of the
                                                                            type of marine fleet we have” (quoting Johnson
the disclosure of these negative events. 3 It is claimed that
                                                                            on Nov. 6, 2012 conference call reporting 3Q2012
investors suffered losses in the hundreds of millions of dollars
                                                                            earnings).
as a result.




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      • “[W]e have done a number of other things in                    • The loss in the Middle East is a “one-time situation”
        the Atlantic region to turn it around” (quoting                   and “there's nothing that we can see, or the
        Johnson on Nov. 6, 2012 conference call reporting                 project team can see, that would indicate any
        3Q2012 earnings).                                                 further problems with that program” (quoting
                                                                          Johnson and Elders on May 9, 2013 conference call
      • “I'm [Johnson] quite bullish on the Atlantic region               reporting 1Q2013 earnings).
         these days.” “I'm sticking with my view about
         2013 for the Atlantic region until I have a reason            • The Company is dedicated to “implementing
         to adjust. And I don't have good reason to do that”             a compre hens ive project execution operating
         (quoting Johnson on Nov. 6, 2012 conference call                model that emphasizes our key project management
         reporting 3Q2012 earnings).                                     disciplines” “Key elements of the model include
                                                                         project planning, including risk identification and
      • There is “no particular project or discrete item that            mitigation planning, interface management, as
         needs to be highlighted” and “no major project                  well as the incorporation of clearly defined
         issues to discuss” (quoting Johnson and Elders on               accountability across the organization.” The model
         Nov. 6, 2012 conference call reporting 3Q2012                   will enable the Company “to improve our execution
         earnings).                                                      on even the most challenging projects” (quoting
                                                                         Johnson and Elders on May 9, 2013 conference call
      • Johnson “remain[ed] positive” that the Atlantic
                                                                         reporting 1Q2013 earnings).
        segment would be profitable in 2013 (quoting
        Johnson on Mar. 1, 2013 conference call reporting               *4 Johnson is responsible for “bringing in project
        4Q2012 earnings) (brackets in Complaint).                        execution personnel from outside McDermott to
                                                                         assure best practices from industry are brought to
      • “I [Elders] think we're going to have a good year
                                                                         bear on our projects” (quoting Johnson on May 9,
         in 2013 in the Middle East” (quoting Elders on
                                                                         2013 conference call reporting 1Q2013 earnings).
         Mar. 1, 2013 conference call reporting 4Q2012
         earnings).                                                    • “I [Johnson] would say we are equal to best
                                                                         in industry in terms of project planning, project
      • “We're feeling pretty good that we fully estimated
                                                                         analysis, execution, forecasting, and control.
         the cost to complete” the Malaysia project (quoting
                                                                         And that has been rolled out through the past
         Johnson on Mar. 1, 2013 conference call reporting
                                                                         12 months throughout the entire organization”
         4Q2012 earnings).
                                                                         (quoting Johnson on May 9, 2013 conference call
      • “McDermott is well positioned to meet the                         reporting 1Q2013 earnings). 5
        growing customer demand in each of our market           The Complaint further alleges that the individual defendants
        segments” (quoting Johnson and Elders on Mar. 1,        are liable for suffered damages “[b]y virtue of their high
        2013 conference call reporting 4Q2012 earnings).        level positions” and direct involvement in the day-to-day
                                                                operations of the Company. These positions, the Complaint
      • The problems faced in the Atlantic and Asia             asserts, made Johnson and Elders “privy ... to confidential
        Pacific segments are “isolated situations, and are      propriety information concerning the Company and its
        not representative of our business as a whole”          business” and, therefore, responsible for the dissemination of
        (quoting Johnson and Elders on Mar. 1, 2013             any false and/or misleading statement or omission.
        conference call reporting 4Q2012 earnings).

      • The 1Q2013 results reflect “isolated challenges”;          C. Alleged “Partial Disclosures” by McDermott
        “we are absolutely focused on the resolution of         The Complaint also alleges that the defendants made the
        those issues” (quoting Johnson and Elders on            following quarterly disclosures, characterized by the plaintiff
        May 9, 2013 conference call reporting 1Q2013            as “partial disclosures,” during the Class Period:
        earnings).
                                                                  • “The fourth quarter 2012 results were negatively affected
                                                                     by an aggregate of approximately $32 million of


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    project losses and increased costs on certain projects,            been “fully estimated.” Defendant Johnson conceded
    including approximately $23 million in the Asia Pacific            on August 6, 2013 that the Malaysia failure was a
    segment as a result of incremental costs associated                “significant bid miss” (citing Aug. 6, 2013 (2Q2013)
    with anticipated productivity and project delays on one            Press Release (Form 8–K)).
    subsea project, which is expected to complete in late
    2013. The Atlantic segment also was impacted by               The defendants have not yet answered the Complaint. Instead,
    increased cost estimates relating to two fabrication          they move to dismiss it for failing to plead fraud with
    projects totaling approximately $9 million, due to            specificity.
    lower than expected productivity, which are expected
    to complete in mid–2013” (quoting Feb. 28, 2013
    (4Q2012) Press Release (Form 8–K)).                           III. PARTIES' CONTENTIONS
                                                                  According to the defendants, several reasons justify
  • “The Company's operating income in the first quarter          dismissal: the misrepresentations alleged in the Complaint
     2013 was $53.0 million, a decrease of $27.2 million          are non-actionable expressions of corporate optimism
     compared to $80.2 million in the first quarter 2012.         about McDermott's financial performance, projects, bidding
     The first quarter 2013 results were affected by operating    discipline and future prospects; the Complaint alleges “fraud
     losses in the Middle East and Atlantic segments, partially   by hindsight” and fails to explain how any of the challenged
     offset by stronger operating income in our Asia Pacific      statements were false when made; the Complaint neither
     segment. In the first quarter 2013, operating losses         pleads scienter nor contains particularized allegations giving
     in the Middle East segment totaled approximately             rise to a strong inference of scienter, as required by Rule 9(b)
     $18.5 million compared to operating income of $34.7          and the PSLRA; and the Complaint's derivative claims under
     million for the corresponding prior year period, a           § 20(a) of the Exchange Act fail because primary claims under
     decline primarily attributable to execution plan changes     § 10(b) do not meet the established pleading requirements for
     on a project at an advanced stage of completion,             fraud.
     which resulted in cost increases associated with hook-
     up activities and the use of third-party vessels. In         Dismissal is improper, the plaintiff contends, because the
     addition, the decline in operating income was due to         Complaint pleads specific facts demonstrating that the
     lower asset utilization and project activity compared        defendants engaged in a pattern of fraud during the Class
     to the prior year. The operating loss for the Atlantic       Period. In its view, the Complaint sufficiently alleges that
     segment changed by approximately $4.4 million to a           the defendants' quarterly statements on November 5–6,
     loss of approximately $16.4 million due to increased         2012, February 28–March 1, 2013, and May 8–9, 2013
     support costs associated with lower marine asset             were false when made; the temporal proximity between
     utilization” (quoting May 8, 2013 (1Q2013) Press             the defendants' misleading statements and the disclosures
     Release (Form 8–K)).                                         of the truth demonstrate falsity; and the defendants made
                                                                  actionable misrepresentations related to the Company's core
   *5 • On August 5, 2013, McDermott filed a Form 8–              EPCI projects. The plaintiff also contends that the Complaint
    K with the SEC, in which McDermott announced its              alleges facts that command a strong inference that the
    financial results for the second quarter ended June 30,       defendants knew or were reckless in not knowing about the
    2013. McDermott announced a substantial decrease in           ongoing problems facing McDermott's operations. In support
    the Company's year-over-year financial results driven         of this argument, the plaintiff cites to the defendants' quarterly
    primarily by $100 million in increased loss estimates         disclosure statements and points to its assertion that the
    on problematic projects. In its Asia Pacific segment, the     individual defendants took part in monthly review meetings
    Company incurred a $62 million charge “due to delays          where these problems were likely discussed.
    on a deepwater pipelay project in Malaysia” caused
    by late deliveries and McDermott's inability to timely
    reconfigure the vessel required to execute the project.       IV. STANDARD OF REVIEW
    This $62 million charge was in addition to the $23            A motion to dismiss for failure to plead with the heightened
    million the Company previously recognized in 4Q2012–          specificity required by Rule 9(b), as “reinforce[d]” by the
    costs, which, on March 1, 2013, defendant Johnson             PSLRA, is properly raised in a Rule 12(b)(6) motion to
    assured investors the Company was confident had


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                                                                                 complaint shall state with particularity
dismiss for failure to state a claim. United States ex
                                                                                 all facts on which that belief is formed.
rel. Grubbs v. Kanneganti, 565 F.3d 180, 186 n. 8 (5th
Cir.2009);        Southland Sec. Corp. v. INSpire Ins. Solutions,
Inc., 365 F.3d 353, 362 (5th Cir.2004);       Lovelace, 78           15 U.S.C. § 78u–4(b)(1). In addition, the complaint “shall,
F.3d at 1017. The Court accepts as true all well-pleaded             with respect to each act or omission alleged to violate this
facts and construes them in the light most favorable to the          chapter, state with particularity facts giving rise to a strong
                                                                     inference that the defendant acted with the required state of
plaintiff.   Abrams v. Baker Hughs, Inc., 292 F.3d 424,
                                                                     mind.” 15 U.S.C. § 78u–4(b)(2)(A).
430 (5th Cir.2002). The Court does not, however, “strain
to find inferences favorable to the plaintiff,” nor does it
“accept conclusory allegations, unwarranted deductions, or           Read together,    Rule 9(b) and the PSLRA direct the pleader
                                                                     to:
legal conclusions .” See          Southland, 365 F.3d at 361
(internal quotation marks omitted);     Westfall v. Miller, 77         (1) specify ... each statement alleged to have been
F.3d 868, 870 (5th Cir.1996). Dismissal is proper when it                 misleading, i.e., contended to be fraudulent;
“appears beyond doubt that the plaintiff can prove no set
                                                                       (2) identify the speaker;
of facts in support of [its] claim that would entitle [it] to
relief.”  Collins, 224 F.3d at 498 (internal quotation marks           (3) state when and where the statement was made;
omitted).
                                                                       (4) plead with particularity the contents of the false
                                                                          representations;
 *6 Rule 9(b) and the PSLRA require that the circumstances
supporting a claim for securities fraud be pleaded “with               (5) plead with particularity what the person making the
particularity.”      FED. R. CIV. P. 9(b); 15 U.S.C. § 78u–4(b);          misrepresentation obtained thereby; and

see    Southland, 365 F.3d at 361–62.         Rule 9(b) states:        (6) explain the reason or reasons why the statement is
                                                                          misleading, i.e., why the statement is fraudulent.

             In alleging fraud or mistake, a                            ABC Arbitrage Plaintiffs Grp. v. Tchuruk, 291 F.3d 336,
             party must state with particularity the                 350 (5th Cir.2002). By Fifth Circuit nomenclature, these
             circumstances constituting fraud or                     elements establish the “who, what, when, where, and how”
             mistake. Malice, intent, knowledge,
                                                                     required under    Rule 9(b) and the PSLRA. Id. A district
             and other conditions of a person's mind
                                                                     court must dismiss a § 10(b)/SEC Rule 10b–5 complaint that
             may be alleged generally.
                                                                     does not meet these requirements. 15 U.S.C. § 78u–4(b)(3)
                                                                     (A).

   FED. R. CIV. P. 9(b). The PSLRA correspondingly
provides, in relevant part, that a securities fraud complaint        IV. ANALYSIS AND DISCUSSION
                                                                     “Private federal securities fraud actions are based on federal
                                                                     securities statutes and their implementing regulations.”

             shall specify each statement alleged                       Lormand v. U.S. Unwired, Inc., 565 F.3d 228, 238–39
             to have been misleading, the reason                     (5th Cir.2009) (citing   Dura Pharmas., Inc. v. Broudo, 544
             or reasons why the statement is                         U.S. 336, 341, 125 S.Ct. 1627, 161 L.Ed.2d 577 (2005)). The
             misleading, and, if an allegation                       Complaint purports to state a claim under § 10(b)/SEC Rule
             regarding the statement or omission is                  10b–5 as to all defendants, and a derivative claim under §
             made on information and belief, the                     20(a) as to the individual defendants. Under § 10(b), it is
                                                                     unlawful for any person to “use or employ, in connection with
                                                                     the purchase or sale of any security ... any manipulative or



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deceptive device or contrivance in contravention of such rules     statements casted as “misrepresentations” fall into one of
                                                                   four categories: (1) optimistic and vague statements regarding
and regulations as the [SEC] may prescribe.”     15 U.S.C.
                                                                   McDermott's future financial performance and profitability;
§ 78j(b). Correspondingly, SEC Rule 10b–5 prohibits any
                                                                   (2) generalized statements about McDermott's positioning
person from using any means or instrumentality of interstate
                                                                   in various segments (regions) of operation; (3) indefinite
commerce
                                                                   descriptions of the challenges facing the Company and the
  (a) To employ any device, scheme, or artifice to defraud,        Company's response to those challenges; and (4) generalized
                                                                   descriptions of McDermott's bidding discipline and project
   *7 (b) To make any untrue statement of a material fact or       planning. None of these statements are “concrete factual or
    to omit to state a material fact necessary in order to make    material misrepresentations” of the type that can be the basis
    the statements made, in the light of the circumstances
                                                                   for a § 10(b)/SEC Rule 10b–5 claim. See      Southland, 365
    under which they were made, not misleading, or
                                                                   F.3d at 372 (internal quotation marks omitted).
  (c) To engage in any act, practice, or course of business
     which operates or would operate as a fraud or deceit          In this Circuit, expressions of corporate confidence, including
     upon any person,                                              “generalized, positive statements about [a] company's
                                                                   competitive strengths, experienced management, and future
  in connection with the purchase or sale of any security.         prospects,” are immaterial and, thus, not actionable under

17 C.F.R. § 240.10b–5. Based on these provisions, “[s]ection       the federal securities laws.       Rosenzweig, 332 F.3d at
20(a) ... imposes joint and several liability upon persons who         7
                                                                   869. The vast majority of alleged statements express
‘control’ defendants that violate the Exchange Act. 15 U.S.C.      nothing more than corporate optimism. These statements
                                                                   include announcements that the Company's positive 3Q2012
§ 78t(a).”   Rosenzweig v. Azurix Corp., 332 F.3d 854, 862
                                                                   results would “keep [it] on track for solid 2012 financial
(5th Cir.2003).
                                                                   performance” for the remainder of the year; the defendants
                                                                   “remain[ed] positive” and “belie [ved] that it [was] highly
   A. Section 10(b)/SEC Rule 10b–5 Claim                           likely” that they could make profitable (in 2013) their
To state a claim under § 10(b)/SEC Rule 10b–5, a plaintiff         operations in the Atlantic region, where they maintained
must plead: a(1) misstatement or omission (2) of material fact     a “stable,” “competitive situation”; they “fe[lt] good about
(3) in connection with the purchase or sale of a security, which   [their] strength in the Middle East”; Johnson remained
was made (4) with scienter, i.e. “a mental state embracing         “quite bullish” concerning McDermott's Atlantic presence;
intent to deceive, manipulate, or defraud,” and upon which         the Company was “well positioned to meet the growing
(5) the plaintiff justifiably relied, (6) proximately causing      customer demand in each of [its] market segments”; and
                                                                   the Company was “equal to best in industry in terms of
injury to it. E.g., id. at 865–66 (internal quotation marks
                                                                   project planning, project analysis, execution, forecasting,
omitted). The pending motion argues that the Complaint fails
                                                                   and control.” The Complaint itself defeats its own pleading
to adequately plead materiality and scienter. 6 The Court          objective by characterizing the defendants' statements as
agrees.                                                            statements of “positivity,” albeit false from the plaintiff's
                                                                   perspective.

   1. Insufficient Allegations of Materiality
                                                                    *8 The Court is hard pressed to conclude that any of
The defendants argue that the statements attributed to them
                                                                   the above statements expresses or creates assurances about
are immaterial because they constitute puffery. “[A] statement
                                                                   McDermott's future profitability that would lead a rational
or omitted fact is material if there is a substantial likelihood
that a reasonable investor would consider the information          investor to rely on them. See            ABC Arbitrage, 291
                                                                   F.3d at 359 (“ ‘[P]rojections of future performance not
important in making a decision to invest.” E.g.,         ABC
                                                                   worded as guarantees are generally not actionable under the
Arbitrage, 291 F.3d at 359 (internal quotation marks omitted);
                                                                   federal securities law’ as a matter of law.”). They constitute
accord     Rosenzweig, 332 F.3d at 865 (citing        Basic        non-actionable puffery by all reasonable inferences. The
Inc. v. Levinson, 485 U.S. 224, 231, 108 S.Ct. 978, 99             defendants did not, as the plaintiff argues, “speak in concrete
L.Ed.2d 194 (1988)). As the defendants point out, all of the       terms with respect to actions they were currently taking,


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and had already taken,” nor did they “assure” investors           “isolated situations” that were “not representative of our
that the Company had remedied challenges in each of               business as a whole,” without running afoul of § 10(b)/SEC
its segments. If realized, any number of risks detailed in        Rule 10b–5.
McDermott's 2012 annual report could have compromised
goals that appeared attainable when announced, or derailed
Company plans altogether. The potential profitability losses         2. Insufficient Allegations to Raise Inference of Scienter
associated with these risks are spelled out in this report. As     *9 The parties dispute whether the Complaint pleads
extensively as the defendants are quoted in the Complaint,        scienter, or an inference of scienter, with the requisite
no allegation meaningfully reconciles the defendants' oral        specificity. Scienter has been adequately pleaded if, taken
representations with these risk disclosures. To the extent that   together, the allegations directly or circumstantially show
the plaintiff acknowledges the risks involved in McDermott's      that a defendant has intentionally deceived, manipulated or
contracts, it glosses over their potential impact by clinging     defrauded the public, or acted with severe recklessness in
to the Company's touted “three-tiered approach to reviewing       doing so. E.g.,   Rosenzweig, 332 F.3d at 866. In defining
projects (local, global and executive level review) in order to   severe recklessness, the Fifth Circuit has stated:
mitigate risk.”
                                                                    Severe recklessness is “limited to those highly
Similarly, the allegations make no attempt to square the            unreasonable omissions or misrepresentations that involve
defendants' statements with the multi-million dollar losses         not merely simple or even inexcusable negligence, but
acknowledged in the Complaint and announced on February             an extreme departure from the standard of ordinary care,
28, 2013 (4Q2012 results) and May 8–9, 2013 (1Q2013                 and that present a danger of misleading buyers or sellers
results). Yet, this is precisely the kind of analysis a             which is either known to the defendant or is so obvious
rational investor would likely have conducted before making         that the defendant must have been aware of it.” Allegations
projections about McDermott stock. Remarks made by                  of motive and opportunity, standing alone, are no longer
analysts in August, 2013 make the point all too clearly. The        sufficient to plead a strong inference of scienter, although
Complaint states that at the same time analysts expressed           appropriate allegations of motive and opportunity may
surprise that McDermott was failing, they complained that           enhance other allegations of scienter.
the disappointing results from the previous quarter dealt
“yet another blow to management credibility” and that                 Abrams, 292 F.3d at 430 (citing Nat hens on v. Zonagen,
McDermott had had issues in the past (emphasis added).            Inc., 267 F.3d 400, 408, 410–12 (5th Cir.2001)). Guided by
They also inquired “why ... the rest of the business” was         Supreme Court and Fifth Circuit precedent, the Court takes
falling apart at that particular juncture (emphasis added).       the following three-step approach to determine whether a “
These statements suggest that analysts had been alerted           ‘cogent and compelling,’ [and] not merely ‘reasonable’ or
to and were in fact monitoring McDermott's progress and           ‘permissible,’ “ inference of scienter exists: it assumes that the
setbacks, and not simply relying on the Company's optimistic      allegations to be true; to the extent applicable, it “consider[s]
representations without considering known red flags. “It is       documents incorporated in the complaint by reference and
difficult to form a ‘strong inference’ of scienter” from such     matters subject to judicial notice”; and it “take[s] into account
                                                                  plausible inferences opposing as well as supporting a strong
telling factual concessions.   Rosenzweig, 332 F.3d at 868.
                                                                  inference of scienter.” Ind. Elec. Workers' Pension Trust
In any event, to the extent that McDermott faced challenges,      Fund IBEW v. Shaw Grp., Inc., 537 F.3d 527, 533 (5th
the defendants were “under no duty to cast [the Company's]
                                                                  Cir.2008) (citing    Tellabs, Inc. v. Makor Issues & Rights,
business in a pejorative, rather than a positive, light.”
                                                                  Ltd., 551 U.S. 308, 321–24, 127 S.Ct. 2499, 168 L.Ed.2d 179
   Id. at 869;    Abrams, 292 F.3d at 433 (“[A]s long as          (2007)).
public statements are reasonably consistent with reasonably
available data, corporate officials need not present an           The false and/or misleading statements alleged in the
overly gloomy or cautious picture of the company's current        Complaint relate to the defendants' November, 2012,
performance.”)). Accordingly, the defendants could have, for      February/March, 2013, and May, 2013 statements. The
example, asserted that there were “no major project issues to     plaintiff bears the burden of pleading the reason or reasons
discuss” and that problems faced in certain segments were
                                                                  why these statements are false or misleading.           FED. R.



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                                                                     on August 6, 2013, when the defendants announced that
CIV. P. 9(b);      Southland, 365 F.3d at 361–62. To meet
                                                                     the Company's Malaysia project was a “significant bid
this burden, the plaintiff essentially argues that the scienter
                                                                     miss” requiring additional funding, this disclosure did not
pleaded in the Complaint is one of recklessness. It relies on
                                                                     contradict their prior assertion on February 28/March 1,
a string of “plausabilities” and “implausabilities” about what
                                                                     2013 that they were “feeling pretty good that [they] fully
the individual defendants knew or should have known based
                                                                     estimated the cost to complete the project.” On August
on their executive positions and day-to-day involvement in
                                                                     5, 2013, when the defendants made known that 2Q2013
McDermott's business. These positions, it is alleged, afforded
                                                                     losses in the Middle East segment were the result of “poor
them at least monthly opportunities to participate in bid and
                                                                     project management, especially around changed conditions,”
project review meetings where problematic EPCI projects
                                                                     lack of oversight in project execution and “weaknesses” in
were likely discussed.
                                                                     operating performance, these so-called admissions did not
                                                                     convert into a falsity their previous belief that the Company
These contentions do not comport with the Fifth Circuit
                                                                     was “going to have a good year in 2013 in the Middle
jurisprudence, however, and the plaintiff cites no binding
                                                                     East.” Neither did the announcement discredit the earlier
case to support its faulty reasoning. The Fifth Circuit has
                                                                     representation that there was nothing that would “indicate
held that “[a] pleading of scienter may not rest on the
                                                                     any further problems with that program.” Similarly, Johnson's
inference that [the] defendants must have been aware of the
                                                                     August, 2013 announcement regarding operating losses and
misstatement based on their positions with the company.”
                                                                     the restructuring of the Atlantic segment on account of
E.g., Abrams, 292 F.3d at 432. Moreover, falsity or scienter         “increased support costs” and lower-than-expected utilization
is not pleaded with particularity, as the plaintiff suggests, by     did not negate his November, 2012 statements regarding his
simply alleging that a corporate officer attended a meeting.         “bullish” outlook on the Atlantic segment and the Company's
See     In re BP p.l.c. Sec. Ltg., 922 F.Supp.2d 600, 632            ability to maintain its position as a formidable bidding
                                                                     contender in the region.
& n. 31 (S.D.Tex.2013); cf.       Ind. Elec., 537 F.3d at 540
(reversing denial of motion to dismiss due to lack of scienter       Even when construed in the light most favorable to the
and rejecting allegation that defendants knew or should have         plaintiff, the Complaint does nothing more than allege that
known that their statements were false by virtue of monthly          in McDermott's quarterly earnings calls, the defendants
reports discussed at meetings). Here, the allegation has not         should have accurately predicted what the results of the
been supported by particularized evidence that the individual        next quarter would be. “[C]ompany officials should not,”
defendants learned specific bad facts at specific meetings and       however, “be held responsible for failure to foresee future
later made a false statement with knowledge of the truth of
those bad facts. A corporate officer's defendant's “hands-on”        events.”     Abrams, 292 F.3d at 433 (approving Second
management style or intimate involvement with a matter is            Circuit's observation in Novak v. Kasaks, 216 F.3d 300 (2d
likewise not sufficient to infer scienter. See Ind. Elec., 537       Cir.2000)). No allegation supports an inference, much less
F.3d at 535 (“Bernhard's [CEO] management style, coupled             a strong inference, that the defendants knew or should have
with his alleged boast that ‘there is nothing in this company        known that there was no basis for concluding that project
that I don't know,’ are insufficient to support a strong             objectives were achievable. This is a classic case of pleading
                                                                     “fraud by hindsight,” and the law makes no allowance
inference of scienter.”);  Goldstein v. MCI WorldCom, 340
F.3d 238, 251 (5th Cir.2003) (“[P]laintiffs' general allegation      for it. See    Rosenzweig, 332 F.3d at 867–68 (affirming
that Ebbers was a ‘hands-on’ CEO and therefore must have             dismissal of securities fraud class action where certain factual
been aware of the accounts receivable situation simply lacks         underpinnings on which plaintiffs relied were hindsight

the requisite specificity.”);   Abrams, 292 F.3d at 431–32.          assessments of defendants' performance);        Lormand, 565
                                                                     F.3d at 248–49 (defining “fraud by hindsight” as the case
 *10 Equally unavailing is the attempt to manufacture                where “a plaintiff alleges that the fact that something turned
falsity by linking generalized, optimistic statements with           out badly must mean defendant knew earlier that it would turn
disappointing earnings results announced weeks or months             out badly” or where “there is no contemporaneous evidence
later. Absent substantiation, these later results do not establish   at all that defendants knew earlier what they chose not to
that the earlier statements were false when made. For example        disclose until later”). Business misjudgments are simply not



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                                                                  Because the plaintiff fails to sufficiently plead materiality and
fraud.     Melder v. Morris, 27 F.3d 1097, 1101 n. 8 (5th         scienter, its § 10(b)/SEC Rule 10b–5 claim must be dismissed.
Cir.1994).

 *11 To the extent that any of the defendants' Class                 B. Section 20(a) Claim
Period statements is an admission at all, it is at most           The plaintiff's § 20(a) claim is a derivative claim of § 10(b).
an admission of mismanagement. “[N]egligence, oversight           Based on the failure of the primary claim, it too must be
or simple mismanagement [do not] rise to the standard             dismissed.

necessary to support a securities fraud action.”      Abrams,
292 F.3d at 433; see      Ind. Elec., 537 F.3d at 539                C. Leave to Amend
(“[T]he allegation of Shaw–Trac's problems may indicate           The plaintiff makes a one-sentence request seeking leave to
corporate mismanagement, but the securities laws do not           amend the Complaint for the second time. A district court has
                                                                  discretion to grant or deny motions to amend pleadings. Fed.
protect investors against negligence.”);   In re Anadarko
                                                                  R. C iv. P. 15(a) (leave to amend “shall be freely given when
Petrol. Corp. Class Action Litig., 957 F.Supp.2d 806, 818
                                                                  justice so requires”). Although Rule 15(a) “evinces a bias in
(S.D.Tex.2013) (“Section 10(b) and [SEC] Rule 10b–5
do not protect investors against negligence or corporate          favor of granting” such a motion,     Rosenzweig, 332 F.3d
mismanagement.”).                                                 at 863 (internal quotation marks omitted), deference towards
                                                                  this bias is not warranted here since the Court afforded
Finally, virtually all of the challenged statements are cast      the plaintiff an opportunity once already to cure pleading
in terms of personal opinions and beliefs about the future,       deficiencies in the original complaints. See supra note 1.
rather than facts. A claim of securities fraud that rests         The plaintiff has not presented any new information to cure
on such opinion or belief is doomed to fail, however,             the existing deficiencies. Accordingly, the request for leave
unless the evidence shows that “the speaker did not in            to amend is denied and the Complaint is dismissed with
fact hold that belief and the statement made asserted             prejudice. See id. at 864–65 (“The Supreme Court lists five
something false or misleading about the subject matter .”         considerations in determining whether to deny leave to amend
   Greenberg v. Crossroads Sys., Inc., 364 F.3d 657, 670          a complaint: ‘undue delay, bad faith or dilatory motive on
                                                                  the part of the movant, repeated failure to cure deficiencies
(5th Cir.2004); see   Rosenzweig, 332 F.3d at 869 (holding
                                                                  by amendments previously allowed, undue prejudice to the
that statement by management that “[w]e anticipate funding
                                                                  opposing party by virtue of the allowance of the amendment,
capital expenditures ... through operating cash flows and
long-term debt” was immaterial because it was “qualified”         [and] futility of the amendment....’   Foman v. Davis, 371
as management's “anticipat[ion],” rather than fact); see          U.S. 178, 182, 83 S.Ct. 227, 9 L.Ed.2d 222 (1962).”).

also     Nolte v. Capital One Fin. Corp., 390 F.3d 311,
315 (4th Cir.2004) (“[T]he Supreme Court held that in a           VI. CONCLUSION
securities fraud case, a statement of opinion may be a false       *12 Based on the foregoing analysis and discussion,
factual statement if the statement is false, disbelieved by its   the defendants' motion to dismiss is GRANTED and the
maker, and related to matters of fact which can be verified       Complaint dismissed with prejudice.
by objective evidence.” (citing    Va. Bankshares, Inc. v.
Sandberg, 501 U.S. 1083, 1093, 111 S.Ct. 2749, 115 L.Ed.2d        It is so ORDERED.
929 (1991)). The Complaint makes no particularized showing
that the defendants did not believe what they were saying
                                                                  All Citations
when they said it.
                                                                  Not Reported in F.Supp.3d, 2015 WL 1143081, Fed. Sec. L.
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                                                    Footnotes


1     The Court treats the plaintiff's Complaint as an amended one. Original class action complaints were filed
      in this district by Jerad Flood, under Cause No. 4:13–CV–02442, on August 20, 2013, and by Local 210
      Unity Pension and Welfare Funds, under the captioned case number, on August 15, 2013. See Order
      Granting Stipulation on Amended Complaint and Motion to Dismiss Briefing Schedule, Dec. 17, 2013, ECF
      No. 44; Order Consolidating Action, Approving PAMCAH–UA Local 675 Pension Fund As Lead Plaintiff and
      Approving Selection of Counsel, Dec. 5, 2013, ECF No. 36.

2     The Court takes judicial notice of the Company's 2012 annual report (Form 10–K) attached to the pending
      motion, cited in the Complaint, and on file with the SEC. See      Collins v. Morgan Stanley Dean Witter,
      224 F.3d 496, 498–99 (5th Cir.2000) (“[D]ocuments that a defendant attaches to a motion to dismiss are
      considered part of the pleadings if they are referred to in the plaintiff's complaint and are central to [its]
      claim.” (citing cases) (internal quotation marks omitted));      Lovelace v. Software Spectrum, Inc., 78 F.3d
      1015, 1018 & n. 1 (5th Cir.1996) (adopting rule of         Kramer v. Time Warner, Inc., 937 F.2d 767, 774
      (2d Cir.1991), that in securities fraud action, judicial notice may be taken of contents of public disclosure
      documents required to be filed with SEC).

3     In early November, 2012, McDermott's common stock was priced just below $10 per share. The price peaked
      at more than $13 per share on February 8, 2013. Between February 28, 2013, when the Company announced
      its 4Q2012 earnings, and March 1, 2013, the stock price dropped from $12.72 to $10.70 per share, an alleged
      16% decline. Between May 8, 2013, when the Company released its 1Q2013 earnings, and May 9, 2013, the
      price dropped from $11.03 to $9.59, an alleged 13% decline. Finally, following the announcement of 2Q2013
      results on August 5, 2013, the stock price dropped from $8.73 to $6.93 overnight, representing an alleged
      21% decline.

4     Unless otherwise noted, emphasized allegations were emphasized in the Complaint.

5     Without identifying specific speaker(s), paragraphs 65 and 88 of the Complaint quote the defendants as
      making a number of additional statements about general bidding discipline and revenue recognition.

6     The Court addresses the parties' dispute over falsity in its analysis of scienter.

7     The Court notes, without deciding, that under the PSLRA's “safe harbor” provision, a defendant is not liable
      for any “forward-looking” statement, as that term is defined by statute. 15 U.S.C. § 78u–5(c). Generally,
      a forward-looking statement is one that is “identified as a forward-looking statement, and is accompanied
      by meaningful cautionary statements identifying important factors that could cause actual results to differ
      materially from those in the forward-looking statement.” Id. § 78u–5(c)(1)(A). It also includes a statement
      “made with actual knowledge ... that the statement was false or misleading.” Id. § 78u–5(c)(l)(B). The parties
      have neither raised nor briefed this issue, however.



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                       TAB No. 13




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                     2015 WL 5766870                                                      ANALYSIS
      Only the Westlaw citation is currently available.
  United States District Court, E.D. Texas, Tyler Division.      Defendants seek a de novo review of the Magistrate Judge's
                                                                 Report and Recommendation denying Defendants' Motion
      Alan B. MARCUS, Individually and on Behalf                 to Dismiss. Specifically, Defendants argue that there are no
         of All Others Similarly Situated, Plaintiff,            actionable statements in the Complaint, there is no causation,
                             v.                                  and the Report misapplies the PSLRA's safe harbor provision.
   J.C. PENNEY COMPANY, INC., et. al., Defendants.

       CIVIL ACT ION NO. 6:13-cv-736-MHS-KNM                        1. Plaintiffs have alleged sufficient specific statements
                          |                                         amounting to actionable misrepresentations or
                  Signed 09/29/2015                                 omissions by Defendants.
                                                                 Defendants' Objections 1, 2, 3 and 5 take issue with the
Attorneys and Law Firms                                          specific allegedly misleading statements that the Report
                                                                 addresses. Defendants first argue that the Complaint never
Danielle Suzanne Myers, Austin P. Brane, Darren Jay              alleged that the Defendants represented that JC Penney had
Robbins, David J. Harris, Jr., David Conrad Walton, James        the required inventory by the end of 2Q13. Doc. No. 101
Albert Caputo, Robbins Geller Rudman & Dowd LLP, San             at 2. However, Defendants admit that “[t]he Complaint does
Diego, CA, Rocky M. Lawdermilk, Rocky Lawdermilk-                allege that Defendant Ullman stated that J.C. Penny [sic]
Attorney at Law, Beaumont, TX, Samuel H. Rudman,                 'ha[d] the inventory to do the business' during a conference
Robbins Geller Rudman & Dowd, Melville, NY, Thomas               call with analysts on August 20, 2013.” Doc. No. 101 at 3
John Ward, Jr, Jack Wesley Hill, Ward, Smith & Hill, PLLC,
                                                                 n. 4 (citing Compl. ¶ 41(b) 1 ). Plaintiffs' Complaint alleges
Longview, TX, for Plaintiff.
                                                                 that this statement was made on August 20, 2013 (at the
Jason Jacob Mendro, Gibson Dunn & Crutcher LLP,                  beginning of 3Q13). The Complaint goes on to clarify that
Washington, DC, Meryl L. Young, Gibson Dunn & Crutcher           the statements made on August 20, 2013 were discussing the
LLP, Irvine, CA, Robert C. Walters, Gibson Dunn & Crutcher,      Company's status as of the end of 2Q13, which ended August
Dallas, TX, Michael E. Jones, Potter Minton, A Professional      3, 2013 2 . Plaintiffs' theory is that Defendants spoke about
Corporation, Tyler, TX, for Defendants.                          JC Penney's inventory during the 2Q13 conference call using
                                                                 inventory information as of August 20 without informing
                                                                 investors of the temporal distinction. “The disclosure required
           ORDER ADOPTING REPORT AND
                                                                 by the securities laws is measured not by literal truth, but by
           RECOMMENDATION OF UNITED
                                                                 the ability of the statements to accurately inform rather than
            STATES MAGISTRATE JUDGE
                                                                 mislead.”     Lormand v. U.S. Unwired, Inc., 565 F.3d 228,
MICHAEL H. SCHNEIDER, UNITED STATES DISTRICT                     248 (5th Cir.2009) (emphasis added). Therefore Plaintiffs
JUDGE                                                            have alleged enough facts to plausibly show that Defendants
                                                                 represented that they had sufficient inventory as of the end of
 *1 On September 25, 2015, Defendants JC Penney
Company, Inc., Kenneth H. Hannah, and Myron E. Ullman,           2Q13 and that this statement was misleading when made 3 .
III (collectively “Defendants”) filed Objections to the
Magistrate Judge's Report and Recommendation denying              *2 Next Defendants claim that the CNBC report cannot be
Defendants' Motion to Dismiss (Doc. No. 101). Having made        attributable to Defendants. Even under the PSLRA, “plaintiffs
a de novo review of the written objections filed by Defendant,   are only required to plead facts, not to produce admissible
the Court concludes that the findings and conclusions of the     evidence.”      In re McKesson HBOC, Inc. Securities
Magistrate Judge are correct and the objections are without      Litigation, 126 F.Supp.2d 1248. 1272 (N.D.Cal.2000). The
merit. For the reasons below, Defendants' Objections are         Complaint alleges that Ullman attended a Sterne Agee
OVERRULED. Defendants' Request for Oral Hearing (Doc.            conference and “unequivocally told attendees that JCPenney
No. 86) is DENIED.                                               would end the year with sufficient liquidity and that he
                                                                 '[did] not see conditions for the rest of the year where


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[JCPenney] would need to raise liquidity.'” Compl. ¶ 7. The          forward-looking statements. Defendants argue that there was
Complaint again states that “on the morning of September             extensive cautionary language accompanying the forward-
25, 2013, Ullman attended an investor meeting in New York            looking statements 6 . However, cautionary statements are not
hosted by Sterne Agee. Following that meeting, Sterne Agee           evaluated in a vacuum; they are necessarily context specific.
immediately reiterated defendant Ullman's representations
via an upbeat report issued later that morning.” Id. ¶ 52. This         Lormand, 565 F.3d at 245. When risks have already begun
was followed up with “[t]he next day, September 26, 2013,            to materialize, it is no longer sufficient to generally warn of
before the market opened, CNBC.com published an article ...          the possibility of these risks in the future. When cautionary
reporting that 'J.C. Penney CEO Mike Ullman told investors           language is “glossed over as a future risk ... rather than the
the retailer does not see conditions for the rest of the year        certain dangers that had already begun to materialize” then the
where it would need to raise liquidity.'” Id. ¶ 54. Plaintiffs       warnings are no longer meaningful. Id. at 247. Those types
have sufficiently alleged that Ullman attended a Sterne Agee         of warnings “fail to correct the false impression created by
conference, said JC Penney did not see conditions where it           defendants' public statements or to supply the trust that they
would need to raise liquidity, and this was reported by CNBC.        omitted.” Id. Plaintiffs have pled enough facts to show that
There is no reason to believe that CNBC is not a credible            the risks of insufficient liquidity and inadequate inventory had
source of information 4 . At this stage, Plaintiffs have met their   already begun to materialize. Plaintiffs claim that Defendants
pleading burden to avoid a motion to dismiss.                        failed to correct the false impression of success created by
                                                                     their public statements and thus these cautionary warnings
                                                                     are insufficient to provide safe harbor protection as a matter
   2. The Report correctly applies the PSLRA's safe                  of law. There are enough facts alleged in the Complaint to
   harbor provision as interpreted by the Fifth Circuit.             show the risk had materialized and the warnings are thus
The Fifth Circuit has been very clear about when defendants          inadequate.
may avail themselves of the safe harbor provision and when
they may not. The safe harbor provision is inapplicable
when Plaintiffs adequately allege that defendants actually              3. Plaintiffs pled sufficient facts to establish causation
knew their statements were misleading at the time they                  between Defendants' misrepresentations and
                                                                        omissions and Plaintiffs' harm.
were made.      Lormand, 565 F.3d at 244 (Safe harbor
                                                                     Defendants admit that they do not “challenge Plaintiffs'
would apply only if “the plaintiff fails to [plead] that
                                                                     pleadings that J.C. Penney's announcement about the offering
the forward-looking statement ... was made with actual
                                                                     caused its stock price to decline on September 27.” Doc.
knowledge ... that the statement was false or misleading.”)
                                                                     No. 101 at 7–8. Defendants' causation argument focuses on
(emphasis added);      Southland Securities Corp. v. INSpire         the drop in stock price on September 25, 2013. After the
Ins. Solutions, Inc., 365 F.3d 353, 371 (5th Cir.2004) (“To          market closed on September 24, 2013, Goldman Sachs issues
avoid safe harbor, plaintiffs must plead facts demonstrating         a report revealing that JC Penney would be “looking to build
that the statement was made with actual knowledge of its             a bigger liquidity buffer.” Compl. ¶ 50. Plaintiffs alleged that
                                                                     “[t]he news contained in the ... report surprised investors as,
falsity”);   Nathenson v. Zonagen, Inc., 267 F.3d 400, 409
                                                                     just 14 days earlier, defendants had reassured investors that
(5th Cir.2001). The safe harbor provision “does not protect
                                                                     JCPenney's existing liquidity was adequate ‘for the remainder
statements that defendants knew were false or misleading.”
                                                                     of 2013.’ When the market opened on September 25, 2013,
In re UICI Sec. Litig., No. 3:04–CV–1149–P, 2006 U.S.
                                                                     JCPenney stock price dropped to a 13–year intra-day low.”
Dist. LEXIS 73753, at *17, 2006 WL 7354417 (N.D.Tex.
                                                                     Id. ¶ 51. The Complaint states that JC Penney's need for
Sept. 29, 2006); In re Sec. Litig. BMC Software, Inc.,
                                                                     a larger liquidity buffer was disclosed to the market on
183 F.Supp.2d 860 (S.D.Tex.2001) 5 . Therefore, defendants           September 25, 2013, “partially revealing the Company's dire
may only attempt to invoke the protections of the safe               financial situation” and because of that news, JC Penney's
harbor provision if plaintiffs fail to adequately plead that the     stock price declined. Id. ¶ 69. The Complaint further states
defendants made these statements with actual knowledge of            that the “decline cannot properly be attributed to any market
their falsity.                                                       or industry event or force, but rather was a direct result of the
                                                                     disclosure.” Id. Plaintiffs clearly pled sufficient facts to show
 *3 Once in the realm of safe harbor, the analysis now               causation.
turns to the cautionary language that accompanies the


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Accordingly, the Court adopts the Magistrate Judge's Report
                                                                                      APPLICABLE LAW
and Recommendation (Doc. No. 98). It is
                                                                  On a motion to dismiss under 12(b)(6), the Court must
ORDERED that Defendants' Request for Oral Hearing (Doc.           determine whether the Complaint contains “sufficient factual
No. 86) and Defendants' Motion to Dismiss Lead Plaintiff's        matter, accepted as true, to state a claim for relief that is
Consolidated Complaint (Doc. No. 73) are DENIED. Lead
                                                                  plausible on its face”.     Spitzberg v. Houston American
Plaintiff's Request for Judicial Notice (Doc. No. 80) is
GRANTED.                                                          Energy Corp., 758 F.3d 676, 683 (5th Cir.2014);       Bell Atl.
                                                                  Corp. v. Twombly, 550 U.S. 544, 570 (2007);           Ashcroft
                                                                  v. Iqbal, 556 U.S. 662, 678 (2009). Normally, the Court
                                                                  must constrain itself to the facts stated in the Complaint and
     REPORT AND RECOMMENDATION OF THE                             documents attached to or incorporated within the Complaint.
       UNITED STATES MAGISTRATE JUDGE                             However, in a securities fraud case, the Court may consider
                                                                  “the contents of relevant public disclosure documents which
K. NICOLE MITCHELL, UNITED STATES MAGISTRATE
                                                                  (1) are required to be filed with the SEC, and (2) are actually
JUDGE
                                                                  filed with the SEC.”    Lovelace v. Software Spectrum Inc.,
 *4 Before the Court is Defendants' Motion to Dismiss             78 F.3d 1015, 1017 (5th Cir.1996).
Plaintiff's Consolidated Complaint for Failure to State a Claim
(ECF 73) and Plaintiffs' Request for Judicial Notice (ECF 80).
Having considered the motions, responses, reply briefs, and          Rule 9 of the Federal Rules of Civil Procedure typically
sur-reply briefs, the Court recommends that the Motion to         governs allegations of fraud, but the PSLRA has heightened
Dismiss be DENIED and the Request for Judicial Notice be          the pleading standards for certain elements of private claims
GRANTED.                                                          of securities fraud 1 .  Indiana Electrical Workers' Pension
                                                                  Trust Fund IBEW v. Shaw Group, Inc., 537 F.3d 527,
                                                                  532–33 (5th Cir.2008) (The Plaintiff must: (1) allege with
                                                                  particularity why each of defendants' statements or omissions
                      BACKGROUND
                                                                  was misleading under 15 U.S.C. 78u–4(b)(1); and (2)
On July 18, 2014, Plaintiffs filed an Amended Consolidated        allege with particularity those facts giving rise to a “strong
Complaint for Violation of the Federal Securities Laws            inference” that the defendant acted with the requisite state of
against Defendants. Plaintiffs brought a securities fraud class   mind under 15 U.S.C. § 78u–4(b)(2).) Under the PSLRA, as
action on behalf of all purchasers of JC Penney common stock      in all   Rule 9(b) and 12(b)(6) motions to dismiss, the Court
between August 20, 2013 and September 26, 2013 against
JC Penney, its Chief Executive Officer (“CEO”), Myron             accepts all of Plaintiffs' factual allegations as true. ABC
E. Ullman III (“Ullman”), and its former Chief Financial          Arbitrage v. Tchuruk, 291 F.3d 336, 341 (5th Cir.2002).
Officer (“CFO”), Kenneth H. Hannah (“Hannah”) for making
materially false and misleading statements in violation of §      To state a claim for private securities fraud claim based
10(b) and § 20(a) of the Securities Exchange Act of 1934 and      on violations of 10(b) and Rule 10b–5, a plaintiff must
SEC Rule 10b–5.                                                   allege: “(1) a material misrepresentation or omission by
                                                                  the defendant; (2) scienter; (3) a connection between the
Defendants filed a Motion requesting that the Consolidated        misrepresentation or omission and the purchase or sale of a
Complaint be dismissed for failure to state a claim.              security; (4) reliance upon the misrepresentation or omission;
Defendants argue that the Plaintiffs did not meet the pleading    (5) economic loss; and (6) loss causation.”    Erica P. John
standards required by the Private Securities Litigation Reform    Fund, Inc. v. Halliburton Co., 131 S.Ct. 2179, 2184 (2011).
Act (“PSLRA”). Lead Plaintiff filed a Request for Judicial
Notice in support of Lead Plaintiff's Response to Defendants'
Motion to Dismiss.
                                                                                         DISCUSSION




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                                                                   Co., 604 F.3d 758, 775 (2nd Cir.2010). The facts pled must
                                                                   give rise to an inference of actual knowledge “cogent and at
                       Judicial Notice:
                                                                   least as compelling as any opposing inference.”       Tellabs,
 *5 Lead Plaintiff asks this Court to take judicial notice of      Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 323 (2007).
excerpts of two SEC forms filed by JC Penney. Doc. No. 80
at 1. Defendants do not object to the judicial notice requested    Certain statements alleged in the Complaint are forward-
by Lead Plaintiff but rather urge the Court to take notice of      looking statements. However, Plaintiffs have sufficiently
both of the forms in their entirety, as opposed to just the
                                                                   pled facts 3 to show that the defendants were aware of
excerpts 2 . Doc. No. 85 at 2. The Court may take judicial         undisclosed facts that would tend to seriously undermine the
notice of documents filed with the SEC “for the purpose of         accuracy of those forward-looking statements. For example,
determining what statements the documents contain, not to          on September 25, 2013, defendant Ullman assured investors
prove the truth of the documents' contents.”      Lovelace, 78     that JC Penney “did not see conditions for the rest of the
F.3d at 1018. Therefore, this Court will take judicial notice of   year where it would need to raise liquidity 4 .” Doc. No. 72
the entirety of (1) SEC Form 10–K, JC Penney Annual Report         at ¶ 7. At the time of this statement, defendants were “in
filed March 20, 2013, and (2) SEC Form 10–Q, JC Penney             the midst of pricing an almost $1 billion offering that they
Quarterly Report filed on December 5, 2013.                        would announce the next day, and a collapse in JC Penney's
                                                                   stock prior thereto would have resulted in a failed offering,
                                                                   which in turn would have forced JC Penney into bankruptcy.”
                                                                   Doc. No. 72 at ¶ 52. Plaintiffs also allege that Defendants
                     Motion to Dismiss:
                                                                   made similar misleading statements concerning inventory and
Defendants' arguments against the § 10(b) claim are threefold      suppliers while possessing knowledge to the contrary of those
and all stem from the position that the plaintiff failed to        statements. The Complaint claims that Defendants admitted
meet its pleading requirements under the PSLRA: First, that        that the offering was necessary to “eas[e] the concerns of our
the Complaint fails to plead that any of the Defendants'           vendors” and to “take away the concern that our ... supplier
statements are actionable; second, that the Complaint did not      partners have.” Doc. No. 72 at ¶ 63. These statements tend
sufficiently plead scienter; and third, that the Complaint did     to undermine the previous statements by defendants claiming
not plead causation. Because Defendants argue that the §           that “supplier relationships remain as strong as ever.” Doc.
10(b) claim does not hold up, they argue that the § 20(a) claim    No. 72 at ¶ 37. Even if these statements were looked upon as
must be dismissed as well.                                         mere “puffery”, as the defense claims, that does not negate the
                                                                   duty to disclose other information necessary to make those
                                                                   statements not misleading.       Rubinstein v. Collins, 20 F.3d
§ 10(b) claim:
                                                                   160, 170 (5th Cir.1994). Looking at the facts in the light most
Safe Harbor Provision:                                             favorable to the plaintiff, Plaintiffs have pled enough facts to
First, Defendants argue that the allegedly misleading              demonstrate that the defendants were aware of undisclosed
statements in the Plaintiffs' Complaint are forward-looking        facts that would undermine the veracity of its statements at
statements and, as such, are given extra protection                the time those statements were made.
by the PSLRA's “safe harbor” provision. The PSLRA
protects forward-looking statements: (1) made without               *6 Defendants next assert that the forward-looking
actual knowledge that the statements were false; and (2)           statements were all accompanied by meaningful, cautionary
accompanied by meaningful cautionary language. 15 U.S.C.           language and as such are protected under the PSLRA. But
§ 78u–5(c)(1)(A). For plaintiffs to adequately show “actual        the PSLRA is very specific about the type of language that
knowledge” at the motion to dismiss stage they must plead          must accompany these statements: “meaningful, cautionary
with particularity that defendants: “(1) did not genuinely         statements identifying important factors that could cause
believe the [statement when made], (2) actually knew they          actual results to differ materially from those in the forward-
had no reasonable basis for making the statement, or (3) were      looking statement ”. 15 U.S.C. § 78u–5(c)(1)(A)(i) (emphasis
aware of undisclosed facts tending to seriously undermine          added). Forward-looking statements only accompanied by
                                                                   boilerplate warnings that do not warn of a materialized risk
the accuracy of the statement[.]”    Slayton v. American Exp.



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are not afforded protection under the safe harbor provision.        of falsity. For example, on August 3, 2013, at the end of
                                                                    2Q13, Plaintiffs have pled that JCPenney's inventory was
   Lormand, 565 F.3d at 248.
                                                                    substantially depleted in core categories and “lacked the
                                                                    inventory it needed 'to do the business.'” Doc. No. 72 at ¶
Defendants point to specific cautionary language in their
                                                                    42(a). Plaintiffs allege that JC Penney purposefully delayed
motion: “The presentation this morning includes forward-
                                                                    delivery of nearly $600 million in inventory until after the
looking statements ... Any such forward-looking statements
                                                                    end of 2Q13 so as not to have to reveal that $600 million
are subject to risks and uncertainties and the Company's future
                                                                    in accounts payable exceeded JC Penney's available liquidity
results of operations could differ materially from historical
                                                                    during 2Q13. However, in the August 20, 2013 earnings
results or current expectations.” Doc. 73 at 18 n.10 (citing
                                                                    conference call led by Ullman and Hannah discussing JC
Aug. 20 Call Tr. At 2). First, calling a statement “forward-
                                                                    Penney's status as of August 3 (when 2Q13 ended), Plaintiffs
looking” does not automatically endow it with the protections
                                                                    have pled that Defendants represented that JC Penney had
of the safe harbor provision. Second, the only cautionary
                                                                    the required inventory by the end of 2Q13. Doc. No. 72 at ¶
language is too vague and general to “identify important
                                                                    40. The Complaint states that Defendants were aware of facts
factors that could cause actual results to differ materially
                                                                    undermining their statements because inventory purchases
from those in the forward-looking statement.” This “warning”
                                                                    were the subject of monthly meetings and subject to regular
merely states that there are “risks and uncertainties” and
                                                                    review by defendants. Doc. No. 72 at ¶ 42(c). Defendants
thus the future result could be different than projected.
                                                                    also later admitted to having knowledge of the timing of the
That does not rise to the level of “'substantive' company-
                                                                    inventory. Doc. No. 72 at ¶ 42(a). Taking all of the Plaintiffs'
specific warnings based on a realistic description of the risks
                                                                    allegations as true, they have sufficiently pled scienter.
applicable to the particular circumstances.”       Southland,
365 F.3d at 372. Rather, this warning is “merely a boilerplate
litany of generally applicable risk factors,” which is not          Causation:
sufficient to warrant safe harbor protection 5 . Id. Further, if     *7 Finally, Defendants argue that the Plaintiffs failed to
reasonable minds could disagree as to whether the overall           plead causation. JC Penney stock declined after a Goldman
understanding of the statements and warnings is misleading,         Sachs report was released after the market closed on
“the statutory safe harbor provision cannot provide the basis       September 24, 2013 and again declined 13% after the
                                                                    announcement of the offering after the market closed on
for dismissal as a matter of law.”       Lormand, 565 F.3d          September 26, 2013. Defendants argue that the Goldman
at 248. As such, the defendants' statements are not offered         Sachs report did not contain a previously concealed fact and
protection under the safe harbor provision of the PSLRA and         thus cannot be used to plead causation. Doc. No. 73 at 29.
are actionable.                                                     They argue that the truth about the actual capital requirements
                                                                    was not revealed until September 26, 2013 and thus the truth
                                                                    about the offering could not be the cause of the price drop
Scienter:
                                                                    on September 24. Defendants' argument seems to be that
Defendants next argue that Plaintiffs failed to sufficiently
                                                                    because JC Penney stock declined on September 25, 2013 the
plead scienter. The analysis of whether or not the
                                                                    September 26 announcement could not have been the cause
plaintiffs sufficiently pled actual knowledge has already
                                                                    of the decline in stock prices on September 27.
been discussed. By showing “actual knowledge” sufficient
to remove the safe-harbor protection from forward-looking
                                                                    Actual timing of the loss is separate from the question of
statements, the plaintiffs managed to sufficiently plead
                                                                    whether the plaintiff pled a plausible causal relationship
scienter to satisfy the second element of § 10(b). Non forward-
                                                                    between the defendants' fraudulent statements and the
looking statements have a “severe recklessness” state of mind
                                                                    plaintiffs' economic loss. Lormand, 267 n. 33. The actual
requirement, which is below that of “actual knowledge.”
                                                                    timing is a factual question and is “not enough to dismiss a
   Lormand, 565 F.3d at 251. Therefore, if the Plaintiffs           complaint that alleges a specific causal link.” Id. The truth can
sufficiently pled facts to demonstrate “actual knowledge”,          be gradually perceived in the marketplace through a series of
they have satisfied the scienter requirement of § 10(b). In         partial disclosures. Id. at 261. Under 12(b)(6), at the pleading
addition to the forward-looking statements discussed above,         stage, the plaintiff is only required to plead a plausible cause
Plaintiffs pointed to other specific statements that, if taken as   of action; it is not for this Court to decide whether that cause
true, were made with severe recklessness or actual knowledge


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                                                                    It is hereby RECOMMENDED that the Motion to Dismiss
of action will ultimately be successful.    Twombly, 550 U.S.       (ECF 73) be DENIED and Request for Judicial Notice (ECF
at 556; Tellabs, 551 U.S. at 324. Here Plaintiffs have stated       80) be GRANTED.
that the Goldman Sachs report was released on September
24, 2013 after the market closed and thus the stock price           Within fourteen days after receipt of the magistrate judge's
decreased the next day. Doc. No. 72 at ¶¶ 50–51. Plaintiffs'        report, any party may serve and file written objections to the
pled that Defendants then attempted to immediately dispel           findings and recommendations of the magistrate judge.       28
any concerns over JC Penney's financial status on September         U.S.C. § 636(b).
25 at the Stern Agee conference. Doc. No. 72 at ¶ 52. JC
Penney finally made the announcement of its $800 million            A party's failure to file written objections to the findings,
offering on September 26 after the stock market closed and the      conclusions and recommendations contained in this Report
following day the stock decreased another 13%. Doc. No. 72          within fourteen days after service shall bar that party from
at ¶¶ 59, 62. Plaintiffs have pled enough facts that, if taken as   de novo review by the district judge of those findings,
true, could establish the causal link between the Defendants'       conclusions and recommendations and, except upon grounds
misleading statements and the Plaintiffs' economic loss.            of plain error, from attacking on appeal the unobjected-to
                                                                    proposed factual findings and legal conclusions accepted and

§ 20(a) Claim:                                                      adopted by the district court. Douglass v. United Servs.
The Defendants' only challenge to Count II, the § 20(a) claim,      Auto. Assn., 79 F.3d 1415, 1430 (5th Cir.1996) (en banc),
is that a § 20(a) claim is predicated on an underlying § 10(b)      superseded by statute on other grounds,       28 U.S.C. 636(b)
violation and thus if Count I is dismissed, Count II must           (1) (extending the time to file objections from ten to fourteen
necessarily be dismissed as well. Doc. No. 73 at 30. The            days).
defense makes no other arguments as to dismissal of Count II.
Therefore, because there is sufficient evidence, at this stage,     So ORDERED and SIGNED this 11th day of September,
to show a § 10(b) violation, there is also sufficient evidence      2015.
to uphold the § 20(a) claim.

                                                                    All Citations
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                                                            Footnotes


1       Defendants cite to ¶ 42(b) but this statement is actually found in ¶ 41(b).

2       These statements fall under the heading “2Q13 Earnings Release and Conference Call”. Compl. at 12. The
        specific statements under this heading also explain that the subject of the August 20, 2013 call was the status
        of the Company as of August 3, 2013.

3       This is not the only statement that is actionable. The Complaint details multiple actionable liquidity, inventory,
        and supplier statements sufficient to overcome a motion to dismiss. Compl. ¶¶ 3, 4, 7, 35–41((1) “We are
        not assuming we need any additional financing”, (2) “we believe our existing cash and cash equivalents will
        be adequate ... ”, (3) “[I] do not see conditions for the rest of the year where [JCPenney] would need to
        raise liquidity”, (4) the Company “continues to receive strong support from its suppliers”, (5) “our supplier
        relationships remain as strong as ever”, (6) “we expect to end the year with an excess of $1.5 billion in
        liquidity.”)




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4     Defendants cite to cases regarding confidential witnesses to support the conclusion that Plaintiffs must
      plead that the source is credible. This is true when the source is a confidential witness whose credibility
      is unknown. Local 731 I.B. of T. Excavators & Pavers Pension Trust Fund v. Diodes, Inc., 67 F.Supp.3d
      782, 788 (E.D.Tex.2014). Here, we are not dealing with a confidential witness, but rather an established
      news source alleging a very specific statement. Plaintiffs allege that Ullman made statements at an investor
      meeting and the next day CNBC, a well-known news source, reported specific statements that were made.
         In re McKesson, 126 F.Supp.2d at 1272 (stating that a newspaper article that corroborates plaintiff's own
      investigation and provides detailed factual allegations could be a reasonable source of information and belief
      allegations).

5
      In addition, other Circuits have noted the Fifth Circuit's interpretation of the safe harbor provision.      Edward
      J. Goodman Life Income Trust v. Jabil Circuit, Inc., 594 F.3d 783, 794–95 (11th Cir.2010) (“the Fifth Circuit
      held that the PSLRA's safe harbor provision is not available to defendants who have actual knowledge that
      their forward-looking statements are false at the time they are made ... The court cited the statutory safe
      harbor for the proposition that a defendant may only seek shelter if the plaintiff fails to plead that the defendant
      had actual knowledge of the statement's falsity when he made it.”)

6     There are three specific warnings that defendants reference in their motion: (1) “we cannot assure that
      cash flows and other internal and external sources of liquidity will at all times be sufficient for our cash
      requirements” and “[i]f necessary, we may need to consider actions and steps to improve our cash position
      and mitigate any potential liquidity shortfall, such as modifying our business plan [and] pursuing additional
      financing to the extent available”; (2) the Company “may need to consider actions and steps to improve our
      cash position and mitigate any potential liquidity shortfall”; and (3) “Our profitability depends upon our ability
      to manage appropriate inventory levels and respond quickly to shifts in consumer demand patterns” and “[i]f
      we underestimate customer demand for our merchandise, we may experience inventory shortages which
      may result in missed sales opportunities.” Doc. No. 73 at 19, 27. The first two statements go to liquidity,
      the third goes to inventory. Id. Defendants did not argue that the supplier statements were accompanied by
      meaningful, cautionary language.

1     The PSLRA did not create heightened pleading standards for all six elements in a claim of securities fraud,
      only the first two: the material misrepresentations and scienter.       Lormand v. U.S. Unwired Inc., 565 F.3d
      228, 267 (5th Cir.2009).

2     Defendants also urge this Court that the Plaintiffs' use of material outside of the pleadings supports a dismissal
      with prejudice. This is a misreading of ABC Arbitrage. In that case, the Court afforded the Plaintiffs two
      chances to replead their cause of action before dismissal with prejudice was warranted.   ABC Arbitrage,
      291 F.3d at 362. Defendants have also pointed to no case law stating that requesting judicial notice of a
      relevant public disclosure document would qualify as an “amendment” to the Complaint. Rather, Fifth Circuit
      precedent provides that a court may look outside the Complaint in securities cases and take judicial notice
      of SEC filings.    Lovelace, 78 F.3d at 1018.

3     At the motion to dismiss stage, stating facts upon “information and belief” can be sufficient to meet the
      PSLRA pleading standard. If an allegation is made on information and belief, “the complaint shall state with
      particularity all facts on which that belief is formed.”   ABC Arbitrage, 291 F.3d at 349.

4     This statement was made public in a report by Stern Agee and CNBC. Defendants argue that the Plaintiffs
      cannot attribute the CNBC and Stern Agee reports to the defendants. Doc. No. 73 at 20. Securities issuers
      are liable for statements by securities analysts when they have “sufficiently entangled [themselves] with the



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      analysts' forecasts [so as] to render those predictions attributable to [the issuers].” Southland Sec. Corp. v.
      INSpireIns. Solutions, Inc., 365 F.3d 353, 373 (5th Cir.2004). The Complaint must allege “who supplied the
      information to the analyst, how the analyst received the information, and how the defendant was entangled
      with or manipulated the information and the analyst.” Id. Here, Plaintiffs' Complaint states that defendant
      Ullman made statements to attendees at a Stern Agee conference on September 25 which were then reported
      by CNBC and Stern Agee. Doc. No. 72 at ¶¶ 7, 52–54. Plaintiffs sufficiently stated that a defendant provided
      misleading information to an analyst who relied on that information to prepare a report.

5     Defendants also point to another statement tending to prove that these statements were in fact forward-
      looking: “[T]he Company expects to end the year with in excess of $1.5 billion ... we have projected we are
      not assuming that we need any additional financing.” Doc. No. 73 at 18 n.11. But again, merely noting that
      a statement may be forward-looking does not mean that it is automatically afforded safe harbor protection
      under the PSLRA. There must be meaningful, cautionary language accompanying the statement.



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                       TAB No. 14




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                                                               *1 Three investors 1 filed putative class actions against
                    2022 WL 377415                            Spirit AeroSystems Holdings, Inc. (Spirit), a publicly traded
     Only the Westlaw citation is currently available.        company, and certain of its senior executives asserting
      United States District Court, N.D. Oklahoma.            claims under Section 10(b) and Section 20(a) of the
                                                              Securities Exchange Act of 1934, as amended by the Private
        MEITAV DASH PROVIDENT FUNDS
                                                              Securities Litigation Reform Act of 1995 (PSLRA),          15
          AND PENSION LTD., Lead Plaintiff,
                                                              U.S.C. § 78j(b) and 78t(a), and Rule 10b-5 promulgated
                            and
                                                              thereunder, 17 C.F.R. § 240.10b-5. The court entered an
    Jacob Goldman, Individually and on behalf of all          order (1) consolidating the actions, designating Case No.
    other similarly situated, Gary Smith, Individually        20-CV-0054 as the base file; (2) appointing Meitav Dash
    and on behalf of all others similarly situated, and       Provident Funds and Pension Ltd. (Meitav) to serve as
      Employees' Retirement System of the City of             lead plaintiff; and (3) approving the selection of lead
   Providence, City of Miami Fire Fighters' and Police        counsel, additional counsel, and liaison counsel. Thereafter,
   Officers' Retirement Trust, Consolidated Plaintiffs,       as ordered by the court, Meitav and consolidated plaintiffs,
                             v.                               Gary Smith (Smith) and City of Miami Fire Fighters'
  SPIRIT AEROSYSTEMS HOLDINGS, INC., Thomas                   and Police Officers' Retirement Trust (Retirement Trust)
                                                              filed a Consolidated Class Action Complaint (consolidated
   G. Gentile, III, Jose Garcia, John Gilson, and Shawn
                                                              complaint), superseding all filed complaints. Defendants have
    Campbell, Defendants/Consolidated Defendants.
                                                              moved to dismiss the consolidated complaint. Doc. nos. 77,
       Case No. 20-cv-00054-SPF-JFJ, Case No. 20-             78 and 79. Lead plaintiff and consolidated plaintiffs have
     cv-00077-SPF-JFJ, Case No. 20-cv-00117-SPF-JFJ           responded, opposing dismissal. 2 Doc. no. 90. Defendants
                            |                                 have replied. Doc. nos. 91, 92 and 93. Subsequently, the case
                    Signed 01/07/2022                         was transferred to the undersigned. Upon due consideration
                                                              of the parties' submissions and relevant law, the court makes
Attorneys and Law Firms
                                                              its determination. 3
Laurence M. Rosen, Phillip Kim, The Rosen Law Firm, P.A.,
Brian Calandra, Pomerantz LLP, David J. Schwartz, Francis
Paul McConville, Irina Vasilchenko, James W. Johnson,                                        I.
Labaton Sucharow LLP, John J. Esmay, Bernstein Litowitz
Berger & Grossmann LLP, New York, NY, James Michael
                                                                                          Parties
Reed, Hall Estill Hardwick Gable Golden & Nelson, Tulsa,
OK, for Lead Plaintiff/Consolidated Plaintiffs.               Lead plaintiff Meitav is one of the leading investment
                                                              houses in Israel. Consolidated plaintiff Retirement Trust
R. Richard Love, III, Conner & Winters LLP, John
                                                              provides retirement and disability benefits to participating
Christopher Davis, Johnson & Jones PC, Jessica Lynn
                                                              firefighters and police officers of the City of Miami, Florida.
Dickerson, Mary Quinn-Cooper, McAfee & Taft, Tulsa,
                                                              Consolidated plaintiff Smith is a securities investor. Plaintiffs
OK, Robert Ritchie, Vinson & Elkins LLP, Carrington
                                                              bring this securities fraud action, individually and on behalf
Giammittorio, Haynes and Boone, LLP, Daniel Gold,
                                                              of all persons and entities who or which, during the
Shearman & Sterling LLP, Dallas, TX, Andrew Rodgers,
                                                              period from October 31, 2019, through February 27, 2020,
Patrick Joseph Smith, Smith Villazor LLP, New York, NY,
                                                              inclusive (the Class Period), purchased Spirit's publicly traded
Spencer Freeman Smith, McAfee & Taft, Oklahoma City,
                                                              common stock and suffered damages. Plaintiffs claim they
OK, for Defendants/Consolidated Defendants.
                                                              purchased Spirit's stock at artificially inflated prices during
                                                              the Class Period and were damaged upon revelation of alleged
                                                              corrective disclosures or materializations of the risks.
                        ORDER

STEPHEN P. FRIOT, UNITED STATES DISTRICT JUDGE                 *2 Defendant Spirit is a Delaware corporation with its
                                                              headquarters in Wichita, Kansas. It is one of the largest



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independent non-OEM (original equipment manufacturer)              aircraft shipsets (fuselage and other components) per month
commercial aerostructure designers and manufacturers in            to minimize supply chain disruptions. Spirit was to maintain
the world. Spun off in 2005 from a division of The                 its production rate of 52 aircraft shipsets per month until May
Boeing Company (“Boeing”), Spirit is the largest independent       1, 2020, unless advised otherwise. Boeing would pay for all
supplier of aerostructures (primarily fuselages) for Boeing's      52 aircraft shipsets each month and have Spirit store the 10
commercial aircraft. Sales to Boeing accounted for roughly 79      excess aircraft shipsets at its Wichita facility or at McConnell
percent of Spirit's net revenues in fiscal years 2018 and 2019.    Air Force Base, adjacent to the Wichita facility. When Boeing
During the Class Period, more than 50 percent of Spirit's          increased its production rate per month to 57 aircraft per
revenues were dependent on Boeing's 737 MAX jetliners.             month as originally planned prior to the crashes, Spirit would
Spirit's securities trade on the New York Stock Exchange           maintain its 52 aircraft shipsets per month production rate and
under the ticker symbol “SPR.” As of April 29, 2020, Spirit        satisfy Boeing's increased demand by slowly “burn[ing] off”
had over 105 million shares of common stock outstanding,           its accumulated inventory of 737 MAX shipsets. Doc. no. 49,
“owned by hundreds or thousands of investors.” Doc. no. 49,        ¶ 76.
¶ 36.
                                                                   Over the next few months, defendants publicly reiterated that
Defendant Thomas C. Gentile, III (Gentile) serves as Spirit's      Spirit intended to maintain its 52 aircraft shipsets per month
President and Chief Executive Officer and has occupied             production rate and minimized the likelihood of any cuts in
those positions since August 1, 2016. Defendant Jose Garcia        the rate of production despite the continued grounding of the
(Garcia) is Spirit's former Senior Vice President and Chief        737 MAX jetliners. Analysts believed defendants' assurances
Financial Officer, having served the company in that capacity      that Spirit had successfully navigated the issues surrounding
from January 9, 2019, until January 29, 2020. Defendant            the 737 MAX program–critical to Spirit's financial success–
John Gilson (Gilson) served as Spirit's Vice President and         and would continue to do so.
Corporate Controller from January 8, 2018, until January 29,
2020. Defendant Shawn Campbell (Campbell) was Spirit's              *3 According to a former Spirit employee, 6 designated in
Vice President for the 737 NG and 737 MAX programs, 4              the consolidated complaint as FE 7, in either late September
serving the company from March 2016 until January of 2020.         or early October of 2019 at one of the frequent meetings
                                                                   between Boeing and Spirit to discuss the production of
                                                                   the 737 MAX, Boeing told Spirit to cut the production
                                                                   rate of 737 MAX shipsets in half. Campbell attended that
                              II.
                                                                   meeting. The confidential witness believed Garcia and Gilson
                                                                   also attended the meeting because they generally attended
                         Background                                such meetings, and the production rate schedule required
                                                                   their sign-off. The confidential witness learned about the
In October of 2018 and March of 2019, two 737 MAX                  production rate cut from her direct supervisor, Angel Little,
jetliners crashed after take-off, killing all passengers on        and Campbell. According to the witness, Campbell disclosed
board. All 737 MAX jetliners were grounded on March                the production rate cut in a regular meeting of the business
13, 2019, pending recertification by aviation authorities. 5       operations team relating to production. The confidential
Securities analysts following Spirit recognized that the           witness claims defendants began creating a plan to implement
737 MAX jetliners' grounding would negatively impact               the cut, including running related layoff analyses, and the
Spirit's financial condition, particularly if Boeing altered its   results of the analyses were approved by executives, including
production schedule.                                               Campbell, and presented to Gentile just before the end of
                                                                   October 2019.
On April 5, 2019, Boeing announced that it would reduce
its production rate of the 737 MAX jetliners from 52 to            Another former Spirit employee, designated in the
42 aircraft per month. Later that day, Spirit announced            consolidated complaint as FE 8, claimed that in September or
that it and Boeing had entered into a Memorandum of                October of 2019, other suppliers that interfaced directly with
Agreement, wherein the companies agreed that, despite              Boeing were apparently notified by Boeing that it planned to
Boeing's reduction of its production rate to 42 aircraft per       substantially reduce its 737 MAX production rate, and they
month, Spirit would maintain its prior production rate of 52       called FE 8, as a supply chain procurement agent, to ask for



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Spirit's updated forecasts for parts and materials based upon      and recording adverse claims for compensation made by
Boeing's lower production rate. FE 8 advised that she had not      Spirit's customers, such as Boeing, with respect to the 737
received an internal update from Spirit at that point.             MAX program. The employees claim Gentile, Garcia, and
                                                                   Gilson, who were involved in overseeing the EAC process,
Plaintiffs allege that on October 31, 2019, Gentile, Garcia,       failed to implement effective internal controls, and permitted
and Gilson made public statements that Spirit would maintain       Campbell to manipulate and understate Boeing Claims 7 to
the 52 aircraft shipsets per month production rate, concealing     make the 737 MAX program appear more profitable than it
Boeing's directive to cut the production rate in half.             really was.

According to another former Spirit employee, designated in          *4 Plaintiffs claim the truth regarding the deficient internal
the consolidated complaint as FE 2, a senior Spirit executive      controls over the EAC process emerged on January 30,
announced at a daily internal meeting in mid-November of           2020. On that date, Spirit disclosed it had not complied
2019 that Boeing had decided that Spirit should temporarily        with its established accounting procedures relating to certain
halt 737 MAX production after the fourth quarter of 2019.          contingent liabilities (customer claims) that were received
Plaintiffs claim Gentile and Garcia concealed this damaging        by the company after the end of the third quarter of
development by stating several days later at an analyst            2019. The company announced that Garcia and Gilson had
meeting hosted by Jefferies LLC that Spirit's 737 MAX              tendered their resignations “[i]n light of these findings.” Doc.
production was to stay at the rate of 52 aircraft shipsets per     no. 49, ¶ 206 (emphasis omitted). According to a former
month until May 2020.                                              Spirit employee, designated as FE 11, Campbell was fired
                                                                   a week before Garcia and Gilson resigned. Subsequently,
After the close of trading on December 16, 2019, Boeing            on February 28, 2020, the company stated the accounting
publicly disclosed that it was halting production of the           violations occurred due to a “material weakness” in the
737 MAX beginning in January 2020. Spirit's stock price            internal controls related to the EAC process for customer
declined following Boeing's announcement. Plaintiffs claim         claims and assertions. Id., ¶ 215 (emphasis omitted). The
Gentile downplayed the impact of the revelation by falsely         company further noted that the material weakness related to
reassuring Spirit's investors, among other things, that he was     76 percent of the company's contracts, that “noncompliance”
not expecting to have to implement layoffs, even though Spirit     with its established accounting procedures “is a critical
had begun planning for layoffs in October. However, a few          item the [c]ompany must address” and that it resulted in
weeks later, on January 10, 2020, Spirit publicly disclosed        deficient “internal controls over financial reporting.” Id., ¶¶
that it was laying off 2,800 employees at its Wichita facility     28, 215. Spirit's stock price dropped after both the January
due to the 737 MAX production halt. Spirit's stock price fell      and February disclosures.
again. According to plaintiffs, Spirit's stock price declined
again upon additional disclosures on January 30, 2020, and         Plaintiffs allege defendants violated Section 10(b) of the
February 28, 2020, that the 737 MAX production rate in 2020        Securities Exchange Act and Subsection (b) of Rule 10b-5
would amount to a total of 216 aircraft shipsets—over 66           by making false and materially misleading statements
percent lower than in 2019—and the company would not               concerning the 52 aircraft shipset production rate and
return to the prior 52 aircraft shipsets per month production      by making false and materially misleading statements
rate until 2022.                                                   concerning the compliance with established accounting
                                                                   procedures and the effectiveness of Spirit's internal controls.
In addition to misleading investors about the 737 MAX
production rate, plaintiffs claim that during the Class Period,    In addition, plaintiffs allege defendants violated Section 10(b)
defendants publicly misrepresented Spirit's compliance with        and Subsection (a) and Subsection (c) of Rule 10(b)(5) by
established accounting procedures and the effectiveness of         carrying out a common plan, scheme, and unlawful course of
its internal controls over its financial reporting. According to   conduct which was intended to and did deceive the investing
the former Spirit employees designated in the consolidated         public, artificially inflate the price of Spirit's common stock
complaint as FE 9 and FE 10, there was a failure to                and cause plaintiffs to purchase the stock at artificially
place sufficient safeguards on the company's accounting            inflated prices.
processes related to the determination of what is known as the
“estimate at completion” (EAC), in connection with valuing



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Plaintiffs further assert claims against the individual
defendants under Section 20(a) of the Securities Exchange       Defendants argue that plaintiffs have failed to sufficiently
Act, 15 U.S.C. § 78t(a), which creates joint and several        plead the first and third elements.
liability for a “control person” of a party found liable for
                                                                Count III of the consolidated complaint alleges violations of
violations of securities laws.   Maher v. Durango Metals,
                                                                Section 10(b) and Rule 10b-5, subsections (a) and (c), against
Inc., 144 F.3d 1302, 1305 (10th Cir. 1998).
                                                                all defendants. “Unlike a claim under subsection (b) of Rule
                                                                10b-5, a claim of liability for violations of subsections (a) and
                                                                (c) does not require an allegation that the defendant made a
                             III.                               false or misleading statement; rather, liability is premised on a
                                                                course of deceptive or manipulative conduct.” Takata v. Riot
               Elements of Plaintiffs' Claims                   Blockchain, Inc., Civ. Action No. 18-02293 (FLW), 2020 WL
                                                                2079375, at *14 (D.N.J. Apr. 30, 2020). To state a claim under
Section 10(b) of the Securities Exchange Act and its            subsections (a) and (c) of Rule 10b-5, plaintiffs must allege
implementing regulation, Rule 10b-5, Subsection (b),            that defendants committed a deceptive or manipulative act
“prohibit making any material misstatement or omission          in addition to the other standard elements of a Section 10(b)
in connection with the purchase or sale of any security.”       violation. Id.

   Halliburton Co. v. Erica P. John Fund, Inc., 573 U.S. 258,
                                                                 *5 In their motions, defendants posit that plaintiffs have
267 (2014). The Supreme Court has “inferred from these
                                                                failed to sufficiently plead deceptive or manipulative conduct.
provisions an implied private cause of action permitting the
                                                                Defendants also argue that plaintiffs have failed to plead the
recovery of damages for securities fraud.” Goldman Sachs        requisite reliance element.
Group, Inc. v. Arkansas Teacher Retirement System, 141
S.Ct. 1951, 1958 (2021) (citing     Halliburton Co., 573 U.S.   Count II of the consolidated complaint asserts liability under
at 267).                                                        Section 20(a) of the Securities Exchange Act against the
                                                                individual defendants, Gentile, Garcia, Gilson, and Campbell.
Count I of the consolidated complaint alleges violations of     To state a claim under Section 20(a), plaintiffs must allege (1)
Section 10(b) and Rule 10b-5, subsection (b), against Spirit,   a primary violation of the securities laws; and (2) control over
Gentile, Garcia, and Gilson. To state a claim under Section     the primary violator by the alleged controlling person. City
10(b) and Rule 10b-5(b), plaintiffs must allege:                of Philadelphia v. Fleming Companies, Inc., 264 F.3d 1245,
                                                                1270 (10th Cir. 2001). If a plaintiff has not adequately alleged
                                                                a primary violation of the securities law, then the Section
            (1) the defendant made an untrue                    20(a) claim is properly dismissed. Id.
            or misleading statement of material
            fact, or failed to state a material                 Defendants argue that plaintiffs' Section 20(a) claims fail
            fact necessary to make statements                   because they have not adequately alleged a primary violation
            not misleading; (2) the statement                   of the securities laws.
            complained of was made in connection
            with the purchase or sale of securities;
            (3) the defendant acted with scienter,
                                                                                               IV.
            that is, with intent to defraud or
            recklessness; (4) the plaintiff relied on
            the misleading statements; and (5) the                                      Legal Standards
            plaintiff suffered damages as a result of
                                                                Generally, “[t]o survive a motion to dismiss [under Rule 12(b)
            his reliance.
                                                                (6), Fed. R. Civ. P.], a complaint must contain sufficient
                                                                factual matter, accepted as true, to ‘state a claim to relief that

Smallen v. The Western Union Company, 950 F.3d 1297,            is plausible on its face.’ ”   Ashcroft v. Iqbal, 556 U.S. 662,
1304 (10th Cir. 2020) (emphasis omitted).


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                                                                    which that belief is formed.” 15 U.S.C. § 78u-4(b)(1). As
678 (2009) (quoting      Bell Atlantic Corp. v. Twombly, 550
                                                                    to the scienter element, the PSLRA requires a plaintiff to,
U.S. 544, 570 (2007)). “A claim has facial plausibility when
                                                                    “with respect to each act or omission alleged..., state with
the plaintiff pleads factual content that allows the court to
                                                                    particularity facts giving rise to a strong inference that the
draw the reasonable inference that the defendant is liable for
                                                                    defendant[s] acted with the required state of mind.” 15 U.S.C.
the misconduct alleged.” Id. (citing     Twombly, 550 U.S. at       § 78u-4(b)(2)(A). “The inquiry ... is whether all of the facts
556).                                                               alleged, taken collectively, give rise to a strong inference of
                                                                    scienter, not whether any individual allegation, scrutinized in
When “faced with a Rule 12(b)(6) motion to dismiss a § 10(b)
                                                                    isolation, meets that standard.” Tellabs, 551 U.S. at 322-23
action, courts must, as with any motion to dismiss for failure
                                                                    (emphasis in original). A complaint survives dismissal “only
to plead a claim on which relief can be granted, accept all
                                                                    if a reasonable person would deem the inference of scienter
factual allegations in the complaint as true.”      Tellabs, Inc.   cogent and at least as compelling as any plausible opposing
v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007). In
                                                                    inference one could draw from the facts alleged.”        Id. at
addition, “courts must consider the complaint in its entirety, as
                                                                    324.
well as other sources courts ordinarily examine when ruling
on Rule 12(b)(6) motions to dismiss,” including “documents
incorporated into the complaint by reference, [ ] matters of
which a court may take judicial notice,” and “documents                                           V.
referred to in the complaint if the documents are central to the
plaintiff's claim and the parties do not dispute the documents'
                                                                               Consideration of Defendants' Exhibits
authenticity.” Id.;  Jacobsen v. Deseret Book Co., 287 F.3d
936, 941 (10th Cir. 2002) (citation omitted).                        *6 Defendants Spirit, Gentile and Campbell attach various
                                                                    documents to their motion and request the court to consider
Any complaint alleging securities fraud must satisfy the            them without converting the motion into one for summary
                                                                    judgment. 8 The documents consist of (1) transcripts of the
heightened pleading requirements of         Rule 9(b), Fed. R.
                                                                    third quarter 2019 earnings conference call with analysts
Civ. P., and the PSLRA.         Tellabs, 551 U.S. at 319-321.       and reporters held on October 23, 2019, and the Baird
   Rule 9(b) requires plaintiffs to “state with particularity the   Global Industrial Conference held on November 6, 2019,
                                                                    both involving Boeing (doc. nos. 77-3, 77-4); (2) Spirit's
circumstances constituting the fraud.”       Rule 9(b), Fed. R.     Form 10-K for the fiscal year ending December 31, 2019
Civ. P. “At a minimum,       Rule 9(b) requires that a plaintiff    and Spirit's Form 10-Q for the quarterly period ending
set forth the who, what, when, where and how of the alleged         September 26, 2019, both filed with the Securities and
fraud[ ] and must set forth the time, place, and contents of the    Exchange Commission (SEC) (doc. nos. 77-5, 77-7); (3) the
false representation, the identity of the party making the false    Jefferies' analyst report dated November 24, 2019 (doc. no.
                                                                    77-6); and (4) two Form 4, Statement of Changes in Beneficial
statements and the consequences thereof.”       United States
                                                                    Ownership of Securities, filed with the SEC with respect to
ex. rel. Sikkenga v. Regence Bluecross Blueshield of Utah,
                                                                    Gentile (doc. no. 77-8).
472 F.3d 702, 726-27 (10th Cir. 2006), abrogated on other
grounds by Cochise Consultancy, Inc. v. United States ex rel.
                                                                    Plaintiffs only object to the court's consideration of the
Hunt, 139 S.Ct. 791 (2019) (quotations and citations omitted).
                                                                    transcripts of the earnings call and conference involving
                                                                    Boeing. Specifically, they assert that defendants seek judicial
Under the PSLRA, plaintiffs are required to “state with
                                                                    notice of those transcripts for the purpose of establishing the
particularity both the facts constituting the alleged violation,
                                                                    truth of the matters asserted in them, which is not permissible
and the facts evidencing scienter.”     Tellabs, 551 U.S. at        under Tenth Circuit authority. In response, defendants counter
313. The complaint must “specify each statement alleged             that the court may properly consider the publicly available
to have been misleading, the reason or reasons why the              investor call transcripts because they are being used for
statement is misleading, and, if an allegation regarding the        the “purpose of showing that various disclosures were
statement or omission is made on information and belief,            made and available to investors.” Doc. no. 91, ECF p. 9
the complaint shall state with particularity all facts on


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                                                                    court concludes that they may properly be considered in
(quoting     Chipman v. Aspenbio Pharma, Inc., Civil No.
                                                                    adjudicating defendants' motions.
11-cv-00163-REB-KMT, 2012 WL 4069353, at *2 (D. Colo.
Sept. 17, 2012)).

The court agrees with plaintiffs that it should not take judicial                                 VI.
notice of the transcripts. In the October 23, 2019 earnings call,
Boeing's Chief Executive Officer stated that Boeing's “best
                                                                                  Count I – Claims Under Section
current estimate” was for “a return of service of the MAX
                                                                                10(b) and Rule 10b-5, Subsection (b)
that begins this quarter,” and that it expected the company
to “maintain [its] current production rate of 42 [737 MAX]            A. Alleged False and Misleading Statements
deliveries per month ... followed by incremental rate increases
that would bring [Boeing's] production rate to 57 by late
2020.” Doc. no. 77-3, ECF p. 7. At the November 6, 2019                         (i). Aircraft Shipset Production Rate
investor conference, Boeing's Chief Financial Officer stated
that it was “still the plan” for Boeing “to move up from 42”                             a. October 31, 2019
737 MAX deliveries and “try to achieve [ ] 57” deliveries a
month “exiting 2020.” Doc. no. 77-2, ECF pp. 10-11. Despite         Plaintiffs allege that Garcia, Gilson and Gentile publicly
their response, defendants do not ask the court to consider         made false and misleading statements on October 31, 2019,
the transcripts to establish what was publicly available to         reaffirming that Spirit would continue the 52 aircraft shipsets
investors at the time of the alleged fraud. Rather, they            per month production rate. Plaintiffs allege that defendants'
seek the court's consideration of the transcripts to establish      statements were false and misleading because Boeing had
that defendants' public statements on October 31, 2019              already told Spirit in late September or early October 2019
were not actionably misleading. According to defendants,            to cut its 737 MAX production rate in half, and soon
at the time Gentile, Garcia and Gilson made their October           after receiving that notification Spirit had begun planning to
31, 2019 statements, “the most authoritative and most               take the steps needed to reduce its production accordingly.
recent statements they had received from Boeing indicated           The specific alleged false and misleading statements are as
that Boeing was not planning any reduction in 737 MAX               follows.
production.” Doc. no. 77, ECF p. 22 (emphasis in original).
Defendants assert that this is what they told the market in         Form 10-Q (for the quarter ending September 26, 2019),
their October 31 statements, and therefore “Plaintiffs have         signed by Garcia and Gilson and filed with the SEC, stated
fallen far short of alleging that [the] October 31 Statements       in relevant part:
were misleading under the stringent Omnicare 9 standard.”             We expect that the annualized average monthly shipset
Id. at ECF pp. 22-23. They also note that the statements render       deliveries over the course of the year to be at rate 52 subject
implausible the former Spirit employee's account that Boeing          to any reductions that Boeing may decide to implement.
instructed Spirit to cut the 52 shipsets production rate in half.
Id. at ECF p. 22, n. 9. The court concludes that defendants'                                       ****
submission of the transcripts is for the purpose of establishing
the truth of the matters asserted in them, rather than showing        For so long as the grounding of the B737 MAX fleet
what information was available to investors at the time, and          continues, there may be further reductions in the production
therefore declines to consider the transcripts in adjudicating        rate, including a temporary shutdown in production. To
                                                                      the extent that the grounding of the B737 MAX fleet
defendants' dismissal motions. See, Tal v. Hogan, 453 F.3d
                                                                      continues for an extended period of time and Spirit is
1244, 1264 n. 24 (10th Cir. 2006) (documents may only be
                                                                      required to further reduce its production rate on the B737
considered to show their contents, not to prove the truth of the
                                                                      MAX aircraft, Spirit's business, financial condition, results
matter asserted in them).
                                                                      of operations and cash flows could be materially adversely
                                                                      impacted.
 *7 As to the other documents (the SEC filings and
analyst's report), whose consideration is unopposed, the            Doc. no. 49, ¶ 225 (emphasis omitted); doc. no. 77-1,
                                                                    statements #1 and #2.



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                                                                maintain that plaintiffs cannot rely upon the account of
The press release filed with the SEC on Form 8-K signed by      confidential witness FE 7, a Business Operations Specialist,
Garcia stated in relevant part:                                 to establish particular and material facts not disclosed by
                                                                defendants. Defendants contend that FE 7's account of Boeing
                                                                directing Spirit in late September or early October 2019 to cut
            Spirit continues to produce at a rate               its production rate of 737 MAX shipsets in half does not meet
            of 52 aircraft per month in accordance              the PSLRA's stringent particularity requirement. Defendants
            with its agreement with Boeing.                     assert that FE 7's account is vague, conclusory and based
                                                                upon multiple hearsay. They maintain that FE 7's account is
                                                                particularly deficient in that FE 7 does not claim to know the
                                                                ultimate source of her hearsay information. Defendants assert
Doc. no. 49, ¶ 226 (emphasis omitted); doc. no. 77-1,
                                                                that the consolidated complaint provides no information
statement #3.
                                                                indicating who from Boeing gave the directive to Spirit to cut
                                                                737 MAX production in half or whether that individual had
During the earnings call relating to the quarter ending
                                                                authority to issue the directive to Spirit. Without knowing who
September 26, 2019, Gentile stated:
                                                                from Boeing made the statement and exactly what was said,
  [W]e are continuing to produce at a rate of 52 aircraft per   defendants posit that it is impossible to discern whether the
  month as we agreed with Boeing[.]”                            statement was a definitive directive or a mere discussion of
                                                                possibilities. Defendants contend that FE 7's account suggests
                             ****                               that the notification, if it occurred, was merely a discussion
                                                                of possibilities because the allegations show Spirit did not
  Our current expectations are that we will continue to
                                                                make any immediate changes to its production, only a few of
  produce at rate 52 ... Given current production and storage
                                                                Spirit's employees were purportedly told about the directive,
  levels, our expectation is that we will not produce at a
                                                                and FE 7 was tasked with running “exercises” about the
  rate higher than 52 through 2020, [20]21 and possibly into
                                                                number of resulting layoffs that would be required. Further,
  2022.
                                                                defendants argue that while plaintiffs attempt to corroborate
                             ****                               FE 7's account with FE 8's account, FE 8's account of Spirit
                                                                not changing its purchase orders suggests that Boeing did not
  If Boeing goes down more, we would sit down and talk          issue any draconian directive of a production rate cut in late
  with them about what's the appropriate production level for   September or early October 2019. Defendants contend that if
  us ... Now what I would say though is that this period of     Spirit had been told to cut its production schedule, it would
  time where we're at 52, gives us a chance to achieve some     likely have updated its purchase orders to avoid obtaining
  stability ... Now we're going to be at 52 for an extended     unnecessary materials from suppliers.
  period of time.”
                                                                 *8 Where allegations regarding a statement or omission are
Doc. no. 49, ¶¶ 227, 228 and 229 (emphasis omitted); doc. no.   made on information and belief, “the complaint shall state
77-1, statements #4, #5, and #6.                                with particularity all facts on which that belief is formed.” 15
                                                                U.S.C. § 78u-4(b)(1)(B). Plaintiffs are required “to identify
Defendants contend plaintiffs have not sufficiently alleged     in the complaint specific facts that support the allegations
that any of these statements were actionably misleading.        about the misleading nature of the defendant's statements.
According to defendants, the alleged statements express         Generalized or conclusory allegations of fraud will not be
expectations about the future rather than presently existing
facts, and, therefore, constitute statements of opinion. To     sufficient.” Adams v. Kinder-Morgan, Inc., 340 F.3d 1083,
render opinion statements actionable, defendants assert that    1098 (10th Cir. 2003). However, plaintiffs are not required to
plaintiffs must identify “ ‘particular (and material) facts’    “plead with particularity every single fact upon which their
that were not disclosed and ‘that cannot be squared’ with       beliefs concerning false or misleading statements are based.”
the statement of opinion.” Doc. no. 77, ECF p. 18 (citing          Id. at 1098-99 (quotation marks omitted). Plaintiffs “need
   Omnicare Inc. v. Laborers Dist. Council Const. Industry      only plead with particularity sufficient facts to support those
Pension Fund, 575 U.S. 175, 191, 194 (2015)). Defendants        beliefs.” Id. (quotation omitted, emphasis in original).



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                                                                  Doc. no. 49, ¶ 104. The facts surrounding how FE 7 came to
The court must evaluate “the facts alleged in a complaint         know the facts alleged with respect to the production rate cut
to determine whether, taken as a whole, they support a            are particularly detailed, numerous, plausible, and objectively
reasonable belief that the defendant's statements identified      verifiable by defendants.
by the plaintiff were false and misleading.”       Adams, 340
                                                                  Although the information provided by FE 7 that “at one
F.3d at 1099. That evaluation will involve “(1) the level of
                                                                  of the frequent meetings between Spirit and Boeing ...
detail provided by the facts stated in a complaint; (2) the
                                                                  Boeing told Spirit to cut production of the 737 MAX in
number of facts provided; (3) the coherence and plausibility
of the facts when considered together; (4) whether the source     half,” doc. no. 49, ¶ 102, is hearsay, 10 “the fact that a
of the plaintiff's knowledge about a stated fact is disclosed;    confidential witness reports hearsay does not automatically
(5) the reliability of the sources from which the facts were      disqualify [her] statement from consideration in the [falsity or
obtained; and (6) any other indicia of how strongly the           misleading] calculus.”       Zucco Partners, LLC v. Digimarc
facts support the conclusion that a reasonable person would       Corp., 552 F.3d 981, 998 n. 4 (9th Cir. 2009). Instead, the
believe that the defendant's statements were misleading.”         court must examine the witness's hearsay report to determine
Id. “If, measuring the nature of the facts alleged against        if it is “sufficiently reliable, plausible, or coherent[.]” Id.
these indicia, a reasonable person would believe that the         The court concludes that despite not specifically identifying
defendant's statements were false or misleading, the plaintiff    which manager at Boeing told Spirit to cut the production
has sufficiently pled with particularity facts supporting his     rate in half, plaintiffs have provided supporting context and
belief in the misleading nature of the defendant's statements.”   details enabling the court to determine that the information
Id.                                                               is sufficiently reliable. The court is not convinced that FE 7's
                                                                  description of Boeing's notification is conclusory or vague as
Plaintiffs are not required to disclose the documentary or        argued by defendants. In the court's view, the facts alleged will
personal sources from which they learned facts alleged in         support a reasonable belief that the defendants' statements
an information and belief complaint.         Adams, 340 F.3d      were false or misleading.
at 1103. “[W]here a plaintiff does not identify the sources
of the facts stated in the complaint, the facts alleged in         *9 The court additionally concludes that FE 8's account,
an information and belief complaint will usually have to          viewed in plaintiffs' favor, corroborates FE 7's account. And
be particularly detailed, numerous, plausible, or objectively     the court credits the allegations attributed to both FE 7 and
verifiable by the defendant before they will support a            FE 8 because the factual allegations demonstrate they were
reasonable belief that the defendant's statements were false or   positioned to know the information provided, and despite
misleading.” Id.                                                  defendants' arguments, they form a plausible and coherent
                                                                  narrative. The court concludes that plaintiffs' allegations are
In their consolidated complaint, plaintiffs do not identify       sufficient to satisfy the particularity requirements of the
the source of their allegation that Boeing told Spirit in late    PSLRA (as well as       Rule 9(b)).
September or early October of 2019 to cut its 737 MAX
production in half. However, they describe the job title,         Next, defendants argue that even if the court were to credit
time spent in that position, the supervisors, and the specific    FE 7's account, that account is not sufficient to render
duties of the confidential witness FE 7. The level of facts       the October 31, 2019 statements actionably misleading.
provided demonstrate that FE 7 was positioned to have             Defendants specifically rely upon the statements of Boeing's
known the information alleged about the production rate cut.      CEO and CFO on October 23, 2019, that the company was
Plaintiffs set forth facts to show that Campbell, who was in      expecting to maintain its 42 aircraft per month production
charge of the 737 MAX program and had been present at             rate, with an incremental or gradual increase to 57 aircraft
the meeting between Boeing and Spirit, informed FE 7 of           per month by late 2020. However, as discussed, the court
Boeing's notification at a weekly meeting related to the 737      has declined to take judicial notice of those statements.
MAX production, and because of that notification, FE 7 was        Consequently, the court rejects defendants' arguments that
tasked by her direct supervisor, Angel Little, with providing     October 31, 2019 statements with respect to Spirit's 737 MAX
data to assist others in analyzing “the appropriate level of      shipsets production rate are not actionably misleading given
workers needed to continue production at the new lower rate.”



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the statements of Boeing's CEO and CFO on October 23,
2019.
                                                                                        (b). November 24, 2019
In his motion, Gilson asserts that the only statement
attributable to him regarding the 52 aircraft shipset production     In the consolidated complaint, plaintiffs allege that on
rate (expecting the shipset deliveries over the course of the        November 24, 2019, Jefferies LLC published a report
year to be at rate 52 subject to any reductions that Boeing          titled “Management Meeting Takeaways: Getting into the
may decide to implement) was demonstrably true. Gilson               Spirit,” which reported on the analyst's “takeaways” from
points out that plaintiffs do not allege in their consolidated       a meeting with Spirit management, including Gentile and
complaint that the shipset production rate for the remainder of      Garcia. Plaintiffs allege that based upon statements made
2019 was less than 52 shipsets. Also, he points out that when        by Gentile and Garcia, the analyst reported “[Spirit] targets
the “so-called ‘truth’ ” was revealed, doc. no. 79, ECF p. 8,        16.5% segment margins, despite stable 737 MAX rates” and
plaintiffs allege that Boeing announced it was suspending all        “[t]he MAX is set to stay at a rate of 52/mo. until May 2020
production of the 737 MAX aircraft “beginning in January             w/a potential rate decision at that time.” Doc. no. 49, ¶ 235
2020.” Id. at ECF p. 9 (citing doc. no. 49, ¶ 189) (emphasis         (emphasis omitted); doc. no. 77-1, statement #7.
omitted). Gilson asserts that there are no well-pled factual
allegations suggesting the shipset production rate for 2019          Plaintiffs claim that the statements made by Gentile and
was below 52 or that as of October 31, 2019, he did not expect       Garcia, as reported by Jefferies LLC, were materially false
the production rate for 2019 to be 52. Further, Gilson notes         and misleading or omitted material facts when made because
that FE 7's account, even if adequately pled, does not provide       of Boeing's instruction to cut the shipset production rate
factual details suggesting that the cut would take place in          in half, as described by FE 7 and FE 8, and because, as
2019. However, viewing plaintiffs' factual allegations and           revealed by confidential witness, FE 2, Boeing had decided
all reasonable inferences therefrom in their favor, the court        in mid-November of 2019 that Spirit was to temporarily stop
concludes that plaintiffs have sufficiently pled that Gilson's       production of the shipsets at the end of the fourth quarter of
statement was in fact misleading.                                    2019.

Gilson also argues that his expectation statement is protected       Defendants argue that the alleged statements are not
under the PSLRA's safe-harbor provision for forward-looking
                                                                     actionable under      Rule 9(b) and the PSLRA because
statements. The court disagrees. The court concludes that
                                                                     the analyst report includes “no quotations from any Spirit
Gilson cannot claim protection under the PSLRA's safe-
                                                                     personnel, does not indicate the date on which the purported
harbor provision for forward looking statements because,
                                                                     meeting occurred, and does not provide a specific source of
contrary to his arguments and as pointed out by plaintiffs, the
                                                                     the information it purports to summarize and paraphrase.”
subject statement was not cured by “meaningful” cautionary
                                                                     Doc. no. 77, ECF p. 23. Moreover, defendants contend that the
language since he cautioned about a potential cut that
                                                                     statements are not actionable because purported paraphrases
allegedly had already been directed by Boeing to occur.
                                                                     of statements made by unspecified Spirit personnel cannot be
See, FindWhat Investor Group v. FindWhat.com, 658 F.3d
                                                                     reconciled with the standard articulated in     Janus Capital
1282, 1299 (11th Cir. 2011) (stating “to caution that it is only
                                                                     Group, Inc. v. First Derivative Traders, 564 U.S. 135, 142-43
possible for the unfavorable events to happen when they have
                                                                     (2011), regarding the maker of a statement.
already occurred is deceit.”). Further, the court concludes that
the alleged facts and reasonable inferences therefrom, viewed
                                                                     The court agrees with defendants that the alleged statements
in plaintiffs' favor, indicate that the production cut had already
                                                                     in the analyst report are not actionable. There are insufficient
been ordered when the information was disseminated to FE
                                                                     facts in the consolidated complaint to support plaintiffs'
7. The court therefore concludes that Gilson is not entitled to
                                                                     assertion that Gentile and Garcia made the alleged statements.
dismissal of plaintiffs' claims with respect to his October 31,
                                                                     The Supreme Court stated in Janus that “[f]or purposes
2019 statement.
                                                                     of Rule 10b-5, the maker of a statement is the person or
                                                                     entity with ultimate authority over the statement, including
 *10 In sum, the court concludes plaintiffs have sufficiently
                                                                     its content and whether and how to communicate it. Without
pled that defendants' public statements on October 31, 2021
                                                                     control, a person or entity can merely suggest what to say,
were false or misleading.


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                                                                    pleading burden by pointing to a third party's paraphrase
not ‘make’ a statement in its own right.”       Id. at 142. The
                                                                    of a defendant's statement. Even if the statements had been
report does not directly quote Gentile or Garcia in making
                                                                    direct quotes from Gentile, defendants contend the optimistic
the challenged statements. In addition, it does not directly
                                                                    statement is not actionable because it is mere “puffery,” doc.
attribute the statements to either Gentile, or Garcia or to
                                                                    no. 77, ECF p. 26, and the layoff statement is not actionable
both. While the report indicates that Gentile and Garcia were
                                                                    because it is not false.
present at the meeting, it does not reveal that they were
the only Spirit managerial personnel in attendance. In any
                                                                    The court agrees that the statements in the news article by
event, even if they were the only personnel present, plaintiffs
                                                                    Governor Kelly about what Gentile said are not actionable.
have not alleged any facts showing that Gentile or Garcia
                                                                    The statements are not direct quotes of Gentile. While the
controlled the content of the report and whether and how to
                                                                    article attributes the content of the statements to Gentile,
communicate it. The court concludes that the statements in
                                                                    plaintiffs have not alleged sufficient facts to show that Gentile
the analyst report cannot be attributed to Gentile or Garcia
                                                                    had ultimate control over the content of those statements
and therefore fail to support the Section 10(b) and Rule 10b-5
                                                                    and whether and how to communicate them. There are no
claims. See,     In re Prudential Financial, Inc. Securities        allegations that he was involved in reviewing or approving of
Litigation, Master File No. 2:19-cv-20839-SRC-CLW, 2020             the news article. The court concludes that those statements are
WL 7706860, at *14 (D.N.J. Dec. 29, 2020) (statements               not attributable to Gentile for purposes of the section 10(b)
appearing in analyst reports not attributable to defendants). 11    and Rule 10b-5 claims. See, Total Equity Capital, LLC. v.
                                                                    Flurry, Inc., No. 15-CV-4168 (JMF), 2016 WL 3093993, at *3
                                                                    (S.D.N.Y. June 1, 2016); In re Fisker Automotive Holdings,
                                                                    Inc. Shareholder Litigation, Civ. No. 13-2100-SLR, 2015 WL
                   (c). December 17, 2019
                                                                    6039690, at *17 (D. Del. Oct. 15, 2015) (statements in articles
 *11 Plaintiffs allege that on December 17, 2019, The Wichita       not attributable to defendants).
Eagle reported on Boeing's shutdown announcement and a
subsequent meeting between Kansas Governor Laura Kelly              The court additionally agrees with defendants that the
and Gentile. The newspaper article stated that “Kelly said she      “optimistic” statement (identified as statement #8) is not
talked with Spirit CEO Tom Gentile on Tuesday [December             actionable because it was immaterial; it was only a vague
17, 2019] and he's optimistic that production of the troubled       statement of corporate optimism not capable of objective
aircraft will resume soon.” Doc. no. 49, ¶ 237 (emphasis            verification.     Grossman v. Novell, Inc., 120 F.3d 1112,
omitted); doc. no. 77-1, statement #8. It also stated that “[t]he   1119 (10th Cir. 1997) (“Vague, optimistic statements are not
governor said Gentile told her he's not expecting to have to        actionable because reasonable investors do not rely on them in
do layoffs, however, no workforce decisions have been made,         making investment decisions.”). Further, the court concludes
Spirit officials said.” Id. at ¶ 238 (emphasis omitted); doc. no.   that plaintiffs have failed to sufficiently plead that the “layoff”
77-1, statement #9.                                                 statement (identified as statement #9) was false or misleading.
                                                                    Plaintiffs contend the statement “was directly contrary to the
Plaintiffs allege that Gentile's statements were false and          internal reality ... that Spirit had already been running such
misleading because Gentile knew Boeing was unlikely to              layoff “exercises[.]” Doc. no. 49, ¶ 238. Although plaintiffs
resume production any time soon given the continued 737             allege that Spirit had performed layoff analyses, plaintiffs do
MAX grounding and that massive layoffs were imminent.               not allege the content of those analyses and they do not allege
Plaintiffs allege that Gentile's statement about layoffs was        that any workforce decision as to layoffs had been made. The
contrary to the internal reality that Spirit had already            court concludes that plaintiffs' allegations do not demonstrate
been running layoff exercises because of the slowdown in            that statement #9 was false or misleading.
production that Boeing had ordered in late September or early
October of 2019.
                                                                       (ii). Accounting Practices and Internal Controls
Defendants argue that the statements from the news article           *12 Next, plaintiffs allege that on October 31, 2019, Gentile,
are not actionable because they paraphrase what the                 Garcia, and Gilson made materially false and misleading
Kansas Governor Laura Kelly said about what Gentile                 statements concerning Spirit's compliance with established
said. Defendants contend that plaintiffs cannot satisfy their       accounting principles relating to contingent liabilities (Boeing



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Claims) and the effectiveness of Spirit's internal controls
over financial reporting. The alleged false and misleading
statements are as follows.                                                   Management conducted an evaluation
                                                                             of the effectiveness of our internal
The Form 10-Q for the quarter ending September 26, 2019,                     control over financial reporting as of
signed by Garcia and Gilson and filed with the SEC, stated                   December 31, 2018. In making this
in relevant part:                                                            evaluation, we used the criteria set
                                                                             forth by the Committee of Sponsoring
  [T]he Company's financial statements ... have been
                                                                             Organizations of the Treadway
  prepared in accordance with accounting principles
                                                                             Commission (COSO) in Internal
  generally accepted in the United States of America
                                                                             Control-Integrated Framework (2013
  (“GAAP”) and the instructions to Form 10-Q and Article
                                                                             Framework). Based on this evaluation,
  10 of Regulation S-X.
                                                                             our management concluded that
                             ****                                            our internal control over financial
                                                                             reporting was effective as of December
  In the opinion of management, the accompanying                             31, 2018.
  unaudited interim condensed consolidated financial
  statements contain all adjustments ... considered necessary
  to fairly present the results of operations for the interim
                                                                 Doc. no. 49, ¶ 246 (emphasis omitted); doc. no. 77-1,
  period.
                                                                 Appendix A, statement #11.
                             ****
                                                                 In connection with the Form 10-Q for the quarter ending
  Our President and Chief Executive Officer and Senior Vice      September 26, 2019, Gentile and Garcia signed a certification
  President and Chief Financial Officer have evaluated the       pursuant to sections 302 and 906 of the Sarbanes-Oxley Act
  effectiveness of our disclosure controls and procedures        of 2002 (SOX certification) which stated in part:
  as of September 26, 2019 and have concluded that these
  disclosure controls and procedures (as defined in Rules          Based on my knowledge, this report does not contain any
  13a-15(e) and 15d-15(e) of the Securities Exchange Act           untrue statement of a material fact or omit to state a material
  of 1934) are effective to provide reasonable assurance that      fact necessary to make the statements made, in light of the
  information required to be disclosed by us in the reports        circumstances under which such statements were made, not
  that we file or submit under the Securities Exchange Act         misleading with respect to the period covered by this report.
  of 1934, as amended, is recorded, processed, summarized
                                                                   Based on my knowledge, the financial statements, and
  and reported within the time period specified in the SEC
                                                                   other financial information included in this report, fairly
  rules and forms.
                                                                   present in all material respects the financial condition,
                             ****                                  results of operations, and cash flows of the registrant as of,
                                                                   and for, the periods presented in this report.
  There were no changes in our internal control over financial
  reporting during the quarter ended September 26, 2019,            *13 The registrant's other certifying officer and I are
  that have materially affected, or are reasonably likely          responsible for establishing and maintaining disclosure
  to materially affect, our internal control over financial        controls and procedures ... and have:
  reporting.
                                                                   (a) Designed such disclosure controls and procedures,
Doc. no. 49, ¶¶ 240, 242, 244, 245; doc. no. 77-1, Appendix        or caused such disclosure controls and procedures to
A, statements #10, #16, #17, and #18.                              be designed under our supervision, to ensure that
                                                                   material information relating to the registrant, including
The Form 10-K for the year ending 2018, signed by Gentile,         its consolidated subsidiaries, is made known to us by
Garcia, and Gilson, and incorporated by reference in the Form      others within those entities, particularly during the period
10-Q ending September 26, 2019, stated in part:                    in which this report is being prepared; [and]




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                                                                     $8.0 million contingent liability was immaterial to Spirit's
  (b) Designed such internal control over financial reporting,       financial results, defendants maintain that any failure to
  or caused such internal control over financial reporting to        disclose facts relating to the alleged weakness of Spirit's
  be designed under our supervision, to provide reasonable           internal controls was immaterial. Thus, defendants contend
  assurance regarding the reliability of financial reporting         that plaintiffs cannot establish the alleged statements were
  and the preparation of financial statements for external           materially misleading.
  purposes in accordance with generally accepted accounting
  principles.                                                        Plaintiffs respond that the consolidated complaint plainly
                                                                     alleges that the undisclosed weakness in Spirit's internal
                               ****
                                                                     controls was material. Plaintiffs point out that the
  The registrant's other certifying officer and I have               consolidated complaint alleges that defendants admitted the
  disclosed, based on our most recent evaluation of internal         materiality of the weakness in their 10-K Form for 2019
  control over financial reporting ...                               and that the weakness affected processes associated with
                                                                     76 percent of Spirit's contracts. In addition, plaintiffs assert
  (a) All significant deficiencies and material weaknesses in        that the consolidated complaint alleges it was defendants'
  the design or operation of internal control over financial         assurances of effective internal controls and not the size of
  reporting which are reasonably likely to adversely affect          errors in the financial results that were materially misleading.
  the registrant's ability to record, process, summarize, and        Further, plaintiffs contend that courts have previously ruled
  report financial information; and                                  that the effectiveness of a company's internal controls is
                                                                     information a reasonable investor would consider significant
  (b) Any fraud, whether or not material, that involves              in making an investment.
  management or other employees who have a significant
  role in the registrant's internal control over financial            *14 An omitted fact is material “if there is a substantial
  reporting.                                                         likelihood that a reasonable [investor] would consider it
                               ****                                  important” in making an investment decision.       Basic Inc.
                                                                     v. Levinson, 485 U.S. 224, 231 (1988) (quotation marks and
  The information contained in the Report fairly presents, in        citation omitted). “[T]o fulfill the materiality requirement
  all material respects, the financial condition and results of      there must be a substantial likelihood that the disclosure of
  operations of the Company.                                         the omitted fact would have been viewed by the reasonable
                                                                     investor as having significantly altered the ‘total mix’ of
Doc. no. 49, ¶¶ 248, 249; doc. no. 77-1, Appendix A,
statements #12, #13, #14, and #15.                                   information made available.”       Id. at 231-32 (quotation
                                                                     marks and citation omitted). “In the context of a Rule 12(b)
Initially, defendants argue the alleged statements are not           (6) motion, the court is reminded that materiality is a mixed
actionable because the accounting issue the statements               question of law and fact and ordinarily should be reserved for
purportedly concealed—deficiency in Spirit's internal
                                                                     the trier of fact.”   In re Sprint Corp. Securities Litigation,
controls over its accounting processes—was “undisputedly
                                                                     232 F. Supp. 2d 1193, 1215 (D. Kan. 2002) (citation omitted).
immaterial.” Doc. no. 77, ECF p. 27 (emphasis omitted).
                                                                     “Only if defendants' statements are obviously immaterial may
The deficiency, defendants assert, was “ ‘that [Spirit] did not
comply with its established accounting processes related to          the court grant defendants' request for dismissal.”        Id. at
certain potential contingent liabilities that were received by       1215-16 (citation omitted).
Spirit after the end of [the] third quarter 2019’ ” and that ‘[a]s
a result of such non-compliance, the Company concluded that          Upon review, the court finds that dismissal is not appropriate
it should have recorded an incremental contingent liability of       on the ground of materiality. Viewing the factual allegations
less than $8.0 million for the [third quarter of 2019].’ ” Id.,      in the consolidated complaint and reasonable inferences from
quoting doc. no. 49 at ¶¶ 206, 215. Defendants contend that,         those allegations in plaintiffs' favor, the court cannot conclude
as plaintiffs in their consolidated complaint “concede,” the         that the alleged undisclosed weakness in Spirit's internal
less than $8.0 million contingent liability was “immaterial”         controls is obviously immaterial.
to Spirit's financial results. Id., citing ¶ 215. Because the



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Next, defendants argue that the statement regarding the             statements #12 and #13 to be false, plaintiffs must allege that
evaluation of the disclosure controls as of September 26,           Gentile or Garcia had “actual knowledge” that the Form 10-Q
2019 (statement #10, doc. no. 77-1), and the statement              was materially misleading. As to statement #14, defendants
regarding the evaluation of the internal controls as of             contend that plaintiffs have failed to allege that defendants did
December 31, 2018 (statement #11, doc. no. 77-1), are               not design disclosure controls and internal controls. Lastly,
not actionable. Defendants contend that plaintiffs have not         with respect to statement #15, defendants assert that plaintiffs
averred that management did not evaluate the disclosure             have not alleged that their disclosure was based on something
and internal controls and determine them to be effective.           other than the recent evaluation of internal controls.
According to defendants, plaintiffs merely take issue with
the effectiveness of the evaluations, which is an allegation        In response, plaintiffs cite case authority in which courts have
of corporate mismanagement. Defendants maintain that                determined SOX certifications to be actionable. Plaintiffs also
corporate mismanagement is not actionable under the federal         contend, with respect to statements #12 and #13, that they
                                                                    have alleged defendants' knowledge or recklessness relating
securities laws as the court ruled in  Andropolis v. Red
                                                                    to Campbell's misconduct with respect to the EAC process.
Robin Gourmet Burgers, Inc., 505 F. Supp. 2d 662, 683 (D.
                                                                    As to statement #14, plaintiffs assert that they have alleged
Colo. 2007).
                                                                    the statement is actionable as a misleading “half-truth”
                                                                    because it creates the misimpression that Spirit's controls
Plaintiffs counter that defendants have misread their
                                                                    were effective, when they were not. Plaintiffs also assert that
allegations. They contend that they have alleged that
                                                                    statement #15 is also actionable as a misleading “half-truth”
defendants misrepresented the strength and quality of existing
                                                                    because defendants omitted key facts about the existence of
internal controls and concealed the existence of conduct
                                                                    material weakness in the internal controls when they made the
actionable under the securities laws rather than alleging any
                                                                    statement.
matters of business judgment or mismanagement on the part
of defendants. Plaintiffs assert that the consolidated complaint
                                                                    Upon review, the court declines to dismiss plaintiffs' claim
alleges that defendants falsely assured investors that Spirit's
                                                                    based upon defendants' argument that SOX certifications
internal controls were effective, when they knew they were
                                                                    are not independently actionable. The Tenth Circuit has not
not. According to plaintiffs, defendants' statements were half-
                                                                    ruled on the issue. However, plaintiffs have cited cases,
truths because they created the misimpression that Spirit's
internal controls were effective. Plaintiffs contend that the       including     City of Roseville Emps.' Ret. Sys. v. Horizon
allegations of the consolidated complaint are distinguishable       Lines, Inc., 686 F. Supp. 2d 404, 418 (D. Del. 2009), which
from those in the Andropolis case cited by defendants.              have concluded SOX certifications can be actionable. See
                                                                    also,    In re Toronto-Dominion Bank Securities Litigation,
The court, viewing the factual allegations and reasonable
                                                                    Civil No. 17-1665 (NLH/JS), 2018 WL 6381882, at *10
inferences in a light most favorable to plaintiffs, concludes
                                                                    (D.N.J. Dec. 6, 2018) (citing the Delaware decision). Without
that statements #10 and #11 are actionable. The court
                                                                    a definitive ruling from the Tenth Circuit and district courts
concludes plaintiffs' allegations with respect to the efficacy of
the disclosure and internal controls are distinguishable from       on both sides of the issue, see, Rok v. Identiv, Inc., No. 15-
those in Andropolis and dismissal of plaintiffs' claims based       cv-5775-CRB, 2017 WL 35496, at *9, n. 14 (N.D. Calif. Jan.
                                                                    4, 2017) (citing cases), the court finds that plaintiffs should be
upon that ruling is not warranted. 12 Therefore, the court
                                                                    permitted to rely upon the SOX certifications as bases for their
concludes that statements #10 and #11 are actionable.
                                                                    claims. The court thus turns to defendants' other arguments as
                                                                    to why the statements are not actionable.
 *15 In addition, defendants argue that the challenged
statements made by Gentile and Garcia in the SOX
                                                                    As pointed out by defendants, statements #12 and #13 begin
certifications (statements #12, #13, #14, and #15 in doc.
                                                                    with the phrase “[b]ased on my knowledge” and “[t]o the
no. 77-1), are not actionable. Defendants assert that courts
                                                                    best of my knowledge.” The court agrees with defendants
have ruled that SOX certifications are not independently
                                                                    that with that qualifier, the falsity of the statements depends
actionable. Even if the SOX certifications were independently
                                                                    on what Gentile and Garcia knew at the time. The court
actionable, defendants contend that plaintiffs have not alleged
                                                                    concludes that plaintiffs have not sufficiently alleged facts
anything to show that statements #12 through #15 were false
                                                                    to show that Gentile and Garcia had actual knowledge those
at the time when they were made. Defendants assert that for


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SOX certifications (statements #12 and #13) were false or            independent review, concludes that dismissal of plaintiffs'
misleading. In their response, plaintiffs point out that the         claim based upon statement #17 is appropriate for the reason
consolidated complaint alleges that “Defendants discussed            provided by defendant – “ ‘Adjustments’ is an accounting
the EAC with Campbell at EAC reviews and other meetings,             term of art, and [p]laintiffs fail to allege the issues later
but willfully ignored whether Campbell's EAC calculations            identified amounted to a failure to include such ‘adjustments’
were supported, reliable, or accurate.” Doc. no. 90, ECF p.          in financial statements.” Doc. no. 77, ECF. p. 34 (footnote and
59. This information was provided by a confidential witness,         citation omitted). As to statement #16, viewing the allegations
designated as FE 9 in the consolidated complaint. While FE 9         of the consolidated complaint in a light most favorable to
indicated that Gentile and Garcia attended the EAC reviews           plaintiffs, the court concludes that plaintiffs have sufficiently
and the Boeing Claims were raised in those reviews and were          pleaded that statement #16 was false or misleading.
a “hot-button” issue, FE 9 does not provide any particularized
facts to show that Gentile and Garcia knew about the alleged         Finally, defendants challenge statement #18 in doc. no. 77-1,
material weakness in internal controls. There are no factual         which was made by Garcia and Gilson in the Form10-Q
allegations that Gentile and Garcia knew Campbell was                for the quarter ending September 26, 2019. Specifically,
understating the amount of the Boeing Claims. According to           defendants stated: “There were no changes in our internal
FE 9, the discrepancies between the actual value of the Boeing       control over financial reporting during the quarter ended
Claims and the value that Campbell accounted for in the EAC          September 26, 2019, that have materially affected, or are
were not adequately discussed. Doc. no. 49, ¶ 182. However,          reasonably likely to materially affect, our internal control over
there are no factual allegations that Gentile and Garcia knew        financial reporting.” Defendants contend that this statement
there were any discrepancies and that such discrepancies             says nothing about the sufficiency of Spirit's internal controls,
needed to be addressed. And while FE 9 indicated that                only that they had not changed during the third quarter of
“Campbell had the final decision-making authority on the             2019. Defendants point out that plaintiffs have not alleged that
numbers for the claims estimates submitted in the EAC, id.,          the internal controls changed.
and that “Campbell had a ‘tight grip’ over the Boeing Claims
and usually was the only speaker at such meetings on the             Plaintiffs contend that this statement, along with other
issue,” id., at 183, there are no factual allegations that Gentile   statements in the Form 10-Q and those incorporated by
and Garcia knew that Campbell was manipulating the Boeing            reference as well as the SOX certifications attached to the
Claims. As the consolidated complaint fails to allege any            10-Q, collectively created the misimpression that defendants'
knowledge of Campbell's misconduct by Gentile and Garcia,            internal controls had been, and still were, effective, when they
the court concludes that plaintiffs have failed to allege that       were not.
the SOX certifications, based upon knowledge, designated as
statements #12 and #13, were false or misleading when made           Upon review, the court agrees with defendants that plaintiffs
by Gentile and Garcia.                                               have failed to sufficiently plead that statement #18 was a false
                                                                     or misleading statement of material fact. The court thus finds
 *16 The court rejects defendants' challenges to statements          statement #18 is not actionable.
#14 and #15. Viewing the allegations in a light most
favorable to plaintiffs, the court concludes that plaintiffs have    In sum, the court finds that statements #10, #11, #14, #15 and
sufficiently alleged statements #14 and #15 were false or            #16 in doc. no. 77-1 are actionable and statements #12, #13,
misleading statements.                                               #17 and #18 are not actionable.

Next, defendants challenge statement #16 in doc. no. 77-1
regarding accounting methodology and statement #17 in                   B. Scienter
doc. no. 77-1 regarding adjustments. These statements were           “[I]t is not enough for plaintiff[s] to point out misleading
made by Garcia and Gilson in the Form 10-Q for the                   statements of material fact. Under the heightened pleading
quarter ending September 26, 2019. Plaintiffs, in response,          standards of the PSLRA, plaintiff[s] must state with
address defendants' arguments relating to statement #16 but          particularity facts ‘giving rise to a strong inference’ that
do not specifically address defendants' substantive arguments        the defendants acted with scienter[.]”      In re Level 3
relating to statement #17. The court, in its discretion, deems       Communications, Inc. Securities Litigation, 667 F.3d 1331,
defendants' motion confessed as to statement #17, and upon
                                                                     1343 (10th Cir. 2012) (quoting           Adams, 340 F.3d at


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1105). Scienter is “ ‘a mental state embracing [1] intent
to deceive, manipulate, or defraud,’ or [2] recklessness.’ ”          (i). Gentile
                                                                   Defendants contend that plaintiffs have failed to plead
Smallen, 950 F.3d at 1304 (quoting      Anderson v. Spirit         particularized facts establishing that Gentile made any alleged
Aerosystems Holdings, Inc., 827 F.3d 1229, 1236-1237 (10th         false and misleading statements with scienter. As to the
Cir. 2016) (quoting      Adams, 340 F.3d at 1105);         In re   statements regarding the aircraft shipset production rate,
Zagg, Inc. Securities Litigation, 797 F.3d 1194, 1201 (10th        defendants acknowledge plaintiffs' allegations as to Gentile
Cir. 2015). “ ‘Intentional misconduct is easily identified since   having indicated at various times in 2019 the existence of
it encompasses deliberate illegal behavior.” Smallen, 950          a close working relationship between Spirit and Boeing,
                                                                   and that Gentile was “hands on” and “very engaged” with
F.3d at 1304 (quoting     Fleming, 264 F.3d at 1260, quoting
                                                                   the 737 MAX program. Doc. no. 77, ECF p. 36 (citing
    Novak v. Kasaks, 216 F.3d 300, 308 (2d Cir. 2000)).            doc. no. 49, ¶¶ 296-99, 306-08). However, those allegations,
“Recklessness, on the other hand, is defined as ‘conduct that      defendants assert, do not aver with particularity that Boeing
is an extreme departure from the standards of ordinary care,       told Spirit anything regarding the production rate that
and which presents a danger of misleading buyers or sellers        contradicted Gentile's statements. According to defendants,
that is either known to the defendant or is so obvious that        plaintiffs' allegations are “a less plausible variation on the
the actor must have been aware of it.’ ” Smallen, 950 F.3d at      oft-rejected contention that a defendant ‘must have known’
                                                                   of fraud because of [his] position in the company.” Id.,
1304-1305 (quoting      In re Zagg, 797 F.3d at 1201, quoting
                                                                   ECF p. 37 (quotations omitted). In addition, defendants
   Fleming, 264 F.3d at 1258). In the securities fraud context,    contend that Gentile's position and the fact he attended
recklessness is a high bar. It is something akin to conscious      meetings discussing the EAC process do not contribute to
disregard. Allegations of conduct that amount to negligence        a strong inference of scienter as to Gentile's statements
or even gross negligence will not suffice.     In re Zagg, 797     regarding accounting issues and internal controls. Defendants
F.3d at 1201.                                                      further argue that Gentile's SOX certifications add nothing
                                                                   substantial to the scienter calculus. Finally, defendants argue
 *17 The PSLRA requires plaintiffs to, “ ‘with respect to          that Gentile's stock sales during the Class Period are not
each act or omission alleged ..., state with particularity facts   indicative of scienter. They point out that Gentile's net
giving rise to a strong inference that the defendant[s] acted      holdings of Spirit stock increased during the Class Period and
with the required state of mind’ in violating the securities       the “F” transaction code for the stock sales indicated they
                                                                   were sold for the “[p]ayment of exercise price or tax liability.”
laws.” Smallen, 950 F.3d at 1305 (quoting   In re Level 3          Id., ECF p. 39. Also, defendants assert that while Gentile sold
Communications, 667 F.3d at 1333) (emphasis in original).          a greater percentage of stock in 2020 than in the previous three
                                                                   years, the stock sales did not go “well beyond” the patterns
“Although an inference of scienter ‘need not be irrefutable,       of normal stock trading which courts have found to support
i.e., of the “smoking-gun” genre,’ it ‘must be more than           an inference of scienter. Id. (quotation omitted). And they
merely plausible or reasonable.’ ” Smallen, 950 F.3d at            point out plaintiffs have not alleged that any other individual
1305 (quoting      Tellabs, 551 U.S. at 324). “Because the         defendants engaged in any suspicious stock sales, which they
inference must be ‘powerful or cogent’ not only in its             claim undercuts an inference of scienter.
own right but ‘strong in light of other explanations[’], [the
court] must ‘consider plausible, nonculpable explanations for       *18 Plaintiffs argue that their allegations demonstrate that
the defendant's conduct, as well as inferences favoring the        Gentile was informed of Boeing's instruction to cut the
                                                                   aircraft shipset production rate prior to his misstatements
plaintiff[s].’ ” Id. (quoting Tellabs, 551 U.S. at 323-324).
                                                                   on October 31, 2019. In support, plaintiffs rely upon FE
“Under this standard, a complaint survives dismissal ‘only
                                                                   7's account. Plaintiffs state that FE 7 detailed how, in light
if a reasonable person would deem the inference of scienter
                                                                   of Boeing's instruction to cut production, she was tasked
cogent and at least as compelling as any opposing inference
                                                                   with contributing data to reports to determine the number of
one could draw from the facts alleged.’ ” Id. (quoting
                                                                   layoffs necessary to implement that cut. She indicated that the
   Tellabs, 551 U.S. at 324).                                      subsequent layoff analyses were approved by Campbell and
                                                                   presented to Gentile by late October 2019. These allegations,
                                                                   plaintiffs assert, support a strong inference of scienter because


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they show Gentile knew of the production cut at least               the 737 MAX production halt on Spirit's financial prospects.
through the layoff analyses, which contradicted his public          Plaintiffs contend that the timing, as well as the amount,
statements. Plaintiffs also argue that it strains credulity that    of those sales support a strong inference of scienter for his
Gentile was not informed by Campbell, or by Garcia and              misstatements. Specifically, as to amount, plaintiffs assert that
Gilson, who mostly likely attended the meeting with Boeing,         they have alleged that over the course of two days, Gentile
of the drastic production cut because of the importance             disposed of 22 percent of his Spirit stock for proceeds totaling
of the 737 MAX program to Spirit's operations. Plaintiffs           $3.3 million, and these sales were much larger than his sales
contend that the allegations regarding Boeing's close working       from 2016 to 2018. According to plaintiffs, the SEC filings
relationship with Spirit and the importance of the 737              do not explain whether the stock was sold for tax reasons, but
MAX program to Spirit's operations (accounting for over 50          regardless, plaintiffs contend the suspicious timing of those
percent of annual revenue), viewed holistically with the other      sales still supports an inference of scienter.
scienter allegations, such as FE 7's account, supports a strong
inference of scienter with respect to Gentile's production          Upon review, the court finds that plaintiffs have failed to
rate cut statements. Further, plaintiffs contend that Gentile's     allege with particularity facts giving rise to a strong inference
misleading statements about the production rate to analysts         that Gentile made his alleged false and misleading statements
show his scienter.                                                  with an intent to deceive or defraud or with recklessness.
                                                                    As stated, plaintiffs rely upon FE 7's account to establish
As to misstatements regarding the effectiveness of Spirit's         that Gentile knew that his October 31, 2019 statements
internal controls over financial reporting, plaintiffs argue that   regarding the aircraft shipset production rate were false and
Gentile knew or recklessly ignored the material weakness in         misleading. According to FE 7, Gentile received the results
those controls. Plaintiffs rely upon the details given by FE 9,     of the layoff exercises implementing the production cut
wherein she stated that she repeatedly confronted Campbell          “just before the end of October 2019.” Doc. no. 49, ¶ 105
about using unvalidated, unsupported and unreasonably low           (emphasis omitted). However, the consolidated complaint
estimates of costs, including costs associated with the claims      does not provide facts with sufficient particularity to establish
submitted by Boeing in connection with the 737 MAX                  that FE 7's statement is reliable and based on personal
program, but he either bullied or ignored her. Plaintiffs also      knowledge. The consolidated complaint does not provide
point out that FE 9 described how Gentile knew or recklessly        factual averments sufficient to show that FE 7 was positioned
ignored Campbell's conduct through regular meetings such            to possess the information as to when Gentile received the
as the EAC reviews. FE 9 stated that the Boeing Claims had
                                                                    results of the layoff exercises. See,     Zucco Partners, 552
ballooned, and they were affecting Spirit's financial reporting
                                                                    F.3d at 995 (“[C]onfidential witness statements may only be
and were being used by Boeing in negotiations over other
                                                                    relied upon where the confidential witnesses are described
issues. According to plaintiffs, the ever-increasing Boeing
                                                                    with sufficient particularity to support the probability that a
Claims were a serious concern and were discussed at quarterly
                                                                    person in the position occupied by the source would possess
EAC Review meetings, monthly Executive Program Reviews
                                                                    the information alleged.”).
for Spirit's 737 program and separate briefings, all of which
FE 9 attended, along with Campbell and Gentile. Plaintiffs
                                                                     *19 The consolidated complaint does not allege that FE
assert that FE 9's account also indicates that Gentile ignored
                                                                    7 reported to Gentile. According to plaintiffs' allegations,
the alleged discrepancies between the Boeing Claims and
                                                                    FE 7 only had occasional contact with Gentile because of
Campbell's valuations. Additionally, plaintiffs argue that the
                                                                    weekly performance meetings which Gentile attended once or
false SOX certifications support a strong inference of scienter
                                                                    twice per quarter. According to the consolidated complaint,
because Gentile knew his certifications were false. Plaintiffs
                                                                    FE 7 reported equally to Angel Little (Little) and Bill Brown
further argue that the importance of the EAC process to
                                                                    (Brown). Although Brown reported to Gentile, FE 7 stated
Spirit's operations (affecting 76 percent of Spirit's contracts)
                                                                    that she was tasked by Little, not Brown, to provide data to
supports a strong inference of scienter.
                                                                    support other members of her team so they could analyze the
                                                                    appropriate workforce level needed to continue production
Plaintiffs also argue that Gentile's stock sales occurred on
                                                                    at the new lower rate. The other members of the team were
February 6, 2020, just weeks before Spirit's admission that
                                                                    responsible for different components of the layoff exercises,
it had a material weakness in internal controls over the EAC
                                                                    and the results from their work “were then rolled up to”
process and the revelation of the full, devasting impact of
                                                                    Brown and his direct reports, including Campbell, for review


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and approval. Id. at ¶ 104. FE 7 stated that assuming Mr.          Cir. 2008). Additionally, allegations of a close relationship
Brown agreed with the results of the exercises, Brown would        between companies do not establish the kind of circumstantial
report the results to Gentile for approval. Id. According to       evidence necessary to support a claim of fraudulent intent.
FE 7, it took “two to three weeks to complete the first round
                                                                       Vogel v. Sands Bros. & Co., Ltd., 126 F. Supp. 2d
or iteration of such a layoff exercise” and the results were
                                                                   730, 743 (S.D.N.Y. 2001). The court also notes that, while
thereafter presented to Gentile. Id. at ¶ 105. However, there
                                                                   the Tenth Circuit has stated a defendant's position in the
are no particularized allegations to show how FE 7 knew that
                                                                   company is a relevant fact when analyzing scienter, it has also
the results of the exercises had been “rolled up” to Brown
                                                                   rejected “the notion that knowledge may be imputed solely
for review and approval and were presented to Gentile just
                                                                   from an individual's position within a company.”          In re
before the end of October 2019. 13 FE 7's information appears
to be based upon secondhand or hearsay information and             Zagg, Inc., 797 F.3d at 1205 (quoting Wolfe v. Aspenbio
there are no particularized allegations which would make that      Pharma, Inc., 587 F. Appx. 493, 497 (10th Cir. 2014));
information sufficiently reliable, plausible, or coherent. See,
                                                                   see also,    Anderson, 827 F.3d at 1245 (“We cannot infer
   Zucco Partners, 552 F.3d at 997, n. 4. The court concludes      scienter based only on a defendant's position in a company
that the information provided by FE 7 is not sufficient
                                                                   or involvement with a particular project.”);      Fleming, 264
to demonstrate that Gentile received or was aware of the
                                                                   F.3d at 1264 (“[A]llegations that a securities fraud defendant,
layoff exercises just before the end of October 2019, and,
                                                                   because of his position within the company, must have
therefore, knowingly or recklessly misled investors with his
                                                                   known a statement was false or misleading are precisely the
October 31, 2019 statements. 14 See, e.g., id. at 996-997          types of inferences which [courts], on numerous occasions,
(statements not based on confidential witnesses' personal          have determined to be inadequate....”) (quotation marks and
knowledge are not sufficient to raise a strong inference
                                                                   citations omitted); see also,   Anderson, 827 F.3d at 1246
of scienter);   Anderson, 827 F.3d at 1240 (corroborating          (“ ‘Where a complaint relies on allegations that management
witness's account does not establish executives' knowledge         had an important role in the company but does not contain
because the witness's allegations do not establish that Spirit's   additional detailed allegations about the defendants' actual
executives had seen a cost-study report or were aware of           exposure to information, it will usually fall short of the
regularly reported losses on projects). 15 , 16                    [securities laws' pleading] standard.’ ”) (quoting     South
                                                                   Ferry L.P. No. 2, 542 F.3d at 784). Here, the court concludes
The court rejects the proposition that Gentile's knowledge         that knowledge of the production rate cut should not be
should be inferred because the 737 MAX program was
                                                                   imputed to Gentile based upon plaintiffs' contentions. 17
critical to Spirit's core operations, the company had a close
working relationship with Boeing, and Gentile was “hands
                                                                    *20 Turning to the alleged false and misleading
on” and “very engaged” with the 737 MAX program. With
                                                                   statements relating to compliance with established accounting
respect to core operations, plaintiffs contend that the facts
                                                                   procedures and the effectiveness of internal controls, the court
concerning the production cut were “of such prominence
                                                                   concludes that FE 9's account is not sufficient to establish
that it would be ‘absurd’ to suggest that management was
                                                                   that Gentile's statements were made with an intent to deceive
without knowledge of the matter.” Doc. no. 90 (quoting
                                                                   or defraud or with recklessness. The consolidated complaint
   Hampton v. root9b Techs., Inc., Civil Action No. 15-            alleges that the material weakness was the result of Campbell
cv-02152, 2016 WL 7971184, at *28 (D. Colo. Aug. 4,                intentionally underestimating the amount of Boeing Claims
2016), objections to report and recommendation sustained           for the 737 program in the EAC process, which made the
on other grounds, 2016 WL 9735744 (D. Colo. Sept. 21,              737 program appear more profitable than it was. FE 9 said
2016). However, the court notes that the Tenth Circuit             that Boeing Claims had become a hot-button issue and were
has not yet adopted the “absurd” presumption, and the              being used by Boeing in negotiations over other issues with
court is not convinced that the alleged facts constitute the       Spirit and potential offsets for amounts paid to Spirit. The
“rare circumstances” in which core operations allegations          increasing claims, FE 9 stated, were a concern to Spirit
might “conceivably satisfy the PSLRA standard in a more            management and were discussed at EAC review meetings,
bare form, without accompanying particularized allegations.”       attended by Gentile. According to FE 9, Gentile ignored the
                                                                   discrepancies as to the actual value of the Boeing Claims
   South Ferry LP, No. 2 v. Killinger, 542 F.3d 776, 786 (9th


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versus Campbell's valuation of the claims. However, there are     of the material weakness in the internal controls, the
no particularized allegations that Gentile was aware of any       sales are not unusual when viewed in context. Gentile's
such discrepancies and there are no particularized allegations    stock holdings increased during the Class Period, and he
to support an inference that the valuation discrepancies were     retained a substantial percentage of his Spirit holdings. This
obvious. FE 9 said that the discrepancies were not adequately     consideration, in the court's view, rebuts any inference of
discussed during the EAC reviews. According to FE 9, “this        scienter the court might otherwise draw regarding the stock
was because Defendant Campbell had the final decision-
                                                                  sales. See, Smallen, 950 F.3d at 1310;           In re Level 3
making authority on the numbers for the claims estimates
                                                                  Communications, 667 F.3d at 1346-1347 (increased holdings
submitted in the EAC, and he was generally the only one
                                                                  weaken an inference of scienter). In addition, the court notes
to speak to upper management[.]” Doc. no. 49, ¶ 182.
                                                                  that Gentile's stock, which was acquired on January 21, 2020,
She also said that “Defendant Campbell had a ‘tight grip’
                                                                  was sold after Spirit had publicly announced on January 30,
over the Boeing Claims and usually was the only speaker
                                                                  2020, that it did not comply with its established accounting
at such meetings on the issue.” Id. at 183. But there are
                                                                  processes and that an internal review of its accounting process
no particularized factual averments which, if true, would
show that Gentile knew, or that it was so obvious he must         compliance was ongoing. See,          Ronconi v. Larkin, 253
have known, that Campbell had the final decision-making           F.3d 423, 435 (9th Cir. 2001) (sales suspicious in timing
authority on the Boeing Claims or was manipulating the            when “calculated to maximize the personal benefit from
                                                                  undisclosed inside information”). Further, the court notes that
Boeing Claims by underestimating them. 18 The fact that
                                                                  plaintiffs do not allege that Garcia and Gilson sold any stock
the Boeing Claims were generally discussed at the EAC
                                                                  during the Class Period. “ ‘[T]he failure of other defendants
reviews does not establish that the discrepancies in valuation
                                                                  to sell their stock undermine[s] [plaintiffs'] theor[y] that
of the Boeing Claims were discussed. And while FE 9 alleged
                                                                  negative information was withheld to obtain a higher sell
that the PRO-3033 policy 19 was not genuinely followed,
doc. no. 49, ¶¶ 161-162, there are no particularized facts        price.’ ” Smallen, 950 F.3d at 1311 (quoting            In re
alleged to the effect that Gentile had any knowledge that         Scholastic, 252 F.3d 63, 75 (2d Cir. 2001)). Consequently, the
the PRO-3033 policy was not genuinely followed. Nor are           court is not persuaded that Gentile's stock sales demonstrate
there any particularized facts alleged to the effect that Andy    that he had a motive to defraud investors with respect to the
Yacenda, one of Spirit's controllers for the 737 program, was     effectiveness of Spirit's internal controls. 21
acquiescing in Campbell's decisions, as alleged by FE 9.
Further, there are no particularized facts averred to establish   *21 Viewing all of plaintiffs' allegations holistically, see,
that Gentile was told or aware of any information that
                                                                      In re Zagg, 797 F.3d at 1201, the court concludes that the
contradicted any of his statements. In the court's view, FE
                                                                  inference of scienter is neither cogent nor as compelling as the
9's account does not support a strong inference of scienter
                                                                  competing inference of nonfraudulent intent. Plaintiffs fail to
by Gentile with respect to the alleged false and misleading
                                                                  provide particularized facts giving rise to a strong inference
statements regarding compliance with established accounting
                                                                  that Gentile intentionally misrepresented the production rate
procedures and the effectiveness of internal controls. 20         or the compliance with established accounting principles and
                                                                  the effectiveness of the internal controls. Plaintiffs also argue
“ ‘[M]otive can be a relevant consideration’ in making the        that their allegations are sufficient to show recklessness.
scienter determination, and ‘personal financial gain may          This court disagrees. “[R]ecklessness in this context is a
weigh heavily in favor of a scienter inference.’ ” In             particularly high standard, something closer to a state of mind
re Level 3 Communications, 667 F.3d at 1345 (quoting              approximating actual intent.” In re Zagg, 797 F.3d at 1206
   Tellabs, 551 U.S. at 325). Unusual or suspicious stock         (quotation marks and citations omitted). The more compelling
sales by corporate insiders may provide circumstantial            inference to be drawn from the allegations of plaintiffs'
                                                                  consolidated complaint is, at most, one of negligence on
evidence of scienter.      Zucco Partners, 552 F.3d at 1005.
                                                                  the part of Gentile, which is insufficient to avoid dismissal.
Nonetheless, plaintiffs' allegations concerning Gentile's stock
                                                                  “[A]llegations of negligence or even gross negligence fall
sales do not support a strong inference of scienter. Even
                                                                  below the high threshold for liability under Section 10(b) of
though Gentile sold roughly 22.5 percent of his common
                                                                  the Exchange Act.” Smallen, 950 F.3d at 1305 (quotation
stock shortly before the disclosure, on February 28, 2020,
                                                                  omitted).



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In sum, the court concludes that the consolidated complaint        Additionally, in his motion, Garcia asserts that there are no
fails to raise a strong inference that Gentile acted with          particularized factual allegations that he had any motive to
scienter. The court is not persuaded that “a reasonable            commit fraud or that he profited in any way from the alleged
person would deem an inference of scienter more cogent             false and misleading statements. The absence of a profit
or compelling than an opposing inference of nonfraudulent          motive, Garcia argues, means that the circumstantial evidence
intent with respect to the misrepresentations plaintiff[s]         of scienter must be more compelling. Garcia contends that the
allege[ ].” In re Gold Resource Corporation Securities             consolidated complaint fails on this score as well.
Litigation, 776 F.3d 1103, 1118 (10th Cir. 2015). The court
therefore concludes that dismissal of plaintiffs' § 10(b) and      Plaintiffs respond that FE 7's account of Boeing's instruction
Rule 10b-5 claims against Gentile is appropriate.                  to Spirit to cut production shows that Garcia had knowledge
                                                                   of that fact. Plaintiffs point out that FE 7 stated Garcia “most
                                                                   likely” attended the meeting and that FE 7 specified what
  (ii).                                                            was said at the meeting–specifically that Boeing instructed
                                                                   Spirit to cut production of 737 MAX shipsets in half. Doc. no.
   Garcia
                                                                   90, ECF pp. 65-67. According to plaintiffs, FE 7's account,
Defendants additionally contend that plaintiffs have failed
                                                                   along with the core operations allegations, is sufficient to
to plead particularized facts establishing that Garcia made
                                                                   establish a strong inference of scienter with respect to Garcia's
any alleged false and misleading statements with scienter.
                                                                   misstatements relating to the production rate.
According to defendants, plaintiffs' allegations that Garcia,
like Gentile, was positioned to know about the alleged
                                                                    *22 In addition, plaintiffs contend that Garcia knew of
improprieties in the EAC accounting process, and signed
                                                                   or recklessly ignored Campbell's misconduct in estimating
the SOX certifications, are insufficient to demonstrate
                                                                   the costs associated with the Boeing Claims through regular
a strong inference of scienter regarding the alleged
                                                                   meetings such as the quarterly EAC reviews. Plaintiffs
false and misleading statements about compliance with
                                                                   contend that Garcia ignored apparent discrepancies between
established accounting procedures and the effectiveness of
                                                                   the actual value of the Boeing Claims and the value
internal controls. Defendants assert that Garcia's resignation,
                                                                   Campbell assigned to them in the EAC. Plaintiffs also
following the announcement of Spirit's accounting issues,
                                                                   argue that Garcia's resignation strongly supports a scienter
also does not support a strong inference of scienter because
                                                                   inference because it was suspicious in its timing and
the resignation is equally consistent with nonfraudulent
                                                                   circumstances. According to plaintiffs, they adequately link
conduct.
                                                                   Garcia's resignation to the alleged misconduct. Further,
                                                                   plaintiffs point out that Spirit acknowledged that remedial
As to the alleged false and misleading statements about the
                                                                   measures to address the EAC process deficiencies included
737 MAX production rate, Garcia points out that there are no
                                                                   management changes. Plaintiffs also contend that Garcia's
particularized facts averred which would support a conclusion
                                                                   SOX certifications support a strong inference of scienter
that Garcia attended or was aware of any meeting where
                                                                   because they have alleged Garcia knew his certifications were
Boeing discussed the 737 MAX production cut. Garcia points
                                                                   false. Lastly, plaintiffs contend that the importance of Boeing
out that FE 7 did not attend the subject meeting discussing the
                                                                   Claims and the EAC process to Spirit's bottom line supports
production rate cut and there are no allegations that FE 7 was
                                                                   a strong inference of scienter.
told who attended the meeting. Although FE 7 believed that
Garcia attended the meeting based upon her understanding
                                                                   Upon review, the court concludes that plaintiffs have failed to
that any revisions to the production schedule required his
                                                                   plead with particularity facts sufficient to give rise to a strong
“sign off,” Garcia points out that there are no allegations that
                                                                   inference that Garcia acted with an intent to deceive or with
the production schedule changed or that he signed off on
                                                                   recklessness when making the alleged false and misleading
any production changes. Garcia maintains that there are no
                                                                   statements. As to the alleged false and misleading statements
particularized allegations which tie him to the meeting with
                                                                   concerning the 737 MAX production rate, the court concludes
Boeing where the production rate cut was discussed. Further,
                                                                   that FE 7's account is insufficient to establish that Garcia was
Garcia asserts that there are no particularized facts alleged to
                                                                   aware of Boeing's instruction to cut production in half. FE
support an inference that he knew about the layoff exercises,
                                                                   7 was not present at the meeting between Boeing and Spirit
for which FE 7 had been providing data.


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where the production rate cut was purportedly discussed            imputed based upon the alleged importance of the EAC
and was not told by her direct supervisor, Mr. Little, or by       process to Spirit's bottom line or Garcia's position with the
Campbell who attended the meeting. FE 7 also did not report        company.
to Garcia. According to FE 7, she believed Garcia attended the
meeting because production rate changes or the production           *23 As to the resignation of Garcia, which the company
rate schedule required his “sign-off.” Doc. no. 49, ¶¶ 52,         identified as a remedial measure in the 2020 annual report, the
102. However, there are no particularized allegations of any       court concludes, like the Tenth Circuit in In re Zagg, that the
change in the production rate schedule, referred to internally     resignation is “at most an acknowledgement that the company
as the “Master Schedule,” or that Garcia signed off on any         identified a better way of doing things moving forward, not
change. The lack of any particularized allegations as to a         an indicator that fraudulent intent existed at the time the
change in the Master Schedule undermines the only basis for
                                                                   alleged omissions occurred.” Id. at 1205; see also,      In re
plaintiffs' allegations that Garcia attended the meeting where
                                                                   Hertz Global Holdings, Inc., 905 F.3d 106, 119 (3rd Cir.
Boeing told Spirit to cut production in half. Further, there are
                                                                   2018) (“[P]leading scienter requires more than pleading a link
no particularized allegations that Garcia received the results
                                                                   between bad news and an executive's resignation. Changes in
of the layoff exercises for which FE 7 provided data. The
                                                                   leadership are only to be expected when leadership fails ...
court concludes that FE 7's account is insufficient to establish
                                                                   [A]llegations [must] cogently suggest that the resignations
that Garcia knew his statements about the aircraft shipset
                                                                   resulted from the relevant executives' knowing or reckless
production rate were false and misleading or that he ignored
                                                                   involvement in a fraud.”). The allegations in the consolidated
obvious signs that his statements were false and misleading.
                                                                   complaint are not sufficient to demonstrate that Garcia's
Lastly, the court concludes that plaintiffs' allegations as to
                                                                   resignation resulted from his knowing or reckless disregard
the 737 MAX program's importance to Spirit's operations
                                                                   of noncompliance with established accounting procedures or
and Garcia's position with the company are not sufficient
                                                                   the material weakness in the internal controls.
to establish a strong inference of scienter for the reasons
previously discussed with respect to Gentile.
                                                                   Additionally, “[plaintiffs'] bare assertion regarding [Garcia's]
                                                                   execution of the SOX certifications adds nothing substantial
Turning to the alleged false or misleading statements
                                                                   to the scienter calculus and at best, support[s] an inference
with respect to the compliance with established accounting
                                                                   of negligence.” Smallen, 950 F.3d at 1311 n. 10 (quotation
procedures and the effectiveness of internal controls, the court
                                                                   omitted). Further, the court notes that “allegations of GAAP
concludes that FE 9's account is insufficient to establish that
                                                                   violations or accounting irregularities, standing alone, are
Garcia acted with an intent to deceive or with recklessness.
There are no particularized allegations that Garcia knew or        insufficient to state a securities fraud claim.”      Fleming
was aware of the discrepancies concerning the valuation            Cos., 264 F.3d at 1261 (quotation marks and citation omitted).
of the Boeing Claims or was aware that the PRO-3033
policy was not being followed. In addition, there are no           Further, as to Garcia, plaintiffs fail to offer anything in the way
particularized allegations that Garcia ignored obvious signs of    of a motivation to mislead investors. “Although the absence
the alleged manipulation of the costs associated with the 737      of an apparent motive does not necessarily defeat a finding
program, including the Boeing Claims. The fact that Boeing         of scienter, it does make such a finding more difficult to
claims were discussed at the EAC meetings, which Garcia            sustain.” Employees' Retirement System of Rhode Island v.
attended, does not suggest that Garcia knew or recklessly          Williams Companies, Inc., 889 F.3d 1153, 1173 (10th Cir.
ignored an undervaluation of the Boeing Claims. And as             2018). Moreover, it “mitigates an inference of scienter from
stated by Tenth Circuit, “mere attendance at meetings does         the plaintiffs' other factual allegations.”       Anderson, 827
not contribute to an inference of scienter.”    Anderson, 827      F.3d at 1239.

F.3d at 1246; see also,    In re Level 3 Communications,
667 F.3d at 1344 (10th Cir. 2012) (concluding that the fact        Viewing plaintiffs' allegations holistically, see, In re Zagg,
the defendants “monitored the integration process through          797 F.3d at 1201, the court concludes that the inference of
regular meetings and reports” was insufficient to “draw            scienter is neither cogent nor as compelling as the competing
a strong inference” of the defendants' scienter). Further,         inference of a nonfraudulent intent. The court is not persuaded
the court concludes that Garcia's knowledge should not be          that “a reasonable person would deem an inference of scienter
                                                                   more cogent or compelling than an opposing inference of


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nonfraudulent intent with respect to the misrepresentations         whether that information given as early as “early 2019,”
plaintiff[s] allege[ ].” In re Gold Resource Corporation, 776       undermined Gilson's statements made on October 31, 2019.
F.3d at 1118. The court therefore concludes that dismissal of       Defendants also point out that “FE 9 ultimately ‘signed off’ on
the Section 10(b) and Rule 10b-5(b) claims against Garcia is        the accounting entries ‘in good faith’ ‘despite her concerns.’
appropriate.                                                        ” Doc. no. 77, ECF p. 42 (quoting doc. no. 49, ¶¶ 176, n. 27,
                                                                    178). Further, defendants assert that plaintiffs' allegations are
                                                                    insufficient to establish scienter because FE 9 did not work
  (iii).                                                            at Spirit during the Class Period and her position with the
                                                                    company is not adequately alleged.
   Gilson
Initially, defendants contend that plaintiffs' scienter
                                                                    Plaintiffs respond that their scienter allegations are sufficient
allegations relating to Gilson fail for the same reasons that
                                                                    as they show Gilson knowingly or recklessly misrepresented
they fail as to Gentile and Garcia. Defendants maintain that
                                                                    the effectiveness of Spirit's internal controls. Plaintiffs
plaintiffs' “positional” allegations and allegations with respect
                                                                    contend that Gilson knew of or recklessly disregarded the
to Gilson's resignation do not establish scienter on Gilson's
                                                                    material weakness in Spirit's internal controls. Plaintiffs
part. Doc. no. 77, ECF p. 41.
                                                                    specifically rely upon their allegations that FE 9 raised her
                                                                    concerns about Campbell directly to Gilson because of her
Defendants, however, recognize that the consolidated
                                                                    concerns about the weaknesses in Spirit's EAC process, but
complaint includes additional scienter allegations with
                                                                    Gilson ignored her. Plaintiffs contend that her confrontation
respect to the misstatements regarding compliance with
                                                                    with Gilson, as well as her resignation shortly after her
established accounting procedures and the effectiveness
                                                                    confrontation, support a strong inference of Gilson's scienter.
of internal controls that are not alleged against Gentile
                                                                    Plaintiffs also point to their allegations that Gilson attended
and Garcia. Defendants acknowledge that the consolidated
                                                                    regular meetings such as the EAC Reviews where the Boeing
complaint alleges that FE 9 recalled a specific instance in
                                                                    Claims were discussed. Plaintiffs contend that even though
“early or mid-2019” when she “ ‘discussed her concerns
                                                                    FE 9 left Spirit's employment before the start of the Class
with Defendant Gilson.’ ” Doc. no. 77, ECF p. 41. The
                                                                    Period, her allegations are nonetheless relevant because they
consolidated complaint specifically alleges that FE 9 “raised
                                                                    provide insight into what Gilson knew at the start of the
her concerns about these failures in the EAC process with
                                                                    Class Period. Further, plaintiffs assert that FE 9's position with
respect to customer claims to Defendant Gilson directly.”
                                                                    Spirit is sufficiently alleged.
Doc. no. 49, ¶ 178. The pleading alleges that, because of
her raising such concerns to Spirit's “Finance personnel”
                                                                    Upon review, the court concludes that plaintiffs have failed
and causing an internal “conflict,” FE 9 was called into a
                                                                    to sufficiently plead with particularity facts giving rise to a
meeting in Gilson's office, arranged by the Finance personnel,
                                                                    strong inference that Garcia acted with an intent to deceive
to discuss these issues. At the meeting, FE 9 discussed her
                                                                    or with recklessness. The court concludes that FE 9's account
concerns with Gilson and other Finance personnel, but to no
                                                                    is not sufficient to establish a strong inference that Gilson's
avail. FE 9 left the meeting completely disappointed with the
                                                                    alleged false and misleading statements with respect to
response of Gilson and the other Finance personnel because
                                                                    compliance with established accounting procedures, and the
they did not take any actions to remedy the problem and
                                                                    effectiveness of internal controls, were made with intent to
they accused her team of not supporting “Program personnel.”
                                                                    deceive or with recklessness. Plaintiffs fail to allege with
Id. According to FE 9, “given his responsibilities as Spirit's
                                                                    particularity what was discussed at the meeting involving
Controller, Defendant Gilson should have been ‘pounding the
                                                                    FE 9, Gilson, and Finance personnel. Without particularized
table’ upon hearing of such failures, but instead FE 9 was
                                                                    allegations as to what was discussed, the consolidated
‘shut down’ once again.” Id.
                                                                    complaint does not establish that Gilson was specifically
                                                                    informed by FE 9 of Campbell's manipulation of the Boeing
 *24 Defendants contend, however, that plaintiffs'
                                                                    Claims or any alleged material weakness in the internal
allegations fall short with respect to scienter. Defendants
                                                                    controls. Indeed, plaintiffs' allegations with respect to the
assert that the allegations do not reveal “anything that Gilson
                                                                    meeting do not mention anything specifically about the
was actually told [at the] meeting.” Doc. no. 77, ECF p.
                                                                    Boeing Claims. Doc. no. 49, ¶ 178. As pointed out by
41. Defendants maintain that without knowing what FE 9
                                                                    defendants, plaintiffs allege only that FE 9 “raised her
specifically said to Gilson, it is impossible to determine


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concerns about these failures in the EAC process with respect         Plaintiffs also allege liability under Section 10(b) and
to customer claims.” Doc. no. 49, ¶ 178. Also, plaintiffs'            Rule 10b-5 on the part of Spirit. Corporations, like Spirit,
allegations indicate that other Finance personnel did not share       have no state of mind of their own. Instead, scienter of
her concerns, id., and as pointed out by defendants, plaintiffs'      the corporations' agents must be imputed to them. See,
allegations indicate that FE 9 signed off on the claims in the
                                                                         Mizzaro v. Home Depot, Inc., 544 F.3d 1230, 1255
EAC “in good faith.” Id., ¶ 176 & n. 27. If other Finance
                                                                      (11th Cir. 2008). In addition to the scienter allegations
personnel did not share FE 9's concerns and FE 9 signed off on
                                                                      as to Gentile, Garcia, and Gentile, which the court has
the claims in the EAC in good faith despite her concerns, those
                                                                      found to be insufficient to establish a strong inference of
concerns do not, in the court's view, provide a strong inference
                                                                      scienter, plaintiffs rely upon their allegations with respect to
that Gilson acted with an intent to deceive or to defraud
or with recklessness. Although plaintiffs contend that FE             Campbell. 22 Plaintiffs assert that those allegations support
9's resignation supports the assertion that Gilson acted with         a strong inference that Campbell acted with scienter.
scienter, there are no particularized allegations that Gilson         Defendants contend the scienter allegations as to Campbell
knew of the resignation or the reasons for her resignation.           are irrelevant on the issue of Spirit's scienter because
Further, the fact that a material weakness in the internal            Campbell did not make or issue any of the challenged
controls was later identified, resulting in Gilson's resignation,     statements. Plaintiffs counter that Campbell's scienter is
does not provide a strong inference that Gilson acted with an         imputable to Spirit, despite the fact he did not make or
intent to deceive or to defraud or with recklessness at the time      issue any of the alleged false or misleading statements.
he made the alleged false and misleading statements.                  They point out that the Tenth Circuit authorizes corporate
                                                                      scienter to be evaluated by the state of mind of the individual
 *25 In addition, as pointed out by Gilson, the consolidated          corporate official, who not only made or issued a false and
complaint fails to allege any motive on his part to commit            misleading statement, but who also “furnish[ed] information
securities fraud. Although plaintiffs need not show that Gilson       or language for inclusion therein, or the like.” Doc. no. 90,
acted with a particular motive, the failure to allege facts           ECF p. 77 (quoting Smallen, 950 F.3d at 1313). Plaintiffs
indicating a motive for securities fraud mitigates an inference       posit that given Campbell's critical role with the 737 MAX
                                                                      program and his ownership of the EAC process for Spirit's
of scienter. See,    Anderson, 827 F.3d at 1239.                      737 program, his scienter should be imputed to Spirit.
                                                                      According to plaintiffs, Campbell furnished false information
The court further agrees with defendants that plaintiffs'             for inclusion in the alleged misstatements regarding the 737
remaining scienter allegations concerning Gilson fail for the         MAX production rate because he instructed the Business
same reasons previously discussed with respect to Gentile and         Operation Team, including FE 7, to create layoff analyses and
Garcia.                                                               similar planning reports to implement Boeing's production
                                                                      cut. In addition, they assert that Campbell furnished false
Lastly, viewing plaintiffs' scienter allegations holistically, see,   information for inclusion in the alleged misstatements
   In re Zagg, 797 F.3d at 1201, the court concludes that the         regarding the effectiveness of internal controls, including
inference of scienter is neither cogent nor as compelling as          through quarterly EAC reviews. Plaintiffs maintain that they
the competing inference of nonfraudulent intent. The court            have sufficiently alleged facts giving rise to a strong inference
is not persuaded that “a reasonable person would deem an              of scienter with respect to Campbell.
inference of scienter more cogent or compelling than an
opposing inference of nonfraudulent intent with respect to the         *26 The Tenth Circuit has determined that corporate liability
misrepresentations plaintiff[s] allege[ ].” In re Gold Resource       for a Section 10(b) and Rule 10b-5 violation may be
Corporation, 776 F.3d at 1118. The court therefore concludes          established by looking to “the state of mind of the individual
that dismissal of the Section 10(b) and Rule 10b-5(b) claims          corporate official or officials who make or issue the statement
against Gilson is appropriate.                                        (or order or approve it or its making or issuance, or who
                                                                      furnish information or language for inclusion therein, or
                                                                      the like).” Smallen, 950 F.3d at 1313 (emphasis added)
  (iv)                                                                (quotation marks and citation omitted). Initially, the court
                                                                      concludes that the consolidated complaint fails to allege
  Spirit                                                              particularized facts to establish that Campbell furnished
                                                                      information or language for inclusion in any of the alleged


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false and misleading statements made with respect to the
737 MAX production rates. The consolidated complaint does
allege that the layoff exercises were “rolled up” to Brown
                                                                                                 VII.
and his direct reports, including Campbell, for review and
approval, doc. no. 49, ¶ 104, but there are no allegations that
those exercises were furnished to Gentile for inclusion in any                Count III – Claims Under Section 10(b)
alleged false and misleading statements involving the 737                     and Rule 10b-5, Subsections (a) and (c)
MAX production rate on October 31, 2019. As previously
discussed, the account of FE 7 is insufficient to demonstrate      In addition to claims under subsection (b) of Rule 10b-5,
that Gentile even received that information prior to his alleged   plaintiffs allege claims under subsections (a) and (c). These
misstatements. Further, there are no particularized allegations    claims are alleged against all defendants. Subsections (a)
that Campbell furnished anything to Garcia or Gilson before        and (c) make it unlawful to “employ any device, scheme, or
their alleged misstatements. The court therefore concludes         artifice to defraud” or to “engage in any act, practice, or course
that Campbell's state of mind cannot be relied upon to             of business which operates or would operate as a fraud or
establish Spirit's scienter for the 737 MAX production rate        deceit upon any person.” 17 C.F.R. § 240.10b-5(a) and (c).
statements.                                                        While subsection (b) requires a plaintiff to establish that a
                                                                   false or misleading statement was made, subsections (a) and
Regarding the statements with respect to compliance with           (c) “are not so restricted.”   Affiliated Ute Citizens of Utah
the established accounting procedures and the effectiveness        v. United States, 406 U.S. 128, 153 (1972). To state a claim for
of internal controls, the consolidated complaint does allege,      a violation of subsections (a) and (c), a plaintiff must allege
based upon FE 9's account, that Campbell understated or            “(1) that the defendant committed a deceptive or manipulative
underestimated the amount of the Boeing Claims in the              act, (2) in furtherance of the alleged scheme to defraud, (3)
EAC process. Doc. no. 49, ¶ 170; ¶ 304. The consolidated
                                                                   with scienter, and (4) reliance.” In re Alstom SA Securities
complaint, however, does not plead particularized facts
                                                                   Litigation, 406 F. Supp. 2d 433, 476 (S.D.N.Y. 2005) (citing
to demonstrate that Campbell furnished information for
inclusion in the false and misleading statements at issue in         In re Global Crossing, Ltd. Securities Litigation, 322 F.
this case. Nevertheless, even if the facts were sufficient for     Supp. 2d 319, 336 (S.D.N.Y 2004)).
the court to conclude that Campbell furnished information
for inclusion in those statements, the court finds that the         *27 Defendants contend that plaintiffs' subsections (a)
consolidated complaint fails to allege particularized facts        and (c) claims should be dismissed because those
supporting a strong inference that Campbell acted with             claims are simply a repackaging of their subsection
scienter (as opposed to negligence or gross negligence)            (b) claim because they rely upon defendants' alleged
in furnishing that information. The factual allegations are        material misrepresentations as the basis for the claims.
insufficient to support that Campbell acted with an intent to      Defendants point out that plaintiffs have not identified any
deceive, manipulate, or defraud investors or with recklessness     material misrepresentation or sufficiently alleged that they
when he furnished the information. 23 According to the             disseminated any material misrepresentation with scienter.
consolidated complaint, Campbell engaged in the incorrect          To the extent the claims are based on something besides a
accounting “to make himself look better by showing better          material misrepresentation, defendants argue that the claims
numbers to the Spirit Executive Team on the 737 program.”          fail because the only conduct alleged to be deceptive in the
Doc. no. 49, ¶ 305. As a result, the court concludes that          consolidated complaint was the purported misrepresentations.
Campbell's state of mind cannot establish Spirit's liability       Further, defendants maintain that plaintiffs have failed to
                                                                   plead reliance, an essential element of subsections (a) and
under Section 10(b). See,         Pipefitters Local No. 636        (c) claims. Defendants point out that aside from their
Defined Ben. Plan v. Zale Corp., 499 F. Appx. 345 (5th Cir.        alleged misrepresentations, none of their alleged conduct
2012) (“[T]he most compelling inference was that [the vice         was publicly disclosed. Therefore, defendants contend that
president of marketing] acted with the intent to maintain the      plaintiffs could not have relied upon that non-public conduct.
good appearance of her department rather than to defraud
investors by falsely inflating the value of [the company].”).      Plaintiffs respond that they have pled sufficient facts to
The court therefore concludes that dismissal of the Section        support liability under subsections (a) and (c). Initially,
10(b) and Rule 10b-5(b) claims against Spirit is appropriate.


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they point out that the mere fact certain elements of
their claims under subsections (a) and (c) also support a
                                                                                                 VIII.
misrepresentation claim under subsection (b) is not grounds
for dismissal. They assert that scheme-liability claims may
involve conduct similar to that underlying a subsection (b)                    Count II – Claims Under Section 20(a)
claim. In any event, plaintiffs contend that the consolidated
complaint alleges defendants “engaged in a scheme to assure         As discussed, to state a claim under § 20(a) of the Securities
the market that Spirit could provide timely information             Exchange Act, plaintiffs must allege (1) a primary violation
regarding any changes in production levels for 737 MAX              of the securities laws; and (2) control over the primary
shipsets, and the revenue it could obtain from those sales,         violator by the alleged controlling person.     Fleming, 264
to minimize investor concerns relating to the uncertainties of      F.3d at 1270. Because the consolidated complaint fails to
Spirit's revenue stream created by the 737 MAX grounding.”          state a primary violation under Section 10(b) and Rule 10b-5,
Doc. no. 90, ECF p. 82. According to plaintiffs, the                the court concludes that the claims under Section 20(a)
alleged scheme included multiple actions distinct from the          against the individual defendants, Gentile, Garcia, Gilson,
alleged misrepresentations, including “(i) touting its close        and Campbell also fail.
relationship with Boeing in response to specific questions
from analysts to set the expectation in investors that Spirit
would immediately be aware of, respond to, and inform
                                                                                                  IX.
investors of any requests for changes [ ]; (ii) deflecting
concerns about the number of 737 MAX shipsets Spirit
was storing for Boeing [ ]; and (iii) making no effort                              Request to Amend Complaint
to inform investors when Boeing ordered Spirit to cut
production in late September or early October 2019[ ].” Id.          *28 At the end of their response brief, plaintiffs request the
These actions, plaintiffs contend, which are in furtherance of      opportunity to amend the consolidated complaint if the court
defendants' scheme are actionable under subsections (a) and         grants any part of defendants' motions. The court, however,
(c). Additionally, plaintiffs contend that they have sufficiently   concludes that plaintiffs have failed to adequately request
pled reliance upon defendants' scheme. Plaintiffs maintain          leave to amend their consolidated complaint. Plaintiffs'
that it was the deceptive acts of defendants, rather than           “single sentence, lacking a statement for the grounds for
a third party, that “mitigated uncertainty in the minds of          amendment and dangling at the end of [their] memorandum,
investors as to Spirit's shipset production and inflated the        [does] not rise to the level of a motion for leave to
price for Spirit shares.” Id. They assert that the cases cited by   amend.” Calderon v. Kan. Dept. of Social & Rehabilitation
defendants in support of their reliance argument are factually      Services, 181 F.3d 1180, 1186-87 (10th Cir. 1999). Plaintiffs
distinguishable.                                                    have not made any effort to indicate how amending the
                                                                    consolidated complaint would cure the deficiencies in their
Upon review, the court concludes that the claims under              claims, specifically as to the scienter element. Plaintiffs
subsections (a) and (c) should be dismissed as to all               rely heavily upon confidential witnesses to support their
defendants. “As with claims under subsection (b) of Rule            allegations, but do not indicate that the confidential witnesses
10b-5, claims under subsections (a) and (c) are subject to the      can provide more information that was not alleged or that
PSLRA, and, thus, a ‘strong inference’ of scienter must be          there are other confidential witnesses available to support
pled ‘with particularity.’ ” Takata, 2020 WL 2079375, at *14        their claims. Because plaintiffs have failed to adequately
(quoting 15 U.S.C. § 78u-4(b)(2)(A)). The court concludes           request amendment and to support that request and in the
that plaintiffs have failed to allege particularized facts giving   absence of any indication that they can cure the deficiencies
rise to a strong inference that any of the defendants acted with    of their consolidated complaint, specifically as to scienter,
scienter when committing the alleged actions. Even when             the court concludes that the consolidated complaint should be
plaintiffs' allegations are considered collectively, they do not,   dismissed without leave to amend.
in the court's view, create a cogent, compelling inference of
scienter on the part of the defendants.

                                                                                                  X.




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                       Conclusion
                                                              The Clerk of Court is DIRECTED to file this order and the
Based upon the foregoing, Defendants Spirit AeroSystems       accompanying judgment in Case Nos. 20-cv-00054-SPF-JFJ,
Holdings, Inc., Thomas C. Gentile, and Shawn Campbell's       20-cv-00077-SPF-JFJ, and 20-cv-00117-SPF-JFJ.
Motion to Dismiss Plaintiffs' Consolidated Class Action
Complaint (doc. no. 77), Defendant Jose Garcia's Motion       IT IS SO ORDERED this 7 th day of January, 2022.
to Dismiss Plaintiffs' Consolidated Class Action Complaint
(doc. no. 78) and Defendant John Gilson's Motion to
Dismiss Plaintiffs' Consolidated Class Action Complaint       All Citations
(doc. no. 79) are GRANTED. Plaintiffs' Consolidated Class
                                                              Not Reported in Fed. Supp., 2022 WL 377415
Action Complaint (doc. no. 49) is DISMISSED WITH
PREJUDICE.




                                                     Footnotes


1      Jacob Goldman, Gary Smith, and Employees' Retirement System of the City of Providence.

2      In their response, plaintiffs request that the court disregard or strike the “excessive, overlong footnotes,” in
       doc. no. 77, specifically, n. 2, n. 21, and n. 26 and “six-page, single-spaced ‘Appendix A’ ” attached to doc. no.
       77 on the ground they violate the court's page limit order. Doc. no. 90, n. 6. Upon review and in its discretion,
       the court declines plaintiffs' request. The court is not convinced the footnotes and Appendix A are improper.

3      Although plaintiffs have requested oral argument, the court concludes that oral argument is not necessary.
       The present motions, focusing, as they must, on what is (and is not) down in black and white in the papers
       before the court, do not, by their nature, call for oral argument. That said, if the court had concluded that oral
       argument would aid its consideration of these motions, it would have set them for argument.

4      The 737 NG is the third generation of the Boeing 737 airplane, and the 737 MAX is the fourth generation.
       The 737 MAX was announced in 2011 and began commercial flights in 2017.

5      It was later revealed that the crashes were caused by a problem with certain software in the 737 MAX flight
       control computer–specifically, an automated system called the Maneuvering Characteristics Augmentation
       System, which was designed to automatically take over the plane and point the nose downward if a sensor
       detected a “pitch-up” in flight that had not been commanded.

6      Plaintiffs refer to several former Spirit employees as “Confidential Former Employees.” E.g., Doc. no. 49, ¶
       45. For brevity, the court will refer to them simply as former employees.

7      FE 9 stated that the Boeing Claims were claims “Boeing made against Spirit for, inter alia, the time and
       expense Boeing had to expend for disruptions due to delays and certain quality issues with delivered
       shipsets.” Doc. no. 49, ¶ 159.

8      Although Garcia and Gilson have filed separate dismissal motions (doc. nos. 78 and 79), they join and
       incorporate by reference the motion to dismiss of defendants Spirit, Gentile and Campbell (doc. no. 77).
       Garcia also joins and incorporates by reference Gilson's motion to dismiss.

9
          Omnicare, Inc. v. Laborers Dist. Council Const. Industry Pension Fund, 575 U.S. 175 (2015).




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10     The court agrees with defendants that a statement by Campbell revealing what Boeing told Spirit in the
       meeting constitutes hearsay.

11     Further, the court agrees with defendants that the allegations in the consolidated complaint with respect to
       the statements as reported by Jeffries LLC do not satisfy the requirements of   Rule 9(b) and the PSLRA
       because plaintiffs do not allege the who (the speaker) and the when (when the statements were made).

12     In reply, defendants argue that statement #10 is not actionable because it “is not about internal controls at
       all, but rather disclosure controls, which the Complaint never addresses” and statement #11 is not actionable
       because plaintiffs' allegations do not relate to “as of December 31, 2018.” Doc. no. 91, ECF pp. 14-15. The
       court declines to address these arguments since they were raised for the first time in reply.

13     The court notes that the consolidated complaint fails to describe with particularity the contents of the layoff
       analysis. See,      Anderson, 827 F.3d at 1241 (“To create an inference of scienter based on [ ] reports,
       the plaintiffs must adequately describe the content of the reports[.]”). Also, it fails to allege whether Gentile
       had read the results or was aware of the results before the end of October 2019. Id. (confidential witness's
       allegations did not establish executives' knowledge because they did not establish the executives had seen
       the report or were aware of the reported losses).

14     The court notes that the consolidated complaint alleges that Gentile sent out weekly emails regarding Spirit's
       operations, including Spirit's relationship with Boeing and the 737 MAX production. According to FE 7, “in
       or around October 2019,” Gentile told employees in one of the emails that “Spirit was keeping the same
       production schedule but said that there was a changing environment with Boeing.” Doc. no. 49, ¶ 297. FE
       7's account indicates that Gentile did not know of the alleged production rate cut in or around October 2019.

15     In their consolidated complaint, plaintiffs also noted that according to another confidential witness, FE 5,
       Gentile had daily communications with Boeing. Doc. no. 49, ECF p. 50, n. 11; ¶ 296. The level of detail in
       the complaint, however, is insufficient to show that FE 5, who was four levels below Gentile, was positioned
       to know the communications between Gentile and Boeing or the substance of those communications. FE
       5's account is not sufficient to demonstrate a strong inference of scienter. See, Zucco Partners, LLC, 552
       F.3d at 996-997 (statements of confidential witnesses not based on personal knowledge are not sufficient
       to raise a strong inference of scienter); Anderson, 827 F.3d at 1243 (relatively low-level employees could
       not provide evidence bearing on the executives' mental states).

16     The court rejects plaintiffs' argument that it strains credulity that Campbell and the other individual defendants
       did not advise Gentile of the production rate cut. As stated, under the heightened pleading standard of the
       PSLRA, plaintiffs must state with particularity facts giving rise to a strong inference that defendants acted with
       the requisite state of mind. Smallen, 950 F.3d at 1305. The court notes that Campbell did not report directly
       to Gentile. Further, as herein discussed, there are insufficient allegations to support a plausible inference that
       Garcia and Gilson were present at the meeting where Boeing instructed Spirit to cut the production rate in half.

17     Further, the court rejects plaintiffs' argument that Gentile's responses to analysts' questions relating to the
       737 MAX production rates raise a strong inference of scienter, since there are no particularized facts that he
       knew of the production rate cut in advance of those responses.

18     The court notes that plaintiffs allege that despite her concerns, FE 9 signed off in good faith on the claims
       in the EAC. Doc. no. 49, ¶ 176 & n. 27.




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19     According to the consolidated complaint, the PRO-3033 policy provided procedures for evaluating and
       validating the claims made by Spirit's customers, such as Boeing, and how the value of those claims should
       be factored in the EAC. Doc. no. 49, ¶ 161.

20     Plaintiffs also point to Gentile's execution of the SOX certifications to support a strong inference of scienter.
       The court finds “the presence of the SOX certifications unpersuasive because they are not accompanied by
       any ‘particularized facts to support an inference that [Gentile] knew [his] sworn SOX statements were false
       at the time they were made.” Smallen, 950 F.3d at 1311 n. 10 (quotation marks omitted). “[Plaintiffs'] bare
       assertion regarding [Gentile's] execution of the SOX certifications adds nothing substantial to the scienter
       calculus and, at best, support[s] an inference of negligence.” Id. (quotation marks omitted); see also, In re
       Gold Resource Corporation Securities Litigation, 776 F.3d 1103, 1116 (10th Cir. 2015).

21     Further, the court is not persuaded that Gentile's stock sales demonstrate he had a motive to defraud investors
       about the 737 MAX production rate.

22     No claim under Section 10(b) and Rule 10b-5(b) has been alleged against Campbell.

23     In the consolidated complaint, plaintiffs allege that the timing and circumstances of Campbell's “resignation”
       support a strong inference of scienter. Relying upon FE 11, plaintiffs allege that Campbell was terminated
       and escorted from the premises a week before Garcia and Gilson resigned. Doc. no. 49, ¶ 314. Plaintiffs also
       allege that FE 9's account corroborates the reason for Campbell's termination. Id., ¶ 315. However, the court
       finds FE 11 and FE 9's accounts are not sufficient to establish that Campbell was terminated and the reasons
       for that termination. FE 11 and FE 9 left Spirit's employment in the fall of 2019. Id., ¶ 56, ¶ 171.



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                       TAB No. 15




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                                                                 I. Background
                    2024 WL 3105004
       United States District Court, S.D. New York.
                                                                   A. Factual Background 1
         Douglas REIN, individually and on behalf
          of all others similarly situated, Plaintiff,                                   1. The Parties
                              v.
                                                                 Dutch Bros is a publicly traded company incorporated under
         DUTCH BROS, INC. et al., Defendants.
                                                                 Delaware law that operates and franchises drive-through
                      23 Civ. 1794 (PAE)                         coffee shops, which sell coffee and related products. AC ¶¶
                               |                                 14, 22. On September 17, 2021, Dutch Bros went public,
                     Signed June 24, 2024                        with an initial public offering (“IPO”) in which it issued
                                                                 approximately 24.2 million shares of Class A common stock
Attorneys and Law Firms                                          at a public offering price of $23 per share. Id. ¶¶ 28, 3. As
                                                                 of its IPO, Dutch Bros had 471 shops in 11 states. Its IPO
Kim Elaine Miller, Kahn Swick & Foti, LLC, New York, NY,         was intended to facilitate the company's “expansion to at least
for Plaintiff.                                                   4,000 Dutch Bros locations in the United States.” Id. ¶ 23.

Aric Hugo Wu, Cooley LLP, New York, NY, Patrick Gibbs,
                                                                  *2 At all relevant times, Ricci was Dutch Bros’ president
Cooley LLP, Palo Alto, CA, for Defendants.
                                                                 and chief executive officer, and Jemley was its chief financial
                                                                 officer. Id. ¶¶ 15–16.

                   OPINION & ORDER                               Lead plaintiff Rein is an investor who, during the class period,
                                                                 purchased Dutch Bros securities at what he alleges were
PAUL A. ENGELMAYER, District Judge:
                                                                 “artificially inflated prices,” which declined after Dutch Bros,
 *1 Lead plaintiff Douglas Rein brings this putative federal     on the last day of the class period, announced a decline in
securities class action against Dutch Bros, Inc. (“Dutch         profitability. Id. ¶ 13.
Bros”) and its chief executive officer Jonathan Ricci and
chief financial officer Charles L. Jemley (collectively,
“Defendants”) alleging violations of Sections 10(b) and 20(a)                   2. Rising Commodities Prices
of the Securities Exchange Act of 1934,         15 U.S.C. §§                 Before and During the Class Period
78j(b) and 78t(a), and the implementing rule of the Securities
and Exchange Commission, 17 C.F.R. § 240b-5 (“Rule               In the months leading up to, and during, the class period,
10b-5”). On behalf of himself and others who purchased           inflation and commodities prices were rising in the United
Dutch Bros securities between November 10, 2021, and May         States. See id. ¶ 3. The Bureau of Labor Statistics’ Consumer
11, 2022 (the “class period”), Rein claims that Defendants       Price Index for All Urban Consumers rose to 5.4% in
made a series of false and misleading statements during the      September 2021, 7.5% in January 2022, and reached 8.3%
class period touting Dutch Bros’ performance and prospects,      by April 2022. Id. Dairy and petroleum, the commodities
which allegedly understated the threat to the company's sales    most central to Dutch Bros’ business, were subject to these
and profitability presented by rising inflation affecting the    trends. Id. The Department of Agriculture calculated the
cost of commodities key to its success.                          National All-Milk Price Received at $18.30 in September
                                                                 2021, $23.90 in January 2022, and $27 in April 2022.
Pending now is Defendants’ motion to dismiss the Amended         The Department of Energy reported the Gasoline Average
Complaint (“AC”) for failure to state a claim under Federal      Retail Price in September 2021 as $3.272, as $3.413 in
Rules of Civil Procedure 12(b)(6) and 9(b). For the following    January 2022, $3.611 in February 2022, $4.322 in March
reasons, the Court grants the motion and dismisses the AC in     2022, and $4.213 in April 2022. Id. A September 2021 Wall
its entirety.                                                    Street Journal article noted that “[e]conomists anticipate that
                                                                 broader, longer-lasting inflationary pressures will emerge in
                                                                 coming quarters”; another, published November 2021, opined



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that “[t]hings are going to get worse before they get better.”    Cf., e.g., id. ¶¶ 102–111 (identifying Q1 losses in 2022 as
Id. ¶ 26.                                                         turning point).

During the class period, Defendants made statements               On May 11, 2022, the last day of the class period, after the
that were generally positive about Dutch Bros’ past and           markets closed, Dutch Bros issued its earnings release for the
forthcoming financial performance, notwithstanding that           first quarter of 2022. It revealed a big drop in performance.
inflation in general and commodities costs in particular were     See id. It reported a net loss that quarter of $16.3 million,
rising. These statements were made in, inter alia, SEC filings,   compared to $4.8 million in the first quarter of 2021, and
conference calls, and interviews. See id. ¶¶ 55–101.              an adjusted net loss of $0.02 per share, “below the market's
                                                                  estimated earnings of $0.01 per share.” Id. ¶ 102
In particular, Defendants stated that they believed that (1)
given the particular ingredients that Dutch Bros required,        In public statements that day, Defendants attributed these
Dutch Bros was not as susceptible to rising inflation rates and   losses to three factors:
supply chain issues as other companies, (2) a price increase
implemented just before the class period, and the option            “[Dutch Bros’] decision to be disciplined on the price
of future price increases, would help Dutch Bros weather            [they] took, which [they] believe[d] [wa]s less than half
the inflation it would face, and (3) inflation in gas, more         as much as many of [their] peers; faster inflation and cost
than dairy, prices, was the company's biggest concern, but          of goods, especially in dairy; the pull forward of deferred
consumers would not necessarily cease drive-through coffee          expenses related to the maintenance of shops; and normal
purchases as a result of rising gas prices. See id. The Court       new store inefficiency amplified by the volume of new and
below reviews the specific challenged statements to these           ramping units in quarter 1.”
effects.
                                                                  Id. ¶ 103. As to rising costs, Ricci stated on an earnings call
                                                                  that day:
A confidential witness (“CW1”)—who worked for Dutch
Bros as a retail optimization manager—is cited in the AC as
stating that, as of December 2021, Dutch Bros was aware of
                                                                              Unfortunately, in this past quarter,
its potential need to combat rising dairy prices. Id. ¶¶ 18–
                                                                              a confluence of cost pressures
21. CW1 and his team “worked on operational changes that
                                                                              overwhelmed our decisions around
would be effective in the field” and “created processes for
                                                                              price and resulted in near-term
field training,” and designed “processes that would create
                                                                              margin compression. We anticipated
efficiencies at the retail store-level.” Id. ¶ 19. CW1 stated
                                                                              higher expenditures. However, we
that, in or around December 2021, his team was tasked with
                                                                              did not perceive the speed and
“troubleshooting the issue of rising dairy costs[.]” Id. ¶ 21.
                                                                              magnitude of cost escalation within
This entailed steps such as “switch[ing] from purchasing
                                                                              the quarter. Dairy, for example,
dairy by the gallon to purchasing it by the half gallon.”
                                                                              which makes up 28% of our
Id. CW1 stated that “finding additional sources of dairy,
                                                                              commodity based, rose almost 25%
especially 2%, was important because the supply was also
                                                                              in Q1. While costs rose throughout
an issue around this time, not just the cost.” Id. The AC
                                                                              the quarter, we experienced a
does not address whether Dutch Bros adopted these or other
                                                                              change in sales trajectory from mid-
suggestions.
                                                                              March onward as macroeconomic
                                                                              headwinds accelerated and comps
                                                                              turned negative. We are monitoring
             3. Dutch Bros’ Q1 2022 Earnings                                  these factors and have chosen to take
               Drop, Reported May 11, 2022                                    a more conservative stance on our
                                                                              2022 outlook given macroeconomic
 *3 Through at least the end of 2021, Dutch Bros’
                                                                              uncertainty.
performance remained stable. In the first quarter of 2022,
ending March 31, 2022, however, Dutch Bros experienced
“margin pressure”—that is, a decrease in its profit margins.



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                                                                  Dutch Bros’ shares they owned. See id. ¶ 6. Each executive
Id. ¶ 104. During the May 11, 2022 earnings call, Jemley          had entered into a Rule 10b5-1 trading plan three months
attributed the drop in sales to rising gasoline prices:           earlier: Ricci on December 7, 2021, and Jemley on December
                                                                  9, 2021. After the expiration of the lock-up periods, both
                                                                  defendants made sales pursuant to these plans. Ricci sold a
            [W]ithout claiming to be a                            total of 71,125 shares of Dutch Bros common stock, with
            macroeconomist, I will tell you that                  some sales on March 7, 2022, and the rest on May 9, 2022. Id.
            in mid-March when gas prices jumped                   ¶ 128. 2 Those sales represented about 3.3% of the 2,133,794
            the way they did, we saw an immediate                 fully vested shares of Dutch Bros common stock that Ricci
            flip on our daily sales. It was almost                had owned as of the expiration of the lock-up periods. Id. ¶
            to the day of the way that, that works.               129. Jemley sold 15,000 shares on March 4, 2022, and an
            So I think you could infer—and we                     additional 5,000 shares on April 5, 2022. Id. ¶ 132. Those
            believe that we've done some analysis                 sales represented about 2.1% of the 932,828 fully vested
            on the gas prices and influence related               shares of Dutch Bros common stock that Jemley had owned.
            to our daily sales, and we believe it has             Id. ¶ 133.
            influenced it. And we believe that if
            gas prices stay inflated, it will continue
            to influence it.
                                                                      5. The Appointment of a New President and CEO

                                                                  In November 2022, Dutch Bros announced the appointment
Id. ¶ 110. Based on these metrics and what it termed              of a new president, Christine Barone; Ricci remained CEO.
“unanticipated” cost increases, Dutch Bros that day put           Id. ¶ 149. On August 8, 2023, Dutch Bros announced that
forward a “more conservative” forecast of its earnings and        Barone would replace Ricci as CEO in January 2024. Id. ¶
“same shop sales” in 2022. Id. ¶ 105.                             150.

The next day, May 12, 2022, Dutch Bros’ share price fell by
$9.26 or 26.9%. Id. ¶ 111. That share price was 59.7% below          B. Procedural History
what it had been at the start of the class period on November     On March 1, 2023, plaintiff Jerry Peacock filed this action on
10, 2021. Id.                                                     behalf of purchasers of Dutch Bros securities between March
                                                                  1 and May 11, 2022. Dkt. 1. On May 1, 2023, Rein and two
Throughout the second quarter of 2022, margin pressure            others filed motions to serve as lead plaintiff and for their
continued. In its Q2 earnings call on August 10, 2022,            respective attorneys to serve as lead counsel. See Dkts. 12–21.
Dutch Bros stated that, “[l]ike many of our peers, the macro-     On August 3, 2023, the Court appointed Rein lead plaintiff
economic environment is impacting various aspects of our          and his attorneys lead counsel. Dkt. 29. Thereafter, Rein filed
business, and our company-operated shop margins continue          the now-operative AC, which moved the start of the class
to be pressured by record inflation in the second quarter.” Id.   period earlier, to November 10, 2021. AC ¶ 2.
¶ 115. It reported a 3% price increase in the second quarter
and stated that it was continuing to evaluate “further menu       On September 28, 2023, Defendants filed their motion to
pricing action as needed in the back half of the year.” Id. On    dismiss the AC, Dkt. 32, a memorandum of law in support
that earnings call, however, Jemley stated that Dutch Bros was    thereof, Dkt. 33 (“Def. Br.”), and a declaration and attached
“starting to [overcome] the inflation that began to show in Q2    exhibits, Dkt. 34 & Exs. 1–19. On October 26, 2023, Rein
of 2021.” Id. ¶ 116.                                              filed a brief in opposition. Dkt. 35 (“Pl. Br.”). On November
                                                                  9, 2023, Defendants filed a reply. Dkt. 36 (“Def. Reply Br.”).


        4. The Individual Defendants’ Stock Sales                 II. Applicable Legal Standards
 *4 On approximately March 4, 2022—in the middle of                 A. Standards for Resolving a Motion to Dismiss
the class period—Ricci and Jemley's “Lock-Up Agreements”          To survive a motion to dismiss under Rule 12(b)(6), a
with Dutch Bros’ underwriters expired, freeing them to sell       complaint must plead “enough facts to state a claim to


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relief that is plausible on its face.”      Bell Atl. Corp. v.     specificity why and how that is so.”      Rombach v. Chang,
Twombly, 550 U.S. 544, 570 (2007). A claim will only               355 F.3d 164, 174 (2d Cir. 2004). In addition, the plaintiff
have “facial plausibility when the plaintiff pleads factual        “shall, with respect to each act or omission ... state with
content that allows the court to draw the reasonable inference     particularity facts giving rise to a strong inference that the
that the defendant is liable for the misconduct alleged.”          defendant acted with the required state of mind.” 15 U.S.C.
                                                                   § 78u–4(b)(2).
   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A complaint is
properly dismissed where, as a matter of law, “the allegations
in a complaint, however true, could not raise a claim of             B. Elements of Rein's Claims
entitlement to relief.” Twombly, 550 U.S. at 558. Although         Rein brings claims under §§ 10(b) and 20(a) of the Exchange
the court must accept as true all well-pled factual allegations    Act, and its implementing rule, Rule 10b-5. FAC ¶¶ 168–80.
in the complaint and draw all reasonable inferences in the
                                                                   Section 10(b) makes it unlawful to “use or employ, in
plaintiff's favor, Steginsky v. Xcelera Inc., 741 F.3d 365,
                                                                   connection with the purchase or sale of any security ...
368 (2d Cir. 2014), that tenet “is inapplicable to legal
                                                                   any manipulative or deceptive device or contrivance
conclusions,”     Iqbal, 556 U.S. at 678.                          in contravention of such rules and regulations as the
                                                                   Commission may prescribe.”          15 U.S.C. § 78j(b). Rule
“Securities fraud claims are subject to heightened pleading
                                                                   10b-5 provides that it is unlawful “[t]o make any untrue
requirements that the plaintiff must meet to survive a motion
                                                                   statement of a material fact or to omit to state a material fact
to dismiss.”    ATSI Commc'ns, Inc. v. Shaar Fund, Ltd., 493       necessary in order to make the statements made, in light of the
                                                                   circumstances under which they were made, not misleading.”
F.3d 87, 99 (2d Cir. 2007); see also   Tellabs, Inc. v. Makor
                                                                   17 C.F.R. § 240.10b–5.
Issues & Rights, Ltd., 551 U.S. 308, 321–23 (2007).

                                                                   To state a claim under § 10(b), a plaintiff must adequately
First, a complaint alleging securities fraud must meet the
                                                                   plead “(1) a material misrepresentation or omission by
requirements of      Federal Rule of Civil Procedure 9(b).         the defendant; (2) scienter; (3) a connection between the
See     ECA & Local 134 IBEW Joint Pension Tr. of                  misrepresentation or omission and the purchase or sale of a
Chi. v. JP Morgan Chase Co., 553 F.3d 187, 196 (2d                 security; (4) reliance upon the misrepresentation or omission;

Cir. 2009) (“ECA”).     Rule 9(b) states that “[i]n alleging       (5) economic loss; and (6) loss causation.”        Matrixx
fraud or mistake, a party must state with particularity the        Initiatives, Inc. v. Siracusano, 563 U.S. 27, 37–38 (2011)
                                                                   (internal quotation marks and citation omitted).
circumstances constituting fraud or mistake.”   Fed. R. Civ.
P. 9(b). “Allegations that are conclusory or unsupported by        To state a claim under § 20(a), “a plaintiff must show (1) a
factual assertions are insufficient.”     ATSI Commc'ns, 493       primary violation by the controlled person, (2) control of the
F.3d at 99.                                                        primary violator by the defendant, and (3) that the defendant
                                                                   was, in some meaningful sense, a culpable participant in the
 *5 Second, such a complaint must comply with the pleading         controlled person's fraud.” Carpenters Pension Tr. Fund of
requirements of the Private Securities Litigation Reform Act       St. Louis v. Barclays PLC, 750 F.3d 227, 236 (2d Cir. 2014)

(“PSLRA”), 15 U.S.C. § 78u–4(b). See            ECA, 553 F.3d      (quoting    ATSI Commc'ns, 493 F.3d at 108) (quotation
at 196. In particular, where a plaintiff's claims depend upon      marks omitted). If a plaintiff has not adequately alleged a
allegations that the defendant has made an untrue statement        primary violation, i.e., a viable claim under a provision of the
of material fact or that the defendant omitted a material fact     Exchange Act, then the § 20(a) claims must be dismissed. See
necessary to make a statement not misleading, the plaintiff        id.
“shall specify each statement alleged to have been misleading
[and] the reason or reasons why the statement is misleading.”
15 U.S.C. § 78u–4(b)(1). Thus, to plead a claim of securities
                                                                        1. False or Misleading Statements or Omissions
fraud, plaintiffs “must do more than say that the statements ...
were false and misleading; they must demonstrate with


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To survive a motion to dismiss, the complaint must adequately      Still, some statements are “too general to cause a reasonable
plead “that the defendant made a statement that was                investor to rely upon them” and thus inactionable under the
‘misleading as to a material fact.’ ”       Matrixx Initiatives,   securities laws as “puffery.”   Id. at 206. For example.
                                                                   “[g]eneral expressions of corporate optimism are ‘too
563 U.S. at 38 (emphasis omitted) (quoting      Basic Inc.
                                                                   indefinite to be actionable under the securities laws.’ ”
v. Levinson, 485 U.S. 224, 238 (1988)). Section 10(b) and
Rule 10b-5 “do not create an affirmative duty to disclose             Boca Raton Firefighters and Police Pension Fund v.
any and all material information.”          Id. at 44; see also    Bahas, 506 F. App'x 32, 38 (2d Cir. 2012) (quoting        In re
                                                                   Int'l Bus. Machs. Corp. Sec. Litig., 163 F.3d 102, 108 (2d Cir.
    Basic, 485 U.S. at 239 n.17. “Disclosure of ... information
                                                                   1998)).
is not required ... simply because it may be relevant or of
interest to a reasonable investor.” Resnik v. Swartz, 303 F.3d
147, 154 (2d Cir. 2002). An omission of information not
affirmatively required to be disclosed is, instead, actionable                               2. Item 303
only when disclosure of such information is “necessary ‘to
make ... statements made, in light of the circumstances            Also relevant here, Item 303 of SEC Regulation S-K (“Item
                                                                   303”), 17 C.F.R. § 299.303, compels disclosure of “any
under which they were made, not misleading.’ ”         Matrixx     known trends or uncertainties that have had or that the
Initiatives, 563 U.S. at 44 (quoting 17 C.F.R. § 240.10b-5(b));    registrant reasonably expects will have a material favorable
see also     In re Vivendi, S.A. Sec. Litig., 838 F.3d 223,        or unfavorable impact on net sales or revenues or income
239–40 (2d Cir. 2016) (“pure omissions” of information,            from continuing operations ... [as well as] events that
absent a duty to disclose, are not actionable; however, “half-     are reasonably likely to cause a material change in the
truths”—“statements that are misleading ... by virtue of what      relationship between costs and revenues (such as known
they omit to disclose”—are).                                       or reasonably likely future increases in costs of labor or
                                                                   materials or price increases or inventory adjustments)[,]” id.
 *6 The materiality requirement, meanwhile, “is satisfied          § 299.303(b)(2)(ii), as well as “any unusual or infrequent
when there is ‘a substantial likelihood that the disclosure of     events or transactions or any significant economic changes
the omitted fact would have been viewed by the reasonable          that materially affected the amount of reported income from
investor as having significantly altered the total mix of          continuing operations[,]” id. § 299.303(b)(2)(i).

information made available.’ ”          Matrixx Initiatives, 563
                                                                   Although Item 303 itself does not support an independent
U.S. at 38 (quoting        Basic, 485 U.S. at 231–32). As          cause of action, until recently, the law in this Circuit was such
the Supreme Court has explained, a lower standard—                 that “Item 303's affirmative duty to disclose in Form 10–Qs
such as defining a “material fact” as any “fact which a            [could] serve as the basis for a securities fraud claim under
reasonable shareholder might consider important”—would
                                                                   Section 10(b).”      Stratte-McClure v. Morgan Stanley, 776
lead corporations to “bury the shareholders in an avalanche
                                                                   F.3d 94, 101–02 (2d Cir. 2015). The Circuit had held that
of trivial information[,] a result that is hardly conducive to
                                                                   failure to comply with an affirmative disclosure obligation,
informed decisionmaking.”     TSC Indus., Inc. v. Northway,        like Item 303, would cause a reasonable investor to assume
Inc., 426 U.S. 438, 448–49 (1976). The “materiality hurdle”        the nonexistence of “known trends or uncertainties” of the
is, therefore, “a meaningful pleading obstacle.”      In re        type Item 303 covers, rendering omissions along these lines
ProShares Tr. Sec. Litig., 728 F.3d 96, 102 (2d Cir.               misleading. Id. However, on April 12, 2024, while this
2013). However, because of the fact-intensive nature of the        motion was pending, the Supreme Court held that “the failure
materiality inquiry, the Court may not dismiss a complaint         to disclose information required by Item 303 can support
“on the ground that the alleged misstatements or omissions         a [§ 10(b) or] Rule 10b–5(b) claim only if the omission
are not material unless they are so obviously unimportant to       renders affirmative statements made misleading.” Macquarie
a reasonable investor that reasonable minds could not differ       Infrastructure Corp. v. Moab Partners, L. P., 144 S. Ct. 885,
                                                                   892 (2024). It rejected the Circuit's prior reasoning as wrongly
on the question of their importance.”      ECA, 553 F.3d at 197    shifting the focus of § 10(b) and Rule 10b-5(b) “from fraud
(quotation marks omitted).                                         to disclosure.” Id. Thus, Item 303 can support a claim under



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these provisions only where there has been an otherwise-           the omitted facts would ‘conflict with what a reasonable
misleading statement. See id. at 892 n.2.                          investor would take from the statement itself.’ ” Id. (quoting
                                                                      Omnicare, 575 U.S. at 189).

         3. Application to Statements of Opinion                   The Supreme Court has instructed that its ruling that material
                                                                   omissions of facts may render a statement of opinion
Like objective statements of material fact, subjective             actionable should not be given “an overly expansive reading,”
statements of opinion can be actionable as fraud. As the           and that establishing liability on such a theory “is no
Supreme Court has clarified, and the Second Circuit has
recognized, such statements of opinion can give rise to            small task for an investor” to meet.      Id. at 210 (quoting
liability in two distinct ways.                                       Omnicare, 575 U.S. at 194). “Reasonable investors
                                                                   understand that opinions sometimes rest on a weighing of
 *7 First, “liability for making a false statement of opinion      competing facts, and ... [do] not expect that every fact known
may lie if either ‘the speaker did not hold the belief she         to an issuer supports its opinion statement.” Id. (quoting
professed’ or ‘the supporting fact she supplied were untrue.’
                                                                      Omnicare, 575 U.S. at 189–90) (internal quotation marks
” See     Tongue v. Sanofi, 816 F.3d 199, 209–10 (2d Cir.          omitted) (alterations and internal quotation marks omitted).
2016) (quoting        Omnicare, Inc. v. Labs. Dist. Council        “[A] statement of opinion ‘is not necessarily misleading when
Const. Indus. Pension Fund, 575 U.S. 175, 186 (2015)). “It         an issuer knows, but fails to disclose, some fact cutting the
is not sufficient for these purposes to allege that an opinion     other way.’ ” Id. (quoting    Omnicare, 575 U.S. at 189).
was unreasonable, irrational, excessively optimistic, [or] not
borne out by subsequent events.”        In re Salomon Analyst      Further, statements of opinion must be considered in the
Level 3 Litig., 350 F. Supp. 2d 477, 489 (S.D.N.Y. 2004). “The     context in which they arise. Particularly in the context of
Second Circuit has firmly rejected this ‘fraud by hindsight’       formal documents filed with the SEC, “ ‘investors do not,
approach.” Podany v. Robertson Stephens, Inc., 318 F. Supp.        and are right not to, expect opinions contained in those
                                                                   statements to reflect baseless, off-the-cuff judgments’; ‘[a]t
2d 146, 156 (S.D.N.Y. 2004) (citing        Stevelman v. Alias      the same time, an investor reads each statement within such
Research, Inc., 174 F.3d 79, 85 (2d Cir. 1999)).                   a document ... in light of all its surrounding text, including
                                                                   hedges, disclaimers, and apparently conflicting information.’
Second, “opinions, though sincerely held and otherwise
true as a matter of fact, may nonetheless be actionable if         ” Id. (quoting Omnicare, 575 U.S. at 190). Moreover “ ‘the
the speaker omits information whose omission makes the             investor takes into account the customs and practices of the
                                                                   relevant industry’ and ... ‘an omission that renders misleading
statement misleading to a reasonable investor.”         Sanofi,    a statement of opinion when viewed in a vacuum may not do
816 F.3d at 210 (citing Omnicare, 575 U.S. at 194–95). To          so once that statement is considered, as is appropriate, in a
adequately allege that a statement of opinion was misleading       broader frame.’ ” Id. (quoting    Omnicare, 575 U.S. at 190).
through the omission of material information, “[t]he investor
must identify particular (and material) facts going to the
basis for the issuer's opinion—facts about the inquiry the
issuer did or did not conduct or the knowledge it did or did                                4. Scienter
not have—whose omission makes the opinion statement at
issue misleading to a reasonable person reading the statement       *8 As noted,     Rule 9(b) and the PSLRA require plaintiffs
                                                                   to “state with particularity facts giving rise to a strong
fairly and in context.” Id. (quoting        Omnicare, 575 U.S.
                                                                   inference that the defendant acted with the required state of
at 194). As the Supreme Court has explained, “a reasonable
                                                                   mind.” 15 U.S.C. § 78u–4(b)(2). “For an inference of scienter
investor, upon hearing a statement of opinion from an issuer,
                                                                   to be strong, ‘a reasonable person [must] deem [it] cogent
‘expects not just that the issuer believes the opinion (however
                                                                   and at least as compelling as any opposing inference one
irrationally), but that it fairly aligns with the information in
                                                                   could draw from the facts alleged,’ ” and “the court must
the issuers possession at a time.’ ” Id. (quoting Omicare,
                                                                   take into account plausible opposing inferences.”        ATSI
575 U.S. at 188–89). “The core inquiry,” then, “is whether


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Commc'ns, 493 F.3d at 99 (quoting       Tellabs, 551 U.S. at
324). The requisite mental state is one “embracing intent to                    5. The PSLRA Safe Harbor for
                                                                                 Forward-Looking Statements
deceive, manipulate, or defraud.”   Tellabs, 551 U.S. at 319
(quotation marks and citation omitted).                           The PSLRA amended the Exchange Act to provide a safe
                                                                  harbor for forward-looking statements. See 15 U.S.C. §
Plaintiffs “may satisfy this requirement by alleging facts (1)    78u–5(c). Forward-looking statements are defined as those
showing that the defendants had both motive and opportunity       that contain, among other things, “a projection of revenues,
to commit the fraud or (2) constituting strong circumstantial     income, [or] earnings,” “plans and objectives of management
evidence of conscious misbehavior or recklessness.” ATSI          for future operations,” or “a statement of future economic
Commc'ns, 493 F.3d at 99. Where plaintiffs do not sufficiently    performance,” Id. § 78u–5(i)(1). A forward-looking statement
allege that defendants had a motive to defraud the public,        is not actionable if it “is identified and accompanied by
they “must produce a stronger inference of recklessness.”         meaningful cautionary language or is immaterial or the
                                                                  plaintiff fails to prove that it was made with actual knowledge
   Kalnit v. Eichler, 264 F.3d 131, 143 (2d Cir. 2001).
                                                                  that it was false or misleading.”    Slayton v. Am. Exp. Co.,
Recklessness is “a state of mind approximating actual intent,     604 F.3d 758, 766 (2d Cir. 2010). Because the statute is
                                                                  written in the disjunctive, statements are protected by the
and not merely a heightened form of negligence.”        S.
                                                                  safe harbor if they satisfy any one of these three categories.
Cherry St., LLC v. Hennessee Grp. LLC, 573 F.3d 98, 109
                                                                  Id. Materiality is defined above; the other two categories are
(2d Cir. 2009) (citation and emphasis omitted). To qualify
                                                                  defined as follows:
as reckless, defendants’ conduct must have been “highly
unreasonable” and “an extreme departure from the standards
                                                                   *9 Meaningful cautionary language: To qualify as
of ordinary care.”     Novak v. Kasaks, 216 F.3d 300, 308         “meaningful,” cautionary language “must convey substantive
(2d Cir. 2000) (quoting    Rolf v. Blyth, Eastman Dillon          information about factors that realistically could cause results
& Co., 570 F.2d 38, 47 (2d Cir. 1978)) (quotation marks           to differ materially from those projected in the forward-
omitted).                                                         looking statements.”    Id. at 771 (quoting H.R. Conf.
                                                                  Rep. 104-369, at 43 (1995)). Language that is “vague” or
A plaintiff can establish recklessness by adequately alleging
                                                                  “boilerplate” does not suffice.     Id. at 772. “To determine
that “defendants knew facts or had access to non-
                                                                  whether cautionary language is meaningful, courts must
public information contradicting their public statements”
                                                                  first ‘identify the allegedly undisclosed risk’ and then ‘read
and therefore “knew or should have known they were
                                                                  the allegedly fraudulent materials—including the cautionary
misrepresenting material facts.”      In re Scholastic Corp.      language—to determine if a reasonable investor could have
Sec. Litig., 252 F.3d 63, 76 (2d Cir. 2001) (citing  Novak,       been misled into thinking that the risk that materialized and
216 F.3d at 308). In other words, defendants have acted           resulted in his loss did not actually exist.’ ”    In re Delcath
recklessly if they “understood that their public statements       Sys., Inc. Sec. Litig., 36 F. Supp. 3d 320, 333 (S.D.N.Y. 2014)
were inaccurate, or were ‘highly unreasonable’ in failing to
                                                                  (quoting Halperin v. eBanker USA.com, Inc., 295 F.3d 352,
appreciate that possibility.”   In re Sanofi Sec. Litig., 87 F.   359 (2d Cir. 2002)). A plaintiff may establish that cautionary
Supp. 3d 510, 534 (S.D.N.Y. 2015) (quoting         Novak, 216     language is not meaningful “by showing, for example, that
                                                                  the cautionary language did not expressly warn of or did not
F.3d at 308), aff'd sub nom,       Sanofi, 816 F.3d 199. “The     directly relate to the risk that brought about plaintiffs’ loss.”
key, of course, is the honest belief of the management in the
truth of information issued to the public.” In re AstraZeneca        Halperin, 295 F.3d at 359.
Sec. Litig., 559 F. Supp. 3d 453, 470 (S.D.N.Y. 2008), aff'd
sub nom., State Univ. Ret. Sys. of Ill. V. Astrazeneca PLC, 334   Actual knowledge: The scienter requirement for forward-
F. App'x 404 (2d Cir. 2009).                                      looking statements—actual knowledge—is “stricter than
                                                                  for statements of current fact. Whereas liability for the
                                                                  latter requires a showing of either knowing falsity or
                                                                  recklessness, liability for the former attaches only upon proof


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of knowing falsity.” Slayton, 604 F.2d at 773 (quoting Inst.           this record despite the well documented industry supply
                                                                       chain challenges. The supply chain issues impacted
Invs. Grp. v.       Avaya, Inc., 564 F.3d 242, 274 (3d Cir.
                                                                       everything from building materials to equipment to
2009)) (internal quotation marks omitted). And under the
                                                                       product.” 11/10/21 Earnings Call Tr. 8; see also AC ¶ 56.
heightened pleading standards, which apply to both scienter
requirements, plaintiffs must “state with particularity facts        • Jemley said, in response to a question about why shop
giving rise to a strong inference that the defendant acted with         margins had been lower in third quarter 2021 versus
the required state of mind.” 15 U.S.C. § 78u–4(b)(2). “For an           the prior 12 months: “And you may have noted that we
inference of scienter to be strong, ‘a reasonable person [must]         did pulse prices in early November, We have not taken
deem [it] cogent and at least as compelling as any opposing             any prices in our system of any significance since pre
inference one could draw from the facts alleged.’ ”        ATSI,        COVID. And so we've absorbed a little bit of general
                                                                        inflation, normal inflation, whether it's wage changes in
493 F.3d at 99 (quoting      Tellabs, 551 U.S. at 324).
                                                                        markets that had legislated minimum wage, and they're
                                                                        getting to their last tiers or other general wage inflation,
III. Discussion                                                         and we've been very thoughtful and careful about price
Defendants move to dismiss all claims on two broad grounds:             escalation. And again, we've instituted a price increase
that (1) the challenged statements are not actionable, as each is       to defend our margins going forward. So you've got both
either protected by the PSLRA safe harbor, a non-actionable             a seasonality aspect and then the lag of the current price
statement of opinion, puffery, or an accurate statement of fact,        increase versus what's happened inflationally over the
Def. Br. at 19–22; and (2) in any event, in the AC does not             last few quarters.” 11/10/21 Earnings Call Tr. 13; see
                                                                        also AC ¶ 57.
adequately plead scienter, Def. Br. at 22–25. 3
                                                                     • Jemley said, in response to a question about how to
For the reasons that follow, defendants are correct on both            “think about the right [pricing] level in periods of
points. The Court thus grants the motion to dismiss in its             outsized inflation”—whether to keep pricing higher to
entirety.                                                              hold margins or price more modestly to protect traffic:
                                                                       “Okay. So historically, over the years, 1% to 2% pricing.
                                                                       And as I mentioned, very low pricing since pre COVID.
  A. Allegedly Actionable Statements
                                                                       The great thing, and Joth mentioned it in his script, that
The Amended Complaint identifies 26 distinct statements
                                                                       we have 12 ingredients. We have a—I don't want to
—made in a range of fora—as allegedly materially false
                                                                       simplify the supply chain and dismiss the great effort
or misleading. The Court addresses these chronologically,
                                                                       our teams make to get things to stores. But we don't
sorting the communications at issue into eight groups.
                                                                       have a complexity that others do, and therefore, we're
                                                                       not nearly as subject, at least to date, to the types of
                                                                       inflationary pressures that others are having. We believe
               1. Statements Made During                               that that price increase we just took will defend our
             November 1, 2021 Earnings Call                            margins again going into next year. And we want to
                                                                       just stay really focused on genuinely giving value to our
On November 10, 2021, Dutch Bros issued a press release                customers, and we'll just monitor it, right? We don't have
detailing its performance in the third quarter of 2021, ending         any hard and fast philosophy. It's an environment today
on September 30, 2021. That day, Dutch Bros held a                     where you've got to be able to pivot quickly, and that's
conference call with analysts and investors to discuss those           the approach we'd like to take. I think we expect our
results. The AC challenges the following four statements               margins to generally hold up. They are industry-leading,
made on that earnings call:                                            and we're very grateful to have that, and we'll watch this
                                                                       over time.” 11/10/21 Earnings Call Tr. 14; see also AC
   *10 • Ricci said, addressing the number of shops Dutch
                                                                       157.
    Bros opened in the third quarter of 2021: “A record
    33 shops opened in this quarter, of which 30 were                • Jemley said, in response to a follow-up question on
    company-operated shops. The prior opening record was               the previous answer asking what Dutch Bros’ “basket
    26 shops in the fourth quarter of 2020, We achieved                of inflation was for commodity and labor in the third



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     quarter”: “The basket is low single digits. And inflation,    401 n.3 (6th Cir. 1997)); see also Nadoff v. Duana Reader,
     overall, it's very mild and tempered. And we don't say        Inc., 107 F. App'x 250, 252 (2d Cir. Aug. 17, 2004) (“Accurate
     that thinking we're immune to the struggles that could        statements about past performance are self evidently not
     happen going forward. But we've been very fortunate.          actionable under the securities laws[.]”).
     Dairy is not really up, that's a big component of our cost
     structure. We're forward out on coffee, very long. And        As to the third statement, by Jemley, it is one of opinion:
     we have about a 3-bean blend that we can pivot around         Jemley's comment captures his expressed “belie[f] that that
     and manage our costs. And so we feel—we don't see the         price increase [Dutch Bros had] just t[aken] [would] defend
     kind of pressure others are seeing.” 11/10/21 Earnings        [their] margins again going into next year.” 11/10/21 Tr. 14.
     Call Tr. 14; see also AC ¶ 58.                                For this statement to be actionably false or misleading, the
                                                                   AC would need to plead either that Jemley did not actually
The AC pleads that the reason each statement is false or           hold this opinion or that the facts in support he referenced
misleading is that Defendants failed to disclose, alongside
                                                                   were untrue. See      Sanofi, 816 F.3d at 199. The AC relies
it, that (1) they were “experiencing increased costs relating
                                                                   on its contention that inflation and increased commodity
to commodities, including on dairy and petroleum,” (2) as
                                                                   costs were already evident in November 2021. See AC ¶
a result, Dutch Bros was experiencing “increased margin
                                                                   60. But this argument does not say anything about whether
pressure and decreased earning and profitability,” and (3)
                                                                   Jemley then genuinely believed that price increases could
thus, “positive statements about [Dutch Bros’] business,
                                                                   enable Dutch Bros to preserve its margins “going into [the]
operations, and prospects were materially misleading and/
                                                                   next year.” 11/10/21 Tr. 14. And Jemley's post–class period
or lacked a reasonable basis.” AC ¶ 60. The AC notes that
                                                                   statement that inflation “began to show in Q2 of 2021”
in November 2021, at the time these statements were made,
                                                                   does not connote a disingenuous belief that Dutch Bros
“inflation was skyrocketing,” and “dairy prices were already
                                                                   could effectively preserve its margins through price increases.
rapidly rising (as opposed to being ‘not really up’), with
the USDA's 2021 all-milk price [ ] forecasted at $18.45 per        See     Sanofi, 816 F.3d at 211 (no liability where opinion
cwt [hundredweight] in October (up from $18.15 per cwt in          statements did not conflict with information in possession at
September) and 2022 all-milk price [ ] forecasted at $19.20        time statements were made). Further, the AC does not impugn
per cwt (up from $18.40 per cwt in September).” Id. It adds        as false or misleading the facts Jemley cited in support of his
that, after the class period, Jemley “conceded that inflation      opinion: that Dutch Bros had relatively fewer inputs subject
actually ‘began to show in Q2 of 2021.’ ” Id.                      to inflationary pressure or supply chain issues than others
                                                                   in the market, and that, “to date” in November 2021, these
 *11 These allegations, however, do not plead anything             inputs had not faced intense inflationary pressures. Id.; see
actionable under the PSLRA. As to the first two statements,        also AC ¶ 60. That dairy and petroleum costs were rising is
the AC does not explain, let alone with particularity, how         consistent with—if not the impetus for—Jemley's statement.
Ricci and Jemley's apparently accurate reports about Dutch         See     Gillis v. QRX Pharma Ltd., 197 F. Supp. 3d 557, 589–
Bros’ shop openings and its price increase in Q3 2021 were         90 (S.D.N.Y. 2016) (opinion statement not actionable under
made misleading by the absence of a reference to inflation.        PSLRA where operative complaint did not allege any facts
Even if “inflation was skyrocketing,” AC ¶ 60, it would not        cited in stating opinions were themselves false).
make inaccurate the company's report as to the number of
shops it had opened in that quarter. Nor can Dutch Bros’           Finally, as to the fourth statement, the AC does not adequately
acknowledgment that its lower shop margins in 3Q 2021 were         plead that Jemley's statement about Dutch Bros’ “basket of
partially attributable to “what's happened inflationally” be       inflation” was false or misleading. In selectively quoting
fairly cast as misleadingly positive for failing to identify the   the statement, the AC tellingly omits its factual crux: that
actual inflation rates. Cf. 11/10/21 Tr. 13. At bottom, both       Dutch Bros’ “basket of inflation” was in the low single
statements recite apparently truthful statements about past        digits. Compare AC ¶ 58, with 11/10/21 Earnings Call Tr.
events. And “a violation of federal securities law cannot be       14. The general, qualitative statements that followed—that
premised upon a company's disclosure of accurate historical        inflation “overall” was “very mild and tempered,” and that
data.”     Boca Raton Firefighters, 506 F. App'x at 38–39          dairy prices specifically were “not really up”—must be
                                                                   read in conjunction with that quantitative disclosure. See 17
(quoting    In re Sofamor Danek Group, Inc., 123 F.3d 394,
                                                                   C.F.R. § 240.10b–5 (unlawful to “omit to state a material



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fact necessary in order to make the statements made, in             including market conditions, shortages or interruptions
light of the circumstances under which they were made,              in supply due to weather or other conditions beyond
not misleading” (emphasis added)). No facts pled in the             our control, governmental regulations and inflation,
AC contradict that factual statement. See generally AC ¶            by increasing our menu prices, as well as making
60. And the AC does not plead that other species of data            other operational adjustments that increase productivity.
bearing on inflation—regarding the Consumer Price Index             However, substantial increases in costs and expenses
(“CPI”), or dairy products, or some other “basket” of goods—        could impact our operating results to the extent that such
were necessary to make Jemley's statement non-misleading.           increases cannot be offset by menu price increases.”
                                                                    11/12/21 Form 10-Q at 46; see also AC ¶ 61.
See     Matrixx Initiatives, Inc., 563 U.S. at 44–45. On the
facts pled, that statement, made in response to an investor's     • Under the “Impact of Inflation” subsection of the same
question of “can you share maybe what your basket of                section, the form states: “The primary inflation factions
inflation was for commodity and labor in the third quarter?”        affecting our operations are commodity and supplies,
11/10/21 Tr. 13, was not misleading. On the contrary, Jemley's      energy costs, and materials used in the construction of
answer gave reasonable investors additional context for his         company-operated shops. Our leases require us to pay
more subjective statements that inflation was “mild” and dairy      taxes, maintenance, repairs, insurance, and utilities, all
prices were “not really up.” See, e.g.,   In re Sanofi-Aventis      of which are generally subject to inflationary increases.
Sec. Litig., No. 07 Civ. 10279 (GBD), 2009 WL 3094957,              Finally, the cost of constructing our restaurants is subject
at *5 (S.D.N.Y. Sept. 25, 2009), on reconsideration, 2010           to inflation, increasing the costs of labor and materials,
WL 2985912 (S.D.N.Y. July 27, 2010) (“[T]aken in context            and resulting in higher rent expense on new shops.
with the publicly available data, defendants’ conclusions
                                                                    While we have been able to partially offset inflation
that the negative side effects were ‘relatively mild and self-
                                                                    and other changes in the costs of core operating
limiting’ and their other characterizations, amount to little
                                                                    resources by gradually increasing menu prices, coupled
more than expressions of opinion which are not actionable
                                                                    with more efficient purchasing practices, productivity
misstatements under Rule 10b–5.”); In re Xerox Corp. Sec.
                                                                    improvements and greater economies of scale, there can
Litig., 935 F. Supp. 2d 448, 488 n.8 (D. Conn. 2013) (“[A]
                                                                    be no assurance that we will be able to continue to do so
company has no duty to disparage its own competitive
                                                                    in the future. From time to time, competitive conditions
position in the market where it has provided accurate hard
                                                                    could limit our menu pricing flexibility. In addition,
data from which analysist and investors can draw their own
                                                                    macroeconomic conditions could make additional menu
conclusions about the company's condition[.]”). Accordingly,
                                                                    price increases imprudent. There can be no assurance
the AC does not adequately plead that this statement was false
                                                                    that future cost increases can be offset by increased
or misleading.
                                                                    menu prices or that increased menu prices will be fully
                                                                    absorbed by our guests without any resulting change
                                                                    to their visit frequencies or purchasing patterns. In
            2. Statements Made in November                          addition, there can be no assurance that we will generate
                12, 2021 Quarterly Report                           same shop sales growth in an amount sufficient to offset
                                                                    inflationary or other cost pressures.” 11/12/21 Form 10-
*12 Rein next challenges three statements from Dutch
                                                                    Q at 46–47; see also AC ¶ 62.
Bros’ third-quarter 2021 Form 10-Q, filed with the SEC on
November 12, 2021. AC ¶¶ 61–64. These are:                        • Under the “Risk Factors” section, the form states: “We
                                                                    also purchase significant amounts of dairy products,
  • Under the “Commodity Risks” subsection of the broader
                                                                    particularly milk, to support the needs of our shops.
     “Quantitative and Qualitative Disclosures about Market
                                                                    Additionally, and although less significant to our
     Risk” section, the form states: “Our profitability is
                                                                    operations than coffee or dairy, other commodities,
     dependent on, among other things, our ability to
                                                                    including but not limited to plant-based ‘milks,’ tea,
     anticipate and react to changes in the costs of key
                                                                    sugar, syrups, energy and packaging material, such as
     operating resources, including beverage, energy and
                                                                    plastics, corrugate, and canning materials, are important
     other commodities. We have been able to partially
                                                                    to our operations. Increases in the cost of dairy products
     offset cost increases resulting from several factors,
                                                                    and other commodities, such as petroleum which in turn



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     may increase the cost of our packing materials, or lack       language satisfied PSLRA safe-harbor requirement where it
     of availability, whether due to supply shortages, delays      warned that “[p]roject's economic viability [was] subject to
     or interruptions in processing, or otherwise, especially      risks regarding capital costs, the very risks which ultimately
     in international markets, could harm our business.”
                                                                   materialized.”);    In re Turquoise Hill Res. Ltd. Sec. Litig,
     11/12/21 Form 10-Q at 58; see also AC ¶ 63.
                                                                   625 F. Supp. 3d 164, 216–217 (S.D.N.Y. 2022) (company-
 *13 The AC alleges that these statements were false or            specific warnings concerning significant uncertainty of “the
misleading essentially for the same reasons as the statements      timing and cost of the construction” of certain project
challenged in the November 10, 2021 Earnings Call. See AC          sufficient to invoke safe harbor in case alleging fraud based
¶ 64.                                                              on the same);      Olkey v. Hyperion 1999 Term Tr., 98 F.3d
                                                                   2, 5 (2d Cir. 1996) (defendant not liable where it gave
For substantially the same reasons as above, the AC falls far      “prominent and specific” cautions regarding “exactly the
short of pleading with the required particularity that these       risk the plaintiffs claim was not disclosed”). To the extent
statements were false or misleading. On the contrary, based        Reins claim is that Dutch Bros’ failure to refer to specific
on the pleadings, each presented a measured assessment             inflationary rates precludes the PSLRA safe-harbor defense,
of the state of play as of the end of the third quarter of         that is wrong. The absence of that level of precision could
2021: Dutch Bros had thus far coped with increased costs by        not have misled a reasonable investor to think that the risk
increasing prices, but this strategy was not assured of success    presented by increased commodity costs did not exist. See
going forward, with rising dairy, coffee, and petroleum
                                                                      In re Delcath Sys., 36 F. Supp. 3d at 333.
prices presenting a particular risk to “harm [Dutch Bros’]
business.” 11/12/21 Form 10-Q at 58. The AC characterizes
                                                                    *14 Rein's attempt to salvage these claims by alleging
these excerpts as misleadingly “positive statements about the
                                                                   Item 303 violations is unavailing, for multiple reasons.
Company's business, operations, and prospects,” AC ¶ 64,
                                                                   At the threshold, because the above statements are not
but the qualified and caveated quality of nearly every full
                                                                   false or misleading, the Supreme Court's recent decision
sentence in the Form 10-Q belies that characterization. 4          in Macquarie Infrastructure Corporation v. Moab Partners,
                                                                   L.P., 144 S. Ct. 885 (2024), appears to bar such a claim,
Moreover, these challenged statements fall comfortably             insofar as it precludes claims based solely on an alleged Item
within the PSLRA safe-harbor, as they are both forward-            303 violation. Id. at 889 (Item 303 cannot support a private
looking and replete with meaningful cautionary language.           action under Rule 10b-5(b) “even if the failure does not render
“To determine whether cautionary language is meaningful,           any ‘statements made’ misleading). Moreover, the AC's Item
courts must first ‘identify the allegedly undisclosed risk’ and    303 arguments fail on their own terms. It alleges that Dutch
then ‘read the allegedly fraudulent materials—including the        Bros’ inclusion of more specific disclosures in SEC filings
cautionary language—to determine if a reasonable investor          after its financial troubles in the first quarter of 2022 shows
could have been misled into thinking that the risk that            that the above earlier disclosures did not “sufficiently convey
materialized and resulted in his loss did not actually exist.’ ”   the then-present risk that rising dairy and commodities prices
   In re Delcath Sys., Inc. Sec. Litig., 36 F. Supp. 3d 320, 333   were significantly outstripping Dutch Bros’ pricing and/or
                                                                   margins” during 2021. AC ¶¶ 99, 101. But that argument rests
(S.D.N.Y. 2014) (quoting      Halperin v. eBanker USA.com,
                                                                   on a logical fallacy. Dutch Bros’ first quarter 2022 SEC filings
Inc., 295 F.3d 352, 359 (2d Cir. 2002)). Here, the allegedly
                                                                   report a “jump” in dairy and gas prices in 2022 that outpaced
undisclosed risk is addressed squarely by the cautionary
                                                                   the company's pricing model, with adverse consequences
language, as both address the potential impact on Dutch Bros’
                                                                   including margin pressure. Id. ¶¶ 98, 100. These filings thus
future margins should petroleum and dairy costs continue to
                                                                   revealed that the very risk that the company had identified in
rise. In its Form 10-Q, Dutch Bros elaborated on its then-
                                                                   its third quarter 2021 report had transpired: that “substantial
strategy for handling inflation, but it repeatedly qualified
                                                                   increases in costs and expenses could impact our operating
that discussion with the caveat that increased petroleum,
                                                                   results to the extent that such increases cannot be offset by
dairy, and other costs could defeat that strategy. Those
                                                                   menu price increases.” Id. ¶ 61. If anything, Dutch Bros’ 2022
candid assessments are not actionable under the PSLRA.
                                                                   filings reflect the foresightedness of its 2021 filings.
See, e.g.,  In re NovaGold Res. Inc. Sec. Litig., 629 F.
Supp. 2d 272, 294 (S.D.N.Y. 2009) (meaningful cautionary



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The AC thus does not adequately plead that any statement in
the November 12, 2021 Quarterly Report are actionable.
                                                                                 [A]t the time each statement was
                                                                                 made, the macroeconomic conditions
            3. January 10, 2022 Form 8-K &                                       plaguing the U.S. economy and, in
         January 11, 2022 Conference Interview                                   turn, Dutch Bros’ business, were (as
                                                                                 opposed to “get[ting] a little bit
The AC alleges that the following statements in Dutch Bros’                      better”) getting far worse, as the
Form 8-K, filed with the SEC on January 11, 2022, and in                         FOMC and Federal Reserve Chair
an interview of Ricci the same day at an industry conference                     Powell had now explicitly recognized
commenting on the material in the Form 8-K, were materially                      inflation was not “transitory,” Powell
false or misleading: 5                                                           stated his expectation that elevated
                                                                                 inflation would persist through “the
     • A press release submitted with the Form 8-K quoting                       middle of” 2022, and the CPI was up
       Ricci as “stating that Dutch Bros’ ‘2020 and 2021                         6.8% year-over-year in November. At
       shop classes are performing at or above our volume                        the time each statement was made,
       expectations and within our margin expectations,’ and                     dairy prices were also rapidly rising,
       that the Company expected ‘fourth quarter revenue                         with the USDA's 2021 all-milk price
       to exceed the upper end of the previously provided                        was forecasted at $18.60 per cwt in
       guidance, with mature shop level margins in line with                     December (up from $18.50 per cwt
       expectations.’ ” AC ¶ 65. 6                                               in November) and 2022 all-milk price
                                                                                 was forecasted at $20.75 per cwt (up
     • Ricci, when asked by an interviewer at the conference                     from $20.25 per cwt in November).
        to talk about “any supply chain challenges that you're                   Indeed, CW1 recalled that in or around
        facing” said: “You know we've certainly see things get                   December/late 2021, CW1's team was
        a little bit better as the ports have freed up on the west               tasked with finding solutions to the
        coast and [ ] You know doesn't mean we are having                        issues of rising dairy costs and tighter
        challenges, but we know nothing that's gotten in the                     dairy supply.
        way of our ability to serve the customer, you may get
        a cup that doesn't have any printing on it, because the
        ink isn't available or the lid on our cups used to be        *15 Id. ¶ 68.
        blue now they're white because you can't get them[.]
        You know color differently, but you know, fortunately,       There is, however, a mismatch between the fact that the AC
        our team's done a great job of managing some of the          faults Dutch Bros for omitting (national inflationary trends)
        challenges that they've had they've gotten creative[.]       and the statements it challenges (the press release and Ricci's
        And we haven't had the issues I you know we look at          comments on Dutch Bros’ metrics and performance during
        supply chain and inflation, I think the one area we're       a discrete timeframe). “[R]evealing one fact about a subject
        probably most concerned about is freight[.] And we           does not trigger a duty to reveal all facts on the subject,
        seem to be doing pretty well on the cost of goods side       so long as ‘what was revealed would not be so incomplete
        and working with our suppliers on that end but afraid,
        as we grow across the country I think we're realizing[.]     as to mislead.’ ”    Richman v. Goldman Sachs Group,
        You know how much that impact is going to have you           Inc., 868 F. Supp. 2d 261, 274 (S.D.N.Y. 2012) (quoting
        know, on us and learning about what the long term                In re Bristol Myers, 586 F. Supp. 2d 148, 160 (S.D.N.Y.
        might look like.” 1/11/2022 ICR Conference Tr. 7; see        2008)). Here, the company discussed shop margins for the
        also AC ¶ 67.                                                fourth quarter of 2021 in a press release (margins which
                                                                     the AC does not contend were errantly reported or below
The AC asserts that these statements were materially false or
                                                                     the company's targets, cf. AC ¶¶ 102–09) and referenced
misleading on essentially the same grounds as it challenges
                                                                     inflation in passing during an interview response with respect
the November 2021 statements. The AC adds that:
                                                                     to how supply chain issues had affected the company.



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Addressing those distinct points did not oblige Dutch Bros to          and innovation to excite our customers about our
comment on “macroeconomic conditions plaguing the U.S.                 unique premium and, at times, higher-margin beverage
economy.” AC ¶ 68; see also Jiajia Luo v. Sogou, Inc., 465             offerings. In November, we successfully took a modest
F. Supp. 3d 393, 409 (S.D.N.Y. 2020) (where statement did              price increase of 2.9%. It was our first since prior to
not touch on certain compliance measures, not misleading               the pandemic and was well received by our customers,
to omit facts regarding those measures); In re Ferroglobe              operators and franchisees.” 3/1/2022 Earnings Call at 6;
PLC Secs. Litig., 19 Civ. 629 (RA), 2020 WL 6585715,                   see also AC ¶ 70.
at *7 (S.D.N.Y. Nov. 10, 2020) (“Ferroglobe's statements
about macro-trends within its industry did not require an           • Jemley stated: “[A]s we moved through the pandemic,
accompanying disclosure about the ancillary issues of pricing          we were very careful not to escalate our menu prices.
issues from that quarter. Nor did the mere mention of the              In November, we took a modest price increase, which
concept of demand trigger a duty to disclose the Company's             was our first measurable price increase in over a year for
current financial health.”).                                           our company shops. That price advance landed well for
                                                                       us. It was appropriate relative to our desired positioning
The AC's references to statements by a confidential witness            in the market .... Let's quickly look at the movement
(CW1) do not alter this analysis. See AC ¶ 68. CW1's                   in beverage, food and packaging costs and labor costs,
allegations—that the CW1's team was tasked with finding                given those are the 2 most significant costs, and the
solutions to rising dairy costs and tighter dairy supply—              industry in general has been challenged by these 2 areas
are not in tension with the challenged statements. See id.             over much of 2021. Beverage, food and packaging costs
Nowhere in the challenged comments from early 2022 did                 increased from 22.4% to 25.3% or 290 basis points. 120
Dutch Bros suggest that dairy was not a concern on which it            basis points of that increase is related to the change in
was deploying resources. On the contrary, in the interview,            discounts. That leaves 170 basis points of real changes.”
Ricci stated that “our team's done a great job of managing             3/1/2022 Earnings Call at 8–9; see also AC ¶ 71.
some of the challenges that they've had they've gotten
                                                                    • Jemley stated with respect to the fourth quarter of 2021:
creative” and that “we seem to be doing pretty well on the cost
                                                                       “Beverage, food and packaging costs increased from
of goods side and working with our suppliers on that end.” Id.
                                                                       22.9% to 26.8% or 390 basis points. 190 basis points of
¶ 67. These comments fairly conveyed that the company was
                                                                       this increase is related to the change in discounts. That
addressing the cost of goods and that he believed the team
                                                                       leaves 200 basis points of real change or 30 basis points
working on finding solutions to rising dairy costs had thus far
                                                                       more than the full year trends noted above. Two things to
done a good job.
                                                                       point out: first, we incurred a bit more ingredient costs,
                                                                       driven by inflation; and second, accelerating new shop
 *16 The AC thus fails to adequately plead that these
                                                                       development means we will have some cost efficiencies
comments were false or misleading.
                                                                       as we open up new shops and establish logistics in new
                                                                       markets .... We made the conscious decision to accelerate
                                                                       growth in the fourth quarter and into 2022. And while we
              4. March 1, 2022 Earnings Call                           always try to balance the profit growth equation in the
                                                                       near term, we are also keen to focus on long-term high-
The AC next challenges two sets of statements made during              quality revenue that will yield lasting profit and growth.”
a March 1, 2022 conference call with analysts and investors            3/1/2022 Earnings Call at 9–10; see also AC ¶ 71.
to discuss the content of the Form 8-K that Dutch Bros filed
with the SEC that same day, which reported the company's          The AC claims that these statements gave a falsely positive
performance during the fourth quarter (and thus the entirety)     impression of the company's financial situation without
of 2021. AC ¶ 69. The first set consists of these:                taking into inflationary pressure that it alleges was, by March
                                                                  1, 2022, “decimat[ing] the Company's projected earnings and
  • During the call, Ricci said: “While we are not immune         margins.” AC ¶ 76.
    to margin pressures but are managing it appropriately,
    we continue to look for operational improvements and          These statements, each made during introductory remarks to
    further opportunities in our market-based pricing model.      a call summarizing fourth quarter and full-year performance,
    In addition, we will use segmentation, personalization        are not actionable. Each reported recent performance and



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associated data. The AC does not allege that any of the                   the discount rollover from a year-over-year perspective,
data cited by Ricci and Jemley, or their limited commentary               we're just not feeling compression in margins. And
on it, was inaccurate. The AC instead emphasizes that later               the biggest thing for us is our labor costs are stable.”
statements by Dutch Bros situated its troubles combatting                 3/1/2022 Earnings Call at 16; see also AC ¶ 74.
inflation as starting during the first quarter of 2022. See id.
But that does not put in question the accuracy of the historical       • Jemley said, in response to a questioner “looking to better
data set out by Jemley or Ricci with respect to Q4 or year-               contextualize the guidance [Dutch Bros had provided]
end 2021 performance. Accurate statements of historical data              for 1Q [2022]”: “Yes. It was softer in January. It was
                                                                          better in February, less outages. We're sitting ahead of
are not a basis for Rule 10b-5 liability. See       Boca Raton            the mid-singles right now. We're—like everybody, don't
Firefighters, 506 Fed. App'x at 38–39.                                    know where the world is going to go over the next 30
                                                                          days with all that's going on. And so we're just being
*17 The AC also challenges these statements from the                      a little tepid about how we look at things. It doesn't
March 1, 2022 Earnings Call:                                              really move the needle much. The biggest revenue driver
                                                                          is annualization of new stores and new stores getting
  • Jemley, when asked by a researcher if he anticipated
                                                                          added. So it gets a lot of talk track and it is important
     additional price increases beyond the relatively modest
                                                                          to the underlying health of the business, but it's really
     one Dutch Bros had already implemented, stated: “So
                                                                          not that financially meaningful right now as fast as we're
     we look typically in a normal time frame. We're going to
                                                                          growing the top line. That's why we don't -- we try not
     look at our pricing windows every 6 months, right, in the
                                                                          to overthink it.” 3/1/2022 Earnings Call at 17; see also
     fall before holiday, in the spring before summer. And so
                                                                          AC ¶ 75.
     we're very mindful of that. I think we've been fortunate
     to not have a lot of inflation drag, both in ‘21 and frankly,   The AC alleges that these statements were materially false
     moving into early ‘22. And so we haven't felt compelled.        or misleading because Dutch Bros did not disclose the effect
     We don't price to a margin. First of all, we want to price to   of increased dairy and petroleum costs: “[D]espite reassuring
     what consumers are willing to pay. And so we're just—           the market two-thirds of the way through 1Q22 that the
     honestly, we're flexible and we're watching that closely,       1Q22 results would be positive, and, in particular, that the
     but we do, with the mindset of our relative position in         Company's margins were healthy and not being compressed,”
     the market and the customer, not to seek to a margin            the company later “reveal[ed], on May 11, 2022, that rising
     level. But we are feeling good as we enter ‘22 with the         inflation and commodities prices had, in truth, decimated the
     trajectory of our margins, given everything going on.”          Company's projected earnings and margins in 1Q22.” AC ¶
     3/1/2022 Earnings Call at 15; see also AC ¶ 73.                 76.
  • Jemley said, when asked “what guidance might be for
                                                                      *18 This claim fails for multiple reasons. First, the AC
     the first quarter or the full year ’22 on that restaurant
                                                                     simplistically describes the above language as “reassuring
     operating margin line” given inflationary pressures:
                                                                     the market two-thirds of the way through 1Q22 that the
     “Yes. So we're fortunate that the 2 big costs, cost of
                                                                     1Q22 results would be positive.” Id. Reading the statements
     goods and labor, we don't have any real significant
                                                                     on the call in full and in context, they were more nuanced
     upward momentum in the labor line. So we're starting
                                                                     and qualified. Jemley noted that Dutch Bros had “been
     halfway better than everybody else, to begin with. And
                                                                     fortunate to not have a lot of inflation drag, both in
     then secondly, we have a pretty simple pantry of goods.
                                                                     ’21 and frankly, moving into early ’22,” but that positive
     What we're really dealing with right now is freight and
                                                                     assessment was supported by the company's performance
     logistics costs going up. But we're able to do, as we've
                                                                     data and not contradicted by any data cited in the AC.
     shown in Q4 and the walk I gave you in COGS, we're
                                                                     And the speakers’ guardedly optimistic statements about the
     really able to handle that pretty effectively, and we'll get
                                                                     company's anticipated performance and margins were by and
     a full quarter of the price impact from November in our
                                                                     large conditional. 3/1/2022 Earnings Call at 15–17. Jemley
     Q1. In terms of guiding a specific margin for Q1, I'd
                                                                     stated that Dutch Bros was “feeling good as we enter ‘22 with
     prefer not to do that, It is a—Q4 is the lowest seasonality,
                                                                     the trajectory of our margins, given everything going on[,]” id.
     Q1 is the next lowest seasonality. And then we kind
                                                                     at 15 (emphasis added), adding that “from a year-over-year
     of get into Q2. But I just think from a—other than
                                                                     perspective, we're just not feeling compression in margins,”


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id. at 16 (emphasis added). But, he added that Dutch Bros             its—but we don't see it affecting our sales demand in the
was remaining “flexible” as the company could not “know               near term.” AC ¶ 77.
where the world is going to go over the next 30 days with all
that's going on,” id. at 16–17, and that the executives could      • Asked about Dutch Bros’ “moderate” pricing relative to
evaluate the impact and efficacy of the company's pricing             peer companies given rising costs, Jemley responded:
strategy to deal with cost of goods increases only after they         “[B]ecause we have a beverage-only menu, we have the
received “a full quarter” of data “regarding the price impact         power of good margins going in. We are not using margin
from November [2021] in our Q1[,]” id. at 16. Contrary to             on food, for example. So that set some context to why
the AC's characterization, these statements were not blanket          we sort of feel like we can give people a great value
assurances of a positive future.                                      at a reasonable price .... Secondly, from a margin shape
                                                                      perspective, and Joth will talk about our cadence of how
Second, the AC is wrong to treat negative developments                we actually think about price increases, but everybody's
in 1Q22—in which Dutch Bros experienced accelerating                  mind is around 2 things moving: one is commodity
“macroeconomic headwinds” that overtook its new-shop                  costs, and in our business that's cost of goods and labor.
and price-oriented strategy for combatting inflation—as               And really because we began this journey in a really
undermining what was said on the March 1 earnings call. The           good place with our culture and the take home pay that
AC does not clearly situate these developments (and Dutch             our people have and everything we do for our people
Bros’ recognition of them) as having occurred as of March 1.          and about our people, we have not had wage escalation
Rather, it appears to situate this development in mid-March.          pressure .... So you take that—half of that pressure off
See, e.g., AC ¶¶ 91 (mid-March 2022), 104 (quoting Ricci              the table from a margin perspective. And you really just
as referencing mid-March as point when sales took a turn),            dial the margin pressure into freight and logistics costs,
110 (same). The opinion statements of guarded optimism on             in the cost of goods, which allowed us, we don't price
the March 1 call cannot be impeached as false or misleading           to margin, we price to consumers’ willingness to pay,
based on events that had not yet occurred or information that         but those things work together to really be able to take
                                                                      a moderate reasonable price increase back in November
was not yet known to the speaker. See  Vivendi, S.A., 838             to kind of put us in a good spot going into this year.” Id.
F.3d at 262 (“Fraud depends on the state of events when               ¶ 78.
a statement is made, not on what happens later.”) (quoting
                                                                    *19 • Responding to the same question, Ricci stated:
   Schleicher v. Wendt, 618 F.3d 679, 684 (7th Cir. 2010)).
                                                                     “[W]e're going to evaluate it every 6 months. We'll look
                                                                     at it in the spring as we head into the late spring and
The AC thus fails to plead actionable statements during this
                                                                     summertime, and then we'll look at it again in the fall as
earnings call.
                                                                     we head into the holiday season and really into winter.
                                                                     And we'll evaluate our costs, we'll evaluate our dynamic
                                                                     pricing differences between our sizes. We'll look at what
         5. March 9, 2022 Conference Interview                       we think our promotional menu will drive for us. And
                                                                     we'll kind of look at it holistically versus just looking
The AC next contends that the following statements made at a
                                                                     at it as menu items that and a price increases. So we're
March 9, 2022, Bank of America–sponsored conference were
                                                                     going to take a lot of factors into consideration as we
materially false or misleading:
                                                                     think about price. And yes, we're watching it every day.
  • Asked whether he was worried about higher gas prices,            We're talking about it a lot, but we're also going to be
    among other things, Jemley responded: “I think we are            considerate to the consumer.” Id. ¶ 79.
    concerned about the environment around us as citizens.
    But for Dutch Bros, we're not greatly concerned about        These statements are akin to those highlighted from the March
    elevated energy prices and people's ability to still come    1 Earnings Call, as is the AC's theory as to why they were
    and enjoy Dutch. We feel like that would be one of           materially false or misleading. In essence, Jemley and Ricci
    the latter places that people would decide not to spend      again stated, as they had eight days earlier, that (1) Dutch
    money on. Elevated energy affects our freight cost, but      Bros was not immune to rising costs; (2) various factors,
                                                                 with those cited here including a lack of wage pressure,
                                                                 fewer ingredient inputs, and a general optimism surrounding


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consumer behavior, made them guardedly optimistic that           approaches “mid-March,” the AC does not anywhere allege
the company could weather rising costs without substantial       that by March 9, the company had experienced the “jump”
price increases; and (3) Dutch Bros was monitoring the           in gas prices or the downward “flip” in its daily sales, See
situation. These statements are not actionable for the reasons   id. Nor does it plead that by March 9 Jemley or Ricci had
given above. The one statement in this instance that is          access to, or that Dutch Bros had generated, data akin to that
arguably new is Jemley's that the company “felt” consumers       on which Ricci relied two months later in May 2022. Absent
would still want to “enjoy Dutch,” and be loath to cut out       concrete allegations that facts then known contradicted the
drive-through coffee, notwithstanding rising gas prices. That    statements defendants made on March 9, the AC fails to plead
opinion statement is not actionable; the AC does not impeach
                                                                 that these statements were actionable. See, e.g.,   Rombach,
it as contrary to the speaker's actual views or contrary to
undisclosed known facts. It is also inactionable puffery. See,   355 F.3d at 174–75 (upholding dismissal under   Rule 9(b)
                                                                 and PSLRA based on failure to plead specific evidence
e.g., Robeco Capital Growth Funds SICAV – Robeco Glob.
                                                                 contradicting challenged statements concerning company's
Consumer Trends v. Peloton Interactive, Inc., 665 F. Supp.
3d 522, 540 (S.D.N.Y. 2023) (general, optimistic statements      financial health);    ATSI Comm'cns, Inc., 493 F.3d at
from defendant such as “[we] feel like [at home fitness] is a    106 (dismissing for failure to plead falsity element where
trend that's here to stay” were “textbook” cases of corporate    complaint did not plead temporal facts sufficient to support
puffery); Schaffer v. Horizon Pharma PLC, No. 16 Civ. 1763       this claim).
(JMF), 2018 WL 481883 (S.D.N.Y. Jan. 18, 2018) (statements
that a defendant-company was “on track” and had a “unique
commercial business model” were inactionable puffery);                                6. 2021 Form 10-K
    San Leandro Emergency Med. Grp. Profit Sharing Plan
                                                                  *20 On March 11, 2022, defendants filed Dutch Bros’ 2021
v. Philip Morris Cos., Inc., 75 F.3d 801, 811 (2d Cir. 1996)
                                                                 Form 10-K with the SEC. The AC challenges the following
(statements of “optimism” about margins and expectations of
                                                                 statements in that filing.
good performance were puffery).
                                                                   • Under the “Commodity Risks” subsection of the
In challenging the March 9 statements, the AC notes a later          “Quantitative and Qualitative Disclosures about Market
statement by Ricci, on May 11, 2022, that:                           Risk”, the form stated: “Our profitability is dependent
                                                                     on, among other things, our ability to anticipate and
                                                                     react to changes in the costs of key operating resources,
            [I]n mid-March when gas prices                           including beverage, energy, and other commodities. We
            jumped the way they did, we saw an                       have been able to partially offset cost increases resulting
            immediate flip on our daily sales. It                    from several factors, including market conditions,
            was almost to the day of the way                         shortages or interruptions in supply due to weather
            that, that works. So I think you could                   or other conditions beyond our control, governmental
            infer—and we believe that we've done                     regulations and inflation by increasing our menu prices
            some analysis on the gas prices and                      as well as making other operational adjustments that
            influence related to our daily sales, and                increase productivity. However, substantial increases in
            we believe it has influenced it. And we                  costs and expenses could impact our operating results to
            believe that if gas prices stay inflated,                the extent that such increases cannot be offset by menu
            it will continue to influence it.                        price increases.” 3/11/2022 Form 10-K at 75; see also
                                                                     AC ¶ 82.

AC ¶ 80. The AC implies that this statement reveals that, as       • Under the “Impact of Inflation” subsection of the
of March 9, 2022, gas prices had already jumped, and Dutch           “Quantitative and Qualitative Disclosures about Market
Bros’ sales “flip” had already occurred, such that Ricci and         Risk” section, the form stated: “The primary inflation
Jemley's statements at the Bank of America Conference were           factors affecting our operations are commodity and
false or misleading. See id. But the AC does not adequately          supplies, energy costs, and materials used in the
plead facts supporting that thesis. Although March 9 surely          construction of company-operated shops .... While



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     we have been able to partially offset inflation
     and other changes in the costs of core operating              *21 3/11/2022 Form 10-K at 76 (emphasis added). The
     resources by gradually increasing menu prices, coupled       portions that the AC cuts out overtly caution that the strategies
     with more efficient purchasing practices, productivity       Dutch Bros had thus far deployed to “partially offset inflation
     improvements and greater economies of scale ....”            and other changes in the costs of core operating resources”
     3/11/2022 Form 10-K at 76; see also AC ¶ 83.                 might fail in the future. Id. The AC does not address, let
                                                                  alone explain, why these blunt risk disclosures, addressed at
The AC does not plead facts plausibly suggesting that these       the very risk that it contends was concealed, are compatible
qualified statements were false or misleading, let alone          with its claim of fraud. See, e.g., In re AppHarvest Sec.
materially so. The AC attempts this showing by seizing on         Litigation, 2023 WL 4866233, at *41 (statements functioning
excerpts of the Form 10-K. It notes, for example, the start of    as risk disclosures not false or misleading where they “warned
a sentence that begins, “[w]hile [Dutch Bros] ha[d] been able     investors of the types of risks inherent to businesses similar
to partially offset inflation and other changes in the costs of   to [the defendant's]”).
core operating resources” by increasing prices in addition to
other tweaks around the edges. AC ¶ 83 (quoting 3/11/2022         The 2021 Form 10-K thus is not fairly pled as actionable.
Form 10-K at 76) (emphasis added). But it omits the critical
qualifiers that follow, such that the passage reads in full:
                                                                               7. April 6, 2022 Podcast Interview

            While we have been able to                            The AC next challenges statements made by Ricci during a
            partially offset inflation and other                  podcast interview published on April 6, 2022:
            changes in the costs of core
                                                                    • Ricci stated, when asked about Dutch Bros’ competitive
            operating resources by gradually
                                                                       advantage over peer companies: “Our business is pretty
            increasing menu prices, coupled
                                                                       simple, right? I mean, we keep a very simple ingredient
            with more efficient purchasing
                                                                       base. We don't have ovens and kitchens and we're a
            practices, productivity improvements
                                                                       drive-thru business. We have very few walk-in locations
            and greater economies of scale,
                                                                       of the 575 locations we have today. We're really focused
            there can be no assurance that
                                                                       on doing what we do and doing it very, very well.
            we will be able to continue to
                                                                       We don't complicate it. A lot of people have talked
            do so in the future. From time to
                                                                       about supply chain problems. In those issues that you're
            time, competitive conditions could
                                                                       serving food and you have all of these 150 ingredients
            limit our menu pricing flexibility. In
                                                                       that maybe a classic QSR chain would have, we have
            addition, macroeconomic conditions
                                                                       basically 12 and then some extensions of that. So we're
            could make additional menu price
                                                                       a simple model, we have a very simple menu. We have a
            increases imprudent. There can be no
                                                                       core base of espresso and energy drinks and things like
            assurance that future cost increases can
                                                                       that.” AC ¶ 85.
            be offset by increased menu prices
            or that increased menu prices will be                   • Ricci stated, when asked about how the IPO affected
            fully absorbed by our guests without                      Dutch Bros: “Having done a few other public companies,
            any resulting change to their visit                       I think that the structure and the discipline that being a
            frequencies or purchasing patterns. In                    public company creates, I think that makes you a better
            addition, there can be no assurance                       company. The infrastructure that you're, you know,
            that we will generate same shop                           really required to hire, the reporting that you're required
            sales growth in an amount sufficient                      to do, I think makes you better in everything else that you
            to offset inflationary or other cost                      do. It forces you to look further out, it forces you to plan
            pressures.                                                ahead, it forces you to be committed to a gameplan and
                                                                      be able to resource that. We're growing into that. We've
                                                                      put a lot of good people in place and we've added some
                                                                      great resources to the company over the last couple of



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     years to prepare for this, but I think we're still growing   sit in a pretty good spot.” The AC claims that these statements
     into that. I think our G&A still has some work to do.”       were misleading because, at some point towards the end of
     Id. ¶ 86.                                                    Q1 2022, Dutch Bros experienced a sharp increase in input
                                                                  costs as well as a drop in sales, putting pressure on its profit
  • Ricci stated, when asked to discuss how “supply chain         margins. See AC ¶¶ 102–111.
    stuff, labor cost, commodity costs” “affects you, or
    maybe not as much as your peers or in others in the           The passing reference to inflation in the third statement,
    industry”: “On the supply chain. You know, like I said        however, is eclipsed by the more involved discussion
    earlier, we work with a pretty small ingredient base          elsewhere in the podcast interview of Dutch Bros’ experience
    and so we're working very closely with a very small           (or lack thereof) with supply-chain issues. And the AC does
    amount of suppliers that are doing that. Now, we've had
    the occasional trip up on a part for an ice machine or        not allege that that discussion was misleading. See     Sanofi,
    something that we could get and we've had to respond          816 F.3d at 210 (statement or omission must be “misleading
    accordingly and be able to pivot, which our team again        to a reasonable person reading the statement fairly and in
    has done a great job of doing. We just certainly haven't      context”). Read in context, that the discussion of supply chain
    seen the inflation or supply chain challenges that we've      issues contained a brief reference to inflation does not make
    heard about with other companies, and it goes back to         the statement misleading for not having taken on the subject
    simple, right? I mean, the more simple the business, the      of commodities costs.
    more effective, and fortunately we have the numbers to
    back it up, and we sit in a pretty good spot.” Id. ¶ 87.      Further, to the extent the AC means to allege that these
                                                                  statements were misleading based on what was known to the
  • Ricci stated, when asked about Dutch Bros’ financial          company as of the moment in time the podcast aired, the AC
    situation: “Margin-wise, we've been told that our margin      lacks the specific time references necessary to support this
    numbers and our EBITDA numbers are industry-                  claim. It does not allege when Ricci made the statements in
    leading, and maybe we'll let other people fill in the         the recorded podcast, as opposed to its air date of April 6, see
    blanks related to that. But I think because our supply        AC ¶ 85. It does not allege that the podcast, the statements in
    chain and our logistics and everything is so simple, you      which were largely big picture and historical, was made close
    know we run a pretty efficient business with a lot of         in time to the air date. Nor does it that, whatever the date of
    throughput.” Id. ¶ 88.                                        Ricci's statements, Dutch Bros by then had experienced the
                                                                  adverse consequences that emerged late in Q1 (or tabulated
 *22 The AC alleges that these statements were materially
false or misleading because they did not divulge relevant         its Q1 results). See   Lopez v. Ctpartners Exec. Search Inc.,
negative macroeconomic trends, and because by the time this       173 F. Supp. 3d 12, 40 (S.D.N.Y. 2016) (statements materially
interview was published, Q1 2022 had concluded—a quarter          false and misleading only where alleged contradiction was
in which Dutch Bros later reported feeling the adverse effects    apparent at time of statement). To the extent that Ricci's
of inflation on its profit margins. See id. ¶ 89.                 statements addressed the state of play before the “flip” in
                                                                  margins, these statements are compatible with the company's
Ricci's first two statements are plainly not actionable. In the   results. See    Boca Raton Firefighters, 506 F. App'x at 38–
first, he broadly described the company's business model. The     39. And to the extent that the AC faults Ricci's statements as
AC does not dispute any fact referenced therein, nor explain      falsely positive about future performance, they are forward
why any was made misleading for failure to also address the       looking, and not contradicted by well pled facts as to the
subject of inflation. In the second, Ricci addressed how the
                                                                  speaker's knowledge at the time. See, e.g.,    Lopez, 173 F.
IPO affected Dutch Bros, a subject even further afield from
                                                                  Supp. 3d at 39–41 (projections as to corporate earnings were
the impact of present-day inflation. Cf.     Richman, 868 F.      forward-looking and preliminary even though made after the
Supp. 2d at 274.
                                                                  relevant quarter had closed);   In re Lottery.com, Inc. Sec.
                                                                  Litig., No. 22 Civ. 07111 (JLR), 2024 WL 454298, at *19
The third and fourth statements do comment on conditions
                                                                  (S.D.N.Y. Feb. 6, 2024) (same).
later in time, with the third stating that the company hadn't
“seen the inflation or supply chain challenges that we've heard
about with other companies” and that relatively speaking, “we


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                                                                       statement is thus a non-actionable of opinion and a statement

                  8. April 7, 2022 Interview                           protected under the PSLRA safe-harbor. See      Slayton, 604
                                                                       F.3d at 777 (forward-looking statements protected by PSLRA
 *23 Finally, the AC challenges a statement made by Ricci              safe-harbor where facts pled made it at least equally likely
contained in a podcast interview aired on the “Inside the              defendants did not know statements false at time made).
Ice House” podcast feed on April 7, 2022. In response to a
question as to whether Ricci saw “headwinds for your drive                                          ***
through [ ] from the recent rise in both coffee bean and gas
prices,” Ricci replied:                                                For the above reasons, the AC does not adequately plead
                                                                       that any statement it challenges was materially false or
  A third of our business is done in espresso-based drinks.
                                                                       misleading. That defeats all claims, both as to primary liability
  Coffee, technically, makes up a pretty small percentage of
                                                                       under Section 10(b) and Rule 10b-5, and secondary liability
  our overall cost of goods. We're not concerned about it. I
                                                                       under Section 20(a). Bristol-Myers, 2023 WL 2308151, at *9.
  think when you live in the coffee world, you're used to the
                                                                       For completeness, however, the Court assesses defendants’
  C price going way up and way down and you just kind
                                                                       challenge to the AC's scienter allegations.
  have to live in that commodity space, I think, related to fuel
  prices, most of our stands are, they are within a kind of a
  person's daily life, right? It's on the way to school or on             B. Scienter
  the way to work or something that you're not going to stop           To adequately plead scienter, the AC must include sufficient
  doing anyway. I think that from the kind of the bubble that          allegation to raise a “strong inference that the defendant acted
  people live in, most of our stands to kind of work within            with the required state of mind.” 15 U.S.C. § 78u–4(b)(2). The
  that bubble. We'll see a little bit of hit related to kind of road   AC's relevant allegations are as follows. It alleges that Ricci
  trips. On the west coast, we have a stand that I hear about          and Jemley had a monetary motive to artificially inflate Dutch
  all the time in Davis, California. That's, if you're driving         Bros’ share price, based on the quantity and timing of their
  from the Bay Area to Tahoe, everyone says, “Well, I stop             sales of stocks during the class period. See AC ¶¶ 136–139. It
  at that Dutch on my way to Tahoe,” Well, the road trip may           further alleges that a strong inference of scienter is shown by
  go down a little bit here as gas prices are high but I think for     the individual defendants’ high-level positions within Dutch
  daily living, I wouldn't expect us to see much of a change.          Bros, by statements they made during and after the class
                                                                       period, by allegations from CW1, and by Ricci's January 2024
AC ¶ 90. The AC contends that this statement was materially
                                                                       departure. Id. ¶¶ 140–50. As to Dutch Bros, the AC pursues
false or misleading because it projected a positive picture
                                                                       a theory of respondeat superior, based on the scienter of
of Dutch Bros’ business model without disclosing the
                                                                       the individual defendants. Id. ¶¶ 151–52. These allegations,
difficulties presented by inflation and other macroeconomic
                                                                       however, do not support—more than the opposite inference
trends, as surfaced late in Q1 2022. Id. ¶ 91.
                                                                       —that the defendants acted intentionally or recklessly. See

For much the same reasons as above, the AC does not plead                 ATSI Commc'ns, 493 F.3d at 99.
facts making this statement actionable, The AC does not
plead when Ricci made the statements at issue, as opposed               *24 The Court's analysis begins with the stock sales, which
to the date the podcast became available, nor how that                 the AC terms unusual. It alleges that Jemley and Ricci,
date compared to the date when Ricci became aware of the               capitalizing on Dutch Bros’ artificially high share price, each
extent to which inflation had cut into Q1 profit margins.              sold shares on two days between the end of their lock-up
More important, the statement the AC challenges is forward-            agreements on March 4, 2022 and Dutch Bros’ “corrective
looking. Ricci projects how a “recent rise in coffee bean              disclosures” on May 11, 2022, as follows.
and gas prices” would affect Dutch Bros’ business in the
future. See id. ¶ 90. The AC does not plead that Ricci's
generally put projection—that the company's future business
would take “a bit of a hit” because “gas prices are high”
causing “road trip[ ]” to “go down a little bit,” but would not
experience “much of a change”—was disbelieved by Ricci at
the time it was made. See id. ¶¶ 90–91. This forward-looking


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                                                       See Wu Decl., Exs. 14, 16. Significantly, Forms 4 supplied
                                                       by defendants reveal that all of Jemley and Ricci's intra-class
                                                       period sales were made pursuant to non-discretionary Rule
                                                       10b-5-1 plans. See id., Exs. 13 (Ricci), 15 (Jemley).
                                                       These trades do not raise a strong inference of scienter.
                                                       “Factors considered in determining whether insider trading
                                                       activity is unusual include the amount of profit from the sales,
                                                       the portion of stockholdings sold, [and] the change in volume
                                                       of insider sales[.]”    City of Omaha Police & Fire Ret. Sys.
                                                       v. Evoqua Water Techs. Corp., 450 F. Supp. 3d 379, 419
                                                       (S.D.N.Y. 2020). It is undisputed that, during the class period,
                                                       Ricci and Jemley sold 6.7% and 2.1% of their respective
                                                       total holdings. See Def. Br. at 25 & n.11; PL Br. at 20 n.13;
                                                       Def. Reply Br. at 9. These relatively modest figures are well
                                                       below the proportion of a defendant's holdings which has
                                                       been held sufficient to give rise to an inference of fraudulent
                                                       intent. See, e.g., City of Coral Springs Police Officers’ Ret.
                                                       Plan v. Farfetch Ltd, 565 F. Supp. 3d 478, 487–88 (S.D.N.Y.
                                                       2021) (no inference of scienter where defendants sold off
                                                       4% and 20%, respectively, of their holdings);     Chapman v.
                                                       Mueller Water Prod., Inc., 466 F. Supp. 3d 382, 411 (S.D.N.Y.
                                                       2020) (same where defendant sold 65% of shares); Reilly v.
                                                       U.S. Physical Therapy, Inc., No. 17 Civ. 2347 (NRB), 2018
                                                       WL 3559089, at *15 (S.D.N.Y. July 23, 2018) (same where
                                                       defendant sold 44% of shares).

                                                       Rein fairly notes that Ricci was limited at all relevant times,
                                                       under SEC Rule 144, to selling a maximum of 210,526 shares
                                                       in any three-month period, such that he sold about 67% of
                                                       the shares he could have sold. See PL Br. 21–22; cf. In re
                                                       Aratana Therapeutics Inc. Sec. Litig., 315 F. Supp. 3d 737,
                                                       763 (S.D.N.Y. 2018) (“[T]he decisive question in assessing
                                                       whether an insider's sales are indicative of scienter is how
                                                       many shares the insider sold during the class period relative
                                                       to the total number of shares that he or she could have sold.”).
                                                       But on the facts here, that point does not assist Rein, because
                                                       Ricci forewent selling about 100,000 shares that he legally
                                                       could have sold, suggesting that, to a significant extent, he
                                                       “forwent [ ] the opportunity to turn a profit before disclosure
                                                       of concealed bad news.” Id. And the AC does not allege
                                                       that Jemley was similarly limited, dimming any suspicious
                                                       inference from his modest trading.

                                                       The AC therefore chiefly alleges that defendants’ trades were
                                                       suspicious not based on their sized but based on their timing.
                                                       Some of each individual defendant's stock sales, it notes,
                                                       occurred later in the class period, in Jemley's case five weeks
                                                       (April 5, 2022) before the May 11, 2022, disclosure of its


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                                                                   where the plaintiffs have alleged who prepared the reports,
lackluster first quarter 2022 performance, and in Ricci's case
                                                                   how frequently they were prepared, and who reviewed them,”
two days (May 9, 2022) before that date. But an inference
of scienter derived from the timing of trades does not follow      Koplyay, 2013 WL 6233908, at *7. But the AC does not allege
here. As the Form 4s for Jemley and Ricci demonstrate, these       that any contrary such reports or statements with respect
trades were each made pursuant to non-discretionary Rule           to Dutch Bros’ performance existed, let alone when they
105b-1 agreements, entered into long before the company's          were prepared and who was privy to them. The gist of its
struggles coping with inflation crystallized. See Wu Decl.,        theory is instead the repeated ipse dixit that defendants must
                                                                   have known that inflation was or would harm Dutch Bros’
Exs. 13, 15; see also AC ¶ 128 (Ricci entered into agreement
on December 7, 2021, and Jemley on December 9, 2021).              performance more was being acknowledged. See, e.g., AC
As the Second Circuit has held, “sales conducted pursuant          ¶¶ 124, 125, 136–39, 144–48. But under the case law, a
                                                                   complaint's naked declaration to that effect does not suffice.
to a 10b5-1 trading plan [cannot] be timed suspiciously[.]”
                                                                   See, e.g., Rombach, 355 F.3d at 176 (affirming dismissal of
    Ark. Pub. Emps. Ret. Sys. v. Bristol-Myers Squibb Co., 28
                                                                   PSLRA claims for failure to plead scienter, as complaint could
F.4th 343, 355–56 (2d Cir. 2022) (emphasis added). To be
                                                                   not plausibly allege scienter using a “pleading technique [that]
sure, “the mere existence of a trading plan will not defeat
                                                                   couple[s] a factual statement with a conclusory allegation of
an otherwise strong inference of scienter where, as here,
the plans were entered into during the class period[,]” In re      fraudulent intent.”) (quoting    Shields v. Citytrust Bancorp,
Aratana, 315 F. Supp. 3d at 764. But the AC does not contain
                                                                   Inc., 25 F.3d 1124, 1129 (2d Cir. 1994));       In re Marsh
independent allegations supporting such an inference, but
                                                                   & Mclennan Cos., Inc. Sec. Litig., 501 F. Supp. 2d 452,
instead relies heavily on the timing of the stock sales. And the
                                                                   484 (S.D.N.Y. 2006) (finding scienter allegations insufficient
AC does not allege that the 10b5-1 agreements were suspect.
                                                                   where facts not pled to suggest defendants had knowledge
The AC thus does not plausibly plead a financial motive on
                                                                   of or access to specific information contradicting public
the individual defendants’ part to conceal the challenges that
                                                                   statements); In re Skechers USA, Inc. Sec. Litig., 444 F.
inflation presented for Dutch Bros.
                                                                   Supp. 3d 498, 528 (S.D.N.Y. 2020) (“Scienter cannot be
                                                                   inferred solely from the fact that, due to [a defendant's]
 *25 Absent viable pleadings as to motive, the AC bears
                                                                   board membership or executive managerial position, [he] had
a “correspondingly greater burden in alleging conscious
                                                                   access to the company's internal documentation as well as any
misbehavior or recklessness.” In re Aratana, 315 F. Supp.
                                                                   adverse information.”).
3d at 765 (quoting      ECA, 553 F.3d at 198–99) (internal
quotation marks omitted). It does not carry that burden. The       The AC accordingly fails to adequately plead scienter. Such
AC's remaining argument as to scienter is that inflation and       is an independent basis supporting its dismissal.
other macroeconomic headwinds must have been damaging
Dutch Bros’ business long before defendants admitted as
much, and that defendants, by virtue of their executive
                                                                                          CONCLUSION
positions, must have known this, making their more positive
assessments during the class period “conscious misbehavior         For the foregoing reasons, the Court grants defendants’
or recklessness.” See AC ¶¶ 140–50. But the AC lacks specific      motion to dismiss in its entirety and dismisses this case with
allegations to this effect. It does not specify the contrary
                                                                   prejudice. 7
information defendants ostensibly had at the time of the
challenged statements.
                                                                   *26 SO ORDERED.

That is fatal here. To adequately allege scienter
circumstantially, a complaint must “specifically identify the      All Citations
reports or statements containing this information,” In re
Aratana, 315 F. Supp. 3d at 765. For example, “[w]ith respect      Slip Copy, 2024 WL 3105004, Fed. Sec. L. Rep. P 101,884
to sales data and reports, pleadings are sufficiently specific




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                                                       Footnotes


1      These facts are drawn primarily from the AC. For the purpose of resolving the motion to dismiss, the Court
       assumes all well-pled facts to be true and draws all reasonable inferences in favor of plaintiffs. See Koch
       v. Christie's Int'l PLC, 699 F.3d 141, 145 (2d Cir. 2012). The Court also considers documents incorporated
       into the AC by reference, documents publicly filed with the Securities Exchange Commission (“SEC”), see
          ATSI Commc'ns, Inc. v. Shaar Fund, Ltd., 493 F.3d 87, 98 (2d Cir. 2007), transcripts of relevant earnings
       calls, Frankfurt-Tr. Inv. Luxemburg AG v. United Techs. Corp., 336 F. Supp. 3d 196, 205 (S.D.N.Y. 2018),
       and other “matters of which a Court may take judicial notice,”    In re Pfizer, Inc. Sec. Litig., 538 F. Supp. 2d
       621, 627 (S.D.N.Y. 2008). As all documents attached to Defendants’ declaration in support of dismissal fall
       into one or more of these categories, the Court considers them in resolving this motion. See Dkt. 34 (“Wu
       Decl.”), Exs. 1, 2 (“3/11/22 Form 10-K”), 3 (“9/16/21 Prospectus”), 4 (“5/12/22 Form 10-Q”), 5 (“11/12/21 Form
       10-Q”), 6 (“11/10/21 Form 8-K”), 7 (“11/10/21 Earnings Call Tr.”), 8 (“3/1/22 Earnings Call Tr.”), 9 (“3/1/22
       Form 8-K”), 10 (“5/11/22 Form 8-K”), 11 (“5/11/22 Earnings Call Tr.”), 12–16, 17 (“8/10/22 Earnings Call Tr.”),
       18 (“1/11/22 ICR Interview Tr.”), 19.

2      The AC overstates, by a factor of two, Ricci's stock sales. See AC ¶ 128. Rein's brief corrects this error.
       See Dkt. 35 at 20 n.13.

3
       Defendants also argue that the AC fails to plead fraud with the particularity         Rule 9(b) requires. See
       Def. Br. at 10–11; Born v. Quad/Graphics, Inc., 521 F. Supp. 3d 469, 477–79 (S.D.N.Y. 2021) (complaint,
       which “rel[ied] primarily on bolded text in half-page block quotations to identify the allegedly misleading
       statements ... [and] ... include[d] a substantially similar paragraph containing some variation of the same five
       or so generalized, conclusory statements,” failed       Rule 9(b)). Finding the AC deficient on other grounds,
       the Court does not reach this issue. Defendants also challenge the AC's Section 20(a) claim as dependent
       on ill-pled primary violations of Section 10(b). Def. Br. at 25. That argument, as explained below, has merit.

4      Tellingly in this respect, the AC omits to quote the bulk of Dutch Bros’ disclosures in its “Impact of Inflation”
       subsection. See AC ¶ 62.

5      The AC, in ¶ 66, mistakenly refers to a statement which the parties now agree was made a year later, in
       January 2023, outside the class period. See Def. Br. at 17 n.8; Pl. Reply at 7 n.3 (“Plaintiff incorrectly attributed
       the language in ¶ 66 to the 2021 ICR Conference when it was, in fact, from a 2023 Conference. Plaintiff
       retracts that statement.”). The Court disregards this allegation.

6      The Court is unable to find the above-quoted language in the Form 8-K in the form produced by counsel
       on this motion. Regardless, because the AC alleges and defendants do not dispute that the statement was
       included in this filing, the Court considers it.

7      Rein seeks leave to amend in the event of dismissal, PL Br. at 25, but he does not say why “justice [would]
       so require” this. On the contrary, Rein has already amended once—the complaint challenged here is an
       amended complaint—and at the time Rein was given the opportunity to so file, the Court admonished him
       that “no further opportunities to amend will ordinarily be granted.” See Dkt. 29 at 17; see, e.g., Document
       Techs., Inc. v. LDiscovery, LLC, 731 F. App'x 31, 34–35 (2d Cir. 2018) (affirming dismissal with prejudice
       where plaintiff was “given adequate notice and opportunity to amend the deficiencies in its complaint and
       failed to do so”); Trautenberg v. Paul, Weiss, Rifkind, Wharton & Garrison LLP, 351 F. App'x 472, 474 (2d Cir.
       2009) (summary order) (affirming dismissal with prejudice where plaintiff “did not move for leave to replead
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       in opposition to [defendant's] motion to dismiss his original complaint with prejudice”); Horoshko v. Citibank,
                                                                                                                   22
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       N.A., 373 F.3d 248, 250 (2d Cir. 2004) (per curiam) (argument that district court abused discretion “in not
       permitting an amendment that was never requested” was “frivolous”). Closure in this litigation is particularly
       warranted, given that related shareholder litigation has been stayed in deference to this case. See Hudson
       v. Ricci, No 23 Civ. 5010 (PAE), Dkt. 12 (joint stipulation staying shareholder derivative case).



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                       TAB No. 16




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                     2024 WL 4354809                                   West Headnotes (20)
        United States District Court, S.D. New York.

    ROOFERS LOCAL NO. 149 PENSION FUND, on                             [1]   Federal Civil Procedure          Claim for relief
  behalf of itself and all others similarly situated, Plaintiff,             in general
                                v.                                           To state a claim to relief that is plausible on its
             AMGEN INC., Robert A. Bradway,                                  face, the factual allegations of a complaint must
              and Peter H. Griffith, Defendants.                             be enough to raise a right to relief above the
                                                                             speculative level. Fed. R. Civ. P. 8.
                       23 Civ. 2138 (JPC)
                                |
                   Signed September 30, 2024                           [2]   Federal Civil Procedure       Matters deemed
                                                                             admitted; acceptance as true of allegations in
Synopsis
                                                                             complaint
Background: Investor brought putative action against
corporation and two officers for securities fraud under §                    On a motion to dismiss for failure to state a
10(b) of the Securities Exchange Act of 1934 and Rule 10b-5                  claim, although the district court must accept as
and for control-person liability, alleging corporation made                  true the factual allegations in the complaint and
material misstatements and omissions by failing to disclose                  draw all inferences in the plaintiff's favor, it need
amount of audit adjustments proposed by Internal Revenue                     not accept as true legal conclusions couched as
Service (IRS). Defendants moved to dismiss for failure to                    factual allegations. Fed. R. Civ. P. 12(b)(6).
state a claim.

                                                                       [3]   Securities Regulation     Manipulative,
                                                                             Deceptive or Fraudulent Conduct
Holdings: The District Court, John P. Cronan, J., held that:
                                                                             To state a claim under § 10(b) and Rule
[1] investor adequately alleged company's omission of                        10b-5(b), a plaintiff must plead (1) a material
magnitude of potential liability to IRS rendered its disclosures             misrepresentation or omission by the defendant;
about back-taxes dispute misleading;                                         (2) scienter; (3) a connection between the
                                                                             misrepresentation or omission and the purchase
[2] investor failed to allege that company made false                        or sale of a security; (4) reliance upon the
statement regarding quantified nature of its potential liability             misrepresentation or omission; (5) economic
to IRS;                                                                      loss; and (6) loss causation. Securities Exchange
                                                                             Act of 1934 § 10,     15 U.S.C.A. § 78j(b); 17
[3] investor adequately alleged company and officers were                    C.F.R. § 240.10b-5(b).
aware of magnitude of potential liability; and

[4] investor adequately alleged omission of magnitude of               [4]   Federal Civil Procedure          Fraud, mistake
potential liability was reckless.                                            and condition of mind
                                                                             To satisfy the heightened pleading standard for
Motion denied.                                                               fraud claims, a plaintiff alleging securities fraud
                                                                             under § 10(b) and Rule 10b-5(b) must (1) specify
Procedural Posture(s): Motion to Dismiss for Failure to                      the statements that the plaintiff contends were
State a Claim; Motion to Amend the Complaint.                                fraudulent, (2) identify the speaker, (3) state
                                                                             where and when the statements were made, and
                                                                             (4) explain why the statements were fraudulent.
                                                                             Securities Exchange Act of 1934 § 10,             15


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         U.S.C.A. § 78j(b); 17 C.F.R. § 240.10b-5(b);                    alleged. Securities Exchange Act of 1934 §§ 10,
            Fed. R. Civ. P. 9(b).                                        21D,    15 U.S.C.A. §§ 78j(b), 78u-4(b).



 [5]     Federal Civil Procedure         Fraud, mistake           [9]    Securities Regulation        Misrepresentation
         and condition of mind                                           The Private Securities Litigation Reform Act
         Conclusory       allegations    or     allegations              (PSLRA) does not demand that plaintiffs
         unsupported by factual assertions are insufficient              bringing securities fraud claims plead with
         to satisfy the heightened pleading standard that                particularity every single fact upon which their
         applies to securities fraud claims under § 10(b)                beliefs concerning false or misleading statements
         and Rule 10b-5. Securities Exchange Act of                      are based. 15 U.S.C.A. § 78u-4(b).
         1934 § 10,      15 U.S.C.A. § 78j(b); 17 C.F.R. §
         240.10b-5(b);      Fed. R. Civ. P. 9(b).                 [10]   Federal Civil Procedure           Fraud, mistake
                                                                         and condition of mind
                                                                         The heightened pleading standard for fraud
 [6]     Securities Regulation        Pleading
                                                                         claims does not require plaintiffs in securities
         Securities fraud claims under § 10(b) must                      litigation to plead detailed evidentiary matter.
         satisfy the heightened pleading requirements
                                                                            Fed. R. Civ. P. 9(b).
         imposed by the Private Securities Litigation
         Reform Act (PSLRA). Securities Exchange Act
         of 1934 §§ 10, 21D,        15 U.S.C.A. §§ 78j(b),        [11]   Securities Regulation        Matters to Be
         78u-4(b).                                                       Disclosed
                                                                         Rule 10b-5's prohibition on misleading
                                                                         omissions requires disclosure of information
 [7]     Securities Regulation        Scienter
                                                                         necessary to ensure that statements already made
         In determining whether the pleaded facts give                   are clear and complete. 17 C.F.R. § 240.10b-5(b).
         rise to a strong inference of scienter, as
         necessary for a securities fraud complaint under                1 Case that cites this headnote
         § 10(b) to satisfy the heightened pleading
         requirements of the Private Securities Litigation        [12]   Securities Regulation        Nondisclosure;
         Reform Act (PSLRA), the court must take                         Insider Trading
         into account plausible opposing inferences.
                                                                         In assessing whether an omission renders a
         Securities Exchange Act of 1934 §§ 10, 21D,
                                                                         statement inaccurate, incomplete, or misleading
            15 U.S.C.A. §§ 78j(b), 78u-4(b).                             in violation of § 10(b) and Rule 10b-5, courts
                                                                         look at context and manner of presentation;
                                                                         the ultimate question, however, remains whether
 [8]     Securities Regulation        Scienter                           a reasonable investor could have been misled
         For an inference of scienter to be strong,                      to believe something in contradiction to the
         as necessary for a securities fraud complaint                   omitted facts. Securities Exchange Act of 1934
         under § 10(b) to satisfy the heightened pleading                § 10,    15 U.S.C.A. § 78j(b); 17 C.F.R. §
         requirements of the Private Securities Litigation               240.10b-5(b).
         Reform Act (PSLRA), a reasonable person must
         deem it cogent and at least as compelling as any
         opposing inference one could draw from the facts         [13]   Securities Regulation        Matters to Be
                                                                         Disclosed



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        Investor adequately alleged that company's                      (PSLRA), a securities fraud complaint will
        omission of magnitude of its potential liability                survive a motion to dismiss for failure to state
        to IRS for back taxes and penalties under                       a claim if a reasonable person would deem
        proposed audit adjustments rendered misleading                  the inference of scienter cogent and at least as
        its disclosures, first, that company was under                  compelling as any opposing inference one could
        audit for three tax years, then that IRS sent                   draw from the facts alleged. Securities Exchange
        company notices of “significant” proposed                       Act of 1934 § 21D, 15 U.S.C.A. § 78u-4(b)(2)
        adjustments for six years that “could have                      (A); Fed. R. Civ. P. 12(b)(6).
        material impact” on its finances, and later, that
        IRS was seeking $3.6 billion for three years,
        supporting investor's claims under § 10(b) and           [16]   Securities Regulation    Scienter, Intent,
        Rule 10b-5; investor alleged company's potential                Knowledge, Negligence or Recklessness
        liability for all six years was $10.7 billion,
                                                                        To plead scienter based on recklessness in the
        which was 162.4% of its net income, vague
                                                                        context of a securities fraud case based on
        terms like “significant” and “material” did not
                                                                        an omissions theory of falsity, a plaintiff must
        allow investors to assess tax risk, and disclosing
                                                                        establish both that the defendant breached a
        magnitude of risk would not require concession
                                                                        clear duty to disclose the omitted facts and that
        of liability. Securities Exchange Act of 1934
                                                                        the breach involved conduct which is highly
        § 10,    15 U.S.C.A. § 78j(b); 17 C.F.R. §                      unreasonable and which represents an extreme
        240.10b-5(b).                                                   departure from the standards of ordinary care to
                                                                        the extent that the danger was either known to the
                                                                        defendant or so obvious that the defendant must
 [14]   Securities Regulation       Misrepresentation                   have been aware of it. Securities Exchange Act
                                                                        of 1934 § 21D, 15 U.S.C.A. § 78u-4(b)(2)(A).
        Investor failed to adequately allege that
        company's statement in SEC filings that in
        “each of the matters described in this filing…
        in which [company] could incur a liability,              [17]   Securities Regulation    Scienter, Intent,
        [its] opponents seek an award of a not-yet-                     Knowledge, Negligence or Recklessness
        quantified amount of damages” such that none                    Investor adequately alleged that company, its
        of those matters had “progressed sufficiently…                  chief executive officer (CEO), and its chief
        to enable [company] to estimate a range of                      financial officer (CFO) were aware of full
        possible loss” was false with respect to IRS's                  amount of back taxes and penalties which IRS
        proposed audit adjustments, and thus, statement                 sought to recover pursuant to proposed audit
        did not support investors' claim under § 10(b)                  adjustments, as necessary for investor to satisfy
        and Rule 10b-5, even if statement referred to IRS               scienter element of securities fraud claim under §
        dispute; each filing referred reader to specific                10(b) and Rule 10b-5 under theory that company
        information about IRS dispute, which stated                     and officers were reckless in omitting full extent
        IRS had issued Notices of Proposed Adjustment                   of company's potential liability when disclosing
        (NOPAs) and Revenue Agent Reports (RARs),                       IRS disputes; investor alleged that IRS notified
        and NOPAs and RARs necessarily quantified                       company it sought about $3.6 billion in back
        amounts IRS sought. Securities Exchange Act of                  taxes for first three-year period and $5.1 billion
                                                                        in back taxes and $2 billion in penalties for
        1934 § 10,    15 U.S.C.A. § 78j(b); 17 C.F.R. §
                                                                        next three-year period, and company's SEC
        240.10b-5(b).
                                                                        filings, signed by officers, confirmed receipt
                                                                        of IRS notices, which quantified relief sought.

 [15]   Securities Regulation       Scienter                            Securities Exchange Act of 1934 § 10,    15
                                                                        U.S.C.A. § 78j(b); 15 U.S.C.A. § 78u-4(b)(2)
        Under the scienter pleading requirement of
                                                                        (A); 17 C.F.R. § 240.10b-5(b).
        the Private Securities Litigation Reform Act


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 [18]   Securities Regulation    Scienter, Intent,                [20]   Federal Civil Procedure         Pleading over
        Knowledge, Negligence or Recklessness                            Investor's request for leave to amend securities
        Investor adequately alleged that company's                       fraud complaint against company and officers if
        omission of full magnitude of its potential                      district court, on company's and officers' motion
        liability to IRS for back taxes and penalties, as                to dismiss for failure to state a claim, should
        part of company's disclosures regarding dispute                  find investor's complaint “to be deficient in any
        with IRS arising from alleged use of transfer                    respect” failed to specify how deficiencies in
        pricing to claim lower taxes, was reckless under                 complaint could be cured through amendment,
        the circumstances, satisfying scienter pleading                  and thus, in granting motion in part as to
        requirement for investor's securities fraud claim                investor's claim that company made affirmative
        under § 10(b) and Rule 10b-5; investor alleged                   misstatement, district court would not grant
        that IRS told company in notices of proposed                     investor leave to file amended complaint, where
        adjustment that it sought to recover about $10.7                 investor only requested leave to amend in
        billion, which was about 40% of company's                        cursory manner, without explaining how it
        annual revenues, that company concealed degree                   would replead affirmative-misstatement claim.
        of potential liability by describing it vaguely
                                                                         Securities Exchange Act of 1934 § 10,           15
        as “significant” even as analysts asked CEO to
                                                                         U.S.C.A. § 78j(b); Fed. R. Civ. P. 15(a)(2).
        quantify it, and that degree of potential liability
        entitled investors to more clarity. Securities
        Exchange Act of 1934 §§ 10, 21D,            15
        U.S.C.A. §§ 78j(b), 78u-4(b)(2)(A); 17 C.F.R. §
        240.10b-5(b).                                            Attorneys and Law Firms

                                                                 Brian Cochran, Robbins Geller Rudman & Dowd LLP, San
                                                                 Diego, CA, Samuel Howard Rudman, , Evan Jay Kaufman,
 [19]   Securities Regulation        Matters to Be
                                                                 Mark Tamerlane Millkey, Robbins Geller Rudman & Dowd
        Disclosed
                                                                 LLP, Melville, NY, for Plaintiff.
        Non-final nature of amounts of back taxes and
        penalties which IRS sought to recover from               Jay B. Kasner, Tansy Woan, Skadden, Arps, Slate, Meagher
        company, as reflected in Notices of Proposed             & Flom LLP, New York, NY, Peter B. Morrison, Skadden,
        Adjustment (NOPAs) and Revenue Agent                     Arps, Slate, Meagher & Flom, LLP, Los Angeles, CA, for
        Reports (RARs), did not preclude company from            Defendants.
        having clear duty to disclose full amount of
        its potential liability once it chose to speak
        publicly regarding back-taxes dispute, and thus,                           OPINION AND ORDER
        did not preclude investor's securities fraud claim
        against company under § 10(b) and Rule 10b-5             JOHN P. CRONAN, United States District Judge:
        based on theory that company's vague, partial
                                                                  *1 Through an accounting technique known as “transfer
        disclosures regarding dispute were misleading
                                                                 pricing,” multinational corporations can shift their profits to
        in light of omission of magnitude of company's
                                                                 subsidiaries in low-tax jurisdictions, thereby lowering the
        potential liability, where investor alleged that
                                                                 consolidated entity's overall tax bill. Amgen, Inc. (“Amgen”
        through NOPAs and RARs, which were issued
                                                                 or the “Company”) used this technique to great effect over
        following painstaking investigation, IRS sought
                                                                 the past decade, claiming a median effective tax rate of
        $10.7 billion in back taxes and penalties, plus
                                                                 just 12.5% by allocating billions of dollars in income to its
        interest on taxes. Securities Exchange Act of
                                                                 Puerto Rico subsidiary. And by achieving such a low tax rate,
        1934 § 10,    15 U.S.C.A. § 78j(b); 17 C.F.R. §
        240.10b-5(b).


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the Company has been able to report higher earnings and           that the Amended Complaint permits a strong inference that
consistently beat the market's expectations.                      the omission of the Company's potential multi-billion-dollar
                                                                  liability was reckless under the circumstances. The Court
Amgen's aggressive accounting practices, however, quickly         therefore denies Defendants’ motion to dismiss and orders
attracted the attention of the Internal Revenue Service           them to answer the Pension Fund's allegations.
(“IRS”), which conducted audits of the Company's 2010
to 2015 tax returns. After years-long examinations that
involved hundreds of document requests, several tours of the
                                                                                         I. Background
Company's Puerto Rico facilities, and dozens of employee
interviews, the IRS determined that Amgen had underpaid its
                                                                  A. Facts 1
taxes for those six years to the tune of approximately $8.7
                                                                   *2 “Amgen is an independent large biopharmaceutical
billion and owed an additional $2 billion in penalties. Amgen
                                                                  company that discovers, develops, [manufactures], and
made its dispute with IRS public but for years kept the size
                                                                  markets medicines for grievous illnesses.” Am. Compl. ¶
of the liability it was facing—more than an entire year of its
                                                                  2. Although headquartered in California, Amgen “claims
profits—a secret. So when news finally broke that the IRS
                                                                  to perform a substantial amount of its commercial
was seeking $10.7 billion in back taxes and penalties, plus
                                                                  manufacturing activities at its facility in Puerto Rico.” Id.
interest, the Company's share price plummeted.
                                                                  Bradway was Amgen's Chief Executive Officer (“CEO”) and
                                                                  Chairman of the Board of Directors during the Class Period,
In this putative class action, Lead Plaintiff Asbestos Workers
                                                                  as well as the Company's President since 2010. Id. ¶ 18.
Pension Fund (the “Pension Fund”) claims that, from July 29,
                                                                  From 2010 to 2012, immediately before assuming the role
2020, through April 27, 2022 (the “Class Period”), Amgen
                                                                  of CEO, Bradway was Amgen's Chief Operating Officer, and
and two of its high-level executives, Robert A. Bradway
                                                                  from 2007 to 2010, he was an Executive Vice President and
and Peter H. Griffith, misled investors about the extent
                                                                  the Company's Chief Financial Officer (“CFO”). Id. Griffith
of the potential tax liability the Company was facing in
                                                                  joined Amgen in 2019 as Executive Vice President of Finance
connection with its transfer-pricing dispute with the IRS.
                                                                  and served as the Company's CFO during the Class Period.
The Pension Fund alleges that while Defendants disclosed
                                                                  Id. ¶ 19. Prior to that, Griffith “was a partner at EY (formerly
the existence of the IRS dispute and noted that the agency
                                                                  Ernst & Young).” Id.
had proposed “significant adjustments,” which “could have
a material impact” on the Company's operations and cash
                                                                  “Prior to and during the Class Period, Amgen sought to reduce
flows, Defendants failed to inform investors about the true
                                                                  the amount of its U.S. income taxes by shifting income from
extent of the financial risk to the Company by hiding that
                                                                  the U.S. to Puerto Rico, which has a lower corporate income
the IRS was seeking to recover $10.7 billion. Through its
                                                                  tax rate than the U.S., utilizing an accounting practice known
Amended Complaint, the Pension Fund charges Defendants
                                                                  as ‘transfer pricing.’ ” Id. ¶ 3. Through transfer pricing,
with violating Section 10(b) of the Securities Exchange Act of
                                                                  “companies attempt to shift tax liabilities to low-cost tax
1934 (“Exchange Act”), 15 U.S.C. § 78j(b), and Securities         jurisdictions.” Id. ¶ 32. The practice entails determining “the
and Exchange Commission (“SEC”) Rule 10b-5, 17 C.F.R. §           price one division in a company charges another division
240.10b-5. The Pension Fund also alleges that Bradway and         for goods and services provided,” enabling “[m]ultinational
Griffith, by virtue of their control over the Company, violated   corporations, such as Amgen ... to allocate earnings among
Section 20(a) of the Exchange Act, 15 U.S.C. § 78t(a).            their subsidiary and affiliate companies that are part of the
                                                                  parent organization.” Id. ¶ 33. From 2010 to 2015, when
Defendants have moved to dismiss both counts, arguing that        Puerto Rico had a comparatively low tax rate, “Amgen
the Amended Complaint's allegations do not establish that         utilized transfer pricing to shift a substantial amount of its
Defendants made any actionable misstatements or omissions,        taxable income from the U.S. to Puerto Rico.” Id. ¶ 32. Thus,
or that they did so with the requisite mental state. The          “Amgen's use of transfer pricing enabled the consolidated
Court held oral argument on Defendants’ motion on July 18,        entity to benefit from an extremely low effective tax rate,
2024. For the following reasons, the Court concludes that the     which dramatically increased the Company's net income prior
Pension Fund has plausibly alleged that Defendants’ failure       to and during the Class Period.” Id. ¶ 3.
to disclose the true extent of the liability they faced from
the IRS dispute could have misled Amgen's investors, and


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An article published in The Wall Street Journal on August          and interest.” Id. ¶ 85; see Woan Decl., Exh. S at 2 (IRS
1, 2022 reported that “Amgen has claimed one of the                website page explaining: “Revenue Agent Reports (RARs)
lowest tax rates in the pharmaceutical industry, reporting         should contain all the information necessary to ensure a clear
a median effective tax rate of just 12.5% over the past            understanding of the adjustments and demonstrate how the
decade, compared with an 18% median rate across the 10             tax liability was computed.”). 4 A company can challenge
largest U.S. drug companies.” Id. ¶ 36. The Company's              adjustments proposed in NOPAs and RARs through the IRS's
“2013-15 tax years were especially aggressive with Amgen           administrative appeals process and, if that fails, by filing
claiming an effective tax rate of just 3.5%, 7.6%, and 13%,        a petition in the United States Tax Court. Am. Compl. ¶¶
respectively.” Id. These practices did not go unnoticed by U.S.    55-56. The Pension Fund alleges that the IRS's issuance of the
tax authorities. “Amgen's aggressive transfer pricing practices    NOPAs and the RAR for the 2010 to 2012 tax years meant that
caused the [IRS] to conduct multiple in-depth examinations of
its transfer pricing methodologies.” Id. ¶ 4. The IRS focused
on two periods: initially Amgen's 2010 to 2012 tax years, and
                                                                                there was a greater than slight chance
then Amgen's 2013 to 2015 tax years. Id.
                                                                                that Amgen would be obligated to
                                                                                pay more than $3 billion in additional
In 2013, the IRS commenced an “examination of Amgen's
                                                                                income taxes because the IRS does
federal income tax returns for its 2010-11 tax years,” and
                                                                                not issue a NOPA or RAR until it
subsequently expanded the audit “to include ... the 2012
                                                                                has concluded an extensive transfer
tax year.” Id. ¶ 57. In February 2017, Amgen disclosed in
                                                                                pricing examination supported by a
its Form 10-K 2 for the year ended December 31, 2016,                           thorough analysis of the underlying
that its “income tax returns are routinely audited by the tax                   facts of the matter, which includes the
authorities” in “the U.S. federal jurisdiction, various U.S.                    determinations of legal and economic
state jurisdictions and certain foreign jurisdictions,” and that                experts assigned to the case.
the Company was “currently under audit by the IRS for tax
years ended December 31, 2010, 2011 and 2012.” Dkt. 42
(“Woan Decl.”), Exh. D (“2016 Form 10-K”) at 94; accord            Id. ¶ 91; see also id. ¶¶ 92-95 (describing the process that
id. at 33 (“Our tax returns are routinely examined by tax          typically leads up to the issuance of a NOPA and an RAR).
authorities in the United States and other jurisdictions in        The Pension Fund also alleges that the IRS “periodically
which we do business, and a number of audits are currently         met with senior Amgen officials to confirm all relevant facts
underway. Tax authorities are becoming more aggressive in          developed during its examination” and that Amgen was given
their audits and are particularly focused on the allocations of    an opportunity—that it took—to respond to and discuss the
income and expense among tax jurisdictions.”). 3 Roughly           IRS's proposed adjustments prior to the NOPAs and the RAR
contemporaneously with this filing, “[b]etween January and         being issued. Id. ¶ 98. 5
March 2017, Amgen received NOPAs [i.e., Notices of
Proposed Adjustments] from the IRS for its 2010-12 tax             Amgen first disclosed that it had received the NOPAs and
years informing Amgen it owed [ ] approximately $3.6 billion       the RAR for the 2010 to 2012 tax years in multiple places
in back taxes, plus interest.” Am. Compl. ¶ 65. A NOPA
                                                                   of its Form 10-Q 6 for the quarter ended on March 31,
“provides taxpayers with a summary of the audit adjustments
                                                                   2017, which was filed with the SEC on April 26, 2017,
proposed by the IRS.” Id. ¶ 84. The adjustments proposed
                                                                   Am. Compl. ¶ 83. Woan Decl., Exh. E (“Q1 2017 Form
in the NOPAs “related primarily to the allocation of profits
                                                                   10-Q”) at 9-10, 33, 37. Amgen made these disclosures in
between certain of Amgen's U.S. and Puerto Rico entities and
                                                                   a note regarding “Income taxes” in the subsection labeled
allocated additional profits to the U.S.” Id. ¶ 65.
                                                                   “Notes to Condensed Consolidated Financial Statements,” id.
                                                                   at 9-10, in a section on “Income taxes” in the “Management's
 *3 Next, on April 12, 2017, “Amgen received an RAR [i.e.,
                                                                   Discussion and Analysis of Financial Condition and Results
Revenue Agent Report] from the IRS” also for its 2010 to
                                                                   of Operations,” id. at 33, and in a disclosure under “Risk
2012 tax years, which contained “the proposed adjustments.”
                                                                   Factors,” id. at 37. While Amgen did not indicate the
Id. ¶ 66. An RAR “shows the changes the IRS has made to
                                                                   amount of the proposed adjustments in that quarterly report,
the income, credits, and deductions on the taxpayer's income
                                                                   Amgen stated throughout the report that it “disagree[d]
tax return, as well as the income tax due, and penalties


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with the proposed adjustments and plan[ned] to initiate the       “informed Amgen it was seeking approximately $10.7 billion
administrative appeals process,” and further that “[f]inal        in back taxes for its 2010-15 tax years and penalties for its
resolution of the IRS audit could have a material impact on       2013-15 tax years.” Id.
[the Company's] results of operations and cash flows if not
resolved favorably.” Id. at 10; 33, 37; accord Am. Compl.         On July 29, 2020, the start of the Class Period, Amgen filed
¶ 89. Amgen further noted that it “believe[d its] income tax      a Form 10-Q with the SEC for the quarter ended June 30,
reserves [were] appropriately provided for all open tax years.”   2020. Id. ¶ 101; Woan Decl., Exh. F (“Q2 2020 Form 10-
Q1 2017 Form 10-Q at 10, 33; accord Am. Compl. ¶ 89.              Q”). This quarterly report disclosed Amgen's receipt of the
                                                                  new RAR for the 2013 to 2015 tax years, reiterated that
 *4 The Company's annual report for the fiscal year ended         Amgen had received NOPAs for those years and RARs for
December 31, 2017 included similar language. As it had            the 2010 to 2012 tax years, and stated that resolution of these
done in the prior year's report, see 2016 Form 10-K at            matters “could have a material impact” on the Company's
33, Amgen stated that the Company faced a risk from tax           financial statements. Q2 2020 Form 10-Q at 14, 43. While
authorities “becoming more aggressive in their audits” and        Amgen once again characterized the proposed adjustments as
being “particularly focused on the allocations of income          “significant” or “substantial,” the Company did not disclose
and expenses among tax jurisdictions.” Woan Decl., Exh. C         specific information revealing the magnitude of the IRS's
(“2017 Form 10-K”) at 35. That 2017 annual report disclosed       proposed adjustments. Id. In the “Income taxes” section of
that the modified RAR for tax years 2010 to 2012 received         that report, Amgen stated:
on November 29, 2017, like the original RAR for those years,
proposed “substantial adjustments,” and noted that “[f]inal         As previously disclosed, we received a[n RAR] from
resolution of the IRS audit could have a material impact            the [IRS] for the years 2010, 2011 and 2012. The
on [the Company's] results of operations and cash flows if          RAR proposes to make significant adjustments that relate
not resolved favorably.” Id. at 35, 57, 99. Amgen further           primarily to the allocation of profits between certain of
explained that while it believed its accrual for income taxes       our entities in the United States and the U.S. territory of
was appropriate, “due to the complexity of the provision for        Puerto Rico. In November 2017, we received a modified
income taxes, the ultimate resolution of any tax matters may        RAR that revised the IRS's calculations but continued
result in payments greater or less than amounts accrued.” Id.       to propose substantial adjustments. We disagree with the
                                                                    proposed adjustments and calculations and are pursuing
The next significant event occurred around early 2018,              resolution with the IRS administrative appeals office,
when the IRS began auditing Amgen's 2013 to 2015 tax                which currently has jurisdiction over the matter. If unable
years. See Am. Compl. ¶ 57 (“On February 14, 2018, the              to reach resolution, we will vigorously contest the proposed
IRS requested Amgen's documentation for Amgen's transfer            adjustments through the judicial process. In addition, as
pricing practices for its 2013-15 tax years and opened an audit     previously reported, in April 2020, we received draft
into its 2013-15 tax years on or before that date.”). A little      [NOPAs] and subsequently in May 2020, we received an
more than two years later, in April 2020, “Amgen received           RAR from the IRS for the years 2013, 2014 and 2015,
NOPAs proposing ... adjustments for its 2013-15 tax years,          which are similar to the proposed adjustments for the
informing Amgen it owed at least approximately $5.1 billion         years 2010, 2011 and 2012 that relate primarily to the
in back taxes, plus interest, and approximately $2 billion in       allocation of profits between certain of our entities in the
penalties for its 2013-15 tax years.” Id. ¶ 67. The NOPAs once      United States and the U.S. territory of Puerto Rico. We
again focused on “the allocation of profits between certain of      disagree with the proposed adjustments and calculations
Amgen's U.S. and Puerto Rico entities.” Id. Amgen disclosed         and will pursue resolution with the IRS administrative
its receipt of NOPAs for the 2013 to 2015 tax years in its          appeals office. We are also currently under examination by
Form 10-Q for the quarter ended March 31, 2020, but once            a number of other state and foreign tax jurisdictions.
again did not reveal the size of the proposed adjustments
                                                                     *5 Final resolution of these complex matters is not
or penalties, explaining only that these were “similar to the
                                                                    likely within the next 12 months and could have a
[prior] proposed adjustments.” Woan Decl., Exh. T (“Q1 2020
                                                                    material impact on our condensed consolidated financial
Form 10-Q”) at 11, 37. In May 2020, “Amgen received an
                                                                    statements. We believe our accrual for income tax liabilities
RAR for its 2013-15 tax years which included the proposed
                                                                    is appropriate based on past experience, interpretations
adjustments.” Am. Compl. ¶ 68. 7 By this point, the IRS had         of tax law and judgments about potential actions by tax


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  authorities; however, due to the complexity of the provision      an increase or decrease in the amount of the liability that
  for income taxes, the ultimate resolution of any tax matters      has been accrued previously. Our legal proceedings involve
  may result in payments substantially greater or less than         various aspects of our business and a variety of claims,
  amounts accrued.                                                  some of which present novel factual allegations and/or
                                                                    unique legal theories. In each of the matters described in
Id. at 14. These same disclosures were made again in that           this filing; in Note 19, Contingencies and commitments,
quarterly report under “Income taxes” in “Management's              to the consolidated financial statements in our Annual
Discussion and Analysis of Financial Condition and Results          Report on Form 10-K for the year ended December 31,
of Operations.” Id. at 43; accord Am. Compl. ¶ 101. These           2019; or in Note 13, Contingencies and commitments,
disclosures were then repeated “in all material respects” in        to the condensed consolidated financial statements in our
Amgen's Form 10-Q for the quarter ended September 30,               Quarterly Report on Form 10-Q for the period ended March
2020, its Form 10-K for the year ended December 31, 2020,           31, 2020, in which we could incur a liability, our opponents
and in its Form 10-Q for the quarter ended March 31, 2021.          seek an award of a not-yet-quantified amount of damages
Am. Compl. ¶¶ 105, 177, 184, 190; accord Woan Decl., Exh.           or an amount that is not material. In addition, a number of
U (“Q3 2020 Form 10-Q”) at 13, 44; Woan Decl., Exh. G               the matters pending against us are at very early stages of the
(“2020 Form 10-K”) at 43, 74, 80, 123; 8 Woan Decl., Exh.           legal process, which in complex proceedings of the sort we
P (“Q1 2021 Form 10-Q”) at 11, 35. None of those filings,           face often extend for several years. As a result, none of the
however, disclosed the full degree of the potential liability.      matters described in this filing; in Note 19, Contingencies
Am. Compl. ¶¶ 102-104, 106, 170, 178, 185, 191.                     and commitments, to the consolidated financial statements
                                                                    in our Annual Report on Form 10-K for the year ended
Like the Company's other quarterly reports, the report for          December 31, 2019; or in Note 13, Contingencies and
the second quarter of 2020 included in “Notes to Condensed          commitments, to the condensed consolidated financial
to Consolidated Financial Statements” a discussion of               statements in our Quarterly Report on Form 10-Q for the
contingent liabilities under the note, “Contingencies and           period ended March 31, 2020, in which we could incur
commitments,” and the subheader, “Contingencies.” 9 That            a liability, have progressed sufficiently through discovery
section did not explicitly mention the NOPAs, the RARs,             and/or the development of important factual information
or any dispute with the IRS. This disclosure began with the         and legal issues to enable us to estimate a range of possible
following:                                                          loss, if any, or such amounts are not material. While it is
                                                                    not possible to accurately predict or determine the eventual
  In the ordinary course of business, we are involved in            outcomes of these matters, an adverse determination in
  various legal proceedings, government investigations and          one or more of these matters currently pending could have
  other matters that are complex in nature and have outcomes        a material adverse effect on our consolidated results of
  that are difficult to predict. See our Annual Report on Form      operations, financial position or cash flows.
  10-K for the year ended December 31, 2019, Part I, Item
  1A. Risk Factors-Our business may be affected by litigation      *6 Q2 2020 Form 10-Q at 32; accord Am. Compl. ¶ 174.
  and government investigations. We describe our legal            Following these paragraphs, Amgen listed specific ongoing
  proceedings and other matters that are significant or that we   litigation. Q2 2020 Form 10-Q at 32-34. This Contingencies
  believe could become significant in this footnote; in Note      disclosure, along with a list of ongoing litigation, was
  19, Contingencies and commitments, to the consolidated          repeated in sum and substance in the report for the third
  financial statements in our Annual Report on Form 10-           quarter of 2020, Q3 2020 Form 10-Q at 31-33; the 2020
  K for the year ended December 31, 2019; and in Note             annual report, 2020 Form 10-K at 147-57; the report for the
  13, Contingencies and commitments, to the condensed             first quarter of 2021, Q1 2021 Form 10-Q at 23-24; the report
  consolidated financial statements in our Quarterly Report       for the second quarter of 2021, Woan Decl., Exh. H (“Q2 2021
  on Form 10-Q for the period ended March 31, 2020.               Form 10-Q”) at 27-28; the report for the third quarter of 2021,
                                                                  Woan Decl., Exh. I (“Q3 2021 Form 10-Q”) at 30-32; and the
  We record accruals for loss contingencies to the extent that    2021 annual report, 2021 Form 10-K at 144-51.
  we conclude it is probable that a liability has been incurred
  and the amount of the related loss can be reasonably            On February 9, 2021, Amgen filed its Form 10-K for the
  estimated. We evaluate, on a quarterly basis, developments      fiscal year ended December 31, 2020. Am. Compl. ¶ 184.
  in legal proceedings and other matters that could cause         That filing disclosed that the Company had “been unable


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to reach resolution at the administrative appeals level” and                     The IRS is also proposing significant
that Amgen anticipated that it would receive a Notice of                         adjustments to 2013 to ‘15 related to
Deficiency (“NOD”) regarding its 2010 to 2012 tax years.                         the similar issues, as you know. We
2020 Form 10-K at 43, 74, 80, 123; accord Am. Compl. ¶                           disagree — strongly disagree with the
71. This disclosure was repeated in the quarterly report for                     proposed adjustments. We're pursuing
the first quarter of 2021. Q1 2021 Form 10-Q at 11, 35, 43.                      resolution with the IRS administrative
An NOD “is, according to the IRS, a ‘legal determination                         appeals office on that. The IRS, as you
that is presumptively correct’ ” and is comprised of “[a]                        noted, they're currently auditing years
letter explaining the purpose of the notice, the amount of                       2016 through ‘18. And so yes, we're
the deficiency, and the taxpayer's options[;] [a] waiver to                      sure they'll take the same position for
allow the taxpayer to agree to the additional tax liability[;] [a]               the other periods under audit, and we
statement showing how the deficiency was computed[;] [and                        believe that we have adequate reserves
an] explanation of the adjustments.” Am. Compl. ¶ 108. As                        for that.
expected, in May 2021, Amgen received an NOD, dated April
27, 2021, through which the IRS sought $3.6 billion in back
taxes, plus interest, from Amgen for the Company's 2010 to           *7 Id.
2012 tax years. Id. ¶ 72. 10
                                                                     The day after the press release and analyst call, Amgen
Amgen disclosed its receipt of the NOD three months later            filed with the SEC its quarterly report for the quarter ended
when, “[a]fter the market closed on August 3, 2021,” id. ¶           June 30, 2021. Id. ¶ 112; see Q2 2021 Form 10-Q. That
110, Amgen issued a press release with its financial results for     report reiterated in multiple places information regarding the
the second quarter of 2021 and announced that it had “filed a        NOD, including the additional tax liability of $3.6 billion
petition in the U.S. Tax Court to contest notices of deficiencies    plus interest sought therein, and the petition Amgen filed
received from the IRS during the quarter for 2010, 2011 and          in the Tax Court. Q2 2021 Form 10-Q at 13, 40-41, 49-50.
2012.” Woan Decl., Exh. II at 17. Amgen further explained            Under “Income taxes” in “Notes to Condensed Consolidated
in that release that the NODs sought to increase its “U.S.           Financial Statements,” Amgen stated:
taxable income by an amount that would result in additional
federal tax of approximately $3.6 billion, plus interest.” Id.         In 2017, we received a[n RAR] and a modified RAR
This marked the first time Amgen revealed the amount of the            from the [IRS] for the years 2010, 2011 and 2012
tax adjustment the IRS was seeking for the 2010 to 2012 tax            proposing significant adjustments that primarily relate to
years. Am. Compl. ¶ 110. Following this disclosure, Amgen's            the allocation of profits between certain of our entities in
“common stock declined $15.77 per share, or 6.5%, from                 the United States and the U.S. territory of Puerto Rico. We
$244.08 per share on August 3, 2021 to $228.31 per share on            disagreed with the proposed adjustments and calculations
August 4, 2021, on very high trading volume.” Id. ¶ 7; accord          and pursued a resolution with the IRS administrative
id. ¶ 111.                                                             appeals office. As previously reported, we were unable
                                                                       to reach resolution with the IRS appeals office. In July
On August 3, 2021, Amgen also held a conference call                   2021, we filed a petition in the U.S. Tax Court to contest
with analysts to discuss the quarterly financial results               two duplicate [NODs] for 2010, 2011 and 2012 that we
announced in that day's press release, during which Griffith,          received in May and July 2021. The duplicate [NODs]
as the Company's CFO, fielded questions about Amgen's                  seek to increase our U.S. taxable income by an amount
tax liabilities. Id. ¶ 200. When asked if Amgen had run a              that would result in additional federal tax of approximately
calculation “to establish what an upper bound of liability             $3.6 billion, plus interest. Any additional tax that could
for 2013 through” the time of the call would be, Griffith              be imposed would be reduced by up to approximately
demurred, stating:                                                     $900 million of repatriation tax previously accrued on our
                                                                       foreign earnings. In any event, we firmly believe that the
                                                                       IRS's positions in the Notices are without merit and we will
                                                                       vigorously contest the Notices through the judicial process.
             Look, we filed a petition with the
             U.S. tax court, in this case, [which]                     In addition, in 2020, we received an RAR and a modified
             could take several years to resolve.                      RAR from the IRS for the years 2013, 2014 and 2015


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  also proposing significant adjustments that primarily relate    which contained the same disclosures concerning the NOPAs
  to the allocation of profits between certain of our entities    and the RARs, the NODs, and the Tax Court filing that were
  in the United States and the U.S. territory of Puerto           in the second quarter of 2021 report. Q3 2021 Form 10-Q at
  Rico, similar to those proposed for the years 2010, 2011        13, 42-43; see also id. at 52 (similar). Then, on February 16,
  and 2012. We disagree with the proposed adjustments             2022, Amgen filed its annual report for its fiscal year ended
  and calculations and are pursuing resolution with the           December 31, 2021, Am. Compl. ¶ 221, which also contained
  IRS administrative appeals office. We are currently under       those same disclosures. 2021 Form 10-K at 73, 79, 121-122;
  examination by the IRS for the years 2016, 2017 and 2018.       see also id. at 43 (similar). The 2021 annual report also stated
  We are also currently under examination by a number of          that Amgen anticipated receiving an NOD for the 2013 to
  other state and foreign tax jurisdictions.                      2015 tax years and that it expected to contest any such notice
                                                                  “through the judicial process.” Id. at 43, 73.
  Final resolution of these complex matters is not likely
  within the next 12 months. We believe our accrual               Amgen followed the 2021 Form 10-K with another debt
  for income tax liabilities is appropriate based on past         offering. “On or about February 18, 2022, Amgen filed
  experience, interpretations of tax law, application of the      with the SEC a prospectus” for the sale of additional debt,
  tax law to our facts and judgments about potential actions      incorporating by reference the 2021 Form 10-K. Am. Compl.
  by tax authorities; however, due to the complexity of the       ¶ 143. Four days later, “Amgen sold approximately $4 billion
  provision for income taxes and uncertain resolution of          in notes” pursuant to the prospectus. Id. ¶ 144. The Pension
  these matters, the ultimate outcome of any tax matters          Fund alleges that Amgen's creditworthiness would have
  may result in payments substantially greater than amounts       been “negatively impacted” had it disclosed the proposed
  accrued and could have a material adverse impact on our         adjustment amounts from the IRS prior to the debt offerings,
  condensed consolidated financial statements.                    such that Amgen would not have been able “to raise funds on
                                                                  the terms as set forth in” the offerings. Id. ¶ 146; see also id.
Id. at 13; accord Am. Compl. ¶ 114. These same disclosures
                                                                  ¶¶ 249-250.
also were made in this report under “Income taxes”
in “Management's Discussion and Analysis of Financial
                                                                  After the market closed on April 27, 2022, the last day of
Condition and Results of Operations,” Q2 2021 Form 10-Q at
                                                                  the Class Period, “Amgen announced its financial results for
40-41, and in “Risks Related to Government Regulations and
                                                                  the first quarter of fiscal [year] 2022.” Id. ¶ 118. In a press
Third-Party Policies,” id. at 49-50.
                                                                  release that accompanied the announcement, “the Company
                                                                  disclosed that on April 18, 2022, it received from the IRS a[n
 *8 Two days later, on August 6, 2021, Amgen “filed the
                                                                  NOD] associated with the second NOPAs and second RAR
prospectus for the issuance of approximately $5 billion in
                                                                  for Amgen's 2013-2015 tax years.” Id.; accord Woan Decl.,
notes.” Am. Compl. ¶ 211; accord id. ¶ 141. The prospectus
                                                                  Exh. B at 13. The release further stated that the “[NOD] seeks
incorporated by reference Amgen's Form 10-K for 2020
                                                                  to increase Amgen's U.S. taxable income for the 2013-2015
and Form 10-Qs for the first and second quarters of 2021.
                                                                  period by an amount that would result in additional federal
Id. ¶ 141. On August 9, 2021, Amgen successfully “sold
                                                                  tax of approximately $5.1 billion, plus interest” and that
approximately $5 billion in notes pursuant to” the prospectus.
                                                                  the “[NOD] proposes penalties of approximately $2 billion.”
Id. ¶ 142. Shortly after this offering, Bradway was asked about
                                                                  Woan Decl., Exh. B at 13. Amgen expressed in the release
Amgen's tax issues with the IRS at a healthcare conference.
                                                                  that it “firmly believe[d] that the adjustments proposed by
Id. ¶ 212. In response to a question about his level of concern
                                                                  the IRS for the 2010-2015 period and the penalties proposed
and his outlook on the matter, Bradway essentially reiterated
                                                                  by the IRS for the 2013-2015 period are without merit,” and
the Company's position in its SEC filings: “I think we've
                                                                  described various reasons for that belief. Id. at 13-14.
been very clear that we think the [IRS's] position is without
merit. And it's as simple as that. We think their position is
                                                                  Following this disclosure, Amgen's “common stock declined
without merit. And we think we've taken appropriate adequate
                                                                  $10.66 per share, or 4.3%, from $248.79 per share on April
reserves for the matter in question.” Id.
                                                                  27, 2022 to $238.13 per share on April 28, 2022, on very
                                                                  high trading volume.” Am. Compl. ¶ 8; accord id. ¶ 119. The
Amgen then filed two more reports with the SEC during the
                                                                  Company's stock price “continued to fall over the next several
Class Period. On November 3, 2021, the Company filed its
                                                                  days as the market digested the news, reaching a low of just
report for the quarter ended September 30, 2021, id. ¶ 214,


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$227.32 per share on May 2, 2022, 8.6% below the closing              A claim is plausible “when the plaintiff pleads factual content
price on April 27, 2022.” Id. ¶ 8.                                    that allows the court to draw the reasonable inference that
                                                                      the defendant is liable for the misconduct alleged.”     Id.
B. Procedural History                                                 These “[f]actual allegations must be enough to raise a right
 *9 Roofers Local No. 149 Pension Fund filed the original             to relief above the speculative level.”    Twombly, 550 U.S.
Complaint in this action on March 13, 2023. Dkt. 1. On                at 555, 127 S.Ct. 1955. Although the Court must “accept[ ]
July 7, 2023, the Court appointed the Asbestos Workers                as true the factual allegations in the complaint and draw[ ] all
Pension Fund as Lead Plaintiff. Dkt. 30. On August 31,                inferences in the plaintiff's favor,” Biro v. Condé Nast, 807
2023, the Pension Fund, on behalf of itself and the class it          F.3d 541, 544 (2d Cir. 2015), it need not “accept as true legal
seeks to represent, filed the operative Amended Complaint,            conclusions couched as factual allegations,” LaFaro v. N.Y.
bringing two counts. Dkt. 34. First, the Pension Fund alleges         Cardiothoracic Grp., PLLC, 570 F.3d 471, 475-76 (2d Cir.
that Defendants made a variety of misleading statements in            2009).
violation of Section 10(b) of the Exchange Act,      15 U.S.C.
§ 78j(b), and SEC Rule 10b-5(b), 17 C.F.R. § 240.10b-5. 11            B. Securities Fraud Claims
Am. Compl. ¶¶ 169-237, 263-272. In essence, the Pension                [3] Section 10(b) of the Exchange Act makes it unlawful
Fund argues that Amgen made material misstatements and                to “use or employ, in connection with the purchase or sale
omissions by failing to disclose the amount of the IRS's              of any security ... any manipulative or deceptive device or
proposed adjustments. Second, the Pension Fund alleges                contrivance in contravention of such rules and regulations
that by virtue of those alleged misstatements and omissions,          as the [SEC] may prescribe as necessary or appropriate
and due to their control over Amgen, Bradway and Griffith             in the public interest or for the protection of investors.”
violated Section 20(a) of the Exchange Act, 15 U.S.C. §
                                                                          15 U.S.C. § 78j(b). Rule 10b-5 provides, in relevant part,
78t(a). Am. Compl. ¶¶ 273-278.
                                                                      that it is unlawful “[t]o make any untrue statement of a
                                                                      material fact or to omit to state a material fact necessary
Defendants filed the instant motion to dismiss on November
                                                                      in order to make the statements made, in the light of the
6, 2023, Dkts. 40, 41 (“Motion”), 42. The Pension Fund
                                                                      circumstances under which they were made, not misleading ...
filed its opposition on January 12, 2024, Dkts. 44, 45,
                                                                      in connection with the purchase or sale of any security.” 17
and Defendants replied on February 26, 2024, Dkts. 50,
                                                                      C.F.R. § 240.10b-5(b). To state a claim under Section 10(b)
51 (“Reply”). On April 15, 2024, Defendants filed a letter
                                                                      and Rule 10b-5(b), a plaintiff must plead “(1) a material
regarding the United States Supreme Court's decision in
                                                                      misrepresentation or omission by the defendant; (2) scienter;
Macquarie Infrastructure Corp. v. Moab Partners, L. P., 601
                                                                      (3) a connection between the misrepresentation or omission
U.S. 257, 144 S.Ct. 885, 218 L.Ed.2d 214 (2024), Dkt. 54, and
                                                                      and the purchase or sale of a security; (4) reliance upon the
the Pension Fund responded the following day, Dkt. 56. The
                                                                      misrepresentation or omission; (5) economic loss; and (6)
Court held oral argument on Defendants’ motion to dismiss
on July 18, 2024. See Minute Entry July 18, 2024.                     loss causation.”     Matrixx Initiatives, Inc. v. Siracusano,
                                                                      563 U.S. 27, 37-38, 131 S.Ct. 1309, 179 L.Ed.2d 398 (2011)
                                                                      (internal quotation marks omitted).
                  II. Standards of Review
                                                                      *10 [4]      [5] Plaintiffs bringing securities fraud claims must
A. Federal Rule of Civil Procedure 12(b)(6)                           satisfy heightened pleading standards under       Federal Rule
 [1]     [2] Defendants have moved to dismiss the Pension
Fund's claims under Federal Rule of Civil Procedure 12(b)             of Civil Procedure 9(b).     ATSI Commc'ns, 493 F.3d at 99.
(6) for failure to state a claim. To survive such a motion, “a        Accordingly, a plaintiff alleging fraud under Section 10(b)
complaint must contain sufficient factual matter, accepted as         and Rule 10b-5(b) must “(1) specify the statements that the
true, to ‘state a claim to relief that is plausible on its face.’ ”   plaintiff contends were fraudulent, (2) identify the speaker,
                                                                      (3) state where and when the statements were made, and (4)
   Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 173
                                                                      explain why the statements were fraudulent.” Rombach
L.Ed.2d 868 (2009) (quoting     Bell Atl. Corp. v. Twombly,           v. Chang, 355 F.3d 164, 170 (2d Cir. 2004). Conclusory
550 U.S. 544, 570, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007)).


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allegations or allegations unsupported by factual assertions       In Count One, the Pension Fund alleges that Defendants made
                                                                   material misstatements and omissions by failing to disclose
are insufficient.    ATSI Commc'ns, 493 F.3d at 99.
                                                                   the amounts of the IRS's proposed tax adjustments until
                                                                   Amgen filed petitions in the Tax Court and further that these
 [6]    [7]    [8] Securities fraud claims under Section 10(b)
                                                                   misstatements and omissions were made with the requisite
must also satisfy the heightened pleading requirements
                                                                   scienter. E.g., Am. Compl. ¶¶ 147, 169, 170(a)-(c), 177-178.
imposed by the Private Securities Litigation Reform Act
                                                                   Defendants move to dismiss Count One on both falsity and
(“PSLRA”).        Tellabs, Inc. v. Makor Issues & Rts., Ltd.,      scienter grounds. Motion at 1-5.
551 U.S. 308, 321, 127 S.Ct. 2499, 168 L.Ed.2d 179 (2007).
The PSLRA requires that “the complaint ... specify each
statement alleged to have been misleading, the reason or              1. Material Misstatements and Omissions
reasons why the statement is misleading, and, if an allegation     The  Pension Fund identifies two categories of misstatements
regarding the statement or omission is made on information         or omissions that it claims are actionable under Section
and belief, the complaint shall state with particularity all facts 10(b) and Rule 10b-5. First, the Pension Fund contends
on which that belief is formed.” 15 U.S.C. § 78u-4(b)(1). In       that Amgen's Class Period disclosures concerning the IRS
pleading scienter, a complaint must “state with particularity      transfer-pricing dispute were materially misleading because
facts giving rise to a strong inference that the defendant         the Company failed to disclose that it was facing a potential
acted with the required state of mind.” Id. § 78u-4(b)(2)          liability of $10.7 billion in back taxes and penalties,
(A). “[I]n determining whether the pleaded facts give rise         plus interest on those taxes. Opposition at 11-14. Second,
to a ‘strong’ inference of scienter, the court must take into      the Pension Fund argues that Amgen's statements in its
                                                                   Contingencies disclosures that the amounts sought by its
account plausible opposing inferences.”       Tellabs, 551 U.S.
                                                                   opponents in the matters listed in those filings had not
at 323, 127 S.Ct. 2499. For an inference of scienter to be
                                                                   been quantified were affirmative misrepresentations given
strong, “a reasonable person must deem it cogent and at least
                                                                   the proposed adjustment figures provided by the IRS. Id. at
as compelling as any opposing inference one could draw
                                                                   19-21. 12
from the facts alleged.”      ATSI Commc'ns, 493 F.3d at 99
(brackets and emphasis omitted) (quoting        Tellabs, 551
U.S. at 324, 127 S.Ct. 2499).                                                        a. Alleged Omissions

 [9] [10] The Second Circuit also has cautioned that courts *11 The Pension Fund's claim for omissions-based liability
confronting securities fraud claims “must be careful not       is that, while Defendants truthfully disclosed receiving
to mistake heightened pleading standards for impossible        the NOPAs and the RARs in their Class Period SEC
                                                               filings, Defendants kept investors in the dark as to the full
ones.”     Altimeo Asset Mgmt. v. Qihoo 360 Tech. Co., 19
                                                               extent of the liability the Company was facing by hiding
F.4th 145, 150 (2d Cir. 2021) (internal quotation marks
                                                               the fact that the IRS was seeking $10.7 billion in back
omitted). The PSLRA does not demand “that plaintiffs
                                                               taxes and penalties, plus interest. Id. at 11 (arguing that
plead with particularity every single fact upon which their
                                                               Defendants violated their duty to tell the “whole truth”
beliefs concerning false or misleading statements are based.”
                                                               by omitting the magnitude of the potential liability). The
   Novak v. Kasaks, 216 F.3d 300, 313 (2d Cir. 2000).          Pension Fund contends that Defendants had a duty to disclose
Nor does       Rule 9(b) “require the pleading of detailed     the $10.7 billion figure under two independent theories.
                                                               First, the Pension Fund asserts that the omission of the
evidentiary matter in securities litigation.” In re Scholastic amount rendered Defendants’ disclosure of the IRS dispute
Corp. Sec. Litig., 252 F.3d 63, 72 (2d Cir. 2001).             unclear, incomplete, and thus potentially misleading because
                                                               it prevented reasonable investors from understanding the
                                                               true nature of the risk Amgen was facing. Id. at 11-14.
                        III. Discussion                        Second, the Pension Fund maintains that Defendants were
                                                               obligated to disclose the amount of the proposed adjustments
A. Section 10(b) and Rule 10b-5                                under Accounting Standards Codification 450, a Generally
                                                               Accepted Accounting Principles standard addressing the



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recognition and disclosure of loss contingencies. Id. at 14-19;     Litig., 774 F. Supp. 2d 549, 569 (S.D.N.Y. 2011); see also
                                                                    Macquarie Infrastructure Corp., 601 U.S. at 263, 144 S.Ct.
see generally      In re Perrigo Co. PLC Sec. Litig., 435 F.
                                                                    885 (“Disclosure is required under [Section 10(b) and Rule
Supp. 3d 571, 582 (S.D.N.Y. 2020). Because the Court agrees
                                                                    10b-5] only when necessary ‘to make ... statements made, in
that the Pension Fund has adequately pleaded that Defendants
                                                                    the light of the circumstances under which they were made,
had a duty to disclose the $10.7 billion figure or otherwise
inform investors as to the true extent of Amgen's potential         not misleading.’ ” (quoting    Siracusano, 563 U.S. at 44,
liability under the first theory, it is not necessary to consider   131 S.Ct. 1309)).
the second. 13 See Wang v. Cloopen Grp. Holding Ltd., 661
F. Supp. 3d 208, 227 n.5 (S.D.N.Y. 2023).                     Defendants principally argue that their failure to tell investors
                                                              that the IRS was seeking $10.7 billion could not have been
In addition to proscribing affirmative misstatements, Section misleading in light of Amgen's “timely, robust disclosures
10(b) and Rule 10b-5(b) make it unlawful “to omit to state a  about its dispute with the IRS and its impact on Amgen's
material fact necessary in order to make the statements made, financials.” Motion at 10-11; accord Reply at 3-4. In its
in the light of the circumstances under which they were made, Form   10-K for the fiscal year ended December 31, 2016, for
not misleading.” 17 C.F.R. § 240.10b-5(b). So although the    example, Amgen disclosed that it was “currently under audit
Supreme Court has long made clear that “[s]ilence, absent     by the IRS for tax years ended December 31, 2010, 2011 and
a duty to disclose, is not misleading under Rule 10b-5,”      2012” and identified as a risk factor that “[t]ax authorities are
                                                              becoming more aggressive in their audits and are particularly
    Basic Inc. v. Levinson, 485 U.S. 224, 239 n.17, 108       focused on the allocations of income and expense among
S.Ct. 978, 99 L.Ed.2d 194 (1988), a person must supply        tax jurisdictions.” 2016 Form 10-K at 33, 94. Then, in its
relevant material information concerning a given subject      quarterly report for the first quarter of 2017, Amgen disclosed
when that person makes a statement that would otherwise       that it had received NOPAs and an RAR corresponding to
“be inaccurate, incomplete, or misleading without further     tax years 2010 through 2012 and emphasized that those
context,” In re Synchrony Fin. Sec. Litig., 988 F.3d 157, 167 notices contained “significant proposed adjustments relate[d]
(2d Cir. 2021) (internal quotation marks omitted); see also   primarily to the allocation of profits between certain of
    Meyer v. JinkoSolar Holdings Co., 761 F.3d 245, 250 (2d   [the Company's] entities.” Q1 2017 Form 10-Q at 9-10, 33.
Cir. 2014) (“Even when there is no existing independent duty  Amgen also warned investors that the IRS audit “could have
to disclose information, once a company speaks on an issue    a material impact on [the Company's] results of operations
or topic, there is a duty to tell the whole truth.”).         and cash flows if not resolved favorably.” Id. Amgen's SEC
                                                              filings during and around the Class Period contained similar
 [11]     [12] Thus, as the Supreme Court reaffirmed just language, including with respect to its 2013 to 2015 tax
this past term, Rule 10b-5's prohibition on misleading        years. See, e.g., Q1 2020 Form 10-Q at 11, 37 (reiterating
omissions “requires disclosure of information necessary to    that the IRS was proposing “significant adjustments” relating
ensure that statements already made are clear and complete.”  to transfer pricing as to the 2010 to 2012 tax years and
Macquarie Infrastructure Corp., 601 U.S. at 263, 144 S.Ct.    disclosing that the Company had received NOPAs for 2013
                                                              to 2015 that were “similar to the proposed adjustments” for
885; see also        Omnicare, Inc. v. Laborers Dist. Council
                                                              2010 to 2012); Q2 2020 Form 10-Q at 14, 43 (warning
Const. Indus. Pension Fund, 575 U.S. 175, 192, 135 S.Ct.
                                                              investors that the proposed adjustments were “significant,”
1318, 191 L.Ed.2d 253 (2015) (“[L]iteral accuracy is not
                                                              “substantial,” “may result in payments substantially greater
enough: An issuer must as well desist from misleading
                                                              than amounts accrued,” and “could have a material impact”
investors by saying one thing and holding back another.”). In
                                                              on the Company's financial statements); 2020 Form 10-K at
assessing whether an omission renders a statement inaccurate,
                                                              43, 74, 80-81, 123 (similar).
incomplete, or misleading, courts look at “context and
manner of presentation.”       Operating Loc. 649 Annuity            *12 [13] The Court disagrees that these disclosures
Tr. Fund v. Smith Barney Fund Mgmt. LLC, 595 F.3d 86,               sufficiently informed investors as to the risks Amgen was
92 (2d Cir. 2010) (internal quotation marks omitted). The           facing from its transfer-pricing dispute with the IRS. The
ultimate question, however, remains whether a “reasonable           magnitude of the Company's potential liability to the IRS
investor could have been [misled] to believe something in           expressed in the NOPAs and RARs for the 2010 to 2015
contradiction to the omitted facts.” In re Sanofi-Aventis Sec.      tax years was enormous, even for a company the size of


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Amgen: $10.7 billion in back taxes and penalties, with            Elan Corp., 706 F.3d 145, 153 (2d Cir. 2013) (“Even a
interest on the taxes due. Am. Compl. ¶¶ 68, 170(c).              statement which is literally true, if susceptible to quite another
Put differently, as alleged, the IRS was seeking monetary         interpretation by the reasonable investor[,] may properly be
relief from Amgen amounting to, for 2022, 139.4% of               considered a material misrepresentation.” (internal quotation
the Company's cash and cash equivalents, 290.6% of its            marks omitted, alteration in original)).
stockholders’ equity, 162.4% of its net income, 40.4% of
the Company's revenue, and 16.3% of its assets. Id. ¶ 137         Indeed, Defendants’ disclosure of the IRS dispute without
(referring to Amgen's financials for fiscal year 2022). Given     revealing its true scope calls to mind the Supreme Court's
the sheer size of the potential liability Amgen was facing,       example in Macquarie of a child telling his parents that
Defendants’ vague characterizations of the amounts the IRS        he had “dessert” when in fact he had eaten the “whole
was seeking as “significant,” “substantial,” and potentially      cake”—and this Court does not believe that analogy would
“material” rendered its disclosure of the tax dispute neither     have come out differently had the child described his treat
“clear” nor “complete.” Macquarie Infrastructure Corp., 601       as merely “significant” or “substantial” instead. Macquarie
U.S. at 263, 144 S.Ct. 885.                                       Infrastructure Corp., 601 U.S. at 263, 144 S.Ct. 885. It
                                                                  was therefore unsurprising that when the truth regarding the
To the contrary, “investors were left in the dark about           potential liability Amgen was facing finally emerged, the
the magnitude of that liability.” Wang, 661 F. Supp. 3d at        Company's share price declined appreciably and the analyst
226. On an August 3, 2021 conference call, for example,           community noted the importance to investors of those alleged
Griffith referred to “a difference of opinion on the value        corrective disclosures. See Am. Compl. ¶¶ 7-8 (alleging that
of the significant risks” presented by the IRS dispute            the price of Amgen's common stock fell by 6.5% after the
and emphasized the Company's “strong[ ] belie[f]” that            Company disclosed its $3.6 billion potential liability for tax
the agency's position was “without merit,” yet continued          years 2010 to 2012 and by 8.6% after it revealed the additional
to describe the potential liability as merely “significant.”      $7.1 billion potential liability for tax years 2013 to 2015); id.
Am. Compl. ¶ 200. But the Pension Fund plausibly                  ¶ 162 (Jeffries analyst report stating that Amgen's disclosure
pleads that milquetoast account of the risks involved—            of the additional potential liability for tax years 2013 to
which could easily have referred to amounts far below             2015 “certainly add[ed] noise to the story,” observing that
Amgen's potential $10.7 billion liability—“did not reveal the     the IRS dispute had been “off the radar for most investors,”
information necessary for the investing public to make a          and acknowledging the “lack of visibility” into the matter).
proper assessment of the alleged risks” relating to the IRS       Drawing all reasonable inferences in the Pension Fund's
dispute and, when contrasted with the Company's repeated,         favor, as the Court must on a motion to dismiss, the omission
forceful rejections of the agency's position, could have misled   of information sufficient to quantify the potential liability
                                                                  Amgen was facing could, under the circumstances alleged,
investors regarding the risks involved.    Moab Partners,
                                                                  plausibly have misled a reasonable investor regarding the
L.P. v. Macquarie Infrastructure Corp., No. 21-2524, 2022
                                                                  financial risks facing the Company.
WL 17815767, at *4 (2d Cir. Dec. 20, 2022) (“Having
chosen to speak about their base of customers, Defendants
                                                                   *13 The cases Defendants rely on in their briefing do
had a duty to speak accurately, giving all material facts in
                                                                  not support their contention that terms like “significant,”
addressing those issues to permit investors to evaluate the
                                                                  “substantial,” and “material” would have been enough to
potential risks.”), vacated and remanded on other grounds
                                                                  alert reasonable investors to the size of the potential $10.7
by Macquarie Infrastructure Corp., 601 U.S. 257, 144 S.Ct.
                                                                  billion liability. In one case Defendants rely on,     City
885;     Meyer, 761 F.3d at 251 (“A generic warning of a
                                                                  of Pontiac, the Second Circuit rejected the notion that a
risk will not suffice when undisclosed facts on the ground
                                                                  company being investigated by the Department of Justice
would substantially affect a reasonable investor's calculations
                                                                  for tax evasion was required to disclose, in addition to
of probability.”). In other words, Defendants’ omission of
                                                                  the existence of the investigation itself, that in fact the
the $10.7 billion potential liability or other information from
                                                                  company was guilty of the alleged underlying offenses.
which investors could accurately assess the true nature of the
IRS dispute concealed the extent of the risk the company was         City of Pontiac Policemen's & Firemen's Ret. Sys. v.
facing, making its use of vague qualifiers like “significant”     UBS AG, 752 F.3d 173, 184 (2d Cir. 2014). Explaining that
                                                                  “disclosure is not a rite of confession” whereby companies
and “substantial” plausibly misleading. See       Kleinman v.



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subject to an investigation must immediately capitulate to the     was facing in connection with its 2013 to 2015 tax years,
government's position, the Second Circuit held that in those       the inclusion of the $3.6 billion figure, in conjunction with
circumstances it was sufficient for the company to reveal          Amgen's disclosures that its exposure for the later tax years
the fact of the investigation and warn investors that it could     was comparable to its exposure for the prior years, arguably
be subject to “substantial monetary damages,” among other          suggests a different analysis. Even if such an argument
                                                                   had been properly presented, however, the Court would not
relief. Id. But nothing in this Court's Opinion suggests
                                                                   conclude that Amgen's disclosures in these later filings were
that Amgen was required to “confess” to having in fact
                                                                   sufficient to warrant dismissal. To be sure, the $3.6 billion
underpaid its taxes. 14 The Company was (and is) free to           figure would have provided reasonable investors with at least
vigorously dispute the legal and factual merits of the IRS's       some basis to estimate the possible exposure for the 2013 to
assessments, and to tell investors that it is doing so; what       2015 tax years. But in reality, the liability Amgen was facing
it cannot do consistent with Section 10(b) and Rule 10b-5,         in connection with the 2013 to 2015 tax years was almost
however, is present investors with an incomplete, unclear, and     double the amount the IRS was seeking in connection with
thus plausibly misleading picture of the financial risks posed     the earlier three years, representing $7.1 billion in additional
by that dispute. 15                                                back taxes and penalties, plus interest on the taxes due. Am.
                                                                   Compl. ¶ 63. And far from accurately informing investors that
Nor, as Defendants argue, does holding actionable Amgen's          the very worst was still to come, Amgen's filings downplayed
omission of the $10.7 billion figure conflict with the district    the 2013 to 2015 amounts as “similar” to the 2010 to 2012
court's reasoning in     In re N2K. There, the district court      amounts and continued to refer to the additional $7.1 billion
held that a prospectus was not misleading where it warned          in potential loss as merely “significant.” E.g., Q3 2021 Form
investors that the company expected to incur “significant          10-Q at 13.
losses” despite the company's failure to contemporaneously
disclose that it had suffered a net loss of $13.7 million in       For these reasons, the Pension Fund has adequately alleged
                                                                   that Defendants’ Class Period disclosures regarding the IRS
its then-current quarter.   In re N2K, Inc. Sec. Litig., 82        dispute were unclear, incomplete, and therefore plausibly
F. Supp. 2d 204, 205-06, 209-10 (S.D.N.Y. 2000). Even              misleading by virtue of omitting the fact that the liability
setting aside the difference in magnitude between $13.7            Amgen faced was as high as $10.7 billion or otherwise
million and $10.7 billion, in      In re N2K the company had       disclosing facts sufficient to allow investors to assess the true
paired its general cautionary statements with “trends reflected    extent of the risk.
by ... graphical depictions” specifically disclosing that it
had suffered net losses of $13.2 million and $5.4 million
in its prior two quarters, so the $13.7 million net loss it                         b. Alleged Misstatements.
subsequently disclosed could not have come as much of a
                                                                   As noted, the Pension Fund also proceeds on an affirmative
surprise to the reasonable investor.       Id. at 208-10 & n.7.
                                                                   misstatement theory. Specifically, the Pension Fund alleges
Here, on the other hand, Amgen did not begin publishing
                                                                   that Amgen's Class Period SEC filings contained material
any quantifiable information concerning the range of its
                                                                   misstatements regarding the status of the Company's transfer-
potential liability to the IRS until well into the Class Period.
                                                                   pricing dispute with the IRS. Opposition at 19. As noted,
Defendants’ remaining cases are similarly inapposite.
                                                                   each of the quarterly and annual reports that Amgen filed
                                                                   with the SEC during the Class Period included a Note titled
 *14 While much of the parties’ briefing appears to treat
                                                                   “Contingencies and commitments,” found under the report's
all of the Company's Class Period SEC filings as similarly
                                                                   “Notes to Condensed Consolidated Financial Statements.”
situated for purposes of the Pension Fund's omissions theory,
                                                                   Under “Contingencies and commitments” was the subtitle,
beginning with its Form 10-Q for the second quarter of
                                                                   “Contingencies.” As an example, the Contingencies section in
2021 Amgen's challenged disclosures included a statement
                                                                   Amgen's Form 10-Q for the second quarter of 2020, the first
that the IRS was specifically seeking $3.6 billion in back
                                                                   SEC filing during the Class Period, included the following
taxes and interest for its 2010 to 2012 tax years. See, e.g.,
                                                                   language:
Q2 2021 Form 10-Q at 13, 40; Q3 2021 Form 10-Q at 13,
42; 2021 Form 10-K at 73, 79, 121. Although these later
filings continued to omit the size of the liability the Company


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                                                                          have a material adverse effect on
                                                                          our consolidated results of operations,
           Our legal proceedings involve various                          financial position or cash flows.
           aspects of our business and a variety
           of claims, some of which present
           novel factual allegations and/or unique           Q2 2020 Form 10-Q at 32 (emphasis added). The
           legal theories. In each of the matters            Contingences section for the other Class Period quarterly
           described in this filing; in Note 19,             reports and annual reports contained similar language. See
           Contingencies and commitments, to                 Q3 2020 Form 10-Q at 31; 2020 Form 10-K at 147; Q1
           the consolidated financial statements             2021 Form 10-Q at 23; Q2 2021 Form 10-Q at 27; Q3 2021
           in our Annual Report on Form 10-                  Form 10-Q at 30; 2021 Form 10-K at 144. In the Pension
           K for the year ended December 31,                 Fund's view, Amgen's dispute with the IRS, which is indeed
           2019; or in Note 13, Contingencies                described in each of the relevant filings, is a “matter[ ]
           and commitments, to the condensed                 described in this filing” for which the IRS, through its NOPAs
           consolidated financial statements in              and RARs, had in fact sought a specific amount of back taxes
           our Quarterly Report on Form 10-                  and other relief. Opposition at 19. The Pension Fund therefore
           Q for the period ended March 31,                  argues that the emphasized language in the above passage was
           2020, in which we could incur a                   materially false or misleading as applied to the IRS dispute
           liability, our opponents seek an award            because it stated that for “each of the matters described in
           of a not-yet-quantified amount of                 this filing” Amgen's opponents sought “an award of a not-
           damages or an amount that is not                  yet-quantified amount of damages,” and that as a result the
           material. In addition, a number of                Company was unable to “estimate a range of possible loss”
           the matters pending against us are at             for those matters. Id. at 19-20 (quoting Am. Compl. ¶¶ 174,
           very early stages of the legal process,           181, 195, 208) (emphasis removed).
           which in complex proceedings of the
           sort we face often extend for several              *15 To start, it is far from clear that, at least as to the
           years. As a result, none of the matters           filings prior to the Q2 2021 Form 10-Q, a reasonable investor
           described in this filing; in Note 19,             would have understood this passage to be referring to the
           Contingencies and commitments, to                 IRS dispute. The Contingencies Note, where the challenged
           the consolidated financial statements             language in each filing resides, states at the outset that
           in our Annual Report on Form 10-                  the purpose of the Note is to “describe [Amgen's] legal
           K for the year ended December 31,                 proceedings and other matters that are significant or that
           2019; or in Note 13, Contingencies                [the Company believes] could become significant in this
           and commitments, to the condensed                 footnote.” E.g., Q2 2020 Form 10-Q at 32 (emphasis added).
           consolidated financial statements in              Then, immediately after the challenged passage, the Note
           our Quarterly Report on Form 10-Q                 states that “[c]ertain recent developments concerning our
           for the period ended March 31, 2020,              legal proceedings and other matters are discussed below”
           in which we could incur a liability,              before listing a host of pending civil litigations involving
           have progressed sufficiently through              Amgen. Id. at 32-34 (listing, for example, “Genentech, Inc.
           discovery and/or the development of               v. Amgen Inc.,” “Novartis Pharma AG v. Amgen Inc.,” and
           important factual information and                 “Humira ® Biosimilar Antitrust Class Actions”). With that
           legal issues to enable us to estimate             context, it appears far more likely that a reasonable investor
           a range of possible loss, if any,                 would have understood even the facially broad language,
           or such amounts are not material.                 “matters described in this filing,” to mean only the discrete list
           While it is not possible to accurately            of “legal proceedings and other matters” listed immediately
           predict or determine the eventual                 after the quoted language in the Note itself, which list did not
           outcomes of these matters, an adverse             include the IRS dispute prior to the Q2 2021 Form 10-Q. Id.
           determination in one or more of
           these matters currently pending could



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 [14] But even reading “matters described in this filing” to     which the “not yet quantified” statement and similar language
include the IRS dispute not listed in the Note itself, the       applied, those filings each expressly referred the reader to
Pension Fund's argument that a reasonable investor could         a separate portion of the filing containing more specific
have understood Amgen to be saying that the IRS had not          information regarding the dispute, which made clear both that
stated a quantified amount in the NOPAs and RARs is              the overall dispute involved quantifiable amounts and that
basically self-refuting. One of the defining characteristics     the listed Tax Court matter in particular involved a claim for
of a NOPA—again, a Notice of Proposed Adjustment—                additional taxes of $3.6 billion. See, e.g., Q2 2021 Form 10-
is that it proposes an adjustment. See Am. Compl. ¶ 41           Q at 13, 28; 2021 Form 10-K at 121, 151. So while the Court
(“[A]ll IRS proposed adjustments are set forth on Form           concludes that the Amended Complaint plausibly alleges that
5701, Notice of Proposed Adjustment, which is generally          Amgen's disclosures failed to inform investors as to the true
accompanied by Form 886-A, Explanation of Items. Form            extent of the liability the Company was facing, it does not
5701 provides a summary of the proposed adjustments and          plausibly allege that Amgen made a material misstatement as
Form 886-A provides a detailed explanation of the basis          to whether it was facing a quantifiable loss at all.
for each adjustment.”). The same is essentially true of an
RAR, which “shows the changes the IRS has made to the             *16 Accordingly, the Pension Fund has failed to adequately
income, credits, and deductions on the taxpayer's income         plead falsity on an affirmative misstatement theory based on
tax return, as well as the income tax due, and penalties         the “not yet quantified” statement and similar language in
and interest.” Id. ¶ 43. Consistent with that reality, Amgen's   Amgen's Class Period SEC filings.
descriptions of the NOPAs and RARs it received made clear
that they sought a quantifiable amount of relief. See, e.g.,
Q2 2020 Form 10-Q at 14 (disclosing that “[t]he RAR                 2. Scienter
proposes to make significant adjustments”); id. (disclosing      Defendants also move to dismiss the Amended Complaint
that the Company received a modified RAR that “revised           for failure to adequately allege scienter. Motion at 26-30;
the IRS's calculations but continued to propose substantial      Reply at 10-12. Because the Court finds that the Pension
adjustments”); id. (stating that the Company “disagree[s] with   Fund has only pleaded falsity with respect to Defendants’
the proposed adjustments and calculations”); id. (stating that   failure to adequately inform investors regarding the extent
the “proposed adjustments” the Company received for tax          of the liability it was facing in the IRS dispute, the Court
years 2013 to 2015 were similar to those it received for tax     limits its analysis of scienter to that theory. For the following
years 2010 to 2012).                                             reasons, the Court concludes that the Pension Fund has
                                                                 sufficiently alleged that Defendants acted at least recklessly
Considering the full context of the relevant filings, no         in withholding from investors the true scope of that potential
reasonable investor could thus have been left with the           liability, thereby satisfying their obligation to plead scienter.
impression that the IRS was not seeking a quantifiable
amount of relief through the NOPAs and RARs it sent to            [15] The PSLRA requires a complaint to “state with
Amgen. See Gluck v. Hecla Mining Co., 657 F. Supp. 3d            particularity facts giving rise to a strong inference that the
471, 481 (S.D.N.Y. 2023) (“The test for whether a statement      defendant acted with the required state of mind.” 15 U.S.C.
or omission is materially misleading ... is not whether the      § 78u-4(b)(2)(A). The Second Circuit has recognized two
statement is misleading in and of itself, but whether the        ways that a securities fraud plaintiff can plead a strong
defendants’ representations, taken together and in context,      inference of scienter under the PSLRA, either “by alleging
                                                                 facts (1) showing that the defendants had both motive
would have misled a reasonable investor.”) (quoting    In re     and opportunity to commit the fraud or (2) constituting
Vivendi S.A. Sec. Litig., 838 F.3d 223, 250 (2d Cir. 2016));     strong circumstantial evidence of conscious misbehavior or
see also     Fan v. StoneMor Partners LP, 927 F.3d 710,          recklessness.”       Setzer v. Omega Healthcare Invs., Inc.,
716 (3d Cir. 2019) (“[Courts] pay particular attention to        968 F.3d 204, 212 (2d Cir. 2020) (internal quotation marks
whether or not Defendants sufficiently disclosed facts and       omitted). Whichever path the plaintiff takes, the “complaint
information that would render the alleged misrepresentations     will survive ‘if a reasonable person would deem the inference
not misleading.”). And although, as previewed above, certain     of scienter cogent and at least as compelling as any opposing
of Amgen's Class Period filings beginning with the Q2 2021
Form 10-Q did in fact list the IRS dispute as a matter to        inference one could draw from the facts alleged.’ ” Emps.’
                                                                 Ret. Sys. of Gov't of the V.I. v. Blanford, 794 F.3d 297, 306


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                                                                   information necessary to ensure that statements already made
(2d Cir. 2015) (quoting     Tellabs, 551 U.S. at 324, 127 S.Ct.
                                                                   are clear and complete.” Macquarie Infrastructure Corp., 601
2499).
                                                                   U.S. at 263, 144 S.Ct. 885; accord 17 C.F.R. § 240.10b-5(b).
                                                                   The Amended Complaint plausibly alleges that Defendants’
 [16] The Pension Fund primarily argues that the Amended
                                                                   omission of any indication as to the true scope of the tax-
Complaint has alleged a strong inference of scienter based
                                                                   related liability Amgen was facing prevented investors from
on recklessness. To prevail on a recklessness approach in the
                                                                   being able to accurately assess the degree of the risk that the
context of a case based on an omissions theory of falsity, a
                                                                   IRS's audits entailed. And, as alleged, it should have been
plaintiff in this Circuit must establish both that the defendant
                                                                   obvious to Defendants that withholding from investors any
breached a “clear duty to disclose” the omitted facts and that
                                                                   indication that the size of the potential liability was as high
the breach involved “conduct which is highly unreasonable
                                                                   as $10.7 billion—more than a full year's net-income for the
and which represents an extreme departure from the standards
                                                                   company and approximately 40% of its annual revenues—
of ordinary care to the extent that the danger was either
                                                                   would make its disclosure of the IRS dispute unclear and
known to the defendant or so obvious that the defendant must
                                                                   incomplete. See In re Perrigo, 435 F. Supp. 3d at 588 (“The
have been aware of it.”      Setzer, 968 F.3d at 213 (internal
                                                                   magnitude of a loss remains a relevant factor in assessing
quotation marks omitted); see also      Stratte-McClure v.
                                                                   scienter.” (internal quotation marks omitted));        Ind. Pub.
Morgan Stanley, 776 F.3d 94, 106 (2d Cir. 2015) (requiring
                                                                   Ret. Sys. v. SAIC, Inc., 818 F.3d 85, 96-97 (2d Cir. 2016)
allegations of “conscious recklessness—i.e., a state of mind
                                                                   (similar); cf. Denny v. Canaan Inc., No. 21 Civ. 3299 (JPC),
approximating actual intent, and not merely a heightened
                                                                   2023 WL 2647855, at *14 (S.D.N.Y. Mar. 27, 2023) (holding
form of negligence”).
                                                                   that the magnitude of the loss did not raise an inference of
                                                                   scienter where “there [was] no indication that Defendants
 [17] As an initial matter, the Amended Complaint adequately
                                                                   had access to [the relevant] information at the time of the
alleges that Defendants were aware of the full extent of the
                                                                   [challenged statements]”). Griffith, for example, was asked
liability Amgen was potentially facing from the IRS dispute.
                                                                   by analysts on the August 3, 2021 conference call to quantity
By the time the Class Period began, the IRS had notified
                                                                   the potential liability the Company was facing for its later
the Company that the agency was seeking “approximately
                                                                   tax years, clearly communicating to Defendants that the
$3.6 billion in back taxes for its 2010-12 tax years, at least
                                                                   market considered that information important in assessing the
approximately $5.1 billion in back taxes for its 2013-15
                                                                   financial risks posed by the audit. See Am. Compl. ¶ 200
tax years, and approximately $2 billion in penalties for
                                                                   (asking Griffith whether Amgen had “establish[ed] what an
its 2013-15 tax years.” Am. Compl. ¶ 63. Amgen's Class
                                                                   upper bound of liability” would be). Accordingly, the Court
Period filings with the SEC, which repeatedly referred to
                                                                   holds that the Amended Complaint plausibly alleges that
the Company's receipt of NOPAs and RARs from the IRS,
                                                                   Defendants were under a clear duty to disclose, whether by
confirm that it was aware of the extent of the relief being
                                                                   stating the specific amount sought by the IRS or disclosing
sought by the agency. See, e.g., Q2 2020 Form 10-Q at 14
                                                                   other facts sufficient to inform investors as to the true extent
(stating that Amgen received NOPAs and RARs for the 2010
                                                                   of the liability the Company was facing.
to 2015 tax years that proposed adjustments to the Company's
taxes). Many of those filings were signed by Bradway and/
                                                                    [18]     [19] The Court also agrees that the Pension Fund
or Griffith, see, e.g., Am. Compl. ¶ 176, both of whom also
                                                                   plausibly pleads that Defendants’ failure to do so was reckless
addressed the IRS disputes publicly, id. ¶¶ 200, 212, 214, 242,
                                                                   under the circumstances. Despite Amgen's size, a potential
and Defendants do not appear to dispute that Bradway and
                                                                   tax liability of up to $10.7 billion was “plainly” material
Griffith were aware of the magnitude of the IRS's proposed
                                                                   to the Company's financial health and therefore Defendants
adjustments and penalties.
                                                                   “had to know that revealing the full extent of [the potential
                                                                   liability] would have been troubling news to its investors.”
 *17 The Court therefore agrees with the Pension Fund that
it has plausibly alleged that, once Defendants chose to speak         Setzer, 968 F.3d at 215. 16 Given the sheer size of the
on the subject of the IRS dispute, their failure to adequately     potential liability, investors were entitled to a greater degree
inform investors regarding the true extent of Amgen's              of clarity once Defendants chose to speak on the matter.
potential liability violated a clear duty to disclose. That duty   But, as alleged, instead of providing investors with candid
arises directly from Rule 10b-5, which “requires disclosure of     information regarding the extent of the financial risks posed



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by the IRS dispute, Defendants hid the enormous liability
Amgen was facing behind a wall of opaque adjectives like           C. Leave to Amend
“significant” and “substantial.” As alleged in the Amended          *18 [20] Under Rule 15(a) of the Federal Rules of Civil
Complaint, Defendants “made a conscious decision” not to           Procedure, a court “should freely give leave [to amend] when
reveal the extent of the potential liability for several years,    justice so requires.” Fed. R. Civ. P. 15(a)(2). The Pension
and in so doing understated and obfuscated the true nature         Fund has asked the Court for leave to further amend its
of the IRS dispute.     Id. The Court therefore agrees that the    pleading “[s]hould the Court find the [Amended Complaint]
Pension Fund adequately alleges that Defendants’ failure to        to be deficient in any respect.” Opposition at 30 n.29. But that
disclose these facts “constituted conscious misbehavior, or, at    cursory footnote gives no indication as to how the deficiencies
the very least, highly unreasonable conduct that represents an     identified in the Pension Fund's affirmative-misstatement
                                                                   theory could be cured through further amendment. The
extreme departure from the standards of ordinary care.” Id.
at 216 (cleaned up). And, while discovery may very well turn       request for leave to amend is therefore denied. See    Noto
up an innocent explanation for that failure, at this stage of      v. 22nd Century Grp., Inc., 35 F.4th 95, 107 (2d Cir. 2022)
the litigation the Amended Complaint supports an inference         (“[D]enial of leave to amend is proper where the request
of scienter that is “cogent and at least as compelling as any      gives no clue as to how the complaint's defects would be
opposing inference one could draw from the facts alleged.”         cured.” (internal quotation marks omitted)).

    Tellabs, 551 U.S. at 324, 127 S.Ct. 2499.

Accordingly, the Court holds that the Pension Fund has                                    IV. Conclusion
adequately alleged scienter with respect to Defendants’
failure to disclose the extent of Amgen's potential liability to   For these reasons, the Court denies Defendants’ motion to
the IRS.                                                           dismiss. Defendants are ordered to answer the Amended
                                                                   Complaint on or before October 21, 2024.

B. Section 20(a)                                                   The Clerk of Court is respectfully directed to change
The Amended Complaint also alleges a control-person claim          the caption of this case to “In re Amgen Inc. Securities
against Bradway and Griffith under Section 20(a), 15 U.S.C.        Litigation.”
§ 78t(a). Defendants do not develop any distinct arguments
for dismissal of this claim. See Motion at 30; Reply at 12         SO ORDERED.
n.19. Because the Court concludes that the Pension Fund has
adequately alleged an underlying claim pursuant to Section
10(b) and Rule 10b-5, the Court denies Defendants’ motion          All Citations

to dismiss the Section 20(a) claim as well. See, e.g.,   Setzer,   --- F.Supp.3d ----, 2024 WL 4354809, Fed. Sec. L. Rep. P
968 F.3d at 216.                                                   101,939




                                                           Footnotes


1       The following facts, which are assumed true for purposes of this Opinion and Order, are taken from the
        Amended Complaint, Dkt. 34 (“Am. Compl.”), as well as documents incorporated by reference in the Amended
        Complaint and other documents susceptible to judicial notice, including Amgen's legally required filings
        with the SEC. See      Interpharm, Inc. v. Wells Fargo Bank, Nat'l Ass'n, 655 F.3d 136, 141 (2d Cir. 2011)
        (explaining that on a motion to dismiss pursuant to Rule 12(b)(6), the court must “assum[e] all facts alleged
        within the four corners of the complaint to be true, and draw[ ] all reasonable inferences in plaintiff's favor”);
           ATSI Commc'ns, Inc. v. Shaar Fund, Ltd., 493 F.3d 87, 98 (2d Cir. 2007) (noting that, on a motion to



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       dismiss, courts “may consider any written instrument attached to the complaint, statements or documents
       incorporated into the complaint by reference, legally required public disclosure documents filed with the SEC,
       and documents possessed by or known to the plaintiff and upon which it relied in bringing the suit”).

2      Form 10-K is a comprehensive financial report that public companies must file annually with the SEC. See
          15 U.S.C. § 78m; 17 C.F.R. § 249.310.

3      Citations to pages in exhibits attached to the Woan Declaration refer to the pagination generated by
       the Electronic Case Filing system rather than the internal pagination of the documents, unless otherwise
       indicated.

4      NOPAs and RARs “are generally accompanied by Form 886-A.” Am. Compl. ¶ 86. According to the Amended
       Complaint, Form 886-A

         provides a detailed explanation of the audit adjustments and contains the following information:

           [(a)] the case related facts, e.g., the activity or non-activity the organization or plan has engaged in or
           started;

           [(b)] the law, applicable code and regulation sections, and Rev. Rulings, Revenue Procedures, etc., that
           supports the IRS's position;

           [(c)] the Government's position, which states why the application of the law to the facts supports the
           conclusion reached by the examination team;

           [(d)] the taxpayer's position and authority the taxpayer is relying upon (as opposed to the IRS's
           conclusions); and

           [(e)] the IRS's conclusion, setting forth the taxpayer's correct income tax liability after consideration of
           all of the above.

       Id.; see also Woan Decl., Exh. S at 2-3 (describing the format of Form 886-A).

5      On November 29, 2017, Amgen received a modified RAR for the 2010 to 2012 tax years, which “revised the
       IRS's calculation but continued to propose substantial adjustments.” Am. Compl. ¶ 66.

6      Form 10-Q is a comprehensive financial report that public companies must file with the SEC at the end of
       each of the first three quarters of the fiscal year. See   15 U.S.C. § 78m; 17 C.F.R. § 249.308a.

7      In September 2020, Amgen “received a revised RAR which continued to propose substantial adjustments
       for its 2013-15 tax years.” Am. Compl. ¶ 68.

8      In Amgen's 2020 Form 10-K, this disclosure was made, in substance, under the “Risk Factors” and
       “Management's Discussion and Analysis of Financial Condition and Results of Operations,” as well as in the
       report of Amgen's independent auditor.

9      A Contingencies section also was located in Amgen's 2020 and 2021 Form 10-Ks in the report of Amgen's
       independent auditor under “Notes to Consolidated Financial Statements.” See, e.g., 2020 Form 10-K at 147;
       Woan Decl., Exh. K (“2021 Form 10-K”) at 144.

10     In July 2021, Amgen received a duplicate NOD regarding the same tax years of 2010 to 2012. Am. Compl.
       ¶ 72.




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11     While the Amended Complaint does not specify under which subsection of Rule 10b-5 it brings Count One, the
       Pension Fund's opposition brief argues only a liability theory based on material misstatements and omissions
       and does not advance any theory of an independent scheme to defraud, see generally Dkt. 44 (“Opposition”).
       See Plumber & Steamfitters Loc. 773 Pension Fund v. Danske Bank A/S, 11 F.4th 90, 105 (2d Cir. 2021)
       (“Unlike the better-known subsection (b), [subsections (a) and (c)] do not require the defendant to make
       a misstatement or omission; they require only deceptive conduct.”). At oral argument, the Pension Fund's
       counsel confirmed that it is not asserting any claim for scheme liability. Dkt. 61 (“Tr.”) at 3:12-13.

12     The Pension Fund's briefing does not address, or addresses only in the most cursory fashion, many additional
       theories of liability asserted in the Amended Complaint, and the Court therefore deems those issues forfeited
       or abandoned.

13     At oral argument, counsel for the Pension Fund confirmed that its two duty-to-disclose theories are alternative.
       Tr. at 52:4-15.

14     As a result, to the extent that the Pension Fund seeks to hold Amgen separately liable for failing to “convey
       the likelihood that the IRS's determination will ultimately be affirmed in the Tax Court,” Opposition at 13,
       that theory is rejected. It may be that, as the Pension Fund foreshadows, Amgen will face an uphill battle
       in the Tax Court, but those challenges are still pending and the Company was therefore under no duty to
       preemptively concede to the supposed strength of the agency's position. See             City of Pontiac Policemen's
       & Firemen's Ret. Sys., 752 F.3d at 184.

15
       Defendants’ reliance on    Banco Safra S.A. is similarly misplaced. In that case, the plaintiffs alleged that a
       company's “Offering Memorandum” was misleading because it failed to disclose that the company and one of
       its executives, who were subject to claims and investigations for corruption, were in fact guilty of participating
       in a bid-rigging scheme. See  Banco Safra S.A.-Cayman Islands Branch v. Andrade Gutierrez Int'l S.A.,
       No. 16 Civ. 9997 (JMF), 2018 WL 1276847, at *1 (S.D.N.Y. Mar. 8, 2018). The court rejected that argument
       under the logic of City of Pontiac and held that the company's disclosures, which specifically warned about
       the possibility that it could be suspended from public bidding as a result of such corruption, were sufficient to
       educate investors about the nature of the risk.        Id. at *3-4. Here, again, the defect in Amgen's disclosures
       is not that it failed to resign itself to the correctness of the IRS's allegations, but that its vague descriptions
       of the amount the IRS was seeking could plausibly have misled investors regarding the extreme magnitude
       of the potential liability.

16     Defendants argue that they lacked a clear duty to disclose facts regarding the potential liability reflected in
       the IRS's NOPAs and RARs because those amounts were “non-final.” Reply at 11. That is not dispositive.
       Through the NOPAs and RARs, the IRS sought $10.7 billion in back taxes and penalties, plus interest on
       the taxes, following what the Amended Complaint describes as a lengthy and painstaking investigation. See
       Am. Compl. ¶¶ 44-72. Under those circumstances, the Pension Fund plausibly alleges that disclosure of
       information sufficient to enable investors to understand the extent of the possible loss that Amgen was facing
       was necessary to make the Company's disclosures regarding the IRS dispute both clear and complete. See
       Macquarie Infrastructure Corp., 601 U.S. at 263, 144 S.Ct. 885.



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                       TAB No. 17




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                                                                  (the “Class Period”). Id. at 2. Lead Plaintiff Lawrence Rougier
                     2019 WL 6111516                              alleges that Defendants AOI, Chih-Hsiang (Thompson) Lin
     Only the Westlaw citation is currently available.            (“Lin”), and Stefan J. Murry (“Murry”) carried out a scheme
United States District Court, S.D. Texas, Houston Division.       to mislead investors by concealing the significant known
                                                                  decrease in demand from Amazon, AOI's largest customer
         Lawrence ROUGIER, Lead Plaintiff,                        (accounting for 50-60% of AOI's total revenues) as a result
                          v.                                      of undisclosed product quantity and quality control issues
   APPLIED OPTOELECTRONICS, INC, Chih-Hsiang                      that Plaintiff alleges prevented AOI from being able to
                                                                  timely produce the volume of 100G transceivers that Amazon
    (Thompson) Lin, and Stefan J. Murry, Defendants.
                                                                  was demanding, and the negative impact of competing
             Class Action Case No. 4:17-CV-2399                   manufacturing models. (Instrument No. 56 at 8).
                               |
                      Signed 03/27/2019
                               |                                          1. Applied Optoelectronics, Inc.’s Products
                     Entered 03/28/2019
                                                                  Defendant Applied Optoelectronics, Inc. (“AOI”) designs and
Attorneys and Law Firms                                           manufactures fiber-optic networking products servicing four
                                                                  different markets: internet datacenters, cable television, fiber-
Andrew W. Rocco, Sebastiano Tornatore, Shannon L.
                                                                  to-the-home, and telecommunications. (Instrument No. 53 at
Hopkins, Levy & Korsinsky LLP, Stamford, CT, Jamie
                                                                  8). AOI's datacenter customers are generally large internet-
J. Gilmore, Tanner and Associates, PC, Fort Worth, TX,
                                                                  based datacenter operators and contributed over 75% of AOI's
Gregory M. Nespole, Levi & Korsinsky LLP, New York, NY,
                                                                  revenue for 2016 and 2017. Id. at 8-9; (Instrument No. 56
Joe Kendall, Kendall Law Group, PLLC, Dallas, TX, for Lead
                                                                  at 11). AOI supplies its customers with optical transceivers
Plaintiff.
                                                                  that plug into switches and servers within the customers’
Michael C. Holmes, Amy Tankersley Perry, Emily                    datacenters and allow their network devices to send and
Schomburger Johnson, Robert Power Ritchie, Vinson &               receive data over fiber optic cables. (Instrument No. 53 at 9).
Elkins, Dallas, TX, Allison Lee Fuller, Jeffrey S. Johnston,
Vinson & Elkins, Houston, TX, for Defendants.                     AOI's largest customers for the years 2016 and 2017 were
                                                                  Amazon, Microsoft, and Facebook. (Instrument No. 48 at
                                                                  13). 1 Plaintiff alleges that Amazon represented over 50% of
                          ORDER                                   AOI's Class Period revenue. (Instrument No. 56 at 11). AOI's
                                                                  transceivers are plugged into switches and computer servers
VANESSA D. GILMORE, UNITED STATES DISTRICT                        within these “hyperscale data centers” which store, process,
JUDGE                                                             and communicate massive amounts of data for websites, such
                                                                  as Facebook, or for “cloud computing” services, provided
*1 Pending before the Court is Defendants’ Motion to
                                                                  by companies including Amazon and Microsoft to other
Dismiss Plaintiff's First Consolidated Amended Class Action
                                                                  businesses. (Instrument No. 48 at 14). These hyperscale
Complaint. (Instrument No. 53).
                                                                  data centers then transmit data through network connections
                                                                  to internet service providers, then onto individual digital
                                                                  devices. Id. As consumers and businesses increase their
                              I.                                  consumption of digital bandwidth, datacenters must increase
                                                                  in physical size and accelerate their data transmission rates.
                                                                  Id. Because the transmission speed of the optical transceiver
                              A.
                                                                  limits the speed at which a datacenter can communicate
The case before the Court is a class action suit for violations   information, datacenter customers have sought faster, smaller,
of the federal securities laws. (Instrument No. 48). The suit     and more energy-efficient transceivers. Id. While transceivers
is brought on behalf of purchasers and sellers of the common      capable of transmitting data at one gigabit per second (“Gbps”
stock and or call options of Applied Optoelectronics, Inc.        or “G”) were cutting-edge in 2013, 40G transceivers had
(“AOI”) between February 23, 2017, and February 21, 2018


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almost completely supplanted both 1G and 10G transceivers        of each year” of their requirements for the coming year.
by 2015. Id. at 14-15.                                           Id.; (Instrument No. 48 at 20-21). A customer communicates
                                                                 these projections to sales people via telephone calls or emails,
 *2 100G transceivers entered the market in late 2015, but       which the AOI sales executive responsible for that customer
in limited supply, and demand for 40G devices persisted.         then enters into the companywide SAP system. (Instrument
(Instrument No. 48 at 15). Plaintiff alleges that in 2016, the   No. 48 at 20-21). Plaintiff alleges that AOI's recently
majority of AOI's datacenter sales were for 40G transceivers.    released contract with Facebook confirms AOI's model,
Id. Plaintiff alleges, however, that by the beginning of the     alleging that Facebook's projections included minimum
Class Period, customers’ attention had turned to the newly       purchase commitments and six-month forecast requirements.
developed 100G transceivers and the highly anticipated 200G      (Instrument No. 56 at 12). Although Plaintiff alleges that
and 400G transceivers. Id.                                       “it can be inferred that Amazon had a similar agreement”
                                                                 as Facebook, Plaintiff does not allege that it can confirm
AOI describes itself as utilizing a “vertically integrated”      that Amazon had such an agreement. (Instrument No. 48 at
manufacturing system. (Instrument No. 48 at 15). AOI             23). According to CW2, during the Class Period, customer
operates manufacturing facilities in Sugarland, Texas,           demand and order changes were monitored weekly and
Ningbo, China, and Taiwan. Id. In Texas, AOI manufactures        discussed at weekly sales meetings in the Houston office,
laser chips, subassemblies, and components. Id. The              attended by Fred Chang, who reported to Defendant Lin and
subassemblies are used by AOI's other facilities in              who signed the Facebook contract on behalf of AOI. Id. at 21;
manufacturing components. Id. In Taiwan, AOI manufactures        (Instrument No. 56 at 12).
optical components, which incorporate laser chips,
subassemblies and components manufactured at the Texas           Plaintiff alleges that AOI obtained significant market share
location, as well as the transceivers used by the internet       for 40G transceivers by capturing Amazon's massive demand,
datacenters. Id. In China, AOI manufactures the more labor-      and AOI's internet data revenues doubled from 2014 to
intensive components and optical equipment systems, such         2016. (Instrument No. 56 at 12). AOI attributed its quick
as optical subassemblies. Id. The majority of AOI's optical      rise in the transceiver market to its “vertical integration”
transceivers utilize AOI's own lasers and subassemblies. Id.     model, which AOI claimed gave it a critical advantage
at 15-16.                                                        over competitors during the transition from 40G to 100G
                                                                 transceivers throughout the Class Period. On February 23,
                                                                 2017, the first day of the Class Period, AOI stated at its
                                                                 earnings call:
                    2. AOI's Statements

Plaintiff's First Amended Complaint includes statements from
confidential witnesses. Plaintiff's first confidential witness                 *3     Our ability to internally
(“CW1”) allegedly worked for AOI as an engineer involved                      manufacture lasers and light engines
with optical module and transceiver development, as well as                   combined with our ability to quickly
manufacturing and procurement (i.e., procuring components                     transition production between 40G and
that AOI did not manufacture itself at volume prices for the                  100G products provides us with cost-
transceivers). (Instrument No. 48 at 16). Plaintiff's second                  leadership advantages, a faster time
confidential witness (“CW2”) allegedly was a sales executive                  to market and the ability to quickly
at AOI from May until October 2017 for both domestic and                      scale and adjust our throughput to meet
international customers purchasing AOI's laser chips. Id. at                  growing demand.
20.

Plaintiff alleges that throughout the Class Period, Defendants   (Instruments No. 48 at 16; No. 56 at 12). Defendant Murry
claimed to “have good visibility into [their] customers” and     further stated at the February 23, 2017, earnings call that
that customers provided AOI with “committed orders” and          AOI “expect[ed] to maintain [its] leadership position as [it]
“demand forecasts.” (Instrument No. 56 at 12). According         continue[d] the transition to 100G” and that “the similarity
to CW2, AOI's customers were required under their supply         between 100G and 40G modules really gives us an advantage
agreements to provide AOI projections “before the beginning



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in terms of being able to ramp that up quickly.” (Instruments    who were underequipped to do both quality control and their
No. 56 at 12; No. 48 at 16).                                     own jobs. Id.; (Instrument No. 48 at 24). CW1 alleged that
                                                                 this was a major flaw in AOI's system which resulted in AOI's
Plaintiff alleges that although Defendants publicly              Taiwan facility sending a set of defective test transceivers
represented that AOI could make a seamless transition from       to Amazon during the Class Period. (Instrument No. 48 at
one speed of transceiver to another, behind the scenes, AOI      25). Plaintiff concludes that Defendants’ claim of vertical
had supply chain issues, making it scramble to accommodate       integration giving AOI a competitive advantage “in terms of
large-scale production of a proliferating array of products      being able to ramp that up quickly” was a charade resulting
for its increasingly demanding customers. (Instrument No.        in inefficiencies and poor quality output. (Instrument No. 56
48 at 16). Chips containing lasers are key components in         at 13).
transceivers, with 40G transceivers containing four 10G chips
and 100G transceivers containing four 25G chips. (Instrument      *4 Plaintiff alleges that by May 2017, if not earlier,
No. 56 at 12). Each chip is tested at every stage of the         AOI knew or should have understood that large datacenter
transceiver assembly process to determine if the device is       customers, particularly Amazon, were pursuing alternatives
functioning properly, and the percentage of units that meet      to AOI's optical transceivers, including the “merchant
quality control standards is called the “yield.” Id. at 12-13.   model,” where end-users directed the custom assembly
CW1 stated that in 2015 or 2016, AOI recognized its difficulty   of transceivers using parts from a variety of suppliers.
meeting its desired yield rate of 90% and sent an engineer       (Instrument No. 48 at 25). One such supplier, MACOM
from the Houston facility to Taiwan to increase yield rates to   Technology Solutions Holdings Inc. (“MACOM”), stated
90% from its then rate of 40%. (Instrument No. 48 at 17).        as early as April 25, 2017, that it was being “actively
According to CW1, “[w]hen you just start a new product, you      pulled by top cloud data center customers [i.e. Amazon]
can't get 90% yield immediately” and the higher the speed, the   to provide various solutions through various customers and
more difficult it is to manufacture the chip. Id.; (Instrument   channels to fulfill what [it] expect[ed] [to] be insatiable
No. 56 at 13).                                                   demand....” (Instrument No. 56 at 13-14).

CW1 further claimed that transitioning the manufacturing         Plaintiff alleges that AOI was aware of this “merchant
process from the chips for 40G transceivers to the chips for     model” and MACOM's increasing business with hyperscale
100G transceivers was far from simple, an issue compounded       datacenters, including Amazon. (Instrument No. 48 at
by the fact that AOI produced multiple varieties of 40G          26). However, Defendants Lin and Murry dismissed any
and 100G transceivers. (Instrument No. 56 at 13). According      competitive pressure from the merchant model during a May
to CW1, by the summer of 2017, AOI was “desperate” to            4, 2017, conference call. Id. During that call, Defendant
increase chip production, but the difficulty in switching from   Murry contended that “economically, [the merchant model]
the 10G chips, used for 40G transceivers, to the faster 25G      does not make sense” because the layers of complexity and
chips, used for 100G transceivers, resulted in manufacturing     additional profit margins associated with having multiple
delays, including delays in expanding the Houston facility's     companies manufacture these datacenter products would not
“chip coating capacity.” Id. Plaintiff concludes that because    “result[ ] in a product that's less expensive for the end
of AOI's problems transitioning to 100G transceivers, he         customer than buying it from AOI even at the profit margins
believes that the yield rate for 100G transceivers must have     or gross profit levels that we're at today.” Id. Plaintiff further
been even lower than 40%, which Plaintiff alleges was an         alleges that Defendant Lin added that the companies engaged
“abysmal” rate. (Instrument No. 48 at 17).                       in the merchant model would have “gross margin[s] [that]
                                                                 will be very low compared to AOI's” because the gross
Plaintiff additionally claims that AOI's chips were unreliable   margin AOI obtained would have to be “divide[d] [ ] by 3
and prone to failure. (Instrument No. 56 at 13). According to    companies ... selling laser, doing types of manufacture, selling
CW1, AOI's senior management knew that the quality control       transceiver or selling chips.” Id.
department in Houston lacked the skills necessary to conduct
quality assurance testing and troubleshooting for transceivers   On June 26, 2017, it was announced that Amazon had
which customers sent back to AOI. Id. Consequently, AOI          partnered with MACOM and Fabrinet to provide Amazon
senior management delegated the responsibility of testing        with 100G transceivers. (Instruments No. 56 at 14; No. 48 at
transceivers to research and development (R&D) engineers         26-27). Plaintiff alleges that as a result of AOI's inability to



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meet demand due to product quality and other issues, Amazon                    our 40G solutions with one of our
pieced together its own 100G transceivers using components                     large datacenter customers that will
from MACOM and Fabrinet. (Instrument No. 48 at 27).                            offset sequential growth and increased
                                                                               demand we expect to see in 100G.
On July 13, 2017, AOI issued a press release announcing                        This slowdown in 40G demand has
preliminary second quarter 2017 earnings that Plaintiff                        been anticipated for some time, but the
alleges should have addressed the changed competitive                          decline in Q3 is greater than previously
landscape or the known expected decline in sales to Amazon.                    expected.
(Instrument No. 48 at 27). Defendant Lin stated: “I'm pleased
to announce that we expect to deliver another record quarter
with our top and bottom-line results expected to exceed           Id. at 48-49. Defendants simultaneously claimed that the
our guidance” and attributing the results to “improvement[s]      development was “recent” and “coming a little bit faster”
in our manufacturing costs, capacity expansion and solid          than expected, while stating that Amazon had “a significant
execution by our production team.” Id.                            amount of committed orders and a good forecast” and
                                                                  with “meaningful 100 gig sales” from all three of AOI's
Plaintiff alleges that this positive preannouncement led to       large datacenter customers going forward. Id. Defendant
heavy trading volumes and an increase in AOI's share              Murry further assured investors that AOI's vertical integration
price of $5.40 to a closing price of $78.04 per share.            model “gives us a significant cost [advantage] even against
(Instrument No. 48 at 46). The First Amended Complaint            the MACOM-Fabrinet business model or any of the other
includes the statements of investment banking companies           competitive business models that we're aware of.” Id. at 51.
Piper Jaffray and Roth Capital Partners. Id. Piper Jaffray
allegedly recognized AOI's “impressive quarter with revenue       Defendants also revealed for the first time that that the
upside and record margin levels that have never been seen         “change-over time” on the product lines was six weeks:
before in the optical component industry,” and believed that
“Applied [had] exceptional visibility through the remainder         “[T]here's about a 6-week time from when we produce a
of 2017 ....” Id. Roth Capital Partners noted that the press        laser to when [it] actually gets shipped out as a transceiver.
release “didn't provide much detail as to where the specific        And so the time to actually shift over the production is not
strength came from, however we assume most of the upside            long, but the time to – between doing that shift and when
came from datacenter, which continues to see tremendous             you start to see the end product transceivers coming-out is
potential for the company.” Id.                                     about 6 weeks.”

                                                                  Id. at 50.
AOI held its second quarter 2017 press release and earnings
call on August 3, 2017. (Instrument No. 56 at 14). Defendant
                                                                  AOI's share price subsequently fell over 34% on August 4,
Lin revealed in the press release:
                                                                  2017, to close at $64.60 per share. Id. at 51.
   *5 “We are pleased with our team's continued solid
  execution in the quarter, which marked our ninth                Plaintiff alleges that on October 12, 2017, AOI surprised
  consecutive quarter of generating record datacenter             investors with news that third quarter demand from Amazon
  revenue. However, as we look into the third quarter, we see     was “lower ... overall” with revenues falling 20% below
  softer than expected demand for our 40G solutions with one      guidance and Amazon revenue dropping from 47% of total
  of our large customers that will offset the sequential growth   revenue during the second quarter of 2017 to a mere 10%
  and increased demand we expect in 100G.                         during the third quarter of 2017. (Instrument No. 56 at 15).
                                                                  AOI shares fell over 20% on this news. Id. Plaintiff alleges
(Instrument No. 48 at 48). Defendant Murry reiterated the         that although AOI's failing vertical integration strategy
weakening demand for AOI's 40G products during the                allegedly caused the decrease in demand from Amazon,
earnings call, stating:                                           AOI stated that “we don't believe that this disruption in the
                                                                  order flow is related to anything AOI-specific” and that AOI
                                                                  “remain[s] a major supplier to all of our major customers
            As we look into Q3, we see                            for their long-reach transceiver needs and intra-datacenter
            softer than expected demand for                       applications.” Id.


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                                                                   was filed, Ludwig v. Applied Optoelectronics, Inc. et al., No.
On February 21, 2018, AOI announced that, despite prior            4:17-cv-2512 (S.D. Tex.) (Miller, J.). On October 3, 2017,
representations that the third quarter 2017 100G sales decline     the Court consolidated the Ludwig Action with the present
was due only to Amazon's slight lag in transitioning from          action, Abouzied v. Applied Optoelectronics, Inc. et al., No.
the 40G transceivers, its 100G transceiver sales to Amazon         4:17-cv-2399 (S.D. Tex.) (Gilmore, J.).
had dropped from 56% of datacenter revenue during the third
quarter of 2017 to 35% during the fourth quarter of 2017.          On January 22, 2018, the Court appointed Lawrence Rougier
(Instrument No. 56 at 15). On the news of the immense loss of      as Lead Plaintiff. (Instrument No. 44). On March 6,
Amazon market share, AOI's share price dropped over 20%            2018, Plaintiff Lawrence Rougier filed the First Amended
from a close of $34.55 on February 21, 2018, to a close of         Complaint. (Instrument No. 48). Plaintiff's First Consolidated
$27.51 on February 22, 2018. Id.; (Instrument No. 48 at 31).       Amended Class Action Complaint seeks to recover damages
                                                                   caused by Defendants’ alleged violations of Sections 10(b)
Plaintiff alleges that although Defendants repeatedly              and 20(a) of the Securities and Exchange Act of 1934 (the
underscored the importance of the datacenter market for
                                                                   “Exchange Act”), 15 U.S.C. § 78j and 15 U.S.C. § 78t, and
AOI's revenues, and in particular Amazon's contribution,
                                                                   Rule 10b-5, 17 C.F.R. § 240.10b-5, promulgated thereunder.
Defendants knew that the vertical integration model was
                                                                   Id. at 10-11.
causing product defects and delays in transitioning from old
to new products, prompting Amazon to obtain transceivers
                                                                   On April 4, 2018, Defendants filed their Motion to Dismiss
elsewhere. (Instrument No. 56 at 15).
                                                                   the First Amended Complaint. (Instrument No. 53). Plaintiff
                                                                   filed his Response on May 4, 2018. (Instrument No. 56).
 *6 As to the individual Defendants, Plaintiff alleges that
                                                                   Defendants filed their Reply on May 21, 2018. (Instrument
throughout the Class Period, Defendants Lin and Murry's
                                                                   No. 57).
direct proxies attended weekly R&D meetings where yield
and quality issues were discussed and Defendants had access
to notes from these meetings. (Instruments No. 56 at 15; No.
48 at 19-20, 61-62). Plaintiff alleges that Lin specifically                                      II.
received monthly status reports during the Class Period from
                                                                   Rule 12(b)(6) authorizes dismissal of a civil action for “failure
each R&D manager detailing the yield and product quality
                                                                   to state a claim upon which relief can be granted.” Fed. R.
issues. (Instrument No. 56 at 15-16). According to Plaintiff,
                                                                   Civ. P. 12(b)(6). To survive a motion to dismiss, the complaint
Fred Chang, who reported directly to Lin, signed off on
                                                                   must articulate “the plaintiff's grounds for entitlement to
sales contracts and attended weekly sales meetings during the
                                                                   relief—including factual allegations that when assumed to
Class Period where all sales numbers and any changes were
                                                                   be true ‘raise a right to relief above the speculative level.’
reported. Id. at 16. AOI allegedly entered all sales information
into the company-wide SAP system, which was accessible             ”    Cuvillier v. Taylor, 503 F.3d 397, 401 (5th Cir. 2007)
by the individual Defendants. Id. Plaintiff concludes that
                                                                   (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555
Defendants Lin and Murry knew about product issues and
                                                                   (2007)). Stated otherwise, in order to withstand a motion to
declining sales data and demand forecasts from Amazon.
                                                                   dismiss, a complaint must contain sufficient factual matter,
Id. Plaintiff further alleges that Defendants Lin and Murry
                                                                   accepted as true, to state a claim for relief that is plausible
personally profited from their insider knowledge, selling
AOI stock during the Class Period, with their largest sales        on its face.    Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009);
occurring in May 2017, when news of Amazon's interest                 Turner v. Pleasant, 663 F.3d 770, 775 (5th Cir. 2011). A
in the merchant model first became public, garnering both          claim for relief is plausible on its face “when the plaintiff
Defendants total profits of over $1.3 million. Id.                 pleads factual content that allows the court to draw the
                                                                   reasonable inference that the defendant is liable for the
                                                                   misconduct alleged.”  Iqbal, 556 U.S. at 678; Montoya v.
                              B.                                   FedEx Ground Package Sys., Inc., 614 F.3d 145, 148 (5th Cir.
                                                                   2010).
Mona Abouzied filed the class action suit on August 5, 2017.
(Instrument No. 1). On August 16, 2017, a related action



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When ruling on a 12(b)(6) motion, the Court may
                                                                         Flaherty & Crumrine Preferred Income Fund, Inc. v. TXU
consider “the complaint, its proper attachments, documents
                                                                       Corp., 565 F.3d 200, 207 (5th Cir. 2009). “In cases concerning
incorporated into the complaint by reference, and matters
                                                                       fraudulent misrepresentation and omission of facts,    Rule
of which a court may take judicial notice.” 2   Wolcott
                                                                       9(b) typically requires the claimant to plead the type of
v. Sebelius, 635 F.3d 757, 763 (5th Cir. 2011) (internal
                                                                       facts omitted, the place in which the omissions should have
quotation omitted); see also  Tellabs, Inc. v. Makor Issues            appeared, and the way in which the omitted facts made the
& Rights, Ltd., 551 U.S. 308, 322 (2007). The Court does
                                                                       representations misleading.”          Carroll v. Fort James Corp.,
not resolve any disputed fact issues. Smith v. Reg'l Transit
                                                                       470 F.3d 1171, 1174 (5th Cir. 2006) (quoting United States
Auth., 756 F.3d 340, 347 (5th Cir. 2014). Instead, the Court
                                                                       ex rel. Riley v. St. Luke's Episcopal Hosp., 355 F.3d 370, 381
assumes all well-pleaded facts contained in the complaint
                                                                       (5th Cir. 2004)).
are true.  Wolcott, 635 F.3d at 763. The Court will not,
however “accept as true conclusory allegations, unwarranted
                                                                       The particularity requirement under      Rule 9(b) is further
factual inferences, or legal conclusions.” In re Great Lakes           defined by the Private Securities Litigation Reform Act
Dredge & Dock Co. LLC, 624 F.3d 201, 210 (5th Cir. 2010)               (“PSLRA”). R2 Invs. LDC v. Phillips, 401 F.3d 638, 641 (5th
(internal quotation omitted). Similarly, legal conclusions             Cir. 2005). Congress enacted the PSLRA in 1995 to “prevent
masquerading as factual conclusions need not be treated as             the abuse of federal securities laws by private plaintiffs” by
                                                                       increasing the pleading requirements for plaintiffs alleging
true.    Blackburn v. City of Marshall, 42 F.3d 925, 931 (5th
                                                                       Section 10(b) or Rule 10b-5 claims. Nathenson v. Zonagen
Cir. 1995); see also    Iqbal, 556 U.S. at 678. Although all
                                                                       Inc., 267 F.3d 400, 406 (5th Cir. 2001). The PSLRA provides
well-pleaded facts are viewed in the light most favorable to
                                                                       that “ ‘the complaint shall specify each statement alleged
the plaintiff,    Turner, 663 F.3d at 775, the Court “will not         to have been misleading, the reason or reasons why the
strain to find inferences favorable to the plaintiff.” Dorsey          statement is misleading, and, if an allegation regarding the
v. Portfolio Equities, Inc., 540 F.3d 333, 338 (5th Cir. 2008)         statement or omission is made on information and belief, the
(internal quotation omitted). Therefore, to avoid a dismissal          complaint shall state with particularity all facts on which
for failure to state a claim, a plaintiff must plead specific facts.   that belief is formed.’ ”       Coates v. Heartland Wireless
   Dorsey, 540 F.3d at 338.                                            Commc'ns, Inc., 26 F. Supp. 2d 910, 914 (N.D. Tex. 1998)
                                                                       (emphasis in original) (quoting 15 U.S.C. § 78u–4(b)(1)). In
*7 Securities fraud allegations are subject to the pleading            addition, a plaintiff must “distinguish among the defendants,
                                                                       attributing each allegedly fraudulent statement to a particular
requirements of   Rule 9(b) of the Federal Rules of Civil
Procedure. Thornton v. Micrografx, Inc., 878 F. Supp. 931,             defendant or defendants.”     Robertson v. Strassner, 32 F.
                                                                       Supp. 2d 443, 446 (S.D. Tex. 1998) (Atlas, J.).
934 (N.D. Tex. 1995).        Rule 9(b) requires a plaintiff
to plead “with particularity the circumstances constituting
fraud or mistake.”  Fed. R. Civ. P. 9(b). The rule imposes                                            III.
a standard of pleading higher than the notice pleading
requirement of Rule 8(a). “In cases of fraud, Rule 9(b) has            Defendants move for dismissal of all of Plaintiff's claims.
long played that screening function, standing as a gatekeeper          (Instrument No. 53). Defendants contend that AOI timely and
to discovery, a tool to weed out meritless fraud claims sooner         accurately disclosed changes in demand from one of its major
                                                                       customers and that Plaintiff is relying on hindsight to allege
than later.”  United States ex. rel. Grubbs v. Kanneganti,             that AOI failed to disclose its anticipated demand reduction
565 F.3d 180, 185 (5th Cir. 2009). “This Circuit's precedent           from Amazon. Id. at 7. Specifically, Defendants contend that
interprets    Rule 9(b) strictly, requiring the plaintiff to           (1) Plaintiff has failed to plead specific facts showing that
‘specify the statements contended to be fraudulent, identify           Defendants’ statements were materially false; (2) Plaintiff
the speaker, state when and where the statements were                  has failed to plead a strong inference of scienter under the
made, and explain why the statements were fraudulent.’ ”               heightened pleading standard of the PSLRA; and (3) the First




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Amended Complaint fails to plead any corrective disclosures       100G, when in reality AOI had production and quality control
revealing AOI's purported fraudulent scheme. Id. at 7-8.          issues delaying production. Id. Plaintiff also contends that
                                                                  because Defendants provided investors with specific facts and
To prevail on a claim that a defendant made material              misrepresented the present state of AOI, the statements are not
misrepresentations or omissions in violation of Section 10(b)     puffery, protected as forward-looking, or inactionable opinion
and Rule 10b-5 [promulgated to enforce Section 10(b)],            statements. Id. at 25-27.
a plaintiff must prove (1) a material misrepresentation or
omission by the defendant; (2) scienter; (3) a connection         A plaintiff making a Section 10(b) claim must show that
between the misrepresentation or omission and the purchase        the defendant made a statement that was “misleading as
or sale of a security; (4) reliance upon the misrepresentation
                                                                  to a material fact.”      Matrixx Initiatives, 563 U.S. at 38
or omission; (5) economic loss; and (6) loss causation.
Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 37-38 (2011).   (emphasis in original) (quoting      Basic Inc. v. Levinson,
Defendants move to dismiss the First Amended Complaint for        485 U.S. 224, 238 (1988)). The question of materiality is
Plaintiff's failure to adequately plead elements (1), (2), and    an objective one that requires the plaintiff to establish that
(6). (Instrument No. 53 at 7-8).                                  there was a substantial likelihood that the disclosure of the
                                                                  omitted facts would have been viewed by the reasonable
                                                                  investor as having significantly altered the “total mix” of
   A. Materially False and Misleading Statements
                                                                  information made available.     Basic, 485 U.S. at 231-32.
 *8 Defendants contend that the First Amended Complaint
                                                                  The “total mix” of information includes information that
fails to explain why Defendants’ public statements were
                                                                  is readily available to the general public and facts known
misleading and that the First Amended Complaint engages
in improper “puzzle pleading.” (Instrument No. 53 at              or reasonably available to shareholders.       Kapps v. Torch
15-16). Defendants further contend that the First Amended         Offshore, Inc., 379 F.3d 207, 216 (5th Cir. 2004). There
Complaint contains no statements that are materially false or     is no bright-line rule for determining whether information
misleading for reasons summarized as follows: (1) Plaintiff       withheld from a company's public disclosures is, or is not,
has failed to adequately plead that Amazon's forecasts            material because determining materiality is a “fact-specific
showed a decline in demand prior to August 3, 2017; (2)           inquiry that requires consideration of the source, content, and
Plaintiff's factual allegations do not show that AOI had
                                                                  context” of the allegedly omitted information.          Matrixx
significant manufacturing and quality control problems to
quickly transition from 40G to 100G transceivers; (3) Plaintiff   Initiatives, 563 U.S. at 43 (citing     Basic, 485 U.S. at 236).
provides no well-pled allegations that manufacturing, quality
control, or competitors caused Amazon's decrease in demand;
(4) many of the alleged misstatements are inactionable                                   1. Puzzle Pleading
because they contain pure “puffery,” are forward-looking, or
are statements of opinion. (Instruments No. 53 at 15-25; No.      Contrary to Defendants’ contention, the First Amended
57 at 6-11).                                                      Complaint is not a “puzzle pleading.” Owens v. Jastrow, 789
                                                                  F.3d 529, 537 (5th Cir. 2015) (describing a puzzle pleading as
Plaintiff responds that the First Amended Complaint               a complaint where a court must “wade through a complaint
adequately pleads materially false and misleading statements      and pick out properly pleaded segments”). The First Amended
because it shows that Defendants were releasing statements        Complaint identifies each allegedly misleading statement,
that were directly contradicted by declining sales forecasts      the individual speaker, the date on which the statement
from Amazon and committed orders from Amazon that                 was made, the context in which the statement was made,
were recorded in AOI's SAP system. (Instrument No.                and why the statement was misleading given AOI's internal
56 at 17-18). Plaintiff further contends that Defendants          quality control and yield issues and Amazon's decline in
failed to disclose that AOI was encountering significant          orders. Although Plaintiff recites the same boilerplate reasons
manufacturing and quality control challenges in transitioning     for why Defendants’ statements are misleading, Plaintiff's
to 100G transceivers in late 2016 and into 2017. Id. at 21-22.    explanations for the falsity of Defendants’ statements
Plaintiff also contends that Defendants misrepresented the        logically correspond with each alleged misstatement. This
cause of the decline in Amazon's orders, trying to make it        case, therefore, is not analogous to the cases Defendants have
seem that Amazon was slowly transitioning from 40G to             cited in support of their assertion that Plaintiff has failed to


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                                                                  Plaintiff cannot charge Defendants with intentionally
plead with particularity. Cf.    Wenger v. Lumisys, Inc., 2 F.
                                                                  misleading their investors about facts that Defendants may
Supp. 2d 1231, 1243-44 (N.D. Cal 1998) (65-page complaint
                                                                  have become aware of after making allegedly misleading
failed to conform with Federal Rule of Civil Procedure 8 and
required a “laborious deconstruction and reconstruction of a      statements to the public.      Plotkin v. IP Axess Inc., 407
great web of scattered, vague, redundant, and often irrelevant    F.3d 690, 698 (5th Cir. 2005). However, Plaintiff's factual
                                                                  allegations support the inference that Defendants knew that
allegations.”);    Williams v. WMX Techs., Inc., 112 F.3d
                                                                  Amazon had decreased its orders when they made their
175, 178-79 (5th Cir. 1997) (oral statements with no time
                                                                  statements during the Class Period. Plaintiff has specifically
or place; prospectus excerpts with no analysis as to falsity;
                                                                  noted that prior to the beginning of each year, AOI's
news articles with no indication of false statements or falsity
                                                                  customers provided their order forecasts. Thus, Defendants
explanation);    In re Entrust Sec. Litig., No. 2:00CV119,        would have had Amazon's order forecasts prior to the
2002 WL 31968321, at *2-3 (E.D. Tex. Sept. 30, 2002)              beginning of the Class Period set at February 2017. Unless
(large block quotes with heavy reliance on third-party analyst    the drop was very sudden, a drop in anticipated future
statements and no context or significance attributed to them).    sales would have been preceded by a change in forecasts
                                                                  and committed purchase orders. Plaintiff's allegations that
                                                                  AOI actively tracked its customers’ orders on a weekly
               2. Defendants’ Knowledge of                        basis and AOI was experiencing quality control and yield
               Amazon's Declining Demand                          problems in 2016 support the inference that AOI knew
                                                                  prior to the February 2017 earnings call and press release
 *9 Plaintiff has not directly alleged that Defendants            that Amazon had decreased its orders. This inference is
knew of Amazon's declining demand. The First Amended              particularly compelling because Amazon represented over
Complaint instead relies on factual allegations of surrounding    50% of AOI's revenue and AOI's revenue from Amazon
circumstances to conclude that Defendants knew of Amazon's        dropped so drastically from 47% of total revenue during
decrease in orders prior to their public disclosure of this       the second quarter of 2017 (ending June 30, 2017) to 10%
information. Plaintiff specifically notes that throughout the     during the third quarter of 2017 (ending September 30, 2017).
Class Period, Defendants publicly touted their visibility         (Instrument No. 56 at 15). “Further discovery may refute the
into customers’ future orders and AOI's forecasts in              inferences, but it is not unwarranted to infer that when a
customer demand. Plaintiff identified numerous statements         company's big deal collapses so fast, something was amiss
by Defendant Murry where Murry stated that “[s]trong
                                                                  at the outset.”      Plotkin, 407 F.3d at 698; see          In re
customer demand for datacenter and solid execution by
                                                                  BP p.l.c. Sec. Litig., 843 F. Supp. 2d 712, 745 (S.D. Tex.
the AOI team will drive higher sequential datacenter
                                                                  2012) (Ellison, J.) (noting that, except for inferences to
revenue” (Feb. 23, 2017), that “we think we're doing a
                                                                  show a strong inference of scienter, the court must draw all
reasonably good job of anticipating and meeting the demands
                                                                  reasonable inferences in favor of the plaintiff in its Rule 12(b)
of the customers have [sic] told us that they're going
                                                                  (6) analysis). Plaintiff has provided specific facts to support
to need for this year and next year,” (Mar. 22, 2017),
                                                                  his assertion that Defendants delayed disclosing Amazon's
and “[b]ased on current orders and forecasts from our
                                                                  decrease in demand of AOI's transceivers. Furthermore,
customers, we believe that 2017 datacenter revenue should
                                                                  Plaintiff has alleged sufficient facts to show that Defendants’
grow by more than 85% compared with 2016.” (Instrument
                                                                  omission regarding Amazon's decrease in demand is material.
No. 56 at 18). Plaintiff also provided the statements of
                                                                  A reasonable investor would have viewed the drop in orders
CW2 who explained that AOI contractually required its
                                                                  from Amazon, AOI's largest customer, as a significant fact to
customers to provide projections of their requirements for
                                                                  alter the total mix of information available.
the coming year. Once AOI's sales personnel received the
projections, they entered the information into AOI's SAP
system to track developments and changes on a weekly basis.
Plaintiff also asserts that it believes that Facebook's supply              3. AOI's Ability to Quickly Transition
agreement, requiring accurate six-month rolling forecasts,                      from 40G to 100G Transceivers
mirrors Amazon's supply agreement with AOI.
                                                                  Plaintiff's factual allegations further support his allegation
                                                                  that Defendants made materially misleading statements



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regarding AOI's ability to transition from 40G to 100G              inference that Amazon's shift to adopting the merchant model
transceivers. AOI released numerous statements, each                with MACOM and Fabrinet by the first quarter of 2017 and
identified and quoted in the First Amended Complaint, that          AOI's declining committed orders from Amazon were caused
AOI had the ability to meet the growing demand faster than          by AOI's production and quality control problems.
competitors. Defendants specifically touted that AOI was the
market share leader in the 100-gig web-scale transceivers           Plaintiff has further shown that rather than disclose AOI's own
and that AOI had no concerns about Amazon shifting to a             problems, AOI shifted the blame onto Amazon. After AOI
competitor. (Instrument No. 48 at 41-43). Plaintiff's factual       revealed that Amazon had decreased its orders, Murry stated
allegations show that these statements were misleading              at the October 12, 2017 earnings call that “we believe that the
because AOI was experiencing quality control and yield              disruption in order flow is related to the ongoing transition
issues that prevented its transition to 100G transceivers           from 40G to 100G and not specific to AOI.” (Instrument
starting in 2016. Defendants counter that Plaintiff has not         No. 48 at 53). Plaintiff's factual allegations show, however,
presented sufficient facts to show that these quality control       that Amazon's decrease in orders was caused by AOI's
issues were significant enough to affect AOI's transition           internal production problems. The First Amended Complaint
to producing 100G transceivers. (Instrument No. 57 at 9).           adequately pleads that Defendants made misrepresentations
However, Plaintiff has alleged through the statements of            and omissions regarding the cause of Amazon's declining
his confidential informants that quality control and yield          orders.
issues were a frequent topic at weekly meetings with senior
executives. CW1 stated that Houston's facility had yet to
expand its chip coating capacity and that AOI was “desperate”
                                                                     5. Whether the Alleged Misstatements are Inactionable
to increase its production capacity. (Instrument No. 48 at 19).
                                                                      as Forward-Looking, Puffery, or Opinion Statements
Viewing the allegations in the light most favorable to Plaintiff,
AOI could not truthfully state that it had a faster time to         Defendants argue that many of the alleged false statements
market for its 100G products. Even if its vertical integration      in the First Amended Complaint constitute “forward-
model was theoretically more efficient than the merchant            looking statements” protected by the PSLRA's safe harbor
model, at the moment Defendants made their statements, they
                                                                    provision. 3 A statement is inactionable if it is “identified
misrepresented AOI's ability to quickly transition to 100G
                                                                    as a forward-looking statement, and is accompanied by
transceivers.
                                                                    meaningful cautionary statements identifying important
                                                                    factors that could cause actual results to differ materially
                                                                    from those in the forward-looking statement.” 15 U.S.C. §
     4. The Cause of the Decline in Amazon's Orders                 78u-5(c)(1). In determining whether a statement falls within
                                                                    the safe harbor, this Court must examine which aspects of
 *10 Plaintiff has provided sufficient factual allegations          the statement are alleged to be false. A forward-looking
to show that AOI's quality control and yield setbacks               statement, for instance, whose falsity consists of a lie about
led to Amazon's decrease in committed orders. The First             a present fact is not protected by the PSLRA's safe harbor
Amended Complaint alleges that Amazon decreased its
demand for transceivers because AOI could not provide               provision.    In re Stone & Webster, Inc., Sec. Litig., 414 F.3d
Amazon with the quality and quantity of transceivers that           187, 213 (1st Cir. 2005); Spitzberg v. Houston Am. Energy
Amazon desired. CW1's statements in the First Amended               Corp., 758 F.3d 676, 691 (5th Cir. 2014) (“we join the First
Complaint show that the quality control department at the           Circuit, Third Circuit, and Seventh Circuit in concluding that
Houston manufacturing facility lacked the skills necessary          a mixed present/future statement is not entitled to the safe
to conduct quality assurance testing and return material            harbor with respect to the part of the statement that refers to
authorization troubleshooting for transceivers that customers       the present.” (internal quotation omitted)).
sent back. The First Amended Complaint further alleges
that Amazon required high numbers of test devices for its           The statements identified in the First Amended Complaint
quality assurance process and that although it was known            that contain forward-looking statements rely on present facts
that “[y]ou want to send Amazon your best quality products,”        regarding AOI's vertical integration strength. Defendants
AOI had sent a defective set of test transceivers to Amazon.        allege that AOI disclosed detailed risk factors in its
(Instrument No. 48 at 25). Plaintiff's allegations create an        Form 10-Ks addressing the risks associated with these



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forward-looking statements. (Instrument No. 53 at 26-27).
However, Defendants’ statements projected a promising                B. Strong Inference of Scienter
picture of increased revenues and manufacturing capacity           *11 Defendants contend that Plaintiff's First Amended
while omitting material information regarding AOI's then          Complaint fails to plead a strong inference of scienter
inability to quickly transition from 40G to 100G and              against Defendants, particularly individual Defendants Lin
Amazon's subsequent decline in demand.                            and Murry. (Instrument No. 53 at 29-31). Defendants also
                                                                  claim that Plaintiff improperly relies on allegations provided
Similarly, Defendants’ contention that the statements are         by confidential witnesses. Id.
inactionable puffery or merely opinion statements fails
because the statements contain the allegedly false embedded
fact that manufacturing issues at AOI were not responsible            1. Factual Allegations by Confidential Witnesses
for Amazon's decrease in demand. “Non-actionable puffery
are statements of the vague and optimistic type that cannot       Defendants contend that this Court must discount the
support a securities fraud action ... and contain no concrete     allegations in the First Amended Complaint from confidential
                                                                  sources. (Instrument No. 53 at 31).
factual or material misrepresentation.”        Stone v. Life
Partners Holdings, Inc., 26 F. Supp. 3d 575, 599 (W.D.
                                                                  The Court in Tellabs, Inc. v. Makor Issues & Rights, Ltd.
Tex. 2014) (internal quotation omitted). Plaintiff has alleged
                                                                  instructed that in determining whether the securities fraud
specific facts to show that Defendants’ statements were belied
                                                                  complaint gives rise to a “strong inference” of scienter, courts
by AOI's actual ability to transition to 100G transceivers
and AOI's prior but delayed disclosure that AOI would have        must consider plausible competing inferences.       551 U.S.
a significant drop in orders from Amazon as a result of           308, 323-24 (2007). Following Tellabs, courts have cautioned
                                                                  that anonymous allegations in a complaint frustrates a court's
AOI's production problems.        In re BP p.l.c. Sec. Litig.,
No. 4:10-MD-2185, 2016 WL 3090779, at *9 (S.D. Tex.               ability to consider plausible competing inferences.   Ind.
May 31, 2016) (“the plaintiff ‘must identify particular (and      Elec. Workers’ Pension Trust Fund IBEW v. Shaw Grp., Inc.,
material) facts going to the basis for the issuer's opinion—      537 F.3d 527, 535 (5th Cir. 2008) (citing       Higginbotham
facts about the inquiry the issuer did or did not conduct or      v. Baxter Int'l Inc., 495 F.3d 753, 756-57 (7th Cir. 2007)).
the knowledge it did or did not have—whose omission makes         However, Tellabs did not prohibit a plaintiff from using
the opinion statement at issue misleading to a reasonable         confidential witness statements. The Fifth Circuit instead
person reading the statement fairly and in context.’ ” (quoting   allows a plaintiff to use confidential sources as long as
   Omnicare, Inc. v. Laborers Dist. Council Const. Indus.         those sources are described “ ‘with sufficient particularity to
Pension Fund, 135 S. Ct. 1318, 1332 (2015))). The First           support the probability that a person in the position occupied
Amended Complaint alleges that Amazon's drop in demand            by the source would possess the information pleaded.’
was caused by AOI's manufacturing problems, although              ”    Shaw, 537 F.3d at 535 (quoting           ABC Arbitrage
Defendants omitted these facts from investors. The First          Plaintiffs Grp. v. Tchuruk, 291 F.3d 336, 353 (5th Cir. 2002)).
Amended Complaint therefore shows that Defendants either
did not actually hold the opinion they orally stated or that      The First Amended Complaint uses information provided by
Defendants omitted material facts that conflicted with what       two confidential witnesses. Plaintiff alleges that both CW1
a reasonable investor would take from the statement itself.       and CW2 worked for AOI during the Class Period. Although
       In re Plains All Am. Pipeline, L.P. Sec. Litig., 245 F.    they remain anonymous, Plaintiff has provided specific
Supp. 3d 870, 892 (S.D. Tex. 2017) (Rosenthal, J.) (noting        details about them, including their job descriptions, individual
that under Omnicare, statements of opinion can be actionably      responsibilities within AOI, and specific employment dates
misleading (1) when the speaker does not actually hold the        for each witness. (Instrument No. 48 at 16-17, 20-21).
expressed opinion; or (2) when the speaker omitted material       Plaintiff's allegations that are based on his confidential
facts about the issuer's inquiry into or knowledge concerning     sources are specific and provide the bases for those witnesses’
a statement of opinion, and those facts conflict with what a      conclusions regarding AOI's internal and manufacturing
reasonable investor would take from the statement itself).        processes. Accordingly, the Court can consider the statements
                                                                  of the confidential witnesses, although those anonymous
                                                                  statements would be inadmissible at trial, to determine if they


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support Plaintiff's allegation of scienter in the First Amended       Plaintiff's First Amended Complaint identifies each
Complaint.                                                            Defendant making the allegedly materially false statements.
                                                                      Defendant Lin founded AOI and was its Chief Executive
                                                                      Officer (“CEO”) since its inception. (Instrument No. 48 at
                                                                      9). Defendant Murry has been AOI's Chief Financial Officer
            2. The First Amended Complaint's
                                                                      (“CFO”) since August 2014 and Chief Strategy Officer since
                  Allegations of Scienter
                                                                      December 2012. Id.
A plaintiff bringing a Section 10(b) and Rule 10b-5
action must show that the defendant acted with a “mental              Contrary to Defendants’ contentions, the First Amended
state embracing intent to deceive, manipulate, or defraud.”           Complaint goes beyond generally alleging the collective
                                                                      knowledge of AOI's officers. The First Amended Complaint
   Tellabs, 551 U.S. at 319 (quoting         Ernst & Ernst
                                                                      relates how, during the Class Period, Defendants received
v. Hochfelder, 425 U.S. 185, 193-94 (1976)). “To plead
                                                                      oral and written reports and attended internal meetings with
scienter adequately, plaintiffs must state with particularity
                                                                      senior executives, salespeople, and engineers to discuss AOI's
facts giving rise to a strong inference that the party knew
                                                                      manufacturing problems and Amazon's forecast and sales.
that it was publishing materially false information, or the
                                                                      Plaintiff alleges that Defendant Lin received reports from
party was severely reckless in publishing such information.”
                                                                      AOI's R&D manager that detailed AOI's manufacturing
   Shaw, 537 F.3d at 534 (internal quotation omitted). Severe         problems, including low yield and production issues. Plaintiff
recklessness is not negligence, but is “limited to those highly       further alleges that AOI's Texas facility held weekly meetings
unreasonable omissions or misrepresentations that involve             with various product engineers, engineers, senior engineers,
not merely simple or even inexcusable negligence, but an              and with Lin's special assistant David Chen, who was also
extreme departure from the standards of ordinary care, and            in charge of corporate quality assurance. (Instrument No.
that present a danger of misleading ... which is either known         48 at 17). According to Plaintiff, AOI's yield issues at their
to the defendant or is so obvious that the defendant must             facility in Taiwan were a frequent topic of discussion at these
                                                                      meetings in Texas. Id.
have been aware of it.”     Nathenson v. Zonagen, Inc., 267
F.3d 400, 408 (5th Cir. 2001). Similarly, the PSLRA requires
                                                                      Plaintiff provides fewer factual allegations regarding
a plaintiff to “state with particularity facts giving rise to a
                                                                      Defendant Murry's knowledge of AOI's yield issues. The First
strong inference that the defendant acted with the required
                                                                      Amended Complaint alleges that Murry had access to AOI's
state of mind.”      Tellabs, 551 U.S. at 314; 15 U.S.C. §            SAP system, the company-wide enterprise resource planning
78u-4(b)(2). “Accordingly, for purposes of a Rule 12(b)(6)            program that includes customer relationship management
motion to dismiss, a strong inference of scienter is one at least     tools that track customer forecasts and purchases. (Instrument
as compelling as any opposing inference of non-fraudulent             No. 48 at 61). However, this allegation is a general claim
intent.”    In re BP p.l.c. Sec. Litig., 843 F. Supp. 2d at 745.      about the existence of corporate reports that reveal contrary
                                                                      information to Murry's statements and is alone insufficient to
 *12 In showing that an individual defendant acted with               survive a motion to dismiss.     Abrams, 292 F.3d at 432.
scienter, a plaintiff “may not rest on the inference that
defendants must have been aware of the misstatement based             The First Amended Complaint, however, contains specific
on their positions within the company.”     Abrams v. Baker           and strong circumstantial evidence of conscious misbehavior
Hughes Inc., 292 F.3d 424, 432 (5th Cir. 2002). Thus, a court         or recklessness by Murry. For instance, Plaintiff alleges
must “look to the state of mind of the individual corporate           that Murry was privy to and participated in the creation,
official or officials who make or issue the statement ...             development and reporting of AOI's financial condition (See
rather than generally to the collective knowledge of all the          Instrument No. 48 at 71). Murry's statements admit that he had
corporation's officers and employees acquired in the course           active involvement in AOI's manufacturing capabilities and
                                                                      Amazon's forecasts and sales. The First Amended Complaint
of their employment.” Southland Sec. Corp. v. INSpire Ins.            alleges that AOI's yield and quality issues were widely known
Solutions, Inc., 365 F.3d 353, 366 (5th Cir. 2004).                   and discussed among AOI senior officials. Amazon was also
                                                                      AOI's largest customer during the Class Period contributing
                                                                      over 50% of AOI's revenue immediately prior to and during


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the Class Period. (Instrument No. 48 at 13). Plaintiff alleges
                                                                   not have caused a loss.”        Alaska Elec. Pension Fund v.
that although Amazon had decreasing forecasted purchases
                                                                   Asar, 898 F.3d 648, 665 (5th Cir. 2018). “At the pleading
of transceivers, Murry delayed in disclosing this information
                                                                   stage, ‘plaintiffs are required to allege the truth that emerged
to investors. “The Fifth Circuit has held that material
                                                                   was ‘related to’ or ‘relevant to’ the defendants’ fraud and
misstatements as to a company's most significant asset can
give rise to a strong inference that those misstatements were      earlier misstatements.’ ” Id. (quoting       Pub. Emps. Ret.
made with knowledge of their falsity or severe recklessness        Sys. of Miss. v. Amedisys, Inc., 769 F.3d 313, 321 (5th
                                                                   Cir. 2014)). Moreover, a plaintiff need not identify a single
in not knowing that they were false.”     In re OCA, Inc.
                                                                   disclosure. “[R]ather, the truth can be gradually perceived in
Secs. & Derivative Litig., No. 05-2165, 2006 WL 3747560,
                                                                   the marketplace through a series of partial disclosures.” Id.
at *18 (E.D. La. Dec. 14, 2006) (citing      Plotkin, 407 F.3d
                                                                   (quoting     Amedisys, 769 F.3d at 322).
at 699-700).
                                                                   Notably, this element of a Section 10(b) claim need only set
 *13 Moreover, Plaintiff alleges that Murry and Lin had
                                                                   forth a “short and plain statement of the claim showing that
motives to delay disclosing the reality about AOI's sales of
                                                                   the pleader is entitled to relief” and provide the defendant with
transceivers to Amazon. Specifically, Plaintiff alleges that
                                                                   “fair notice of what the plaintiff's claim is and the grounds
Lin sold 12,186 shares during the Class Period for a gain
of over $729,000 and Murry sold 11,498 shares (18% of              upon which it rests.” Fed. R. Civ. P. 8(a);      Dura Pharm.,
his total holdings) during the Class Period for a gain of          544 U.S. at 346 (quoting       Conley v. Gibson, 355 U.S. 41,
$630,468.77. (Instrument No. 56 at 34). Plaintiff alleges that     47 (1957)).
Lin and Murry made the sales on two separate occasions
in May 2017, when share prices were high immediately               Plaintiff has identified three partially corrective disclosures
after AOI announced positive first quarter 2017 earnings on        that he alleges are directly relevant to the alleged false
May 4, 2017 and before AOI disclosed Amazon's reduced              statements: (1) AOI's August 3, 2017, press release where
demand of transceivers. (Instruments No. 48 at 62-63; No.          it revealed for the first time that Amazon's demand for
56 at 34-35); see     Shaw, 537 F.3d at 543 (“Insider stock        40G transceivers was much less than the alleged previous
sales may be probative of scienter, however, if they occur         misrepresentations (“we see softer than expected demand
in suspicious amounts or at suspicious times.” (internal           for our 40G solutions with one of our large customers”)
quotation omitted)). While Defendants have shown that              and AOI's admission that it took six weeks to produce
Plaintiff has not alleged any smoking gun facts showing            new 100G transceivers; (2) AOI's October 12, 2017, press
that Murry and Lin acted with scienter, Plaintiff need             release and earnings call where it revealed for the first time
not plead these facts to withstand dismissal at this stage.        that Amazon's softer than expected demand also included
“[U]nder the PSLRA circumstantial evidence can support a           100G products, resulting in a decline in Amazon revenue
                                                                   from 47% to 10% for both 40G and 100G transceivers; (3)
strong inference of scienter.”     Nathenson, 267 F.3d at 410.
                                                                   AOI's disclosure on February 21, 2018, that the transition
Plaintiff's factual allegations support his claim that Murry and
                                                                   from 40G to 100G was not occurring as smoothly as
Lin had the requisite scienter.
                                                                   Defendants had led investors to believe and that AOI
                                                                   was experiencing “inventory headwinds” with Amazon and
  C. Loss Causation                                                that AOI's revenue, prior to previous representations, was
Defendants also move to dismiss the First Amended                  primarily based on 40G products (58%), and its sales of 100G
Complaint for failure to plead loss causation. Under the           products had decreased from the previous quarter from 56%
PSLRA, a plaintiff must plead a “causal connection between         of revenue to 35%. (Instruments No. 48 at 48-55, 58-59,
                                                                   65; No. 56 at 36-37). Plaintiff has additionally identified
the material misrepresentation and the loss.” Dura Pharm.,         that subsequent to Defendants’ disclosures, AOI's share price
Inc. v. Broudo, 544 U.S. 336, 342 (2005). “For a plaintiff         dropped by 20% to 34% each time. (Instrument No. 48 at
to plead loss causation adequately, the negative truthful          64-65). The First Amended Complaint sets forth the specific
information (‘corrective disclosures’) must not have already       statements that relate to Defendants’ previous statements and
been known to the market: If it were, the stock price would        how the marketplace perceived these corrective disclosures.
have incorporated that information, and its disclosure could       The partial corrective disclosures support an inference that



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                                                                        person liability is secondary only and cannot exist in the
Defendants’ misstatements and omissions concealed the
circumstances that bear upon the loss and that the partial              absence of a primary violation.”       Southland Sec. Corp. v.
corrective disclosures were closely followed by a fall in AOI's         INSpire Ins. Solutions, Inc., 365 F.3d 353, 383 (5th Cir. 2004).
stock price. The Court finds that Plaintiff's allegations satisfy       Defendants’ Motion only argues that Plaintiff's Section 20(a)
Rule 8(a) in pleading loss causation.                                   claims fail as a matter of law because his underlying Section
                                                                        10(b) claims fail. Because this Court has found that Plaintiff
 *14 Accordingly, the Court finds that Defendants’ Motion               has adequately pleaded his claims under Section 10(b), the
to Dismiss Plaintiff's claims under Section 10(b) is DENIED.            Court finds that Defendants’ Motion to Dismiss Plaintiff's
(Instrument No. 53).                                                    Section 20(a) claims is DENIED. (Instrument No. 53).



                              IV.                                                                     V.

Plaintiff alleges that individual Defendants Lin and Murry are          For the foregoing reasons, the Court finds that Defendants’
liable as control persons under Section 20(a) of the Exchange           Motion to Dismiss the First Amended Complaint is DENIED.
Act. (Instrument No. 48 at 73). Defendants move to dismiss              (Instrument No. 53).
Plaintiff's Section 20(a) claims against individual Defendants
Lin and Murry. (Instrument No. 53 at 36).                               The Clerk shall enter this Order and provide a copy to all
                                                                        parties.
Section 20(a) imposes joint and several liability on “[e]very
person who, directly or indirectly, controls any person liable
under any provision of this chapter or of any rule or regulation        All Citations
thereunder” for securities fraud. 15 U.S.C. § 78t(a). “Control
                                                                        Not Reported in Fed. Supp., 2019 WL 6111516




                                                            Footnotes


1       Plaintiff and Defendants both repeatedly refer to “Amazon,” “Facebook,” and “Microsoft,” without specifying
        if they mean the parent companies or any similarly named subsidiaries.

2
        Matters of which a court may take judicial notice include, for example, matters of public record. See                      Fin.
        Acquisition Partners LP v. Blackwell, 440 F.3d 278, 286 (5th Cir. 2006).

3       Defendants refer the Court specifically to Appendix B of their Motion to Dismiss, which collects and organizes
        each statement in the First Amended Complaint that is allegedly forward-looking. (Instrument No. 53-2).



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                       TAB No. 18




                                                                 Pl. Appx. B-276
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                                                                     Travel Corp. v. Am. Airlines, 283 F.3d 282, 286 (5th Cir.
                     2023 WL 3899020                                 2002) (quoting      Chitimacha Tribe of La. v. Harry L. Laws
     Only the Westlaw citation is currently available.               Co., Inc., 690 F.2d 1157, 1162 (5th Cir. 1982)). Courts must
United States District Court, S.D. Texas, Houston Division.          weigh the following factors when considering leave to amend:
                                                                     “undue delay, bad faith or dilatory motive on the part of the
            Britttany SALINAS, et al., Plaintiffs,                   movant, repeated failure to cure deficiencies by amendments
                           v.                                        previously allowed undue prejudice to the opposing party by
          CITY OF HOUSTON, et al., Defendants.                       virtue of the allowance of the amendment, [and] futility of the

             CIVIL ACTION NO. 4:22-CV-04120                          amendment.”      Foman v. Davis, 371 U.S. 178, 182 (1962).
                             |
                    Signed June 8, 2023                              The defendants oppose further amendment. They argue that
                                                                     the plaintiffs have failed to cure the same deficiencies to
Attorneys and Law Firms                                              which they were alerted by the defendants’ motions to dismiss
                                                                     the original complaint; that undue delay will prejudice them;
Blas Hernandez Delgado, San Antonio, TX, for Plaintiffs.             that the plaintiffs have shown bad faith by failing to drop
                                                                     unfounded claims against the Houston Police Department;
Kelly Ann Dempsey, City of Houston Legal Department,
                                                                     and that any amendments will be futile.
Houston, TX, for Defendants City of Houston, The Houston
Police Department.
                                                                     The Court determines that the total weight of the factors does
Morgan Genell Latin, Kelly Ann Dempsey, City of Houston              not defeat Federal Rule of Civil Procedure 15(a)’s bias in
Legal Department, Houston, TX, for Defendants Officer M.             favor of granting leave to amend. First, the plaintiffs have
Salazar, Officer N. Garcia.                                          amended their complaint only once, so there has been no
                                                                     opportunity for repeated failures. Second, it is not clear how
                                                                     the defendants will be especially prejudiced by delay. Third,
       MEMORANDUM OPINION AND ORDER                                  an amended complaint is not doomed to futility, as certain
                                                                     claims may be curable.
Kenneth M. Hoyt, United States District Judge

I. INTRODUCTION                                                      III. CLAIMS DISMISSED WITH PREJUDICE
 *1 Pending before the Court are the defendants’, City               That said, some of the plaintiffs’ claims are not curable.
of Houston, Texas, the Houston Police Department, Police             Indeed, the defendants are correct that the plaintiffs have
Officer N. Garcia, & Police Officer M. Salazar, motions to           shown a degree of bad faith by failing to abandon their claims
dismiss under Federal Rule of Civil Procedure 12(b)(6) (Dkt.         against the Houston Police Department. The Fifth Circuit's
Nos. 17, 18, & 19). The plaintiffs, Brittany Salinas, et al., have   “cases uniformly show that unless the true political entity has
filed responses to the defendants’ motions (Dkt. Nos. 24, 25,        taken explicit steps to grant the servient agency with jural
& 26), and the defendants have filed replies (Dkt. Nos. 28,          authority, the agency cannot engage in any litigation except
29, & 30). After reviewing the motions, the pleadings, and           in concert with the government itself.” Darby v. Pasadena
the applicable law, the Court determines that the defendants’        Police Dep't, 939 F.2d 311, 314 (5th Cir. 1991). The City of
motions should be GRANTED IN PART and DENIED IN                      Houston created the Houston Police Department by Houston
PART.                                                                Municipal Code 1968, Article II-Police Department § 34-1;
                                                                     Houston Ordinance No. 04-1075 § 10 and Ordinance No.
                                                                     2011-108 § 7. The plaintiff has not alleged any steps the City
II. LEAVE TO AMEND
                                                                     of Houston has taken to grant the Houston Police Department
In their responses to the motions to dismiss, the plaintiffs
                                                                     jural authority. Accordingly, the claims against the Houston
move to amend their complaint for a second time. Federal
                                                                     Police Department must be dismissed with prejudice.
Rule of Civil Procedure 15(a) instructs a court “to grant leave
to amend ‘freely,’ and the language of this rule ‘evinces
a bias in favor of granting leave to amend.’ ”          Lyn–Lea



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                                                                  Salinas was a convicted prisoner at the time of his death,
 *2 The plaintiffs’ Eighth and Fourteenth Amendment claims
                                                                  so his Eighth Amendment claim fails. Finally, the plaintiffs
must also be dismissed with prejudice. Morin v. Caire is on
                                                                  argue that Mr. Salinas’ Fourteenth Amendment rights were
point:
                                                                  violated by the defendants’ using force and authority to
                                                                  confine him, not rendering medical aid, and creating a
                                                                  harmful environment. The problem is that these “Fourteenth
            The protections of the Eighth
                                                                  Amendment claims are based on alleged pretrial deprivations
            Amendment against cruel and unusual
                                                                  of his constitutional rights and, under the holding in Albright,
            punishment are limited in scope
                                                                  such claims should be brought under the Fourth Amendment.”
            to convicted prisoners and do not
            apply to pretrial detainees such as                         Bosarge v. Mississippi Bureau of Narcotics, 796 F.3d
            the plaintiffs ... And, although the                  435, 441 (5th Cir. 2015) (citing Albright v. Oliver, 510 U.S.
            Fourteenth Amendment's due process                    266, 274 (1994) (plurality opinion)).
            clause does apply to municipalities,
            the plaintiff has not pleaded any
            allegations upon which a procedural                   IV. CONCLUSION
            due process claim could be based,                     Based on the foregoing analysis and discussion, the
            and the U.S. Supreme Court has                        defendant's motion to dismiss is GRANTED IN PART
            recently determined that there is no                  and DENIED IN PART. The plaintiffs’ claims against the
            substantive due process right to be free              Houston Police Department are dismissed with prejudice. 1
            from criminal prosecution except upon                 The plaintiffs’ Eighth and Fourteenth Amendment claims
            probable cause. Thus, the plaintiffs’                 against the remaining defendants are also dismissed with
            only remaining constitutional claims                  prejudice. The plaintiffs shall file an amended complaint
            are premised on the protections                       addressing its remaining claims within 14 days of this Order.
            of the Fourth Amendment against
            unreasonable search and seizure.                      IT IS SO ORDERED.


                                                                  All Citations
   Morin v. Caire, 77 F.3d 116, 120 (5th Cir. 1996). The
plaintiffs do not—and cannot plausibly—allege that Mr.            Not Reported in Fed. Supp., 2023 WL 3899020




                                                        Footnotes


1      Although the defendants assert the plaintiffs lack statutory standing, this argument does not imperil the Court's
       jurisdiction. “[S]tatutory standing is not indicative of Article III jurisdictional standing.”  CamSoft Data Sys.,
       Inc. v. Southern Elecs. Supply, Inc., 756 F.3d 327, 332 (5th Cir. 2014). Taking the opportunity to verify its
       jurisdiction, the Court is satisfied: the plaintiffs have alleged a concrete, particularized, actual injury in fact that
       is fairly traceable to the defendant's conduct and likely to be redressed by a favorable ruling. See                Lujan
       v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992).



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                                                                   premises. As explained in detail below, the Motions [#53,
                    2019 WL 1382823                                #55] are GRANTED. 2
         United States District Court, D. Colorado.

        Lawrence Henry SMALLEN and Laura Anne
        Smallen Revocable Living Trust, individually                                I. Summary of the Case 3
      and on behalf of all others similarly situated, and
                                                                   Western Union is a “money transfer service” which “provides
      UA Local 13 Pension Fund, individually and on                money movement and payment services worldwide.” Am.
       behalf of all others similarly situated, Plaintiffs,        Compl. [#40] ¶ 33. During the alleged Class Period (from
                               v.                                  February 24, 2012, to May 2, 2017), Defendant Hikmet
           The WESTERN UNION COMPANY,                              Ersek (“Ersek”) was the Chief Executive Officer (“CEO”)
         Hikmet Ersek, Scott T. Scheirman, Rajesh                  of the Company. Id. ¶¶ 1, 26. Defendant Scott T. Scheirman
         K. Agrawal, and Barry Koch, Defendants.                   (“Scheirman”) was the Company's Chief Financial Officer
                                                                   (“CFO”) and an Executive Vice President from sometime
      Civil Action No. 17-cv-00474-KLM Consolidated                prior to the Class Period until December 31, 2013, and a
          with, Civil Action No. 17-cv-00648-KLM                   Senior Advisor until February 28, 2014. Id. ¶ 27. Defendant
                              |                                    Rajesh K. Agrawal (“Agrawal”) was President of Western
                      Signed 03/27/2019                            Union Business Solutions from sometime prior to the Class
                                                                   Period through December 2013, was Interim CFO from
Attorneys and Law Firms                                            January 2014 to July 2014, and CFO from July 2014 to after
                                                                   the end of the Class Period. Id. ¶ 28. He also served as an
Marc Ian Gross, Joseph Alexander Hood, II, Michael
                                                                   Executive Vice President during the entire Class Period. Id.
Grunfeld, Jeremy Alan Lieberman, Pomerantz LLP-New
                                                                   Defendant Barry Koch (“Koch”) was the Chief Compliance
York, New York, NY, for Plaintiffs.
                                                                   Officer from May 2013 until about November 2015. Id. ¶ 29.
Chuan Cheng, Wheeler Trigg O'Donnell LLP, Holly Stein
Sollod, Claire Elizabeth Wells Hanson, Holland & Hart LLP,         Plaintiffs are investors who acquired Western Union
Denver, CO, David Franklin Graham, Hille von Rosenvinge            securities during the Class Period allegedly “at artificially
Sheppard, Sidley Austin LLP, Chicago, IL, for Defendants.          inflated prices” during the Class Period and who were
                                                                   “damaged upon the revelation of the alleged corrective
                                                                   disclosures.” Id. ¶ 24. In short, Plaintiffs assert that, during
                           ORDER                                   the Class Period, Defendants deliberately misled investors
                                                                   regarding Western Union's regulatory compliance regarding
KRISTEN L. MIX, United States District Judge                       anti-money laundering (“AML”) and anti-fraud practices. Id.
                                                                   ¶¶ 15-19.
 *1 This matter is before the Court on the Motion to
Dismiss the Consolidated Amended Complaint Pursuant                 *2 On January 19, 2017, Western Union “reached a
to Federal Rules of Civil Procedure 12(b)(6) and 9(b)              settlement with several federal regulators [including the
and the PSLRA [#53], 1 filed by Defendants Hikmet Ersek            Federal Trade Commission (“FTC”) ] in which it agreed
(“Ersek”), Scott T. Scheirman (“Scheirman”), Rajesh K.             to pay” $586 million. Id. ¶ 2. As part of this settlement,
Agrawal (“Agrawal”), and The Western Union Company                 which covered a period from 2004 through December 2012,
(“Western Union” or the “Company”), and on the Motion to           Western Union admitted to criminal violations including
Dismiss the Consolidated Amended Complaint Pursuant                willfully failing to maintain an effective AML program
to Federal Rules of Civil Procedure 12(b)(6) and 9(b) and          and aiding and abetting wire fraud, 4 which resulted in a
the PSLRA [#55], filed by Defendant Barry Koch (“Koch”).           Deferred Prosecution Agreement (“DPA”) between Western
Plaintiffs filed a combined Response [#63] in opposition to        Union and the Department of Justice (“DOJ”). Id. ¶¶
the Motions [#53, #55], and Defendants filed separate Replies      130-31, 139. In part, Western Union admitted to failing “to
[#70, #71]. The Court has reviewed the briefs, the entire case     implement proper controls and discipline agents.” Id. As
file, and the applicable law, and is sufficiently advised in the   stated by the DOJ, “[r]ather than ensuring their high volume



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agents were operating above-board, Western Union rewarded
                                                                      ”    Robbins v. Oklahoma, 519 F.3d 1242, 1247 (10th Cir.
them without regard to the blatant lack of compliance and
illegal practices taking place.” Id. As part of the settlement        2008) (quoting     Bell Atl. Corp. v. Twombly, 550 U.S. 544,
agreement, Western Union agreed to implement a number of              570 (2007) ); see also       Shero v. City ofGrove, Okla., 510
compliance steps, including “ensuring that the Company a)             F.3d 1196, 1200 (10th Cir. 2007) (“The complaint must plead
conducts adequate due diligence on its agents; b) adequately          sufficient facts, taken as true, to provide ‘plausible grounds’
monitors agent activity for anti-fraud and AML violations;            that discovery will reveal evidence to support the plaintiff's
c) takes prompt disciplinary action against agents that pose
an unacceptable risk of money laundering and fraudulent               allegations.” (quoting      Twombly, 550 U.S. at 570) ). “A
practices; d) reports suspicious or illegal activity by its agents    claim has facial plausibility when the plaintiff pleads factual
as required by the AML laws; and e) establishes executive             content that allows the court to draw the reasonable inference
review and bonus structures that account for compliance with          that the defendant is liable for the misconduct alleged.”
U.S. law.” Id. ¶ 16.                                                      Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “A pleading
                                                                      that offers labels and conclusions or a formulaic recitation
On January 31, 2017, Western Union also settled charges               of the elements of a cause of action will not do. Nor does
brought by the attorney generals of forty-nine states and the         a complaint suffice if it tenders naked assertions devoid of
District of Columbia for an additional $5 million “to resolve         further factual enhancement.” Id. (internal quotation marks
their investigations into how fraudsters used Western Union's         omitted). “The court's function on a Rule 12(b)(6) motion is
money transfer services to defraud customers.” Id. ¶ 526.             not to weigh potential evidence that the parties might present
Between January 18, 2017, and February 1, 2017, the price of          at trial, but to assess whether the plaintiff's complaint alone
Western Union stock shares declined by 10.57%. Id. ¶ 527.             is legally sufficient to state a claim for which relief may be
                                                                      granted.”   Suttonv. Utah State Sch. for the Deaf & Blind,
Plaintiffs state that as a result of Defendants’ conduct,
                                                                      173 F.3d 1226, 1236 (10th Cir. 1999) (citation omitted).
they “suffered damages in connection with their respective
purchases, acquisitions and sales of the Company's
securities during the Class Period, upon the disclosure               B. Private Securities Litigation Reform Act of 1995
that the Company had been disseminating misrepresented                (“PSLRA”)
information concerning Western Union's compliance efforts              *3 Because the PSLRA governs this case, the Court notes
to the investing public.” Id. ¶ 574. Plaintiffs therefore assert      and applies guidance from the Tenth Circuit Court of Appeals
two claims: (1) violation of § 10(b) of the Securities Exchange       regarding interpretation of the Act's “stringent” pleading
Act of 1934 and Rule 10b-5 thereunder against all Defendants
(“Claim One”), and (2) violation of § 20(a) of the Securities         requirements.     Pirraglia v. Novell, Inc., 339 F.3d 1182,
Exchange Act against the four individual Defendants, i.e.,            1186 (10th Cir. 2003).
Defendants Ersek, Scheirman, Agrawal, and Koch (“Claim
Two”). Id. ¶¶ 564-580.                                                Under the PSLRA, “Section 10(b) and Rule 10b-5 create
                                                                      an implied private cause of action arising from fraud in
                                                                      the purchase or sale of securities.” Hampton v. root9B
                                                                      Techs., Inc., 897 F.3d 1291, 1298 (10th Cir. 2018). Section
                    II. Standard of Review                            10(b) makes it unlawful for any person to “use or
                                                                      employ, in connection with the purchase or sale of any
A. Fed. R. Civ. P. 12(b)(6)
                                                                      security...any manipulative or deceptive device or contrivance
The purpose of a motion to dismiss pursuant to Rule 12(b)
                                                                      in contravention of such rules and regulations as the
(6) is to test “the sufficiency of the allegations within the
                                                                      Commission may prescribe as necessary or appropriate
four corners of the complaint after taking those allegations
                                                                      in the public interest or for the protection of investors.”
as true.” Mobley v. McCormick, 40 F.3d 337, 340 (10th Cir.
1994); Fed R. Civ. P. 12(b)(6) (stating that a complaint may be           15 U.S.C. § 78j(b). Rule 10b-5 prohibits “any untrue
dismissed for “failure to state a claim upon which relief can         statement of a material fact or [omission of] a material fact
be granted.”). To withstand a motion to dismiss pursuant to           necessary in order to make the statements made, in the
Rule 12(b)(6), “a complaint must contain enough allegations           light of the circumstances under which they were made, not
of fact ‘to state a claim to relief that is plausible on its face.’



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misleading[,]...in connection with the purchase or sale of any
security.” 17 C.F.R. § 240.10b-5.                                  When a complaint refers to an investigation of counsel as the
                                                                   basis for a plaintiff's allegations, as is the case here, see Am.
To state a claim under § 10(b) and Rule 10b-5, a plaintiff must    Compl. [#40] at 5, the Court “treats [the allegations of the
plausibly allege that “a defendant made statements that (1)        complaint] as having been made on information and belief.”
contained false or misleading statements of material fact, (2)
                                                                       Adams v. Kinder-Morgan, Inc., 340 F.3d 1083, 1098 (10th
related to the purchase or sale of a security, (3) were made
                                                                   Cir. 2003). As indicated above, Plaintiffs must “state with
with intent to defraud investors or conscious disregard of a
                                                                   particularity all facts upon which their belief is formed.”
risk that shareholders would be misled (scienter), (4) led to
                                                                   Id. (citation omitted). The Tenth Circuit has interpreted the
reliance by the plaintiff, and (5) caused the plaintiff's loss
                                                                   statutory language about stating “all” facts to mean that
(loss causation).”   Nakkhumpun v. Taylor, 782 F.3d 1142,          Plaintiffs must plead sufficient facts “to determine whether,
1146-47 (10th Cir. 2015).                                          taken as a whole, they support a reasonable belief that the
                                                                   defendant's statements...were false or misleading.”        Id. at
The PSLRA, 15 U.S.C. § 78u-4(b), “adjusts the general
                                                                   1099.
pleading standard applicable under Federal Rule of Civil
Procedure 12(b)(6), which requires a plaintiff to plead
sufficient factual matter, accepted as true, to state a claim to
                                                                                In deciding whether the factual
relief that is plausible on its face.” Hampton, 897 F.3d at 1298
                                                                                allegations support a reasonable belief
(internal quotation marks omitted). “Specifically, under the
                                                                                that fraud occurred, courts should
PSLRA, a plaintiff must meet a heightened pleading standard
                                                                                evaluate the facts alleged as a whole,
with regards to the first and third elements of a securities-
                                                                                evaluating the level of detail, number,
fraud claim: that is, respectively, as to whether the statements
                                                                                and coherence and plausibility of the
at issue were false or misleading, and whether the defendant
                                                                                allegations; whether the allegations
acted with the requisite scienter.” Id.
                                                                                are specific enough to be verified
  Under the Reform Act, a private complaint that alleges                        or refuted by a defendant without
  a violation of section 10(b) of the 1934 Act and Rule                         requiring the complaint to disclose
  10b-5 thereunder must first “specify each statement alleged                   how the plaintiff learned of such facts
  to have been misleading, the reason or reasons why the                        or experts to prove such facts at trial;
  statement is misleading, and, if an allegation regarding the                  whether the sources of the facts are
  statement or omission is made on information and belief,...                   disclosed and the reliability of those
  [must] state with particularity all facts on which that belief                sources; and any other factors that
  is formed.” 15 U.S.C. § 78u-4(b)(1).                                          might affect how strongly the facts
                                                                                alleged support a reasonable belief that
    Pirraglia, 339 F.3d at 1186 (citation omitted). “To satisfy                 the defendant's statements were false
this statutory burden, a plaintiff must explain why the                         or misleading. To meet the standard,
statement was misleading, and allege with particularity his                     plaintiffs are not required to disclose
basis for believing that the statement was false.” Hampton,                     the documentary or personal sources
897 F.3d at 1298 (internal quotation marks omitted).                            from which they learned the facts
                                                                                alleged in an information and belief
  Second, in order to show that the defendant acted with                        complaint.
  the requisite state of mind for securities fraud cases, i.e.,
  scienter, the complaint must also, “with respect to each act
  or omission alleged to violate the [the 1934 Act], state with    Id. at 1102-03.
  particularity facts giving rise to a strong inference that the
  defendant acted with the required state of mind.” § 78u-4(b)     “There is a meaningful distinction between statements of
  (2).                                                             opinion and statements of fact; the former require a plaintiff
                                                                   to meet a higher pleading standard.” Hampton, 897 F.3d
*4      Pirraglia, 339 F.3d at 1186 (citation omitted).            at 1299. “Pure statements of opinion and statements of



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optimism that are not capable of objective verification are not   not required to make explicit findings of fact and conclusions
material misstatements unless they inaccurately represent the
                                                                  of law on a Rule 12(b)(6) ruling.     Adams, 340 F.3d at 1093.
speakers’ beliefs concerning then-present factual conditions.
Id. (internal citations, brackets, and quotations marks
omitted). “Statements of opinion or belief must rest on a         A. Claim One: Defendant Koch
factual basis that justifies them as accurate, the absence of     Defendant Koch was Western Union's Chief Compliance
which renders them misleading.” Id. (internal brackets and        Officer from May 2013 until about November 2015. Am.
quotation marks omitted).                                         Compl. [#40] ¶ 29. He reported to the Compliance Committee
                                                                  of the Board of Directors (the “Board”) after its creation in
In Pirraglia v. Novell, Inc., the court first analyzed the        July 2013. Id. Plaintiffs note specifically that he attended
complaint's alleged false statements “to determine whether        the Compliance Committee meetings held on July 17, 2013
plaintiffs specifi[ed] each statement alleged to have been        and September 9, 2013, and the full Board meeting held on
misleading, the reason or reasons why the statement [was]         October 11, 2013. Id. ¶ 92.
misleading, and, if an allegation regarding the statement or
omission [was] made on information and belief,...[whether         At the July 17, 2013 Compliance Committee meeting also
the complaint] state[d] with particularity all facts on which     attended by Defendant Ersek, Defendant Koch “described
that belief [was] formed.” Id. at 1189 (internal quotations       a draft risk assessment that would be the ‘foundation’ for
omitted). Second, the court “proceed[ed] to examine whether       the risk-based AML compliance program of Western Union's
plaintiffs met the scienter requirement,” but only as to those    core consumer-to-consumer money transfer business.” Id.
statements which the court found met the above particularity      ¶ 240. At the September 9, 2013 Compliance Committee
requirements. Id. at 1190-91.                                     meeting attended by Defendants Ersek and Koch, “it was
                                                                  announced that on July 31, 2013, management first submitted
 *5 Regardless of the order in which the Court addresses          a written action plan to the Monitor for his consideration,
the PSLRA's pleading requirements, the Court must decline         providing an agreed-to methodology for measuring and
a defendant's invitation to conclude that facts alleged by
                                                                  ensuring compliance with the Monitor's recommendations.” 6
the plaintiffs are simply false, regardless of whether the
                                                                  Id. ¶ 242.
plaintiffs’ claims “seem far-fetched.”    Pirraglia, 339 F.3d
at 1193-94. Moreover, the Court must accept the truth of           *6 At the October 11, 2013 Board meeting attended
the confidential witnesses’ accounts as pled in the Amended       by Defendants Ersek, Scheirman, and “likely” Agrawal,
Complaint [#40] and decline to assess those witnesses’            Defendant Koch “explained in a memorandum to the Board
                                                                  (using language that was also included in the risk assessment
credibility.   Anderson v. Spirit Aerosystems Holdings, Inc.,
                                                                  itself) that an ‘AML Risk Assessment is the foundational
827 F.3d 1229, 1239 (10th Cir. 2016) (citing    Tellabs Inc.      document upon which [a financial institution's] risk-based
v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007) ).       AML Compliance program is based....Development and
                                                                  issuance of an AML Risk Assessment is also a regulatory
                                                                  expectation, evidenced in bank and [Money Services
                        III. Analysis                             Businesses] examination manuals, and is implicitly required
                                                                  by the AML ‘program requirement’ of [the Bank Secrecy
In the interest of efficiency, the Court addresses the            Act].’ ” Id. ¶ 243. According to his meeting
allegations asserted against Defendants Ersek, Scheirman,
Agrawal, and Western Union collectively but separately from
those asserted against Defendant Koch, who filed his Motion       memorandum, “the ‘[i]nherent’ ‘[g]eographic’ risk for
to Dismiss [#55] separately from the other Defendants.            Western Union's consumer-to-consumer and business
However, as instructed by Tenth Circuit precedent, the Court      segments was ‘Very High.’ ” Id.
has reviewed all of the allegations of the Amended Complaint      On November 6, 2013, Western Union issued “a press release
[#40] and has assessed it holistically. See Hampton, 897          announcing that it would be joining the Blue Campaign,
F.3d at 1298. The Court has examined the allegations of the       an anti-human trafficking initiative spearheaded by the U.S.
                                                                  Department of Homeland Security.” Id. ¶ 405. Defendant
lengthy Amended Complaint [#40] in their entirety, 5 and is
                                                                  Koch stated in the press release that “[e]nding human



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trafficking is possible only if everyone steps in and plays          2013, Defendant Koch stated: “Together with governments,
a role. We are committed to using the trust, reach and               regulators, law enforcement authorities and financial service
power of our brand along with our Agent network to engage            companies, we're fully engaged in the fight against money
the public and arm them with awareness and the resources             laundering and fraud.” Id. at 54 (citing Am. Compl. [#40]
to spot the signs and report suspect activity.” Id. At this          ¶ 395). Plaintiffs argue that this statement “was misleading
time, Western Union was responding to two investigations–            absent disclosure of the fact that government investigations
one aimed directly at Western Union– by the Department               that were pending at the time posed the high risk of substantial
of Justice into “China Corridor agents” who facilitated the          liability for Western Union's compliance failures.” Response
laundering of hundreds of millions of dollars used for human         [#63] at 54 (citing Am. Compl. [#40] ¶¶ 265, 268).
trafficking. Id. ¶¶ 131, 184, 251, 264-65. Plaintiffs argue:
“Touting the Company's commitment to combating human                  *7 Second, as discussed above, in a November 6, 2013
trafficking and its agents’ role in those efforts while failing      press release concerning Western Union's efforts to combat
to disclose the Company's failings with respect to those             human trafficking, Defendant Koch stated: “Ending human
exact topics was therefore false and misleading.” Response           trafficking is possible only if everyone steps in and plays a
[#63] at 54. They further argue: “Even though Western                role. We are committed to using the trust, reach and power of
Union[ ] only admitted to willful compliance failures as to the      our brand along with our Agent network to engage the public
China Corridor Agents through 2012, it was still misleading          and arm them with awareness and the resources to spot the
for Koch to fail to disclose those very recent violations            signs and report suspect activity.” Response [#63] at 53 (citing
that subjected the Company to the substantial risk of an             Am Compl. [#40] ¶ 405). Plaintiffs argue that “[t]outing the
unprecedented forfeiture for a money services business.” Id.         Company's commitment to combating human trafficking and
                                                                     its agents’ role in those efforts while failing to disclose the
During his two and a half years as Chief Compliance Officer,         Company's failings with respect to those exact topics was
Defendant Koch “regularly spoke at publicly advertised               therefore false and misleading.” Response [#63] at 54 (citing
industry conferences, representing Western Union, where he           Am Compl. [#40] ¶¶ 110-13, 131, 183-99, 251, 264-65).
portrayed Western Union as an industry leader in compliance
by discussing best practices for compliance programs and             Third, in connection with Western Union's 2014 Annual Anti-
combating human trafficking.” Am. Compl. [#40] ¶ 247.                Money Laundering, Anti-Fraud and Compliance Conference,
On February 17, 2014, he “presented on best practices                Defendant Koch stated: “Western Union is committed to
for detecting human trafficking at a conference hosted by            helping protect its customers against fraud and other financial
the Council of Europe and Organization for Security and              crimes. It's the right thing to do for our customers and for
Cooperation in Europe.” Id. On April 24, 2014, he “was one           our business.” Response [#63] at 54 (citing Am. Compl.
of three panelists on a publicly advertised webcast hosted by        [#40] ¶ 436). Plaintiffs argue this statement was false and
a law firm that addressed ‘[b]est practices for structuring and      misleading in light of “Defendants’ other statements touting
implementing compliance programs to identify and mitigate            the Company's compliance practices and its reasons for its
multiple financial crimes risk.’ ” Id. On October 23, 2014,          compliance expenditures while failing to disclose current and
he presented at the 8th Annual European AML Financial                past compliance failures or the true reason for its increased
Crime Conference. Id. Defendant Koch left Western Union's            compliance costs.” Response [#63] at 54.
employment no later than November 2015. Id. ¶ 247.
                                                                     Defendant Koch argues that these statements were mere
The first required element of a claim under Rule 10b-5 is            puffery. Motion [#56] at 7-8, 11-12, 13; Reply [#71] at 13-15.
that the defendant must have made an untrue or misleading            In another securities-fraud case, Grossman v. Novell, Inc.,
statement of material fact, or failed to state a material fact       the allegedly “false and misleading” statements concerned
                                                                     the defendant's potential market-share gain, “compelling”
necessary to make statements not misleading.          Grossman,
                                                                     opportunities, “smooth” mergers, and “accelerating” product
120 F.3d at 1118. Plaintiffs direct the Court's attention to three
asserted false or misleading statements made by Defendant            development.     120 F.3d at 1116-17. The Tenth Circuit
Koch. Response [#63] at 53-54.                                       Court of Appeals held that such “vague statements of
                                                                     corporate optimism” were “not actionable because reasonable
First, in connection with Western Union's 8th Annual                 investors do not rely on them in making investment
AML, Anti-Fraud and Compliance Conference in September


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                                                                  the company “remain[ed] focused on preserving principal and
decisions.”       Id. at 1119. “Statements classified as
                                                                  committed to managing risk” was “not actionable in fraud”
‘corporate optimism’ or ‘mere puffing’ are typically forward-
                                                                  because the statement was puffery. In Woodard v. Raymond
looking statements, or are generalized statements of optimism
                                                                  James Financial, Inc., 732 F. Supp. 2d 425, 434-35 (S.D.N.Y.
that are not capable of objective verification.” Id The sum
                                                                  2010), the court held that “Raymond James’ leadership
of Plaintiffs’ argument regarding whether Defendant Koch's
                                                                  believes that the managed growth strategy, commitment to
statements are puffery is a footnote summarily denying that
                                                                  risk management and conservative lending practices...will
they are and referring the Court to a multi-page discussion
                                                                  continue to serve the company well in the coming year”
of puffery offered in connection with the other Defendants’
                                                                  was puffery consisting of “nothing more than a general
statements. Response [#63] at 55 n.24 (citing Response [#63]
                                                                  platitude that accompanies nearly every press release or
at 43-47).
                                                                  public statement issued by a financial institution.”
The Court finds that the three statements attributed to
                                                                   *8 Thus, because the statements made by Defendant Koch
Defendant Koch are nothing more than mere puffery
                                                                  and argued by Plaintiffs to be false and misleading are actually
consisting of vague corporate optimism. The first statement
                                                                  nonactionable puffery, the Court finds that Plaintiffs fail to
(“Together with governments, regulators, law enforcement
                                                                  sufficiently allege facts regarding the first required element of
authorities and financial service companies, we're fully
                                                                  a claim under Section 10b and Rule 10b-5, i.e., that Defendant
engaged in the fight against money laundering and fraud.”) is
                                                                  Koch made an untrue or misleading statement of material
similar to a statement analyzed in another securities case, In
                                                                  fact, or failed to state a material fact necessary to make
re Sturm, Ruger & Co., Inc. v. Securities Litigation, No. 3:09-
cv-1293 (CFD), 2011 WL 494753, at *5 (D. Conn. Feb. 7,            statements not misleading. See  Grossman, 120 F.3d at
2011). There, the court found that the statement, “Employees      1118. Accordingly, Claim One against Defendant Koch is
are fully engaged, and we see nothing but opportunities ahead     dismissed.
of us,” was an expression of puffery and corporate optimism
not giving rise to a securities violation. 2011 WL 494753,
at *5. Here, the Court finds that the assertion that Western      B. Claim One: Defendants Ersek, Scheirman, Agrawal,
Union was “fully engaged in the fight” constitutes similarly      and Western Union 7
inactionable puffery.
                                                                     1. Purported False or Misleading Statements
Defendant Koch's second statement (“Ending human                  With respect to Defendants Ersek, Scheirman, Agrawal,
trafficking is possible only if everyone steps in and plays       and Western Union, Plaintiffs direct the Court's attention
a role. We are committed to using the trust, reach and            to the following purportedly fraudulent misrepresentations/
power of our brand along with our Agent network to                omissions, which they divide into four categories: (1)
engage the public and arm them with awareness and the             statements describing ongoing government investigations; (2)
resources to spot the signs and report suspect activity.”) and    statements explaining increased compliance expenditures; (3)
third statement (“Western Union is committed to helping           statements regarding legal compliance; and (4) statements
protect its customers against fraud and other financial crimes.   touting compliance practices. Response [#63] at 36-53. In
It's the right thing to do for our customers and for our          this section, the Court addresses the first three categories,
business.”) constitute similarly inactionable statements of       reserving discussion of the fourth category for the scienter
puffery. Other courts have found that general language            analysis below.
regarding a company's commitment to risk management is
inactionable. For example, in     In re Vale S.A. Securities
Litigation, No. 1:15-cv-9539-GHW, 2017 WL 1102666, at                            a. Government Investigations
*24 (S.D.N.Y. Mar. 23, 2017), the court held that the
                                                                  Plaintiffs argue that Defendants made untrue or misleading
company's claim to be “committed to achieving the highest
                                                                  statements of material fact, or failed to state material
possible health and safety standards” was a “general, airy
                                                                  facts necessary to make statements not misleading,
statement of commitment routinely found to constitute non-
                                                                  regarding ongoing government investigations, including the
actionable puffery.” In Matana v. Merkin, 989 F. Supp. 2d
                                                                  investigations brought by four separate U.S. Attorney offices,
313, 327 (S.D.N.Y. 2013), the court held that a statement that
                                                                  the FTC, and state attorneys general. Response [#63] at 47-51.



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                                                                  5. “[A]t the May 9, 2012 Investor Day conference,
                                                                    Mike Salop, Western Union's Senior Vice President
              i. Filings with the Securities                        of Investor Relations, specifically addressed DOJ's
             Exchange Commission (“SEC”)                            investigation into Shen Zhou—the agent in California
                                                                    that was arrested and late[r] pled guilty to structuring
In support of this category of purportedly false/misleading
                                                                    transactions—that the Company had announced in its
statements regarding government investigations, Plaintiffs
                                                                    10-Q for the first quarter of 2012 and that Western
cite to the following allegations. Id. 1.
                                                                    Union was a target of. He represented that ‘[w]e believe
  “On February 24, 2012, Western Union filed an annual              the company has robust compliance and anti-money
    report on Form 10-K with the SEC, signed by                     laundering policies and processes in place, and we look
    Defendants Ersek and Scheirman, announcing the                  forward to demonstrating that fact to the U.S. Attorney's
    Company's financial and operating results for the               office in Los Angeles.’ Salop went on to state that ‘[w]e
    quarter and fiscal year ended December 31, 2011 (the            are not aware of any evidence that suggests that the
    “2011 10-K”).” Am. Compl. [#40] ¶ 304. “The 2011                company or any of its employees knowingly engaged in
    10-K...discussed ongoing governmental investigations,           any conduct with this former agent that would constitute
    consent agreements, and enforcement actions by                  a violation of the law.’ ” Id. ¶ 326. “He explained:
    regulators, but claimed that these investigations were too      ‘We have been cooperating with the government in
    preliminary for the Company to be able to predict their         connection with this particular case for almost two years
    outcomes.” Id. ¶ 308.                                           and assisted the government prior to the time the former
                                                                    agent was arrested, just as we cooperate on a daily basis
  2. In March 2012, the Eastern District of Pennsylvania            with law enforcement departments throughout the U.S.’
     (“EDPA”) served Western Union “with a federal grand            ” Id. ¶ 250.
     jury [subpoena] seeking documents relating to Hong
                                                                  6. “On August 2, 2012, the Company filed its quarterly
    Fai... .” 8 Id. ¶ 264. “As the Class Period progressed,
                                                                     Form 10-Q with the SEC, signed by Defendants Ersek
    the Company received additional subpoenas from EDPA
                                                                     and Scheirman, announcing the Company's financial and
    and the government interviewed several current Western
                                                                     operating results for the second quarter of 2012, which
    Union employees as part of this investigation.” Id.
                                                                     ended on June 30, 2012 (the “Q2 2012 10-Q”).” Id.
  3. On March 20, 2012, the Central District of California           ¶ 341. “The Company...described in its Q2 2012 10-Q
     (“CDCA”) “served the Company with a federal grand               several ongoing government investigations and claimed
     jury subpoena seeking documents relating to” U.S. Shen          that all of these investigations were too preliminary for
                                                                     the Company to be able to predict their outcomes.” Id.
    Zhou International Company (“Shen Zhou”). 9 Id. ¶ 265.
                                                                     ¶ 344.
    “When CDCA served the Company with this subpoena,
    it informed Western Union that the Company itself was         7. Filed February 22, 2013, the 2012 10-K signed
    ‘a target of an ongoing investigation into structuring and      by Defendants Ersek and Scheirman essentially
    money laundering.’ ” Id.                                        repeated the information in the 2011 10-K in that
                                                                    it “discussed ongoing governmental investigations,
   *9 4. “On May 1, 2012, the Company filed its quarterly
                                                                    consent agreements, and enforcement actions by
    Form 10-Q with the SEC, signed by Defendants Ersek
                                                                    regulators, but claimed that these investigations were too
    and Scheirman, announcing the Company's financial and
                                                                    preliminary for the Company to be able to predict their
    operating results for the first quarter of 2012, which
                                                                    outcomes.” Id. ¶¶ 365, 368.
    ended on March 31, 2012 (the “Q1 2012 10-Q”).” Id.
    ¶ 316. “The Company...described in its Q1 2012 10-Q           8. “On April 30, 2013, the Company held a conference
    several ongoing government investigations and claimed            call in connection with the release of its earnings for
    that all of these investigations were too preliminary for        the first quarter of 2013. During this call, an analyst
    the Company to be able to predict their outcomes.” Id.           noted the fact that Ersek had mentioned a few times
    ¶ 318.                                                           earlier in the call at a general level new compliance
                                                                     and regulatory actions in addition to the Southwest



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    Border Agreement that the Company had not disclosed              William Blair conference that ‘the regulators start with
    previously and asked for more information about these            the market leaders and we're clearly a market leader.
    activities. Ersek responded by explaining: ‘It is no secret      And, again, we're going to partner with them because
    that the financial service[s] overall get more regulated         we share the same goals of protecting our customers,
    and within that also we want to be best-in-class. We             protecting our business systems and so forth.’ ” Id. ¶ 386.
    create this culture of compliance within our company.
    And we – so that's the environment we are in currently         10. On November 25, 2013, the Middle District of
    and we see that as a long-term competitive advantage.’           Pennsylvania (“MDPA”) “served the Company with
    Then, at Ersek's request, Scheirman followed-up by               a grand jury subpoena seeking documents relating
    elaborating as follows: ‘[A]s Hikmet said that we are            to complaints made to the Company by consumers
    committed to a strong culture of compliance and invest           anywhere in the world relating to fraud-induced money
    in compliance programs. And let me give you a flavor             transfers since January 1, 2008.” Id. ¶ 268. “When
    of maybe some things that have been ongoing not only             MDPA served the Company with this subpoena, it
    in the first quarter, but prior quarters, too. We're doing       informed Western Union that the Company itself was the
    things to really protect the customer and protect the            subject of this investigation.” Id.
    business. They might be things such as real-time risk
                                                                   11. Filed February 24, 2014, the 2013 10-K signed by
    assessment when the transaction happens at the point-
                                                                     Defendants Ersek and Agrawal essentially repeated
    of-sale, verification programs related to high principal
                                                                     the information in the 2011 and 2012 10-Ks in
    transactions where we – whereby we call back the
                                                                     that it “discussed ongoing governmental investigations,
    sender and make sure the transaction is appropriate. But,
                                                                     consent agreements, and enforcement actions by
    as Hikmet mentioned, we believe this will be a long-
                                                                     regulators, but claimed that these investigations were too
    term competitive advantage for us. Near term, there
                                                                     preliminary for the Company to be able to predict their
    are some headwinds but it's the right investment to
                                                                     outcomes.” Id. ¶¶ 410, 413.
    make in the business. We believe it'll be a competitive
    advantage and we continue to work towards that....But          12. Filed July 31, 2014, the Q2 2014 10-Q signed
    we will continue to comply with the letter and the               by Defendants Ersek and Agrawal disclosed that the
    spirit of the law and really see that as a competitive           government had notified Western Union that it was a
    advantage long term.’ (Emphasis added). Ersek then               “target” of an investigation by the Southern District of
    explained that the Company was working to adapt to               Florida (“SDFL”). Id. ¶¶ 275, 428, 430.
    the U.S. and global trend of increasing regulations.
    Scheirman added that the Company's efforts often went          13. Filed February 20, 2015, the 2014 10-K signed by
    above and beyond its technical legal requirements. He            Defendants Ersek and Agrawal essentially repeated the
    represented that ‘everything isn't necessar[ily] black-          information in the 2011, 2012, and 2013 10-Ks in
    and-white and a rule, but we work with regulators in             that it “discussed ongoing governmental investigations,
    countries around the world to try to do the right thing          consent agreements, and enforcement actions by
    for our business and for our customers.’ (Emphasis               regulators, but claimed that these investigations were too
    added).” Id. ¶ 374. “Later during this April 30, 2013            preliminary for the Company to be able to predict their
    conference call, Defendant Scheirman explained that              outcomes.” Id. ¶¶ 446, 449.
    ‘our goal is to comply with the letter and the spirit of
    the law, have best-in-class compliance programs, and           14. Filed February 19, 2016, the 2015 10-K signed by
    really protect our customers and protect our businesses.’        Defendants Ersek and Agrawal, “discussed ongoing
    Defendant Ersek added, ‘I think the general financial            governmental investigations, consent agreements, and
    service industry is getting more regulated and we are            enforcement actions by regulators. Although the 2015
    very focused on that. I think we have a great compliance         10-K disclosed that MDPA ‘indicated that it believes
    team in place and they are working hard. Generally, I            Western Union failed to timely terminate or suspend
    see also being a market leader here as a competitive             certain Western Union agents who allegedly paid or
    advantage.’ ” Id. ¶ 375.                                         forwarded thousands of fraud-induced transactions sent
                                                                     from the United States to various countries from at least
  *10 9. “Specifically addressing the regulatory                     2008 to 2012,’ the Company continued to claim that all
   environment, Scheirman stated at [a] June 13, 2013                of these investigations—including MDPA's—were too


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    preliminary for the Company to be able to predict their        on the FTC's belief that fraud-induced money transfers
    outcomes.” Id. ¶¶ 473, 476.                                    are underreported by consumers, dating back to 2004.’
                                                                   The Company continued, however, to claim that all of
  15. Filed on May 3, 2016, the Q1 2016 10-Q signed by             these investigations—including MDPA's and FTC's—
    Defendants Ersek and Agrawal contained “substantially          were too preliminary for the Company to be able to
    the same representations” but further “disclosed that          predict their outcomes. The Company also contested
    MDPA ‘indicated that it believes Western Union failed          the FTC's position by declaring that ‘[t]he Company
    to timely terminate or suspend certain Western Union           strongly disagrees with the FTC's assertions regarding
    agents who allegedly paid or forwarded thousands of            its potential liability and any scope thereof’ and that
    fraud-induced transactions sent from the United States         ‘[i]f the FTC files a complaint against the Company,
    to various countries from at least 2008 to 2012.’ The          the Company intends to defend itself vigorously.’ ”
    Company, however, continued to claim that all of its           Id. ¶¶ 492-93; see also id. ¶ 263. Plaintiffs emphasize
    ongoing government investigations—including MDPA's             that “even though multiple DOJ offices had already
    —were too preliminary for the Company to be able to            taken the position that Western Union committed
    predict their outcomes.” Id. ¶¶ 482, 483.                      serious compliance violations, even when Defendants
                                                                   disclosed in the Company's 10-Q for the third quarter
  16. Filed August 3, 2016, the Q2 2016 10-Q signed by
                                                                   of 2016, filed on November 1, 2016, that the Company
    Defendants Ersek and Agrawal contained substantially
                                                                   ‘anticipate[d] entering into discussions with the United
    the same information as the Q1 2016 10-Q and further
                                                                   States Department of Justice to potentially resolve the
    “disclosed that MDPA ‘indicated that it believes Western
                                                                   four investigations’ being conducted by the EDPA,
    Union failed to timely terminate or suspend certain
                                                                   CDCA, MDPA, and SDFL, Defendants continued to
    Western Union agents who allegedly paid or forwarded
                                                                   take the position that ‘[d]ue to the stage of these matters
    thousands of fraud-induced transactions sent from the
                                                                   and the fact that no criminal charges or civil claims
    United States to various countries from at least 2008 to
                                                                   have been brought, the Company is unable to predict the
    2012,’ and that the ‘FTC staff has advised the Company
                                                                   outcome of these matters.’ ” Id. ¶ 282.
    that it has been directed to request authority from
    the FTC to file a complaint against the Company in           18. As part of the January 2017 settlement agreement with
    United States federal court if it is not able to reach an      the DOJ, “Western Union admitted in the Statement
    agreement with the Company.’ The Company, however,             of Facts...that its employees knew that its analyses
    continued to claim that all of these investigations—           and internal reports show that the amount of losses
    including MDPA's and FTC's—were too preliminary for            from fraudulent transactions sent through the Company
    the Company to be able to predict their outcomes. The          was much higher than the amount identified in the
    Company also contested the FTC's position by taking            Company's [Consumer Fraud Reports (“CFRs”) ]
    the strong position that ‘[i]f the FTC files a complaint       database, because not every victim reported fraud to
    against the Company, the Company intends to defend             the Company.” Id. ¶ 155. “In addition, as the FTC
    itself vigorously.’ ” Id. ¶¶ 488-89.                           found, fraud complaints in Western Union's database
                                                                   represent only a small percentage of the actual fraud
  *11 17. Filed November 1, 2016, the Q3 2016 10-Q
                                                                   perpetrated through Western Union's money transfer
   signed by Defendants Ersek and Agrawal contained
                                                                   system because (a) as recognized by Western Union's
   substantially the same information as the Q2 2016
                                                                   own internal reports, the vast majority of fraud victims
   10-Q and further “disclosed that the FTC advised
                                                                   do not complain directly to the Company; (b) Western
   the Company ‘of its view that the Company violated
                                                                   Union has failed to log in its complaint database all of the
   Section 5 of the Federal Trade Commission Act and
                                                                   complaints and reports about fraud that it has received or
   the Telemarketing Sales rule by failing to take timely,
                                                                   the particular money transfers related to the complaints;
   appropriate, and effective measures to mitigate fraud in
                                                                   and (c) in many countries, Western Union did not
   the processing of money transfers sent by consumers’
                                                                   provide a fraud hotline or a toll-free phone number for
   and that the FTC staff ‘believes that the Company
                                                                   victims to call to report fraud. Because of these multiple
   bears responsibility for principal amounts of what it
                                                                   factors, the FTC determined that since 2004, Western
   alleges to be hundreds of millions of dollars in fraud-
                                                                   Union has likely been used to send billions of dollars in
   induced money transfers, or a multiple thereof based



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     fraud-induced payments to telemarketers and con artists            ITT that the threshold had been reached and consequently
     worldwide.” Id. ¶ 156.                                             began demanding “increasingly large sums of money,” ITT
                                                                        continued to publicly represent that its liabilities “[w]ould
 *12 Plaintiffs do not contest that, “[s]tarting in the first           be [i]mmaterial.” The court held that the defendants’ public
quarter of 2012, Western Union's annual and quarterly filings           statements that “they were not expecting any significant
signed by Defendants Ersek and Scheirman and Agrawal                    liability under the [contracts] and that they could not predict
disclosed the existence of these investigations into the                the maximum potential liability to which they were exposed”
Company's AML and anti-fraud programs.” Response [#63]                  was actionable where the plaintiffs had alleged that the
at 47; see also id. (stating that “Defendants made many                 defendants “knew that their liability...would be substantial.”
statements related to the ongoing government investigations             Here, the Court notes that there are no allegations in the
by four separate U.S. Attorney offices, the FTC, and                    present case similar to the fact in ITT that Defendants publicly
state attorneys general that would culminate in the Joint               stated that they were not expecting any significant liability;
Settlement”). Plaintiffs also concede that, “[a]s the Class             rather, they only stated that they could not predict the outcome
Period progressed, Defendants continued to disclose the                 of those investigations.
existence and topics of information requested in these and
other investigations” and further disclosed that “Western               Plaintiffs cite to three other cases in support of their argument.
Union was a ‘target’ or ‘subject’ of these investigations.” Id.
                                                                        First, in   City of Pontiac General Employees’ Retirement
                                                                        System v. Wal-Mart Stores, Inc., No. 12-CV-5162, 2014
Plaintiffs’ primary concern, though, is that Defendants “stated
                                                                        WL 4823876 (W.D. Ark. Sept. 26, 2014), the court held
at all times that these inquiries were too preliminary to be
                                                                        that the disclosure of an internal corruption investigation
able to predict their outcomes ‘[d]ue to the stage of these
                                                                        was misleading because the defendants omitted their prior
matters and the fact that no criminal charges or civil claims
                                                                        knowledge of events, thereby misleading investors as to
have been brought.’ ” Response [#63] at 47 (quoting Am.
                                                                        when the defendants learned of the suspected corruption.
Compl. [#40] ¶ 282). Plaintiffs argue that “[t]hese descriptions
of the many ongoing government investigations were false                Second, in     In re Van der Moolen Holding N.V. Securities
and misleading because Western Union's potential liability              Litigation, 405 F. Supp. 2d 388 (S.D.N.Y. 2005), the court
was in fact substantial.” Response [#63] at 48. They state              held that a generic warning by the defendants regarding
that “Defendants downplayed the likely outcome of ongoing               potential regulatory risks was affirmatively and materially
government investigations when they knew of substantial                 misleading when the company already knew or was recklessly
compliance failures that subjected Western Union to the high            ignorant that its business strategy relied on practices that
risk of significant liability.” Id. at 49. Plaintiffs also state that   violated New York Stock Exchange trading laws. Third, in
“Defendants do not get credit for disclosing the existence of           SEB Asset Management S.A. v. Western Union Company,
these inquiries and providing generic warnings when they                No. 13-cv-03325-MSK-MJW, 2014 WL 5708522 (D. Colo.
failed to disclose essential information showing that those             Sept. 29, 2015)SEB Asset Management S.A. v. Western
inquiries raised risks that were far-more substantial than they         Union Company, No. 13-cv-03325-MSK-MJW, 2014 WL
let on.” Id. They further argue that “Defendants failed to              5708522 (D. Colo. Sept. 29, 2015), the court held that
disclose the FTC's reasons for concluding that consumers                statements acknowledging but downplaying the extent of
underreported fraud” and that, regardless of Defendants’                Western Union's compliance problems in Mexico (statements
“subjective beliefs, they had a duty to disclose information            like they “expected ‘some slow down’ ” and “expected
concerning FTC's position that contradicted the basis for their         ‘some challenges’ ”) gave rise to a duty to disclose after
public statements.” Id. at 49-50.                                       the point in time at which the defendants “would have
                                                                        had a meaningful estimate” of how many agents failed to
In support of their argument, Plaintiffs cite to several cases.         meet compliance requirements. Based on allegations from a
                                                                        confidential witness, the court held that details regarding an
Id. at 48. First, in       In re ITT Educational Services,
                                                                        action the defendants themselves were thinking of taking (i.e.,
Inc. Securities Litigation, 34 F. Supp. 3d 298 (S.D.N.Y.
                                                                        the termination of 7,000 agents) should have been revealed
2014), contracts were signed between ITT (a for-profit
                                                                        even if Western Union had not yet decided that it would
college) and three student loan lenders which required ITT
                                                                        terminate those agents, because just the “potential termination
to pay for its students’ loan default losses if those defaults
                                                                        of a large number of agents” gave rise to a duty to disclose.
reached a certain threshold. When the lenders informed


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                                                                  The Court agrees with Defendants that the statements
 *13 In Response, Defendants argue that “they were not            regarding ongoing government investigations during the
required to hazard guesses simply based on the potential          Class Period were not false or misleading. For example,
severity of the outcome – even if that outcome may later have     in 2012, 2013, 2014, and 2015, the annual 10-K filings
come to pass.” Reply [#70] at 58. They point out that “there      each disclosed the investigations, stated that Western Union
were numerous factors potentially affecting the resolution        “could face significant fines, damage awards or regulatory
or outcome of the investigations” and that “Plaintiff simply      consequences” and that the investigations “could have a
ignores all of these variables.” Id. at 59.                       material adverse effect on the Company's business, financial
                                                                  condition, results of operations, and cash flows.” See [#57-3]
In support, Defendants cite to the following cases. Id. at        at 22; [#57-13] at 24-25, 35-36, 39; [#57-19] at 31-32,
                                                                  39; [#57-22] at 32-33, 41-42. Western Union disclosed
58. First, in    In re FBR Inc. Securities Litigation, 544
                                                                  that there were investigations and that the results of those
F. Supp. 2d 346 (S.D.N.Y. 2008), the court held that there
                                                                  investigations could be significant and material. Plaintiffs
was no duty to disclose an “alleged regulatory violation
                                                                  argue that the statements were false and misleading because
related to a single, isolated event” in the absence of the
                                                                  Western Union's potential liability was substantial and that
risk having become a “near certainty.” Second, in     Acito       the “generic warnings” were insufficient. However, in their
v. IMCERA Group, Inc., 47 F.3d 47 (2d Cir. 1995), the             Response [#47] they have not pointed to what specific
Second Circuit held that prior United States Food and             additional information they believe Western Union should
Drug Administration “(FDA”) inspections which did not             have disclosed, and on the basis of these pleadings, the
result in “any sanctions” or “other adverse consequences”         Court cannot determine that the investing public was deceived
were not material and that the defendants need not disclose       because Defendants stated that the investigations were too
upcoming FDA inspection where an adverse result was not a         preliminary to predict their outcomes. The allegations before
“foregone conclusion.” Third, in In re Marsh & McLennan           the Court, while certainly grave, fall far short of a finding
Companies, Inc. Securities Litigation, 501 F. Supp. 2d 452        that the outcomes of the investigations were near certainties
(S.D.N.Y. 2006), the court held the defendants need not           or foregone conclusions.
disclose where the result was not “substantially certain to
occur” but that statements such as how the company “led the        *14 Plaintiffs relatedly argue that Defendants should have
industry in terms of disclosure” were thus actionable. Fourth,    disclosed “the FTC's reasons for concluding that consumers
                                                                  underreported fraud” and that Defendants “had a duty
in    Anderson, 827 F.3d at 1229, the Tenth Circuit held that     to disclose information concerning FTC's position that
“the magnitude of the loss that Spirit ultimately sustained”      contradicted the basis for their public statements.” Response
did not necessarily constitute securities fraud when the
plaintiffs’ argument “amount[ed] to allegations of ‘fraud by      [#63] at 49-50. In support, Plaintiffs cite to Omnicare, Inc.
                                                                  v. Laborers District Council Construction Industry Pension
hindsight.’ ” see also   In re Sanofi Securities Litigation, 87   Fund, 135 S. Ct. 1318, 1326, 1329 (2015). However, the
F. Supp. 3d 510 (S.D.N.Y. 2015) (similarly cautioning against     cited portions of Omnicare do not precisely stand for the
finding “fraud by hindsight”). Fifth, in Société Générale         proposition as enunciated by Plaintiffs. While Omnicare
Securities Services, GcmH v. Caterpiller, Inc., No. 17 cv         strongly suggests that a company should make clear, if it
1713, 2018 WL 4616356, at *6 (N.D. Ill. Sept. 26, 2018),          makes a statement, whether “the Federal Government [is]
the plaintiff had “essentially argue[d] that [the defendant]      taking the opposite view,” nothing in the decision mandates
should have admitted a securities or tax law violation while      that the company must fully lay out the opposing view's
the investigations were ongoing and the failure to do so was      arguments and reasoning, as Plaintiffs appear to assert here.
both a material omission and a misstatement.” The court
found “such a position untenable. If every investigation or          135 S. Ct. at 1329; Response [#63] at 49-50. Further, to
executed search warrant was evidence of wrongdoing then           the extent that Plaintiffs argue that Defendants lied or misled
what purpose do hearings and trials have[?].. . [S]ecurities      regarding whether it agreed with the FTC's position that
laws generally do not impose such a duty upon publicly traded     “consumers underreported fraud,” it is clear that Defendants
corporations to confess uncharged, unadjudicated claims of        only stated that they disagreed with “potential liability
wrongdoing.”                                                      and any scope thereof,” and not that they disagreed that




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“consumers underreported fraud.” Response [#63] at 49;                the “regulatory environment” is “one of our biggest
Reply [#70] at 60; see also [#57-25] at 11.                           competenc[ies] here” as to the cross-border nature of the
                                                                      Company's business. The Jefferies analyst leading the
In short, the Court finds that the allegations here described         discussion then picked up on these statements, as well
by Plaintiffs do not constitute legally actionable false or           as Defendants’ consistent statements elsewhere that its
misleading statements.                                                compliance efforts are a “competitive advantage,” and
                                                                      asked if the “worst is over” in terms of “compliance-related
                                                                      events.” Ersek responded that “compliance culture is in
   ii. 2013 & 2014 Statements by Defendants Ersek and                 our DNA[ ]. Meanwhile, I think, creating this culture of
   Agrawal                                                            compliance is something that it's very important” because
Next, Plaintiffs direct the Court's attention to three statements     of the life-changing benefits of remittances that customers
made by Defendants Ersek and Agrawal in 2013 and 2014.                receive through the Company.
First, with respect to Defendant Ersek, they point to the
following allegation:                                               *15 Id. ¶ 381.

  On February 12, 2013, Western Union issued a press                Third, with respect to Defendant Agrawal, Plaintiffs direct the
  release announcing its financial results for the fiscal year      Court's attention to the following allegation:
  and fourth quarter of 2012. On the Company's earnings
  conference call that was held the same day, an analyst asked        In the Company's earnings conference call for the first
  “what gives you confidence that there is nothing in the             quarter of 2014, held on May 1, 2014, Defendant Ersek
  compliance or something that stings you that you don't              stated as to the Company's ongoing compliance costs
  know about[?] I mean I guess one of the ways to think               that “from today's points of view, I think, the team is
  about it I guess is there's probably – is there anything out        doing a great job putting the teams right in place, that
  there that can be as large as the situation that happened           we have the compliance programs that it's competitive,
  with [the Southwest Border Agreement] that can have that            even a competitive advantage. And I can see that part
  kind of an impact on price?” In response, Defendant Ersek           of that competitive advantage already in some countries
  represented: “The regulatory environment is challenging.            like Mexico. ...And it's all over actually...and I think,
  Obviously we are in very regulated market, but all our              we have a good program that we covered world[wide]
  investments, about $100 million a year we invest in anti-           with that investment....We did put programs, compliance
  money laundering and compliance, are really putting us as           programs, agent programs into place [in Mexico]. They're
  an industry standard. Being a market leader puts us in an           working.” Then, in response to an analyst's question about
  industry standard, and we want to be a best-in-class and            MDPA's investigation into Western Union's compliance
  see that as a long-term as a competitive advantage. I think         efforts, which the Company disclosed in its 2013 10-K,
  regulators are looking also at us, and we do have a duty to         Defendant Agrawal represented that “[i]t's early in the
  satisfy customer needs and we are working very hard on              process and it's something that we're working through. We
  that.”                                                              have good monitoring systems in place. We have a multi-
                                                                      faceted program to prevent consumer fraud, and outreach
Am. Compl. [#40] ¶ 360. Plaintiffs further allege that on this        program with consumers. So, that's about all we can say
same conference call “Defendants Ersek and Scheirman also             right now and we're working through that.”
continued to characterize the Company's compliance-related
issues as limited to Mexico and Latin America as part of            Id. ¶ 417.
the Southwest Border Agreement, rather than the Company's
more comprehensive failure to comply with pre-existing basic        Plaintiffs assert that “[b]y making these positive statements
AML and anti-fraud requirements.” Id. ¶ 361.                        concerning ongoing regulatory investigations, Defendants
                                                                    were required—but failed—to give investors the full picture
Second, also with respect to Defendant Ersek, Plaintiffs direct     and disclose the underlying compliance failures that gave
the Court's attention to the following allegation:                  rise to the substantial risk of liability that Western Union
                                                                    faced.” Id. at 51. In response, Defendants cite to Employees
  At a May 8, 2013 Jefferies Global Technology, Media               Retirement System of the City of Providence v. Embraer S.A.,
  and Telecom Conference, Defendant Ersek stated that               16 Civ. 6277 (RMB), 2018 WL 1725574 (S.D.N.Y. Mar. 30,



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2018), in which the court agreed with the argument that “[t]he
Amended Complaint is premised on the faulty notion that
                                                                                      b. Compliance Expenditures
Embraer was required to disclose details of the [United States
Foreign Corrupt Practices Act] violations and admit that it         Plaintiffs argue that Defendants made untrue or misleading
had engaged in wrongdoing—before it had even been charged           statements of material fact, or failed to state material facts
and before the investigations were even complete. However,          necessary to make statements not misleading, regarding
the Second Circuit has held that disclosure is not a rite of        compliance expenditures. Response [#63] at 51-53. In
confession and companies do not have a duty to disclose             addition to certain previously-quoted allegations which the
uncharged, unadjudicated wrongdoing.”
                                                                    Court has reviewed, 10 Plaintiffs cite to the following
                                                                    allegations in support of this category of purportedly false/
The Court finds that Plaintiffs overstate their case regarding
                                                                    misleading statements. Id. 1.
Defendants’ statements describing then-ongoing government
investigations. First, regarding the February 12, 2013                Two years prior to the Class Period (which begins
statement by Defendant Ersek that the Company was a                     on February 24, 2012), “[a]t a meeting of Western
“market leader,” Am. Compl. [#40] ¶ 360, Plaintiffs provide             Union's Board of Directors on February 24-25, 2010,
no allegations that, despite any problems Western Union                 attended by Defendants Ersek [and] Scheirman, [i]t
may have been experiencing, the company was not still                   was...discussed...that Western Union conducted a test
a market leader in this realm. For example, they could                  of 1,014 of its U.S.-based agents that showed that
have alleged other companies which were actually market                 27% of the agents visited during the review failed to
leaders at this time. Second, regarding the May 8, 2013                 meet compliance requirements. Based on these findings,
statement by Defendant Ersek that “compliance culture is in             Western Union retrained only 188 agents and did not take
our DNA,” the Court finds (despite Plaintiffs’ assertion to             further steps to correct the issue outside of the sample
the contrary, see Response [#63] at 50 n.20) that this type             that participated in the test.” Am. Compl. [#40] ¶¶ 95-96.
of statement is nothing more than unverifiable puffery. See
                                                                      2. “In the [August 2, 2012] Q2 2012 10-Q, the Company
    Grossman, 120 F.3d at 1118. Third, Plaintiffs point to
                                                                         stated, in relevant part:
Defendant Agrawal's May 1, 2014 statement that ““[i]t's early
in the process and it's something that we're working through.              Enhanced Regulatory Compliance
We have good monitoring systems in place. We have a multi-
faceted program to prevent consumer fraud, and outreach                    We regularly review our compliance programs. In
program with consumers.” When read in the full context                     connection with that review and growing global
of Plaintiff's allegations, as provided above, it is clear that            regulatory complexity, and as we dialogue with
the point was made that there was an ongoing investigation,                governmental and regulatory authorities, we have
and accordingly, the Court finds that Defendant Agrawal's                  made, and continue to make, enhancements to our
subsequent statement constitutes nothing more sinister than                processes and systems designed to detect and prevent
vague statements of corporate optimism, which are simply                   money laundering, terrorist financing, fraud and other
                                                                           illicit activity. These enhancements, along with other
not actionable under the securities laws. See Pirraglia, 339
                                                                           enhancements to improve consumer protection related
F.3d at 1189. In short, the Court finds that the allegations here
                                                                           to the Dodd-Frank Act and other matters, have
described by Plaintiffs do not constitute legally actionable
                                                                           resulted in, and in coming quarters we expect them
false or misleading statements.
                                                                           to continue to result in, changes to certain of our
                                                                           business practices and increased costs. We believe
 *16 Accordingly, to the extent Claim One is based on
                                                                           some of these changes will have an adverse effect
this category of purportedly false and misleading statements
                                                                           on our business, financial condition and results of
regarding government investigations, Claim One is dismissed
                                                                           operations.
against Defendants Ersek, Scheirman, Agrawal, and Western
Union.                                                                   Id. ¶ 342.

                                                                      3. “[A]t th[e] November 7, 2012 Citi Financial
                                                                        Technology Conference, Defendant Scheirman blamed



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    the Company's compliance costs and issues on ‘glob[al]’            requirements. In addition, we continue to adapt our
    trends, stating that ‘[w]e now spend over $100 million a           business practices and strategies to help us comply
    year on compliance and just given how the compliance               with current and evolving legal standards and industry
    requirements are generally tightening around the globe,            practices, including heightened regulatory focus on
    that's one spend we'll probably continue to increase as            compliance with anti-money laundering or fraud
    we move forward.’ ” Id. ¶ 358.                                     prevention requirements....

  4. “On February 14, 2013, ...at the Goldman Sachs                    ***
    Technology & Internet Conference, Defendant Ersek
    explained that the Company was well-positioned to                  ...While we believe that Western Union is compliant
    build its digital platform because ‘we have the anti-              with its regulatory responsibilities, the legal, political
    money laundering system, we have everything there                  and business environments in these areas are rapidly
    that we don't have to deal with so we are really                   changing, and subsequent legislation, regulation,
    building on our existing fundamentals and new channel              litigation, court rulings or other events could expose
    on the send side called westernunion.com. That's the               Western Union to increased program costs, liability
    biggest advantage.’ Ersek also continued to describe the           and reputational damage.
    Company's efforts to ‘upgrade our compliance activities’
                                                                       ***
    as limited to the Southwest Border area and described
    these efforts as setting the ‘long term industry standard          Our agents’ or their subagents’ failure to comply with
    and a competitive advantage for us,’ rather than meeting           federal and state laws and regulations as well as laws
    minimum and basic legal requirements.’ ” Id. ¶ 363. 11             and regulations outside the United States could have
                                                                       an adverse effect on our business, financial condition
  *17 5. In the 2012 10-K, filed on February 22, 2013, the             and results of operations.
   Company stated, in pertinent part:
                                                                    Id ¶ 366.
       Our business is subject to a wide range of laws
       and regulations intended to help detect and prevent        6. “On July 30, 2013, the Company held a conference
       money laundering, terrorist financing, fraud and other        call in connection with the release of its earnings for
       illicit activity. Failure by us, our agents or their          the second quarter of 2013. In response to a question
       subagents to comply with those laws and regulations           about future compliance costs, Defendant Scheirman
       or their interpretation and increased costs or loss           stated that compliance costs would likely increase as
       of business associated with compliance with those             a result of the changing regulatory environment, rather
       laws and regulations could have an adverse effect             than because of the Company's failure to meet current
       on our business, financial condition and results of           compliance requirements. He stated...‘that having a
       operations....                                                robust compliance program and a strong culture of
                                                                     compliance is very important to us. And so broadly
       ...While we believe our fraud prevention efforts              as we think about the global landscape, the regulatory
       are effective and comply with applicable law, the             environment continues to move. So as I think about
       ingenuity of criminal fraudsters, combined with the           2014 and 2015, right now I'd expect our compliance and
       potential susceptibility to fraud by consumers during         regulatory costs to increase. But what's important about
       economically difficult times, make the prevention             that is that it protects the brand, it protects the customer,
       of consumer fraud a significant and challenging               it protects our agents. And longer term we believe that's
       problem....                                                   going to be a competitive advantage because of our scale
                                                                     and our scope of what we can do with compliance and
       ***
                                                                     the regulatory.’ Defendant Ersek then added that ‘I do
       We have developed and continue to enhance our                 see that as a competitive advantage. We have really the
       global compliance programs, including our anti-               culture in our company. And the most importantly, it
       money laundering program comprised of policies,               protects the consumer....We comply with all regulations
       procedures, systems and internal controls to monitor          world[wide] and try to be the best in class and leading
       and to address various legal and regulatory                   our industry here.’ ” Id. ¶ 388.



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                                                                      Michael Salop, the Company's Senior Vice President of
  *18 7. “On October 29, 2013, the Company reported its               Investor Relations, stated that ‘[a] lot of these things
   third quarter 2013 financial results. A main topic on the          are not necessarily black and white or haven't been
   Company's earnings conference call for the third quarter           historically. So when we work with regulators around the
   of 2013, held on that day was the Company's surprisingly           world and around the states and you get clarification on
   high increase in compliance costs for 2014. Defendant              what's needed and make agreement on what programs
   Ersek stated:                                                      you'll do, these things are kind of fluid. And so some of
                                                                      these are interpretations of older rules, some of these are
    As you are aware, regulatory requirements and
                                                                      new things, some of these are just clarifications with the
    expectations around financial service companies are
                                                                      regulators, some of them are own reviews, so there's a
    escalating around the world. Some banks have recently
                                                                      lot of different things going in here.’ ” Id. ¶ 399.
    faced large fines, and some have announced billions
    of dollars of incremental investments in compliance             8. “The reason for the market's negative reaction
    areas. The environments continue to evolve. In the U.S.,          was because of the Company's substantial increase
    for example, we recently initiated agent procedures at            in compliance costs, and corresponding decrease in
    our 50,000 agent locations to comply with the Dodd-               projected profits that resulted directly from those costs.
    Frank Remittance Transfer Rule. And I am pleased to               As Bloomberg reported on October 30, ‘Western Union
    report that the procedures were implemented in time               Plunges 19% as Compliance Costs Rise.’ Indeed,
    for the October 28 deadline. As we mentioned, earlier             Moody's Investors Service downgraded the rating of
    this year we have previously implemented new anti-                Western Union's senior unsecured debt on November 18,
    money laundering and fraud prevention enhancements in             2013 because of the Company's ‘unexpected increase in
    countries such as Spain and UK.                                   compliance related costs’ and the Company's projection
                                                                      that it would not have any operating profit in 2014
    Specifically addressing the Southwest Border
                                                                      as a result of those compliance costs.” Id. ¶ 503.
    Agreement, Ersek stated that ‘in the U.S., we are
                                                                      “These increased compliance costs were a direct result
    now working with our third monitor on the Southwest
                                                                      of the Company's compliance failures discussed above.
    Border Agreement. As noted in an 8-K filed today, we
                                                                      Although the Company did not disclose it at this time, it
    have agreed to an additional short-term extension to
                                                                      took these steps as a result of the ongoing government
    this agreement to continue discussing amendments. We
                                                                      compliance failures and investigations that resulted in
    could not conclude discussions on a long-term expansion
                                                                      the Joint Settlement.” Id. ¶ 504.
    under the previous timeframe for reasons including
    the recent passing of Arizona's primary attorney on             *19 9. The 2013 10-K, filed on February 24, 2014, largely
    the matter.’ ” Id. ¶ 397. “Defendant Ersek also stated           repeated the same statements in the 2012 10-K, see
    on this October 29, 2013 call that ‘75% of our                   § III.B.1.b.5., with the following pertinent additions/
    network [of agents] are banks and financial institutions,’       alterations:
    which ‘choose us because we have high standards
    on compliance.’ He also stated that the Company's                    Our business is subject to a wide range of laws and
    surprisingly high increase in compliance costs for the               regulations. Liabilities or loss of business resulting
    following year was ‘not specific to the Western Union.’              from a failure by us, our agents or their subagents
    Ersek stated that Western Union was ‘a market leader’                to comply with laws and regulations and regulatory
    setting the ‘industry standard.’ ” Id. ¶ 398. “At the end of         or judicial interpretations thereof, including laws and
    this October 29, 2013 conference [c]all, an analyst stated           regulations designed to detect and prevent money
    that Defendants’ comments earlier in the call ‘sound[ed]             laundering, terrorist financing, fraud and other illicit
    like what you guys are saying if you kind of roll up                 activity, and increased costs or loss of business
    all this commentary is that, it's essentially going to cost          associated with compliance with those laws and
    you more than you previously thought to comply with                  regulations has had and we expect will continue to
    regulations that you already knew about...as opposed                 have an adverse effect on our business, financial
    to new regulations having just popped up in the last                 condition and results of operations....
    couple of months since the last earnings call.’ After
    Defendant Ersek's equivocal response to this question,



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                                                                       us, our agents or their subagents in establishing
       ...While we believe our fraud prevention efforts                or maintaining relationships with banks needed to
       are effective and comply with applicable law, the               conduct our services, or if our agents or their
       ingenuity of criminal fraudsters, combined with the             subagents fail to comply with Western Union business
       potential susceptibility to fraud by consumers, make            and technology standards and contract requirements,
       the prevention of consumer fraud a significant and              our business, financial condition and results of
       challenging problem....                                         operations would be adversely affected...

       ...In 2013, the Company spent over $150 million on its       Id. ¶ 447.
       compliance and regulatory programs, including costs
       related to our amended settlement agreement with the       11. “At a June 9, 2015 William Blair Growth Stock
       State of Arizona....                                         Conference, Defendant Agrawal stated:

       ***                                                             Our cross-border platform is really what sits at
                                                                       the center of our global money transfer business
       If we are unable to maintain our agent, subagent                and I really believe that's unrivalled [sic] in its
       or global business payments networks under terms                capabilities ....Our strong regulatory and compliance
       consistent with those currently in place, or if our             capabilities: we've been investing in this area for
       agents or their subagents fail to comply with Western           quite some time and we continue to strengthen our
       Union business and technology standards and contract            capabilities here, and we believe it's going to be a
       requirements, our business, financial condition and             long-term competitive advantage for us in this global
       results of operations would be adversely affected....           and complex environment that we're operating in....

    Id. ¶ 411.                                                          *20 So the significant investment we've made in the
                                                                       compliance area is helping us stand apart from the rest
  10. A year later, the 2014 10-K, filed on February 20, 2015,
                                                                       of the market. And I believe that will be more and
    largely repeated the same statements in the 2013 10-K,
                                                                       more the case....
    see§ III.B.1.b.9., with the following pertinent additions/
    alterations:                                                       And nobody really has the great technology and
                                                                       compliance engine in the middle that I talked about.
       Our business is subject to a wide range and increasing
                                                                       That's very, very difficult to replicate for anybody.
       number of laws and regulations....
                                                                       Very few players in the market have that kind of
       ***                                                             capability.”

       ...As of December 31, 2014, these programs included          Id. ¶ 459.
       approximately 1,900 dedicated compliance personnel,
                                                                  12. “On the earnings call for the third quarter of 2015, held
       training and monitoring programs, suspicious activity
                                                                    on October 29, 2015, Defendant Ersek stated:
       reporting, regulatory outreach and education, and
       support and guidance to our agent network on                    We do see in some markets that competitors are
       regulatory compliance....In 2014 , the Company spent            finding it difficult to operate in the market because
       over $180 million on its compliance and regulatory              the regulatory environment is quite – asking a lot of
       programs, including costs related to our amended                questions and a lot of demands for them. And as you
       settlement agreement with the State of Arizona....              recall, we invested – started to invest about three years
                                                                       ago heavily into compliance. And obviously, we do
       ***
                                                                       see that pay back. And this year, investments will
       If we are unable to maintain our agent, subagent or             be about – it's currently running about 3.7% of our
       global business relationships under terms consistent            revenue.
       with those currently in place, including due to
                                                                       But it's kind of a competency now for us, running
       increased costs or loss of business as a result of
                                                                       the transaction through our compliance programs in a
       increased compliance requirements or difficulty for
                                                                       way that's like an engine makes us definitely in way


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      – a big competitive advantage. It means also that this           results of operations, and cash flows would be
      regulatory environment will be in 200 countries. The             adversely affected....
      compliance regulatory challenges won't be less in the
      future, that will continue. And we are committed to be          *21 Id. ¶ 474.
      in 200 countries where we operate and comply with
                                                                   14. “[A]t th[e] March 10, 2016 Investor Day Conference,
      the regulators. And it means also that we will be there,
                                                                     David Thompson, Western Union's Chief Technology
      and that could be long-term a competitive advantage.”
                                                                     Officer, stated:
    Id. ¶ 465.
                                                                       [W]e now have a state-of-the-art compliance
  13. A year later, the 2015 10-K, filed on February 19,               platform both based on technology and people
    2016, largely repeated the same statements in the 2014             or compliance professionals....And we built this
    10-K, see § III.B.1.b.10., with the following pertinent            technology to prevent fraud in our network, protect
    additions/alterations:                                             our customers....And this is a very powerful capability
                                                                       for us in monitoring the suspicious activity and
      ...Liabilities or loss of business resulting from a              monitoring aggregation rules for our customers.
      failure by us, our agents or their subagents to comply
      with laws and regulations and regulatory or judicial             These rules also prevent and help us detect human
      interpretations thereof, including laws and regulations          trafficking, terrorist financing, child exploitation,
      designed to protect consumers, or detect and prevent             and other activities that may not be allowed, like
      money laundering, terrorist financing, fraud and other           Internet gambling and associated activities. These
      illicit activity, and increased costs or loss of business        rules are also in place to allow us to screen against
      associated with compliance with those laws and                   government sanctions lists, and politically exposed
      regulations has had and we expect will continue to               lists provided by various governments. Now these are
      have an adverse effect on our business, financial                our proprietary tools that we've created that are a long-
      condition, results of operations, and cash flows....             term competitive advantage for Western Union, and
                                                                       are very powerful capabilities that we provide to our
      ***                                                              partners and our customers.

      ...As of December 31, 2015, these programs included              So, in summary, at Western Union, we've created new
      approximately 2,200 dedicated compliance personnel,              technologies and platforms and processes to serve our
      training and monitoring programs, suspicious activity            customers. And we're now really at a state where
      reporting, regulatory outreach and education, and                we've transformed our capabilities....And it's exciting
      support and guidance to our agent network                        to be a part of this transformation at Western Union
      on regulatory compliance....In 2015, we spent                    and deliver technologies that move money for better.”
      approximately $200 million on our compliance and
      regulatory programs....                                        Id. ¶ 480.

      ***                                                          15. “At a May 25, 2016 J.P. Morgan Global Technology
                                                                     Media and Telecom Conference, Defendant Ersek
      If we are unable to maintain our agent, subagent or            stated:
      global business relationships under terms consistent
      with those currently in place, including due to                  We came forward and made a big announcement that
      increased costs or loss of business as a result of               we're going to upgrade our, significantly we were
      increased compliance requirements or difficulty for              always very focused on compliance, but significantly
      us, our agents or their subagents in establishing                upgrade our compliance environment because the
      or maintaining relationships with banks needed to                world was changing....
      conduct our services, or if our agents or their
                                                                       Western Union is, especially with the environment,
      subagents fail to comply with Western Union
                                                                       helping the law enforcement governments to move
      business and technology standards and contract
                                                                       good money. That's why we invested in the
      requirements, our business, financial condition,
                                                                       compliance. I think we don't want that money


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       because the good money supports people, supports               ‘to promptly suspend and terminate agent locations
       governments, supports law enforcement, helps law               facilitating fraud. Instead, Western Union has continued
       enforcement...in a very efficient way. Money will              to profit from the activities of these agents.’ These
       move anyway, but it should move in a regulated way.            failures extended to agent ‘locations that appeared to be
                                                                      complicit in paying out fraud-induced money transfers
    Id. ¶ 486.                                                        or repeatedly failed to comply with Western Union's anti-
                                                                      fraud and AML programs, policies, and procedures.’ ”
  16. “[T]he Federal Trade Commission (“FTC”) found
                                                                      Id. ¶ 148.
    that for many years, Western Union knew that it
    failed to implement effective anti-fraud and AML
                                                                 Plaintiffs argue that Defendants “falsely characterized the
    programs ‘to adequately and effectively detect and
                                                                 reason for Western Union's compliance expenditures during
    prevent consumer frauds employing Western Union's
                                                                 the Class Period.” Response [#63] at 51. They state that
    money transfer system.’ The Company had knowledge
                                                                 “[a]ll of these statements were false and misleading because
    of these inexcusable compliance deficiencies based
                                                                 —contrary to the reasons that Defendants gave—Western
    on, among other things, ‘[i]nformation contained in
                                                                 Union's compliance expenditures were actually made in
    Western Union's internal reports, communications, and
                                                                 response to government investigations into the compliance
    other records demonstrat[ing] that the company has
                                                                 failures that formed the basis for the Joint Settlement.” Id.
    been aware of high levels of consumer fraud involving
                                                                 “When giving these reasons, Defendants left out the key
    particular countries and agents, including network
                                                                 reason for those efforts. Once Defendants chose to discuss
    agents Western Union itself owns.’ ” Id. ¶ 9.
                                                                 Western Union's rationale for its increased compliance efforts,
  17. “As the Class Period progressed and Western                they had a duty to do so forthrightly and without omitting
    Union became further ensnared in the government              the most important reason.” Id. at 52. They state that
    investigations that led to the Joint Settlement, the         “Western Union's reason for its compliance expenditures is an
    Company claimed to have begun taking steps to improve        objectively verifiable fact,” and that “[t]he Joint Settlement
    its compliance practices. The Statement of Facts that        makes clear that the actual reason for the Company's
    Western Union negotiated with DOJ to reach the Joint         increased compliance costs was its reaction to the government
    Settlement states that by September 2012—over six            investigations and its awareness of its significant compliance
    months after the Class Period began—Western Union            failures.” Id.
    began taking certain steps to improve its anti-fraud and
    AML compliance programs. But these efforts were too          In support, Plaintiffs cite to    Nakkhumpun v. Taylor, 782
    little, too late. As the DOJ Statement of Facts states,      F.3d 1142 (10th Cir. 2015), in which the defendant had
    the Company did not significantly increase the number        stated publicly that there was only one reason why something
    of compliance employees or its compliance budget until       had occurred, i.e., that a deal to purchase a portion of the
    2013 through 2015, well into the Class Period. Other         company had purportedly fell through because the potential
    remedial measures referenced in the Statement of Facts       buyer was unable to get financing, when the plaintiff had
    are not given specific dates, but rather, are described as   alleged facts clearly showing there was a different reason,
    ‘continu[ing]’ efforts. Western Union also admitted to       i.e., that the investor's CEO had “unambiguous[ly]” stated
    DOJ that it willfully failed to implement an effective       that the deal fell through because the company was not worth
    AML program and that it aided and abetted wire fraud         what his company had initially thought. The Tenth Circuit
    through December 2012.” Id. ¶ 144.                           held that the defendant had falsely “attributed the impasse
                                                                 to” financing difficulties rather than valuation concerns,
  *22 18. “In addition, even if Western Union implemented
                                                                 and that even if the defendant's stated reason was one
   certain compliance measures beginning in late 2012,
                                                                 of several possible reasons for an event, “[t]he existence
   those efforts failed to cure the most serious compliance
                                                                 of multiple explanations is what made [the defendant's]
   deficiency that the Company experienced. The FTC
   determined that although Western Union improved               statement misleading.”     Nakkhumpun, 782 F.3d at 1149.
   certain aspects of its anti-fraud program since 2012
   because of the FTC's ongoing investigation, the               However, in reading the allegations as a whole, the Court
   Company continued well past that time to fail                 believes that Plaintiffs overstate the effect of Defendants’



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individual statements here. First, unlike Nakkhumpun, the         expenditures, Claim One is dismissed against Defendants
statements here do not “unambigious[ly]” state, or even           Ersek, Scheirman, Agrawal, and Western Union.
suggest, that there was only one reason for increased
compliance expenditures. Second, there is no indication
in these allegations that “global trends” and “increasingly
                                                                                   c. Compliance Practices
complex regulatory requirements” were not or could not
have been additional reasons for increased compliance             Plaintiffs argue that Defendants also made untrue or
expenditures. Third, as Defendants argue, the FTC statement       misleading statements of material fact, or failed to state
cited by Plaintiffs (“[A]s a result of the FTC's investigation,   material facts necessary to make statements not misleading,
Western Union has improved aspects of its anti-fraud              regarding compliance practices. Response [#63] at 41-47. In
program since 2012.”) refers to improvements, rather than         addition to certain previously-quoted allegations which the
investments, refers only to anti-fraud programs and not
                                                                  Court has also reviewed, 13 Plaintiffs cite to the following
to AML specifically or other compliance areas, and does
                                                                  allegations in support of this category of purportedly false/
not indicate that the FTC investigation was the only
                                                                  misleading statements. Id.
reason Western Union increased its compliance expenditures
regarding anti-fraud programs. Reply [#70] at 63 (citing            1. “On March 13, 2012, [D]efendant Scheirman attended
Response [#63] at 51).                                                 the Credit Suisse Global Services Conference. In
                                                                       response to a participant question about how the
 *23 Fourth, the Court is not convinced by the citations               Company would maintain its pricing advantages
provided by Plaintiffs that Defendants characterized the               in the face of competition from other companies
Company's compliance difficulties and increased efforts as             offering similar services, Scheirman stated that Western
limited to issues raised by the SBA. Am. Compl. [#40] ¶¶ 361,          Union's ‘compliance programs’ were ‘really competitive
363, 447. The first statement cited by Plaintiffs discusses the        strengths for us.’ ” Am. Compl. [#40] ¶ 311.
transcript of a February 12, 2013 conference call, but there
is no indication here that Defendants Ersek and Scheirman           2. “On May 9, 2012, Western Union hosted an
“continued to characterize the Company's compliance-related           Investor Day for analysts, media representatives and
issues as limited to Mexico and Latin America as part of              investors. Defendants Ersek and Scheirman made
the [SBA], rather than the Company's more comprehensive               positive statements during their presentation about
failure to comply with pre-existing basic AML and anti-fraud          the Company's compliance and regulatory capabilities.
requirements,” as argued by Plaintiffs. Id. ¶ 361; Defs.’ Ex.         For example, Defendant Ersek focused a portion of
                                                                      his prepared remarks on describing the supposed
93 [#70-8] at 3. 12 The second statement cited by Plaintiffs
                                                                      strengths of Western Union's compliance and regulatory
discusses how pricing changes were related to issues raised
                                                                      capabilities. He stated:
by the SBA. Id. ¶ 363 (quoting Defs.’ Ex. 94 [#70-9] at
13). The third statement cited by Plaintiffs clearly shows that           *24 These strengths separate us from the
the SBA was only a partial reason for increased compliance               competitors. I believe they are a huge competitive
expenditures: “In 2014, the Company spent over $180 million              advantage. Our global network, our strong brand, our
on its compliance and regulatory programs, including costs               global organization and resources and our regulatory
related to our amended settlement agreement with the State               and anti-money laundering capabilities, there are not
of Arizona....” Am. Compl. [#40] ¶ 447.                                  many companies worldwide which could show these
                                                                         capabilities to you....
In short, the Court finds that Plaintiffs have failed to
adequately allege that the statements in this category                   Our fourth competitive advantage is our global anti-
regarding compliance expenditures were legally actionable                money launder[ing] and regulatory capabilities. The
untrue or misleading statements of material fact, or that                regulations around our business are really highly
Defendants failed to state material fact necessary to make               complex, and we have regulatory complexity in all
these statements not misleading. Accordingly, to the extent              our markets. We have to comply with various Acts
Claim One is based on this category of purportedly                       and interdictions lists around the world, as well as
false and misleading statements regarding compliance                     maintain a very active risk management system to
                                                                         detect and deter potential money laundering activities.



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       It sounds complex, and indeed it is complex, but we               Before I discuss about our future strategies, let me
       see that as a competitive advantage, as we comply                 talk about the core strengths of Western Union....And
       with various Act and interdictions lists around the               the fourth one is the regulatory and anti-money
       world in 200 countries....                                        laundering capabilities of Western Union. All
                                                                         thiscombination gives us a unique opportunity and
       To protect our customers, our brand, to comply with               unique fundamentalsfor Western Union ....
       rules and regulations, globally we dedicate about 600
       employees around the globe to these efforts, and                   One of our very strong competitive advantages is our
       we spend nearly about $60 million on anti-money                    regulatory environment, our regulatory and anti-
       laundering and regulatory environment.”                            money laundering competency capabilities. It scares
                                                                          to death the competition to enter this market, the
  Id. ¶ 321. “Later during this May 9, 2012 Investor Day                  regulatory environment. And I always say, I know
  conference, Defendant Ersek stated that Western Union                   it's sometimes tough, but I always say it's good
  had an advantage over technology companies because                      that the regulatory environment and we, as Western
  ‘it's important to remember Western Union is today[’s]                  Union, have these capabilities to serve the customers
  market leader in money transfer business. We have built                 and give the trust to the customers they believe at
  an incredible network over the years, now with 500,000                  Western Union....
  retail locations in 200 countries and territories. Our brand     *25 It's not that easy to have a money license in Gabon and
  is well known and trusted around the globe. We have             Brazil or other states I'm talking about, so it's a competitive
  the regulatory and anti-money laundering capabilities to        advantage for Western Union and we are very proud of that.
  operate in all countries.’ Ersek subsequently closed the        (Emphasis added).”
  conference by stating that the complexity of the business,
  including the ‘regulatory environment’ was good because         Id. ¶ 333. “Later during this June 12, 2012 conference call,
  although ‘[i]t scares to death, the competitors to enter this   when an analyst asked about competition for sending money
  market,’ Western Union has ‘the competencies’ to address        cross-border from companies such as PayPal, Defendant
  these issues.” Id. ¶ 322. “Also during this Investor Day        Ersek responded by again claiming that the Company's
  conference, Defendant Scheirman stated in his prepared          regulatory compliance efforts provided it with a competitive
  remarks that Western Union's ‘compliance and regulatory         advantage. He stated, ‘You have to get the regulatory
  capabilities’ were among its ‘strengths’ that would allow       environment, somebody has to do that. It's not easy to do
  the Company to ‘deliver strong returns’ for shareholders in     that. You have to build the anti-money laundering [program],
  the coming years.” Id. ¶ 323.                                   somebody has to do that. ...So that has been definitely
                                                                  something we are very proud [that] we buil[t].’ ” Id. ¶ 334.
  3. “On May 16, 2012, Defendants Scheirman and Stockdale
     attended the J.P. Morgan Global Technology, Media
     and Telecom Conference. In response to an analyst's            5. “On July 24, 2012, Western Union issued a press
     questions as to how Western Union could compete                  release announcing its financial results from the second
     with technology startups, Scheirman responded that               quarter of 2012. During the conference call that Western
     ‘clearly just our compliance capabilities’ were one of the       Union hosted that day after releasing these results,
     Company's main advantages over other companies.” Id.             Defendant Ersek began his prepared remarks at the
     ¶ 328.                                                           outset of the call by reiterating his message that the
                                                                      Company's ‘global compliance capabilities’ gave it a
  4. “On June 12, 2012, Western Union attended a William
                                                                      ‘strong’ foundation and ‘competitive strength.’ ” Id.
     Blair & Co LLC Growth Stock Conference call for
                                                                      ¶ 336. “Later during the July 24, 2012 conference
     analysts, media representatives and investors. During
                                                                      call, Defendant Scheirman described the effect of the
     his opening remarks, Defendant Ersek continued to
                                                                      Company's compliance efforts as part of the Southwest
     represent that the Company's compliance efforts were
                                                                      Border Agreement. He stated that ‘[w]e expect global
     a competitive ‘strength.’ He specifically touted the
                                                                      spending on compliance activities over the next couple
     Company's AML program as a way of enabling
                                                                      of years will not change significantly from the 2012
     customers to ‘trust’ in the Company. Ersek stated:
                                                                      levels as the breadth and complexity of requirements



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       and sustainability around the globe continues to expand,      changes around the world to meet new and evolving
       but we view our ability to adapt to this environment          requirements....[W]e believe it is our responsibility
       as a long-term competitive advantage.’ ” Id. ¶ 337. “In       to maintain our industry leadership by implementing
       response to an analyst's question later during this July      rigorous compliance practices to protect our customers
       24, 2012 conference call concerning compliance costs,         and agents around the world.’ Defendant Ersek also
       Defendant Ersek responded that the Company was ‘very          reassured investors by representing that the Company
       focused here and we are very serious’ about ‘upgrading        could maintain its price premium in part because of
       our compliance.’ He continued:                                the advantage that its ‘great compliance’ program gave
‘[I]t's a competitive advantage, long term. I think we are           it. Defendant Ersek also noted certain ‘compliances
investing heavily here to be, really acting as an industry           changes’ [sic] limited to issues ‘related to our Southwest
leader. We are setting the tone here. And I think we are very        border agreement,’ and did not address the Company's
focused here and I see that there is definitely a competitive        more comprehensive compliance deficiencies that
advantage.’ ” Defendant Ersek subsequently repeated this             would not become known until January 19, 2017.” Id. ¶
message when he stated that ‘[a]s an industry leader,                351.
obviously, we are very active here upgrading, investing
heavily’ in order to address new regulatory and compliance         8. “On November 7, 2012, at the Citi Financial Technology
issues.” Id. ¶ 338.                                                   Conference, Defendant Ersek described Western Union's
                                                                      compliance efforts in response to the Southwest Border
                                                                      Agreement as going above and beyond the Company's
  6. “On September 18, 2012, Western Union issued a press             minimum legal requirements. He characterized Western
     release announcing that it was hosting the 7th Annual            Union ‘as an industry leader[ ] in this sector,’ where
     Anti-Money Laundering, Anti-Fraud and Compliance                 the Company ‘set[s] the standards hopefully.’ Ersek
     Conference in Denver, Colorado, near its headquarters,           also described the Company's compliance with the
     on September 18-20. The Company described this                   Southwest Border Agreement as meeting a ‘quite high’
     conference as ‘one of the biggest events of its kind’ with       and ‘industry lead[ing]’ standard. According to Ersek,
     the purpose of ‘teaching best practices in identifying           the ‘southwest border issue is unique to Western Union.
     and preventing fraud and money laundering.’ Western              It's an agreement which has been signed in 2010 and we
     Union's Chief Compliance Officer stated that ‘[o]ur              are implementing the actions and I am very confident
     conference started in 2006 and we had one goal at                that the team is doing the right thing....[A]s an industry
     that time: educate Agents on [AML] best practices,               leader, in this sector, obviously we set the standards
     regulations, and law-enforcement trends. It's now one of         hopefully.’ ” Id. ¶ 357.
     North America's largest [AML]/anti-fraud conferences
     that helps professionals from a wide variety of industries    9. “At a June 13, 2013 William Blair & Company Growth
     better identify and protect their organizations, and             Stock Conference, Defendant Scheirman stated:
     consumers, from fraud.’ The Company also stated in its
                                                                        [W]e have a strong brand. Our brand resonates
     press release that it is ‘dedicated to fighting fraud and
                                                                        very well with our target customer. Again, it
     helps consumers protect themselves from scammers.’ ”
                                                                        stands for speed, trust, convenience, reliability
     Id. ¶ 347.
                                                                        and value. ...And we have robust compliance and
   *26 7. “On October 30, 2012, the Company held a                      regulatory capabilities. And any time you move
    conference call in connection with the release of its               money cross-border, you need to be very good at
    earnings for the third quarter of 2012. During this                 operations and very good at the compliance and the
    call, Defendant Ersek stated during that conference                 regulatory environment. So it's very complex and it's
    call that ‘we are investing more in being an industry               hard to do. And we've got those capabilities....
    leader, putting some compliance requirements [in place]
                                                                        We very much can leverage our brand, our global
    for our customers, which are tougher and higher than
                                                                        operations and our compliance capabilities to [expand
    it was in the past....We are the industry leader, we
                                                                        the online business]....
    are leading that and I think we are protecting our
    customer.’ He also stated that ‘[w]e have made and will             Western Union has strong foundational assets. A
    continue to make compliance-related enhancements and                brand that is very much trusted by our customers


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       around the globe and that trust is so important               around the globe. This dedication expands to those who
       when you're dealing with financial services....And            are on the frontlines at approximately 520,000 Agent
       we talked about global operations and our regulatory          locations around the globe.’ ” Id. ¶ 395.
       and compliance capabilities. And any time you're
       moving money cross-border, in 200 countries, 16,000         12. “On Western Union's earnings conference call for the
       corridors, 135 currencies, it is so important to have         fourth quarter and full year of 2013, held on February
       strong regulatory and compliance capabilities and             11, 2014, Defendant Ersek continued to represent that
       operational abilities.”                                       “we are very much focused on our compliance activities.
                                                                     We are the industry leader; we are focused on that;
    Id. ¶ 385. “Specifically addressing the regulatory               we are driving it.’ He also stated that ‘the regulator[y]
    environment, Scheirman stated at this June 13, 2013              environment is...changing very fast, evolving and we
    William Blair conference that ‘the regulators start with         are on – I believe as a industry leader, we are setting
    the market leaders and we're clearly a market leader.            your best practices. We are driving it. We have the
    And, again, we're going to partner with them because             great Compliance Officer. He hired very great people.
    we share the same goals of protecting our customers,             We do invest – our CIO, David Thompson, is very
    protecting our business systems and so forth.’ ” Id. ¶ 386.      focused on the...technology, how we can involve –
                                                                     activate the technology to be more effective on the
  10. Defendant Ersek “stated on [a] July 30, 2013 earnings          compliance making. The most focus is on the know
    call, in response to a question about the Company's              your agent and know your customer. And so there is
    pricing, ‘[w]e, as Western Union, I believe deserve              some diligence activities and I believe, as we gave –
    the premium pricing. Our brand is very valuable.                 we were anticipating that in Q3.’ Ersek later explained
    Our compliance programs are very valuable. We are                that the increased compliance costs were ‘mainly also
    protecting the customers. The customers trust us.’               know your agent and know your customer activities. We
    Toward the end of this call, Defendant Scheirman                 have to do more questions on your customers, ask the
    explained, in response to an analyst's question about a          customer, register the customers, doing diligence on the
    particular compliance practice, that ‘the important point        customers. But, also on the agent side with the frontline
    is we very much have a culture of compliance and want            associates, we are doing more diligence, understanding
    to have best-in-class compliance programs, that's very           who is serving our customers. They trust us and they
    important for our brand, protecting our customers, our           want to trust also to the front-line associates. We do some
    agents and so forth.’ ” Id. ¶ 389.                               diligences there. And I think that's the main investment
                                                                     [that is] going to continue to happen in the future.’ ” Id.
  *27 11. “On September 17, 2013, Western Union issued
                                                                     ¶ 408.
   a press release announcing that it was hosting the
   8th Annual Anti-Money Laundering, Anti-Fraud and                13. “At the Jefferies Global Technology, Media & Telecom
   Compliance Conference in its hometown of Engelwood,               Conference on May 7, 2014, Defendant Ersek stated
   Colorado on September 17-18. The Company described                that the Western Union's recent substantial compliance
   this conference as ‘[o]ne of the largest events of its            costs were now ‘a competitive advantage...[because] law
   kind, [bringing] together diverse perspectives from               enforcement are really looking up to us [and] saying that,
   industry experts in [AML], compliance and fraud who               hey, it will be great as the leader, you are leading the
   share best practices with some of Western Union's                 market and be [sic] the best practice.’ ” Id. ¶ 423.
   largest agents.’ The Company's Chief Compliance
   Officer said in the press release that ‘[t]ogether with         14. “At a June 11, 2014 William Blair Growth Stock
   governments, regulators, law enforcement authorities              Conference, Defendant Agrawal stated that ‘[w]e also
   and financial service companies, we're fully engaged in           have compliance and regularity capabilities that are
   the fight against money laundering and fraud.’ Western            strong and continue to get even better in this increasingly
   Union also took this opportunity to advertise that it             complex global environment.’ Toward the end of his
   ‘invests millions each year to run compliance programs.           prepared remarks, he then stated that ‘in summary,
   The company continues to increase its headcount of                we have very strong foundational assets in place. Our
   employees who are dedicated to compliance, fighting               global brand, our global operational and compliance
   fraud and helping to protect and empower consumers                capabilities and our presence in 200 countries and



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    territories around the world gives us a strong position               a monitor to be able to monitor the activities and to
    from which to operate.’ ” Id. ¶ 425. He further stated that           assess progress around our progress in making these
    “one of the five reasons that Western Union was ‘well                 changes. And we've been making great progress.
    positioned’ to strengthen its consumer money transfer
    business was because of its ‘[c]ompliance and regulatory           In response to a question about competition from other
    capabilities.’ ” Id. ¶ 426.                                        companies, including Apple's announcement that it was
                                                                       moving into the payments business, Defendant Agrawal
  15. “On July 31, 2014, the Company filed its quarterly               promoted Western Union's compliance capabilities as
    Form 10-Q with the SEC, announcing the Company's                   giving it an advantage over other companies:
    financial and operating results for the second quarter
    of 2013, which ended on June 30, 2014 (the “Q2 2014                   And so, I think, we're really well-positioned....And
    10-Q”).” Id. ¶ 428. “The Q2 2014 10-Q contained                       it's about the global compliance capability that we
    substantially the same representations described in the               have, that's not easy to replicate, the global operational
    Company's Q2 2012 10-Q....” Id. ¶ 429. “The Q2 2014                   capabilities. So we have a lot of advantages that
    10-Q contained signed certifications pursuant to [the                 will keep us well-positioned I believe....So I really
    Sarbanes-Oxley Act (“SOX”) ] by Defendants Ersek and                  believe that we are extremely well positioned. Nobody
    Agrawal, stating that the financial information contained             else has the global compliance capabilities that we
    in the Q2 2014 10-Q was accurate and disclosed any                    have, the global operational capabilities. We operate
    material changes to the Company's internal control over               in every country of the world and that's not an easy
    financial reporting.” Id. ¶ 430.                                      infrastructure to replicate. And so that's why I feel
                                                                          good about where we are.”
  *28 16. “Western Union's pricing challenges that                Id. ¶ 432.
   SunTrust[’s Robinson Humphrey] discussed [in an
   August 1, 2014 report] were also a result of its
   compliance failures. As explained above, Defendants              18. “On September 17, 2014, Western Union issued a press
   stated during the Class Period that the Company                    release announcing its 9th Annual Consumer Protection
   would maintain its pricing advantages in the face of               Compliance Conference. The Company described this
   competition from other companies because Western                   conference as ‘[o]ne of the largest events of its kind,
   Union's ‘compliance programs’ were ‘really competitive             [bringing] together diverse perspectives from industry
   strengths for us.’ Because the Company was now forced              experts in [AML], compliance and fraud and human
   to substantially increase its compliance expenditures              trafficking to share best practices with some of Western
   because of its severely deficient compliance program, it           Union's largest Agents.’ Defendant Ersek delivered
   could no longer justify its premium pricing.” Id. ¶ 516            a keynote address at this conference ‘emphasizing
   (internal citation omitted).                                       the importance of compliance.’ The Company's Chief
                                                                      Compliance Officer said in the press release that
  17. “At a September 11, 2014 Deutsche Bank dbAccess                 ‘Western Union is committed to helping protect its
    Technology Conference, Defendant Agrawal stated:                  customers against fraud and other financial crimes. It's
                                                                      the right thing to do for our customers and for our
       We believe that compliance can be a competitive                business.’ ” Id. ¶ 436.
       advantage for us. It already is a competitive
       advantage, and I believe it can be a bigger competitive      19. “On October 30, 2014, the Company filed its quarterly
       advantage for us as we operate because it's very               Form 10-Q with the SEC, signed by Defendants Ersek
       difficult for most other organizations to spend at the         and Agrawal, announcing the Company's financial and
       level that we are, and we've been doing this for many          operating results for the third quarter of 2013, which
       years. This is not just a 2014 effort, we've been in the       ended on September 30, 2014 (the “Q3 2014 10-Q”).”
       compliance area and investing there for quite some             Id. ¶ 438. “The Q3 2014 10-Q contained substantially
       time....                                                       the same representations described in the Company's
                                                                      Q2 2012 10-Q....” Id. ¶ 439. “The Q3 2014 10-Q
       [W]e've been making a tremendous amount of                     contained signed certifications pursuant to SOX by
       progress [with complying with the amended                      Defendants Ersek and Agrawal, stating that the financial
       Southwest Border Agreement]. The state has assigned


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     information contained in the Q3 2014 10-Q was accurate
     and disclosed any material changes to the Company's          23. “On February 20, 2015, the Company filed an annual
     internal control over financial reporting.” Id. ¶ 440.         report on Form 10-K with the SEC, announcing the
 *29 20. “In the conference call for earnings from the              Company's financial and operating results for the quarter
third quarter of 2014, held on October 30, 2014, Defendant          and fiscal year ended December 31, 2014 (the “2014
Agrawal stated that ‘[w]e've been able to accomplish our            10-K”).” Id. ¶ 446. “[I]n describing the ‘wide range
key objectives on the compliance side, and we've also done          of laws and regulations enacted by the United States
it more efficiently.’ In addition, Defendant Ersek stated that      federal government, each of the states, many localities
the Company had an advantage over smaller competitors               and many other countries and jurisdictions, including
who were ‘having more trouble to compete in the market              the European Union,’ the Company specifically noted
because they can't comply with the anti-money laundering            ‘an increasingly strict set of legal and regulatory
requirements.’ Defendant Ersek then stated that although the        requirements intended to help detect and prevent
Company did not give guidance for the following year, he was        money laundering, terrorist financing, fraud, and other
‘excited about compliance investments, and that gives us a          illicit activity’ and described particular requirements
long-term competitive advantage and that helps us.’ ” Id. ¶         of the BSA. The Company also noted that ‘[m]any
434.                                                                states impose similar and, in some cases, more
                                                                    stringent requirements’ and that ‘[t]hese requirements
                                                                    also apply to our agents and their subagents.’ ”
  21. “On January 21, 2015, Western Union hosted the                Id. ¶ 448. “The 2014 10-K also discussed ongoing
    European Business Forum and Compliance Conference               governmental investigations, consent agreements, and
    in Brussels for the second time. As was publicly                enforcement actions by regulators, but claimed that these
    reported, including by Western Union and major news             investigations were too preliminary for the Company to
    publications, over 200 financial industry and regulatory        be able to predict their outcomes.” Id. ¶ 449. “The 2014
    experts attended this conference to discuss ‘how to             10-K contained signed certifications pursuant to SOX by
    enable innovation in the payments industry to better            Defendants Ersek and Agrawal, stating that the financial
    meet consumer and business financial service needs              information contained in the 2014 10-K was accurate
    in Europe, while meeting regulatory compliance.’ The            and disclosed any material changes to the Company's
    Company stated that this conference ‘reflects the               internal control over financial reporting.” Id. ¶ 450.
    company's commitment as a leader in the payments
    industry to ensure customer needs are understood,             24. “On April 30, 2015, the Company filed its quarterly
    while meeting regulatory compliance.’ The forum                 Form 10-Q with the SEC, signed by Defendants Ersek
    was ‘followed by a compliance conference attended               and Agrawal, announcing the Company's financial and
    by Western Union agents and partners from across                operating results for the first quarter of 2015, which
    Europe to focus on best practice[s] in anti-money               ended on March 31, 2015 (the “Q1 2015 10-Q”).”
    laundering measures and fraud protection.’ Ersek stated         Id. ¶ 452. “The Q1 2015 10-Q contained substantially
    in connection with this conference that ‘[i]t's vital that      the same representations described in the Company's
    consumers and businesses are protected when using               Q2 2012 10-Q....” Id. ¶ 453. “The Q1 2015 10-Q
    financial services, especially payments and remittances,        contained signed certifications pursuant to SOX by
    and that's why Western Union is committed to regulation         Defendants Ersek and Agrawal, stating that the financial
    to prevent financial crime. To meet this commitment, we         information contained in the Q1 2015 10-Q was accurate
    continue to focus on our compliance efforts as a priority       and disclosed any material changes to the Company's
    for our business.’ ” Id. ¶ 442.                                 internal control over financial reporting.” Id. ¶ 454.

  22. “In its presentation from its February 10, 2015             *30 25 “At a May 19, 2015 JPMorgan Global Technology,
    earnings call for the fourth quarter and fiscal year 2014,     Media and Telecom Conference, Defendant Ersek stated
    the Defendant Ersek represented that one of Western            that even though the Company had to lower prices
    Union's four ‘key results’ that it delivered in 2014 was       in Mexico, ‘overall, I will say that our brand, our
    ‘[e]nhanced global compliance programs.’ ” Id. ¶ 444.          locations, our compliance programs, our trust does
                                                                   deserve a premium and the customers pay for that. So,
                                                                   they are happy with that.’ Ersek also stated that ‘our



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     investment in the technology over the last three years,        and “general, forward-looking expressions of confidence”
     and our investment in compliance,...it's good to invest        regarding integration efforts were deemed insufficiently
     in the compliance, it's a competitive advantage. Being         concrete or specific to be actionable, even though they were
     regulated in 200 countries, it's a tough environment,          made during a time when the company knew that integration
     it's good. We are investing there, it's a competitive
                                                                    was not going well.    Id. at 1340.
     advantage. We know how to do that, and that is also
     kind of a barrier for many to come and to operate in that
                                                                    The Court agrees with Defendants’ assessment of these
     corridor....Being an industry leader, we are doing the first
                                                                    statements. They are all either “forward-looking statements
     attempt, and you are always setting the standards, but
                                                                    predicting competitive advantages eventually to be gained
     long-term, it will be done.’ ” Id. ¶ 456.
                                                                    from large, ongoing compliance investments” or “present-
                                                                    tense statements of opinions regarding the competitive
In short, Plaintiffs argue that Defendants “had a duty to
                                                                    advantages of having already established compliance
disclose those serious current compliance failures, as well as
                                                                    infrastructure in more than 200 countries.” Reply [#70] at
ones from the recent past that subjected the Company to the
                                                                    42. As such, the Court finds that these statements lack a
material risk of substantial monetary sanctions.” Response
                                                                    demonstrable false basis and, in many cases, are mere puffery.
[#63] at 41.
                                                                    See     Grossman, 120 F.3d at 1119-20 (“Vague, optimistic
In SEB Asset Management S.A., 2014 WL 5708522, the Court            statements are not actionable because reasonable investors do
considered some statements which were essentially identical         not rely on them in making investment decisions.”).
in substance to some mentioned here. Those statements
included the “frequent talking point” for Western Union that        For example, Plaintiffs point to the September 11, 2014
its “operations in 200 countries and territories” involved          statements by Defendant Agrawal that compliance “already
compliance expenses and burdens that its competitors would          is a competitive advantage...we've been doing this for
find difficult to match. The Court found that Western               many years. This is not just a 2014 effort, we've been
Union's “decision to embrace the benefits of strict regulatory      in the compliance area and investing there for quite some
compliance may have been sudden and opportunistic, but              time” and that “[n]obody else has the global compliance
the Complaint has not alleged any facts to suggest that it          capabilities that we have.” Am. Compl. [#40] ¶ 432; see
was misleading” because the statements about Western Union          also Response [#63] at 46 n.17 (discussing statements where
being an industry leader were limited to predictions of how         Defendants “characterized the Company as the current and
Western Union “would be a leader or trend-setter in the             best industry and market leader”). Especially when read
future.” The Court noted that the “statements are patently true     in context, see Defs.’ Ex. 102 [#70-17], these statements
on their face – compliance with hundreds of discrete national       are materially similar to those discussed in SEB Asset
and international regulations is difficult and costly, and those    Management S.A., 2014 WL 5708522, and Plaintiffs have
difficulties and costs also serve to discourage competitors         provided no allegations from which the Court can reasonably
from attempting to match the breadth of [Western Union's]           infer that these statements were false, such as allegations
market.”                                                            showing that Western Union had not been investing in
                                                                    compliance prior to 2014 or that other competitors did indeed
                                                                    have similar global compliance capabilities at that time, or
The parties also discuss the impact of        In re Level
                                                                    that Western Union was not a market leader, despite any issues
3 Communications Securities Litigation, 667 F.3d 1331,
                                                                    that Western Union may also have been experiencing. See,
1339 (10th Cir. 2012), on the issue of compliance practice
                                                                    e.g., Am. Compl. [#40] ¶ 205 (stating that Western Union only
statements. Response [#63] at 45 n.16; Reply [#70] at
                                                                    had one main competitor, MoneyGram International, Inc.,
50-51. The Tenth Circuit there held that statements such
                                                                    without sufficiently elaborating on comparative allegations
as “[a] majority of the physical network interconnections
                                                                    that could show some of Defendants’ statements were false
are completed” and “[m]ost of the physical integration of
                                                                    or misleading).
WilTel is now complete” were not puffery, because they
had “some basis in objective and verifiable fact.”        In         *31 Further, as Defendants argue, many of these statements
re Level 3, 667 F.3d at 1340-41. However, statements                mention the competitive advantages held by Western Union
concerning “integration efforts and the customer experience”        based on the global scope of its compliance infrastructure



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and continuing investments. Reply [#70] at 46. At most, the       compliance practices were up to par. It was therefore
statements merely compare Western Union to its competitors        misleading for Defendants to fail to disclose the many ways
and are not “absolute assurances” regarding compliance            that Western Union engaged in activities that gave rise to
practices. Id. at 46-47. As one of many examples, this            the high probability of substantial government sanctions.” Id.
applies to the statement that, “longer term we believe [our       at 38. In other words, Plaintiffs assert that Defendants “did
increased compliance spending is] going to be a competitive       not disclose that Western Union already failed to comply
advantage because of our scale and our scope of what              with AML and anti-fraud laws and already faced the high
we can do with compliance and the regulatory [sic].” Am.          risk of substantial monetary sanctions when they made those
Compl. [#40] ¶ 388; see also, e.g., id. ¶¶ 333 (discussing        statements throughout the Class Period.” Id. at 39 (emphasis
“competitive advantage”), 334 (discussing the difficulty of       in original).
navigating the regulatory environment for both Western
Union and competitors), 336 (discussing “global compliance        Defendants essentially concede that the statements regarding
capabilities” as a competitive strength), 363 (discussing the     actual legal compliance were technically false or misleading
“advantage” held by Western Union when compared to                except that they were couched in terms of the truthful opinions
competitors with respect to its digital presence); see also       of the speakers according to the information they had at
Defs.’ Exs. 29, 88, 89, 94 [#57-29, #70-3, #70-4, #70-9].         the time when the statements were made. Motion [#54] at
                                                                  40 (citing     Omnicare, 135 S. Ct. at 1326-27 (holding that
Accordingly, to the extent Claim One is based on this
                                                                  statements such as believing that the company's marketing
category of purportedly false and misleading statements
                                                                  practices were lawful were not false simply because the belief
regarding compliance practices, Claim One is dismissed
                                                                  later turned out to be incorrect). Thus, in order to succeed
against Defendants Ersek, Scheirman, Agrawal, and Western
                                                                  here, Plaintiffs must provide allegations that (1) the speakers
Union.
                                                                  did not subjectively hold the stated beliefs at the times when
                                                                  the statements were made or (2) objectively, the speakers
   2. Scienter                                                    did not undertake any reasonable inquiry into the grounds
Plaintiffs argue that Defendants made untrue or misleading        underlying the statements before making the statements.
statements of material fact, or failed to state material facts    Omnicare, S. Ct. at 1327, 1332. Based primarily on Omnicare,
necessary to make statements not misleading, regarding            Defendants argue that “in order adequately to allege that
legal compliance. Response [#63] at 36-41. Specifically, they     the statements of opinion were false, Plaintiff[s] must plead
argue:                                                            with particularity facts that create a strong inference—at
                                                                  least as compelling as any competing innocent inferences
  Defendants’ statements of legal compliance were false           —that each [Defendant] did not believe what he said but,
  and misleading because, as Western Union admitted to            instead, that each believed throughout the Class Period
  DOJ, and as the FTC determined, the Company did not             that the Company was engaged in ongoing violations of
  comply with its AML and anti-fraud obligations during           applicable legal requirements and believed that its compliance
  the Class Period. Western Union's legal violations included     systems were fundamentally ineffectual.” Motion [#54] at
  admitted criminal liability for willfully failing to maintain   42-43. Defendants assert that Plaintiffs have failed to provide
  an effective AML program as required by the BSA and             adequate allegations demonstrating this. Id. at 43.
  willfully “failing to suspend and/or terminate complicit
  Agents” and “allowing them to continue to process fraud-         *32 The pleading requirements for scienter under the
  induced monetary transactions” through 2012; as well            PSLRA have attracted special attention from the courts. “In
  as civil liability for violating the FTC Act by failing         a securities fraud case, the appropriate level of scienter is
  to detect and prevent consumer fraud and violating              a mental state embracing intent to deceive, manipulate or
  the Telemarketing Sales Rule by providing substantial
                                                                  defraud, or recklessness.”       Adams, 340 F.3d at 1105. The
  assistance to parties that engaged in consumer fraud
                                                                  Tenth Circuit has made clear that adequately pleading scienter
  through the date of the Joint Settlement.
                                                                  requires the plaintiffs to plead “facts with particularity giving
Response [#63] at 37-38. They further argue that                  rise to a strong inference that defendants acted with the
“Defendants’ statements touting Western Union's legal             requisite [state of mind],” and the trial court is instructed to
compliance gave investors the impression that the Company's       “look to the totality of the pleadings” to determine whether the



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                                                                    “[P]laintiffs can adequately plead scienter by setting forth
plaintiffs’ allegations permit such an inference. Pirraglia,
                                                                    facts raising a strong inference of intentional or reckless
339 F.3d at 1190. In addition, “an inference is a logical
                                                                    misconduct.”    City of Philadelphia v. Fleming Cos., Inc.,
conclusion drawn from the facts.”       Adams, 340 F.3d at
                                                                    264 F.3d 1245, 1259 (10th Cir. 2001) (emphasis in original).
1105. “A strong inference of scienter” means “a conclusion
logically based upon particular facts that would convince a
reasonable person that the defendant knew a statement was
false or misleading.” Id.                                                        Recklessness, defined as conduct that
                                                                                 is an extreme departure from the
                                                                                 standards of ordinary care, and which
                                                                                 presents a danger of misleading buyers
             To establish scienter in a securities
                                                                                 or sellers that is either known to the
             fraud case alleging non-disclosure of
                                                                                 defendant or is so obvious that the
             potentially material facts, the plaintiff
                                                                                 actor must have been aware of it, can
             must demonstrate:(1) the defendant
                                                                                 also satisfy the scienter requirement
             knew of the potentially material fact,
                                                                                 for Section 10b-5. Simple negligence,
             and (2) the defendant knew that failure
                                                                                 however, does not satisfy the scienter
             to reveal the potentially material fact
                                                                                 requirement.
             would likely mislead investors....We
             also take into account evidence of
             motive and opportunity, for, while
             these factors are typically insufficient               Id. at 1258 (internal citations and quotations omitted).
             in themselves to show scienter, they                   Recklessness is “something akin to conscious disregard.”
             may be important to the totality of the                    In re Level 3, 667 F.3d at 1343 n.12. “Negligence, and
             pleadings.                                             even gross negligence, fall ‘below the high threshold for
                                                                    liability under Section 10(b) of the Exchange Act.’ ” Sanchez
                                                                    v.    Crocs, Inc., 667 F. App'x 710, 719 (10th Cir. 2016)
   Pirraglia, 339 F.3d at 1191 (internal quotation marks and
                                                                    (quoting      Dronsejko v. Thornton, 632 F.2d 658, 668 (10th
brackets omitted). Moreover:
                                                                    Cir. 2011) ).

                                                                    Regarding the adequacy of a complaint's allegations of
             The strength of an inference cannot                    scienter, the court has made clear that at the 12(b)(6) stage, the
             be decided in a vacuum. The inquiry                    court's role “is simply to determine whether the plaintiff raises
             is inherently comparative: How likely
             is it that one conclusion, as compared                 a strong inference of scienter....”   Pirraglia, 339 F.3d at
             to others, follows from the underlying                 1188. Courts have refused “to draw inferences in the plaintiff's
             facts? To determine whether the                        favor when doing so would allow [him] to make allegations
             plaintiff has alleged facts that give                  on information and belief without satisfying the particularity
             rise to the requisite ‘strong inference’               requirements of the [PSLRA].” Id.
             of scienter, a court must consider
             plausible, nonculpable explanations                    In addition, the Tenth Circuit has provided other guidance
             for the defendant's conduct, as well as                about the sufficiency of a complaint alleging securities
             inferences favorable to plaintiff.                     fraud that is useful here. Regarding allegations of reckless
                                                                    misconduct, the Court has concluded that “allegations that
                                                                    defendants should have anticipated future events and made
                                                                    certain disclosures earlier than they actually did do not suffice
   Tellabs, 551 U.S. at 323-24.
                                                                    to make out a claim of securities fraud.”          Fleming, 264

As noted above, the state of mind necessary to sustain              F.3d at 1260 (quoting      Novak v. Kasaks, 216 F.3d 300,
allegations of securities fraud is either intent or recklessness.   309 (2d Cir. 2000) ). Further, “allegations that the defendant



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possessed knowledge of facts that are later determined by a
                                                                  a reasonable investor.”     Fleming, 264 F.3d at 1264 (citing
court to have been material, without more, [are] not sufficient
to demonstrate that the defendant intentionally withheld              Schlifke v. Seafirst Corp., 866 F.2d 935, 946 (7th Cir.
these facts from, or recklessly disregarded the importance        1989) (“[I]t is the danger of misleading buyers that must
of those facts to, a company's shareholders in order to           be actually known or so obvious that any reasonable man
                                                                  would be legally bound as knowing.” (emphasis in original) ).
deceive, manipulate or defraud.”       Fleming, 264 F.3d at
                                                                  Finally, “[t]he scienter of the senior controlling officers of
1260. In order to sufficiently allege recklessness, plaintiffs
                                                                  a corporation may be attributed to the corporation itself to
must present facts to show the “defendant's knowledge of a
                                                                  establish liability as a primary violator of § 10(b) and Rule
fact that was so obviously material that the defendant must
                                                                  10b-5 when those senior officials were acting within the scope
have been aware both of its materiality and that its non-
                                                                  of their apparent authority.” Adams, 340 F.3d at 1006.
disclosure would likely mislead investors.”  Id. at 1261.
Moreover, vague statements of corporate optimism are not          In assessing whether allegations of a defendant's motives
                                                                  to mislead are sufficient to support a finding of the
actionable under the securities laws. Pirraglia, 339 F.3d at
                                                                  requisite scienter under the PSLRA, the Tenth Circuit has
1189. But “violation of a corporation's internal policies can
                                                                  addressed only motives specifically and directly related to
support a claim of scienter when coupled with other evidence
                                                                  the alleged non-disclosure, finding that other alleged motives
of intent to defraud, such as motive and opportunity.”      Id.
                                                                  are not relevant to the inquiry. See       Fleming, 264 F.3d
at 1192.
                                                                  at 1268 (noting five asserted motives for the defendants’
                                                                  alleged fraudulent conduct, but concluding that only one
 *33 Also worth nothing is that the Tenth Circuit has rejected
                                                                  arguably supported the plaintiffs’ allegations because it was
the notion that knowledge may be imputed to a high-ranking
                                                                  “specifically and directly related to the underlying facts” of
corporate officer because of his position alone:
                                                                  the alleged non-disclosure). Moreover, it is also clear that
                                                                  “generalized motives shared by all companies and which
                                                                  are not specifically and uniquely related” to the defendant
            [A]llegations that a securities fraud
            defendant, because of his position                    in particular, are “unavailing.”        Id. at 1269. Examples
            within the company, must have                         of such “shared business motives” are that the defendants
            known a statement was false or                        desired to protect their own positions with the company,
            misleading are precisely the types                    or that they wanted to protect the value of their own
            of inferences which [courts], on                      stock, or that they wanted to further the interests of the
            numerous occasions, have determined                   company. “Allegations that merely charge that executives
            to be inadequate to withstand                         aim to prolong the benefits they hold are, standing alone,
                                                                  insufficient to demonstrate the necessary strong inference of
            Rule 9(b) scrutiny. 14 Generalized
                                                                  scienter....Similarly insufficient are allegations that corporate
            imputations of knowledge do not
                                                                  officers were motivated to defraud the public because an
            suffice, regardless of defendants’
                                                                  inflated stock price would increase their compensation.”
            positions within the company.
                                                                     Id. at 1270 (quoting        Philips v. LCI Int'l, Inc., 190
                                                                  F.3d 609, 622 (4th Cir. 1999) ); see also        Level 3, 667
   Fleming, 264 F.3d at 1264 (citing In re: Advanta Corp.         F.3d at 1346 (“Nor does plaintiff's assertion that defendants’
Sec. Litig., 180 F.3d 525, 539 (3d Cir. 1999) ). Nevertheless,    compensation hinged on the performance of Level 3's stock
the seniority of management officials who are alleged to          price and the successful integration of WilTel lead us to infer
have engaged in fraudulent conduct “is a fact relevant in [the    scienter.”). In addition, when the complaint “includes nothing
                                                                  in the allegations of the defendants’ motives to indicate that
court's] weighing of the totality of the allegations.” Adams,
                                                                  they are anything more than pure speculation,” the court
340 F.3d at 1106. The cases have been careful to emphasize
that “the important issue...is not whether [d]efendants knew      should not accord them much weight.         Adams, 340 F.3d at
the underlying facts, but whether [d]efendants knew that not      1104-05.
disclosing [them] posed substantial likelihood of misleading



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 *34 Thus, in order to pass muster under the PSLRA, the              company's financial status was fraudulently misrepresented.
Amended Complaint [#40] must state with particularity facts
                                                                        Sanchez, 667 F. App'x at 723 (citing    N.M. State Inv.
giving rise to a strong inference of scienter. “When the
                                                                     Council v. Ernst & Young LLP, 641 F.3d 1089, 1103 (9th Cir.
allegations are accepted as true and taken collectively, would
                                                                     2011) ).
a reasonable person deem the inference of scienter at least
as strong as any opposing inference?”           Level 3, 667 F.3d    The crux of Plaintiffs’ theory is that “Defendants each
at 1343. Here, taken as a whole, the Court finds that the            had scienter as to the false and misleading nature of their
Amended Complaint [#40] does not create an inference of              statements because they each knew or, at a minimum,
scienter that is at least as strong as any opposing inference. For   recklessly disregarded” the following, as summarized by
the reasons stated below, the Court concludes that Plaintiffs        Plaintiffs:
have failed to adequately allege the scienter necessary to state
claims for securities fraud.                                           (i) Western Union's AML and anti-fraud efforts during
                                                                       the Class Period did not comply with applicable laws
At the heart of the scienter inquiry in a case like this are the       and regulations, including the BSA, the FTC Act, the
allegations about what information the individual Defendants           [Telemarketing Sales Rules], the Telemarketing Act, the
knew and failed to report, and whether they knew or should             criminal wire fraud statute, the Dodd-Frank Act, and/or
have known that their non-disclosures were substantially               state or international AML or anti-fraud laws; (ii) Western
                                                                       Union's AML and anti-fraud efforts during the Class
likely to mislead a reasonable investor. See         Fleming,          Period failed to comply with best practices and/or industry
264 F.3d at 1264. In order to adequately plead scienter,               standard practices;
Plaintiffs must allege that Defendants Ersek, Scheirman,
and Agrawal each acted either knowingly or recklessly.                 (iii) during the Class Period, Western Union failed to
To show knowledge, Plaintiffs must sufficiently allege that            discipline or take corrective action against its agents
Defendants Ersek, Scheirman, and Agrawal knew about                    or subagents that Defendants knew violated (or likely
certain material information and that they knew that failure           violated), and in some cases were complicit (or likely
to disclose this information would likely mislead investors,           complicit) in violating, the laws described in (i) above
thus showing intent. In the alternative, Plaintiffs must allege        and/or Company anti-fraud or AML policies, including
that the misrepresentation or omitted information was so               by processing vast amounts of transactions that defrauded
obviously material that Defendants Ersek, Scheirman, and               (or likely defrauded) Western Union's customers and/
Agrawal must have been aware that non-disclosure would                 or by structuring (or likely structuring) vast amounts of
likely mislead investors, thus showing recklessness. See               transactions;
generally     Zagg, Inc. Sec. Litig., 797 F.3d 1194, 1202               *35 (iv) Defendants failed to disclose Western Union's
(10th Cir. 2015). Although recklessness may be established             AML and anti-fraud compliance failures and certain related
where a defendant ignores obvious signs of fraud, “an                  government enforcement actions that took place prior to the
unseen red flag cannot be heeded.”             Sanchez, 667 F.         Class Period;

App'x at 720-722 (citing         Gould v. Winstar Commc'ns,            (v) government investigations and enforcement actions that
Inc., 692 F.3d 148, 158 (2d Cir. 2012);       Stephenson v.            were ongoing during the Class Period were nearly certain
PricewaterhouseCoopers, LLP, 768 F. Supp. 2d 562, 574                  —based on Western Union's compliance failures before
(S.D.N.Y. 2011) ). “Possession of documents and other                  and during the Class Period—to result in severe monetary
information which...should have revealed red flags at most.. .         penalties and Western Union being required to undertake
raises an inference of gross negligence, but not fraud.”               comprehensive and costly remedial actions;

Id. (citing       Ziemba v. Cascade Int'l, Inc., 256 F.3d              (vi) Western Union could not maintain its competitive
1194, 1210 (11th Cir. 2001) (internal quotations omitted) ).           premium pricing during the Class Period while
Indeed, in order for recklessness to be adequately pled in             implementing effective compliance policies; and
a case asserting securities fraud claims against auditors, the
Tenth Circuit has indicated that plaintiffs must cite “highly          (vii) Western Union's AML and anti-fraud efforts during
suspicious in-your-face facts that would cry out” that the             the Class Period failed to comply with agreements



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  that Western Union reached to resolve government                   the Class Period, Defendants represented, with minor
  investigations and enforcement actions that were disclosed         variations, that ‘we believe our fraud prevention efforts
  prior to the Class Period.                                         are effective and comply with applicable law’ and that
                                                                     ‘that Western Union is compliant with its [AML and
Am. Compl. [#40] ¶ 539 (incorporating ¶ 303). However, a             other] regulatory responsibilities.’ ” Am. Compl. [#40]
careful reading of the cleverly-drafted Amended Complaint            ¶ 76 (internal footnotes omitted). “Western Union also
makes clear that the overwhelming majority of allegations            acknowledged in these annual filings that failing to comply
of fraud depend on assertions that Defendants did not                with AML and anti-fraud laws and regulations posed one
believe that compliance efforts were legally sufficient in           of the most significant risks that the Company faced. In
making significant progress against major problems such              each of these filings, Defendants stated that ‘[o]ur business
as money laundering in light of the large and ever-                  is subject to a wide range of laws and regulations intended
mutating problem the Company faced from fraudsters from              to help detect and prevent money laundering, terrorist
around the world. It goes without saying that the Amended            financing, fraud and other illicit activity. Failure by us, our
Complaint cannot create a strong inference of the state of           agents or our subagents to comply with those laws and
mind necessary to show securities fraud without sufficiently         regulations could have an adverse effect on our business,
alleging that Defendants knew or recklessly disregarded these        financial condition and results of operations’—or made
problems, i.e., that compliance efforts were dramatically            substantially similar statements to the same effect.” Id. ¶
failing. But behind the Amended Complaint's dense curtain            77.
of allegations relating to what was said when and about
unresolved government investigations, Plaintiffs make very         *36 2. In the 2011 10-K, filed on February 24, 2012, the
few particularized allegations about what the executives           Company stated in pertinent part:
themselves knew at any given time. At best, the totality of
the allegations regarding Defendants’ conduct which bear on          Our business is subject to a wide range of laws and
their state of mind leaves more questions about their intent         regulations intended to help detect and prevent money
than answers, and such allegations do not demonstrate more           laundering, terrorist financing, fraud and other illicit
than, at most, gross negligence, which is insufficient to state      activity. Failure by us, our agents or our subagents to
                                                                     comply with those laws and regulations could have an
a claim under Section 10(b). See      Sanchez, 667 F. App'x at       adverse effect on our business, financial condition and
719.                                                                 results of operations....

With a pleading as lengthy and repetitive as the Amended             ...While we believe our fraud prevention efforts are
Complaint, the risks of attempting to list the allegations           effective and comply with applicable law and best
related to scienter are manifest and recognized by the               practices, the ingenuity of criminal fraudsters, combined
Court. By sheer volume alone, one might conclude that                with the potential susceptibility to fraud by consumers
the document must sufficiently allege Defendants’ intent to          during economically difficult times, make the prevention
commit fraud or their recklessness in doing so. Nevertheless,        of consumer fraud a significant and challenging problem....
after an extremely careful review of the 176-page, 580-
paragraph Amended Complaint, the Court cannot conclude               ***
that Plaintiffs have provided sufficient allegations to meet the
                                                                     We have developed and continue to enhance our
high bar of pleading scienter here.
                                                                     global compliance programs, including our anti-money
                                                                     laundering program, which comprises policies, procedures,
In addition to certain previously-quoted allegations which the
                                                                     systems and internal controls to monitor and to address
Court has reviewed, 15 Plaintiffs also cite to the following         various legal and regulatory requirements. In addition, we
allegations which, either alone or in combination with others,       continue to adapt our business practices and strategies to
bear on the scienter issue in connection with legal compliance:      help us comply with current and evolving legal standards
1. “Throughout the Class Period, Western Union represented           and industry practices....
to investors that it
                                                                     ***
  complied with its AML and anti-fraud legal obligations.
  For example, in each 10-K that the Company filed during



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  ...While we believe that Western Union is compliant               ***
  with its regulatory responsibilities, the legal, political and
  business environments in these areas are rapidly changing,        What really is more difficult is to make sure that you're
  and subsequent legislation, regulation, litigation, court         complying with all the laws around the world. And we
  rulings or other events could expose Western Union to             spend a ton of money. And we have over 600 people on
  increased program costs, liability and reputational damage.       an ongoing basis monitoring the system on an ongoing
                                                                    basis. And you have to do that. One of the core capabilities
  ***                                                               is to being able to work with governments not only the
                                                                    U.S. government but the governments of Vietnam, the
  Our agents’ or subagents’ failure to comply with federal          governments of India, the governments of China to make
  and [state] laws and regulations as well as laws and              sure that this cash movement which is in the billions of
  regulations outside the United States could have an adverse       dollars is all being monitored on an ongoing basis.
  effect on our business, financial condition and results of
  operations.                                                       Stockdale then stated, in the context of discussion [sic] the
                                                                    Dodd-Frank regulations, that ‘all regulation’ ‘becomes a
  Id. ¶ 305. “In addition, in describing the ‘wide range of         competitive advantage for us...because if you're in front and
  laws and regulations enacted by the United States federal         you have the resources to implement and do it well.’ ” Id.
  government, each of the states, many localities and many          ¶ 349.
  other countries and jurisdictions, including the European
  Union,’ the 2011 10-K specifically noted ‘an increasingly         5. In connection with the 2012 10-K (filed on February
  strict set of legal and regulatory requirements intended          22, 2013), the Company stated, in part: “[I]n describing
  to help detect and prevent money laundering, terrorist            the ‘wide range of laws and regulations enacted by the
  financing, fraud, and other illicit activity’ and described       United States federal government, each of the states,
  particular requirements of the BSA. The Company also              many localities and many other countries and jurisdictions,
  noted that ‘[m]any states impose similar and, in some             including the European Union,’ the Company specifically
  cases, more stringent requirements’ and that ‘[t]hese             noted ‘an increasingly strict set of legal and regulatory
  requirements also apply to our agents.’ ” Id. ¶ 306.              requirements intended to help detect and prevent money
                                                                    laundering, terrorist financing, fraud, and other illicit
  3. “[A]t [a] May 16, 2012 J.P. Morgan Global Technology,          activity’ and described particular requirements of the BSA.
  Media and Telecom Conference, [Stewart] Stockdale stated          The Company also noted that ‘[m]any states impose similar
  that regulatory and compliance worldwide is something             and, in some cases, more stringent requirements’ and that
  ‘that obviously – it's a huge competency for Western Union        ‘[t]hese requirements also apply to our agents.’ ” Id. ¶ 367.
  to deal with[ ]in 200 countries. So, regulations in Europe, in
  Australia, in Asia Pacific and across the world is something      6. “At a May 16, 2013 JPMorgan Global Technology,
  that we deal with across every single region and country.’        Media and Telecom Conference, Defendant Scheirman
  ” Id. ¶ 329.                                                      stated that in the first quarter of the year, in ‘a few of
                                                                    the markets, we continued to enhance our compliance
  4. “On October 16, 2012, [Stewart] Stockdale spoke on             programs. And our goal is to be best-in-class with
  behalf of Western Union at the University of Denver's             compliance. Live to the letter and the spirit of the law. And
  Voices of Experience program. This speech was published           so, we're doing things around fraud prevention, real-time
  online the following day, on October 17, 2012. Stockdale          risk assessment at the point of sale, customer callbacks and
  stated:                                                           high principal.’ Scheirman also stated that ‘the depth and
                                                                    extent of our compliance practices’ allows the Company
   *37 Western Union is uniquely positioned at going after
                                                                    to succeed in the online market because ‘sometimes folks
  that underserved 2-billion person market worldwide. What
                                                                    might underestimate’ how important that is for cross-
  makes us unique that allow[s] us to have these relationships
                                                                    border money transfers ‘[b]ut we're very good at that.’ ”
  and really our core competencies to reach consumers in 200
                                                                    Id. ¶ 383.
  countries and territories is really these four pillars of our
  strategy.... Three is the regulatory and AML capabilities of      7. In the 2013 10-K (filed February 24, 2014), the Company
  the Company in almost every jurisdiction around the world.        stated, in part: “In addition, in describing the ‘wide range of



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  laws and regulations enacted by the United States federal         to process fraud-induced monetary transactions.’ Western
  government, each of the states, many localities and many          Union admitted it was guilty of this charge.
  other countries and jurisdictions, including the European
  Union,’ the Company specifically noted ‘an increasingly           b. Willfully failing to maintain an effective program as
  strict set of legal and regulatory requirements intended          required by the BSA, pursuant to      31 U.S.C. §§ 5318(g),
  to help detect and prevent money laundering, terrorist
                                                                        5322, and related regulations, from 2004 through
  financing, fraud, and other illicit activity’ and described
                                                                    December 2012. Western Union admitted it was guilty of
  particular requirements of the BSA. The Company also
                                                                    this charge.
  noted that ‘[m]any states impose similar and, in some
  cases, more stringent requirements’ and that ‘[t]hese             c. Engaging in unfair acts or practices in violation of
  requirements also apply to our agents and their subagents.’       Section 5 of the FTC Act by failing to take timely,
  ” Id. ¶ 412.                                                      appropriate, and effective action to detect and prevent
                                                                    fraud-induced money transfers through the Company's
   *38 8. “On the earnings conference call for the fourth
                                                                    system.
  quarter and fiscal year 2015, held on February 9, 2016,
  Defendant Ersek stated that Western Union's money                 d. Engaging in deceptive telemarketing in violation of the
  transfer system ‘is unique’ and its success ‘is that it works     Telemarketing Sales Rule by Western Union, its agents,
  in 200 countries, it can pay out in 121 currencies, it can        or subagents providing substantial assistance or support to
  adapt to regulatory systems of 200 countries and make             sellers or telemarketers who the Company or its agents
  anti-money laundering, and process 22 transactions...per          or subagents knew or consciously avoided knowing (a)
  second.’ He later explained that ‘most of the agents              induced consumers to pay for goods and services through
  are choosing the exclusivity because they know they               the use of false or misleading statements and (b) requested
  have a quite stable partner, financially stable, good, anti-      or received payment in advance of consumers obtaining a
  money laundering system, good settlement system, long             loan.”
  run capability, great brand and they can drop money in 200
  countries immediately.’ ” Id. ¶ 471.                              Id. ¶ 139.

  9. In connection with the 2015 10-K (filed February             The Court notes with respect to this final allegation that
  19, 2016), the Company stated, in part: “In addition, in        any admitted wrong-doing only covers the first fraction of
  describing the ‘wide range of laws and regulations enacted      the Class Period (i.e., February 24, 2012 through December
  by the United States federal government, each of the states,    2012), that the admitted wrong-doing does not directly
  many localities and many other countries and jurisdictions,     involve securities laws, and that Plaintiffs have not adequately
  including the European Union,’ the Company specifically         tied any admitted wrong-doing to the scienter of Defendants.
  noted ‘an increasingly strict set of legal and regulatory
  requirements intended to help detect and prevent money          As explained above, the Court finds that not only are many
  laundering, terrorist financing, fraud, and other illicit       of these allegations inadequately particularized and merely
  activity’ and described particular requirements of the BSA.     conclusory, but taken as a whole, they do not create a strong
  The Company also noted that ‘[m]any other countries and         inference that Defendants acted intentionally or recklessly.
  states impose similar and, in some cases, more stringent        The Court is hard-pressed to draw any inference from these
  requirements’ and that ‘[t]hese requirements also apply to      allegations that Defendants knew of or recklessly disregarded
  our agents and their subagents.’ ” Id. ¶ 475.                   the full scope and extent of the alleged illicit behavior
                                                                  at Western Union, much less that they condoned it and
  10. “DOJ's and FTC's actions against Western Union were         defrauded investors despite it. Needless to say, in the absence
  based on the Company's violations of the following AML          of such an inference, not to mention the strong inference
  and anti-fraud laws and regulations:                            required by the PSLRA, Plaintiffs’ claims cannot proceed.
  a. Aiding and abetting wire fraud, pursuant to 18 U.S.C.
                                                                   *39 Nor are Plaintiffs’ claims rescued by sufficient
  §§ 2,     1343, from 2004 through December 2012 ‘by             allegations regarding Defendants’ motive and opportunity.
  failing to suspend and/or terminate complicit Agents            For example, Plaintiffs allege that Defendant Ersek sold
  [including subagents] and by allowing them to continue          approximately 600,000 shares of Western Union stock during


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the Class Period for more than $12 million. Am. Compl. [#40]      inference of scienter cogent and at least as compelling as
at 285. However, Plaintiffs fail to provide adequate context      any plausible opposing inference one could draw from the
for these numbers, such as the price Defendant Ersek initially
                                                                  facts alleged.   Tellabs, 551 U.S. at 324 (emphasis added).
paid for that stock, so the Court can reach any conclusion
                                                                  In other words, the court must “compare the parties’ dual
as to what kind of financial gain is actually at issue here.
                                                                  explanations” for the alleged failures to disclose and decide
See Motion [#54] at 85. Further, there are no allegations
regarding what percentage of Defendant Ersek's total shares       which is more cogent and compelling. See, e.g., Spirit
these stock sales consisted of, or whether he was buying other    Aerosystems, 827 F.3d at 1248. Defendants argue that “[t]he
                                                                  far more ‘cogent and compelling’ inference with respect to
types of shares at the same time. See id.; see, e.g.,   Malin
                                                                  each of these Individual Defendants is that they genuinely
v. XL Capital Ltd., 499 F. Supp. 2d 117, 153 (D. Conn.
                                                                  believed what they said when they made the challenged
2007), aff'd, 312 F. App'x 400 (2d Cir. 2009) (finding no
inference of fraud in the fact that a “[d]efendant...decreased    statements.” Motion [#54] at 16 (citing       Tellabs, Inc., 551
his holdings by 30.84%,” and noting that “[c]ourts have           U.S. at 324). Taken as a whole, Defendants appear to assert
found no inference of scienter in cases involving similar         that the inference to be drawn from the failures to disclose
and even greater percentages of sales”). Without these kinds      alleged by Plaintiffs is that Defendants may have made errors
of additional allegations, the mere allegation that Defendant     in business judgment, but they did not commit fraud against
Ersek sold 600,000 shares of Western Stock over a five year       investors. In the Court's view, this inference is equally strong
period for $12 million tells the Court very little and adds       as any inference regarding fraud.
nothing material to the scienter analysis. The same goes
for Plaintiffs’ allegations regarding other Defendants and        A final word about recklessness under the PSLRA. Plaintiffs
company executives’ sales of shares during the class period.      assert that even if the facts alleged do not show that
Am. Compl. [#40] ¶¶ 290-95. While “personal financial gain        Defendants knew, at the time when the omissions occurred,
                                                                  that their statements would likely mislead investors, there
may weigh heavily in favor of a scienter inference,”     Level
                                                                  is enough to conclude that they “acted with a reckless
3, 667 F.3d at 1345, the absence of any cogent allegation of a
                                                                  disregard of a substantial likelihood of misleading investors.”
financial benefit from the alleged fraud cuts the other way. In
re Gold Resource Corp. Sec. Litig., 776 F.3d 1103, 1117 n.8          Nakkhumpun v. Taylor, 782 F.3d 1142, 1150 (10th Cir.
(10th Cir. 2015).                                                 2015). They contend that the danger of misleading investors
                                                                  by not disclosing these facts was so obvious that Defendants
In short, Plaintiffs produce no convincing allegations of a       must have been aware. But recklessness “is a particularly
motive for Defendants to engage in fraud beyond the standard      high standard” under the PSLRA.      Dronsejko, 632 F.3d
financial motives common to all for-profit businesses. Under      at 668. The Tenth Circuit has noted that it is “something
these circumstances, it is more probable that the Western         closer to a state of mind approximating actual intent.”
Union executives “were overly optimistic and failed to give
weight to financial red flags, for the plaintiffs supply little       Zagg, 797 F.3d at 1206. And Plaintiffs’ allegations about
reason to suspect malevolence rather than benign optimism.”       recklessness are overwhelmingly conclusory. See, e.g., Am.
                                                                  Compl. [#40] ¶¶ 539, 544, 547, 559, 566, 568, 570, 573. These
  Spirit Aerosystems, 827 F.3d at 1238. “The absence of a         conclusory allegations of recklessness do nothing to advance
motive allegation...is not dispositive, but it is relevant, and   facts demonstrating that conduct. Plaintiffs’ statements made
in this case it counts against scienter.”   Level 3, 667 F.3d     specifically about Defendants’ conduct are equally weak.
                                                                  For example, the closest Plaintiffs come to discussing
at 1347; see also     Tuchman v. DSC Commc'ns Corp., 14
                                                                  recklessness in connection with Defendants’ specific conduct
F.3d 1061, 1069 (5th Cir. 1994) (“Where a defendant's motive
                                                                  is as follows:
is not apparent, a plaintiff may adequately plead scienter by
identifying circumstances that indicate conscious behavior
on the part of the defendant, though the strength of the
                                                                                *40 Defendants[’] knowledge or
circumstantial allegations must be correspondingly greater.”).
                                                                               reckless disregard of the deficiencies
                                                                               in Western Union's compliance
At the end of the day, the court must decide if a reasonable
                                                                               program that contradicted their public
person construing the allegations as a whole would deem the
                                                                               statements is further supported by


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            their knowledge, as disclosed in                     Defendant. Simply stated, even if the Amended Complaint
            the Company's periodic SEC filings                   gives rise to some plausible inference of scienter, it is not the
            throughout the Class Period, of the
                                                                 strong inference required by the PSLRA. Tellabs, 551 U.S.
            several federal and state government
                                                                 at 314. Hence, Claim One is dismissed in full to the extent
            investigations, including by EDPA,
                                                                 it is asserted against Defendants Ersek, Scheirman, Agrawal,
            MDPA, CDCA, SDFL, the FTC,
            and state attorneys general, that                    and Western Union. 16
            ultimately resulted in the Joint
            Settlement and the settlement with
                                                                 C. Claim Two: Defendants Ersek, Scheirman, Agrawal,
            the state attorneys general that were
                                                                 and Koch
            announced in January 2017. As
                                                                 Section 20 of the PSLRA provides that “[e]very person who,
            part of these investigations, Western
                                                                 directly or indirectly, controls any person liable under any
            Union produced many documents
                                                                 provision of this chapter...[s]hall also be liable jointly and
            and witnesses to these regulatory
                                                                 severally with and to the same extent as such controlled
            authorities and claimed to have
                                                                 person....” 15 U.S.C. § 78t(a). To state a prima facie case of
            cooperated in these investigations.
                                                                 control person liability, plaintiffs must allege: (1) a primary
            These investigations provided the
                                                                 violation of the securities laws and (2) control over the
            basis for DOJ's and FTC's findings that
            Western Union's own internal reports,                primary violator by the alleged controlling person.      Maher
            analyses and communications showed                   v. Durango Metals, Inc., 144 F.3d 1302, 1305 (10th Cir.
            that the Company failed to maintain                  1998). To make a showing that a person is a “control
            an effective compliance program, that                person,” plaintiffs must “point to facts which indicate that the
            it knew its agents were complicit                    defendants had possession, direct or indirect, of the power to
            in money laundering and consumer                     direct or cause the direction of the management and policies of
            fraud, and that it failed to discipline              a person, whether through the ownership of voting securities,
            its agents for those violations.                     by contract, or otherwise.”       Adams, 340 F.3d at 1108.
            These investigations also found that                 Allegations that a person is the chief executive officer of a
            agents’ rampant involvement in                       company likely satisfy the control person test, and allegations
            money laundering and consumer fraud                  that a person is the chief financial officer of a company
            were discussed by senior managers                    may also do so when a plaintiff brings claims of securities
            within the Company. Defendants thus                  fraud relating to official reports of the company's financial
            had knowledge of the Company's                       performance. Id. “Section 20 of the Exchange Act contains no
            compliance violations based on both                  requirement that plaintiffs must prove a control person's state
            a) the mass of underlying information
            showing those deficiencies as they                   of mind.” 17     Id. at 1109.
            occurred (including the Company's
            own internal reports, analyses,                       *41 Because Plaintiffs have failed to allege “a primary
            and communications) and b) that                      violation of the securities laws” as asserted under Claim One,
            information having been reviewed                     the Court finds that their Section 20(a) claim asserted under
            in the course of the Company's                       Claim Two is also not viable. See Maher, 144 F.3d at 1305.
            producing it during the various lengthy              Hence, Claim Two is dismissed with respect to Defendants
            government investigations that led to                Ersek, Scheirman, Agrawal, and Koch.
            the Joint Settlement.

                                                                 D. Amendment
                                                                 Finally, the Court notes that Plaintiffs failed to make an
Id. ¶ 543. These and other statements and allegations of
                                                                 argument that their Amended Complaint could be further
fact made in connection with those statements simply do not
                                                                 amended yet again to correct any deficiencies. See generally
provide the necessary detail to show the level of recklessness
                                                                 Response [#63]. Consequently, the Court is not inclined to
required to adequately allege scienter on the part of each



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                                                                   For the reasons set forth above, the Motions [#53, #55] are
permit further leave to amend. See, e.g., In re Gold Res. Corp.
                                                                   GRANTED. The claims are dismissed with prejudice and
Sec. Litig., 776 F.3d at 1118-19 (stating that “[t]he district
                                                                   the Clerk of Court is directed to enter Final Judgment in favor
court did not abuse its discretion in dismissing the complaint
                                                                   of Defendants and close this case.
with prejudice where plaintiff's memorandum contained only
one sentence at the very end of his brief alternatively
requesting leave to amend in the event the district court should   All Citations
decide to dismiss his complaint”).
                                                                   Not Reported in Fed. Supp., 2019 WL 1382823, Fed. Sec. L.
                                                                   Rep. P 100,395
                       IV. Conclusion




                                                           Footnotes


1      [#53] is an example of the convention the Court uses to identify the docket number assigned to a specific
       paper by the Court's case management and electronic case filing system (CM/ECF). This convention is used
       throughout this Order.

2      This case has been referred to the undersigned for all purposes pursuant to D.C.COLO.LCivR 40.1(c) and
           28 U.S.C. § 636(c), on consent of the parties. See [#25, #26].

3      At this stage of the litigation, the Court accepts the well-pled factual allegations of the Amended Complaint
       [#40], as distinguished from conclusory allegations, as true.    Adams v. Kinder- Morgan, Inc., 340 F.3d
       1083, 1088 (10th Cir. 2003). The court does not “take as true the complaint's legal conclusions.” Dronsejko
       v. Thornton, 623 F.3d 658, 666 (10th Cir. 2011).

4      Despite Defendants having only admitted wrong-doing through December 2012, Plaintiffs make much of the
       fact that the FTC reviewed evidence through October 2015 in making its findings of fact, even though they
       admit that the FTC generally did not distinguish between pre- and post- 2012 conduct. See, e.g., Response
       [#63] at 11-12.

5      The Amended Complaint [#40] is 176 pages long and consists of 580 paragraphs. The Court appreciates
       the inclusion of a lengthy Table of Contents, and understands that the stringent pleading requirements of
       the PSLRA may not promote brevity and conciseness in drafting complaints. Nevertheless, the Amended
       Complaint is packed with redundant factual and legal allegations which, if omitted, would likely reduce its
       length by more than half. Plaintiffs’ counsel do themselves no favors by including such redundant material,
       which significantly prolongs judicial review. Because the filing of motions to dismiss is common in securities
       fraud cases and because the PSLRA mandates that cases must be stayed while motions to dismiss are
       pending, filing of prolix complaints works against the parties’ interests and should be avoided.

6      The position of Monitor was a requirement of the Southwest Border Agreement (“SBA”) signed on February
       11, 2010, whose job was to monitor various aspects of Western Union's compliance requirements set out in
       the SBA. See Am. Compl. [#40] ¶¶ 86, 235.

7      Due to the repetitive nature of many of the statements to which Plaintiffs direct the Court's attention, the
       Court notes that it does not separately analyze every single statement but, rather, simply analyzes a material




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       and representative sample of each category throughout Section III.B. However, the Court has considered the
       pleadings in their entirety. See     Adams, 340 F.3d at 1093.

8      “Structuring” is an illegal practice in which a party evades “the law's recording and reporting requirements by
       breaking large transfers into multiple transactions at smaller amounts below the legal reporting threshold.”
       Am. Compl. [#40] ¶ 63. Hong Fai was a Western Union agent which:

       sent over $126 million in Western Union transactions from December 2007 through March 6, 2012. This
       agent was not terminated until March 19, 2012 even though Western Union admitted to DOJ in the Joint
       Settlement that “[a]s early as June 2007, [the Company] was aware of ‘significant’ compliance failures at Hong
       Fai involving structured transactions and failure to file [Suspicious Activity Reports (“SARs”) ] for suspicious
       transactions.” This knowledge was based on over a dozen onsite or transaction reviews that Western Union
       conducted. Western Union admitted that these reviews showed that the agent “repeatedly...violated certain
       elements of the [Bank Secrecy Act, as amended by the USA Patriot Act in 2001 ( 31 U.S.C. § 5311, et seq.),
       and rules promulgated thereunder (collectively, the “BSA”) ] or certain aspects of Western Union policy.”
       Despite Hong Fai's known and repeated violations that should have resulted in disciplinary action under
       Western Union policy, Western Union did not terminate the agent until 2012, only after law enforcement and
       Hong Fai's bank continued to raise concerns about illegal transactions and Hong Fai's failure to file SARs.
       Western Union also did not file any SARs identifying Hong Fai as a suspicious subject until after it terminated
       Hong Fai in 2012.

       Id. ¶ 186; see also ¶¶ 187, 195.

9      “...Western Union admitted that between 2005 and 2010, Shen Zhou, one of four particularly egregious agents
       that sent structured transactions to China, sent more than $310 million to China, approximately half of which
       were structured.” Am. Compl. [#40] ¶ 112. “The head of Shen Zhou was arrested in 2010 for his structuring
       activities and pled guilty in December 2013 to structuring international money transfers.” Id. ¶ 188. “After he
       was arrested, he told law enforcement authorities that a Western Union Sales employee told him that he
       could open another Western Union agent location in the same area. This Sales employee even advised the
       agent on how to get away with this by cautioning him to use a relative's name instead of his own name when
       opening the new location.” Id. ¶ 196. “[A]t a meeting of the Board's Governance Committee on September
       22, 2010, attended by Defendant Ersek, it was discussed in reference to CDCA's investigation of Shen Zhou
       that a “large” Western Union agent in California was the subject of a criminal money-laundering investigation
       and that Western Union was “working with law enforcement to investigate the underlying activity.” Id. ¶ 251.

10     Am. Compl. [#40] ¶¶ 360-61 (see § III.B.1.a.ii.), ¶ 374 (see § III.B.1.a.i.8.), ¶ 483 (see §

       III.B.1.a.i.15.), ¶ 489 (see § III.B.1.a.i.16.), and ¶ 493 (see § III.B.1.a.i.17.).

11     The cited paragraph actually states, “[o]n February 14, 2013, 2012, at the Goldman Sachs Technology &
       Internet Conference...,” but the context of this paragraph indicates that “2013,” not “2012,” is the correct date.

12     “[N]otwithstanding the usual rule that a court should consider no evidence beyond the pleadings on a Federal
       Rule of Civil Procedure 12(b)(6) motion to dismiss, the district court may consider documents referred to in
       the complaint if the documents are central to the plaintiff's claim and the parties do not dispute the documents’
       authenticity.” Hampton v. root9B Techs., Inc., 897 F.3d 1291, 1297 (10th Cir. 2018) (internal quotation marks
       and brackets omitted). Thus, the Court can examine this document (and others cited in this Order) as one that
       is centrally referred to in the Amended Complaint and whose authenticity is not disputed. Here, specifically,
       the Court notes that, although only one page of the transcript is provided by Defendants, Plaintiffs have not




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       disputed the accuracy of the transcript or argued that a full transcript is required in order for the Court to
       accurately review its contents.

13     Am. Compl. [#40] ¶ 360 (see § III.B.1.a.ii.), ¶ 363 (see § III.B.1.b.4.), ¶¶ 374-75 (see §

       III.B.1.a.i.8.), ¶ 381 (see § III.B.1.a.ii.), ¶ 388 (see § III.B.1.b.6.), ¶ 398 (see § III.B.1.b.7.), ¶ 417

       (see § III.B.1.a.ii.), ¶ 447 (see § III.B.1.b.10.), and ¶ 459 (see § III.B.1.b.11.).

14     As pointed out by the Court in Fleming, “the scienter pleading requirements of the PSLRA supercede the
       provisions of Rule 9(b) in securities fraud cases.”       264 F.3d at 1255 n.13.

15     Am. Compl. [#40] ¶¶ 321-22 (see § III.B.1.c.2.), ¶ 366 (see § III.B.1.b.5.), ¶¶ 374-75 (see

       III.B.1.a.i.8.), ¶¶ 385-86 (see § III.B.1.c.9.), ¶ 388 (see § III.B.1.b.6.), ¶ 411 (see § III.B.1.b.9.), ¶ 425

       (see § III.B.1.c.14.), ¶ 447 (see § III.B.1.b.10.), ¶ 448 (see § III.B.1.c.23.), ¶ 456 (see § III.B.1.c.25.),

       ¶ 465 (see § III.B.1.b.12.), and ¶ 474 (see § III.B.1.b.13.).

16     The Court reiterates once more that it is well aware that Western Union has been the subject of various
       investigations and has sometimes even admitted to misdeeds of varying levels occurring, in part, throughout
       the class period, as discussed throughout this Order and as explained at length in the Amended Complaint
       [#40]. However, while certainly informative, the legal standards under which those investigations occurred
       and by which Western Union's actions were measured are not the same as the standards for the securities
       law claims made here under the PSLRA. In other words, as the Court has found, simply because Western
       Union may have legally erred in some ways in no way automatically means that Western Union has also
       violated the PSLRA as claimed here.

17     “Section 20 does state that a controlling person is not liable if he acted in good faith and did not induce
       the acts on which the liability of the controlled person is founded. However, courts have held that these
       are affirmative defenses, to be pleaded and proved by defendants.”              Adams, 340 F.3d at 1109 n.5 (citing
         Kaplan v. Rose, 49 F.3d 1363, 1382-83 (9th Cir. 1994);              Gould v. Am.- Haw. S.S. Co., 535 F.2d 761,
       779 (3d Cir. 1976) ).



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                       TAB No. 20




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                                                                  The following facts are drawn from the Consolidated Class
                     2021 WL 2555437                              Action Complaint (“CCAC”) and documents referenced
        United States District Court, S.D. New York.              therein and are accepted as true for the purposes of this
                                                                  motion.
     Daniel YANNES, Individually and On Behalf
      of All Others Similarly Situated, Plaintiff,                SCWorx, a Delaware corporation with its headquarters in
                          v.                                      New York City, is a provider of supply chain management
                                                                  software and related data analytics for healthcare providers.
   SCWORX CORP., and Marc S. Schessel, Defendants.
                                                                  CCAC ¶¶ 3, 22. Schessel is the Company's founder,
                      20-cv-03349 (JGK)                           Chairman, and Chief Executive Officer (“CEO”), both
                              |                                   throughout the Class Period and up to the present. Id. ¶ 24.
                      Signed 06/21/2021                           SCWorx's shares trade publicly on the NASDAQ exchange
                                                                  under the symbol “WORX.” Id. ¶ 22.
Attorneys and Law Firms
                                                                  In early 2020, COVID-19 escalated to a global pandemic that
Gregory Bradley Linkh, Glancy Prongay & Murray LLP, New           “pushed hospital systems to the brink of collapse.” Id. ¶ 33. In
York, NY, for Plaintiff.                                          response to the urgent need for critical medical supplies, the
                                                                  defendants announced in a press release on March 20, 2020
Carole Rose Bernstein, Law Offices of Carole R. Bernstein,
                                                                  the formation of a wholly-owned subsidiary, Direct-Worx
Westport, CT, for Defendant SCWorx Corp.
                                                                  LLC, to supply healthcare providers with critical personal
Paul Richard Bessette, Michael J. Biles, King & Spalding,         protective equipment (“PPE”). Id. ¶ 34.
L.L.P., Austin, TX, for Defendant Marc S. Schessel.
                                                                  On April 13, 2020, the defendants announced a deal, valued
                                                                  at $840 million, to sell COVID-19 rapid test kits to a virtual
       MEMORANDUM OPINION AND ORDER                               healthcare provider named Rethink My Healthcare (“RMH”).
                                                                  Id. ¶ 5. The defendants' press release stated that RMH had
JOHN G. KOELTL, District Judge:                                   signed a committed purchase order for two million test kits
                                                                  in the first week, with provision for additional weekly orders
 *1 This is a securities action brought on behalf of a putative   of two million kits per week for twenty-three weeks (the
class of all purchasers of publicly traded common stock of        “Purchase Order”), valued at $35 million per week. Id. ¶¶ 5,
SCWorx Corporation (“SCWorx”) between April 13, 2020              39. On news of the deal, SCWorx's share price increased from
and April 17, 2020, inclusive (the “Class Period”). The lead      $2.25 per share to $12.02 per share. Id. ¶ 40.
plaintiff, Daniel Yannes, filed a Consolidated Class Action
Complaint on October 19, 2020.                                    The following day, Utopia Capital Research, a securities
                                                                  analyst, issued the “SCWorx Short Report” identifying
The plaintiff asserted violations of Section 10(b) of the         “red flags” about SCWorx and raising doubts about its
Securities Exchange Act of 1934 (the “Exchange Act”), 15          purported deal with RMH. Id. ¶ 50. The report referenced
U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder, 17        the SCWorx's “atrocious financials, dilution, [Schessel's]
C.F.R. § 240.10b-5, against SCWorx and Marc S. Schessel,          so-called ‘dubious’ past as an MMA (mixed martial arts)
the Chief Executive Officer of SCWorx, as well as a claim         promot[er] that settled a securities violations class action
under Section 20(a) of the Exchange Act, 15 U.S.C. § 78t(a),      lawsuit, a reverse merger involving thousands of cheap
against Schessel. The defendants now move to dismiss the          shares, press releases making hard to believe claims, terrible
complaint for failure to state a claim pursuant to Federal Rule   financials and ongoing dilution.” Id. The report also noted
of Civil Procedure 12(b)(6). For the reasons explained below,     that the committed purchase order from RMH for two million
the defendants' motion is denied.                                 COVID-19 test kits, with provision for additional weekly
                                                                  orders of two million units for twenty-three weeks, was “very
                                                                  difficult to believe in light of the fact that the number of
                                                                  COVID-19 test[s] carried out in the USA amount[s] to only
                              I.
                                                                  298,499 since January 21, 2020” and because RMH was a



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small company specializing in virtual healthcare services. Id.
In response to this report, SCWorx's common stock closed          In response to the Hindenburg Report, SCWorx's share price
down 30% at $8.45 per share on April 14, 2020, on over 18         fell by almost 14% from its opening price on April 17, 2020
million shares. Id. ¶ 8.                                          of $7.77 to close at $6.72. Id. ¶ 56. The stock price continued
                                                                  to fall in the coming trading days by $0.97 or about 15% from
 *2 On April 15, 2020, the defendants discussed the               the closing price on April 17, 2020, to close at $5.75 per share
COVID-19 rapid test kits deal on a conference call with           on April 21, 2020, on unusually heavy trading volume. Id.
analysts and investors, during which Schessel told investors
that he had “spent weeks researching over 30 product different    On April 21, 2020, the SEC ordered the suspension of trading
lines [sic], distributors, intermediaries until [he] found an     in SCWorx securities, effective April 22, due to “questions
actual manufacturer that had a kit that ... had the proper        and concerns regarding the adequacy and accuracy of publicly
FDA authorizations under the [E]mergency [A]uthorization          available information in the marketplace concerning SCWorx
[A]ct ... and had enough capacity on [its] line where [he]        including (1) press releases and other publicly disseminated
could purchase 25% of [its] capacity with options to grow         statements, since at least April 13, 2020, about SCWorx's
that over time.” Id. ¶¶ 42-43. On April 16, 2020, the             agreement to sell COVID-19 tests, and (2) SCWorx's current
defendants filed a Form 8-K with the Securities Exchange          report on Form 8-K filed on April 16, 2020, concerning
Commission (“SEC”), which revealed for the first time the         SCWorx's agreement to sell COVID-19 tests.” Id. ¶¶ 14, 57.
purported supplier of the COVID-19 rapid test kits was
ProMedical Equipment Pty Ltd. (“ProMedical”). Id. ¶ 45.           On April 30, 2020, the defendants filed a Form 8-K with the
The Form 8-K stated that on April 10, 2020, concurrently          SEC, in which the defendants admitted that ProMedical could
with SCWorx's acceptance of a purchase order from RMH,            not supply the required tests, and consequently, the purchase
SCWorx entered into a supply agreement with ProMedical            order and supply agreements were terminated. Id. ¶¶ 15, 58.
(the “Supply Agreement”), pursuant to which SCWorx agreed         The Form 8-K also disclosed that a board member, Robert
to purchase and ProMedical “agreed to supply an aggregate of      Christie, had resigned from the board of directors on April 23,
52 million COVID-19 Rapid Testing Units over a six month          2020. Id. ¶ 59. In a subsequent Form 8-K, on May 5, 2020,
period, comprised of 2 million units per week, at a per unit      SCWorx announced that on April 29, 2020, the employment
price of $13.00, commencing April 24, 2020.” Id.                  of James (Tad) Schweikert at the Chief Operating Officer was
                                                                  terminated by mutual agreement. Id. ¶ 60.
On April 17, 2020, given the new information about the
purported test kit supplier, Hindenburg Research issued a         The first complaint in this action was filed on April 29, 2020,
report entitled “SCWorx: Evidence Points to its Massive           and after appointment of the lead plaintiff, the CCAC was
COVID-19 Test Deal Being Completely Bogus, Price Target           filed on October 19, 2020. See ECF Nos. 1, 45. The plaintiff
Back to $2.25 Or Lower” (the “Hindenburg Report”). The            alleges that between April 13, 2020 and April 17, 2020,
Hindenburg Report concluded that, based on certain red flags,     inclusive, the defendants' statements about its COVID-19
the deal was “completely bogus” and a “scam.” Id. ¶¶ 52,          rapid test kits deal were materially false and misleading,
55. The Hindenburg Report stated that: (1) Schessel, the          causing the plaintiff and other class members to suffer
Company's CEO had “a checkered past,” including pleading          significant losses, because the defendants knew or recklessly
guilty to felony tax evasion charges and paying a judgement       disregarded that: (i) SCWorx's customer, RMH, was “unlikely
in a lawsuit alleging he submitted fraudulent expense reports;    to be able to pay for or handle the hundreds of millions of
(2) ProMedical, the purported supplier of the tests, was “laden   dollars in test kit orders provided for in the purchase order;
with red flags,” including its CEO's being a convicted rapist     and (ii) SCWorx's COVID-19 test kit supplier, ProMedical,
who formerly ran another business accused of defrauding its       could not supply the quantity or quality of tests described in
investors and customers and the company was accused of            the purchase order or supply agreement.” Id. ¶¶ 16-17.
“fraudulently mispresent[ing] itself” as an authorized seller
of COVID-19 tests manufactured by a Chinese company
Wondfo; and (3) RMH, as a “relatively unknown company ...
                                                                                                II.
founded less than 2 years ago,” did not appear capable of
“com[ing] up with the upwards of the $35 million per week it       *3 In deciding a motion to dismiss pursuant to Rule 12(b)
has committed to purchasing from SCWorx.” Id. ¶¶ 52-54.           (6), the allegations in the complaint are accepted as true,



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and all reasonable inferences must be drawn in the plaintiff's      documents that must be filed with the SEC and documents
                                                                    that both “bear on the adequacy” of SEC disclosures and are
favor.    McCarthy v. Dun & Bradstreet Corp., 482 F.3d 184,
191 (2d Cir. 2007). 1 The Court's function on a motion to           “public disclosure documents required by law.” Kramer v.
dismiss is “not to weigh the evidence that might be presented       Time Warner, Inc., 937 F.2d 767, 773-74 (2d Cir. 1991); see
at a trial but merely to determine whether the complaint            also Plumbers & Pipefitters Nat'l Pension Fund v. Orthofix
itself is legally sufficient.” Goldman v. Belden, 754 F.2d          Int'l N.V., 89 F. Supp. 3d 602, 607-08 (S.D.N.Y. 2015);
1059, 1067 (2d Cir. 1985). The Court should not dismiss the            Silsby v. Icahn, 17 F. Supp.3d 348, 353-54 (S.D.N.Y.
complaint if the plaintiff has stated “enough facts to state        2014), aff'd sub nom. Lucas v. Icahn, 616 F. App'x 448 (2d
a claim to relief that is plausible on its face.”    Bell Atl.      Cir. 2015).
Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A claim has
facial plausibility when the plaintiff pleads factual content
that allows the court to draw the reasonable inference that the                                  III.
defendant is liable for the misconduct alleged.”       Ashcroft
                                                                    The defendants move to dismiss the plaintiff's Section 10(b)
v. Iqbal, 556 U.S. 662, 678 (2009). While the Court should
                                                                    and Rule 10b-5 claims on the grounds that the plaintiff has
construe the factual allegations in the light most favorable to
                                                                    not adequately pleaded (1) the requisite scienter by SCWorx
the plaintiff, “the tenet that a court must accept as true all of
                                                                    or Schessel, and (2) that the defendants made a materially
the allegations contained in the complaint is inapplicable to
                                                                    false statement of fact or omission. The defendants also move
legal conclusions.” Id.
                                                                    to dismiss the plaintiff's Section 20(a) claim against Schessel
                                                                    because the plaintiff allegedly has failed to plead a primary
A claim under Section 10(b) of the Exchange Act sounds in
                                                                    violation of federal securities law by SCWorx.
fraud and must meet the pleading requirements of  Rule
9(b) of the Federal Rules of Civil Procedure and of the
Private Securities Litigation Reform Act (“PSLRA”), 15
                                                                                                  A.
U.S.C. § 78u-4(b).      Rule 9(b) requires that the complaint
“(1) specify the statements that the plaintiff contends were        To state a claim for securities fraud Section 10-b of the
fraudulent, (2) identify the speaker, (3) state where and when      Exchange Act and SEC Rule 10b-5 “a plaintiff must allege
the statements were made, and (4) explain why the statements        that each defendant (1) made misstatements or omissions of
                                                                    material fact, (2) with scienter, (3) in connection with the
were fraudulent.”       ATSI Commc'ns, Inc. v. Shaar Fund,
                                                                    purchase or sale of securities, (4) upon which the plaintiff
Ltd., 493 F.3d 87, 99 (2d Cir. 2007). The PSLRA similarly
                                                                    relied, and (5) that the plaintiff's reliance was the proximate
requires that the complaint “specify each statement alleged
                                                                    cause of its injury.” Stichting Depositary APG Developed
to have been misleading [and] the reason or reasons why
                                                                    Mkts. Equity Pool v. Synchrony Fin. (In re Synchrony Fin.
the statement is misleading,” and it adds the requirement
                                                                    Sec. Litig.), 988 F.3d 157, 167 (2d Cir. 2021).
that “if an allegation regarding the statement or omission is
made on information and belief, the complaint shall state
                                                                     *4 The scienter required to support a securities fraud claim
with particularity all facts on which that belief is formed.” 15
                                                                    can be “intent to deceive, manipulate, or defraud, or at
U.S.C. § 78u-4(b)(1);      ATSI, 493 F.3d at 99.
                                                                    least knowing misconduct.”       SEC v. First Jersey Sec.,
                                                                    Inc., 101 F.3d 1450, 1467 (2d Cir. 1996). The PSLRA
When presented with a motion to dismiss pursuant to
                                                                    requires that a complaint alleging securities fraud “state
Rule 12(b)(6), the Court may consider documents that are
                                                                    with particularity facts giving rise to a strong inference
referenced in the complaint, documents that the plaintiff
                                                                    that the defendant[s] acted with the required state of
relied on in bringing suit and that are either in the plaintiff's
                                                                    mind.” 15 U.S.C. § 78u-4(b)(2). “The plaintiff may satisfy
possession or that the plaintiff knew of when bringing suit,
                                                                    this requirement by alleging facts (1) showing that the
or matters of which judicial notice may be taken. See
                                                                    defendants had both motive and opportunity to commit the
   Chambers v. Time Warner, Inc., 282 F.3d 147, 153 (2d Cir.        fraud or (2) constituting strong circumstantial evidence of
2002). The Court can take judicial notice of public disclosure
                                                                    conscious misbehavior or recklessness.”       ATSI, 493 F.3d


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at 99. As to the second method of establishing scienter,             review or check information that they had a duty to monitor,
“courts have approved of claims when plaintiffs have
                                                                     or ignored obvious signs of fraud,” Novak, 216 F.3d at 308,
specifically alleged defendants' knowledge of facts or access
                                                                     which is what the plaintiff has alleged here.
to information contradicting their public statements. Under
such circumstances, defendants knew or, more importantly,
                                                                     The CCAC does not merely allege that the defendants
should have known that they were misrepresenting material
                                                                     should have predicted ProMedical defaulting on the Supply
facts related to the corporation.” Pirnik v. Fiat Chrysler
                                                                     Agreement. Rather, the CCAC references information that
Autos., N.V., 15-CV-7199,          2016 WL 5818590, at *6            was publicly available at the time the defendants first
                                                                     announced their COVID-19 test kit deal on April 13,
(S.D.N.Y. Oct. 5, 2016); see also      Novak v. Kasaks, 216
                                                                     2020, and that the defendants could have and should
F.3d 300, 308 (2d Cir. 2000) (noting that “an egregious refusal
                                                                     have learned in the course of reasonable due diligence
to see the obvious, or to investigate the doubtful,” may in
                                                                     about a potential business partner. As referenced in the
some cases give rise to an inference of recklessness).
                                                                     Hindenberg Report, Wondfo issued an “official statement”
                                                                     on April 5, 2020, stating that it had “seen an infringement
Courts must conduct the scienter analysis holistically to
                                                                     activity in connection with a company named [ProMedical]
determine whether “all of the facts alleged, taken collectively,
                                                                     fraudulently misrepresent itself as being authorized ... to
give rise to a strong inference of scienter.”    Tellabs, Inc.       register and distribute” Wondfo's COVID-19 Antibody Test,
v. Makor Issues & Rights, Ltd., 551 U.S. 308, 323 (2007).            and clarifying that ProMedical “was not an authorized
“[I]n determining whether the pleaded facts give rise to             representative nor distributor of Wondfo in Australia,
a ‘strong’ inference of scienter, the court must take into           America, and other countries/districts.” See King Decl.
account plausible opposing inferences [and] [a] complaint            Ex. 4, at 8. Furthermore, also based on publicly available
will survive ... only if a reasonable person would deem the          information, the Hindenburg Report noted that ProMedical's
inference of scienter cogent and at least as compelling as any       CEO was a convicted felon and had previously run a
opposing inference one could draw from the facts alleged.”           company that was accused of defrauding its customers and
   Id. at 323-24.                                                    investors. Id. at 11-12. Given that this information was
                                                                     publicly available and accessible to Schessel prior to the
In this case, the defendants argue that the plaintiff has failed     defendants' announcement of its COVID-19 test kit deal, it
to plead scienter adequately because the CCAC does not               weighs in favor of an inference that Schessel either knew
allege facts that constitute “strong circumstantial evidence         about ProMedical's inability to supply the quantity or quality
                                                                     of tests described in the Supply Agreement, or showed
of conscious misbehavior or recklessness.”            ATSI, 493
F.3d at 99. The defendants' principal arguments are that (1)         a reckless disregard for it. See        Orthofix, 89 F. Supp.
Schessel cannot be held liable for conscious recklessness            3d at 618 (scienter inference supported by the allegation
because he failed to predict that ProMedical would breach            that information regarding the company's finances were
the Supply Agreement, and (2) the plaintiff has not identified       “reasonably available” to the chief financial officer, even
any information that, at the time SCWorx entered into and            though the plaintiff did not specifically allege that the officer
publicly disclosed the Supply Agreement with ProMedical,             read the reports containing this information).
placed Schessel or SCWorx on notice of ProMedical's
inability to supply the quantity or quality of tests described in     *5 Further supporting an inference of scienter are Schessel's
the Supply Agreement.                                                representations to investors that he personally “spent
                                                                     weeks researching over 30 different lines [sic], distributors,
These arguments are unpersuasive. The defendants are correct         intermediaries” before finding a test kit manufacturer that
that allegations of a defendant's failure to predict future events   appeared to “to have all the attributes,” including proper
do not create a strong inference of scienter based on conscious      FDA authorization and “enough capacity,” CCAC ¶ 43, but
                                                                     apparently failed to detect–or, worse yet, ignored–the red
recklessness, see, e.g.,     City of Pontiac Policemen's &           flags that the analysts at Hindenburg identified in one day. See
Firemen's Ret. Sys. v. UBS AG, 752 F.3d 173, 187 (2d                 Blank v. TriPoint Glob. Equities, LLC, 338 F. Supp. 3d 194,
Cir. 2014). However, “securities fraud claims typically have         215 (S.D.N.Y. 2018) (finding circumstances indicative of
sufficed to state a claim based on recklessness ... where            conscious recklessness where the complaint alleged that the
plaintiffs alleged facts demonstrating that defendants failed to


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defendant failed to investigate or else he would have known        $840 million, the Company “reported tangible assets of only
about the fraud at issue all the while assuring the plaintiffs     approximately $1.2 million,” and announcement of the deal
                                                                   more than quintupled the Company's share price–and that
that he conducted due diligence);       Citiline Holdings, Inc.
                                                                   Schessel “held himself out to investors as the person most
v. iStar Fin. Inc., 701 F. Supp. 2d 506, 516 (S.D.N.Y. 2010)
                                                                   knowledgeable about SCWorx's business.” CCAC ¶¶ 5-6, 62.
(finding of scienter supported where the defendants “are
                                                                   Therefore, while the importance of the test kit deal to the
alleged to have told the investing public that they monitored
                                                                   Company cannot establish scienter on its own, it supplements
the value of their portfolio on a nearly real-time basis”).
                                                                   the plaintiff's other evidence of scienter.
Moreover, the fact that the Hindenberg Report, questioning
                                                                   Therefore, drawing all inferences in the plaintiff's favor, as
the validity of the defendants' COVID-19 test kit deal, was
                                                                   the Court must, the above allegations support finding that the
published only one day after the defendants' public disclosure
                                                                   “danger”–namely, ProMedical's inability to supply test kits
of the Supply Agreement with ProMedical weighs in favor
                                                                   as described in the Supply Agreement–was “either known
of inferring scienter based on recklessness. See        In re      to [Schessel] or so obvious that [Schessel] must have been
Salix Pharms., Ltd., No. 14-CV-8925, 2016 WL 1629341,
                                                                   aware of it,” Novak, 216 F.3d at 308, and suffices to allege
at *14 (S.D.N.Y. Apr. 22, 2016) (finding that the “ease
                                                                   scienter adequately at this stage of the litigation.
with which potential acquirers discovered [the defendant's]
true inventory levels ... within days of performing their due
                                                                    *6 The defendants argue that a stronger competing inference
diligence” supported a strong inference of scienter);      In      to plaintiff's theory of scienter is that SCWorx was simply
re Bear Stearns Companies, Inc. Sec., Derivative, & ERISA          duped by ProMedical, or that ProMedical failed to deliver
Litig., 763 F. Supp. 2d 423, 517 (S.D.N.Y. 2011) (finding an       on its obligations, through no fault of the defendants. To
inference of scienter where “in the course of one weekend the      establish scienter, the plaintiff's inference of scienter must
overvaluation of assets and underestimation of risk exposure       be “cogent and at least as compelling as any opposing
in [the company's] financial statements” was discovered),
                                                                   inference of nonfraudulent intent.”   Tellabs, 551 U.S. at
on reconsideration, No. 07-CV-10453, 2011 WL 4072027
                                                                   314. An inference of scienter need not be “irrefutable, i.e.,
(S.D.N.Y. Sept. 13, 2011), and on reconsideration, No. 07-
                                                                   of the ‘smoking-gun’ genre, or even the most plausible of
CV-10453, 2011 WL 4357166 (S.D.N.Y. Sept. 13, 2011).
                                                                   competing inferences.”        Id. at 324; see also       City of
The plaintiff's scienter allegations are further supported by      Pontiac Gen. Emps.' Ret. Sys. v. Lockheed Martin Corp.,
the “core operations” doctrine, which provides that “[w]hen        875 F. Supp. 2d 359, 372 (S.D.N.Y. 2012) (“[A]t the motion
a plaintiff has adequately alleged that the defendant made         to dismiss stage, a tie on scienter goes to the plaintiff.”).
false or misleading statements, the fact that those statements     Here, the particular allegations that information highlighting
concerned the core operations of the company supports the          ProMedical's inability to supply the quantity or quality of
inference that the defendant knew or should have known             tests described in the Supply Agreement was available to the
                                                                   defendants prior to the announcement of the test kit deal,
the statements were false when made.”            In re Atlas Air
                                                                   coupled with Schessel's representations to investors about his
Worldwide Holdings, Inc. Sec. Litig., 324 F. Supp. 2d 474,
                                                                   involvement in selecting ProMedical as the supplier, and the
489 (S.D.N.Y. 2004). Because the “core operations” doctrine
                                                                   fact that the Hindenburg Report was issued within twenty-
predated the enactment of the PSLRA, the Court of Appeals
                                                                   four hours of revealing ProMedical's involvement in the deal
for the Second Circuit has “not yet expressly addressed
                                                                   make the inference that, at the very least, Schessel consciously
whether, and in what form, the ... doctrine survives as a
                                                                   disregarded red flags, at least as compelling as the inference
viable theory of scienter.” Frederick v. Mechel OAO, 475
                                                                   that ProMedical duped the defendants.
F. App'x 353, 356 (2d Cir. 2012). But, at the very least, the
doctrine can “provide supplemental support for allegations of
                                                                   Moreover, the timing and circumstances of resignations,
scienter, even if [it] cannot establish scienter independently.”
                                                                   although not themselves sufficient, can add to a pleading of
   New Orleans Emps. Ret. Sys. v. Celestica, Inc., 455 F.
                                                                   circumstantial evidence of fraud.     Orthofix, 89 F. Supp. 3d
App'x 10, 14 n.3 (2d Cir. 2011). The CCAC alleges that
SCWorx's test kit deal was “an exceptionally important” one        at 619;   In re Sadia, S.A. Sec. Litig., 643 F. Supp. 2d 521,
for the Company–given that the deal had a total value of           534 (S.D.N.Y. 2009) (crediting termination of chief financial



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officer and resignation of chairman and vice chairman that         A misrepresentation or omission is material if there is a
occurred less than two weeks after the company's fraud             substantial likelihood that a reasonably prudent investor
was revealed). Here, within two weeks of the issuance of           would consider it important in making a decision. See
the Hindenburg Report, SCWorx's board member, Robert
                                                                       Basic Inc. v. Levinson, 485 U.S. 224, 231 (1988). When
Christie, resigned, and its Chief Operating Officer was
                                                                   evaluating an alleged omission, courts consider whether there
terminated by mutual agreement, thus adding some further
                                                                   is “a substantial likelihood that the disclosure of the omitted
weight to an overall inference of scienter.
                                                                   fact would have been viewed by the reasonable investor as
                                                                   having significantly altered the ‘total mix’ of information
In light of the foregoing, a reasonable person would deem
an inference of scienter for Schessel “at least as compelling      made available.”     TSC Indus., Inc. v. Northway, Inc., 426
as any opposing inference one could draw from the facts            U.S. 438, 449 (1976); see also     Feinman v. Dean Witter
alleged.”  Tellabs, 551 U.S. at 324. Furthermore, because          Reynolds, Inc., 84 F.3d 539, 540-41 (2d Cir. 1996).
the CCAC properly alleges scienter against a key officer
of SCWorx, Schessel, it necessarily alleges scienter against        *7 The defendants argue that SCWorx's disclosure on April
                                                                   30, 2020 that it terminated the Supply Agreement because
SCWorx itself. See         Teamsters Loc. 445 Freight Div.
                                                                   ProMedical could not supply the required tests does not
Pension Fund v. Dynex Cap. Inc., 531 F.3d 190, 195 (2d
                                                                   prove that the defendants' earlier statements were false when
Cir. 2008) (“In most cases, the most straightforward way to
                                                                   made. But contrary to the defendants' contention, the plaintiff
raise [an inference of scienter] for a corporate defendant will
                                                                   has not merely attempted to plead “fraud-by-hindsight.”
be to plead it for an individual defendant.”);    Plumbers &       Rather, as discussed above, the plaintiff alleges that publicly
Pipefitters Local Union No. 630 Pension-Annuity Tr. Fund           accessible information indicating that ProMedical could not
v. Arbitron, Inc., 741 F. Supp. 2d 474, 491 (S.D.N.Y. 2010)        supply the required tests was available to the defendants
(“Because the plaintiffs have successfully pleaded scienter        prior to SCWorx's announcement of the Purchase Order on
as to ... Arbitron's then-president, CEO, and chairman, they       April 13, 2020. Courts in this circuit have held that “[t]he
have also pleaded corporate scienter as to Arbitron.”); see also   incantation of fraud-by-hindsight will not defeat an allegation
                                                                   of misrepresentations and omissions that were misleading and
   Orthofix, 89 F. Supp. 3d at 619.
                                                                   false at the time they were made.”         In re Bear Stearns,
Accordingly, the plaintiff has alleged sufficient facts to
                                                                   763 F. Supp. 2d at 487; see also        In re Atlas Air, 324
support a strong inference of scienter with respect to both
                                                                   F. Supp. 2d at 494 (rejecting defendants' fraud-by-hindsight
defendants.
                                                                   claim where plaintiffs' allegations that “the company failed
                                                                   to take into account information that was available to it” at
                                                                   the time it issued its incorrect financial results sufficiently
                              B.
                                                                   pleaded fraud);    In re Salix, 2016 WL 1629341, at *17.
The defendants next argue that the plaintiff has failed to
adequately allege that the defendants made a materially false      Nor does the plaintiff's allegation that on April 30, 2020,
statement or omission. The defendants argue that the plaintiff     the defendants admitted that ProMedical could not supply
failed to (1) plead facts showing that the allegedly challenged    the required tests, make this a fraud-by-hindsight case. “[The
statements were false or misleading when they were made,           Court of Appeals for the] Second Circuit has explicitly
and (2) plead that the defendants had a duty to disclose the       recognized that plaintiffs may rely on post-class period data
facts that allegedly suggested RMH would be unable to pay          to confirm what a defendant should have known during the
SCWorx for the test kits.                                          class period.” In re Vivendi Universal, S.A., No. 02-
                                                                   CV-5571, 2004 WL 876050, at *6 (S.D.N.Y. Apr. 22, 2004).
Claims brought pursuant to Section 10(b) of the Exchange
                                                                   See     In re Scholastic Corp. Sec. Litig., 252 F.3d 63, 72
Act require the plaintiff to plead a material misstatement
                                                                   (2d Cir.2001);     Rothman v. Gregor, 220 F.3d 81, 92 (2d
or omission. See      In re Morgan Stanley Info. Fund Sec.
                                                                   Cir.2000);    Novak, 216 F.3d at 312-13; see also In
Litig., 592 F.3d 347, 360 (2d Cir. 2010);   Lattanzio v.
                                                                   re Salix, 2016 WL 1629341, at *17 (“Although some of
Deloitte & Touche LLP, 476 F.3d 147, 153 (2d Cir. 2007).


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Plaintiffs' allegations are based on events that occurred after        same day as it announced its deal with RMH–an omission
the Class Period, Plaintiffs have met their burden of pleading         that the plaintiff argues made the test kit deal appear more
scienter under the PSLRA, given the events alleged to have             legitimate than it was. And while the defendants had no
that occurred during the Class Period.”). Statements provided          general duty to disclose all material information, “[o]nce a
in defendants' April 30, 2020 Form 8-K, which terminated               party chooses to speak, it has a duty to be both accurate and
the test kit deal given doubts as to ProMedical's ability to
                                                                       complete.” Caiola v. Citibank, N.A., 295 F.3d 312, 331 (2d
fulfill its obligations under the Supply Agreement such as
                                                                       Cir. 2002). As a result, “an entirely truthful statement may
securing the requisite FDA approvals, serve to confirm what
                                                                       provide a basis for liability if material omissions related to
the defendants were at least reckless in not knowing when the
                                                                       the content of the statement make it ... materially misleading.”
deal was announced on April 13 and when they reaffirmed
the deal's legitimacy to investors throughout the class period,           In re Bristol Myers Squibb Co. Sec. Litig., 586 F. Supp.
namely, the numerous concerns about ProMedical and its                 2d 148, 160 (S.D.N.Y. 2008); see also       City of Roseville
leadership. Therefore, the plaintiff has adequately alleged that       Employees' Ret. Sys. v. EnergySolutions, Inc., 814 F. Supp.
the defendants made a material misrepresentation.                      2d 395, 410 (S.D.N.Y. 2011). In this case, the plaintiff
                                                                       alleged that the defendants made a favorable announcement
The defendants also argue that the plaintiff failed to plead an        about a significant agreement about COVID test kits while
actionable omission by the defendants because the defendants           omitting the identify of the supplier, and that this omission
did not have a duty to disclose the red flags that suggested           was materially misleading to investors. Further, unlike the red
RMH would be unable to pay SCWorx for the test kits,                   flags about RMH that were ascertainable from public sources,
because these facts were already disclosed to the public on            the identity of the supplier was not readily available to the
RMH's website at the time of the challenged statements.                market until SCWorx disclosed it several days later.

“Silence, absent a duty to disclose, is not misleading under           Accordingly, because the plaintiff has sufficiently alleged the
Rule 10b-5,”        Stratte-McClure v. Morgan Stanley, 776             defendants' misrepresentation and omission, the motion to
                                                                       dismiss the Section 10(b) claim is denied.
F.3d 94, 100-01 (2d Cir. 2015) (quoting          Basic Inc. v.
Levinson, 485 U.S. 224, 239 n.17 (1988)), and there is no
duty to disclose information that is “equally available to both
                                                                                                     C.
parties,”   In re WorldCom, Inc. Sec. Litig., 346 F.Supp.2d
628, 687-88 (S.D.N.Y.2004), or is “widely reported in readily          The defendants argue that Schessel cannot be held liable as
available media,” Monroe Cnty. Employees' Ret. Sys. v.                 a control person under Section 20(a) of the Exchange Act
YPF Sociedad Anonima, 15 F. Supp. 3d 336, 349 (S.D.N.Y.                for the alleged securities violations of SCWorx because the
2014).                                                                 plaintiff has failed to establish a primary violation of federal
                                                                       securities laws by SCWorx.
In this case, the defendants are correct that they had no duty to
disclose the red flags about RMH because they were publicly            Because the plaintiff has alleged a plausible primary violation
available. But this argument misses the mark for two reasons.          of Section 10(b) and Rule 10b-5, the defendants' motion to
First, the plaintiff did not allege that the failure to disclose the   dismiss the plaintiff's Section 20(a) claim is denied.
red flags about RMH was an actionable omission. Instead, the
plaintiff relied on the red flags about RMH to provide further
support for the inference that when the defendants announced                                  CONCLUSION
the test kit deal, the deal was either recklessly misstated or
entirely fabricated. Accordingly, the fact that the defendants         The Court has considered all of the arguments raised by
did not have a duty to disclose the red flags is beside the point.     the parties. To the extent not specifically addressed, the
                                                                       arguments are either moot or without merit. For the foregoing
 *8 Second, while focusing their argument on red flags about           reasons, the motion to dismiss is denied. The Clerk of the
RMH, the defendants failed to address the omission that                Court is directed to close docket number 46.
the plaintiff did allege, namely, the defendants' failure to
reveal the identity of its test kit supplier, ProMedical, on the


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SO ORDERED.                                                 All Citations

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                                                  Footnotes


1     Unless otherwise noted, this Memorandum Opinion and Order omits all alterations, citations, footnotes, and
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